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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------- x
KATHALEEN FREEMAN, ALBERT SNYDER,                                 :
RICHARD LEE, MARSHA KIRBY, STEVEN                                 :
KIRBY, MAXINE E. CROCKETT, individually and :
on behalf of the ESTATE OF RICKY LEON                             : COMPLAINT
CROCKETT, MARVISE L. CROCKETT, TRACIE : JURY TRIAL DEMANDED
ARSIAGA on behalf of the ESTATE OF ROBERT :
R. ARSIAGA, STEVEN GREENWOOD,                                     :
                                                                    Case No. 18-cv-7359
STEPHEN W. HILLER, individually and on behalf :
of the ESTATE OF STEPHEN DUSTIN HILLER, :
JEREMY CHURCH, SANDRA HANKINS,                                    :
INGRID FISHER, individually and on behalf of the :
ESTATE OF STEVEN SCOTT FISHER, KRISTIN :
WALKER, STEVEN T. FISHER, KATHLEEN                                :
GRAMKOWSKI, MARY CARVILL, PEGGY                                   :
CARVILL-LIGUORI, individually and on behalf of :
the ESTATE OF FRANK T. CARVILL, DANIEL :
CARVILL, PAMELA ADLE-WATTS, individually :
and on behalf of the ESTATE OF PATRICK ADLE, :
JOHN WATTS, GLORIA NESBITT, individually                          :
and on behalf of the ESTATE OF DEFOREST L.                        :
TALBERT, D.J.H., a minor, CHIQUITA                                :
TALBERT, TAWANNA TALBERT DARRING,                                 :
LATASHA MARBLE, JAMES TALBERT,                                    :
MIRANDA PRUITT, VELINA SANCHEZ,                                   :
ALOYSIUS SANCHEZ, SR., ROMMEL ROCHA, :
PHILLIP SANCHEZ, ALOYSIUS SANCHEZ, JR., :
GLORIA P. REYNOSO, individually and on behalf :
of the ESTATE OF YADIR G. REYNOSO,                                :
JASMIN REYNOSO, PATRICIA REYNOSO,                                 :
JOSE REYNOSO, ASHLEY WELLS SIMPSON,                               :
individually and on behalf of the ESTATE OF                       :
LARRY LLOYD WELLS, CHAD WELLS,                                    :
CRYSTAL STEWART, CHASITY WELLS-                                   :
GEORGE, CANDICE MACHELLA, BILLY DOAL :
WELLS, HOPE ELIZABETH VEVERKA,                                    :
DONNA JEAN HEATH, individually and on behalf :
of the ESTATE OF DAVID MICHAEL HEATH,                             :
LOLA JEAN MODJESKA, JOHN DAVID                                    :
HEATH, OLGA LYDIA GUTIERREZ, individually :
and on behalf of the ESTATE OF JACOB DAVID :
MARTIR, ISMAEL MARTIR, VICTORIA M.                                :
FOLEY, individually and on behalf of the ESTATE :
OF ALEXANDER SCOTT ARREDONDO,                                     :
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NATHANIEL FOLEY, MICHAEL SCOTT                     :
DEWILDE, STEVEN MORRIS, DANIELLE                   :
DECHAINE-MORRIS, NICHOLAS MORRIS,                  :
K.M., a minor, MONICA ARIZOLA, ROBERTO             :
AARON ARIZOLA, ROBERTO ARIZOLA, SR.,               :
CECILIA ARIZOLA, DANNY ARIZOLA,                    :
RICARDO ARIZOLA, GREG KLECKER, MARIA               :
VIDAL, TAMARA HASSLER, RICHARD E.                  :
HASSLER, JOANNE SUE HASSLER, SCOTT                 :
HUCKFELDT, KATHRYN HUCKFELDT,                      :
ALISHA HUCKFELDT, MATTHEW                          :
HUCKFELDT, TIMOTHY NEWMAN, PADRAIC                 :
J. NEWMAN, AMENIA JONAUS, individually and         :
on behalf of the ESTATE OF JUDE JONAUS,            :
GERNESSOIT JONAUS, DAPHNIE JONAUS                  :
MARTIN, RICKY JONAUS, MARCKENDY                    :
JONAUS, CLAIRE JONAUS, SHAREN JONAUS               :
MARTIN, MASINA TULIAU, BRIANNA RENEE               :
NAVEJAS, MARGARITO A. MARTINEZ, JR.,               :
ALVIS BURNS, JODEE JOHNSON, JAMES                  :
HIGGINS, WENDY COLEMAN, BRIAN RADKE,               :
NOVA RADKE, STEVEN VERNIER, JR.,                   :
CLIFFORD L. SMITH, JR., individually and on        :
behalf of the ESTATE OF KEVIN J. SMITH,            :
GEORGIANNA STEPHENS-SMITH, CORENA                  :
MARTIN, ADAM MATTIS, TERRANCE                      :
PETERSON, III, PETRA SPIALEK, DAVID G.             :
CARDINAL, JR., individually and on behalf of the   :
ESTATE OF ANTHONY CARDINAL, RICHELLE               :
HECKER, individually and on behalf of the          :
ESTATE OF WILLIAM F. HECKER, III,                  :
VICTORIA HECKER, W.H., a minor, C.H., a            :
minor, WILLIAM F. HECKER, JR., NANCY               :
HECKER, JOHN D. HECKER, ROBERT F.                  :
MARIANO, individually and on behalf of the         :
ESTATE OF ROBBIE M. MARIANO, DEBRA                 :
MARIANO, BOBBIE D. MARIANO, VICKIE                 :
MICHAY WHITE, individually and on behalf of the    :
ESTATE OF STEPHEN J. WHITE, GLADYS E.              :
REYES CENTENO, VERONICA LOPEZ REYES,               :
ZORAIMA LOPEZ, JENNIFER LINK, SHARON               :
JOHNSTON, KENNY LEE, TOM B. LEE, LING P.           :
LEE, JUDY COLLADO, KAIYA COLLADO,                  :
JUSTIN WALDECK, TANJA KUHLMEIER,                   :
individually and on behalf of the ESTATE OF        :
DANIEL KUHLMEIER, K.K., a minor, ROBERT J.         :

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KUHLMEIER, THERESA A. KUHLMEIER,                  :
THERESA ANN KUHLMEIER, EDWARD                     :
KUHLMEIER, THOMAS KUHLMEIER, JOHN                 :
KUHLMEIER, ROBERT W. KUHLMEIER,                   :
CHRISTOPHER ANTHONY BERSHEFSKY,                   :
ADRIAN SANDOVAL, ROSA ESTHER                      :
SANDOVAL, HENRY J. BANDHOLD, SR.,                 :
individually and on behalf of the ESTATE OF       :
SCOTT BANDHOLD, AFONSO BANDHOLD,                  :
MARIANA BANDHOLD, JOSHUA P. STEIN,                :
NICOLE B. STEIN, R.M.S., a minor, J.S.S., a       :
minor, JESSE P. STEIN, MICHAEL PAUL ALAN          :
SHELSWELL, LUKE MURPHY, WILLETTE                  :
MURPHY, SHANE IRWIN, T.R., a minor, HELEN         :
MARGUERITE IRWIN, NICOLE IRWIN, MARIA             :
GOMEZ, individually and on behalf of the ESTATE   :
OF JOSE GOMEZ, JOHN DANA GREER,                   :
STEPHANIE C. SANDER, CHRISTOPHER D.               :
GREER, JOSEPH L. GREER, CARL K. GREER,            :
CHRISTOPHER JOYNER, ANNE P. JOYNER,               :
NECOLE DUNLOW SMITH, MICHAEL R.                   :
MILLS, M.R.M., a minor, M.R.M., a minor, EDDIE    :
JO PALINSKY, individually and on behalf of the    :
ESTATE OF JERRY A. PALINSKY, JR., JERRY           :
A. PALINSKY, II, ADINA PALINSKY, JERRY A.         :
PALINSKY, SR., KATHLEEN HOKE, JOEL                :
PALINSKY, KARALEEN HERB, ERIC                     :
BRANDON STONEKING, CARRIE SUE                     :
STONEKING, FAITH RENEE STONEKING,                 :
JOAQINA SAENZ CHORENS, LUZ MARIA                  :
ESTRADA-PULIDO, FRANCES CATHERINE                 :
CASTRO, ELVA ESPINOZA, E.V., a minor,             :
BAYLI VACHO, RONALD VEVERKA, CAROL                :
POLLEY, KEITH VEVERKA, DOUGLAS                    :
VEVERKA, SANDRA SOLIDAY, SHANNON                  :
SHUMATE, LAUREN SHUMATE, L.S., a minor,           :
L.S., a minor, NICOLE DICENZO, individually and   :
on behalf of the ESTATE OF DOUGLAS                :
ANDREW DICENZO, D.D., a minor, LARRY              :
DICENZO, KATHY CRANE, JOHNNY ALLEN                :
BLAIR, individually and on behalf of the ESTATE   :
OF ROBERT EDWARD BLAIR, CHARLEE                   :
BLAIR WEBB, ARNE EASTLUND, TINA                   :
EASTLUND, SVEN EASTLUND, TAYLOR                   :
EASTLUND, ELIZABETH JO EASTLUND,                  :
MATTHEW ADAMSON, R.A., a minor, KATHY             :

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ADAMSON, RICHARD ADAMSON,                         :
CHRISTOPHER ADAMSON, JEFFREY                      :
ADAMSON, JUSTIN ADAMSON, JAMES                    :
SHEPARD, JOHN P. SKLANEY, III, STEVEN J.          :
FRIEDRICH, A.F., a minor, PHILIP ALAN             :
DERISE, NORMA ALICIA CONTRERAS,                   :
JONATHAN CONTRERAS, SR., CARLOS                   :
CONTRERAS, CESAR CONTRERAS, HERNAN                :
CONTRERAS, NOEL CONTRERAS, DANNYEL                :
CONTRERAS, SHARON M. PUGH, individually           :
and on behalf of the ESTATE OF KENNETH            :
IRVING PUGH, BRITNEY E. CARTER, ALICIA            :
PEARSON, DANIEL J. EVANS, JUSTIN EVANS,           :
KEVIN GRAVES, NICHOLAS GENE                       :
KOULCHAR, MICHAEL KOULCHAR, SUHEIL                :
CAMPBELL, ALEXANDER ZAYAS, A.Z., a                :
minor, CATHY ANDINO, individually and on          :
behalf of the ESTATE OF EDWIN A. ANDINO,          :
JR., LUIS JUNIOR PUERTAS, LIDIA SULLIVAN,         :
GABRIELA D. PUERTAS VERGARA-DONOSO,               :
CHRISTOPHER MICHAEL MELENDEZ,                     :
NARCISO MELENDEZ, CHRISTINA                       :
MELENDEZ, LAUREL BARATTIERI,                      :
individually and on behalf of the ESTATE OF GUY   :
BARATTIERI, PATRICIA WHEATLEY,                    :
REBECCA BARATTIERI, NICOLE                        :
BARATTIERI, GINA TESNAR, GLORIA L.                :
MAGANA, individually and on behalf of the         :
ESTATE OF KENNY FRANCES STANTON, JR.,             :
MARIO STANTON, BRANDIE STANTON,                   :
TERRYMARIE STANTON, NANNETTE BRYNE-               :
HAUPT, LYNN FOREHAND on behalf of the             :
ESTATE OF RYAN HAUPT, WILLIAM WITTE,              :
individually and on behalf of the ESTATE OF       :
KEVIN M. WITTE, MICHAEL MOCK, TAMMY               :
DORSEY, ERIC PHYE, JAMES GMACHOWSKI,              :
CONSTANCE BRIAN, individually and on behalf       :
of the ESTATE OF BRIAN BRIAN, AMBER               :
HENSLEY, KARAR ALABSAWI, MICHELLE                 :
TAYLOR, individually and on behalf of the         :
ESTATE OF DAVID G. TAYLOR, J.T., a minor,         :
PHYLLIS TAYLOR, JOHN TAYLOR, BRIAN G.             :
TAYLOR, JUDAS RECENDEZ, TYLER                     :
NORAGER, SHALEE NORAGER, M.N., a minor,           :
LAWRENCE KRUGER on behalf of the ESTATE           :
OF ERIC KRUGER, C.K., a minor, E.K., a minor,     :

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JACKIE FARRAR-FINKEN, individually and on       :
behalf of the ESTATE OF PAUL FINKEN, EMILIE     :
FINKEN, C.F., a minor, J.F., a minor, STEPHEN   :
FINKEN, ALAN FINKEN, RICHARD FINKEN,            :
DAVID FINKEN, MARK FINKEN, PETER                :
FINKEN, JEAN PRUITT, JOAN HENSCHEID,            :
LORI ANN MCCOY, individually and on behalf of   :
the ESTATE OF GREGORY MCCOY, L.M., a            :
minor, T.M., a minor, GLENN MICHAEL COX,        :
KURTISS LAMB, FRANCIS L. COTÉ, NANCY            :
COTÉ, CHRISTOPHER COTÉ, SAMANTHA                :
DUNFORD, MAXIMILLIAN SHROYER, CASEY             :
REUBEN, BREE REUBEN, PATRICK REUBEN,            :
JACKIE STEWART, MARK MUNNS, CRISTA              :
MUNNS, SHARON DEBRABANDER, DENNIS               :
DEBRABANDER, NICOLE DEBRABANDER,                :
JOELLA PRATT, JOSHUA STARKEY, BRENT             :
HINSON, WILLIAM HINSON, FRAN HINSON,            :
HILARY WESTERBERG, WILLIAM RONALD               :
LITTLE, BRENDA LITTLE, KIRA SIKES,              :
WILLIAM RONALD LITTLE, JR., JOSHUA              :
DENMAN, RANDOLPH DELBERT NANTZ,                 :
JOSHUA RYAN NANTZ, LORI ANN                     :
MCCORMICK, individually and on behalf of the    :
ESTATE OF CLINTON MCCORMICK, DENISE             :
VENNIX on behalf of the ESTATE OF ALAN R.       :
BLOHM, ROBERT VACCARO, ANDREW                   :
JEFFREY ANDERSON, SAMANTHA BALSLEY,             :
individually and on behalf of the ESTATE OF     :
MICHAEL C. BALSLEY, L.R.-W., a minor,           :
HEATH DAMON HOBSON, JODI MICHELLE               :
HOBSON, M.D.H., DEADRA GARRIGUS,                :
individually and on behalf of the ESTATE OF     :
MICKEL D. GARRIGUS, DAVID GARRIGUS,             :
NICHOLE GARRIGUS, KYLA OSTENSON,                :
MATTHEW GARRIGUS, SHAWN RYAN,                   :
SHARON Y. DUNN SMITH, individually and on       :
behalf of the ESTATE OF TERRENCE DUNN,          :
DENNIS DUNN, RICHARD LANDECK,                   :
VICTORIA LANDECK, LAVONNA HARPER,               :
HYUNJUNG GLAWSON on behalf of the ESTATE        :
OF CURTIS E. GLAWSON, JAZMON REYNA,             :
CARRIE THOMPSON, individually and on behalf     :
of the ESTATE OF SEAN M. THOMAS, A.T., a        :
minor, DANIEL THOMAS, SR., DIANA                :
THOMAS, DANIEL THOMAS, JR., KELLY               :

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GILLIS, MELINDA FLICK, RYAN SABINISH,           :
R.J.S., a minor, S.J.S., a minor, EMMA          :
MCGARRY, JOHN KIRBY, MICHAEL                    :
MURPHY-SWEET, ELIZABETH MURPHY-                 :
SWEET, ANONA GONELLI, LINDSAY YOUNG,            :
individually and on behalf of the ESTATE OF     :
BRETT A. WALTON, S.W., a minor, LEASA           :
DOLLAR, EUGENE DELOZIER, JARED S.               :
STEVENS, SUSAN MARIA DOSKOCIL HICKS,            :
individually and on behalf of the ESTATE OF     :
GLENN DALE HICKS, JR., GLENN DALE               :
HICKS, SR., DAVID JAMES HICKS, JOHN             :
CHRISTOPHER HICKS, S.L.H., a minor,             :
DWIGHT MARTIN, individually and on behalf of    :
the ESTATE OF JAY E. MARTIN, DOVE               :
DEANNA ADAMS, RAVEN ADAMS, LARK                 :
ADAMS, CASEY BOEHMER, JEREMY D.                 :
SMITH, M.R., a minor, L.R., a minor, DAVID      :
DIXON, DANIEL AUSTIN DIXON, GRETCHEN            :
LANG, CYNTHIA CONNER, JOSHUA BROOKS,            :
JOYCE BROOKS, DANNY BROOKS, DANIEL              :
TYLER BROOKS, DELILAH BROWN,                    :
individually and on behalf of the ESTATE OF     :
SCOTT J. BROWN, TANYA SUZZETTE                  :
DRESSLER, DANIEL DRESSLER, JAMES                :
DRESSLER, DEREK GAJDOS, TAMMY                   :
DENBOER, BRANDEAUX CAMPBELL, RYAN               :
WILSON, JAMI LIN WILSON, MATTHEW                :
LAMMERS, ALICIA LAMMERS, BARBARA                :
LAMMERS, GARY LAMMERS, STACY PATE,              :
ANGEL GOMEZ, DENISE JACKSON, ANDREW             :
MOORES, SHEILA TRACY, individually and on       :
behalf of the ESTATE OF JACOB TRACY,            :
DONALD TRACY, NICHOLE SWEENEY,                  :
CHRISTINA SHERIDAN, MATTHEW BENSON,             :
MELISSA BENSON, C.B., a minor, B.B., a minor,   :
DANIEL P. BENSON, CAROL BENSON,                 :
DANIEL R. BENSON, MICHAEL DEAN                  :
MOODY, SR., individually and on behalf of the   :
ESTATE OF MICHAEL DEAN MOODY, JR.,              :
CONNIE MOODY, KEDRICK DANTE MOODY,              :
DREW EDWARDS, ARIFAH HARDY, T.C., a             :
minor, AUNDRA CRAIG, JOYCE CRAIG,               :
DEBRA COOK-RUSSELL, NASHIMA                     :
WILLIAMS CRAIG, MATTHEW CRAIG,                  :
JONATHAN CRAIG, ANDREW BROWN,                   :

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MICHAEL COOK, VALENCIA COOK,                        :
KATHERINE M. CROW, individually and on              :
behalf of the ESTATE OF WILLIAM J. CROW,            :
K.A.C., a minor, K.E.C., a minor, CANDACE           :
CATHRYN HUDSON, individually and on behalf          :
of the ESTATE OF KATHRYN ANN MONDINI,               :
PATRICK TUTWILER, CRYSTAL TUTWILER,                 :
SHIRLEY STEARNS and JOHN STEARNS,                   :
individually and on behalf of the ESTATE OF         :
MICHELLE R. RING, KAREN HALL, MARILYN               :
HAYBECK, MARC STEARNS, JAMES COLE on                :
behalf of B.C., a minor, KATHERINE MCRILL-          :
FELLINI, individually and on behalf of the ESTATE   :
OF ROBERT MCRILL, RONALD MCRILL,                    :
MATTHEW L. MERGELE, RENE POOL, DEREK                :
ALLEN HOLLCROFT, URSULA ANN JOSHUA                  :
on behalf of the ESTATE OF RON J. JOSHUA, JR.,      :
TAMMY KINNEY, DANIEL PRICE, STEVEN                  :
PRICE, TAUSOLO AIETI, IMO AIETI, LISI               :
AIETI, POLOKA AIETI, CHRISTOPHER                    :
BOUTEN, ERIN BOUTEN, DANIEL DUDEK,                  :
MARGARET DUDEK, KATIE WOODARD,                      :
SARAH DUDEK, ANDREW DUDEK,                          :
EMANUELA FLOREXIL, individually and on              :
behalf of the ESTATE OF CAMY FLOREXIL,              :
JOSEPH T. MILLER, SEAN HARRINGTON,                  :
JESSICA HEINLEIN, individually and on behalf of     :
the ESTATE OF CHARLES T. HEINLEIN, JR.,             :
CHARLES HEINLEIN, SR., JODY LYN                     :
HEINLEIN, MARGARITA ARISTIZABAL,                    :
individually and on behalf of the ESTATE OF         :
ALFRED H. JAIRALA, J.J., a minor, SEBASTIAN         :
NIUMAN, BRIAN J. CASEY, BRITTANY                    :
HOGAN, SHELLEY ANN CASEY, RICHARD                   :
CASEY, SALLY CHAND, individually and on             :
behalf of the ESTATE OF MICHAEL CHAND,              :
SR., MICHAEL CHAND, JR., RYAN CHAND,                :
BRENDA CHAND, MARIO BOWEN, JAMES                    :
DAVID HOCHSTETLER, LEANNE LIZABETH                  :
HOCHSTETLER, J.H., a minor, P.H., a minor,          :
KYLE AUSTIN MARSHALL, JOHN RICHARD                  :
TULLY, individually and on behalf of the ESTATE     :
OF MICHAEL TULLY, MARILYN LOUISE                    :
TULLY, SLADE VICTOR TULLY, JOHN                     :
RICHARD TULLY II, HEATHER ANN FARKAS,               :
ROBERT JAMES HUNT, M.A.H., a minor,                 :

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A.M.H., a minor, BOONCHOB PRUDHOME,                    :
MICHELE WHITE, individually and on behalf of           :
the ESTATE OF DELMAR WHITE, S.W., a minor,             :
SHELBY WHITE, PERRY WHITE, ROBERT                      :
WHITE, JOSHUA P.G. WOLD, E.W. a minor,                 :
P.A., a minor, CELESTE YANTIS, MARICEL                 :
MURRAY, individually and on behalf of the              :
ESTATE OF JOEL L. MURRAY, J.M., a minor,               :
BRYAN S. SHELTON, individually and on behalf           :
of the ESTATE OF RANDOL S. SHELTON,                    :
DARLENE SHELTON, AMANDA SHELTON,                       :
BRIAN T. SHELTON, DAN LAIRD, ANGELA M.                 :
LAIRD, JORDAN M. LAIRD, HUNTER L.                      :
LAIRD, C.L., a minor, WILLIAM LEE,                     :
ALEXANDRIA L. LEE, WILLIAM J. LEE, LILLIE              :
LAI LEE, JENNIFER LYNN HUNT,                           :
CHRISTOPHER GOLEMBE, KATHRYN HEAD,                     :
CHRISTOPHER WATTS, JANET L. RIOS,                      :
ANITA BAKER, JENNIE L. MORIN, RANDALL                  :
GEIGER, individually and on behalf of the ESTATE       :
OF WAYNE M. GEIGER, KIMBERLY GEIGER,                   :
JESSECA LYN TSOSIE, ERIC DONOHO, TYLER                 :
GINAVAN, TIMOTHY TIFFNER, individually and             :
on behalf of the ESTATE OF BENJAMIN DAVID              :
TIFFNER, JUDITH TIFFNER, JOSHUA TIFFNER,               :
SETH TIFFNER, SARAH CROSBY, ALAN                       :
BURKS, individually and on behalf of the ESTATE        :
OF PETER BURKS, JACKIE MERK HLASTAN,                   :
G.B., a minor, ALISON BURKS MCRUIZ,                    :
SARAH PHILLIPS, ZACHARY BURKS,                         :
BRIDGET JUNEAU, individually and on behalf of          :
the ESTATE OF WILLIAM JUNEAU,                          :
STEPHANIE JUNEAU, ELENA SHAW, C.S., a                  :
minor, L.S., a minor, EMILY SHAW, MELISSA              :
DOHENY, individually and on behalf of the              :
ESTATE OF MICHAEL DOHENY, KATHY                        :
KUGLER, ROBERT KUGLER, TANYA                           :
EVRARD, BILLY JOHNSON, JUDY HOFFMAN,                   :
JOSHUA SCHICHTL, MARK SCHICHTL,                        :
KATHERINE PROWSE, NICHOLAS PROWSE,                     :
H.S., a minor, S.S., a minor, C.S., a minor, A.S., a   :
minor, STEVE WADLEIGH, LEA-ANN                         :
WADLEIGH, MICHAEL LUKOW, RIKKI                         :
LUKOW, BRUCE LUKOW, JOSEPH LUKOW,                      :
ANDREW LUKOW, KRISTEN KELLEY, MAIRA                    :
ALVAREZ, K.A., a minor, ANGELA ALVAREZ                 :

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on behalf of A.A. and C.A., minors, BELINDA          :
GARCIA, JASON WHITEHORSE, JEFFREY C.                 :
MANN, MICHELLE WEST, REBECCA L.                      :
SAMTEN-FINCH, individually and on behalf of the      :
ESTATE OF TENZIN LOBSANG SAMTEN,                     :
D.A.S., a minor, M.B.S., a minor, AVA LANETTE        :
BRADLEY, individually and on behalf of the           :
ESTATE OF JUANTREA TYRONE BRADLEY,                   :
A.D.B., a minor, T.T.B., a minor, J.T.B., a minor,   :
ANTHONY HUDSON, AUSTIN BEWLEY,                       :
MARY CATHERINE MCLAUGHLIN, BRENDA                    :
HABSIEGER on behalf of the ESTATE OF                 :
ANDREW J. HABSIEGER, JENNIFER RENEE                  :
YORK, JASON YORK, MATTHEW FIESER,                    :
BENJAMIN DANIEL CARRINGTON,                          :
JONATHAN HESLOP, RUSSELL MASON,                      :
ANDY POOL, FRANK L. CONVERSE,                        :
individually and on behalf of the ESTATE OF          :
PAUL R. CONVERSE, ANTHONY M. GERBER,                 :
CHARLES B. GREGSTON, CARL REIHER,                    :
JASON ROBINSON, FRANCES ROBINSON,                    :
E.R., a minor, WILLIAM JUSTIN WEATHERLY,             :
MICHAEL WEATHERLY, LEE WOLFER,                       :
individually and on behalf of the ESTATE OF          :
SCOTT WOLFER, L.W., a minor, M.W., a minor,          :
I.W., a minor, BEVERLEY WOLFER, RACHELLE             :
IDOL, JAMES VAUGHN, JEANNINE VAUGHN,                 :
CLIFFORD VAUGHN, DAVID WAYNE                         :
HARTLEY, KAYLIE HARTLEY, LISA                        :
DUNCAN, VIRGINIA BILLITER, ERIC                      :
BILLITER, ADRIANNE KIDD, WILLIAM                     :
ALLMON, WILLIAM ALLMON, individually and             :
on behalf of the ESTATE OF WILLIAM E.                :
ALLMON, RONALD SLOAN, MARK E.                        :
THOMSEN, ARDELL THOMSEN, RALPH                       :
THOMSEN, EVAN D. BOGART, LANI D.                     :
BOGART, DOUGLAS R. BOGART,                           :
CHRISTOPHER BOGART, CANA HICKMAN,                    :
LUIS ROSA-VALENTIN, M.R., a minor, ILIANA            :
M. ROSA-VALENTIN, RONALD SLOAN,                      :
CHARLES KAPLAN, NICOLE A. KAPLAN,                    :
NONI KAPLAN, DAVID KAPLAN, JAIME                     :
ZARCONE, JESSALYN HOLT, DAVID                        :
WOODARD, D.M.W., a minor, ADAM MAGERS,               :
LUIS GARZA, SUSAN ARNOLD, individually and           :
on behalf of the ESTATE OF RONALD J.                 :

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 TUCKER, DAVID ARNOLD, SAMANTHA                     :
 TUCKER, BRANDON ARNOLD, DAISY                      :
 TUCKER, JOHN DAGGETT, COLLEEN                      :
 CZAPLICKI, RUSSEL HICKS, SR., RUSSEL               :
 HICKS, JR., PATRICK O’NEILL, JOHN O’NEILL,         :
 DIANNE O’NEILL, DANIEL LUCKETT,                    :
 BREANNA LYNN GASPER, individually and on           :
 behalf of the ESTATE OF FRANK J. GASPER,           :
 JAMIE BARNES, MAX W. HURST, individually           :
 and on behalf of the ESTATE OF DAVID R.            :
 HURST, LILLIAN HURST, CHRISTOPHER                  :
 HURST, MARK HURST, DONNA FARLEY,                   :
 NOEL J. FARLEY, SR, BARBARA FARLEY,                :
 BRETT FARLEY, CAMERON FARLEY, CHRIS                :
 FARLEY, VICKIE MCHONE, NOEL S. FARLEY,             :
 DAVID C. IVERSON, DANIEL MENKE on behalf           :
 of the ESTATE OF JONATHAN D. MENKE,                :
 JESSICA H. WILLIAMS, individually and on           :
 behalf of the ESTATE OF JAMES M. HALE,             :
 J.M.H., a minor, J.J.H., a minor, J.H., a minor,   :
 TYLER LATHAM, BRYANT BEARFIELD,                    :
 CARLLIE PAUL, KARI CAROSELLA on behalf of          :
 the ESTATE OF JUSTIN BAUER, CONNIE                 :
 HADDOCK, JACOB BAUER, JEREMY BAUER,                :
 ANDREW BRADLEY, JULIE SALHUS,                      :
 KRISTEN GALEN, PATRICK WARD, JARRETT               :
 WARD, ROBERTO ANDRADE, SR. on behalf of            :
 the ESTATE OF ROBERTO ANDRADE, JR.,                :
 SANDRA VALENCIA, KARA CONNELLY,                    :
 JEAN DAMMANN, MARK DAMMANN, KEVIN                  :
 CONNELLY, RHONDA KEMPER, ROBERT                    :
 CANINE, S.C., a minor, JENNIFER ROOSE,             :
 RHETT MURPHY, ROADY LANDTISER,                     :
 NATHAN RICHARDS, CHRISTOPHER                       :
 SONGER, KIMBERLY SONGER, C.S., a minor,            :
 JOSEPH HELTON, SR., individually and on behalf     :
 of the ESTATE OF JOSEPH HELTON, JR.,               :
 JESSICA CABOT, JEANNE RHEA MCMANU,                 :
 VICTOR RAY WISE, II, THEODORE LESTER,              :
 KATRINA COE, individually and on behalf of the     :
 ESTATE OF KEITH COE, K.A.C., a minor,              :
 K.A.C., a minor, K.A.C., a minor, RHONDA           :
 SMITH, MATTHEW COE, SABRINA                        :
 CHAPMAN, JAMES KINSEY, ANGEL MAYES,                :
 individually and on behalf of the ESTATE OF        :
 ANTONIO STIGGINS, LUKE STIGGINS,                   :

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 DONALD MAYES, RHONDA BEATTIE,                                     :
 individually and on behalf of the ESTATE OF                       :
 CLIFFORD BEATTIE, JAYDEAN HAMILTON,                               :
 STEPHANIE KIDDER, DONALD FIELD,                                   :
 ANGELICA FIELD, SENOVIA FIELD, SELICIA                            :
 FIELD, and ED ELLIOTT,                                            :
                                                                   :
                    Plaintiffs,                                    :
                                                                   :
 -against-                                                         :
                                                                   :
 HSBC HOLDINGS PLC, HSBC BANK PLC,                                 :
 HSBC BANK MIDDLE EAST LIMITED,                                    :
 HSBC BANK USA, N.A., BARCLAYS BANK,                               :
 PLC, STANDARD CHARTERED BANK,                                     :
 NATWEST MARKETS, N.V., CREDIT SUISSE                              :
 AG, BANK SADERAT PLC,                                             :
 COMMERZBANK AG, and JOHN DOES 1-50,                               :
                                                                   :
                    Defendants.                                    :
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 Plaintiffs, by their attorneys, allege the following:

 I.       NATURE OF THE ACTION

          1.       Running a decades-long terror campaign that claimed the lives of hundreds of

 Americans while simultaneously trying to complete a clandestine Weapons of Mass Destruction

 (“WMD”) program is an extremely expensive proposition requiring access to billions of U.S.

 dollars (“USD”), including dollar-denominated assets in the Eurodollar market.1

          2.       For the Islamic Republic of Iran (“Iran”) this was especially challenging since

 Iran’s domestic currency, the Rial, was one of the world’s least valued currencies, and was

 essentially worthless for purposes of global trade and commerce, including facilitating Iran’s oil

 and natural gas exports, terror financing, conventional weapons trade, and WMD proliferation

 activities.

          3.       During the last fifteen years, while Western governments increased pressure against

 terrorism financing after Al Qaeda’s September 11, 2001 attacks on the U.S. (“9-11”), Iran

 intensified its efforts to access the U.S. financial system and U.S. export-controlled technologies,

 spare parts and raw materials while simultaneously evading U.S. sanctions, export restrictions and

 other laws and regulations intended to circumscribe its access to these capabilities and resources.

          4.       Fortunately for Iran—despite the coordinated and ever-intensifying efforts of the

 United States, the European Union and the United Nations after 9-11 to isolate Iran and restrict its

 capacity to fund terrorism and obtain Weapons of Mass Destruction—it could rely upon an

 assortment of Western financial institutions willing to violate U.S. law to substantially assist its


 1
          Eurodollar refers to a time deposit denominated in U.S. dollars that is maintained by a bank outside the United
 States. Payment transactions in the Eurodollar market are not typically settled by the physical transfer of USD-
 denominated banknotes from one counterparty to another. Instead, Eurodollar transactions are settled electronically
 in New York through a bank-owned clearinghouse, and then maintained by book entries of credits and debits in the
 respective counterparties’ accounting systems (based on the Society for Worldwide Interbank Financial
 Telecommunication network (“SWIFT-NET”) messages sent between the counterparties and their correspondent
 banks).
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 sanctioned endeavors.

        5.       Without the vital assistance of these Western financial institutions, Iran could not

 have conducted its terror campaign to nearly the same extent and magnitude, and it would have

 been severely hampered in its terror financing and WMD proliferation activities.

        6.       This is a civil action under 18 U.S.C. § 2333(a) by American nationals and/or their

 families for treble damages against six Western international banks that knowingly conspired with

 Iran and its banking agents (including Defendant Bank Saderat Plc, Bank Melli Iran, the Central

 Bank of Iran (“CBI”),2 Bank Mellat, Bank Tejarat, Bank Refah and Bank Sepah) to evade U.S.

 economic sanctions, conduct illicit trade-finance transactions, and disguise financial payments to

 and from U.S. dollar-denominated accounts (the “Conspiracy”).

        7.       The Conspiracy foreseeably enabled Iran and its agents to provide a combination

 of funding, weapons, munitions, intelligence, logistics, and training to the U.S.-designated Foreign

 Terrorist Organization Hezbollah, the U.S.-designated Islamic Revolutionary Guard Corps

 (“IRGC”), an IRGC directorate known as the Islamic Revolutionary Guard Corps-Qods Force

 (“IRGC-QF”), and Iran’s terrorist agents (including a litany of Iraqi Shi’a terror groups referred to

 herein collectively as the “Special Groups”), who killed, injured, or maimed the Plaintiffs and/or

 their family members in Iraq from 2004 to 2011.

        8.       The named Defendants herein are HSBC Holdings Plc, HSBC Bank Plc (“HSBC-

 London”), HSBC Bank Middle East Ltd., HSBC Bank USA, N.A. (referred to herein collectively

 as the “HSBC Defendants”); Barclays Bank Plc (“Barclays”); Standard Chartered Bank (“SCB”);

 Royal Bank of Scotland N.V. (referred to herein as “ABN Amro” or “RBS N.V.”); Credit Suisse




 2
        CBI is occasionally referred to as Bank Markazi (spelled phonetically in a variety of ways).


                                                        2
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 AG (“Credit Suisse”); Bank Saderat Plc; Commerzbank AG (“Commerzbank”) and John Does 1-

 50.

         9.       Each Defendant committed acts of international terrorism and violated 18 U.S.C. §

 2339A and § 2339B when it conspired to provide material support or resources, or concealed or

 disguised the nature, location, source, or ownership of material support or resources, (a) knowing

 or intending that they were to be used in preparation for, or in carrying out, a violation of 18 U.S.C.

 § 2332 and other federal crimes or (b) to foreign terrorist organizations Hezbollah and Kata’ib

 Hezbollah, knowing they were so designated or had engaged in terrorist activity.

         10.      Each Defendant conspired to provide or conceal the source of material support by

 conspiring with Iran to evade U.S. economic sanctions and arms embargos against Iran knowing,

 or deliberately indifferent to the fact, that Iran would use some of the funds3 it laundered through

 the United States to finance the IRGC, IRGC-QF, and Hezbollah for the purpose of killing and

 maiming, inter alia, American citizens serving as part of the Coalition Forces in Iraq from 2004

 to 2011.

         11.      As shown below, each Defendant conspired to provide material support by

 facilitating the transfer to the IRGC, other Iranian entities and Hezbollah and other designated

 entities and fronts for designated entities, of USD funds outside of the mechanism for Iran’s

 legitimate agencies, operations, and programs.

         12.      As shown below, each Defendant conspired to conceal the source of material

 support by removing that information from transactional messages, as necessary to deceive U.S.

 counter-terrorism finance regulators.



 3
          USD funds include the following U.S. dollar-denominated financial instruments: deposit balances in
 domestic or Eurodollar bank accounts, repurchase agreements, letters of credit, bills of exchange, payment orders,
 checks, banknotes and coins.


                                                         3
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        13.    The United States designated Iran a State Sponsor of Terrorism on January 19,

 1984, pursuant to § 6(j) of the Export Administration Act, § 40 of the Arms Export Control Act,

 and § 620A of the Foreign Assistance Act.

        14.    The United States designated Hezbollah a Foreign Terrorist Organization (“FTO”)

 (as that term is defined in 8 U.S.C. § 1189 of the Antiterrorism and Effective Death Penalty Act

 of 1996 (“AEDPA”)) in 1997. The designation has remained in effect since that time.

        15.    In October 2007, the United States designated Iran’s Ministry of Defense and

 Armed Forces Logistics (“MODAFL”).

        16.    The U.S. government explained the basis for the designation as follows:

               The Ministry of Defense and Armed Forces Logistics (MODAFL) controls
               the Defense Industries Organization, an Iranian entity identified in the
               Annex to UN Security Council Resolution 1737 and designated by the
               United States under E.O. 13382 on March 30, 2007. MODAFL also was
               sanctioned, pursuant to the Arms Export Control Act and the Export
               Administration Act, in November 2000 for its involvement in missile
               technology proliferation activities.

               MODAFL has ultimate authority over Iran's Aerospace Industries
               Organization (AIO), which was designated under E.O. 13382 on June 28,
               2005. The AIO is the Iranian organization responsible for ballistic missile
               research, development and production activities and organizations,
               including the Shahid Hemmat Industries Group (SHIG) and the Shahid
               Bakeri Industries Group (SBIG), which were both listed under UN Security
               Council Resolution 1737 and designated under E.O. 13382. The head of
               MODAFL has publicly indicated Iran's willingness to continue to work on
               ballistic missiles. Defense Minister Brigadier General Mostafa Mohammad
               Najjar said that one of MODAFL's major projects is the manufacturing of
               Shahab-3 missiles and that it will not be halted. MODAFL representatives
               have acted as facilitators for Iranian assistance to an E.O. 13382- designated
               entity and, over the past two years, have brokered a number of transactions
               involving materials and technologies with ballistic missile applications.

        17.    Formally, the IRGC is a subordinate directorate of MODAFL, but in practice, it has

 substantial autonomy from MODAFL.




                                                 4
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        18.     The IRGC, however, uses MODAFL to both procure and develop weapons and

 equipment for its use.

        19.     In October 2007, the United States designated the IRGC-QF a Specially Designated

 Global Terrorist (“SDGT”) pursuant to Executive Order (“E.O.”) 13324, explaining that:

                The Qods Force has had a long history of supporting Hizballah’s military,
                paramilitary, and terrorist activities, providing it with guidance, funding,
                weapons, intelligence, and logistical support. The Qods Force operates
                training camps for Hizballah in Lebanon’s Bekaa Valley and has reportedly
                trained more than 3,000 Hizballah fighters at IRGC training facilities in
                Iran. The Qods Force provides roughly $100 to $200 million in funding a
                year to Hizballah and has assisted Hizballah in rearming in violation of UN
                Security Council Resolution 1701.

                In addition, the Qods Force provides lethal support in the form of weapons,
                training, funding, and guidance to select groups of Iraqi Shi’a militants who
                target and kill Coalition and Iraqi forces and innocent Iraqi civilians.
                [Emphasis added.]

        20.     In October 2007, Defendant Bank Saderat Plc, together with its parent company

 Bank Saderat Iran, was designated an SDGT by the United States pursuant to E.O. 13224.

        21.     The U.S. Treasury Department’s 2007 press release regarding Bank Saderat’s

 designation stated:

                Bank Saderat, its branches, and subsidiaries: Bank Saderat, which has
                approximately 3200 branch offices, has been used by the Government of
                Iran to channel funds to terrorist organizations, including Hezbollah and
                EU-designated terrorist groups Hamas, PFLP-GC, and Palestinian Islamic
                Jihad. For example, from 2001 to 2006, Bank Saderat transferred $50
                million from the Central Bank of Iran through its subsidiary in London to
                its branch in Beirut for the benefit of Hezbollah fronts in Lebanon that
                support acts of violence.

        22.     On October 12, 2011, the United States designated the Iranian commercial airline

 Mahan Air as an SDGT for “providing financial, material and technological support to the Islamic

 Revolutionary Guard Corps-Qods Force (IRGC-QF). Based in Tehran, Mahan Air provides

 transportation, funds transfers and personnel travel services to the IRGC-QF.”



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        23.     The Treasury Department explained Mahan Air’s direct involvement with terrorist

 operations, personnel movements and logistics on behalf of the IRGC-QF:

                Mahan Air also facilitated the covert travel of suspected IRGC-QF officers
                into and out of Iraq by bypassing normal security procedures and not
                including information on flight manifests to eliminate records of the IRGC-
                QF travel.

                Mahan Air crews have facilitated IRGC-QF arms shipments. Funds were
                also transferred via Mahan Air for the procurement of controlled goods by
                the IRGC-QF.

                In addition to the reasons for which Mahan Air is being designated today,
                Mahan Air also provides transportation services to Hezbollah [sic], a
                Lebanon-based designated Foreign Terrorist Organization. Mahan Air has
                transported personnel, weapons and goods on behalf of Hezbollah [sic] and
                omitted from Mahan Air cargo manifests secret weapons shipments bound
                for Hezbollah [sic].

        24.     Mahan Air was also later identified as the conduit to Iran of thousands of radio

 frequency modules recovered by Coalition Forces in Iraq from Improvised Explosive Devices

 (“IEDs”) that were used to target U.S. and Coalition Forces.

        25.     Hamid Arabnejad Khanooki, Mahan Air’s chairman and CEO, is a former member

 of the IRGC and is a veteran of the same local IRGC division that spawned IRGC-Qods Force

 Commander Qasem Soleimani.

        26.     On May 31, 2013, the United States “designated . . . Mahan Air Managing Director

 Hamid Arabnejad who oversees Mahan Air’s sanctions evasion efforts and provision of support

 and services to Iran’s IRGC-QF.”

        27.     On August 2, 2017, the Countering America’s Adversaries Through Sanctions Act,

 Pub. L. 115-44, was enacted, in which Congress found that “The IRGC, not just the IRGC-QF, is

 responsible for implementing Iran's international program of destabilizing activities, support for

 acts of international terrorism, and ballistic missile program.”




                                                   6
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         28.      On October 13, 2017, the United States designated the IRGC an SDGT, finding that

 “The IRGC has played a central role to Iran becoming the world’s foremost state sponsor of

 terror. Iran’s pursuit of power comes at the cost of regional stability, and Treasury will continue

 using its authorities to disrupt the IRGC’s destructive activities.”

         29.      Specifically, the U.S. designated the IRGC as the “parent organization of the IRGC-

 QF,” and “for the activities it undertakes to assist in, sponsor, or provide financial, material, or

 technological support for, or financial or other services to or in support of, the IRGC-QF.”

         30.      Further, the U.S found that the IRGC “undertakes to assist in, sponsor, or provide

 financial, material, or technological support for, or financial or other services to or in support of,

 the IRGC-QF.”4

         31.      As used in this Complaint, “the Conspiracy” refers to an illegal criminal agreement,

 beginning in 1987 and, on information and belief, continuing to the present, between Iran, its

 banking agents and various international financial institutions by and through which Defendants

 knowingly participated in a criminal scheme in which they agreed to alter, falsify, or omit

 information from bank-to-bank payment orders sent on the SWIFT private financial messaging

 network (“SWIFT-NET”) operated by the Society for Worldwide Interbank Telecommunication

 (“SWIFT-Brussels”)5 that involved Iran or Iranian parties (including several Iranian banks

 (referred to herein collectively as the “Iranian Bank Co-conspirators”) such as Bank Melli Iran,



 4
         Although the IRGC-QF had responsibility for orchestrating Iranian policy in Iraq, including its terror
 campaign, as referenced herein, the IRGC and its operational directorate IRGC-QF are used interchangeably. As the
 U.S. government has found, the IRGC is the parent organization and principal supporter of the IRGC-QF.
 5
          SWIFT-Brussels is a cooperative society under Belgian law owned by its member financial institutions.
 SWIFT-Brussels’s global private network, SWIFT-NET, enables financial institutions to send and receive information
 about financial transactions in the Eurodollar market, among other financial markets, in a standardized message
 format.




                                                         7
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 Bank Saderat Iran, the CBI, Bank Mellat, Bank Tejarat, Bank Refah and Bank Sepah, as well as

 the Islamic Republic of Iran Shipping Lines (“IRISL”),6 the National Iranian Oil Company

 (“NIOC”) and Mahan Air) that serve as financial and logistical conduits for the IRGC and its

 terrorist activities.

           32.    The aims and objectives of the Conspiracy, all of which were foreseeable to the

 Defendants, and which each Defendant knew or was deliberately indifferent to, included, among

 others:

                  a.       Concealing Iran’s dollar-denominated financial activities and
                           transactions from detection, scrutiny, or monitoring by U.S.
                           regulators, law enforcement, and/or depository institutions;

                  b.       Facilitating illicit transactions totaling at least $50 million USD for
                           the benefit of Hezbollah;

                  c.       Facilitating illicit transactions totaling at least $100 million in USD
                           funds for the direct benefit of the IRGC and billions in USD funds
                           for the benefit of the NIOC, then controlled by the IRGC;

                  d.       Facilitating at least hundreds of illicit transactions totaling more
                           than $60 million on behalf of IRISL, including over 150 “stripped”
                           transactions after IRISL was designated an SDN;

                  e.       Facilitating tens of millions of dollars in illicit transactions on behalf
                           of MODAFL, the IRGC, Mahan Air and other instrumentalities of
                           Iranian state-sponsored terror to further numerous violations of the
                           U.S. trade embargo against Iran, conceal Iran’s efforts to evade U.S.
                           sanctions and enable Iran’s acquisition from the United States of
                           goods and technologies prohibited by U.S. law to be sold or
                           transferred to Iran, including components of IEDs deployed against
                           Coalition Forces in Iraq; and

                  f.       Enabling Iran, the Iranian Bank Co-conspirators (including
                           Defendant Bank Saderat Plc), the IRGC, Hezbollah, and their
                           Special Groups proxies to plan for, conspire to, and perpetrate acts
                           of international terrorism under 18 U.S.C. § 2331(1); homicides,
                           attempted homicides, or conspiracies to commit homicide under 18

 6
          IRISL is Iran’s national maritime carrier: a global operator of merchant vessels with a worldwide network of
 subsidiaries, branch offices and agent relationships. It provides a variety of maritime transport services, including
 bulk, break-bulk, cargo and containerized shipping.


                                                          8
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                          U.S.C. § 2332(a)-(c); bombings using destructive devices under 18
                          U.S.C. § 2332a; bombings and attempted bombings under 18 U.S.C.
                          § 2332f; engaging in terrorist activity under 8 U.S.C. §
                          1189(a)(3)(B)(iii)-(iv); and/or engaging in terrorism under 22
                          U.S.C. § 2656f.

         33.      As noted by the U.S. Treasury Department’s Financial Crimes Enforcement

 Network (“FinCEN”) in a March 20, 2008 advisory: “Through state-owned banks, the Government

 of Iran disguises its involvement in proliferation and terrorism activities through an array of

 deceptive practices specifically designed to evade detection.”7

         34.      Although the Conspiracy was effectuated in a variety of ways, four primary

 techniques were used by Iran acting in concert with both the Iranian Bank Co-conspirators,

 MODAFL, the IRGC, IRISL and the Defendants herein:

                  a.      The Defendants removed or altered the names, Bank Identifier
                          Codes (“BICs”), and other identifying information of the Iranian
                          Bank Co-conspirators or Iranian counter-parties in the payment
                          orders sent through U.S. correspondent banks via SWIFT-NET– a
                          practice commonly known and referred to as “stripping” SWIFT-
                          NET messages;

                  b.      The Defendants converted ordinary transactions involving SWIFT-
                          NET message type 103 (“MT 103”) payment orders (that would
                          disclose the details of the counter-parties to the transactions) into
                          bank-to-bank transfers known as SWIFT-NET message type 202
                          (“MT 202”) payment orders (that did not require the transmitting
                          bank to include information disclosing the originator, beneficiary,
                          and counter-parties), for the specific purpose of concealing the
                          origin and destination of Iranian funds transfers;

                  c.      The Defendants deliberately chose not to conduct the required
                          screening of Iran-linked SWIFT-NET messages8 and letters of credit
                          documents, worth at least tens of millions in USD funds on an
                          annual basis, for compliance with the U.S. Office of Foreign Assets

 7
         See, https://www.fincen.gov/statutes_regs/guidance/pdf/fin-2008-a002.pdf.
 8
          Including, but not limited to, SWIFT-NET messages for customer credit transfers (“MT 100” series
 messages), bank-to-bank transfers (“MT 200” series messages), foreign exchange (“MT 300” series messages), trade
 finance (“MT 400” and “MT 700” series messages), precious metals trading (“MT 600” series messages), and account
 management (“MT 900” series messages).


                                                        9
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                            Control (“OFAC”) list of SDNs; the U.S. State Department’s United
                            States Munitions List (“USML”) of defense-related export
                            controlled items; and/or the U.S. Bureau of Industry and Security’s
                            (“BIS”) Commerce Control List (“CCL”) of dual-use export
                            controlled items, and Denied Persons List (“DPL”) of export denied
                            entities; and

                   d.       The Defendants knowingly and willfully facilitated the illicit export
                            and import of Iranian petroleum products for the NIOC and other
                            sanctioned Iranian entities. These petrodollar transactions, including
                            trade-finance and foreign exchange, provided Iran with illegal
                            access to billions of dollars, including the direct funding through the
                            Defendants of the IRGC and its network of front companies.

          35.      Absent the criminal collusion and conspiratorial conduct of the Defendants named

 herein, Iran and its agents—including MODAFL, the IRGC, IRISL, and NIOC; and Banks Melli,

 Sepah, Refah, Mellat and Saderat—could not have successfully hidden the volume of U.S. dollar

 clearing and trade-finance transactions that they succeeded in illegally clearing through the United

 States in U.S. dollars.9

          36.      The connection between the IRGC, IRGC-QF and Bank Melli Iran, their “deceptive

 banking practices” and the attacks that injured the Plaintiffs is further illustrated by a 2009 U.S.

 diplomatic cable which stated:

                   Iran’s Islamic Revolutionary Guards Corps (IRGC) and IRGC-Qods Force,
                   who channel funds to militant groups that target and kill Coalition and Iraqi
                   forces and innocent Iraqi civilians, have used Bank Melli and other Iranian
                   banks to move funds internationally. Bank Melli used deceptive banking
                   practices to obscure its involvement from the international banking system
                   by requesting that its name be removed from financial transactions when
                   handling financial transactions on behalf of the IRGC. [Emphasis added.]


 9
           The Defendants willfully circumvented the sanctions screening, anti-money laundering (“AML”), and
 combatting the financing of terrorism (“CFT”) requirements of OFAC, SWIFT-Brussels, Clearing House Interbank
 Payment System (“CHIPS-NY”), CLS Bank International (“CLS-NY”), Federal Reserve Bank of New York (“FRB-
 NY”) and the Fedwire Funds Service (“Fedwire”). CHIPS is a Systemically Important Financial Market Utility
 (“SIFMU”) for the U.S. financial system and the primary provider of clearing and settlement services in USD funds
 for Eurodollar transactions. CLS Bank is a Systemically Important Financial Market Utility (“SIFMU”) for the U.S.
 financial system and the primary provider of clearing and settlement services for foreign exchange transactions in the
 Eurodollar market, and FRB-NY is one of the twelve U.S. Federal Reserve Banks and the central bank lender-of-last-
 resort for the Eurodollar market (via Fedwire).


                                                          10
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        37.     Iran’s objectives were not secret. Its pursuit and development of Weapons of Mass

 Destruction—including mines and similar explosive munitions—were the subject of hundreds of

 news reports, U.S. government reports, and Congressional testimony, as well as U.N. Security

 Council resolutions and European Union regulations.

        38.     Iran’s “deceptive banking practices” were not secret either.

        39.     Beginning in September 2006, the U.S. Treasury and State Departments launched

 a quiet campaign to warn 40 major international banks and financial institutions about the risks of

 conducting business with the Iranian government, particularly targeting financial transactions

 involving the IRGC.

        40.     According to the March 26, 2007 edition of The Washington Post, Defendants

 Standard Chartered Bank, Commerzbank and the HSBC Defendants were among those briefed by

 U.S. government officials about the dangers posed (in terms of both proliferation and terror

 financing) in conducting business with Iran.

        41.     On April 19, 2007, the Wolfsberg Group, an association of twelve global banks

 whose stated aim is to develop financial services industry standards, issued a statement “endorsing

 measures to enhance the transparency of international wire transfers to promote the effectiveness

 of global anti-money laundering and anti-terrorist financing programs. The measures include both

 the development of an enhanced payment message format, which would include more detailed

 information about those conducting wire transfers in certain instances, as well as calling for the

 global adoption of basic messaging principles aimed at promoting good practice with respect to

 the payment system.” This statement was directed to the increasingly apparent risks inherent in

 MT 202 “cover payments” – one of the methods Defendants used to conceal their illegal USD

 funds transfers on behalf of Iran through the Eurodollar market.




                                                 11
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        42.       Defendants ABN Amro (RBS N.V.), Barclays, Credit Suisse, and HSBC were all

 members of the Wolfsberg Group, and were listed on the 2007 press statement.

        43.       Iran’s efforts to kill and maim U.S. and British citizens in Iraq, and to thwart U.S.

 policy objectives in Iraq, were also readily apparent and widely reported.

        44.       In fact, Iran’s role in funding “militant groups that target and kill Coalition and Iraqi

 forces and innocent Iraqi civilians” was a matter of public record.

        45.       For example, on October 10, 2005, the British Broadcasting Company (BBC)

 reported that:

                  An armour-piercing version of the bomb - blamed for the deaths of eight
                  British soldiers this year - marks the latest advance in the insurgents’
                  arsenal. The UK has accused Iran of supplying the new weapon to militants
                  in southern Iraq, via the Lebanese Hezbollah militia group, although
                  Tehran has denied this. [Emphasis added.]

        46.       The BBC followed up with multiple reports in 2006 describing the details from

 military briefings about Iran’s material support to Shi’a militia groups that were targeting and

 killing British and U.S. forces in Iraq.

        47.       For example, on June 23, 2006, the BBC reported:

                  BBC world affairs correspondent, Paul Reynolds, says both the American
                  and British military in Iraq have claimed for some time that Iran, or factions
                  within the Iranian government, have been supporting Shias politically and
                  militarily.

                  For example, the British ambassador to Baghdad William Patey accused the
                  Iranian Revolutionary Guard of helping to supply the technology which has
                  been used in bomb attacks against British troops in the south.

                  “Since January we have seen an upsurge in their support, particularly to the
                  Shia extremist groups,” Gen Casey said.

                  “They are using surrogates to conduct terrorist operations both against us
                  and against the Iraqi people.

                  “We are quite confident that the Iranians, through the special operations



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                forces, are providing weapons, IED [improvised explosive device]
                technology and training to Shia extremist groups in Iraq,” he said.

        48.     In another example, on September 26, 2008, CNN reported that U.S. officials

 claimed Iran had provided Shi’a militias in Iraq with “millions of dollars” in funding and that:

                The official said that high-grade military explosives and specialized timers
                are among the “boutique military equipment” moving from Iran into Iraq.
                Some of the equipment is of the same type that Hezbollah, an Iranian-
                backed Shiite militia, used against Israeli forces in Lebanon during the
                summer, the official said. The origin of the weapons was easy to discern
                because of Iranian markings on it, he said. Because Iran maintains tight
                control over armaments, he said, shipment of the weapons into Iraq had to
                involve “elements associated with the Iranian government.”

        49.     Each of the Defendants knew about the existence of the Conspiracy; directly

 conspired with Iran, through Defendant Bank Saderat Plc, Bank Melli Iran, the CBI and others, to

 facilitate the Conspiracy; took affirmative, extensive and unlawful actions to further the

 Conspiracy over long periods of time; and was aware of the existence and participation of other

 Co-conspirators, including other Defendants named herein.

        50.     In fact, on numerous occasions, three or more of the Defendants acted jointly to

 facilitate the same illegal trade-finance transaction (e.g. providing material assistance to Mahan

 Air because the Iranian airline wanted to purchase U.S. manufactured aircraft and needed help

 circumventing U.S. export restrictions against Iran).

        51.     Each of the Defendants, at the time it agreed to join and actively take part in the

 Conspiracy, knew that Iran was a U.S.-designated State Sponsor of Terrorism and knew that Iran

 was clandestinely routing billions of dollars through the United States to hide its unlawful conduct;

 and each Defendant took affirmative steps to help Iran in its unlawful conduct.

        52.     Each of the Defendants also knew, or was deliberately indifferent to, the fact that

 Iran, as a U.S.-designated State Sponsor of Terrorism, would (and, in fact, did) channel hundreds




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 of millions of the dollars that Defendants helped launder and conceal from U.S. regulators and law

 enforcement agencies to the IRGC and Hezbollah as part of the Conspiracy.

          53.      Each of the Defendants also knew, or was deliberately indifferent to, the well-

 publicized fact that Iran and its terror proxies were killing and maiming American civilians and

 servicemen in Iraq, and that U.S. nationals would foreseeably be injured or killed as a result of the

 substantial assistance those dollars provided to the IRGC and Hezbollah.

          54.      Each of the Defendants also knew, or was deliberately indifferent to, the

 foreseeable (and inevitable) consequences of providing Iran, a State Sponsor of Terrorism, with

 access to hundreds of billions of dollars of concealed payments and the resulting funding of

 Iranian-controlled organizations and terror proxies that targeted American civilians and

 servicemen through acts of international terrorism in Iraq from 2004 to 2011.

          55.      Without the active participation of the Defendants in the Conspiracy, Iran could not

 have transferred the same volume of USD to the IRGC and Hezbollah, nor could it have done so

 with the same ease and efficiency.

          56.      Without the active participation of the Defendants in the Conspiracy, Iran could not

 have successfully violated U.S. export controls, financed its illicit arms shipments or manufactured

 the same volume and sophistication of factory-grade Explosively Formed Penetrators (“EFPs”) to

 kill and maim Americans in Iraq as discussed below.10


 10
          EFPs are a particularly effective form of manufactured IED sometimes known as a shaped charge, usually
 made with a manufactured concave copper disk and a high explosive packed behind the liner. In Iraq, EFPs were often
 triggered by various technologies, including passive infra-red sensors (tripped by the engine heat of passing vehicles)
 and radio frequency modules (that would turn on the PIR before the high-powered radio waves generated by Coalition
 Forces’ jamming devices could deploy). Metallurgic analysis by U.S. technicians helped confirm that the high-purity
 copper EFP liners were not produced in Iraq. Differences in the liners indicated the kind of press that was required to
 fabricate them—a heavy (hydraulic) press not commonly seen in Iraq. To produce these weapons, copper sheets were
 often loaded onto a punch press to yield copper discs. These discs were annealed in a furnace to soften the copper.
 The discs were then loaded into a large hydraulic press and formed into the disk-like final shape. This manufacturing
 process is critical to the design and concomitant lethality of the weapon. When the explosives inside an EFP detonate,



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         57.      The transfers of hundreds of millions of dollars by Iran to the IRGC and Hezbollah

 was within the scope, and in furtherance of, the Conspiracy; and the provision of material support

 to the IRGC and Hezbollah was the natural and reasonably foreseeable consequence of the

 Defendants’ unlawful agreement to help Iran launder money through the United States financial

 system.

         58.      As set forth below, the HSBC Defendants, Commerzbank, Standard Chartered

 Bank, Barclays, and Credit Suisse altered, falsified, or omitted information from payment order

 messages that they facilitated on behalf of Bank Saderat knowing, or deliberately indifferent to the

 fact, that Bank Saderat was engaged in money laundering on behalf of a State Sponsor of

 Terrorism, and after October 2007, that Bank Saderat was an SDGT that provided material support

 to Iran’s terrorist activities, and, in the case of the HSBC Defendants, knew there was direct

 evidence of Bank Saderat “funding of Hezbollah.”

         59.      As set forth below, the HSBC Defendants, and Defendants Standard Chartered

 Bank, ABN Amro (RBS N.V.), and Commerzbank facilitated numerous payments totaling more

 than $60 million on behalf of IRISL knowing, or deliberately indifferent to the fact, that IRISL

 was designated a Specially Designated National (“SDN”) by the United States for, as stated in the

 U.S. Treasury Department’s September 10, 2008 press release announcing IRISL’s designation,

 “facilitating shipments of military cargo destined for the (Iranian) Ministry of Defense and Armed

 Forces Logistics (MODAFL),” which could be used for terrorist attacks on Coalition Forces,

 including American nationals.

         60.      IRISL did, in fact, facilitate shipments of military cargo to Hezbollah, one of the

 organizations responsible for acts of international terrorism that killed and injured American


 the blast energy inverts the copper plate into a ragged slug traveling over a mile per second, capable of punching
 through armor even 300 feet away.


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 citizens in Iraq, including the Plaintiffs.

         61.     As alleged below, Defendants Standard Chartered Bank, Credit Suisse, Bank

 Saderat Plc and Commerzbank all altered, falsified, or omitted information from payment

 messages (worth billions of U.S. dollars) that they facilitated on behalf of the National Iranian Oil

 Company, then an agent of the IRGC, knowing, or deliberately indifferent to the risk involved in

 rendering those payments without any transparency to U.S. regulators and law enforcement, and

 thereby directly providing the IRGC with access to billions of USD that it could move – undetected

 – through the global financial system.

         62.     As alleged below, Defendant Standard Chartered Bank also knowingly and actively

 financed and facilitated illegal trade-finance transactions worth hundreds of millions of dollars on

 behalf of MODAFL, the IRGC and various instrumentalities of Iranian state-sponsored terror,

 including companies working directly for Hezbollah and the IRGC-Qods Force.

         63.     Furthermore, as alleged below, Defendants HSBC Bank USA, N.A., Standard

 Chartered Bank, ABN Amro (RBS N.V.), and Commerzbank committed acts of international

 terrorism in violation of 18 U.S.C. § 2332d.

         64.     Defendant HSBC Bank USA, N.A. is a U.S. person that knowingly conducted

 financial transactions with Iran in the United States in violation of 18 U.S.C. § 2332d, and it was

 reasonably foreseeable that Iran would provide material support to acts of international terrorism

 that killed and injured American citizens in Iraq.

         65.     Plaintiffs further allege that the U.S. branches of Defendants Barclays, Standard

 Chartered Bank, ABN Amro (RBS N.V.), and Commerzbank are U.S. persons that knowingly

 conducted financial transactions with Iran in the United States in violation of 18 U.S.C. § 2332d,

 and it was reasonably foreseeable that Iran would provide material support to acts of international




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 terrorism that killed and injured American citizens in Iraq.

        66.     Each of the Plaintiffs was injured as a result of an act of international terrorism for

 which Iran and its state-controlled organizations and terrorism proxies, including Hezbollah, were

 responsible.

 II.    JURISDICTION AND VENUE

        67.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

 1331 and 18 U.S.C. § 2333(a) as a civil action brought by citizens of the United States and/or their

 estates, survivors, or heirs, who have been injured by reason of acts of international terrorism.

        68.     Venue is proper in this district pursuant to 18 U.S.C. § 2334(a) and 28 U.S.C. §§

 1391(b) and 1391(d).

        69.     Defendants are subject to personal jurisdiction in the United States pursuant to 18

 U.S.C. § 2334(a), CPLR § 302, and Fed. R. Civ. P. 4(k)(1)-(2). Defendant HSBC Bank USA, N.A.

 is also subject to personal jurisdiction under CPLR § 301. Defendants’ unlawful conduct was

 purposefully directed at the United States, and the Conspiracy was specifically designed to

 effectuate the flow of billions of USD through the United States in violation of U.S. laws, and in

 fact resulted in hundreds of billions of dollars illegally passing through the United States.

 III.   THE DEFENDANTS

        A.      THE HSBC DEFENDANTS

        70.     Defendant HSBC Holdings Plc (“HSBC Holdings”) is a public limited company

 organized under the laws of the United Kingdom. HSBC Holdings directly or indirectly owns,

 inter alia, Defendant HSBC Bank Plc, Defendant HSBC Bank Middle East Limited, and

 Defendant HSBC Bank USA, N.A. (as noted above, referred to herein collectively as the “HSBC

 Defendants”). HSBC Holdings is occasionally referred to internally (and in this Complaint) as




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 “HSBC Group,” or “The Group,” and members and affiliates of HSBC Holdings (including the

 named HSBC Defendants herein) are occasionally referred to herein as “HSBC Group members.”

         71.     Defendant HSBC Holdings constitutes the ultimate parent company of one of the

 world’s largest banking and financial services groups with approximately 6,300 offices in over 75

 countries and territories.

         72.     HSBC Holdings is listed on the New York Stock Exchange (“NYSE”), London

 Stock Exchange (“LSE”) and Hong Kong Stock Exchange (“SEHK”).

         73.     HSBC Group members comprise financial institutions throughout the world that

 are owned by various intermediate holding companies, and ultimately, but indirectly, by Defendant

 HSBC Holdings, which, as alleged above, is incorporated and headquartered in England.

         74.     Defendant HSBC Bank Plc (“HSBC-London,” often referred to internally by

 members of HSBC Group as “HBEU”) is a financial institution registered under the laws of

 England and Wales.

         75.     Defendant HSBC Bank Middle East Limited (“HSBC-Middle East,” often referred

 to internally by members of HSBC Group as “HBME”), is a financial institution registered under

 the laws of the Jersey Channel Islands.

         76.     Defendant HSBC Bank USA, N.A. (“HSBC-US,” often referred to internally by

 members of HSBC Group as “HBUS”), is a national bank chartered under the National Bank Act

 (12 U.S.C. § 2 et seq.) that constitutes a “U.S. person” under the definitions set forth in 31 C.F.R.

 Part 560.314 of the Iranian Transactions Regulations (the “ITR”) and 18 U.S.C. § 2332d(b)(2) of

 the Anti-Terrorism Act.

         77.     According to the fact sheets published on HSBC-US’s official website, HSBC-

 US’s headquarters are in McLean, VA, and it has its principal office in New York City.




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        78.     HSBC-US operates more than 240 bank branches throughout the United States,

 with offices and branches in New York, California, Connecticut, Delaware, Washington, D.C.,

 Florida, Maryland, New Jersey, Oregon, Pennsylvania, Virginia, and Washington State.

        79.     HSBC-US is the principal subsidiary of HSBC USA Inc., which is, in turn, an

 indirect, wholly-owned subsidiary of HSBC North America Holdings, Inc. (“HNAH”). HNAH’s

 businesses serve customers in retail banking and wealth management, commercial banking, private

 banking, and global banking and markets.



        B.      DEFENDANT BARCLAYS BANK PLC

        80.     Defendant Barclays Bank Plc (“Barclays”) is a global financial services provider

 headquartered in London, United Kingdom.

        81.     Defendant Barclays is a wholly-owned subsidiary of Barclays Plc, a public limited

 liability company organized under the laws of England and Wales.

        82.     As used in this Complaint, “Barclays” refers to Barclays Bank Plc, the wholly-

 owned subsidiary of Barclays Plc, not Barclays Plc, Defendant Barclays Bank Plc’s parent

 company.

        83.     Barclays is one of the largest banks in the world. Barclays’ home country regulator

 is the United Kingdom’s Financial Services Authority (“FSA”).

        C.      DEFENDANT STANDARD CHARTERED BANK

        84.     Defendant Standard Chartered Bank (“SCB”) is one of the world’s largest

 international banks, with over 1,700 branches, offices, and outlets in more than 70 countries.

 Headquartered in London, SCB operates principally in Asia, Africa, and the Middle East, and has

 operations in consumer, corporate and institutional banking, and treasury services.




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        85.     SCB-London is listed on the London Stock Exchange (“LSE”) and Hong Kong

 Stock Exchange (“SEHK”).

        86.     Since 1976, SCB has had a license issued by the state of New York to operate as a

 foreign bank branch in New York, New York (“SCB-NY”). The branch provides wholesale

 banking services, primarily U.S.-dollar clearing for international wire payments.

        87.     Standard Chartered’s New York branch is the seventh largest U.S. dollar

 correspondent bank in the world, clearing and settling approximately 195 billion in USD funds per

 day.

        88.     Standard Chartered’s New York branch also constitutes a “U.S. person” under the

 definitions set forth in § 560.314 of the ITR and 18 U.S.C. § 2332d(b)(2).

        D.      DEFENDANT ROYAL BANK OF SCOTLAND N.V.

        89.     In October 2007, a consortium consisting of Fortis, the Royal Bank of Scotland

 Group (“RBS”), and Banco Santander acquired ABN Amro Holding N.V., the parent company of

 ABN Amro Bank N.V., using the acquisition vehicle RFS Holdings.

        90.     The former ABN Amro Bank N.V. subsequently underwent a restructuring process

 to transfer its Dutch State-acquired businesses and activities out of the existing ABN Amro Group.

 To do so, the relevant Dutch State-acquired businesses were first transferred to a new legal entity

 owned by ABN Amro Holding N.V.

        91.     On February 5, 2010, through a statutory demerger process, the former ABN Amro

 Bank N.V. was renamed RBS N.V. In 2018, RBS N.V. was renamed NatWest Markets N.V.

        92.     Ultimately, RBS acquired ABN Amro Holding N.V. As such, RBS acquired the

 New York and Chicago branches of ABN Amro Bank N.V. and began integrating certain business




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 lines handled by these branches into its other U.S. operations. These former branches constitute a

 “U.S. person” under the definitions set forth in § 560.314 of the ITR and 18 U.S.C. § 2332d(b)(2).

        93.     In this Complaint, “ABN Amro (RBS N.V.)” refers to the named Defendant herein.

        E.      DEFENDANT CREDIT SUISSE AG

        94.     Defendant Credit Suisse AG (“Credit Suisse”) is a financial services company

 headquartered in Zurich, Switzerland. Its U.S. headquarters are located at 11 Madison Avenue,

 New York, New York.

        95.     Credit Suisse serves clients worldwide through its Private Banking unit, which

 includes a Wealth Management and Corporate & Institutional Clients unit; Investment Banking

 unit; and Asset Management unit.

        96.     According to the CHIPS-NY website, Credit Suisse used the following U.S.

 financial institutions in New York to clear and settle its Eurodollar transactions:

                a.      Defendant HSBC Bank USA, N.A. (identified by CHIPS-NY
                        participant number 0108 and Fedwire routing number 021001088);

                b.      The Bank of New York Mellon (identified by CHIPS-NY
                        participant number 0001 and Fedwire routing number 011001234);

                c.      Deutsche Bank Trust Co Americas (identified by CHIPS-NY
                        participant number 0103 and Fedwire routing number 021001033);
                        and

                d.      Wells Fargo Bank NY International (identified by CHIPS-NY
                        participant number 0509 and Fedwire routing number 026005092).

        97.     Credit Suisse’s New York branch is subject to oversight and regulation by the

 Board of Governors of the U.S. Federal Reserve System and the New York State Banking

 Department. The branch thus constitutes a “U.S. person” under the Iranian Transaction

 Regulations and § 2332d(b)(2).



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        F.      DEFENDANT BANK SADERAT PLC

        98.     Bank Saderat Iran is one of the largest banks in Iran. It has approximately 3,400

 offices worldwide, including, as discussed below, a United Kingdom subsidiary (Defendant Bank

 Saderat Plc), and branches in Frankfurt, Paris, Athens, Dubai and Beirut.

        99.     Bank Saderat Iran was nationalized after the Iranian Revolution, but allegedly

 privatized in 2009. According to Bank Saderat Iran, 49% of its shares are owned by the Iranian

 government, but it is technically a non-governmental entity.

        100.    In 2002, Bank Saderat Iran’s London bank branch became a wholly-owned bank

 subsidiary, incorporated under United Kingdom law (i.e. Defendant Bank Saderat Plc).

        101.    Bank Saderat Plc is the legal successor in interest to the Iran Overseas Investment

 Bank (“IOIB”), London.

        102.    IOIB changed its name to Bank Saderat Plc in March 2002.

        103.    Defendant Bank Saderat Plc maintains its principal office in London, United

 Kingdom.

        G.      DEFENDANT COMMERZBANK AG

        104.    Defendant Commerzbank AG (“Commerzbank”) is a financial services company

 headquartered in Frankfurt, Germany, and has over 1,200 branches in Germany alone.

        105.    According to the CHIPS-NY website, Commerzbank AG used, inter alia, the

 following U.S. financial institutions in New York to clear and settle its Eurodollar transactions:

                a.      Defendant Commerzbank’s New York branch (identified by
                        CHIPS-NY participant number 0804 and Fedwire routing number
                        026008044);

                b.      Defendant HSBC Bank USA, N.A. (identified by CHIPS-NY
                        participant number 0108 and Fedwire routing number 021001088);




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                c.     Defendant SCB-NY (identified by CHIPS-NY participant number
                       0256 and Fedwire routing number 026002561); and

                d.     Deutsche Bank Trust Co Americas (identified by CHIPS-NY
                       participant number 0103 and Fedwire routing number 021001033).

        106.    Commerzbank maintains 23 foreign branches, including a New York branch

 licensed by the State of New York since 1967.

        107.    The New York branch of Commerzbank constitutes a “U.S. person” under the

 Iranian Transaction Regulations and § 2332d(b)(2).

        108.    Commerzbank is listed on stock exchanges in Germany, London, and Switzerland.

        109.    Defendants Barclays, Standard Chartered Bank, ABN Amro (RBS N.V.), Credit

 Suisse, Commerzbank, and the HSBC Defendants are sometimes referred to herein collectively as

 “the Western Bank Defendants.”

 IV.    FACTUAL ALLEGATIONS

        A.      IRAN’S LONG          HISTORY          OF   SUPPORTING       AND     FINANCING
                TERRORISM

        110.    Since the Iranian Revolution in 1979, Iran has been a principal source of extremism

 and terrorism throughout the Middle East and the rest of the world, responsible for bombings,

 kidnappings and assassinations across the globe.

        111.    As noted above, the United States designated Iran a State Sponsor of Terrorism on

 January 19, 1984. That designation has remained in force throughout the relevant time period to

 this Action.

        112.    Since its 1984 designation, the United States has attempted to constrain and deter

 Iran’s sponsorship and conduct of terrorist activities, as well as its development of Weapons of

 Mass Destruction, by imposing a wide variety of trade and economic sanctions intended to reduce




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 the flow of financial resources, especially U.S. dollar-denominated assets, for Iran’s support of

 such activities.

         B.         U.S. SANCTIONS AND IRAN’S RELIANCE ON U.S. DOLLARS

         113.       On June 25, 1996, a truck bomb decimated a building at the Khobar Towers

 complex in Saudi Arabia that was used to house American military personnel, killing 19

 Americans and wounding another 372 people.

         114.       It was soon established that the terrorist operatives responsible for the bombing

 were trained and equipped by the IRGC.

         115.       Soon thereafter, Congress responded by passing the 1996 Iran-Libya Sanctions Act

 finding that:

                    (1) The efforts of the Government of Iran to acquire weapons of mass
                    destruction and the means to deliver them and its support of acts of
                    international terrorism endanger the national security and foreign policy
                    interests of the United States and those countries with which the United
                    States shares common strategic and foreign policy objectives.

                    (2) The objective of preventing the proliferation of weapons of mass
                    destruction and acts of international terrorism through existing multilateral
                    and bilateral initiatives requires additional efforts to deny Iran the financial
                    means to sustain its nuclear, chemical, biological, and missile weapons
                    programs. [Emphasis added.]

         116.       To ensure that U.S. financial institutions that process international wire transfers in

 the Eurodollar market do not assist Iran in its support of international terrorism and weapons

 proliferation or facilitate other prohibited transactions, U.S. financial institutions have been (and

 are) required to use sophisticated computer systems and software algorithms to monitor and screen

 all wire transfer activities.

         117.       Banks in New York that process most of the world’s Eurodollar payments and

 foreign exchange transactions depend on these automated systems to prevent Iran and other




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 sanctioned entities (as well as terrorists, money launderers, and other criminals) from gaining

 access to the United States banking system. In this way, U.S. financial institutions are supposed to

 be the first line of defense to prevent Iran from accessing the U.S. financial system to fund or

 otherwise engage in terrorism and other prohibited conduct.

         118.    At the same time, because, on average, 60 percent of Iranian government revenues

 and 90 percent of Iran’s export revenues originate from the sale of its oil and gas resources, a

 market largely denominated in USD (known as “petrodollars”11), and because Iran’s currency, the

 Rial, was (in part due to U.S. sanctions) one of the world’s least valued currencies, the Iranian

 regime was desperately dependent on access to the USD funds it maintained in the Eurodollar

 market, and the interest income these petrodollar deposits generated.12

         119.    Thus, reliably consistent access to, and the ability to facilitate trade in, the

 Eurodollar market has been critical to the capacity of the Iranian regime to fund its terror proxies

 such as Hezbollah in Lebanon, and to fuel its other terrorism and weapons proliferation activities

 through the IRGC.

         120.    The importance to Iran of funding Hezbollah, the IRGC and subsequently, Kata’ib

 Hezbollah and other Special Groups in Iraq, became even more acute after the 2003 U.S. invasion

 of Iraq. After that event, Iran directed Hezbollah to create “Unit 3800” (discussed below) and

 began devoting greater financial resources to gain influence in Iraq, inflict casualties on American

 citizens in Iraq, and intensify its quest for Weapons of Mass Destruction.




 11
        The petrodollar market developed because, inter alia, the United States was the largest producer and
 consumer of oil in the world; the world oil market has been priced in USD since the end of World War II.
 12
         The Eurodollar interest rate is also known as the London Interbank Offered Rate (“LIBOR”).


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         121.    None of these goals could be accomplished by Iran without USD funds, access to

 the Eurodollar market, and the agreement of Western financial institutions, such as the Western

 Bank Defendants, to shield Iran’s unlawful Eurodollar and trade-finance activities from detection.

         C.      IRAN CONTINUOUSLY EVADED U.S., EUROPEAN UNION AND
                 UNITED NATIONS SANCTIONS

         122.    Congress and successive Administrations have enacted several laws and executive

 orders that imposed sanctions on countries and firms that sell Weapons of Mass Destruction

 technology and military equipment to Iran.

         123.    On March 16, 1995, as a result of Iranian sponsorship of international terrorism and

 Iran’s active pursuit of Weapons of Mass Destruction, President Clinton issued Executive Order

 12957 prohibiting U.S. involvement with petroleum development in Iran.

         124.    On May 6, 1995, President Clinton signed Executive Order 12959, pursuant to the

 International Emergency Economic Powers Act (“IEEPA”),13 as well as the 1985 International

 Security and Development Cooperation Act (“ISDCA”), substantially tightening sanctions against

 Iran.

         125.    On August 19, 1997, President Clinton signed Executive Order 13059 clarifying

 Executive Orders 12957 and 12959, and confirming that virtually all trade and investment

 activities with Iran by U.S. persons, wherever located, were prohibited.

         126.    In order to thwart U.S. sanctions efforts, Iran cultivated close relationships with

 foreign arms suppliers, including Russia, China, and North Korea.




 13
         On October 16, 2007, President Bush signed into law the International Emergency Economic Powers
 (IEEPA) Enhancement Act, Public Law No. 110-96, amending IEEPA section 206. The Act enhanced criminal and
 administrative penalties that could be imposed under IEEPA.


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        127.   In addition, Iran sought to clandestinely acquire dual-use technologies from

 European manufacturers, and certain export-controlled defense products, aircraft parts, dual-use

 technologies and materials from the United States.

        128.   For years, U.S. law enforcement officials, customs agents and intelligence services

 have worked to thwart Iranian efforts to circumvent U.S. economic sanctions and arms embargos.

        129.   A few brief examples illustrate the larger U.S. government effort:

                      On March 12, 2001, criminal and civil sanctions were imposed on
                       Refinery Industries, Inc., of Budd Lake, New Jersey, for attempted
                       exports of gas detection equipment to Iran.

                      On June 11, 2001, Saeed Homayouni and Yew Leng Fung, officials
                       of Multicore, Inc., pled guilty in the U.S. in connection with the
                       firm's purchase of commercial and military aircraft parts and missile
                       components for export to Iran.

                      In March 2007, the U.S. led efforts to pass U.N. Security Council
                       Resolution 1747 that declared: “Iran shall not supply, sell or transfer
                       directly or indirectly from its territory or by its nationals or using its
                       flag vessels or aircraft any arms or related materiel.”

                      In March 2008, the U.S. led efforts to pass U.N. Security Council
                       Resolution 1803 that called upon all member states “to exercise
                       vigilance over the activities of financial institutions in their
                       territories with all banks domiciled in Iran, in particular with Bank
                       Melli and Bank Saderat, and their branches and subsidiaries abroad”
                       and “to inspect the cargoes to and from Iran, of aircraft and vessels,
                       at their airports and seaports, owned or operated by Iran Air Cargo
                       and Islamic Republic of Iran Shipping Line, provided there are
                       reasonable grounds to believe that the aircraft or vessel is
                       transporting [prohibited] goods…”

                      On September 17, 2008, the U.S. Department of Justice unsealed a
                       criminal indictment against 16 foreign-based defendants related to
                       Mayrow General Trading Company, for their involvement in
                       providing Weapons of Mass Destruction-related, military, and dual-
                       use items to Iran, specifically components found in IEDs in Iraq that
                       caused deaths and injuries to U.S. military personnel.




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                      On December 11, 2009, at the request of the U.S. government, the
                       Thai government detained a Russian aircraft containing a cargo of
                       weapons from North Korea destined for Iran.

                      On June 23, 2010, the U.S. Department of Justice charged an Iranian
                       company and citizen, as well as Opto Electronics PTE, Ltd., a
                       Singapore company and others with, inter alia, violations of the
                       Arms Export Control Act (22 U.S.C. §2778) for facilitating the
                       unlawful transfer of long range radio frequency modules used in
                       IEDs targeting Coalition Forces in Iraq. The modules were flown to
                       Iran by Mahan Air.

                      On May 11, 2010, Balli Aviation Ltd., a subsidiary of the U.K.-
                       based Balli Group Plc., was sentenced in the District of Columbia to
                       pay a $2 million fine, and to serve a five-year corporate period of
                       probation after pleading guilty to a two-count criminal information
                       in connection with its illegal export of a commercial Boeing 747
                       aircraft from the United States to Iran.

                      In December 2012, the U.S. Department of Justice charged Business
                       Machinery World Wide, an Iranian corporation based in Tehran,
                       Iran; three of its subsidiary companies located in Dubai, United
                       Arab Emirates; and nine officers and individuals for conspiring to
                       violate the IEEPA by facilitating the shipment of computers to the
                       United Arab Emirates for delivery to Iran.

                      In April 2014, John Alexander Talley was sentenced to 30 months
                       in prison for conspiracy to violate the IEEPA and Iranian
                       Transaction and Sanctions Regulations. Talley’s company, Tallyho
                       Peripherals, Inc., was also sentenced to one year of probation.
                       According to court documents, from 2009 to September 2012,
                       Talley and his company conspired with others to unlawfully export
                       sophisticated computer equipment from the United States to Iran.
                       The shipments of the computers and the payments transited through
                       the United Arab Emirates.

        130.    In addition, both the U.S. Treasury Department and Commerce Department have

 blacklisted a long list of Iranian front companies, shell companies and middlemen that the U.S.

 has determined to be complicit in Iran’s sanctions evasion efforts.


        D.      THE EURODOLLAR MARKET – IRAN’S MONEY LAUNDERING AND
                ILLICIT EXPORT NEXUS WITH DEFENDANT BANKS




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                   1.       The Conspiracy’s Shared Goals

          131.     As noted supra, Iran needed access to the Eurodollar market in order to sustain the

 Islamic Revolutionary government that has ruled Iran since 1979.

          132.     Specifically, the Government of Iran used the Eurodollar market for the following

 economic activities:

                   a.       Investing petrodollar (in USD funds) revenue from Iran’s oil and gas
                            export sales;

                   b.       Exporting the Iranian Islamic Revolution through acts of
                            international terrorism; and

                   c.       Illicitly acquiring U.S.-manufactured equipment, parts and
                            technology to further its nuclear and conventional weapons
                            programs.

          133.     Iran did not have a legitimate need to access the Eurodollar market for the benefit

 of any Iranian civilian agency, operation or program; it could have operated with funds

 denominated in any number of other Eurocurrencies14 (deciding, instead, to continually conduct

 its international trade primarily in Eurodollars).

          134.     Specifically, Iran did in fact have access to viable alternative options both for

 foreign exchange and time deposits in Eurocurrencies (other than Eurodollars) to meet the needs

 of its civilian programs, including, but not limited to, its credit at the European Central Bank

 denominated in Euros, its credit at the International Monetary Fund (“IMF”) denominated in

 Special Drawing Rights (“SDRs”), its credit at the Asian Clearing Union (“ACU”) denominated

 in Asian Monetary Units (“AMUs”), or its domestic credit denominated in Iranian Rial.



 14
         The term Eurocurrency refers to deposits of funds transferred to, and maintained by, banks outside of the
 home country for the respective currency. Thus, had Iran chosen to convert its petrodollars into Japanese Yen, it would
 have held “Euroyen” deposits at banks outside of Japan.


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        135.     However, Iran would not have been able to move its funds undetected through the

 Eurodollar market without the covert operational and technical assistance it received from the

 Defendants.

        136.     Likewise, Iran would not have been able to substantially fund Hezbollah and Shi’a

 militias in Iraq—and acquire U.S.-manufactured products (including dual-use technologies and

 export-controlled manufacturing equipment)—without access to USD funds through the

 Eurodollar market.

        137.     As a result of Iran’s deceptive and illegal banking practices, in mid-2012, Iran’s

 access to the Eurodollar market through the Defendant Banks was cut-off by SWIFT-Brussels.

        138.     Soon thereafter, Iran’s domestic currency collapsed.

        139.     The CBI was forced to intensify the use of its gold reserves in order to prop-up the

 Rial’s value.

        140.     Absent the Defendant Banks providing Iran and its proxies with decades of

 clandestine access to the Eurodollar market, Iran’s foreign policy goal of furthering its Islamic

 Revolution through the financing of terrorism—including Iran’s sponsorship of terrorist attacks

 against Coalition Forces in Iraq between 2004 and 2011—would have been severely constrained.

                 2.     Eurodollar Market Operations

        141.     As mentioned above, the global Eurodollar market is a wholesale, bank-to-bank

 market where a correspondent network of banks, bank branches and other bank affiliates outside

 the United States make loans and accept deposits denominated in U.S. dollars.

        142.     According to the FRB-NY, the Eurodollar market emerged after World War II due

 to a large increase in U.S. dollars funds circulating outside of the United States from, inter alia,

 the Marshall Plan expenditures to rebuild Europe after the war.




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        143.    Prior to the launch of SWIFT-NET in 1977, most transactions in the Eurodollar

 market were conducted electronically by telegraphic transfer (“TELEX”).

        144.    By the time of the 1979 Iranian Revolution, the Bank of International Settlements

 (“BIS-Basel”) estimated that the size of the Eurodollar market was over $600 billion.

        145.    A mid-2015 report by the Bank of International Settlements (“BIS-Basel”)

 estimated that the size of the Eurodollar market by the end of 2014 was over twenty-one trillion in

 USD funds.

        146.    As mentioned supra, nearly all U.S. dollar transfers initiated through banks outside

 the United States are processed electronically by correspondent banks in the United States, almost

 exclusively in New York.

        147.    The Clearing House Interbank Payment System (“CHIPS-NY”) represents that it

 processes 95 percent of those Eurodollar funds transfers.

        E.      THE IRANIAN U-TURN EXEMPTION AND ITS REVOCATION

        148.    Alongside its economic sanctions against Iran, the United States government

 designed an exception process to permit Iran’s circumscribed access to U.S. dollars through a

 narrowly-tailored exemption to the Iranian Trade Regulations, known as the “U-Turn exemption”

 (Section 560.516 of the Iranian Trade Regulations). At the same time, the U.S. government insisted

 that U.S. financial institutions operating in the Eurodollar market conduct careful monitoring of

 all Iranian transactions to both deter and detect the financing of sanctioned entities involved in,

 inter alia, Iran’s terrorism and weapons proliferation activities.

        149.    The purpose of the U-Turn exemption was to permit Iranian parties indirect access

 to USD funds, provided that these transactions were fully disclosed to U.S. correspondent banks;




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 were strictly for Iran’s legitimate agencies, operations and programs; and were not earmarked for

 terrorist, WMD proliferation or other proscribed purposes.

         150.    Until November 2008, U.S. financial institutions were authorized to process certain

 funds transfers (under the U-Turn exemption) for the direct or indirect benefit of Iranian banks,

 other persons in Iran or the Government of Iran, provided such payments were initiated offshore

 by a non-Iranian, non-U.S. financial institution and only passed through the U.S. financial system

 en route to another offshore, non-Iranian, non-U.S. financial institution; and provided that none

 of the parties to the transactions had been designated an SDN, or that the transaction was for an

 SDN’s benefit.

         151.    The U-Turn exemption was therefore conditioned on transparency to permit the

 careful monitoring of all Iranian transactions, both to deter and detect terror financing and weapons

 proliferation activities.

         152.    Because so much of Iran’s international trade has historically flowed through the

 United States for the clearing and settlement and because Iran’s primary terrorist proxy, Hezbollah,

 operates in Lebanon (itself a dollarized economy and largely dependent on U.S. currency)

 maintaining transparency in the processing of Iranian USD transactions has been a vital part of the

 architecture of U.S. national security for decades and was reflected as such in the Iranian Trade

 Regulations.

         153.    Iran’s access through the U-Turn exemption was to be closely monitored filtering

 all U-Turn exemption transactions through sophisticated computer systems used by U.S. financial

 institutions to monitor and screen all USD-denominated wire transfers.

         154.    The Western Bank Defendants, however, knowingly and intentionally agreed to,

 and did, manipulate tens of thousands of payment order messages (SWIFT-NET MT 103 and MT




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 202) and the records of such transactions to defeat such monitoring and screening, and prevent

 transparency, in order to provide USD funds to Iran for unlawful uses, which foreseeably included

 the support of Iranian terrorism and terrorist organizations.

         155.     Over time, however, U.S. authorities began to understand the contours of the

 Conspiracy involving Iran and the Defendants that is set forth in this Complaint.

         156.     Initially, the realization that Iran was engaging in “deceptive banking practices” led

 the U.S. to target key Iranian financial institutions, entities, and individuals under proliferation,

 counter-terrorism, and Iran-related sanctions (i.e., E.O. 13382, E.O. 13224, and E.O. 13438,

 respectively).

         157.     The apparent assumption made initially by U.S. authorities was that Iran and its

 banking agents (Iranian Bank Co-conspirators Bank Sepah, Bank Melli, Bank Saderat and others)

 were engaged in deception that was exploiting unwitting Western financial institutions that were

 engaged in high risk but legal, foreign exchange, precious metals, and trade-finance business with

 Iran.

         158.     The truth was otherwise.

         159.     First, despite Iran’s feeble domestic economy during the entire relevant period of

 time, its oil and natural gas exports still provided the Iranian regime with substantial revenues

 denominated in U.S. dollars.

         160.     Second, Iran’s petrodollar revenues were managed by, and through, among others,

 the Central Bank of Iran (“CBI”) and the Iranian Ministry of Petroleum (including the National

 Iranian Oil Company; later designated an SDN pursuant to E.O. 13382 and identified as an agent

 or affiliate of the IRGC).15



 15
         That designation was removed in January 2016.


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          161.   Third, the challenge Iran faced was that it was almost entirely dependent on USD

 funds but U.S. economic sanctions—and the attendant monitoring of Iran’s financial activities—

 were incompatible with its terror financing and Weapons of Mass Destruction proliferation goals.

          162.   Fourth, between 2004 and 2011, both Lebanon (where Iran’s agent, Hezbollah, is

 based) and Iraq (where Iran’s proxies were launching terror attacks killing and maiming the

 Plaintiffs) were U.S.-dollarized economies, a fiscal reality that made Iran’s funding of its terror

 proxies a highly “dollar-sensitive” endeavor.

          163.   Fifth, in order to free itself from U.S. economic sanctions, and circumvent the U.S.,

 European Union (“EU”) and United Nations (“U.N.”) monitoring of its financial activities, Iran

 needed more than a single willing partner among Western financial institutions to assist its illegal

 goals.

          164.   Finally, Iran needed the active assistance of at least several of the world’s largest

 (non-U.S.) multinational banks that were already accustomed to handling large volumes of dollar

 clearing and settlement transactions, and thus would be less likely to raise suspicions with U.S.

 authorities.

          165.   For example, in early 2001, the Central Bank of Iran asked Defendant Standard

 Chartered Bank to act as its correspondent bank with respect to Iranian petrodollar payments,

 trade-finance and foreign exchange transactions on behalf of NIOC.

          166.   As set forth infra, Standard Chartered Bank agreed to participate in the Conspiracy

 and deliberately removed identifying data on NIOC’s payment orders (SWIFT-NET MT 103 and

 MT 202 payment order messages) for these and other wire transfers.




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        167.    The sheer size and volume of these NIOC transactions would have raised numerous

 red flags if not undertaken by a bank of SCB’s size and existing USD clearing and settlement

 volume.

        168.    However, even the large international banks worried about attracting attention from

 U.S. authorities when their illegal dollar clearing activities for Iran markedly increased.

        169.    For example, as detailed below, in 2003, Defendant Commerzbank’s employees

 expressed concern that Commerzbank’s increased volume of illegal Eurodollar clearing activities

 on behalf of Bank Melli and Bank Saderat would draw unwanted attention.

        170.    In the spring of 2006, the Manhattan District Attorney’s Office first discovered

 evidence of the Conspiracy engaged in by certain European banks (including the Western Bank

 Defendants herein) on behalf of Iran and Iranian banks.

        171.    As the New York State Department of Financial Services (“DFS”) later observed:

                By 2008 it was clear that this system of wire transfer checks had been
                abused, and that U.S. foreign policy and national security could be
                compromised by permitting U-Turns to continue. In November 2008, the
                U.S. Treasury Department revoked authorization for “U-Turn” transactions
                because it suspected Iran of using its banks – including the CBI/Markazi,
                Bank Saderat and Bank Melli – to finance its nuclear weapons and missile
                programs. The U.S. also suspected that Iran was using its banks to finance
                terrorist groups, including Hezbollah, Hamas and the Palestinian Islamic
                Jihad, and engaging in deceptive conduct to hide its involvement in various
                other prohibited transactions, such as assisting OFAC-sanctioned weapons
                dealers. [Emphasis added].

        172.    These findings led to a wide-ranging investigation that ultimately resulted in the

 entry of a series of Deferred Prosecution Agreements (“DPAs”) with the Western Bank Defendants

 (as well as other European and Japanese banks), and it exposed catastrophic vulnerabilities in

 America’s counter-financing of terrorism (“CFT”) security architecture inherent in the U-Turn

 exemption because foreign banks, including the Western Bank Defendants herein, were actively




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 conspiring with Iran to help it evade U.S. economic sanctions and secret hundreds of billions of

 dollars through the U.S. financial system undetected.

        173.    On October 11, 2007, the Financial Action Task Force (“FATF”) released a

 statement of concern that “Iran’s lack of a comprehensive anti-money laundering/counter-terrorist

 finance regime represents a significant vulnerability within the international financial system.”

        174.    FATF’s October 11, 2007 statement further noted that “FATF members are

 advising their financial institutions to take the risk arising from the deficiencies in Iran’s

 AML/CFT regime into account for enhanced due diligence.”

        175.    The U.S. criminal investigations would ultimately find that “the risk arising from

 the deficiencies in Iran’s AML/CFT regime” ultimately included willful money laundering and

 terror financing by Iran with the active, critical assistance of the Defendants herein.

        176.    Based on figures from both the International Monetary Fund and the Central Bank

 of Iran, from 2004 through 2011 Iran’s total revenues from oil and natural gas export sales totaled

 approximately $972.9 billion USD.

        177.    Without the Conspiracy between the Defendants herein, and other foreign financial

 institutions, Iran could not have (a) transferred the overall volume of USD funds through the

 international financial system that it did; (b) surreptitiously transferred large amounts of these USD

 funds for the benefit of Hezbollah and the IRGC; and (c) exploited the Iranian U-Turn exemption

 to blind U.S. regulators and law enforcement to the degree, and for the duration, that it did.

        178.    As former Manhattan District Attorney Robert M. Morgenthau pointedly told

 Congress in 2009, “the U-Turn exemption constituted a glaring hole that undermined both the

 enforcement of, and the rationale behind, the Iranian sanctions program.”




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          179.   Effective November 10, 2008, OFAC revoked the U-Turn exemption in its entirety,

 and, as of that date, U.S. depository institutions were no longer authorized to process any Iranian

 U-Turn payments.

          180.   In revoking the U-Turn exemption, the U.S. government explained:

                 Iran’s access to the international financial system enables the Iranian regime
                 to facilitate its support for terrorism and proliferation. The Iranian regime
                 disguises its involvement in these illicit activities through the use of a wide
                 array of deceptive techniques, specifically designed to avoid suspicion and
                 evade detection by responsible financial institutions and companies. Iran
                 also is finding ways to adapt to existing sanctions, including by turning to
                 non-designated Iranian banks to handle illicit transactions.

                 The Treasury Department is taking a range of measures, including today’s
                 action, to counter these deceptive activities.

          F.     LETTERS OF CREDIT – AN ALTERNATIVE METHOD                                         OF
                 UNDERMINING THE IRANIAN SANCTIONS PROGRAM

                 1.     Terminology

          181.   Letters of Credit (“LCs”) are often used in international transactions to ensure that

 payment will be received. Due to the nature of international transactions, including factors such as

 the distance goods must travel, differing laws in each country, and the difficulty of trading parties

 knowing each party personally, the use of LCs has become a very important aspect of international

 trade.

          182.   The LC transaction process begins when an “Applicant” opens the Letter of Credit

 with a bank.

          183.   Normally, the Applicant is the purchaser of goods and the LC is opened with his/her

 bank according to the terms and conditions of the purchase order and business contract between

 buyer and seller.




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        184.     The “Beneficiary” of the LC is the party to the transaction who receives the

 payment amount agreed upon in the LC.

        185.     In order to receive payment for the goods, the Beneficiary company submits all

 required documents under the terms and conditions of the LC.

        186.     When an LC is required to be secured, an “Issuing Bank” agrees to guarantee

 payment for its customer upon the completion of the terms and conditions of the LC.

        187.     The Issuing Bank’s role is to provide a guarantee to the seller that if the required

 documentation is presented, the bank will examine the documents and pay the contract sum if these

 documents comply with the terms and conditions set out in the LC.

        188.     Typically, the documents requested will include a commercial invoice, a transport

 document such as a bill of lading or airway bill and an insurance document; there are many other

 documents such as certificates of origin, packing lists and inspection certificates that can be

 included. LC transactions deal in documents, not in the underlying goods themselves.

        189.     An “Advising Bank” is usually a foreign correspondent bank of the Issuing Bank

 that will advise the beneficiary of the transaction. Generally, a Beneficiary of an LC wants to use

 a local bank to insure that the LC is valid.

        190.     In addition, the Advising Bank is usually responsible for sending the documentation

 to the Issuing Bank. Generally, the Advising Bank has no other obligation under the LC. If the

 Issuing Bank does not pay the beneficiary, the Advising Bank is not obligated to pay the obligation

 under the LC.

        191.     The “Confirming Bank” is usually a correspondent bank that confirms the LC for

 the Beneficiary. At the request of the Issuing Bank, the Confirming Bank obligates itself to ensure

 payment under the LC.




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         192.     Because the Confirming Bank does not confirm the credit until it evaluates the

 country and bank where the LC originates, the Confirming Bank usually acts as the Advising Bank.

         193.     In the middle of this serpentine process is the “Negotiating Bank,” which negotiates

 documents delivered by the Beneficiary of the LC.

         194.     The Negotiating Bank examines the drafts and/or documents, and verifies and

 confirms the terms and conditions under the LC on behalf of the Beneficiary to avoid

 discrepancies.

         195.     A Negotiating Bank gives value to, and relies upon (or may rely upon), such drafts

 and/or documents, and may purchase or agree to purchase the drafts and/or documents presented.

         196.     A Reimbursing Bank usually pays part or all of the amount due to the Beneficiary

 of the LC on behalf of the Issuing Bank once it receives a statement from the Negotiating Bank

 that the documents required comply with the LC’s terms; however, in certain cases a Reimbursing

 Bank serves only as a guarantor for the payment by the Issuing Bank.

                  2.      The U.S. Trade Embargo – United States Munitions List (USML) and
                          Commerce Control List (CCL)

         197.     For decades, U.S. trade with Iran has been carefully circumscribed by the

 International Traffic in Arms Regulations (“ITARs”), Export Administration Regulations

 (“EARs”), and Iran Trade Regulations (“ITRs”).

         198.     Certain types of U.S. defense articles and defense services, such as nuclear or

 conventional weapon systems, are identified based on the ITARs promulgated by the U.S.

 Department of State and its Directorate of Defense Trade Controls through a publically available

 United States Munitions List (“USML”).16


 16
          The updated USML is available at:
 https://www.pmddtc.state.gov/regulations_laws/documents/official_itar/ITAR_Part_121.pdf.


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         199.    In addition to USML items, certain types of U.S. dual-use products, such as nuclear

 materials, aerospace and other potentially sensitive materials, are identified based on the EARs

 and ITRs by the U.S. Department of Commerce and its Bureau of Industry and Security (“BIS”)

 on a publicly available Commerce Control List (“CCL”).17

         200.    Dual-use items that are not published on the CCL by BIS are commonly referred to

 by U.S. manufacturers and shipping companies as “EAR99.”

         201.    These EAR99 items generally consist of low-technology consumer goods and do

 not always require a license; however, shipment from the United States of an EAR99 item to Iran,

 or any other embargoed country, often requires disclosure to BIS in addition to a license from the

 Commerce Department.

         202.    As set forth below, one of the aims of the Conspiracy was to evade the U.S. ITARs,

 ITRs, and EARs—and also various EU decisions and U.N. Security Council Resolutions—

 prohibiting Iran from conducting both conventional weapons-trafficking and WMD proliferation.

         203.    To facilitate this aim, Iran and its Co-Conspirators, including the Defendants

 herein, used LCs drawn on the CBI and other Iranian banks (and “stripped” the underlying payment

 orders), to clandestinely obtain and transport goods, technologies and weapons that were listed on

 the USML and/or CCL.

         204.    Because the IRGC and Hezbollah needed to transport their terrorist operatives and

 weapons into Iraq, U.S. export-controlled item acquisitions financed by Letters of Credit were

 instrumental in facilitating the activities of these terrorist organizations, including, but not limited

 to, helping Iran acquire component parts and technologies used to make the IEDs, EFPs, and




 17
          The updated list is available at http://www.bis.doc.gov/index.php/regulations/export-administration-
 regulations-ear.


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 Improvised Rocket-Assisted Munitions (“IRAMs”) that were deployed by the Iraqi Special Groups

 against Coalition Forces.

         G.       IRAN’S ILLEGAL ARMS SHIPMENTS THROUGH ISLAMIC REPUBLIC
                  OF IRAN SHIPPING LINES (IRISL)

         205.     As Iran’s national maritime carrier, IRISL has a long history of facilitating arms

 shipments on behalf of the IRGC and the Iranian military, including copper discs that are a key

 component in EFPs (discussed below) used to kill and maim many of the Plaintiffs herein.18

         206.     For example, a November 2007 State Department cable noted:

                  Washington remains concerned about on-going conventional arms transfers
                  from China to Iran, particularly given Iran’s clear policy of providing arms
                  and other support to Iraqi insurgents and terrorist groups like the Taliban
                  and Hezbollah….

                  We have specific information that Chinese weapons and components for
                  weapons transferred to Iran are being used against U.S. and Coalition Forces
                  in Iraq, which is a grave U.S. concern.

         207.     The diplomatic cable went on to note that an IRISL-flagged vessel was loaded at a

 Chinese port with multiple containers of cargo bound for delivery at the port of Bandar Abbas,

 Iran.

         208.     The cargo included Iranian Defense Industries Organization (“DIO”)19

 manufactured ammunition cartridges (7.62 x 39 rounds for AK-47 assault rifles).




 18
          Improvised Explosive Device (“IED”) is a term commonly used by the U.S. military as shorthand for a
 roadside bomb. However, unlike IEDs, the EFPs deployed by the IRGC, Hezbollah and the Special Groups in Iraq
 were not “improvised,” but, instead, these advanced weapons were professionally manufactured and specifically
 designed to defeat the armor plating that protected the vehicles used by U.S. and Coalition Forces.
 19
          DIO was designated an SDN by the U.S. on March 30, 2007. IRGC Brigadier-General Seyyed Mahdi Farahi
 was the Managing Director of DIO and has been sanctioned by the EU since 2008 (see, http://eur-lex.europa.eu/legal-
 content/EN/TXT/?uri=CELEX%3A32008D0475). He was later sanctioned by the U.S. on January 17, 2016.


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        209.    DIO is an Iranian government-owned weapons manufacturer controlled by

 MODAFL.

        210.    An April 2008 State Department cable warned of an IRISL shipment of chemical

 weapons precursors from China aboard the IRISL-leased, Iranian flagged merchant vessel

 (“M/V”) Iran Teyfouri.

        211.    In September 2008, the U.S. Treasury Department designated IRISL an SDN,

 stating: “Not only does IRISL facilitate the transport of cargo for U.N. designated proliferators, it

 also falsifies documents and uses deceptive schemes to shroud its involvement in illicit

 commerce.”

        212.    The Treasury Department further noted that:

                [i]n order to ensure the successful delivery of military-related goods, IRISL
                has deliberately misled maritime authorities through the use of deception
                techniques. These techniques were adopted to conceal the true nature of
                shipments ultimately destined for MODAFL [Iran’s Ministry of Defense
                and Armed Forces Logistics].

        213.    In January 2009, a former Russian merchant ship chartered by IRISL—named the

 M/V Monchegorsk and flying a Cypriot flag—was spotted leaving the Iranian port of Bandar

 Abbas and heading for the Suez Canal.

        214.    Egyptian authorities were alerted by the U.S. Navy, and the M/V Monchegorsk was

 forced into an Egyptian port to be searched. Iran’s DIO was later determined to be the shipper of

 the military-related cargo.

        215.    Munitions, believed headed for Gaza, were found hidden in the cargo, including

 components for mortars and thousands of cases of powder, propellant, and shell casings for 125mm

 and 130mm guns.




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        216.    In October 2009, U.S. troops boarded a German-owned freighter, the M/V Hansa

 India, in the Gulf of Suez and found eight containers full of ammunition that were headed to Syria

 from Iran.

        217.    The vessel carried seven containers of small arms ammunition (including 12 million

 bullet casings), as well as one container containing copper discs of the type used in EFPs to kill

 and maim many of the Plaintiffs herein.

        218.    The acronym “IRISL” was painted in large block letters on the exterior side walls

 of each shipping container, and the barrels of munition parts discovered inside the containers were

 marked with the inscription “SAEZMANE SANAYE DEFA,” a common transliteration from

 Farsi to English of the name for Iran’s Defense Industries Organization (DIO).

        219.    The M/V Hansa India was registered to the Hamburg-based shipping company

 Leonhardt & Blumberg, but had been under charter to IRISL for several years.

        220.    In November 2009, the Government of Israel intercepted an IRISL-flagged ship,

 the M/V Francop, headed for Beirut, Lebanon and then Latakia, Syria. The vessel was loaded with

 munitions crates that were either stamped “IRISL” or included documentation marked with the

 IRGC-QF logo.

        221.    The munitions found onboard included over two thousand 107mm “Katyusha”

 rockets, more than six hundred 122mm “Grad 20” rockets, and also various rocket fuses, mortar

 shells, rifle cartridges, fragment grenades and 7.62mm bullets.

        222.    The M/V Francop, owned by the Cypriot shipping company UFS, was carrying

 shipping containers clearly marked IRISL.

        223.    United Nations Security Council Resolution 1929, adopted on June 9, 2010, froze

 certain assets of IRISL and called on the international community to cease providing financial and




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 insurance services to both the IRGC and IRISL.

        224.    In addition, a July 2010 European Union (“EU”) sanctions implementing regulation

 confirmed that IRISL conducted deceptive business practices in order to access USD funds.

        225.    Specifically, EU Council Implementation Regulation Number 668/2010 stated that

 “IRISL subsidiaries have used US dollar-denominated bank accounts registered under cover-

 names in Europe and the Middle East to facilitate routine fund transfers.”

        226.    Similarly, the June 2011 indictment of IRISL in New York stated:

                In many aspects of global commerce, including the international maritime
                industry, contracts and payments are denominated in U.S. dollars. Such U.S.
                dollar transactions are primarily executed, or “cleared,” through
                correspondent banks in the United States. The U.S. dollar clearing
                operations for many large U.S. financial institutions are processed through
                correspondent bank accounts domiciled in New York County.

                In order to deceive and bypass these OFAC filters, SDNs designated under
                OFAC’s non-proliferation of weapons of mass destruction program must
                falsify, or cause to be falsified, the originator and/or beneficiary information
                in wire transfers. In other words, by omitting or falsifying data regarding
                their roles as the true originators or beneficiaries, SDNs are able to send and
                receive wire transfers that would otherwise be blocked by U.S. financial
                institutions. Through the fraudulent use of a web of subsidiary entities and
                front companies, IRISL and the other defendants were able to deceive U.S.
                financial institutions and maintain their access to the U.S. financial system.

        227.    Because the DIO, as discussed infra, was one of MODAFL’s three main weapons

 systems manufacturers, it was required to use IRISL for most of its illicit shipments of military-

 related raw-materials, parts and finished products for, and from, foreign suppliers, Iranian arms

 dealers and terrorist organizations.

        228.    Iran’s DIO was listed as an entity of concern for military procurement activities in

 an early warning document distributed by the German government to industry in July 2005.

        229.    The DIO was also designated by the United Nations in 2006 for its involvement in

 Iran’s WMD program.


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        230.    During 2006 and 2007, weapons caches seized by Coalition Forces from the Special

 Groups in Iraq contained large quantities of weapons produced by Iran; including many 107

 millimeter artillery rockets with closely clustered DIO lot numbers and production dates between

 2005 and 2007, as well as rounds and fuses for 60 millimeter and 81 millimeter mortars with DIO

 lot markings and 2006 production dates.

        231.    In sum, at no point in time was the DIO a legitimate agency of the Iranian

 government.

        232.    According to the U.S. State Department, the DIO was the owner of a Eurodollar

 account that was maintained by Bank Melli Iran’s branch in Hamburg; and this bank account was

 used to send and receive USD funds transfer transactions for the benefit of the DIO.

        233.    Bank Melli Iran’s branch in Hamburg was a customer of Defendant Commerzbank

 during the relevant period, and both Bank Melli Iran and Commerzbank were active participants

 in the Conspiracy set forth herein.

        H.      THE   IRGC   AND   HEZBOLLAH    COMMITTED  ACTS   OF
                INTERNATIONAL TERRORISM AT IRAN’S DIRECTION IN WHICH
                PLAINTIFFS WERE FORESEEABLY INJURED

        234.    As previously noted, Iran has had a long, deep, strategic partnership with the

 Lebanese-based Foreign Terrorist Organization Hezbollah, which historically has served as Iran’s

 proxy and agent, enabling Iran to project extremist violence and terror throughout the Middle East

 and around the globe.

        235.    After the U.S. and its Coalition partners invaded Iraq in March 2003, Iran embarked

 on a calculated and carefully calibrated campaign in Iraq.

        236.    Iran’s multifaceted goals included killing and maiming U.S. service members and

 other Coalition Forces (primarily Polish and British personnel), as well as Iraqi civilians, in Iraq




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 in order to induce Coalition Forces to leave Iraq; expanding Iranian influence in Iraq; and

 promoting an Iraqi government subservient to Iran.

        237.    Iran was unable to confront the U.S. with its conventional military, or to risk

 provoking a U.S. military response, so it decided to employ its preferred method of statecraft: a

 terror campaign.

        238.    Iran’s two primary instruments for conducting this terrorist campaign against

 Coalition Forces were Lebanese Hezbollah (designated a Foreign Terrorist Organization by the

 United States in 1997) and the IRGC (designated an SDGT by the United States in 2017) including

 its foreign operations and terrorism directorate, the IRGC-QF (designated an SDGT by the United

 States in 2007).

        239.    The United States designated the IRGC-QF an SDGT for, inter alia, “provid[ing]

 lethal support in the form of weapons, training, funding, and guidance to select groups of Iraqi

 Shi'a militants who target and kill Coalition and Iraqi forces and innocent Iraqi civilians.”

        240.    In 2017, Congress found that the IRGC-QF “is the primary arm of the Government

 of Iran for executing its policy of supporting terrorist and insurgent groups. The IRGC-QF provides

 material, logistical assistance, training, and financial support to militants and terrorist operatives

 throughout the Middle East….”

        241.    While the IRGC and the IRGC-QF were responsible for managing Iran’s terror

 campaigns abroad, they lacked recent operational and tactical experience in developing terrorist

 capabilities and performing terrorist attacks against a modern military force. Moreover, as

 ethnically Persian, Farsi-speaking entities, IRGC personnel were at a disadvantage in recruiting

 and training ethnically Arab, Arabic-speaking Shi’a Iraqis.

        242.    For that purpose, the IRGC-QF therefore turned to FTO Hezbollah, Iran’s Lebanese




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 long-standing terror proxy, which had hard-earned experience in running terror campaigns against

 the Israel Defense Forces in Lebanon, and which shared ethnic and language connections with

 Iraqis.

           243.   Hezbollah and the IRGC-QF worked symbiotically to plan, authorize, and commit

 attacks on Coalition Forces in Iraq. They accomplished this by developing agents among the Shi’a

 population in Iraq, providing them with funding, weapons, and training, and then guiding and

 directing them to attack Coalition Forces.

           244.   Specifically, the IRGC-QF and Hezbollah provided these proxies with

 sophisticated weapons specially designed to inflict casualties on the well-protected Coalition

 Forces—principally, EFPs and IRAMs, along with the Tactics, Techniques, and Procedures

 (“TTPs”) developed by Hezbollah necessary to use them most effectively.

           245.   These Shi’a proxies included:

                     Badr Corps/Badr Organization,
                     Jaysh al-Mahdi (“JAM” or the “Mahdi Army”) including the Promised Day
                      Brigades
                     Asa’ib Ahl Al-Haq (“AAH” or the “League of the Righteous”)
                     Kata’ib Hezbollah (KH) (designated an FTO in 2009).

           246.   Although the precise roles and proficiencies of these groups evolved over time, at

 all relevant times each acted as the agent of Hezbollah and the IRGC-QF in attacking Coalition

 Forces.

           247.   The IRGC-QF provided EFPs to their proxies for the exclusive purpose of targeting

 Coalition Forces, and Hezbollah’s advanced EFP training was provided exclusively to these cells

 to improve their emplacement of EFPs against Coalition armored vehicles. The IRGC-QF and




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 Hezbollah were the sole source of the weapons.20

          248.     These terror cells served as EFP emplacers (or in some cases, trigger pullers) for

 the IRGC-QF and Hezbollah. They were generally not permitted to use their independent judgment

 in choosing their targets (they were often directed to select a particular date or location for an

 attack, and even required to provide visual evidence that they had carried out the IRGC’s

 directives). If a group or cell failed to comply with the IRGC’s directives it could be deprived of

 EFPs and other support. EFPs were carefully controlled. For example, “[e]ach major arms cache

 [had] a ‘hide custodian’ who signs out weapons such as EFPs and is responsible for their proper

 use against U.S. forces and the minimization of Iraqi casualties.”21

          249.     When EFPs were misused, the IRGC would cut the group off.22

          250.     A 2010 Department of Defense report confirmed that weapons Iran delivered to

 Shi’a groups in Iraq included EFPs (with radio-controlled, remote arming and passive infrared

 detonators), IEDs, anti-aircraft weapons, mortars, 107 and 122mm rockets, rocket-propelled

 grenades and launchers, explosives, and small arms.

          251.     In the post-invasion period, the lethatlity of Shi’a attackson U.S. and Coalition

 Forces was the direct result of the IRGC’s policy. And the terrorist cells that in fact targeted U.S.

 service members were created and sustained by the IRGC and Hezbollah for that purpose.

                   1.       The IRGC

          252.     The IRGC is a paramilitary force answerable only to the Supreme Leader of Iran


 20
          In 2007, when AAH founder Qais Khazali was captured by Coalition Forces, he acknowledged that “EFPs
 still come solely from Iran and there is currently nobody in Iraq manufacturing the components of an EFP.”
 21
          See Michael Knights, The Evolution of Iran’s Special Groups in Iraq, CTC Sentinel, U.S. Military Academy
 at West Point (Nov. 2010), available at https://ctc.usma.edu/app/uploads/2011/05/CTCSentinel-Vol3Iss11-127.pdf.
 22
          On rare occasions, certain elements defied this directive. For example, EFPs were used in the assassinations
 of two provincial governors and two provincial police chiefs in the latter half of 2006. The U.S. military assessed that
 these events were contrary to IRGC policy.


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 himself. As the Supreme Leader’s personal force, the IRGC’s devotion to Ayatollah Khamenei is

 “a religious imperative.” The IRGC differs from Iran’s “regular” armed forces, which ostensibly

 functions under a national command structure. The IRGC is tasked with “protecting the

 revolution,” which it does by silencing perceived enemies at home through secret police methods

 and attacking perceived enemies abroad (via its Qods Force) through terrorist tactics. It also aids

 in Iran’s development of weapons of mass destruction, including EFPs and IRAMs and its nuclear

 program.

        253.    As the U.S. Treasury Department explained in designating the IRGC an SDGT,

 “[t]he IRGC has played a central role to Iran becoming the world’s foremost state sponsor of

 terror.” Treasury also designated the IRGC “for the activities it undertakes to assist in, sponsor, or

 provide financial, material, or technological support for, or financial or other services to or in

 support of” its foreign operations directorate, the IRGC-QF.

        254.    Also, in 2017, Congress found that “the IRGC, not just the IRGC-QF, is responsible

 for implementing Iran’s international program of destabilizing activities, support for acts of

 international terrorism, and ballistic missile program.”

        255.    As the U.S. Treasury Department explained in designating the IRGC for a third

 time, it was also “previously designated pursuant to E.O. 13382 on October 25, 2007, in connection

 with its support to Iran’s ballistic missile and nuclear programs, and pursuant to E.O. 13553 on

 June 9, 2011 and E.O. 13606 on April 23, 2012, in connection with Iran’s human rights abuses.”

        256.    To fund and supply its terror apparatus, the IRGC owns or controls a significant

 number of Iran’s private and public companies. According to a 2007 Los Angeles Times report,

 the IRGC has ties to over 100 companies, controlling billions of dollars in assets. These funds fuel

 the IRGC’s terrorist operations, secret policing, and WMD efforts.




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        257.    As a Council on Foreign Relations assessment has noted, the IRGC is:

                [H]eavily involved in everything from pharmaceuticals to
                telecommunications and pipelines – even the new Imam Khomeini Airport
                and a great deal of smuggling. Many of the front companies engaged in
                procuring nuclear technology are owned and run by the Revolutionary
                Guards. . . . It’s a huge business conglomeration.

        258.    The U.S. has designated these businesses or identified them as IRGC agents

 whenever possible. For example, 143 entities and individuals are currently sanctioned as operating

 under IRGC control (more were sanctioned during the relevant period, but some sanctions were

 removed as a result of negotiations related to the Joint Comprehensive Plan of Action, also known

 as the “Iran Nuclear Deal”).These include Khatam al-Anbia, which, according to the U.S. Treasury

 Department, is “a construction and development wing of the IRGC that generates income and

 funds operations for the IRGC.”

        259.    It also includes the National Iranian Oil Company (“NIOC”), which the U.S.

 Treasury Department found was “an agent or affiliate of the” IRGC. As a result, the U.S. Treasury

 Department blocked NIOC’s property pursuant to the International Emergency Economic Powers

 Act. “This means that foreign financial institutions determined to knowingly facilitate significant

 transactions or provide significant financial services for NIOC will be subject to [Comprehensive

 Iran Sanctions, Accountability, and Divestment Act of 2010] sanctions, including the prohibition

 or the imposition of strict conditions on the opening or maintaining of correspondent or payable-

 through accounts in the United States.”

        260.    These businesses are crucial to the IRGC’s terror apparatus. The IRGC pays salaries

 of vast numbers of personnel both in Iran and abroad (including in Iraq) and funds training centers

 and schools for up-and-coming terrorists. It also funds an enormous weapons production system,

 from ballistic missiles to EFPs.




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         261.    In designating the IRGC’s Basij militia (Basij is one of the IRGC’s armed force

 components), the U.S. Treasury Department explained that IRGC and other elements of the Iranian

 military “have expanded their economic involvement in major industries and infiltrated seemingly

 legitimate businesses to fund terrorism and other malign activities. This vast network provides a

 financial lifeline to the Basij’s efforts to recruit, train, and indoctrinate child soldiers as young as

 twelve who are coerced into combat under the IRGC’s direction.”

         262.    In short, the IRGC funds its primary operations—terrorism, domestic repression

 and WMD development—through corporations under its control.

                 2.      IRGC-QF

         263.    In July 2007, MNF-I spokesman General Kevin J. Bergner briefed the media on

 how the IRGC-QF employed Hezbollah operatives in Iraq: “Iran’s Quds Force, a special branch

 of Iran’s Revolutionary Guards, is training, funding and arming the Iraqi groups…. Iranian

 operatives are using Lebanese surrogates to create Hezbollah-like capabilities. And it paints a

 picture of the level of effort in funding and arming extremist groups in Iraq.”

         264.    In October 2007, the U.S. Treasury Department designated the IRGC-QF as an

 SDGT, finding:

                 The Qods Force has had a long history of supporting Hizballah's military,
                 paramilitary, and terrorist activities, providing it with guidance, funding,
                 weapons, intelligence, and logistical support. The Qods Force operates
                 training camps for Hizballah in Lebanon's Bekaa Valley and has reportedly
                 trained more than 3,000 Hizballah fighters at IRGC training facilities in
                 Iran. The Qods Force provides roughly $100 to $200 million in funding a
                 year to Hizballah and has assisted Hizballah in rearming in violation of UN
                 Security Council Resolution 1701.

                 In addition, the Qods Force provides lethal support in the form of weapons,
                 training, funding, and guidance to select groups of Iraqi Shi'a militants who
                 target and kill Coalition and Iraqi forces and innocent Iraqi civilians.

         265.    The U.S. State Department’s Country Reports on Terrorism for 2007 stated:



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               The [IRGC-QF] continued to provide Iraqi militants with Iranian-produced
               advanced rockets, sniper rifles, automatic weapons, mortars that have killed
               thousands of Coalition and Iraqi Forces, and explosively formed projectiles
               (EFPs) that have a higher lethality rate than other types of improvised
               explosive devised (IEDs) and are specially designed to defeat armored
               vehicles used by Coalition Forces. The Qods Force, in concert with
               Lebanese Hezbollah, provided training outside Iraq for Iraqi militants in the
               construction and use of sophisticated IED technology and other advanced
               weaponry.

        266.   The U.S. State Department’s Country Reports on Terrorism for 2008 reported that

 Iran was:

               Provid[ing] lethal support, including weapons, training, funding, and
               guidance, to Iraqi militant groups that targeted Coalition and Iraqi forces
               and killed innocent Iraqi civilians. Iran’s Qods Force continued to provide
               Iraqi militants with Iranian-produced advanced rockets, sniper rifles,
               automatic weapons, and mortars that have killed Iraqi and Coalition Forces
               as well as civilians. Tehran was […] providing militants with the capability
               to assemble improvised explosive devices (IEDs) with explosively formed
               projectiles (EFPs) that were specially designed to defeat armored vehicles.
               The Qods Force, in concert with Lebanese Hezbollah, provided training
               both inside and outside of Iraq for Iraqi militants in the construction and use
               of sophisticated IED technology and other advanced weaponry. (Emphasis
               added.)

        267.   On January 9, 2008, the U.S. Department of the Treasury designated Ahmed

 Foruzandeh, a Brigadier General in the IRGC-QF, finding:

               As of mid-February 2007, Foruzandeh ordered his Iranian intelligence
               officers to continue targeting Shia and Sunnis to further sectarian violence
               within Iraq. Foruzandeh is also responsible for planning training courses in
               Iran for Iraqi militias, including Sayyid al-Shuhada and Iraqi Hizballah
               [KH], to increase their ability to combat Coalition Forces. The training
               includes courses in guerilla warfare, light arms, marksmanship, planting
               improvised explosive devices (IEDs), and firing anti-aircraft missiles.

        268.   At a July 2, 2007 press briefing, General Bergner noted:

               The Qods Force also supplies the special groups with weapons and funding
               of 750,000 to 3 million U.S. dollars a month. Without this support, these
               special groups would be hard pressed to conduct their operations in Iraq
               […] The Qods Force goal was to develop the Iraqi special groups into a
               network similar to the Lebanese Hezbollah. Special groups would be unable



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                 to conduct their terrorist attacks in Iraq without Iranian-supplied weapons
                 and other support.

                 3.     Lebanese Hezbollah and Unit 3800

         269.    As noted above, the relationship between the Iranian regime and Hezbollah is, and

 has been since the latter’s creation, symbiotic.

         270.     The early Lebanese Shi’a clerics who emerged from the seminaries in Najaf (Iraq)

 and Qom (Iran) included Musa al-Sadr and Ayatollah Muhammad Hussein Fadlallah (Hezbollah’s

 spiritual leader).

         271.    Like the late Ayatollah Muhammad Sadiq al-Sadr in Iraq, Musa al-Sadr is credited

 with first mobilizing the previously passive and marginalized Shi’a community in Lebanon by

 inspiring the foundation of the Amal movement which eventually gave birth to Hezbollah.

         272.    Musa al-Sadr disappeared (and was likely murdered) in Libya in 1978 which

 created an opening for Sadr’s contemporary, Muhammad Hussein Fadlallah, to whom much of

 Musa al-Sadr’s influence and power passed.

         273.    In June 1982, Sayyid Hussein al-Musawi, a member of Amal’s command council,

 broke with the movement and founded “Islamic Amal,” which soon transformed into Hezbollah.

         274.    Hezbollah’s founders also included Subhi al-Tufayli, Muhammad Yazbek, Na’im

 Qasim, Ibrahim Amin al-Sayyid, and Hassan Nasrallah (who would later emerge as Hezbollah’s

 leader).

         275.    Inspired by the success of Iran’s Islamic revolution and influenced by Ayatollah

 Khomeini’s ideological worldview, these young fanatics set to work building a network in

 Lebanon that was directly answerable to the Iranian Supreme Leader.

         276.    Since the early 1980s, Iran’s IRGC has helped Hezbollah equip itself not only with

 vast supplies of weapons and explosive devices but also with broadcasting, healthcare, and



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 educational centers to expand its political and social reach within Lebanon. For example, Iran

 spends millions of dollars in Lebanon on the construction of bridges, roads, schools, and hospitals.

        277.    To this day, Ayatollah Ali Khamenei, the current supreme leader of the Islamic

 Republic, maintains various offices in the southern suburbs of Beirut and in southern Lebanon.

 These offices serve as the official religious headquarters of the Ayatollah, but the Iranian

 intelligence service and Hezbollah also use these facilities for information gathering, political and

 security meetings, and surveillance, and as military courts for their prisoners.

        278.    The Iranian government hosts hundreds of Hezbollah-affiliated Lebanese students

 each year in Iranian universities and seminaries, especially in Qom.

        279.    The Iranian-funded welfare programs for Lebanese Shi’a are backed by a very

 professional and energetic propaganda machine that not only extols Hezbollah and its Iranian

 patron but also seeks to elevate Khamenei, who competes with the Grand Ayatollah Ali Hussein

 al-Sistani (based in Iraq) who espouses a less overtly political form of Shi’ism.

        280.    Iranian clerics, especially Ayatollah Khamenei (with the help of the IRGC) pay

 monthly salaries to the roughly 2,500 Shi’a clerics of Lebanon, further cementing their loyalty to

 the Iranian regime.

        281.    When Hezbollah leader Hassan Nasrallah met with Iran’s supreme leader Ayatollah

 Khamenei in 2001, Nasrallah publicly kissed Khamenei’s hand, a gesture heavy with meaning

 among the Shi’a: it implied that Nasrallah accepts Khamenei as his leader.

        282.    Yet, when the U.S. entered Iraq in 2003, there was no immediate expectation that

 Hezbollah would follow.




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           283.   One of the first indications that Hezbollah operatives might be present in Iraq after

 the U.S.-led invasion came in an article in The New York Times published in November 2003 that

 stated:

                  Both American and Israeli intelligence have found evidence that Hezbollah
                  operatives have established themselves in Iraq, according to current and
                  former United States officials. Separately, Arabs in Lebanon and elsewhere
                  who are familiar with the organization say Hezbollah has sent what they
                  describe as a security team of up to 90 members to Iraq. The organization
                  has steered clear of attacks on Americans, the American officials and Arabs
                  familiar with Hezbollah agree.

           284.   In retrospect, another early warning sign occurred in May 2003 when Israeli naval

 commandos seized a small fishing boat off the country’s northern coast and captured a Hezbollah

 explosives expert who had bomb detonators and computer disks on board.

           285.   The computer disks contained instructions on how to manufacture and assemble

 EFPs, providing granular details on the key elements required to make them effective against

 armored vehicles, including the specifications for the concave copper liners needed for maximum

 lethality.

           286.   Sometime in 2003, the IRGC-QF instructed Hezbollah to create “Unit 3800,” an

 entity dedicated to developing and supporting Iraqi Shi’a terrorist cells which would execute IRGC

 and Hezbollah attacks on Multi National Forces in Iraq (“MNF-I”).

           287.   Unit 3800 was established by Hezbollah leader Hassan Nasrallah at Iran’s behest.

           288.   Unit 3800 later trained, advised and directed the JAM “Special Groups” and Badr

 Corps in Iraq.

           289.   Hezbollah’s expertise in the use of EFPs, kidnapping, communications and small-

 unit operations were critical to the effectiveness of the IRGC’s proxies in Iraq between 2004 and

 2011.




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        290.    As former Badr Corps leader and KH founder Abu Mahdi al-Muhandis (discussed

 below) would later explain to the Hezbollah-affiliated channel Al-Mayadeen:

                Muhandis: Of course, my relationship with martyr Imad, the great
                martyr Imad [Mughniyah], and martyr Mustafa Badr a-Din, started in
                the early 1980s. This was a strong and operational relationship. The
                first ones to train the first Iraqi jihadi resistance groups in the beginning
                of the 1980s were Imad and Mustafa. They also had a major role in
                organizing the resistance cells against the Americans in Iraq.

                Host: Training Iraqis here, to fight the Americans?

                Muhandis: Sure, they trained Iraqis. The first Iraqi cells, I was among
                them, after 2003.

                Host: After 2003…

                Muhandis: They had a major role, their brothers and men still have an
                essential role in training and planning… they have a very important
                role.

        291.    A 2010 Department of Defense report noted that “Lebanese Hizballah provides

 insurgents with the training, tactics and technology to conduct kidnappings, small unit tactical

 operations and employ sophisticated IEDs.”

        292.    A July 2004 UK Joint Intelligence Committee (“JIC”) assessment noted: “We also

 judge that Lebanese Hizballah will retain an influence in Iraq (Hizballah members may have been

 linked to the group that attacked the Sheraton Hotel) and could supply Iraqi groups with terrorist

 expertise and munitions.”

        293.    Tracing Hezbollah’s carefully monitored introduction of EFPs, the UK Defence

 Intelligence Staff (“DIS”) accurately predicted on Aug. 3, 2004, the evolution of the IED threat in

 Iraq: “IED technology in use with other Middle Eastern groups[,] especially Lebanese Hizballah,

 can be expected to appear in Iraq. This would include multiple systems, such as RC

 (Radio-Controlled) switched PIRs [Passive Infrared].”




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        294.      By the summer of 2004, British intelligence had detected the EFP’s appearance in

 southern Iraq:

                  On 26 July, the DIS reported that an EFP IED had been found on 15 July in
                  Baghdad. The DIS noted that the EFP IED design had not previously been
                  encountered in Iraq but was, as with the find in May 2004, of a type
                  associated with Lebanese Hizballah. There were also indications of Iranian
                  involvement in the construction of the devices.

        295.      On December 2, 2004, a British Defence Intelligence Report titled “The Evolution

 of the IED Threat in Iraq” stated:

                  Improvement in IED technology has been most significant in Shia areas
                  since May [20]04, where technical progress has been made that we assess
                  could only have been achieved through focused external assistance. We
                  assess that this may be due to an influx of Lebanese Hezbollah IED
                  technology under Iranian sponsorship.” (Emphasis added.)

        296.      Similarly, the United States Department of State Country Reports on Terrorism

 2006 reported:

                  Since at least 2004, Hizballah has provided training and logistics to select
                  Iraqi Shia militants, including for the construction and use of shaped charge
                  IEDs, which Hizballah developed against Israeli forces in southern Lebanon
                  during the late 1990s and which can penetrate heavily armored vehicles.

        297.      An Australian government reported in 2006:

                  Hizballah has established an insurgent capability in Iraq, engaging in
                  assassinations, kidnappings and bombings. The Hizballah units have been
                  set up with the encouragement and resources of Iran’s Revolutionary
                  Guards al Qods Brigades. Hizballah has also established a special training
                  cell known as Unit 3800 (previously known as Unit 2800) specifically to
                  train Shia fighters prior to action in Iraq.

 V.     THE IRGC-QF’S AND HEZBOLLAH’S DEVELOPMENT AND DIRECTION OF
        SHI’A TERRORIST GROUPS AND CELLS IN IRAQ TO ATTACK COALITION
        FORCES.

        A.        THE BADR CORPS/BADR ORGANIZATION

        298.      The Badr Corps was established in 1982 as the military wing of the Supreme

 Council for Islamic Revolution in Iraq (“SCIRI”), which was founded by Muhammad Baqr Hakim


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 in the same year. The Badr Corps and SCIRI served as part of the Iranian attempt to influence

 Shi’a Iraqis during the Iran-Iraq war. The Badr Corps fought Saddam Hussein’s forces on Iran’s

 behalf during that war.

        299.    From its headquarters in Iran, the Badr Corps operated extensive networks

 throughout Iraq in the 1990s. The group smuggled men and weapons into Iraq to conduct attacks

 against the Iraqi Ba’athist regime of Saddam Hussein (the Ba’athist regime was dominated by

 Sunnis and repressed the Shi’a majority population). The Badr Corps had long established four

 geographic commands inside Iraq, all with experience conducting attacks against the Hussein

 regime.

        300.    Like Hezbollah in Lebanon, the Badr Corps established clandestine offices in

 businesses and social organizations in Iraq. The Badr Corps also used Iraqi front companies to

 recruit operatives, collect intelligence, and circulate propaganda materials in Shi’a populated areas.

        301.    Before 2003, the Badr Corps served as Iran’s most important surrogate inside Iraq,

 acting as a de facto arm of the IRGC‐QF.

        302.    The Badr Corps continuously received training, weapons and direction from the

 IRGC and Hezbollah.

        303.    Following the toppling of the Hussein regime in 2003, the IRGC saw an immediate

 opportunity to repatriate Muhammad Baqr Hakim to Iraq and carefully cultivate his party’s growth

 within the new post-war political framework being developed by the Coalition Forces, while

 simultaneously slipping thousands of Badr Corp fighters back across the border.

        304.    After 2003, the Badr Corps renamed itself the Badr Organization, and it took on a

 political component with seats in the new Iraqi parliament through its political wing SCIRI.

 Nonetheless, despite its sanitized, self-given name, its core essence did not change. It continued




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 playing a significant role in facilitating IRGC-sponsored terror operations in Iraq. Several senior

 terror cell commanders such as Al-Muhandis are, or were, Badr Corps personnel on the IRGC-QF

 payroll.

        305.    The Badr Organization inserted hundreds of its Iranian-trained operatives into

 Iraq’s newly-formed state security organs (notably the Iraqi Ministry of Interior intelligence

 structure and key special forces and Iraqi Army units). This not only assisted in the Badr

 Organization’s efforts to murder former Hussein regime leaders and pursue ethnic cleansing of

 Sunni neighborhoods, but it also made it possible for the Badr Organization to regularly provide

 other terror cell operatives with intelligence about Coalition Forces activities and to provide its

 own terror cells with targeting guidance.

        306.    Published reports indicate that thousands of members of the Badr Organization

 remained on the IRGC-QF payroll after 2004.

        307.    Several senior Badr Organization operatives later emerged as key conduits for

 funneling Iranian weapons and instructions to Iranian proxies in Iraq from 2004 through 2011,

 including Abu Mustafa al‐Sheibani, a key smuggler of deadly Iranian weapons, including EFPs,

 and Jamal Ja’far Muhammad, a.k.a. Abu Mahdi al-Muhandis (which is Arabic for “the Engineer”),

 who later led Special Group KH, which is discussed further below.

        308.    These Badr Organization operatives also remained (and may still remain) on the

 IRGC-QF payroll.

        309.    The IRGC‐QF’s Ramazan Corps, led by General Abdul Reza Shahlai, was in

 charge of supporting Hezbollah-trained terror cells in Iraq and remains the largest Qods Force

 command outside of Iran. It coordinated, armed and directed the Badr Organization.




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        310.     General Shahlai served as the case officer or supervisor of the Special Groups and

 other proxies, including the Badr Corps cells that acted as such. The United States later designated

 Shahlai in September 2008 “for threatening the peace and stability of Iraq and the Government of

 Iraq.” The U.S. Treasury Department further found that:

                 In late-August 2006, Shahlai provided material support to JAM Special
                 Groups by supplying JAM Special Groups members with 122mm grad
                 rockets, 240mm rockets, 107mm Katyushas, RPG-7s, 81mms, 60mm
                 mortars, and a large quantity of C-4.

                 Shahlai also approved and coordinated the training of JAM Special Groups.
                 As of May 2007, Shahlai served as the final approving and coordinating
                 authority for all Iran-based Lebanese Hizballah training for JAM Special
                 Groups to fight Coalition Forces in Iraq. In late-August 2006, Shahlai
                 instructed a senior Lebanese Hizballah official to coordinate anti-aircraft
                 rocket training for JAM Special Groups.

        311.     The United States Department of State Country Reports on Terrorism 2006 noted:

                 Iran provided guidance and training to select Iraqi Shia political groups, and
                 weapons and training to Shia militant groups to enable anti-Coalition
                 attacks. Iranian government forces have been responsible for at least some
                 of the increasing lethality of anti-Coalition attacks by providing Shia
                 militants with the capability to build IEDs with explosively formed
                 projectiles similar to those developed by Iran and Lebanese Hezbollah. The
                 Iranian Revolutionary Guard was linked to armor-piercing explosives that
                 resulted in the deaths of Coalition Forces. The Revolutionary Guard, along
                 with Lebanese Hezbollah, implemented training programs for Iraqi
                 militants in the construction and use of sophisticated IED technology.
                 These individuals then passed on this training to additional militants in
                 Iraq. (Emphasis added.)

        312.     During the first half of 2004, when Hezbollah slowly began to introduce EFPs into

 Iraq in small numbers at the IRGC’s direction, it did so through the Badr Organization.

        313.     Unlike JAM (discussed below), the Badr Organization had received prior (and

 extensive) military training from, and its operatives had longstanding operational ties to, Hezbollah

 and the IRGC.

        314.     The Baghdad-based command of the Badr Organization was supervised from an



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 IRGC base in nearby Bakhtaran, Iran by Abu Mustafa al-Sheibani, whose extensive smuggling

 routes were used both before and after the 2003 U.S.-led invasion for transporting weapons, men

 and money from Iran into Iraq.

           315.   The most notable Badr Organization cells were the so-called “Sheibani Network”

 named after him.

           316.   In January 2009, the U.S. Department of the Treasury designated Abu Mustafa Al-

 Sheibani for his role as the leader of the Sheibani Network, noting:

                  The network's first objective is to fight U.S. forces, attacking convoys and
                  killing soldiers. Its second objective is to eliminate Iraqi politicians opposed
                  to Iran's influence. Elements of the IRGC were also sending funds and
                  weapons to Al-Sheibani's network.

                  Al-Sheibani's network – consisting of several hundred members –
                  conducted IED attacks against Americans in the Baghdad region. As of
                  March 2007, Al-Sheibani, known to transport Katyusha rockets to be used
                  for attacks against Coalition Forces, launched rockets against Americans
                  and made videos of the attacks to get money from Iran. As of April 2007, a
                  member of Al-Sheibani's network supervised the transport of money and
                  explosives from Iran for eventual arrival in Baghdad. In early-May 2007,
                  Al-Sheibani's network assisted members of a Shia militia group by
                  transporting them to Iran for training and providing them with weapons for
                  their activities in Iraq.

           317.   According to the Chilcot Report released by the British Government, “[t]he first

 IED attack in Iraq using an Explosively Formed Projectile (EFP) took place against a UK Warrior

 vehicle in al-Amara in May 2004.” When Hezbollah introduced the EFP, its most effective anti-

 armor weapon into Iraq, it began by training Badr Organization operatives.

           318.   At first, they were trained in the emplacement of single EFPs with relatively

 primitive initiation systems, a starting point that allowed Hezbollah to test the weapons, assess the

 capabilities of its Iraqi proxies, and probe Coalition Forces’ responses to the threat, attack by

 attack.




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         319.   By this method of slowly introducing the weapon system and directing its use

 against British forces, Hezbollah was able to assess the capabilities of the Badr Organization

 personnel, assess the effectiveness of its own TTPs, and adjust those TTPs based on how first

 British (and later American) forces responded.

         B.     JAYSH AL-MAHDI (“JAM” OR THE “MAHDI ARMY”)

         320.   Initially, the Saddam Hussein regime sponsored the late Ayatollah Muhammad

 Sadiq al-Sadr, a leading Shi’a cleric in Iraq during much of Saddam Hussein’s rule. He was

 perceived to be a relatively moderate counterbalance to the influence of more radical Shi’a

 religious leaders and was therefore allowed to appoint imams to lead mosques in hundreds of towns

 and cities.

         321.   Sadiq al-Sadr used this opportunity to develop a cohesive network under his

 guidance and control. He was particularly popular in the Shi’a slums of Baghdad and Basra and

 established a network of mosques and social institutions that attempted to mirror Hezbollah’s

 development in Lebanon.

         322.   Unlike many of his Shi’a clerical peers, Sadr was not particularly favorably

 disposed toward Iran, even after the Islamic revolution in 1979, remaining instead an Arab

 nationalist, and supporting Arab control of the seminaries of Najaf, traditionally dominated by

 senior clerics who are either Iranian-born or of Iranian descent.

         323.   Nonetheless, the Hussein regime ultimately came to regard Sadr as a political threat

 and assassinated him together with his two oldest sons, leaving his youngest son, Muqtada al-Sadr,

 as the de facto successor to what became known as the Sadrist Movement.

         324.   The Sadrist Movement commanded the loyalty of perhaps millions of poor Iraqi

 Shi’a, but under the Hussein regime’s rule it had no military capacity; it was almost exclusively a




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 social and political movement.

        325.    The 2003 U.S.-led invasion freed Muqtada al-Sadr and his followers from the

 constraints placed on them by the Hussein regime, and the young Sadr set his sights on becoming

 the preeminent leader of Iraq’s Shi’a community.

        326.    In June 2003, shortly after the U.S. invasion, Iran’s Supreme Leader, Ayatollah Ali

 Khamenei invited Sadr and his key deputies to Iran in the hope of organizing an armed faction of

 the Sadrist Movement. IRGC-QF deputy commander Abdul Reza Shahlai therefore served as the

 “chief of protocol” for the visit and IRGC-QF commander General Qasem Soleimani served as

 host to the Sadr delegation.

        327.    Sadr also met with Ayatollah Khamenei during the visit and received assurances

 from General Shahlai that the IRGC-QF wanted to financially support the Sadrist movement.

        328.    Shortly thereafter, the IRGC[-QF?] dispatched two of Hezbollah’s most senior

 terror operatives, Imad Mughniyeh and Mustafa Badr al-Din – consecutively leaders of

 Hezbollah’s terror wing known as the Islamic Jihad Organization – to help organize and birth the

 creation of the Sadrist Movement’s armed faction.

        329.    On July 18, 2003, Sadr gave a sermon in the Great Mosque in Kufa in which he

 branded the newly-formed Iraqi government “nonbelievers” and announced the formation of a

 religious army to counter the government called “Jaysh al-Mahdi” (“JAM”) – the Mahdi Army.

        330.    JAM featured several attractive assets for Iran and Hezbollah, including a strong

 base of support among the poorest and most disenfranchised Shi’a communities, a network of

 mosques and social institutions, and a vast supply of young, desperate men. However, it was

 initially an unruly and unprofessional organization ill-suited to confronting an advanced military

 in the way Hezbollah had successfully attacked the Israel Defense Forces.




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        331.    Hezbollah operatives were present on the ground in Iraq following the U.S.

 invasion in 2003 and were directly involved in providing training and support to JAM from its

 inception. Hezbollah operatives Imad Mughniyeh and Mustafa Badr al-Din worked closely both

 with Sadr and his associates and the Badr Organization at this time, but Hezbollah remained

 cautious and did not encourage either Badr or JAM to immediately attack Coalition Forces.

        332.    Hezbollah also tapped a senior member of its Political Council, Muhammad

 Kawtharani, to be responsible for the organization’s Iraq portfolio. As the U.S. Treasury

 Department noted when it designated him an SDGT on August 22, 2013, Kawtharani was:

                [T]he individual in charge of Hizballah’s Iraq activities, Kawtharani has
                worked on behalf of Hizballah’s leadership to promote the group’s interests
                in Iraq, including Hizballah efforts to provide training, funding, political,
                and logistical support to Iraqi Shi'a insurgent groups.

        333.    Kawtharani was an inspired choice because he not only previously lived in Iraq,

 but had also been a pupil of Ayatollah Muhammad Sadiq al-Ṣadr.

        334.    Kawtharani wasted no time in contacting one of Sadr’s most trusted deputies,

 Mustafa al-Yaqubi, soon after (and possibly before) the overthrow of the Hussein regime in 2003.

 Mustafa al-Yaqubi had frequent contact with Kawtharani through the years and appears to have

 served as a primary channel for communications between Hezbollah and Sadr and his JAM forces.

        335.    Hezbollah was the obvious and natural choice for implementing the IRGC’s

 creation and sponsorship of JAM in Iraq. First, as noted, Hezbollah operatives were, like the Iraqi

 Sadrists, ethnically Arabs and spoke Arabic, whereas the Iranian IRGC operatives were ethnically

 Persian and spoke Farsi. Second, there were many longstanding personal and intellectual

 connections between Hezbollah and the Sadrist Movement.

        336.    According to a 2007 MNF-I report, “members of the Sadr movement have deep

 respect for Lebanese Hezbollah…. Hezbollah sends trainers to Iran to train Iraqi fighters on EFPs.”



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 For instance, Muqtada al-Sadr’s father-in-law was Grand Ayatollah Muhammad Baqir al-Sadr,

 who was a contemporary of Hezbollah’s spiritual leader, Muhammad Fadlallah. Hezbollah’s

 leader, Hassan Nasrallah, received his religious education in Lebanon from a seminary that taught

 Baqir al-Sadr’s teachings on Shi’ism.

         337.   From June 2003 through August 2004, at Iran’s direction, Hezbollah’s role was

 primarily to organize and train JAM gunmen and try to instill discipline and professionalism into

 the organization so that it could effectively threaten and attack U.S. and Coalition Forces in Iraq.

 Due to its conflict with Israel in Lebanon, Hezbollah possessed hard-earned specialized experience

 and expertise on how to deploy new tactical and technological counter-measures against a modern

 army.

         338.   By early 2005, the presence of Hezbollah operatives in Iraq became an open secret

 when Iraqi Interior Minister Falah al-Naquib announced the arrest of eighteen Lebanese Hezbollah

 members on terrorism charges.

         339.   The UK’s Belfast Telegraph reported in 2007 that Muqtada al-Sadr publicly

 acknowledged his organization’s coordination with Hezbollah: “Speaking in Tufa in Iraq, Muqtada

 al-Sadr, the head of the Mehdi Army, admitted to ‘formal links’ with Hizbollah. ‘We have formal

 links with Hizbollah, we do exchange ideas and discuss the situation facing Shi’as in both

 countries,’ he said. ‘It is natural that we would want to improve ourselves by learning from each

 other. We copy Hizbollah in the way they fight and their tactics, we teach each other and we are

 getting better through this.’”

         C.     THE DEVELOPMENT OF THE JAM SPECIAL GROUPS AND THE
                PROMISED DAY BRIGADES

         340.   A Sadrist uprising led by armed JAM forces in August 2004 in the Shi’a holy city

 of Najaf soon changed the direction of the conflict.


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        341.    In Najaf, JAM forces confronted U.S. Marines on a large scale and suffered

 significant casualties. An estimated 1,500 JAM fighters were killed and an undetermined number,

 most likely in the thousands, were wounded. By comparison, over the course of same three-week

 period, the U.S. military lost 9 soldiers and Marines in Najaf.

        342.    IRGC-QF personnel were present during the bloodshed and carefully observed the

 fighting. The lesson the IRGC-QF gleaned from the Najaf uprising was clear—JAM members

 were too disorganized and undisciplined to cause any serious harm to Coalition Forces as then

 constituted.

        343.    Thus, shortly after the uprising in Najaf was brought under control, Muqtada al-

 Sadr reluctantly authorized his deputies to create what became known as the “Special Groups” to

 be supported and trained by Hezbollah and funded and controlled by the IRGC.

        344.    The IRGC wanted JAM to be able to deploy more professional (and lethal) forces

 that could successfully attack Coalition Forces in Iraq, while Sadr’s “regular” JAM militia

 concentrated on ethnic cleansing and kidnapping Sunnis as well as its traditional criminal

 enterprises.

        345.    Initially, the Special Groups functioned essentially as regional commands – clusters

 of terror cells – under the overall leadership of Muqtada al-Sadr’s senior deputies, including Qais

 al-Khazali and Akram al-Kaabi (a/k/a Akram Abbas al-Kabi). As the U.S. military later noted:

                When Special Groups were formed, [Qais Khazali] and Akram al Kabi were
                named the general supervisors, or members of the Ishraf Committee (Ishraf
                means oversight and supervision). Qais and Layth [Qais’ brother] were
                directly involved with Special Groups, and in this position, they would
                negotiate and procure weapons and IEDs from Iran and distribute them to
                JAM.

        346.    This arrangement provided both a face-saving way for Sadr to retain overall control

 of his followers and a way for the IRGC-QF and Hezbollah to create, organize, oversee, and



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 supervise terror cells under its operational control that could more effectively carry out IRGC and

 Hezbollah attacks against U.S. Forces.

         347.   From the initial formation of JAM’s Special Groups in 2004 through much of 2006,

 the IRGC-QF used Hezbollah – and particularly, its Unit 3800 – to train and direct these cells (as

 well as parallel Badr Organization cells) to target Coalition Forces.

         348.   Hezbollah also trained Special Groups and Badr Organization operatives at training

 camps in southern Lebanon and Iran.

         349.   From September 2004 to late 2005, these newly-formed Special Groups cells

 conducted low-intensity operations against the British and U.S. military, launching gradually

 increasing numbers of EFP attacks, and also training in Iran and Lebanon with Hezbollah and the

 IRGC-QF to develop and improve their TTPs while preparing for the next round of conflict.

         350.   As Special Groups members detained by Coalition Forces later explained, only

 Hezbollah instructors taught Special Groups operatives the “Engineers Course” that focused on

 the construction and employment of EFPs, and not every Special Group operative received this

 training.

         351.   One detainee reported that “Engineers are special and have to be smart. If you are

 not smart no one will waste the time and expenses to send you to Iran to train to be an engineer

 because you will fail.”

         352.   Hezbollah also trained these “Engineers” on how to incorporate EFPs into the

 tactical design of ambushing Coalition Forces convoys, principally to kidnap Coalition soldiers.

 The tactics for a kidnapping-ambush using EFPs closely resembled the tactics Hezbollah

 developed in attempting to kidnap Israel Defense Forces soldiers in Southern Lebanon.

         353.   As one interrogation of a Detainee revealed:




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                During one of [Detainee]’s training sessions, his group was instructed on
                techniques involving the attack of military convoys and abduction of
                POWs. Upon the arrival of a four-vehicle convoy, EFP’s would be
                emplaced to disable the first three vehicles in a convoy. The attackers, who
                are hiding on one side of the road from an unidentified distance away, would
                successively fire upon the fourth vehicle with shoulder-fired missiles.
                Amidst the attack, two small groups of individuals would alternatively
                bound from the hidden area away from the road to the fourth vehicle while
                firing upon the fourth vehicle using small arms. The alternatively bounding
                small groups would advance to the vehicle, pull out any individual who is
                still living, and bring the individual back to an area where the attackers’
                own convoy of vehicles is waiting. In order to prevent a quick reaction force
                from arriving to aid the disabled convoys, a simultaneous mortar attack
                would be planned on a nearby military base. The simultaneous mortar attack
                would be followed through to keep the quick reaction force at the nearby
                base busy. Another way to prevent assistance from a quick reaction force
                would be to emplace more EFPs at a further distance down the same planned
                route as the military convoy. An attack combining an EFP and other
                methods of attacking a convoy is called a “complex attack.”

        354.    For approximately two years, under Hezbollah’s tutelage and with the support and

 oversight of the IRGC, JAM Special Groups carry out attacks against Coalition Forces at the

 direction of Hezbollah and the IRGC.

        355.    By 2007, MNF-I officials were reporting carefully planned, complex ambushes and

 retaliatory attacks on U.S. forces that included direct assaults on U.S. military outposts, ambushes

 in which American troops were captured and complex attacks that used multiple weapons to strike

 more than one U.S. target.

        356.    Hezbollah and the IRGC-QF also introduced the Special Groups to the use of

 107mm and 122mm artillery rockets (frequently referred to as “Katyusha rockets”) which

 Hezbollah had previously deployed in large numbers against the Israel Defense Forces in southern

 Lebanon and against Israeli border towns in northern Israel.




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        357.    Both “regular” JAM and the Special Groups used these same types of artillery

 rockets in their indirect fire attacks on U.S. and Coalition Forward Operating Bases and MNF-I

 Headquarters in the Green Zone.

        358.    The IRGC also supplied JAM and JAM Special Groups with 240mm rockets (also

 known as the Fadjr-3) developed by the Shahid Bagheri Industries division of the Aerospace

 Industries Organization of Iran (“AIO”).

        359.    Not only did the IRGC supply these weapons to both Hezbollah and (later) its Iraqi

 Shi’a proxies, but Hezbollah’s TTPs in the use of these weapons were also transferred to JAM and

 the JAM Special Groups.

        360.    During a July 2, 2007 press briefing, General Bergner noted that Special Groups

 were trained in Iran by Hezbollah instructors in a four-week long course that was titled “Artillery.”

 According to General Bergner, U.S. intelligence concluded that: “This course teaches the use of

 indirect fire weapons including 60mm and 120mm mortars, and 107mm, 122mm and 240mm

 rockets.”

        361.    However, despite the increased tempo of Hezbollah-directed violence and

 improved lethality of the Special Groups, Sadr himself remained personally and politically erratic.

        362.    Because the Special Groups were designed to carry out attacks on Coalition Forces

 on Hezbollah’s and the IRGC’s behalf and as their proxies, Hezbollah and IRGC would not tolerate

 deviations from their overall direction or strategies.

        363.    Thus, while Hezbollah and the IRGC intensified the training of select operatives

 and cultivated Special Groups cell commanders, they gradually began peeling those cell

 commanders away from the Sadrist Movement (as discussed below).

        364.    For much of 2007-2008, Sadr was also embroiled in political disputes with rival




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 Shi’a parties and “regular” JAM units engaged in violent clashes with the Badr Organization,

 including a very public clash in Karbala during a religious festival.

        365.    In June 2008, Sadr announced his intention to disband JAM to focus his

 organization on social, cultural and religious activities. But he soon further proclaimed that he

 would maintain an elite force, the Promised Day Brigades (“PDB”), to carry out attacks against

 Coalition Forces.

        366.    Although they had, by this time, directed their energies primarily into more

 disciplined Special Groups, Hezbollah and the IRGC were careful not to alienate Sadr.

        367.    Accordingly, the PDB received funding and weapons from the IRGC and training

 and direction from both Hezbollah and the IRGC.

        368.    PDB deployed many EFPs against American and Coalition Forces in Iraq after July

 2008. In August 2009 alone, MNF-I attributed 15 EFP attacks in Baghdad to PDB.

        369.    MNF-I took significant and forceful measures against the PDB. However, because

 of the financial, logistical and operational support it received from both Hezbollah and the IRGC,

 it was able to not only survive, but to continue to menace American forces in Iraq through 2011.

 For example, on June 28, 2011, the PDB issued a statement claiming responsibility for 10 mortar

 and Katyusha rocket attacks against U.S. military convoys in which U.S. officials confirmed that

 three U.S. troops were killed.

        D.      ASA’IB AHL AL-HAQ

        370.    The Asa’ib Ahl Al-Haq (“AAH,” or the “League of the Righteous”) terrorist

 organization began as a JAM Special Group, directed by Hezbollah and funded and armed by the

 IRGC-QF, that conducted numerous attacks on Coalition Forces—particularly on American

 targets—as well as Iraqi Security Forces.




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        371.    AAH was originally established by senior JAM commander and later MNF-I

 detainee, Qais al-Khazali. Qais Khazali was a pupil of Muqtada al-Sadr’s father and later one of

 Muqtada al-Sadr’s senior deputies. But he also maintained an uneasy rivalry with the younger al-

 Sadr that occasionally devolved into open hostilities.

        372.    Khazali had accompanied Sadr to Tehran in 2003, and he maintained contact with

 senior IRGC-QF leadership when he assumed control of Special Groups cells after 2004.

 According to a report by the U.S. military:

                In August 2006 MAS (Muqtada al-Sadr) asked [Qais al-Khazali] to lead a
                delegation to Tehran to discuss the situation in Iraq and Iranian support for
                JAM (Jaysh al-Mahdi (JAM) Militia subordinate to Muqtada al-Sadr).
                According to reporting, Ali Khamenei (Sayyid Ali Hosseini Khamenei was
                then and is still now the Supreme Leader of Iran) met with [Qais al-Khazali]
                and recruited him to lead a special group known as Asayb al-Haq [AAH],
                or the K2 network. The K2 network would operate with the knowledge or
                authorization of MAS. [Qais al-Khazali] agreed. Iran was interested in
                working with [Qais al-Khazali] because of his influence on MAS. Layth (al-
                Khazali’s brother, captured with him on 20 March, 2007 in Basra, served as
                the Operations Chief for Asayb al-Haq) and as a liaison between the secret
                network formed by Qayis and the Iranians. In his position, Layth travelled
                frequently between Iraq, Iran and Syria.

        373.    Qais al-Khazali and his brother Layth al–Khazali returned to Iraq, requisitioned the

 most experienced and capable fighters from Sadr’s JAM terror cells, and formed the new Special

 Group AAH.

        374.    At first, AAH appears to have remained within JAM’s orbit, nominally under the

 umbrella of the Sadrist Movement, but it later emerged as a more cohesive group whose

 commanders were no longer pledged to Sadr, but to Hezbollah and the IRGC.

        375.    This likely resulted from assessments made by senior Hezbollah commanders,

 including Ali Musa Daqduq, who had travelled to Iraq at the IRGC-QF’s behest to evaluate the

 training, organization and effectiveness of the Special Groups.




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        376.    AAH formally split from JAM in 2007 (though it continued to maintain significant

 ties with JAM even later).

        377.    Hezbollah identified Qais Khazali and Akram Kaabi as among the more capable

 JAM Special Groups cell commanders.

        378.    Hezbollah cultivated them, and ultimately recruited them to serve as direct proxies

 of the IRGC-QF unbeholden to Sadr.

        379.    According to an April 2007 MNF-I report, Qais Khazali admitted that AAH

 received direct financing from the IRGC-QF.

        380.    Within months of Qais Khazali’s formation of AAH, he provided the religious

 blessing for the Hezbollah-planned and orchestrated raid on the Provincial Joint Coordination

 Center (“PJCC”) in Karbala on January 20, 2007 (for which the IRGC-QF provided funding and

 extensive logistical support). As discussed more fully below, the kidnapping and murder of five

 American soldiers during the operation led to a concerted effort to locate the perpetrators, and it

 eventually resulted in the capture of both Khazalis in March 2007.

        381.    Thereafter, despite the capture and detention of the Khazali brothers, AAH

 continued to function as a full-fledged terrorist organization because of the significant funding,

 training, and supply of weapons it received from the IRGC-QF, and from the training and other

 cooperation it obtained from Hezbollah.

        382.    AAH was able to maintain a high-level offensive tempo from mid-2007 until the

 departure of U.S. forces at the end of 2011, when Qais Khazali emerged from U.S. detention to

 become one of Iraq’s most important political leaders.

        383.    In sum, from 2006 to 2011, AAH operated as Iran’s direct terror proxy targeting

 U.S. personnel at the direction of Hezbollah and the IRGC-QF. Iran harbored elements of its




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 leadership (and their families), trained and supplied its operatives, and funded the AAH cells. Iran

 used Hezbollah to train and direct AAH to commit attacks on Americans in Iraq on its behalf.

        384.    AAH has conducted countless of attacks against U.S. and Iraqi forces, targeted

 kidnappings of Westerners and Iraqis, rocket and mortar attacks on the U.S. Embassy, murdered

 American and British soldiers, and assassinated Iraqi officials.

        385.    At all relevant times, AAH received its funding from Iran, and acted as an agent of

 Iran’s IRGC-QF and Hezbollah.

        386.    At a July 2, 2007 press briefing, General Bergner, spokesman for the MNF-I, noted:

                The Qods Force also supplies the special groups with weapons and funding
                of 750,000 to 3 million U.S. dollars a month. Without this support, these
                special groups would be hard pressed to conduct their operations in Iraq
                […] The Qods Force goal was to develop the Iraqi special groups into a
                network similar to the Lebanese Hezbollah. Special groups would be unable
                to conduct their terrorist attacks in Iraq without Iranian-supplied weapons
                and other support. Like Ali Musa Daqduq, Qais' [Khazali] main contact was
                [General Shahlai], the deputy commander for Qods Force Department of
                External Special Operations. Funding and training of the special groups
                started in 2004.

        E.      KATA’IB HEZBOLLAH (“KH”)

        387.    Kata’ib Hezbollah (“KH”) (Hezbollah Brigades) was active in Iraq from 2007 to

 2011. It was founded by Abu Mahdi al-Muhandis, a member of the Badr Corps and one of the

 IRGC-QF’s senior operatives in Iraq. In the 1980s, al-Muhandis was a member of the Iraqi Da’wa

 Party, in which capacity he worked closely with the IRGC-QF and Lebanese Hezbollah.

        388.    KH’s overall operations were run by Karim Ja’far Muhsin al-Ghanimi, described

 by the U.S. Treasury Department as “the overall leader of KH, which has used facilities in Iran to

 send weapons to Iraq.” According to the U.S. government, “Ghanimi has organized KH military-

 related training in Iran from the IRGC-QF and Lebanese Hizballah. Ghanimi has sent money

 provided by the IRGC-QF to KH leaders in Iraq.”


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          389.     KH has functioned as Iran’s premier terror proxy in Iraq and like other Special

 Groups, its fighters received training from the IRGC-QF and Hezbollah in guerilla warfare tactics

 and the use of explosives, as well as weapons like the RPG-29, EFPs, and the deployment of

 Katyusha rockets for indirect fire attacks on U.S. forward operating bases.

          390.     The IRGC-QF provided RPG-29 anti-armor weapons exclusively to KH.

          391.     The IRGC-QF also provided Improvised Rocket Assisted Munitions (“IRAMs”)

 almost exclusively to KH. IRAMs are “flying IEDs” – explosive devices made from large metal

 canisters, such as propane gas tanks, filled with explosives, scrap metal and ball bearings,

 propelled into the air by rockets. IRAMs were “purpose-built” for one objective: being lobbed over

 walls and Hesco23 barriers at short ranges, preventing interception by C-RAM defense systems24

 that were protecting Coalition Forces manning bases in Iraq.

          392.     IRAMs first appeared in southern Iraq in November 2007. Like other IEDs, IRAMs

 could be triggered remotely by radio control, or timed to detonate by a washing-machine timer.

 IRAMs could be launched from either a frame resting on the ground or mounted on the bed of a

 truck and were designed to cause catastrophic damage and inflict mass casualties.

          393.     But, notwithstanding the fact that portions of IRAMs were sometimes constructed

 from commonly-used “household” materials (such as, e.g., propane tanks), they require the use of

 military-grade rockets, and their proper assembly required a high-degree of technical

 sophistication that KH obtained from Hezbollah and the IRGC-QF.



 23
           Hesco barriers are a multi-cellular barrier system manufactured from welded zinc-aluminum coated steel
 wire mesh, joined with vertical, helical-coil joints, and lined with a heavy-duty non-woven polypropylene geotextile.
 Once filled with earth, sand, and dirt, the Hesco barriers provide exceptional protection against conventional fire
 attacks. See http://www.hesco.com/products/defensive-barriers/mil.
 24
           Counter Rocket, Artillery, and Mortar, abbreviated “C-RAM” or “Counter-RAM,” is a set of systems used
 to detect and/or destroy incoming artillery, rockets and mortar rounds in the air before they hit their ground targets, or
 simply provide early warning. See https://en.wikipedia.org/wiki/Counter_Rocket,_Artillery,_and_Mortar.


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        394.       The first known IRAM attack in Iraq occurred at Forward Operating Base (“FOB”)

 Loyalty in Baghdad. Two American soldiers were killed and 16 wounded. A second attack in the

 Sha’ab neighborhood of Baghdad was the result of an accidental explosion of IRAMs likely

 intended for Combat Outpost Callahan, approximately 800 yards away from where the truck

 carrying the IRAMs prematurely exploded, killing 18 civilians and wounding an additional 29.

        395.       IRAM attacks were particularly dangerous to U.S. troops, and had the potential to

 kill dozens in a single attack. Once launched, an incoming IRAM could not be stopped. A soldier

 spotting the approach of a suspected IRAM-bearing vehicle could have as little as “two seconds to

 decide whether the person emerging from it ha[d] just set it for firing or [was] simply an innocent

 driver getting out to change a tire.”

        396.       IRAMs became a signature weapon of KH.

        397.       KH operated mainly in Shi’a areas of Baghdad, such as Sadr City, and throughout

 southeastern Iraq conducting (1) rocket-propelled grenade (RPG) attacks; (2) 107mm and 240mm

 rocket attacks; (3) IRAM attacks; and (4) EFP attacks on U.S. and Coalition Forces. KH was also

 supplied by Iran with their production model of the RPG-29 anti-tank rocket launcher.

        398.       This model RPG-29 was first used against U.S. forces during operations in Sadr

 City, Baghdad.

        399.       On June 24, 2009, the United States designated KH an FTO. The State Department

 explained that:

                   The organization has been responsible for numerous violent terrorist attacks
                   since 2007, including improvised explosive device bombings, rocket
                   propelled grenade attacks, and sniper operations. Kata’ib Hezbollah [sic]
                   also targeted the International Zone in Baghdad in a November 29, 2008
                   rocket attack that killed two UN workers. In addition, KH has threatened
                   the lives of Iraqi politicians and civilians that support the legitimate political
                   process in Iraq.




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         400.    KH was also simultaneously designated an SDGT, because it was “responsible for

  numerous terrorist acts against Iraqi, U.S., and other targets in Iraq since 2007.”

         401.    The U.S. Treasury Department also designated KH as an entity threatening stability

  in Iraq pursuant to E.O. 13438. The Treasury Department’s 2009 press release announcing KH’s

  designation explained that KH had “committed, directed, supported, or posed a significant risk of

  committing acts of violence against Coalition and Iraqi Security Forces….”

         402.    The Treasury press release also stated: “[f]urther, the IRGC-Qods Force provides

  lethal support to Kata’ib Hizballah and other Iraqi Shia militia groups who target and kill Coalition

  and Iraqi Security Forces.”

         403.    The 2009 press release further reported that:

                 Between March 2007 and June 2008, Baghdad-based Kata’ib Hizballah cell
                 members participated in multiple rocket-propelled grenade (RPG) and
                 improvised rocket-assisted mortar (IRAM) attacks against U.S. forces.
                 These attacks included a May 13, 2008 RPG-29 attack on a U.S. tank
                 located in Sha’ab, Iraq, and a February 19, 2008 IRAM attack on a U.S.
                 base near Rustamiya, Iraq. A February 19, 2008 rocket attack in the
                 Rustamiya area resulted in one U.S. civilian killed and injuries to U.S.
                 civilian and Coalition Forces personnel.

                 As of 2008, Kata’ib Hizballah was funded by the IRGC-Qods Force and
                 received weapons training and support from Lebanon-based Hizballah. In
                 one instance, Hizballah provided training--to include building and planting
                 IEDs and training in coordinating small and medium arms attacks, sniper
                 attacks, mortar attacks, and rocket attacks--to Kata'ib Hizballah members in
                 Iran.

                 Recordings made by Kata'ib Hizballah for release to the public as
                 propaganda videos further demonstrate that Kata’ib Hizballah conducted
                 attacks against Coalition Forces. In mid-August 2008, Coalition Forces
                 seized four hard drives from a storage facility associated with a Kata’ib
                 Hizballah media facilitator. The four hard drives included approximately
                 1,200 videos showing Kata’ib Hizballah’s sophisticated planning and attack
                 tactics, techniques, and procedures, and Kata’ib Hizballah’s use of the most
                 lethal weapons--including RPG-29s, IRAMs, and EFPs--against Coalition
                 Forces in Iraq.




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                 One of the hard drives contained 35 attack videos edited with the Kata’ib
                 Hizballah logo in the top right corner. Additionally, between February and
                 September 2008, Al-Manar in Beirut, Lebanon, broadcast several videos
                 showing Kata’ib Hizballah conducting multiple attacks against Coalition
                 Forces in Iraq.

                 Immediately preceding the Government of Iraq’s approval of the United
                 States-Iraq security agreement in late November 2008, Kata’ib Hizballah
                 posted a statement that the group would continue fighting Coalition Forces
                 and threatened to conduct attacks against the Government of Iraq if it signed
                 the security agreement with the United States.

          404.   In 2008, the U.S. Department of Defense described the linkages it found between

  KH, Iran and multiple terrorist attacks against Coalition Forces in Iraq—including KH’s use of

  EFPs:

                 [A]lso known as Hezbollah Brigades, [KH] is a terrorist group believed to
                 receive funding, training, logistics and material support from Iran to attack
                 Iraqi and coalition forces using what the military calls ‘explosively formed
                 penetrators’ – roadside bombs designed to pierce armor-hulled vehicles –
                 and other weapons such as rocket-assisted mortars.

          405.   As noted above—and as stated by the U.S Treasury Department in its July 2009

  press release—throughout 2008, Al-Manar, Hezbollah’s official television outlet in Lebanon (and

  itself a designated SDGT since May 2006), played numerous videos of KH launching rocket and

  IED/EFP attacks against U.S. troops. In this manner, Hezbollah helped publicize KH’s activities

  and wage psychological warfare against the United States.

          406.   The U.S. Treasury Department designated KH’s founder, Abu Mahdi al-Muhandis,

  an SDGT in July 2009 and announced the designation in the same press release announcing KH’s

  designation. The press release noted:

                 As of early 2007, al-Muhandis formed a Shia militia group employing
                 instructors from Hizballah to prepare this group and certain Jaysh al-
                 Mahdi (JAM) Special Groups for attacks against Coalition Forces. The
                 groups received training in guerilla warfare, handling bombs and
                 explosives, and employing weapons--to include missiles, mortars, and
                 sniper rifles. In another instance as of September 2007, al-Muhandis led



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                networks that moved ammunition and weapons--to include explosively
                formed penetrators (EFPs)--from Iran to Iraq, distributing them to certain
                JAM militias to target Coalition Forces. As of mid-February 2007, al-
                Muhandis also ran a weapons smuggling network that moved sniper rifles
                through the Iran-Iraq border to Shia militias that targeted Coalition Forces.

                Al-Muhandis also provided logistical support for attacks against Iraqi
                Security Forces and Coalition Forces conducted by JAM Special Groups
                and certain Shia militias. In one instance, in April 2008, al-Muhandis
                facilitated the entry of trucks--containing mortars, Katyusha rockets, EFPs,
                and other explosive devices--from Iran to Iraq that were then delivered to
                JAM Special Groups in Sadr City, Baghdad. Additionally, al-Muhandis
                organized numerous weapons shipments to supply JAM Special Groups
                who were fighting Iraqi Security Forces in the Basrah and Maysan
                provinces during late March-early April 2008.

                In addition to facilitating weapons shipments to JAM Special Groups and
                certain Shia militias, al-Muhandis facilitated the movement and training of
                Iraq-based Shia militia members to prepare them to attack Coalition Forces.
                In one instance in November 2007, al-Muhandis sent JAM Special Groups
                members to Iran to undergo a training course in using sniper rifles. Upon
                completion of the training course, the JAM Special Groups members had
                planned to return to Iraq and carry out special operations against Coalition
                Forces. Additionally, in early March 2007, al-Muhandis sent certain Shia
                militia members to Iran for training in guerilla warfare, light arms,
                marksmanship, improvised explosive devices (IED) and anti-aircraft
                missiles to increase the combat ability of the militias to fight Coalition
                Forces.

                In addition to the reasons for which he is being designated today, al-
                Muhandis participated in the bombing of Western embassies in Kuwait and
                the attempted assassination of the Emir of Kuwait in the early 1980s. Al-
                Muhandis was subsequently convicted in absentia by the Kuwaiti
                government for his role in the bombing and attempted assassination.
                (Emphasis added.)

         407.   In a July 2010 press briefing, U.S. General Ray Odierno identified KH as the group

  behind increased threats to U.S. bases in Iraq. General Odierno confirmed that KH operatives had

  gone to Iran for special training and then returned to Iraq. General Odierno stated, “[T]hey are

  clearly connected to Iranian IRGC [Iranian Revolutionary Guard Corps].”

         408.   In sum, from 2007 to 2011, KH operated as Iran’s direct terror proxy targeting U.S.




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  personnel at the direction of Hezbollah and the IRGC-QF. Iran harbored elements of its leadership

  (and their families), trained and supplied its operatives, and funded the KH cells. Iran used

  Hezbollah to train and direct KH to commit attacks on Americans in Iraq on its behalf.

         F.     CASE IN POINT: SENIOR HEZBOLLAH COMMANDER ALI MUSA
                DAQDUQ’S DIRECTION OF TERRORIST ATTACKS ON COALITION
                FORCES IN IRAQ

         409.   In March 2007, Ali Musa Daqduq was captured in Basra, Iraq.

         410.   At the time of his arrest, he produced identification saying his name was Hamid

  Muhammad Jabur Al Lami and that he was a mute. Only during further questioning did he admit

  to being part of Lebanese Hezbollah and acknowledge his ability to speak.

         411.   In 2005, Hezbollah’s leader, Hassan Nasrallah, had tapped Daqduq to work for Unit

  3800, and in May 2006, he traveled to Tehran with Yusuf Hashim, a fellow Hezbollah operative

  and senior supervisor of Hezbollah operations in Iraq. There they met with General Shahlai,

  Deputy Commander of the IRGC-QF Special External Operations. Daqduq was directed to return

  to Iraq and report on the training and operations of the JAM Special Groups and provide

  assessments on their training in mortars and rockets, use of IEDs (particularly EFPs) and

  kidnapping operations.

         412.   As MNF-I investigators later learned, Daqduq not only provided training to AAH

  cells and advised them on terrorist operations, he also helped plan operations and had final

  approval over them. Daqduq reported to Hashim and the latter reported to Hezbollah’s Muhammad

  Kawtharani and General Shahlai.

         413.   Daqduq conducted multiple visits to Iraq to undertake training needs assessments,

  survey the operational environment, and obtain feedback from JAM Special Groups members in

  Iraq on their needs. This was intended to ensure that the training being designed and staffed by




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  Hezbollah instructors would provide the greatest benefit to their students.

         414.     In addition, Daqduq’s assessments provided informed feedback to the IRGC-QF

  logisticians on the armaments the JAM Special Groups fighters needed to meet their needs and

  improve their operational performance.

         415.     In early 2007, Daqduq planned, authorized, and directed an attack on U.S. service

  members in the PJCC in Karbala. Pursuant to his direction, on January 20, 2007, a team of at least

  12 AAH gunmen, disguised as U.S. soldiers, infiltrated the PJCC in Karbala. In the well-planned

  attack, they killed one U.S. soldier and abducted four others, whom they later executed.

         416.     Two months later, when Coalition Special Forces captured Qais al-Khazali, his

  brother Layth al-Khazali, who led the attack, and Daqduq in Basra, the documents, computers and

  media recovered from capture, as well as the subsequent interrogations of these men, significantly

  supplemented the U.S. military’s understanding of Hezbollah’s operational role in Iraq and the

  IRGC-QF’s central role in supporting and enabling the JAM Special Groups.

         417.     Amongst the documents recovered was a 22-page memorandum written by Daqduq

  that “detailed the planning, preparation, approval process and conduct of the [Karbala] operation,”

  as well as Daqduq’s role in overseeing other Special Groups operations.

         418.     As noted in a Memorandum for Commander, Multi-National Force—Iraq, dated

  May 31, 2007:

                  [Daqduq] has knowledge of Iranian surrogate networks operating in Iraq
                  and has admitted to meeting Iranian Revolutionary Guard Corps-Quds
                  Force (IRGC-QF) personalities on multiple occasions including Hajj Yusif,
                  who is assessed to be Abdul Reza Shahlai, the Department 9000 (Lethal
                  Aid) Deputy Commander.

         419.     According to U.S. military officials, both Daqduq and Qais Khazali admitted that

  senior leadership within the IRGC-QF knew of and helped plan the attack on the Karbala PJCC,




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  and Daqduq served as the liaison between the IRGC-QF, Hezbollah and AAH.

         420.     For example, a May 22, 2009 memorandum summarizing the interrogations of

  Daqduq noted:

                [Daqduq] is a Lebanese Hizballah Commander and was an advisor to AAH
                leadership. [Daqduq] was involved in the planning of the Karbala PJCC
                attack in January 2007 and the reconnaissance of various CF bases and ports.
                [Daqduq] took his direction from IRGC-QF Officer Hajji Yusif [General
                Shahlai] and LH [Lebanese Hezbollah] Unit 2800 Commander Yusif
                Hashim.

         421.     An August 13, 2007 Memorandum recounted the data retrieved from the Basra

  location of the March raid:

                  The hard drives contained numerous insurgent related documents and
                  photographs, including a journal detailing upcoming operations or
                  meetings; ‘how to’ manuals on operating arms/munitions systems—
                  including various missiles and RPG launchers; old US military training
                  materials; photographs of MNF equipment and resources; Google Earth
                  aerial photographs of regions and cities in Iraq; photographs of U.S. service
                  members performing their jobs; photographs of destroyed U.S. military
                  equipment; photographs of an unknown shipyard; photographs of a
                  destroyed MNF dining facility; and, propaganda videos by ISI showing
                  missile testing, dead bodies, and destroyed vehicles. Of note, photographs
                  were also found of items from the wallet of [3.5(c)] a U.S. soldier killed in
                  a complex attack on the Provincial Joint Coordination Cell in Karbala on 20
                  Jan 07—including his SSA card, credit cards, identification cards, and
                  family photographs. Documents seized include: spreadsheets detailing
                  weapons and targets; step-by-step instructions for operations/attacks; and
                  numerous letters equivalent to after-action reports detailing attacks.

         422.     An October 5, 2008 Memorandum further noted:

                  [Daqduq] admitted to being Lebanese Hezbollah and admitted to an active
                  role in Iraq as an agent of Iranian state-sponsored terrorism. [Daqduq]
                  admitted that Abdul Reza Shahlai, Iranian Revolutionary Guard Corps -
                  Quds Force (IRGC-QF) Department 9000 (Lethal Aid) Deputy Chief
                  facilitated [Daqduq]’s illegal entry into Iraq on four separate occasions.
                  IRGC-QF is one of the primary agents of Iranian state sponsored terrorism.
                  [Daqduq] admitted that his role was to arrange for training of Shi’a
                  extremist groups, facilitating training and weapons procurement for Special
                  Groups. Special Groups have conducted numerous AIF [Anti-Iraqi Forces]
                  and ACF [Anti-Coalition Forces] attacks throughout Iraq. [Daqduq]



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                   admitted to a significant operational planning role in the abduction and
                   murder of 5 U.S. Service Members.

          423.     Khazali described Daqduq as the “designer of the Special Groups.”25 The

  exploitation of a computer that was captured during the raid revealed contents that confirmed the

  training and evaluation role that Daqduq performed. “Documents seized include: spreadsheets

  detailing weapons and targets, step-by-step instructions for operations/attacks; and numerous

  letters equivalent to after-action reports detailing attacks, including, for example: an ambush and

  IED attack on a MNF convoy in Karbala resulting in 4 X MNF KIA; an IED attack on a British

  patrol which destroyed two Land Rovers and killed the occupants; and a sniper attack on a British

  patrol which killed a British soldier.”

          424.     For example, Daqduq was found in possession of training manuals on tactics for

  launching rocket attacks.

          425.     In his personal journal, Daqduq recorded: “Met with the brothers the observers of

  Diyalah province and I listened regarding operations … We conducted eight explosive charge

  operations on both sides.”

          426.     U.S. intelligence also learned about Hezbollah’s series of 30-day training courses

  held for Iraqi Special Groups. These included:

                  Engineering: This is a demolitions course, focusing on the construction and
                   emplacement of EFPs, including the use of Passive Infra-Red devices or
                   “Magic Eye.”
                  Artillery: This course teaches the use of indirect fire weapons, including
                   60mm and 120mm mortars, and 107mm, 122mm, and 240mm rockets.
                  Intelligence: This class covers basic source operations and collection,
                   observations, etc. to derive intelligence that is used at the tactical level.



  25
           Ali Musa Daqduq was held in U.S. detention until November 2011 with the goal of extraditing him to the
  U.S. for trial. The Iraqi Government denied the request, and he was transferred to Iraqi custody on December 18,
  2011. The charges that the U.S. had brought against him were summarily rejected by an Iraqi Court in May 2012 as
  lacking evidence and he was released from confinement, later returning to Lebanon.


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         427.   According to U.S. intelligence, Hezbollah also conducted “mini-courses” and

  “refresher training” at a camp near Tehran and also taught a course for JAM Special Groups on

  how to improve their “kidnapping capability.”

         428.   According to U.S. intelligence estimates, following Daqduq’s 2007 arrest, the

  IRGC-QF provided Hezbollah and Daqduq up to $3 million in U.S. currency every month to run

  JAM Special Groups in Iraq.

         429.   Ultimately, the U.S. military concluded that Daqduq’s mandate was “to reorganize

  the Special Groups into an organization that mirrored Lebanese Hizbollah.”

         430.   On November 19, 2012, the U.S. Department of the Treasury designated Ali Musa

  Daqduq an SDGT pursuant to Executive Order (E.O.) 13224:

                Daqduq is a senior Hizballah commander responsible for numerous attacks
                against Coalition Forces in Iraq, including planning an attack on the Karbala
                Joint Provincial Coordination Center (JPCC) on January 20, 2007, which
                resulted in the deaths of five U.S. soldiers.

                On March 20, 2007, Coalition Forces in southern Iraq captured Daqduq,
                who falsely claimed to be a deaf mute at the time and produced a number
                of false identity cards using a variety of aliases. From January 2009 until
                December 2011, U.S. military forces held Daqduq in Iraq under the terms
                of the 2008 "Agreement Between the United States of America and the
                Republic of Iraq on the Withdrawal of United States Forces from Iraq and
                the Organization of Their Activities during Their Temporary Presence in
                Iraq" (the Security Agreement). In December 2011, the United States
                transferred Daqduq to Iraq's custody in accordance with our obligations
                under the Security Agreement. He was subsequently tried in Iraq on
                terrorism and other charges. On May 7, 2012, an Iraqi court dismissed
                terrorism and false documents charges against him. Daqduq remained in
                Iraqi custody until last week when the Iraqi government determined that it
                no longer had a legal basis to hold him, and he was released Friday.

         G.     IRAN FUNDED THE DESIGN AND PRODUCTION OF EXPLOSIVELY
                FORMED PENETRATORS (“EFPS”) USED TO KILL OR MAIM
                COALITION FORCES, INCLUDING THE PLAINTIFFS




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          431.     As noted above, the EFPs deployed by the IRGC and Hezbollah in Iraq were not

  truly “improvised” explosive devices but professionally manufactured and specifically designed

  to target U.S. and Coalition Forces’ armor.

          432.     EFPs constitute “weapons of mass destruction” as that term is defined in 18 U.S.C.

  § 2332a(2)(A).

          433.     First used by Hezbollah against Israeli armor in Lebanon, EFPs are categorized by

  the U.S. military as a type of shaped-charge weapon. They are usually made by placing a precision-

  manufactured concave copper disk in front of high-explosives that have been packed into a steel

  tube with a cap welded to one end.

          434.     In Iraq, EFPs were often triggered by a passive infra-red devices that ultimately set

  off an explosion within the steel casing of the EFP, forcing the copper disk forward, and turning it

  into a high-velocity molten slug that could pierce the military-grade armor of most U.S. vehicles

  deployed in Iraq.

          435.     To produce these weapons, copper sheets are often loaded onto a punch press to

  yield copper discs. These discs are annealed in a furnace to soften the copper. The discs are then

  loaded into a large hydraulic press and formed into the disk-like final shape.

          436.     This munitions manufacturing process is critical to the design and concomitant

  lethality of the EFP weapon.

          437.     Unlike homemade explosive devices such as traditional IEDs, EFPs are far more

  sophisticated and are specifically designed to target vehicles such as armored patrols and supply

  convoys, though Hezbollah and its Special Groups proxies have deployed them against U.S. and

  Iraqi civilians as well.

          438.     Because Iran propagated its specialized weapons knowledge up and down its




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  network of terror proxies in Iraq, the U.S. State Department’s 2006 Country Reports on Terrorism

  further documented Iran’s specific efforts to provide terrorists with lethal EFPs to ambush and

  murder U.S. and other Coalition Forces:

                 Iran provided guidance and training to select Iraqi Shia political groups, and
                 weapons and training to Shia militant groups to enable anti-Coalition
                 attacks. Iranian government forces have been responsible for at least some
                 of the increasing lethality of anti-Coalition attacks by providing Shia
                 militants with the capability to build IEDs with explosively formed
                 projectiles similar to those developed by Iran and Lebanese Hezbollah. The
                 Iranian Revolutionary Guard was linked to armor-piercing explosives that
                 resulted in the deaths of Coalition Forces. The Revolutionary Guard, along
                 with Lebanese Hezbollah, implemented training programs for Iraqi
                 militants in the construction and use of sophisticated IED technology.
                 These individuals then passed on this training to additional militants in
                 Iraq. (Emphasis added.)

         439.    Also in 2006, Brigadier Gen. Michael Barbero, Deputy Chief of Staff for Strategic

  Operations of MNF-I stated: “Iran is definitely a destabilizing force in Iraq. I think it’s irrefutable

  that Iran is responsible for training, funding and equipping some of these Shi’a extremist groups

  and also providing advanced IED technology to them, and there’s clear evidence of that.”

         440.    That same year, the Deputy Chief of Staff for Intelligence with the MNF-I, U.S.

  Army Major General Richard Zahner, declared that:

                 Labels on weapons stocks seized inside and outside Iraq point to Iranian
                 government complicity in arming Shiite militias in Iraq […] Iran is
                 funneling millions of dollars for military goods into Iraq […] You’ll find a
                 red label on the C-4 [explosive] printed in English and will tell you the lot
                 number and name of the manufacturer.

         441.    Major General Zahner further added:

                 [T]he control of military-grade explosives in Iran is controlled through the
                 state apparatus and is not committed through rogue elements right there. It
                 is a deliberate decision on the part of elements associated with the Iranian
                 government to affect this type of activities.

         442.    General Bergner commented on Iran funding Hezbollah operatives in Iraq:



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                Actions against these Iraqi groups have allowed coalition intelligence
                officials to piece together the Iranian connection to terrorism in Iraq […]
                Iran’s Quds Force, a special branch of Iran’s Revolutionary Guards, is
                training, funding and arming the Iraqi groups. […] It shows how Iranian
                operatives are using Lebanese surrogates to create Hezbollah-like
                capabilities. And it paints a picture of the level of effort in funding and
                arming extremist groups in Iraq.

         443.   Bergner further noted that:

                The groups operate throughout Iraq. They planned and executed a string of
                bombings, kidnappings, sectarian murders and more against Iraqi citizens,
                Iraqi forces and coalition personnel. They receive arms—including
                explosively formed penetrators, the most deadly form of improvised
                explosive device—and funding from Iran. They also have received planning
                help and orders from Iran.

         444.   In May 2007, the Commander of the Multi-National Division-Center, U.S. Army

  Major General Richard Lynch, stated that:

                Most of our casualties have come from improvised explosive devices.
                That’s still the primary threat to our soldiers—IEDs. And we have an
                aggressive campaign to counter those IEDs, but they still are taking a toll
                on our soldiers: 13 killed, 39 soldiers wounded. What we’re finding is that
                the technology and the financing and the training of the explosively formed
                penetrators are coming from Iran. The EFPs are killing our soldiers, and
                we can trace that back to Iran.” [Emphasis added.]

         445.   According to the U.S. State Department’s 2007 Country Reports on Terrorism:

                Despite its pledge to support the stabilization of Iraq, Iranian authorities
                continued to provide lethal support, including weapons, training, funding,
                and guidance, to some Iraqi militant groups that target Coalition and Iraqi
                security forces and Iraqi civilians. In this way, Iranian government forces
                have been responsible for attacks on Coalition forces. The Islamic
                Revolutionary Guard Corps (IRGC)-Qods Force, continued to provide Iraqi
                militants with Iranian-produced advanced rockets, sniper rifles, automatic
                weapons, mortars that have killed thousands of Coalition and Iraqi Forces,
                and explosively formed projectiles (EFPs) that have a higher lethality rate
                than other types of improvised explosive devices (IEDs), and are specially
                designed to defeat armored vehicles used by Coalition Forces. The Qods
                Force, in concert with Lebanese Hezbollah, provided training outside Iraq
                for Iraqi militants in the construction and use of sophisticated IED
                technology and other advanced weaponry. These individuals then passed on
                this training to additional militants inside Iraq, a “train-the-trainer”


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                 program. In addition, the Qods Force and Hezbollah have also provided
                 training inside Iraq. In fact, Coalition Forces captured a Lebanese Hezbollah
                 operative in Iraq in 2007.

         446.    Other U.S. Government reports, such as the Department of Defense’s 2007

  Measuring Stability and Security in Iraq quarterly report to Congress, similarly concluded that:

                 The Iranian regime’s primary tool for exercising clandestine influence in
                 Iraq is the Islamic Revolutionary Guard Corps’ (IRGC) Qods Force (QF),
                 which provides arms, intelligence, funds, training, and propaganda support
                 to Iraqi Shi’a militants targeting and killing Coalition and Iraqi forces, as
                 well as Iraqi civilians. The QF seeks to increase long-term Iranian strategic
                 influence in Iraq and the withdrawal of U.S. forces. Among the weapons it
                 provides to Iraqi militants are improvised explosive devices (IEDs),
                 advanced IED technologies (including explosively formed projectiles
                 (EFPs)), and rockets and mortars used for indirect fire attacks.

         447.    These observations continued in 2008.

         448.    According to the U.S. State Department’s 2008 Country Reports on Terrorism:

                 The Qods Force, an elite branch of the Islamic Revolutionary Guard Corps
                 (IRGC), is the regime’s primary mechanism for cultivating and supporting
                 terrorists abroad. The Qods Force provided aid in the form of weapons,
                 training, and funding to HAMAS and other Palestinian terrorist groups,
                 Lebanese Hezbollah, Iraq-based militants, and Taliban fighters in
                 Afghanistan.…

                 Despite its pledge to support the stabilization of Iraq, Iranian authorities
                 continued to provide lethal support, including weapons, training, funding,
                 and guidance, to Iraqi militant groups that targeted Coalition and Iraqi
                 forces and killed innocent Iraqi civilians. Iran’s Qods Force continued to
                 provide Iraqi militants with Iranian-produced advanced rockets, sniper
                 rifles, automatic weapons, and mortars that have killed Iraqi and Coalition
                 Forces as well as civilians. Tehran was responsible for some of the lethality
                 of anti-Coalition attacks by providing militants with the capability to
                 assemble improvised explosive devices (IEDs) with explosively formed
                 projectiles (EFPs) that were specially designed to defeat armored vehicles.
                 The Qods Force, in concert with Lebanese Hezbollah, provided training
                 both inside and outside of Iraq for Iraqi militants in the construction and use
                 of sophisticated IED technology and other advanced weaponry.

         449.    One of the ways in which the IRGC provided “militants with the capability to

  assemble improvised explosive devices (IEDs) with explosively formed projectiles (EFPs) that



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  were specially designed to defeat armored vehicles” included providing them with manufacturing

  supplies such as copper and steel, as well as machinery—including hydraulic presses used to form

  copper into the shape of disks used in EFPs.

            450.   Likewise, the State Department’s 2011 Country Reports on Terrorism reported:

                   Despite its pledge to support the stabilization of Iraq, Iran continued to
                   provide lethal support, including weapons, training, funding, and guidance,
                   to Iraqi Shia militant groups targeting U.S. and Iraqi forces, as well as
                   civilians. Iran was responsible for the increase of lethal attacks on U.S.
                   forces and provided militants with the capability to assemble explosives
                   designed to defeat armored vehicles. The IRGC-QF [Islamic Revolutionary
                   Guard Corps-Quds Force], in concert with Lebanese Hezbollah, provided
                   training outside of Iraq as well as advisors inside Iraq for Shia militants in
                   the construction and use of sophisticated improvised explosive device
                   technology and other advanced weaponry.

            451.   Similarly, in 2011, the U.S. Ambassador to Iraq, James F. Jeffrey, was quoted as

  saying:

                   [F]resh forensic testing on weapons used in the latest deadly attacks in the
                   country bolsters assertions by U.S. officials that Iran is supporting Iraqi
                   insurgents with new weapons and training. […] We’re not talking about a
                   smoking pistol. There is no doubt this is Iranian.

            452.   All of the foregoing support from Iran and its agents for attacks on Coalition Forces

  and Iraqi civilians was financed and facilitated, in substantial part, by funds transfers initiated by

  Iran through Iranian banks (including, inter alia, the Central Bank of Iran, Bank Melli Iran and

  Defendant Bank Saderat Plc) on behalf of, and for the benefit of, the IRGC, Hezbollah and IRISL

  as part of the Conspiracy set forth in detail herein.

            453.   Because of the size and scope of Iran’s efforts to murder Americans in Iraq—and

  subvert the U.S.-sponsored and freely elected Iraqi government, Iran required access to hundreds

  of millions of dollars that it could only be reliably and effectively transfer through the global

  financial system with the illicit assistance of the Western Bank Defendants.




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            H.     ALL OF THE ATTACKS AT ISSUE IN THIS COMPLAINT WERE ACTS
                   OF INTERNATIONAL TERRORISM

            454.   At no time relevant to this Action did the United States declare war or enact an

  Authorization for the Use of Military Force against Iran.

            455.   At no time relevant to this Action did the United States engage in an armed conflict

  with the military forces of Iran, or Iran’s military forces or their agents engage in lawful acts of

  war against Coalition Forces.

            456.   At no time relevant to this action did the Hezbollah and the IRGC’s agents in Iraq

  who killed and injured Coalition Forces and civilians carry fixed distinctive signs recognizable at

  a distance, carry arms openly, conduct their operations in accordance with the laws and customs

  of war, or enjoy any form of combatant immunity for their acts.

            457.   The specific attacks alleged herein were all committed by Hezbollah and the IRGC-

  QF through their terror cells in Iraq, not by armed forces of recognized governments or military

  forces.

            458.   The deaths and injuries Plaintiffs sustained were not the result of, nor did they occur

  in the course of, a declared war with Iran, or an armed conflict between the United States and Iran.

            459.   The conduct of Iran, the IRGC and Hezbollah violated the laws of armed conflict

  (including, e.g., AAH operatives masquerading as members of U.S. armed forces and executing

  defenseless prisoners), and the attacks upon Iraqi and other civilians constituted a substantial,

  rather than an incidental, part of their objectives and conduct.

            460.   The acts of the IRGC and Hezbollah that injured the Plaintiffs were acts of

  international terrorism within the meaning of 18 U.S.C. § 2331, involving violent acts intended to

  influence the United States by coercion (by coercing the withdrawal of Coalition Forces from Iraq)

  and to intimidate and coerce the Iraqi population, and were also acts constituting terrorist activities



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  within the meaning of 8 U.S.C. § 1182(a)(3)(B)(iii)-(iv), and/or engaging in terrorism within the

  meaning of 22 U.S.C. § 2656f.

         461.     At all relevant times Hezbollah was (and remains) a designated Foreign Terrorist

  Organization.

         462.     From October 25, 2007 to the present, the IRGC-QF has been an SDGT .

  VI.    OVERVIEW OF THE CONSPIRACY

         A.       AGREEMENT AND KNOWLEDGE

         463.     As noted above, “the Conspiracy” identified in this Complaint first began in the

  years immediately after Iran was first designated by the United States as a State Sponsor of

  Terrorism in 1984.

         464.     As a result of that designation, Iran developed various ways to circumvent U.S.

  economic sanctions levied against the regime and to facilitate the free movement of U.S. dollars

  that Iran obtained (largely from the sale of petroleum and natural gas) without detection by the

  U.S. government in order to pursue foreseeably illicit objectives, including:

                  a.     Concealing hundreds of billions of dollars of Iran’s U.S. dollar-
                         denominated transactions from detection, scrutiny, or monitoring by
                         U.S. regulators, U.S. law enforcement, and/or U.S. depository
                         institutions;

                  b.     Assisting Iran in transferring at least $150 million to the IRGC-QF,
                         Hezbollah, the Special Groups, and other instruments of Iranian
                         state-sponsored terrorism; and

                  c.     Assisting Iran in acquiring technology and components for its illegal
                         Weapons of Mass Destruction program and illicit conventional arms
                         trade.

         465.     To further those objectives, Iran enlisted several Iranian state-owned banks as well

  as Defendant Bank Saderat Plc and various international financial institutions, including the

  Western Bank Defendants in this Action, which agreed to alter, falsify, or omit information from



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  payment order messages that involved Iran or Iranian parties, in particular several Iranian banks

  (as noted above, referred to herein occasionally as the “Iranian Bank Co-conspirators” (including

  Defendant Bank Saderat Plc)), as well as IRISL, for the express purpose of concealing Iran’s

  financial transactions in the Eurodollar market from detection, scrutiny, or monitoring by U.S.

  regulators, law enforcement, and/or depository institutions.

         466.    The Conspiracy between Iran, the IRGC, IRISL, Defendant Bank Saderat Plc, the

  other Iranian Bank Co-conspirators, and the Western Bank Defendants began no later than 1987,

  and upon information and belief, continues to the present (though individual Defendants joined

  the Conspiracy at different dates).

         467.    The Conspiracy orchestrated by Iran made it possible for Iran to transfer: (1)

  hundreds of billions in U.S. dollar-denominated funds from its Eurodollar accounts maintained by

  various international banks, including the Defendants, through the United States in a manner

  designed to purposefully circumvent monitoring by U.S. regulators and law enforcement agencies;

  and (2) hundreds of millions of dollars to Hezbollah, the IRGC, and other terrorist organizations

  actively engaged in murdering and maiming U.S. servicemen and civilians in Iraq.

         468.    Each of the Defendants knowingly entered into an agreement with Iran and its

  agents, including but not limited, to Defendant Bank Saderat Plc, other Iranian Bank Co-

  conspirators, including but not limited to, the Central Bank of Iran, Bank Melli (including Bank

  Melli’s United Kingdom subsidiary Melli Bank Plc), and Bank Sepah (which are all

  instrumentalities of Iran), as well as the IRGC-controlled IRISL, under which the conspirators

  agreed to alter, falsify, or omit information from payment order messages for USD-denominated

  Eurodollar, trade-finance, precious metals and foreign exchange transactions that were

  purposefully directed at, and processed through, the United States.




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         469.    As alleged in detail below, each Defendant committed numerous overt acts in

  furtherance of the Conspiracy and knowingly and unlawfully agreed to engage in “stripping”

  hundreds of millions – and in some cases, billions – of U.S. dollar-denominated transactions on

  behalf of Iran knowing that Iran was a designated State Sponsor of Terrorism.

         470.    Each Defendant entered into its agreement with Iran and the Iranian Bank Co-

  conspirators (including Defendant Bank Saderat Plc) aware that other co-conspirators (either the

  Defendants herein, or other foreign financial institutions) were also actively participating in the

  Conspiracy, and shared the common goal of the scheme’s purpose of providing Iran and the Iranian

  Bank Co-conspirators (including Defendant Bank Saderat Plc) the ability to illegally transfer

  billions of dollars (undetected) through the United States, and were aware of many of the (often

  same or similar) methods being used by other members of the Conspiracy to effectuate it.

         471.    Accordingly, each Defendant understood that its conduct was part of a larger

  scheme engineered by Iran; each Defendant knew the participation of other conspirators was

  essential to the Conspiracy’s success; and each Defendant knew of and joined in the overriding

  scheme and sought to achieve and facilitate a common goal of helping Iran transfer billions of

  dollars through the United States while avoiding detection, scrutiny, or monitoring by U.S.

  regulators, U.S. law enforcement, and/or U.S. depository institutions.

         472.    In addition, each Defendant also knew, or was deliberately indifferent to, several

  of the Conspiracy’s foreseeable purposes and criminal objectives that included:

                 a.     Facilitating illicit transactions totaling at least $50 million USD for
                        the benefit of Hezbollah;

                 b.     Facilitating illicit transactions totaling at least $100 million in USD
                        funds for the direct benefit of the IRGC and billions in USD funds
                        for the benefit of the NIOC, then controlled by the IRGC;

                 c.     Facilitating at least hundreds of illicit transactions totaling more



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                         than $60 million on behalf of IRISL including over 150 “stripped”
                         transactions after IRISL was designated an SDN;

                 d.      Facilitating tens of millions of dollars in illicit transactions on behalf
                         of MODAFL, the IRGC, Mahan Air and other instrumentalities of
                         Iranian state sponsored terror to further numerous violations of the
                         U.S. trade embargo against Iran, conceal Iran’s efforts to evade U.S.
                         sanctions and enable Iran’s acquisition from the United States of
                         goods and technologies prohibited by U.S. law to be sold or
                         transferred to Iran, including components of IEDs deployed against
                         Coalition Forces in Iraq; and

                 e.      Enabling Iran, the Iranian Bank Co-conspirators (including
                         Defendant Bank Saderat Plc), the IRGC, Hezbollah, and the Special
                         Groups to plan for, conspire to, and perpetrate acts of international
                         terrorism under 18 U.S.C. § 2331(1); homicides, attempted
                         homicides, or conspiracies to commit homicide under 18 U.S.C. §
                         2332(a)-(c); bombings using destructive devices under 18 U.S.C. §
                         2332a; bombings and attempted bombings under 18 U.S.C. § 2332f;
                         engaging in terrorist activity under 8 U.S.C. § 1189(a)(3)(B)(iii)-
                         (iv); and/or engaging in terrorism under 22 U.S.C. § 2656f.

         473.    As set forth below, each of the Defendants knew that Iran was a U.S.-designated

  State Sponsor of Terrorism, and that U.S. laws and regulations required it to fully disclose all funds

  transfers through the United States made on behalf of Iran, Iranian entities and Iranian banks.

         474.    Despite that knowledge, each of the Defendants knowingly conspired with Iran and

  its agents (including Defendant Bank Saderat Plc) to violate those U.S. laws and regulations to

  conceal hundreds of millions (and in some cases, billions) of dollars in funds transfers routed

  through the Eurodollar correspondent banking network for clearance and settlement in the United

  States on behalf of Iran, IRISL, and the Iranian Bank Co-conspirators, including Defendant Bank

  Saderat Plc.

         475.    During the relevant time period from 2004 through 2011, and as set forth in greater

  detail herein, each of the Defendants knowingly agreed to join the Conspiracy; knowingly and

  willfully participated in the Conspiracy; knew or was deliberately indifferent to the Conspiracy’s




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  criminal purposes and objectives; took initiatives to improve its workings; and was aware of the

  participation of many (if not all) of its members.

          B.      ACTS AND EFFECTS

          476.    Through the Conspiracy, Iran provided material support to Hezbollah, the IRGC

  and their Iraqi proxies, including the Special Groups, which targeted American citizens in Iraq,

  and with substantial assistance from the Western Bank Defendants, concealed and disguised the

  nature, location, source, and origin of the material support it provided to these terrorists, knowing

  and intending that the funds be used in preparation for and in carrying out acts of terrorism against

  Americans and others, including civilians, in Iraq.

          477.    As part of the Conspiracy, each of the Defendants took affirmative steps to violate

  U.S. criminal laws and to conceal from U.S. depository institutions, law enforcement, regulators,

  bank auditors, and counter-terrorism agencies the flow of hundreds of millions (and in some cases,

  billions) of U.S. dollars it was clearing and settling in the United States, including transfers for the

  benefit of the IRGC and Hezbollah, and through them to KH and other terrorist organizations

  actively engaged in murdering and maiming U.S. servicemen and civilians in Iraq on the IRGC’s

  and Hezbollah’s behalf.

          478.    The conduct of each Defendant, its awareness of other Defendants’ and Co-

  conspirators’ participation and conduct, and the resulting “glaring hole” in America’s counter-

  financing of terrorism and sanctions architecture described by former Manhattan District Attorney

  Robert M. Morgenthau, provided Iran with vital access to the U.S. financial system.

          479.    U.S. “dollar clearing and settlement” – primarily (in this case) through the Clearing

  House Interbank Payments System in New York or “CHIPS-NY” system and the Federal Reserve

  Bank of New York (“FRB-NY”) – is an elaborate inter-bank system in the U.S. by which banks




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  clear and settle credits and debits in their Eurodollar accounts with other banks all across the globe

  on a daily basis.

         480.    The U.S. “dollar clearing and settlement” system is critical not only to the workings

  of the global economy, but provides financial institutions (and nation states) with critical, essential

  access to global trade-finance credit denominated in U.S. dollars.

         481.    Thus, once Iran gained clandestine access to the U.S. “dollar clearing and

  settlement” system in New York, it could not only launder billions of dollars through its accounts

  in the Eurodollar market, but it could also borrow against the Eurodollar deposits it held in the

  Defendants’ banks – facilitating further undetected transactions around the world in USD – both

  for ordinary commercial purposes and the illegal aims and objectives of the Conspiracy.

         482.    This broad-based access to the U.S. “dollar clearing and settlement” system was

  essential to Iran because of the scope of Iran’s global ambitions at the time, which included driving

  the United States and its Coalition partners out of Iraq, dominating that country, and acquiring

  Weapons of Mass Destruction.

         483.    Thus, among the effects of the Conspiracy, a State Department diplomatic cable

  from March 2008 noted that:

                 Bank Melli and the Central Bank of Iran also provide crucial banking
                 services to the Qods Force, the IRGC’s terrorist supporting arm that was
                 headed by UNSCR 1747 designee Commander Ghassem Soleimani.
                 Soleimani’s Qods Force leads Iranian support for the Taliban, Hezbollah
                 [sic], Hamas [sic] and the Palestinian Islamic Jihad. Entities owned or
                 controlled by the IRGC or the Qods Force use Bank Melli for a variety of
                 financial services. From 2002 to 2006, Bank Melli was used to send at least
                 $100 million to the Qods Force. Bank Melli use of Deceptive Banking
                 Practices … When handling financial transactions on behalf of the IRGC,
                 Bank Melli has employed deceptive banking practices to obscure its
                 involvement from the international banking system. For example, Bank
                 Melli has requested that its name be removed from payment instructions for
                 US dollar denominated transactions.




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            484.   In addition, absent the access to the U.S. “dollar clearing and settlement” system

  afforded to Bank Saderat by the HSBC Defendants, Defendants SCB, Barclays, Credit Suisse and

  Commerzbank, both Iran and Hezbollah’s access to USDs would have been diminished, and Iran’s

  efforts to transfer large sums of U.S. dollars to Hezbollah would have been substantially impaired.

            485.   By knowingly agreeing to enter into the Conspiracy, and by knowing or being

  deliberately indifferent to its lethal purposes, and by committing multiple overt acts in furtherance

  of the Conspiracy, the Defendants provided Iran with the means by which it could transfer more

  than $150 million to the IRGC, Hezbollah and the Special Groups, which were actively engaged

  in planning and perpetrating the murder and maiming of hundreds of Americans in Iraq during the

  same period of time that the Conspiracy was proceeding, thereby substantially enhancing Iran, the

  IRGC’s, Hezbollah’s, and the Special Groups’ ability to inflict the deaths and injuries described

  herein.

            486.   The Conspiracy was a substantial cause in fact and a significant factor in the chain

  of events leading to the Plaintiffs’ deaths and injuries because the Conspiracy substantially assisted

  Iran, the IRGC, IRISL, Mahan Air, Hezbollah, and/or the Special Groups in committing the acts

  of international terrorism that killed and injured the Plaintiffs herein, by providing them

  collectively with more than $200 million U.S. dollars in funding that were used, inter alia, to arm,

  train and fund Iranian terror proxies in Iraq that targeted American citizens.

            487.   By knowingly agreeing to enter the Conspiracy, and participating in and

  committing overt acts in the course of the Conspiracy that resulted in damage and injury to the

  Plaintiffs, Defendants committed acts of international terrorism as defined by 18 U.S.C. §§ 2331,

  2339A and 2339B that caused death and injury to the Plaintiffs in this action, and are civilly liable

  under 18 U.S.C. § 2333(a) of the Anti-Terrorism Act (“ATA”) to the Plaintiffs, American citizens




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  who have been killed and injured by reason of acts of international terrorism perpetrated by Iran

  through its agents, including the IRGC, Hezbollah, and the Special Groups.

          488.   Defendant HSBC-US not only knowingly participated in the Conspiracy, but as a

  U.S. person within the meaning of 18 U.S.C. § 2332d also committed further acts of international

  terrorism in violation of 18 U.S.C. §§ 2331 and 2332d by knowingly (or with reason to know)

  facilitating financial transactions with Iran, which it knew was a designated State Sponsor of

  Terrorism. HSBC-US’s acts were a cause of the deaths and injuries sustained by the Plaintiffs in

  this action, and HSBC-US is therefore civilly liable under 18 U.S.C. § 2333(a) of the ATA to the

  Plaintiffs.

          489.   Defendants SCB, ABN Amro (RBS N.V.), and Commerzbank not only knowingly

  participated in the Conspiracy, but because their respective New York branches constitute U.S.

  persons within the meaning of 18 U.S.C. § 2332d, these Defendants also committed further acts

  of international terrorism in violation of 18 U.S.C. §§ 2331 and 2332d by knowingly (or with

  reason to know) facilitating financial transactions with Iran, which each such Defendant knew was

  a designated State Sponsor of Terrorism. Those acts were a cause of the deaths and injuries

  sustained by the Plaintiffs in this action, and these Defendants are therefore civilly liable under 18

  U.S.C. § 2333(a) of the ATA to the Plaintiffs.

          C.     BANK SADERAT PLC’s AGREEMENT TO, AND PARTICIPATION IN,
                 THE CONSPIRACY

          490.   On September 8, 2006, the U.S. Office of Foreign Assets Control (“OFAC”)

  amended § 560.516 of the ITRs and excluded Bank Saderat from the Iranian U-Turn exemption.

          491.   In announcing the 2006 change to the ITRs excluding Bank Saderat Iran from the

  U-Turn exemption, OFAC stated:

                 OFAC has amended the Iranian Transactions Regulations (ITR) to cut off



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                 Bank Saderat, one of Iran’s largest government-owned banks, from the U.S.
                 financial system. Bank Saderat has been a significant facilitator of
                 Hezbollah’s financial activities and has served as a conduit between the
                 Government of Iran and Hezbollah….

         492.    According to then-Under Secretary for Terrorism and Financial Intelligence Stuart

  Levey, “Bank Saderat facilitates Iran’s transfer of hundreds of millions of dollars to Hezbollah and

  other terrorist organizations each year. We will no longer allow a bank like Saderat to do business

  in the American financial system, even indirectly.”

         493.    The Treasury Department press release announcing the changes to the ITR stated

  that “a Hezbollah-controlled organization [] has received $50 million directly from Iran through

  Bank Saderat since 2001.”

         494.    Assistant Treasury Secretary for Terrorist Financing Daniel Glaser testified before

  the Senate Committee on Banking, Housing and Urban Affairs that “Hezbollah uses Saderat to

  send money to other terrorist organizations as well.”

         495.    For many years preceding the revocation of its U-Turn exemption, Bank Saderat

  illegally routed its USD transactions through the United States with the assistance of various

  Western commercial banks, including the Defendants herein.

         496.    From 2002 forward, Defendant Bank Saderat Plc continued Bank Saderat’s existing

  practice of: (1) illegally routing its USD transactions through the United States; and (2) transferring

  tens of millions of dollars to Hezbollah and other designated terrorist groups.

         497.    As detailed in a January 9, 2009, Deferred Prosecution Agreement entered into by

  Lloyds TSB Bank Plc (“Lloyds”) with U.S. law enforcement, Defendant Bank Saderat Plc directed

  illegal funds transfers to the U.S. and worked with Lloyds to strip its USD transactions of any

  reference to Iran or Bank Saderat.

         498.    In 2003, Lloyds exited its relationship with Bank Saderat Plc, and Defendant Credit



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  Suisse assumed Lloyds’ role of illegally transferring USD through the United States while

  stripping references to Bank Saderat Plc and Iran from the transactions (as set forth below and, as

  also discussed below, in a Deferred Prosecution Agreement that Defendant Credit Suisse signed

  in 2009).

         499.    Notwithstanding the revocation of its access to the Iranian U-Turn exemption, Bank

  Saderat (and Bank Saderat Plc) continued to illegally direct USD transactions through the United

  States with the active assistance of the other Defendants listed herein.

         500.    On February 13, 2004, Defendant SCB opened accounts for Bank Saderat Plc. It

  also maintained other accounts for Bank Saderat Iran, including an account at SCB, Dubai.

         501.    During the relevant time period from 2004 to 2011, and as described in more detail

  below, Bank Saderat Plc, working in concert with Standard Chartered Bank, financed the illegal

  acquisition of various U.S.-origin export-controlled goods on behalf of Mahan Air and various

  sub-agencies of MODAFL.

         502.    For example, Standard Chartered Bank facilitated at least 10 transactions involving

  Letters of Credit valued at $1,559,127, which involved the shipment of U.S.-origin export-

  controlled aircraft parts sold by the Singapore-based Monarch Aviation, a company that was part

  of Iran’s illegal procurement network, to various MODAFL sub-agencies.

         503.    A sub-agency of MODAFL obtained a Letter of Credit issued by Bank Refah, Iran,

  and sent it to Standard Chartered’s branch in Singapore (where the Iranian front company Monarch

  Aviation maintained accounts) while reimbursement authorization was sent to the Iran Overseas

  Investment Bank London, i.e. Bank Saderat Plc’s predecessor, which in turn either directly




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  financed the illegal acquisition of goods from the United States, or provided a surety for Bank

  Refah’s payment.26

           504.     The goods were shipped by Iran Air27 from Kuala Lumpur Airport, Malaysia, to

  Tehran Airport, Iran.

           505.     The LCs were refinanced by Standard Chartered’s Dubai branch through its credit

  facility with the CBI, with payment being made to Monarch Aviation's account with Standard

  Chartered, Singapore through the latter's U.S. dollar account with Standard Chartered Bank,

  London, which in turn received the funds into its USD nostro account with Standard Chartered’s

  New York branch.

           506.     In another instance discussed infra, Bank Saderat Plc knowingly sent a concealed

  and illegal payment via Standard Chartered’s New York branch and JP Morgan Chase, New York,

  to Standard Chartered Bank in Dubai on behalf of a MODAFL’s subsidiary, the Iran Helicopter

  Support and Renewal Company (“IHSRC”).

           507.     The payment facilitated IHSRC’s acquisition (via a company named Jetpower) of

  U.S. manufactured helicopter parts through an elaborate money laundering scheme intended to

  conceal from U.S. authorities: (1) the unlawful acquisition of U.S.- manufactured equipment for

  Iran’s military; (2) the complex layering of the transaction involving Bank Melli’s branches in

  London and Hong Kong; and (3) Bank Refah and Bank Saderat’s involvement with SCB.



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           The Reimbursing Bank usually pays the Negotiating Bank (in this case SCB) against a valid reimbursement
  authority received from the Issuing Bank (in this case Bank Refah) and a validated statement from the Negotiating
  Bank that the documents complied with LC terms, but in certain cases it only serves as a surety for the payment. SCB-
  London was also one of Bank Refah’s correspondent banks in the UK.
  27
           Iran Air was designated by the U.S. Treasury Department in 2011: “Iran’s national airline carrier, Iran Air,
  is a commercial airline used by the IRGC and Iran’s Ministry of Defense and Armed Forces Logistics (MODAFL) to
  transport military related equipment.… Iran Air has provided support and services to MODAFL and the IRGC through
  the transport and/or transfer of goods for, or on behalf of, these entities. On numerous occasions since 2000, Iran Air
  shipped military-related electronic parts and mechanical equipment on behalf of MODAFL.”


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         508.    The HSBC Defendants also maintained one or more accounts for Bank Saderat Plc

  during the relevant time period.

         509.    In an October 9, 2006 email, Defendant HSBC-Middle East’s Regional Head of

  Legal and Compliance noted the U.S. government’s “direct evidence against Bank Saderat

  particularly in relation to the alleged funding of Hezbollah” but nonetheless maintained the

  account(s) thereafter and continued to facilitate transactions for Bank Saderat Plc.

         510.    As noted supra, in October 2007, Bank Saderat Iran (including Defendant Bank

  Saderat Plc), was designated an SDGT pursuant to E.O. 13224.

         511.    The U.S. Treasury Department’s press release regarding Bank Saderat’s

  designation stated:

                 Bank Saderat, its branches, and subsidiaries: Bank Saderat, which has
                 approximately 3200 branch offices, has been used by the Government of
                 Iran to channel funds to terrorist organizations, including Hezbollah and
                 EU-designated terrorist groups Hamas, PFLP-GC, and Palestinian Islamic
                 Jihad. For example, from 2001 to 2006, Bank Saderat transferred $50
                 million from the Central Bank of Iran through its subsidiary in London to
                 its branch in Beirut for the benefit of Hezbollah fronts in Lebanon that
                 support acts of violence.

         512.    As set forth below, Defendant Barclays closed its Eurodollar accounts for Bank

  Saderat Plc, in 2008, months after Bank Saderat Plc was designated an SDGT, and more than a

  year after the U.S. Treasury Department reported that “Bank Saderat facilitates Iran’s transfer of

  hundreds of millions of dollars to Hezbollah and other terrorist organizations each year.”

         513.    The HSBC Defendants, and Defendants Commerzbank, SCB, Barclays, and Credit

  Suisse altered, falsified, or omitted information from Eurodollar payment order messages that they

  facilitated on behalf of Bank Saderat (and Bank Saderat Plc) at all times knowing, or deliberately

  indifferent to the fact, that Bank Saderat was facilitating Iranian-sponsored terrorism and, after

  October 2007, knowing, or deliberately indifferent to the fact, that Bank Saderat (including Bank



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  Saderat Plc) was an SDGT so-designated for its very role as a “significant facilitator of Hezbollah’s

  financial activities and has served as a conduit between the Government of Iran and Hezbollah.”

          514.    Moreover, as a Lebanese-based terrorist organization, Hezbollah was (and remains)

  particularly in need of USD funds because much of the Lebanese economy is “dollarized” (i.e.

  banking and retail transactions, credit and debt instruments are often, if not primarily, conducted

  in USD funds).

          515.    Accordingly, Bank Saderat Plc’s provision of tens of millions of dollars to

  Hezbollah provided Hezbollah with substantial assistance in carrying out its terrorist activities in

  Iraq, including Hezbollah’s commission of the terrorist attacks that killed and injured the Plaintiffs.

          516.    Moreover, Plaintiffs’ deaths and injuries herein were a reasonably foreseeable

  result of Bank Saderat Plc’s provision of tens of millions of dollars to Hezbollah.

          D.      THE CENTRAL BANK OF IRAN’S AGREEMENT TO, AND
                  PARTICIPATION IN, THE CONSPIRACY

          517.    The Central Bank of Iran (“CBI”) is fully controlled and run by individuals directly

  appointed by the Government of Iran.

          518.    At all relevant times, the CBI has not functioned in the same manner as central

  banks in Western countries that are institutionally designed to be independent from political

  interference, nor is its purpose limited to “regulating” Iranian banks and managing Iran’s currency

  and internal interest rates.

          519.    Instead, the CBI is an alter-ego and instrumentality of the Iranian government and

  its Supreme Leader, and it has routinely used Iranian banks like Bank Melli Iran and Bank Saderat

  Iran as conduits for terror financing and weapons proliferation on behalf of the Iranian regime.

          520.    At all relevant times, the CBI was an active participant in the Conspiracy.

          521.    For example, leading up to the adoption of UN Security Council Resolution 1747



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  (March 2007), which resulted in the freezing of assets belonging to Iran’s Bank Sepah, the CBI

  furthered the Conspiracy by using non-Iranian financial institutions to shield Bank Sepah’s assets

  from the impact of impending sanctions.

          522.     Throughout the relevant time period, the CBI maintained Eurodollar accounts at

  Bank Melli Iran, Bank Melli Plc, Bank Saderat Iran and Defendant Bank Saderat Plc in various

  currencies, including USD.

          523.     Bank Melli Iran’s U.K. subsidiary (later Bank Melli Plc) managed the CBI’s

  Eurodollar accounts in Europe.

          524.     In the wake of U.S. and later European Union designations against Iranian banks

  (including Bank Saderat and Bank Melli), the CBI often acted as a secret proxy for those

  designated entities.

          525.     As part of the Conspiracy, the CBI utilized Defendant Bank Saderat Plc to transfer

  USD funds to Hezbollah.

          526.     The CBI also maintained Eurodollar accounts, and unlawfully transferred USD

  funds in furtherance of the Conspiracy, with the assistance of Defendants SCB, ABN Amro (RBS

  N.V.) and the HSBC Defendants, including facilitating billions of dollars in USD funds transfers

  on behalf of the IRGC, through the aforementioned NIOC, which was designated as an SDN by

  the United States because it was an IRGC agent during the relevant time period.

          527.     As such, illicit transfers on behalf of the NIOC at that time were not for the benefit

  of a legitimate agency, operation or program of Iran.28




  28
         The Superseding Indictment filed in U.S. v. Zarrab (filed in the S.D.N.Y (1:15-cr-00867)) demonstrates that
  NIOC continued to participate in the Conspiracy and launder U.S. dollars through U.S. financial institutions in 2013.



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          528.    In addition, the Iran Threat Reduction and Syria Human Rights Act 2012 stated

  that:

                  It is the sense of Congress that the National Iranian Oil Company and the
                  National Iranian Tanker Company are not only owned and controlled by the
                  Government of Iran but that those companies provide significant support to
                  Iran’s Revolutionary Guard Corps and its affiliates.29

          529.    Moreover, according to a published report, the National Iranian Oil Company even

  took an active role in support of Iran’s terrorist activities in Iraq by providing intelligence in

  support of attacks against Coalition Forces along the Iranian border by using its own helicopters

  to conduct surveillance on Coalition Forces’ Forward Operating Bases (“FOBs”).

          530.    In early 2001, and in furtherance of the Conspiracy, the CBI asked Defendant

  Standard Chartered Bank to act as its correspondent bank with respect to Eurodollar payments on

  behalf of the NIOC.

          531.    As alleged herein, SCB agreed to participate in the Conspiracy and remove

  identifying data on SWIFT-NET messages for these and other wire transfers.

          532.    Thereafter, between 2001 and 2006, the CBI sent approximately 2,226 payment

  order messages for a total value of $28.9 billion to Standard Chartered in London, the vast majority

  of which were illegally routed through the U.S. as described herein.

          533.    During the same time period, the CBI also maintained a Eurodollar credit facility

  at Standard Chartered Bank’s branch in Dubai, UAE, which it used to assist Iran in illegally

  acquiring technology and components on behalf of MODAFL.

          534.    As detailed further below, and in furtherance of the Conspiracy, the CBI and

  Defendant ABN Amro (RBS N.V.) (which also maintained Eurodollar accounts for the CBI, and



  29
          See, https://www.treasury.gov/resource-center/sanctions/Documents/hr_1905_pl_112_158.pdf.


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  had numerous financial and business dealings with the CBI) conspired to provide illegal material

  support to Iran and Iranian parties.

         535.    Between 2002 and 2004, Defendant ABN Amro (RBS N.V.) accepted USD

  Eurodollar deposits from the CBI on a regular basis with an average deposit size in the range of

  $200 million USD, and the CBI instructed, and ABN Amro (RBS N.V.) agreed, to follow illegal

  procedures to launder USD-denominated Eurodollar deposits to the CBI’s Eurodollar and local

  currency accounts with other European banks with branches or offices in London.

         536.    In furtherance of the Conspiracy, the CBI coordinated with Defendant ABN Amro

  (RBS N.V.)’s Central Bank Desk in Amsterdam regarding the procedure to be followed for

  repayment of USD deposits to their Eurodollar accounts with European banks with offices or

  branches in London.

         537.    This procedure stipulated that payment order messages sent to U.S. clearing banks

  for payment of USD funds to the CBI should not contain any reference to the Central Bank of Iran,

  or any other reference relating to Iran.

         538.    In 2001, the CBI also approached members of the HSBC Group, specifically

  Defendants HSBC-Middle East and HSBC-London, to obtain their agreement to move the CBI’s

  clearing and settlement business from National Westminster Bank Plc to the HSBC Defendants,

  and intended to clear USD funds transactions through Defendant HSBC-US.

         539.    Pursuant to that agreement, the CBI eventually moved its Eurodollar accounts to

  the HSBC Defendants, and by late 2003, the CBI was one of six Iranian banks that used members

  of the HSBC Group for (mostly illegal) correspondent banking through the U.S. dollar clearing

  and settlement in New York.




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          540.     With Defendant HSBC Holdings’ knowledge, and in furtherance of the Conspiracy,

  Defendants HSBC-Middle East and HSBC-London manually intervened in the processing of

  payment orders by the CBI by removing: the Central Bank of Iran’s name; its SWIFT-NET account

  (identified by BIC address BMJIIRTH); and country of origin (Iran).

          541.     Defendant HSBC-US also knew that other HSBC Defendants were altering and

  omitting information in SWIFT-NET payment order messages regarding Iranian parties, i.e.

  “stripping” these transactions, but nevertheless knowingly continued processing transactions

  despite that very knowledge.30

          E.       BANK MELLI IRAN AND MELLI BANK PLC’S AGREEMENT TO, AND
                   PARTICIPATION IN, THE CONSPIRACY

          542.     Bank Melli Iran, one of the largest banks in Iran, was established in 1927 by order

  of the Iranian Parliament.

          543.     Following the Iranian Revolution in 1979, all banks in Iran were nationalized, and

  even today most are effectively controlled by the Iranian regime.

          544.     Melli Bank Plc in London, England, was established in January 2002 as a wholly-

  owned subsidiary of Bank Melli Iran.

          545.     According to the U.S. government, from 2004 to 2011, Bank Melli Iran and Melli

  Bank Plc in London transferred approximately $100 million USD to the IRGC-QF, which trained,

  armed, and funded terrorist groups that targeted, killed and maimed American and Iraqi forces and

  civilians.


  30
           In furtherance of the Conspiracy, the CBI also conducted illegal precious metals transactions, primarily in
  gold bullion. For example, the December 2012 Consent Order entered into between OFAC and Defendant HSBC
  Holdings Plc stated that:

          On May 24, 2006, the London branch of HBUS acted as a clearing bank in a book entry transfer of
          32,000 ounces of gold bullion, valued at $20,560,000, for the ultimate benefit of Bank Markazi, Iran
          [the CBI], in apparent violation of the prohibition against the “exportation . . . , directly or indirectly,
          from the United States, ... of any ... services to Iran or the Government of Iran,” 31 C.F.R. § 560.204.


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           546.   Specifically, according to the U.S. government in a November 10, 2009 diplomatic

  cable:

                  [The] Islamic Revolutionary Guards Corps (IRGC) and IRGC-Qods Force,
                  who channel funds to militant groups that target and kill Coalition and Iraqi
                  forces and innocent Iraqi civilians, have used Bank Melli and other Iranian
                  banks to move funds internationally. Bank Melli used deceptive banking
                  practices to obscure its involvement from the international banking system
                  by requesting that its name be removed from financial transactions when
                  handling financial transactions on behalf of the IRGC.

           547.   Bank Melli Iran and Melli Bank Plc were designated as SDNs pursuant to E.O.

  13382 in October 2007, and included on OFAC’s SDN list, which resulted in, inter alia, their

  exclusion from the U-Turn exemption for Iranian Eurodollar transactions.

           548.   The U.S. Treasury Department press release announcing the designation stated:

                  Bank Melli also provides banking services to the [Iranian Revolutionary
                  Guard Corps] and the Qods Force. Entities owned or controlled by the IRGC
                  or the Qods Force use Bank Melli for a variety of financial services. From
                  2002 to 2006, Bank Melli was used to send at least $100 million to the Qods
                  Force. When handling financial transactions on behalf of the IRGC, Bank
                  Melli has employed deceptive banking practices to obscure its involvement
                  from the international banking system. For example, Bank Melli has
                  requested that its name be removed from financial transactions.

           549.   In April 2008, Assistant Treasury Secretary for Terrorist Financing Daniel Glaser

  testified before the House Committee on Foreign Affairs, Subcommittee on the Middle East and

  South Asia and the Subcommittee on Terrorism, Nonproliferation and Trade, confirmed that:

                  Entities owned or controlled by the IRGC or the Qods Force use Bank Melli
                  for a variety of financial services. From 2002 to 2006, Bank Melli was used
                  to send at least $100 million to the Qods Force. When handling financial
                  transactions on behalf of the IRGC, Bank Melli has employed deceptive
                  banking practices to obscure its involvement from the international banking
                  system. For example, Bank Melli has requested that its name be removed
                  from financial transactions.

           550.   In mid-2007, Bank Melli Iran’s branch in Hamburg (“Bank Melli-Hamburg”)

  transferred funds for the Defense Industries Organization (“DIO”).



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         551.    DIO is an Iranian government-owned defense manufacturer whose name, logo

  and/or product tracking information was stamped on munitions found in weapons caches that were

  seized from the Special Groups in Iraq; including large quantities of weapons produced by DIO in

  2006 and 2007 (for example, 107 millimeter artillery rockets, as well as rounds and fuses for 60

  millimeter and 81 millimeter mortars.)

         552.    Since at least the mid-1980s, Bank Melli has maintained Eurodollar accounts, at

  one time or another, with Defendants ABN Amro (RBS N.V.), Barclays, Credit Suisse, SCB,

  Commerzbank and the HSBC Defendants.

         553.    As early as 1987, Bank Melli instructed Defendant Barclays to process Eurodollar

  transactions in favor of Bank Melli’s London branch by referencing only Bank Melli’s Eurodollar

  account number at Midland Bank Plc in London without referencing Bank Melli Iran’s name in

  the SWIFT-NET payment orders.

         554.    Bank Melli further instructed Barclays to send separate payment order message

  instructions, which included full transaction details, to Bank Melli’s London Branch.

         555.    Barclays agreed and assisted Bank Melli in its illegal conduct and continued to do

  so even after Bank Melli was designated by the United States and publicly identified as a major

  source of the IRGC’s funding.

         556.    No later than December 2000, Bank Melli opened a Eurodollar account with

  Defendant ABN Amro (RBS N.V.)’s branch in Dubai, United Arab Emirates (“UAE”) and worked

  with ABN Amro (RBS N.V.) to strip its U.S. dollar-denominated transactions.

         557.    Similarly, in July 2003, Defendant SCB learned that a competitor was exiting the

  Iranian business completely and sought to pick up this business and add Eurodollar accounts for




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  five Iranian banks at SCB-London. Bank Melli was among the banks whose business SCB

  expressly sought to (and did) acquire.

         558.    In January 2004, SCB decided to proceed with the Iranian business, and no later

  than February 13, 2004, SCB opened Eurodollar accounts for Bank Melli and thereafter

  participated in the Conspiracy by facilitating unlawful transactions for Bank Melli.

         559.    In addition, Bank Melli Iran’s branch in the UAE was instrumental in facilitating

  U.S. sanctions-evading trade-finance and Eurodollar payment transactions on behalf of Mahan Air

  and MODAFL.

         560.    For example, Bank Melli issued a Letter of Credit to Mahan Air in August 2004

  through Standard Chartered Bank, Dubai in favor of a UAE-based company called Aeronautical

  & Security for the shipment of an aircraft engine (identified by model number CF6-50C2)

  manufactured by General Electric and shipped from Luxemburg to Tehran, Iran.

         561.    Bank Melli UAE instructed Credit Suisse, Zurich to make the payment, which in

  turn instructed Bank of New York in New York (one of Credit Suisse’s U.S. clearing and

  settlement banks) to credit SCB’s New York branch for further credit to the account of SCB-Dubai,

  which then credited Aeronautical & Security's Eurodollar account.

         562.    The following flow-chart shows the overall flow of USD funds involved with

  Mahan Air’s illegal acquisition of a U.S.-manufactured, export-controlled aircraft engine:




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         563.    In another example, Bank Refah Kargaran, Iran issued a Letter of Credit in USD to

  a MODAFL sub-agency through Standard Chartered Bank, Dubai in favor of a Dubai-based

  company called FP Aeroparts for the illegal shipment (via Iran Air) of U.S. aircraft parts.

         564.    Bank Melli served as the Reimbursing Bank on the trade-finance transaction, and

  it subsequently instructed Credit Suisse, Zurich to debit its Eurodollar account as part of the flow

  of USD funds between the LCs counterparties.

         565.    As the LC transaction proceeded, Credit Suisse then further instructed The Bank of

  New York to pay Standard Chartered Bank’s New York branch (the clearing bank for the

  transaction), which further credited the USD account it maintained for SCB, Dubai with the

  amount due for the shipment of aircraft parts.


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         566.   To close-out the LC transaction, SCB, Dubai then credited the Eurodollar account

  it maintained on behalf of FP Aeroparts Middle East for the amount of the shipment.

         567.   The following flow-chart shows the overall flow of USD funds involved with

  MODAFL’s illegal acquisition of the U.S.-manufactured aircraft parts:




         568.   As reflected in the above flow-chart, and during the relevant time period, Defendant

  Credit Suisse maintained Eurodollar accounts in Zurich, Switzerland on behalf of Bank Melli.

         569.   Credit Suisse also instructed and trained Bank Melli employees, and conspired with

  Bank Melli, on ways to format Bank Melli’s payment orders so that the resulting SWIFT-NET



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  messages would avoid detection by the automated filter algorithms in U.S. depository institutions’

  automated OFAC sanction screening software.

         570.    During the relevant time period (and beginning no later than July 2003), Defendant

  Commerzbank also conspired with Bank Melli to route its Eurodollar clearing and settlement

  business through Commerzbank’s correspondent banking relationships and SWIFT-NET

  accounts.

         571.    Commerzbank further advised Bank Melli to list “non ref” in the ordering party

  field in all payment order messages because it would trigger a manual review of the overall

  Eurodollar payment transaction, thereby enabling Commerzbank personnel to ensure that the

  SWIFT-NET messages did not contain any information linked to Iran.

         572.    Defendant HSBC-London also maintained Eurodollar accounts for Bank Melli

  Iran, and it used HSBC-US to provide illegal USD funds clearing and settlement services for Bank

  Melli during the relevant period.

         573.    Yet despite the fact that several SWIFT-NET payment order messages were

  supposed to have been fully “stripped” by HSBC-London—before their transmittal to the U.S.—

  they were nevertheless blocked by the HSBC-US OFAC filter in New York because Bank Melli

  was referenced in error (thus placing HSBC-US on notice that HSBC-London was working in

  concert with Bank Melli to evade U.S. law, regulations and economic sanctions against Iran).

         574.    Even with these blatant warning signs, HSBC-US continued to routinely provide

  Eurodollar clearing and settlement services to the HSBC Defendants, knowing full well that they

  were violating U.S. laws and regulations by laundering money on behalf of Bank Melli.

         575.    Because, as discussed below, HSBC-US knew of this unlawful conduct—and

  continued to facilitate it— HSBC-US violated, inter alia, 18 U.S.C. § 2332d.




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          F.      BANK MELLAT’S AGREEMENT TO, AND PARTICIPATION IN, THE
                  CONSPIRACY

          576.    Bank Mellat provides banking services in support of Iran’s Weapons of Mass

  Destruction program through the Atomic Energy Organization of Iran (“AEOI”) and Novin Energy

  Company.

          577.    In 2007, Bank Mellat was designated by the U.S. Treasury Department for

  providing “banking services in support of Iran's nuclear entities, namely the Atomic Energy

  Organization of Iran (AEOI) and Novin Energy Company. Both AEOI and Novin Energy have

  been designated by the United States under E.O. 13382 and by the UN Security Council under

  UNSCRs 1737 and 1747.”

          578.    During the relevant time period, Bank Mellat provided financial services and

  maintained Eurodollar accounts for AEOI and Novin Energy Company, and as part of the

  Conspiracy, Bank Mellat affirmatively worked to prevent disclosure of its dollar-denominated

  transactions on behalf of these designated customers.

          579.    In June 2006, Bank Mellat was involved in a transfer totaling over $250 million

  dollars into a Eurodollar account it held for Novin Energy Company.

          580.    As part of the Conspiracy, the CBI effectuated the payment(s) in USD funds to

  Bank Mellat’s Eurodollar account in London for further credit to the Eurodollar account of Bank

  Mellat’s client – Novin Energy Company.31

          581.    In 2007, Bank Sepah facilitated payments in USD funds to Eurodollar accounts at

  Bank Mellat on behalf of entities associated with Iran’s Aerospace Industries Organization



  31
          Novin Energy Company was designated by the U.S. Treasury Department under E.O 13382 and by the United
  Nations Security Council in Resolution 1747.




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  (“AIO”), a subsidiary of Iran’s Ministry of Defense and Armed Forces Logistics (“MODAFL”)

  that was designated by the United States on June 28, 2005.32

           582.     The AIO is the Iranian organization responsible for ballistic missile research,

  development and production activities and organizations, including the Shahid Hemmat Industries

  Group (“SHIG”) and the Shahid Bakeri Industries Group (“SBIG”), which were both listed under

  U.N. Security Council Resolution 1737 and designated by the United States under E.O. 13382.

           583.     Bank Mellat was designated by the United States on October 25, 2007 in connection

  with Weapons of Mass Destruction proliferation activities, and was included on OFAC’s SDN list.

  The designation, inter alia, excluded Bank Mellat from accessing the U-Turn exemption for

  Iranian Eurodollar transactions.

           584.     In 2002, together with Iran’s Bank Tejarat, Bank Mellat merged its London branch

  to form Persia International Bank Plc in the United Kingdom.

           585.     During the relevant time period, both Defendant HSBC-London and Defendant

  Barclays maintained Eurodollar accounts for Persia International Bank Plc and served as its

  “principal bankers” in the Eurodollar market.

           G.       BANK SEPAH’S AGREEMENT TO, AND PARTICIPATION IN, THE
                    CONSPIRACY

           586.     Bank Sepah is an Iranian government-owned and government-controlled financial

  institution.

           587.     In 2007, the U.S. Treasury Department designated Bank Sepah for providing

  support and services to designated Iranian proliferation firms. The designation was effectuated



  32
           When Bank Sepah was designated by the U.S. in January 2007, the U.S. government noted that “Bank Sepah
  is AIO’s bank of choice, and since at least 2000, Sepah has provided a variety of critical financial services to Iran’s
  missile industry, arranging financing and processing dozens of multi-million dollar transactions for AIO and its
  subordinates…” See https://www.treasury.gov/press-center/press-releases/Pages/hp219.aspx.


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  pursuant to E.O. 13382, due to Bank Sepah’s Weapons of Mass Destruction proliferation-related

  activities.

          588.     Bank Sepah International Plc, a wholly-owned subsidiary of Bank Sepah in the

  United Kingdom, was also designated.

          589.     According to the U.S. Treasury Department, Bank Sepah was the financial linchpin

  of Iran’s missile procurement network and actively assisted Iran’s pursuit of missiles capable of

  carrying Weapons of Mass Destruction.

          590.     As a result of the designation, Bank Sepah (including Bank Sepah International Plc)

  was excluded from accessing the U-Turn exemption for Eurodollar transactions.

          591.     During the relevant time period, Defendant HSBC-London provided illegal

  Eurodollar clearing and settlement services to Bank Sepah.

          592.     During the relevant time period, Standard Chartered Bank provided illegal

  Eurodollar clearing and settlement services for Bank Sepah, as well as facilitating US dollar-

  denominated Letters of Credit for Bank Sepah. SCB, as discussed infra, also provided Eurodollar

  payments and trade-finance services for Bank Saderat and Bank Melli.

          593.     As detailed below, Bank Sepah, acting in concert with SCB, illegally financed the

  acquisition of U.S. goods on behalf of Mahan Air.

          594.     For example, in February 2006, Credit Suisse in Zurich paid SCB Dubai almost

  $30 million dollars (cleared and settled through the United States) on behalf of Bank Sepah, which

  had, in turn, financed Mahan Air’s acquisition of an Airbus A320-232 and several aircraft

  engines.33




  33
         Part of the trade-finance transaction was cleared through Standard Chartered’s New York branch, and the
  paperwork indicates that SCB was aware that the transaction involved U.S. origin parts prohibited by U.S. sanctions.


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         595.    In another case in 2002, Bank Sepah financed (in USD funds) the purchase of U.S.

  aircraft parts from an Iranian front company—the Malaysian and UK exporter Downtown Trading

  Ltd—on behalf of a MODAFL-controlled entity.

         596.    As part of the illegal scheme, once the U.S.-manufactured goods were transported

  from Malaysia to Iran by Iran Air, Downtown Trading Ltd., Malaysia sent documents to its bank,

  Maybank, Malaysia to collect payment against the Letter of Credit.

         597.    Maybank then presented documents under Bank Sepah’s Letter of Credit to SCB,

  Dubai (the Negotiating Bank) for validation and subsequent clearing and settlement of the

  transaction’s final Eurodollar payment through Citibank, New York.

         598.    Thus, Bank Sepah, with the assistance of Maybank and SCB, financed the illegal

  acquisition of U.S. aircraft parts by MODAFL, and induced Citibank in New York to provide

  dollar clearing and settlement to consummate the transaction.

         599.    As detailed below, Defendant Commerzbank AG’s New York branch also provided

  illegal Eurodollar clearing and settlement services for Bank Sepah.

         H.      JOHN DOE DEFENDANTS’ 1-50 AGREEMENT TO, AND
                 PARTICIPATION IN, THE CONSPIRACY

         600.    Other non-defendant co-conspirators (including other Iranian financial institutions

  and entities) conspired with the named Defendants and identified non-defendant Co-conspirators

  herein. Plaintiffs may amend this Complaint to identify such other non-Defendant Co-conspirators

  as additional evidence warrants.

         601.    The true names, residences and capacities, whether individual, corporate or

  otherwise, of Defendants John Does 1 through 50 (collectively, the “Does”) are presently unknown

  to Plaintiffs, who therefore sue those Defendants under such fictitious names. The Does are other

  financial institutions, their agents, officers and/or employees that conspired with the Western Bank



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  Defendants, Iran, and the Iranian Bank Co-conspirators (including Defendant Bank Saderat Plc).

  Each of the Does is responsible in some manner for the acts alleged herein and for the damages

  that each Plaintiff sustained. As warranted by the evidence, Plaintiffs will amend this Complaint

  to show the true names and capacities of the Does when they are ascertained and confirmed.

         I.      THE HSBC DEFENDANTS’ AGREEMENT TO, AND PARTICIPATION
                 IN, THE CONSPIRACY

         602.    The HSBC Defendants have a longstanding relationship with Iran.

         603.    In 1999, HSBC Group established a relationship with the Tehran office of Bank

  Melli Iran, and it launched an “Iran Representative” office in Tehran, Iran that same year.

         604.    In December 2000, HSBC Group members entered into a $500 million project

  finance agreement with six Iranian commercial banks: Bank Saderat Iran, Bank Melli Iran, Bank

  Mellat, Bank Tejarat, Bank Sepah and the Export Development Bank of Iran (“EDBI”).

         605.    Beginning in the late 1990s, Defendant HBSC-Europe and Defendant HSBC-

  Middle East devised a procedure whereby their Iranian Bank Co-conspirators put a cautionary note

  in their SWIFT-NET payment order messages including language such as, “care sanctioned

  country,” “do not mention our name in NY,” and “do not mention Iran.”

         606.    Eurodollar payment transactions with these cautionary notes automatically fell into

  what Defendant HSBC-Europe termed a “repair queue,” where employees of HBSC-Europe and

  HSBC-Middle East manually removed all references to Iranian-sanctioned entities from the

  SWIFT-NET messages associated with each transaction.

         607.    Between 2001 and 2007, the HSBC Defendants actively participated in the

  Conspiracy by repeatedly undertaking various methods to facilitate Eurodollar payments, trade

  finance and foreign exchange transactions on behalf of Iran through the United States that would




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  evade U.S. sanctions by disguising Iran’s financial activities as its USD funds were cleared and

  settled by U.S. financial institutions, including Defendant HSBC-US.

         608.    Unlawful Iranian transfers of USD funds from HSBC-Europe and HSBC-Middle

  East were sent through the HSBC Group’s USD correspondent accounts at HSBC-US by:

                 a.      Deleting references to Iran from the payment instructions (a.k.a.
                         “stripping” the transactions), or otherwise altering the SWIFT-NET
                         messages, to either omit or falsify information that would have
                         otherwise indicated Iran’s involvement in the transaction; and

                 b.      Styling transactions as bank-to-bank “cover” transactions between
                         two non-Iranian banks, solely because the MT 202 payment order
                         message format used for such transactions did not expressly obligate
                         HSBC to identify the transaction’s originator and beneficiary, thus
                         avoiding any disclosure of the transaction’s Iranian connections, and
                         blocking HSBC-US’s electronic filter algorithms from recognizing
                         the transaction, let alone assessing whether it qualified for any
                         OFAC exemption or license.

         609.    Defendant HSBC-Europe created detailed plans to avoid triggering HSBC-US’s

  automated OFAC filter software and reduce the need for “manual intervention” (e.g. the re-

  formatting Eurodollar transactions), thus sparing HSBC-Europe’s employees from the need to

  manually alter the SWIFT-NET messages in order to remove references that might otherwise

  identify the presence of Iranian parties to the transaction, and associated scrutiny.

         610.    This enabled the HSBC Defendants’ business with Iran in the Eurodollar market to

  proceed quickly and profitably.

         611.    In 2010, facing U.S. government investigations, HSBC-US hired Deloitte LLP as

  its outside auditor to identify and examine HSBC Group’s OFAC sensitive USD funds transactions

  involving Iran and other prohibited countries or persons that went through the bank.

         612.    That “review” identified more than 25,000 illegal transactions that involved Iran,

  worth a total of more than $19.4 billion in USD funds.




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         613.    The payment orders had been sent to HSBC-US and other financial institutions in

  the United States without referencing Iran, ensuring that the Eurodollar payment transactions

  would be processed without delay and not be blocked nor rejected by the algorithms in the

  automated OFAC filtering systems.

         614.    The HSBC Defendants deliberately amended SWIFT-NET payment order

  messages and used MT 202 cover payments to conceal the nature of the transactions from HSBC-

  US automated OFAC sanction screening filters and those of other financial institutions in the

  United States, and HSBC-US was aware that the other HSBC Defendants used such methods to

  alter payment order messages.

         615.    At the same time, the HSBC Defendants further trained, mentored and educated

  their Iranian Co-conspirators on how to deceptively format SWIFT-NET payment order messages,

  inter alia, to avoid detection and scrutiny by U.S. financial institutions, thus ensuring that Iran

  could solicit other conspirators to facilitate Eurodollar payments in a like manner.

         616.    Accordingly, the HSBC Defendants’ (and other Defendants’ and Co-conspirators’)

  willingness to process payments in this manner enabled Iran to flood the global financial system

  with undetectable U.S. dollar payment transactions and effectuate—what would have otherwise

  been preventable—transfers of USD funds to Hezbollah and the IRGC.

         617.    Defendant HSBC Holdings was aware of Defendants HBSC-Europe and HSBC-

  Middle East’s involvement in the Conspiracy with Iran as early as 2000.

         618.    For example, HSBC Group AML Compliance Head Susan Wright received an

  email on June 9, 2000, from Bob Cooper, an HSBC colleague, informing Wright of an existing

  procedure that the HSBC Defendants were already employing to avoid OFAC filter detection.

         619.    Cooper explained:




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                   a.     A client bank had been “automatically replacing a remitter’s name
                          with that of” the client bank and that bank was utilizing bank-to-
                          bank “cover payments” because the payment message formats did
                          not expressly require identification of either the underlying party
                          originating the transaction or the transaction’s ultimate beneficiary.

                   b.     In the future, for OFAC sensitive transactions, that bank would
                          “arrange cover for the payment using MT202/203 remittances.”

                   c.     In addition, that bank planned to send a separate ‘MT100 message’
                          to the recipient bank, providing full payment details for the
                          originator and ultimate beneficiary.

            620.   Cooper’s email overtly acknowledged that “[i]n this way a payment in US$ can be

  made for an individual or company on the OFAC list, without the name being ‘detected’ by the

  OFAC filters that all US banks would apply.”

            621.   Several days later, on June 14, 2000, Wright forwarded Cooper’s June 9, 2000

  email to the then-current Head of HSBC Group Compliance, Matthew King.

            622.   In her cover email, Wright stated that the “practice” detailed by Cooper was

  “unacceptable” and informed King that it was her position that:

                   a.     “We advised them that this was contrary to SWIFT guidelines
                          (drawn up to address FATF concerns re money laundering via wire
                          transfers) which required that the full details (names and addresses)
                          of remitters and beneficiaries are included.”

                   b.     “From a Group perspective I consider the continuation of this
                          practice [the client bank’s future plan to conceal OFAC sensitive
                          transactions behind bank-to-bank transfers] to be unacceptable as a
                          deliberate and calculated method to avoid US OFAC sanctions and
                          has the potential to raise serious regulatory concerns and embarrass
                          the Group.”

            623.   Senior HSBC Group officials were aware of the Conspiracy, including the specific

  methods and overt acts by which Iran, the Iranian banks and the HSBC Defendants were carrying

  it out.

            624.   However, despite this awareness, senior compliance officials of HSBC Group and



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  its subsidiary banks and entities (including compliance officials at Defendants HSBC Holdings,

  HSBC-Europe, HSBC-Middle East, and HSBC-US) did not put an end to this illicit banking

  “practice” with Iran. Instead, with clear knowledge of its purpose—and awareness that other banks

  participated in the Conspiracy—they knowingly employed similar techniques to evade OFAC

  requirements, thus allowing the HSBC Defendants to continue deploying and refining their

  respective “procedures” to facilitate illegal Eurodollar payments from and for Iran in USD funds.

         625.   In late 2000, in coordination with the CBI, HSBC signed a project finance

  framework agreement with six Iranian commercial banks: including Bank Melli, Bank Saderat,

  Bank Mellat, Bank Tejarat, Bank Sepah and the Export Development Bank of Iran.

                1.      HSBC-Europe’s 2001 “Bank Melli Proposal”

         626.   In or around January 2001, Bank Melli’s London branch maintained Eurodollar

  accounts with several other major international banks, but was interested in establishing a

  relationship with HSBC that would give HSBC the majority of Bank Melli’s USD funds clearing

  and settlement business.

         627.   In an April 30, 2001 letter, Defendant HSBC-Europe presented Bank Melli in

  London with a proposal (the “Bank Melli Proposal”) for processing Bank Melli payments. HSBC-

  Europe’s proposal boasted that HSBC-Europe was “…confident that we have found a solution to

  processing your payments with minimal manual intervention.”

         628.   The Bank Melli Iran Proposal expressly underscored that, if it adopted HSBC-

  Europe’s “solution,” Bank Melli would not be identified as a sender in any payment order message

  and, thus, HSBC-Europe would ensure that Iranian transactions involving USD funds would not

  run into any ‘speed bumps’ or other obstacles.

         629.   The “solution” provided specific alternative wording, as it explained:




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                  “The key is to always populate field 52 – if you do not have an ordering
                  party then quote ‘One of our Clients,’ never leave blank. This means that
                  the outgoing payment instruction from HSBC will not quote ‘Bank Melli’
                  as sender – just HSBC London and whatever is in field 52. This then negates
                  the need to quote ‘DO NOT MENTION OUR NAME IN NEW YORK’ in
                  field 72.” [Emphasis in original.]

          630.    HSBC-Europe’s proposal further requested, “In order to test our proposed solution

  we would appreciate if you used the following templates when submitting your next payments to

  the following customer, or alternatively submit a USD 1 test payment” and provided the following:

                  MT202
                  20:    Your Ref….
                  21:    Related Ref….
                  32:    Amount/currency/Value date….
                  50:    DO NOT QUOTE IF IRANIAN
                  52:    Customer Name OR One of our clients MUST BE COMPLETED
                  53:    /68296908
                  54:
                  56:
                  57:    Beneficiary Banker (SWIFT codes where possible)
                  58:    Beneficiary (SWIFT codes where possible)
                  70:    Any Payments details for beneficiary…
                  72:    Please leave blank
                  MT100
                  Pay as above.

                  (Emphasis in the original.)

          631.    Thus, the Bank Melli Proposal documented the HSBC Defendants’ active

  coordination and participation in the Conspiracy to illegally remove, omit or falsify essential

  information from SWIFT-NET messages so as not to trigger OFAC sanctions screening filters or

  otherwise permit HSBC-US or other U.S depository institutions to detect Iranian transactions in

  USD funds.34

          632.    In 2001, John Wilkinson served as HSBC-Europe’s Institutional Banking



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          An internal HSBC memorandum that was associated with the Bank Melli Proposal also makes clear HSBC’s
  awareness of Defendant Standard Chartered Bank’s role as NIOC’s primary (Western) banker at the time.


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  Relationship Manager for HSBC-Europe’s Bank Melli account.

         633.    In a June 28, 2001 email titled “Re: Bank Melli” to HSBC-US, Wilkinson

  discussed the Bank Melli Proposal, describing HSBC-Europe’s “usual method” to alter the

  wording of Iranian payment order messages, and the rationale for doing so:

                    “Once the proposition goes live, we have instructed Bank Melli to alter
                     the format of its [sic] payments to achieve straight through processing.
                     The field 52 input of ‘one of our clients’ is a standard phrase used by
                     MPD [Multicurrency Payments Department] in these situations.”

                    “Since sending the letter we have further asked them to only put ‘One
                     of our clients’ in field 52, thus removing the chance of them inputting
                     an ‘Iranian referenced’ customer name, that causes fall out of the cover
                     payment sent to HSBC-US and a breach of OFAC regulations.”

         634.    In further support of his position to continue this standard ‘procedure,’ Wilkinson

  explained that a payment involving an Iranian bank had been blocked because HSBC-Europe’s

  MPD [Multicurrency Payments Department] “failed to spot the poor input and did not follow the

  normal procedure of altering the payment.”

         635.    In other words, the HSBC Defendants’ “normal” procedure was to conspire with

  Iranian banks, including Bank Melli, to deliberately alter payment order messages prior to sending

  them to New York for the express purpose of avoiding detection and analysis by U.S. banks,

  regulators and law enforcement.

         636.    In an email exchange in October 2001 between David Bagley, Defendant HSBC-

  Middle East’s Regional Head of Legal and Compliance, and Matthew King, a member (and later

  Head of) HSBC Group’s Audit Department, King noted:

                 We also have to bear in mind pending US legislation which will in effect
                 give the US extraterritorial authority over foreign banks, particularly if we
                 are unfortunate enough to process a payment which turns out to be
                 connected to terrorism. My own view therefore is that some of the routes
                 traditionally used to avoid the impact of US OFAC sanctions may no longer
                 be acceptable.


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         637.    HSBC Group AML Head Susan Wright and Money Laundering Control Officer

  John Allison received copies of King’s e-mail.

         638.    King’s email further confirms that senior executives and managers within the

  HSBC Group comprehended what the HSBC Defendants (and other foreign banks) had

  “traditionally” been doing for years when they used “routes” (a euphemism for altering payment

  order messages prior to routing them to U.S. financial institutions through SWIFT-NET) to avoid

  disclosing a transaction’s Iranian connections, and that some of those transactions might prove to

  be “connected to terrorism.”

         639.    A January 2003 memorandum authored by HSBC-Middle East and disseminated

  to other members of the HSBC Defendants confirms not only the HSBC Defendants’ ongoing

  participation in the Conspiracy, but also their knowledge of the participation of other co-

  conspirators, and Iran’s desire to further evade U.S. sanctions.

         640.    The memorandum stated in relevant part:

                        “It is believed that some service providers amend the payments to
                         ensure Iran is not mentioned in the body of the payment instruction
                         to their USD correspondent. This process minimizes the risk of
                         payment being referred to OFAC.”

                        “Currently, it is estimated that Iranian banks issue up to 700 USD
                         payments a day using their USD providers, mainly banks in the UK
                         and Europe, which in turn use their New York USD correspondents
                         to effect the payments.”

         641.     In addition to acknowledging the existence of the Conspiracy, the HSBC-Middle

  East memorandum also advised:

                 “[T]here is substantial income opportunity to sell a USD payments
                 proposition to Iranian banks in view of the impending FATF
                 regulations...The [requirements of the] new regulations…increases the risk
                 of Iranian payments being held in the USA as they may fall foul of the
                 OFAC regulations. The Iranian Banks have now prioritized this issue and


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                  are now actively seeking a solution from their banks, including HSBC.”

          642.    From at least 2003 forward, HSBC provided banking and payment services in the

  Eurodollar market to, among other Iranian entities, the NIOC (which, as noted previously, was

  later designated pursuant to E.O. 13382 and identified as an agent or affiliate of the IRGC during

  the relevant time period).35

          643.    Over the course of the next several years, the HSBC Defendants continued their

  participation in the Conspiracy.

          644.    In an October 9, 2006 email, David Bagley [HSBC-Middle East’s Regional Head

  of Legal and Compliance] informed senior HSBC Group officials that key U.S. policymakers were

  “…in favour of withdrawing the U-Turn exemption from all Iranian banks. This on the basis that,

  whilst having direct evidence against Bank Saderat particularly in relation to the alleged funding

  of Hezbollah, they suspected all major Iranian State owned banks of involvement in terrorist

  funding and WMD [weapons of mass destruction] procurement.”

          645.    Further demonstrating his awareness of the risks HSBC was engaged in with Iran,

  Bagley was listed as the contact person on the April 19, 2007 Wolfsberg Group press release

  calling for more transparency for international wire transfers “to promote the effectiveness of

  global anti-money laundering and anti-terrorist financing programs.”

          646.    Eight months later, in a June 8, 2007 email, Bagley informed HSBC Holding’s

  CEO, Michael Geoghegan, and others, that “[U.S. Treasury Under Secretary for Counter Terrorist


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          The HSBC Defendants also provided Eurodollar, trade-finance, and foreign exchange services for NIOC.
  For example, the aforementioned January 2003 HSBC-Middle East memorandum stated that:

                  L/C’s [Letters of Credit] issued for Iranian Companies Abroad – Various Group Offices.
                  HSBC offices are developing relationships with Iranian Government and non-Government
                  companies. The L/C’s issued are normally denominated in USD. Following NIOC’s
                  acceptance of HSBC as one of its listed banks, HSBC Bank Middle East now handles Iran’s
                  oil export L/C’s. Turnover for this business is about USD400M [million] per year.



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  Financing and Sanctions] Levey essentially threatened that if HSBC did not withdraw from

  relationships with [redacted] we may well make ourselves a target for action in the US.”

         647.    Bagley’s email thus confirmed that various relationships continued to exist in the

  Eurodollar market with Iran and Iranian banks, including Bank Saderat.

         648.    Bagley not only acknowledged that HSBC had “…an agency banking relationship

  in HSBC-EUROPE both for [redacted] and other Iranian banks,” but he confessed that “[t]here are

  further complications surrounding the process of closure with all Iranian banks as we have some

  USD 9m in reimbursements due from Sepah, where we are running off trade lines, where we may

  need cooperation from Central Bank of Iran.”

         649.    On December 11, 2012, the U.S. Department of Justice (“DOJ”) announced that

  Defendants HSBC Holdings and HSBC-US had admitted to Anti-Money Laundering (“AML”)

  and OFAC sanctions violations, and had agreed to enter into a Deferred Prosecution Agreement

  and pay a $1.256 billion forfeiture. As explained further infra, DOJ issued a press release

  announcing the DPA, and summarizing the HSBC Defendants’ illegal conduct.

         650.    In connection with the DPA, DOJ filed a four-count felony criminal information

  against HSBC Holdings and HSBC-US, charging them with: (1) willfully failing to maintain an

  effective AML program; (2) willfully failing to conduct due diligence on their foreign

  correspondent affiliates; (3) violating the International Emergency Economic Powers Act

  (“IEEPA”); and (4) violating the Trading with the Enemy Act (“TWEA”). HSBC Holdings and

  HSBC-US waived federal indictment, agreed to the filing of the information, and claimed to have

  accepted responsibility for HSBC’s and its employees’ criminal conduct.

         651.    Despite its agreement to overhaul its U.S. and global compliance functions, HSBC

  remained a conduit for illicit funds.




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         652.    On December 9, 2010, the U.S. Treasury Department designated Tajco, describing

  it as “a multipurpose, multinational business venture involved in international trade as well as real

  estate and presided over by Ali Husayn and Kassim Tajideen…. Since at least December 2007,

  Ali Tajideen used Tajco Sarl, operating as Tajco Company LLC, as the primary entity to purchase

  and develop properties in Lebanon on behalf of Hizballah.”

         653.    The designation also covered Kairaba Supermarket, a subsidiary business of Tajco

  Ltd.

         654.    A July 13, 2012 article published by Reuters entitled “Special Report: HSBC’s

  Money-Laundering Crackdown Riddled With Lapses” reported that an HSBC-US compliance

  officer had identified suspicious transactions involving Hezbollah, specifically Tajco and Kairaba

  Supermarket.

         655.    In December 2013, the Treasury Department announced that Defendant HSBC-US

  agreed to remit $32,400 to settle potential civil liability for three apparent violations of the Global

  Terrorism Sanctions Regulations, 31 C.F.R. Part 594.

         656.    The fine reflected the fact that HSBC-US facilitated transactions in late 2010 and

  early 2011 worth about $40,000 that benefited Tajco.

         657.    Although a relatively small sum, the facilitation of terrorism financing for

  Hezbollah a considerable time after Defendants HSBC Holdings and HSBC-US began negotiating

  their deal with DOJ, strongly suggests that, as of early 2011, the HSBC Defendants had not

  seriously remediated their AML/CFT controls and procedures, even after being caught committing

  hundreds of felonies.




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                 2.     Defendant HSBC-US’s Agreement to, and Participation in, the
                        Conspiracy in Violation of 18 U.S.C. § 2332d

         658.    As alleged in greater detail below, even though at all relevant times Defendant

  HSBC-US was aware that: the HSBC Defendants were participating in the Conspiracy to

  unlawfully transmit Iranian USD funds through U.S. banks (including HSBC-US); and

  periodically complained about Defendants HSBC-Middle East and HSBC-London’s conduct and

  proposed new procedures and policies for HSBC Group members that would have provided

  HSBC-US improved transparency, HSBC-US took no measures to prevent HSBC-US from

  facilitating hundreds of millions of dollars of payments to Iran in violation of 18 U.S.C. § 2332d.

  Accordingly, in addition to violating § 2332d, HSBC-US’s conduct evidenced its agreement to

  continue participating in the Conspiracy despite its complaints, its knowledge or deliberate

  indifference to the Conspiracy’s criminal objectives and purposes, and its commission of multiple

  overt acts in furtherance of the Conspiracy.

         659.    One key example of HSBC-US’s failure to take substantive measures to ensure that

  it would not facilitate the HSBC Defendants’ provision of illegal material support and services to

  Iran is reflected in a July 12, 2001 e-mail to senior employees at HSBC-US (containing a

  memorandum authored by HSBC Group Representative for Iran, John Richards).

         660.    Richards’s memorandum outlined the business opportunities members of the

  HSBC Group were presented with in connection with prospects to expand and grow HSBC

  Group’s relationships with Iran, the CBI and Bank Melli, explaining:

                 a.     “We have been approached by the Central Bank of Iran to take back
                        their USD clearing business from Natwest. In principal I am keen to
                        do this but on the clear proviso that it can be done profitably and on
                        a sustainable basis.”

                 b.     “One of our key objectives for the year is to develop HSBC’s Asset
                        Management activities in Iran and with the Central Bank now



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                         managing the oil price stabilization fund amounting to some
                         USD10bn there is considerable scope for this. Obviously many
                         foreign banks are chasing the same business and so we need to
                         demonstrate some competitive or relational advantage. The proposal
                         from the Central Bank was therefore not unwelcome…The Central
                         Bank manages their transactions through Bank Melli London…”

                 c.      “In summary if we can make this business independently profitable
                         and sustainable the benefits that we can derive particularly from the
                         Treasury Asset Management and Investment spin offs will be
                         substantial.”

         661.    Richards’s memorandum also demonstrates the HSBC Defendants’ awareness that

  other foreign banks (including Defendants) were eagerly pursuing U.S. dollar clearing and

  settlement business with the CBI in the Eurodollar market.

         662.    On July 12, 2001, Denise Reilly, HSBC-US’s Senior Manager in Payment

  Operations, sent an e-mail titled “Re: Bank Melli” to various senior HSBC-US employees in which

  she stated, “It was relayed to us that the Group (with the Backing of Bond) [the Chairman] was

  looking to significantly grow our presence in Iran.” Reilly also explained that the “current lines of

  credit [for Iran] were reported to be $800m, trade lines of $150m and growth was anticipated in

  trade, cash management and internet banking.”

         663.    Thus, HSBC-US senior employees understood the significance to the HSBC

  Defendants of their Iranian business and specifically, the HSBC Defendants’ relationship with

  Bank Melli.

         664.    As early as 2001, senior HSBC-US payments, compliance and business managers

  were informed that Iranian Eurodollar payment transactions were being sent by Defendant HSBC-

  London to HSBC-US for clearing and settlement in USD funds after references to Iran had been

  deleted.




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         665.    HSBC-US employees were also informed of an HSBC-London proposal to

  streamline the processing of Iranian U-turn transactions by omitting references to Iran so that the

  payment orders would not be halted by OFAC’s sanctions screening filter in the United States.

  Emails at the time show that senior HSBC-US officials expressed discomfort with the HSBC-

  London proposal, but took no other action to stop or prevent the activity already occurring.

         666.    As noted above, a senior HSBC-US employee received an e-mail on June 28, 2001

  titled “Re: Bank Melli,” which described HSBC-London’s “usual method” of altering payment

  order messages and the reasons for doing so.

         667.    Another example of HSBC-US’ knowledge and acquiescence in the Conspiracy is

  memorialized in a November 14, 2002 memorandum entitled “COMPLIANCE-OFAC ISSUES

  IN GENERAL AND SPECIFIC TO IRAN” authored by HSBC-London’s Multicurrency

  Payments Department Head Malcolm Eastwood (“the Eastwood Memorandum”).

         668.    The Eastwood Memorandum was sent to both HSBC-US and HSBC-London

  employees and forwarded to additional HSBC-US employees in separate emails.

         669.    The Eastwood Memorandum discussed both HSBC’s “cover payment method” of

  evading U.S. sanctions and the specific actions taken by HSBC to modify the contents of payment

  messages. In relevant parts, the Eastwood Memorandum stated:

                       “As the custodian of HSBC-Europe’s payments operation I
                        currently feel that we may be exposing ourselves to unnecessary and
                        unacceptable Reputational and Operational Risk when we are
                        handling payments originating from FIs [financial institutions]
                        domiciled in or who are a local branch of an FI domiciled in an
                        OFAC regulated country.”

                       “HSBC-Europe’s historical practice has been to send these types of
                        payments where the U Turn principal applies (ie funds are generally
                        moving from an European bank to another European bank for the
                        credit of an OFAC regulated entity) via the Cover Payment method.
                        This means that the payment instructions received by HSBC-US


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                        contains no mention of the country or entity involved. My
                        understanding is that this has been accepted practice for many years
                        and that HSBC-Europe IBL hold accounts, some in USD for FIs
                        domiciled in these countries ie Cuban, Iranian etc.”

                       “The Iranian banks continue to send us what I describe as
                        conditional payment instructions which for HSBC-Europe require
                        an element of amendment by ourselves. This introduces operational
                        risk and under FATF principles we should not be amending these
                        payments instructions. Acceptance of these items over many years
                        means that we are bound by the precedents currently in place, and I
                        believe that we need to break these precedents…”

                       “[W]e need…[t]o agree a ‘template’ payment instruction for these
                        U Turn Payments which can be used by PCM Sales and the RM
                        team and sent to the Iranian Banks stipulating that payments must
                        be formatted in this way, confirming that we will be sending these
                        via the Serial method and that any deviation from this template will
                        be at the Iranian Banks own risk.”

                       “Whilst I am told that there are significant business opportunities
                        particularly with countries such as Iran there are also substantial
                        Reputational and Operational Risks, not to mention financial losses
                        associated with it.”

         670.   In addition, HSBC-US’s OFAC filter occasionally stopped an Iranian-related

  transaction, sent by an HSBC Group affiliate, in which the identifying information had

  inadvertently been retained, demonstrating that undisclosed Iranian U-Turn exemption

  transactions continued to be sent through HSBC-US correspondent accounts.

         671.   HSBC-US employees were copied on similar memoranda issued by other HSBC

  Defendants during the relevant period. For example, a January 2003 memorandum circulated by

  HSBC-Middle East (and received by several HSBC-US employees) also noted that “[t]he Group

  now has an excellent relationship with all Iranian banks and some very larger Iranian corporates

  such as National Iranian Oil Co, National Petrochemical Co, National Iranian Gas Co, National

  Iranian Steel Co, top Iranian insurance companies, Ministry of Power, Ministry of Post and

  Telecommunications, etc.”


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         672.    The memorandum also confirmed the HSBC Defendants’ awareness that other non-

  Iranian banks were participating in the Conspiracy, stating:

                        “It is believed that some service providers amend the payments to
                         ensure Iran is not mentioned in the body of the payment instruction
                         to their USD correspondent. This process minimizes the risk of
                         payment being referred to OFAC.”

                        “Currently, it is estimated that Iranian banks issue up to 700 USD
                         payments a day using their USD providers, mainly banks in the UK
                         and Europe, which in turn use their New York USD correspondents
                         to effect the payments.”

                        “[T]here is substantial income opportunity to sell a USD payments
                         proposition to Iranian banks in view of the impending FATF
                         regulations...The [requirements of the] new regulations…increases
                         the risk of Iranian payments being held in the USA as they may fall
                         foul of the OFAC regulations. The Iranian Banks have now
                         prioritized this issue and are now actively seeking a solution from
                         their banks, including HSBC.”

         673.    An October 2003 document entitled “IRAN-STRATEGY DISCUSSION PAPER”

  circulated to senior HSBC-US employees further documented the HSBC Defendants’ eagerness

  to facilitate USD funds transfers for Iran, noting: “One of the reasons to accelerate our process of

  engagement is to demonstrate, to the authorities within Iran, that we are committed to the

  development of their country. This is seen to be particularly important given the more

  aggressive/pragmatic approach to Iranian business adopted by French and German competitor

  banks.”

         674.    Nevertheless, despite being copied on such memos, HSBC-US took no further

  action to stop the unlawful activities.

         675.    Even when HSBC-US blocked Iranian payment transactions, it failed to take further

  action to ensure that other HSBC Defendants would not continue these illegal practices.




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         676.    For example, in late December 2002, HSBC-US’s OFAC sanctions screening filter

  stopped and rejected a payment order listing Bank Melli as the originator of the SWIFT-NET

  message that contained a field that read, “Do not mention our name in NY.”

         677.    An internal HSBC-US email dated December 30, 2002, informed HSBC-US’s

  compliance team about the Bank Melli payment, which once again confirmed the HSBC

  Defendants’ ongoing process of altering payment order messages.

         678.    On June 13, 2003, HSBC-US’s OFAC filter stopped another transaction, this time

  for $150,000 in USD funds, because it included both a reference to Bank Melli and the words “do

  not mention our name.”

         679.    In a June 16, 2003 email entitled “PLC-Re do not mention our name,” HSBC-US

  compliance officers were notified about the June 13 blocked transaction and received additional

  confirmation of the HSBC Defendants’ illegal practice of altering fields within Iranian payment

  order messages for the express purpose of escaping detection in the United States.

         680.    During 2004, in furtherance of the Conspiracy, HSBC Group members sent

  approximately 7,000 Iranian Eurodollar transactions through various SWIFT-NET network

  accounts for clearance and settlement by Defendant HSBC-US and other correspondent banks in

  the United States without disclosing their source.

         681.    HSBC-US did not report any of the HSBC Defendants’ illegal conduct involving

  Iran to any of its regulators or to U.S. law enforcement at that time.

         682.    During 2005, in furtherance of the Conspiracy, HSBC-London and HSBC-Middle

  East together sent about 5,700 Iranian Eurodollar transactions through various SWIFT-NET

  network accounts for clearance and settlement by Defendant HSBC-US and other correspondent

  banks in the United States without disclosing their source.




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         683.    On April 19, 2005, HSBC-US’s OFAC filter again stopped a $362,000 payment

  order from Bank Melli because it contained the phrase “do not mention our name in New York.”

         684.    HSBC-London re-submitted the same payment on April 22, 2005, but HSBC-US

  stopped it again, this time sending HSBC-London a SWIFT-NET message requesting full

  disclosure of the name and address of the underlying originator and ultimate beneficiary of the

  USD funds.

         685.    In early May 2005, HSBC-US stopped a $6.9 million USD payment order

  originating with Defendant Credit Suisse in Zurich because the SWIFT-NET message details

  included the phrase “Bank Melli Iran.”

         686.    In fact, forty-four of the payments stopped by HSBC-US’s OFAC filter in May

  2005 alone (inadvertently) disclosed Iranian involvement.

         687.    On June 3, 2005, HSBC-US informed Defendant HSBC Holdings that additional

  HSBC-London transfers in the amounts of $1.9 million USD and $160,000 USD had been stopped

  by HSBC-US due to the lack of full disclosure of the originator, beneficiary, and purpose of the

  payment transaction.

         688.    HSBC-London responded that both payment orders were foreign exchange related,

  the originators were Bank Tejarat and Bank Melli,36 and the beneficiaries of the USD funds were

  Persia International Bank and Defendant Credit Suisse’s Zurich office, respectively.

         689.    HSBC-US responded by requesting that HSBC-London follow up with the banks

  to obtain the names and addresses of the initial originators and ultimate beneficiaries, as well as

  confirmation of the underlying purpose of the payments.




  36
         HSBC-London also maintained correspondent accounts for Bank Refah.


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         690.    According to information provided by Bank Melli through HSBC-London, the

  $160,000 payment denoted an internal transfer from Bank Melli’s Eurodollar account with HSBC-

  London to Bank Melli’s Eurodollar account with Defendant Credit Suisse’s Zurich office.

         691.    From July 2005 to June 2006, HSBC-Middle East sent more than 2,500 Iranian

  Eurodollar transactions – through its various SWIFT-NET network accounts for clearance and

  settlement by Defendant HSBC-US and/or other correspondent banks in the United States – that

  illegally concealed the required data relating to Iran.

         692.    On November 23, 2005, in an email entitled “Cover payment processed to Credit

  Suisse re ‘Bank Melli’ – USD 100,000,” an HSBC-US OFAC Compliance officer notified HSBC-

  London that, on November 7, 2005, a $100,000 transaction involving Bank Melli had been

  processed through HSBC-London’s USD account at HSBC-US without transparent

  documentation:

                 We are bringing this to your attention as this situation indicates that cover
                 payment involving Iran are still being processed by PLC [referring to
                 HSBC-London]. It was our understanding that Group payments involving
                 Iran would be fully disclosed as to the originators and beneficiaries.

         693.    In furtherance of the Conspiracy, from April 2006 through December 2007, about

  50% of the estimated 700 Iranian Eurodollar payment transactions sent by HSBC-London –

  through its various SWIFT-NET network accounts for clearance and settlement by Defendant

  HSBC-US and/or other correspondent banks in the United States – continued to not disclose their

  connection to Iran.

         694.    In addition, through March 2010, HSBC-US was the conduit for at least twenty-

  four post-U.S. designation Eurodollar transactions on behalf of IRISL and/or its various

  subsidiaries and front companies.




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         695.     During the relevant time period, HSBC-US knew that Iran was a designated State

  Sponsor of Terrorism, and that HSBC-US’s USD clearing and settlement operations with CHIPS-

  NY (Eurodollar clearing and settlement), CLS Bank (foreign exchange) and FRB-NY (domestic

  USD clearing and settlement and central bank lender of last resort for the Eurodollar market) were

  being used by the HSBC Defendants to facilitate unlawful transactions in USD funds on behalf of

  Iran in furtherance of the Conspiracy.

         696.     As noted above, on December 11, 2012, Defendants HSBC Holdings and HSBC-

  US entered into a Deferred Prosecution Agreement with DOJ.

         697.     DOJ issued a press release announcing the 2012 DPA’s entry, including the fact

  that the DPA resulted in HSBC Holdings and HSBC-US admitting to AML and sanctions

  violations, as well as the fact that they would pay a $1.256 billion USD forfeiture.

         698.     In addition to the $1.256 billion forfeiture under the DPA, HSBC Holdings and

  HSBC-US also agreed to pay $665 million in civil penalties – $500 million to the OCC and $165

  million to the Federal Reserve – for the HSBC Defendants’ AML/CFT program violations with

  Iran, other sanctioned countries, and transnational drug cartels.

         699.     DOJ’s press release announcing the DPA quoted then-Assistant Attorney General

  Lanny Breuer:

                  HSBC is being held accountable for stunning failures of oversight – and
                  worse – that led the bank to permit narcotics traffickers and others to launder
                  hundreds of millions of dollars through HSBC subsidiaries, and to facilitate
                  hundreds of millions more in transactions with sanctioned countries. The
                  record of dysfunction that prevailed at HSBC for many years was
                  astonishing.

         700.     The United States Attorney for the Eastern District of New York Loretta Lynch was

  quoted as stating:




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                  HSBC’s willful flouting of U.S. sanctions laws and regulations resulted in
                  the processing of hundreds of millions of dollars in OFAC-prohibited
                  transactions. Today’s historic agreement, which imposes the largest penalty
                  in any [Bank Secrecy Act] prosecution to date, makes it clear that all
                  corporate citizens, no matter how large, must be held accountable for their
                  actions.

           701.   Manhattan District Attorney Cyrus R. Vance Jr. was quoted in the same press

  release as stating:

                  New York is a center of international finance, and those who use our banks
                  as a vehicle for international crime will not be tolerated. … Sanctions
                  enforcement is of vital importance to our national security and the integrity
                  of our financial system. The fight against money laundering and terror
                  financing requires global cooperation, and our joint investigations in this
                  and other related cases highlight the importance of coordination in the
                  enforcement of U.S. sanctions.

           J.     DEFENDANT BARCLAYS’ AGREEMENT TO, AND PARTICIPATION
                  IN, THE CONSPIRACY

           702.   Until at least May 2008, Defendant Barclays maintained correspondent banking

  relationships with several of the Iranian Bank Co-conspirators, including Bank Saderat and Bank

  Melli.

           703.   Barclays is a member of SWIFT-Brussels and has historically used the SWIFT-

  NET system to transmit international payment messages from and for financial institutions around

  the world.

           704.   Barclays originally processed USD payment messages through numerous global

  locations.

           705.   Over time, Barclays consolidated its USD payment processing so that the payments

  were predominately processed at Barclays’ Payment Processing Centre located in Poole, England

  (“Poole”).




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         706.    Barclays knowingly and willfully engaged in conduct that caused its New York

  branch and other financial institutions in the United States to process Eurodollar payment

  transactions in violation of U.S. sanctions.

         707.    As part of this effort to evade U.S. sanctions against Iran, Barclays:

                 a.      Followed instructions from Iran and its agents not to mention their
                         names in USD payment transaction messages sent to Barclays-New
                         York and to other U.S. financial institutions for clearance and
                         settlement in USD funds;

                 b.      Routed transactions through an internal Barclays sundry account,
                         thereby hiding the payment transactions’ connection to Iranian
                         entities;

                 c.      Amended or reformatted SWIFT-NET payment order messages to
                         remove information identifying Iranian entities involved in the
                         transfer of USD funds; and

                 d.      Re-sent Iranian entities’ SWIFT-NET MT 103 payment order
                         messages as cover payments to take advantage of the lack of
                         transparency as to the ultimate originator/beneficiary that was
                         achieved by using the MT 202 bank-to-bank cover payment
                         message format.

         708.    Beginning in 1987, Bank Melli Iran instructed Barclays to process USD

  transactions in favor of Bank Melli’s London branch by referencing only Bank Melli’s Eurodollar

  account number at Midland Bank Plc and without referencing Bank Melli’s name.

         709.    Bank Melli further instructed Barclays to send separate payment order instructions,

  which included full details about the Eurodollar payment transactions to Midland Bank Plc and

  Bank Melli’s London Branch.

         710.    In response, Barclays memorialized Bank Melli’s instructions for Eurodollar

  market transactions in a memorandum sent by its Head Office to Barclays’ international offices,

  and, as early as the late 1990s, included them in Barclays’ “List of Correspondents” (“LOC”),




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  which contained information related to Barclays’ correspondent banking relationships and assisted

  Barclays’ employees in effectuating international payment transactions involving USD funds.

         711.    Barclays’ LOC contained instructions on how to process payments for both

  sanctioned and non-sanctioned banks with which Barclays had correspondent relationships.

         712.    Over time, the LOC grew to include instructions for payments related to several of

  Barclays’ correspondent bank clients and included instructions to use cover payments (SWIFT-

  NET MT 202 payment order messages) when processing payments in USD funds for clearing and

  settlement in the United States, and omitting the names of U.S.-sanctions targets from the payment

  order messages so that U.S. financial institutions could not identify the sanctions nexus of the

  payments.

         713.    In a November 1987 Head Office Circular, Barclays distributed payment

  instructions received from an Iranian bank directing Barclays “to amend the procedures governing

  the transfer of U.S. Dollars for any purpose in favour of our London branch” and to route such

  payments “without mentioning the name of our bank.”

         714.    The reason for, and effect of, these instructions was to disguise Iranian sanctioned

  entity payments from Barclays’ correspondents in the United States so that such correspondents

  would unwittingly process the illegal payments.

         715.    Barclays’ employees followed the instructions in the LOC when processing USD

  payments involving sanctioned Iranian banks, thereby ensuring that the name of the bank would

  not appear in any MT 202 cover payment messages sent to Barclays’ New York branch for clearing

  and settlement through CHIPS-NY and FRB-NY. For example, with regard to USD payments sent

  on behalf of an Iranian bank, the LOC stated, “[t]he cover MT202 for the direct Payment Order to




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  be arranged by the remitting Bank without mentioning [the Iranian bank’s] name ....” (Underlined

  in the original.)

          716.    Barclays’ LOC also contained instructions to contact the remitter or beneficiary for

  routing instructions for certain payments of USD funds involving Iranian sanctioned entities. The

  general instructions for Iranian banks stated:

                                USD PAYMENTS TO IRAN
                  Certain payments may be blocked by the US Authorities. Therefore,
                  any branch with a USD transfer is advised to contact the remitter
                  beneficiary or beneficiary’s bankers to request specific routing
                  instructions.

          717.    Barclays’ standard operating procedures allowed and even educated its employees

  on how to bypass the sanction screening algorithms in both Poole’s and the U.S. financial

  institution’s OFAC filters to permit illegal payment transactions in USD funds.

          718.    Pursuant to these “standard” procedures, when the Poole filter identified a

  Eurodollar payment transaction that referenced an Iranian entity, that payment order message was

  stopped for further review by Barclays’ employees in Poole.

          719.    If the Poole-based employees found that the payment order message referenced an

  Iranian entity, they would follow one of the following procedures: (i) return the payment order

  message to the remitting entity via a pre-formatted fax cover sheet; (ii) alter or delete fields in the

  SWIFT-NET payment order message; or (iii) change the message type from a serial payment (MT

  103) to a cover payment (MT 202) in order to hide any connection to the Iranian entity.

          720.    The then-Senior Manager for Barclays Group Payments Industry Management in

  Poole explained that if the MT 202 payment order message contained beneficiary information that

  caused it to be stopped by the OFAC filter in the U.K, that information was removed to ensure the

  payment transaction was not stopped by the OFAC filter when resubmitted.




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          721.    The same Senior Manager noted that he was aware that Defendant Barclays’

  payment operators amended payment order messages in order to facilitate the transfer of USD

  funds to Iran and that this was a “common practice” at Barclays.

          722.    As noted above, consistent with Barclays’ “standard” procedures, when an Iranian

  payment was flagged by the Poole OFAC filter, Barclays’ employees generally returned the

  flagged payment order message to the original remitting bank.

          723.    Barclays’ employees used a specific fax cover sheet to advise the remitting area of

  Barclays that the payment message had been cancelled and would further identify the specific

  words in the payment message that had caused the message to be stopped by the Poole sanctions

  screening filter.

          724.    The Barclays fax cover sheet contained the following language:

                  OFAC ITEM: Wording below is contained in the message and does not
                  comply with the Office of Foreign Assets Control regulations applicable to
                  all payments sent via the U.S.A. Payments to U.S.A. must NOT contain the
                  word listed below.

          725.    Subsequently, because Barclays was advising the remitting bank of the prohibited

  language, some of these payment order messages would thereafter be re-sent by the remitting bank

  on the SWIFT-NET network without the “offending” language.

          726.    This deliberate omission enabled the payment order message to pass through the

  Poole sanctions screening filter without being blocked, and then clear and settle in USD funds by

  Barclays’ New York branch and unwitting U.S. financial institutions.

          727.    In November 2001, the use of the fax cover sheet was identified by Barclays’

  internal auditors as problematic because (according to a Barclays internal audit report) “without

  adequate guidance the recipient of the fax advice may not be aware of the implications and may

  merely remove the offending text and re-submit the payment without any wider consideration.”



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         728.    In early 2002, as a result of this internal audit report, the language of the fax

  template was re-worded in an attempt to mitigate these issues. The fax language was changed to:

                 OFAC ITEM: Wording below is contained in the message and does
                 not comply with the U.S.A. / U.K. / E.C. / U.N. Sanctions.

         729.    Despite the altered wording in the fax cover sheet, no implementing guidance was

  circulated, and Barclays’ “standard” practices nevertheless continued, as did the resubmission of

  prohibited OFAC-sanctioned transactions with the offending text removed.

         730.    Barclays’ employees generated internal correspondence that documented Barclays’

  awareness and acceptance of the fact that transactions were being processed via MT 202 cover

  payments for the specific purpose of hiding the identity of Iranian entities in order to ensure that

  Barclays could continue its unfettered processing of USD funds transfers involving Iranian entities

  through Barclays’ New York branch.

         731.    For example, one Barclays employee explained in an email:

                 [W]e can get around [OFAC seizure] by sending only cover payments to
                 US banks and then make MT103 direct to beneficiary’s bank. The MT202
                 cover must not mention of [sic] the offending entity which could cause
                 funds to be seized. A good example is Cuba which the US says we shouldn’t
                 do business with but we do.

         732.    Barclays’ employees understood the advantage of using bank-to-bank cover

  payments. The cover payment message format (MT 202), with its limited information fields, was

  a better mechanism to process OFAC-prohibited transactions than using a more detailed serial

  payment message format (MT 103).

         733.    A Barclays employee noted in an email: “If we were to route the payment via the

  serial payment method ... the payment would clearly be seized by the US authorities” but by using

  cover payments, “the US Treasury [would] remain blissfully unaware of [the payment’s]

  existence.”



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         734.    In December 2002, internal correspondence also brazenly acknowledged Barclays’

  use of MT 202 cover payment messages to detour U.S. Iranian sanctions, stating:

                 To circumvent US legislation, [Barclays is] currently rout[ing] US$ items
                 for sanctioned institutions via unnamed account numbers, without mention
                 of the sanctioned party. For customer transfers, payment cover is routed via
                 MT202 to New York, naming only the account holding bank. A direct
                 MT103 is them [sic] sent to the account holding bank. Further investigation
                 suggests that we are carrying out this practice on behalf of four [Iranian
                 bank] customers….

         735.    A January 2004 report provided to Barclays’ Group Risk Oversight Committee

  noted that a recent failure “illustrat[ed] why the whole sanctions process needs to be reviewed and

  brought up to date.”

         736.    In July 2004, an internal assessment of Barclays’ payments processing explained:

                 Cover payments are an issue for this project as they are effectively a way of
                 by passing [sic] sanctions.... There is nothing in these payment messages
                 [MT 103 and MT 202] that identifies them as linked for the purpose of
                 screening.

         737.    In April 2005, Barclays noted in an internal memo the risk of using MT 202 cover

  payments rather than MT 103 serial payments, and also acknowledged that other financial

  institutions such as the Western Bank Defendants facilitated payments for Iran in the same manner:

                 Changing to different message types would be much more expensive to us.
                 Moral risk exists if we carry on using cover payments but that is what the
                 industry does. I[n] M[y] H[umble] O[pinion] we should carry on using
                 cover payments and accept that there is a risk of these being used on
                 occasion to hide true beneficiaries (who may or may not be sanctioned
                 individuals or entities). [Emphasis added.]

         738.    In the spring of 2006, Barclays’ senior management learned that four cover

  payments involving sanctioned parties had been routed through Barclays’ New York branch and

  were processed because the cover payments did not mention the sanctioned beneficiary or

  originator.




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         739.    Throughout this entire time period, Barclays knew that Iran was a designated State

  Sponsor of Terrorism and knew that Barclays was facilitating unlawful payments on behalf of Iran

  in furtherance of the Conspiracy.

         740.    Barclays also continued to facilitate unlawful payments on behalf of Bank Saderat

  after Barclays knew that Bank Saderat had been designated an SDGT for enabling the transfer of

  USD funds to Hezbollah.

         741.    Barclays also continued facilitating unlawful Eurodollar payments on behalf of

  Bank Melli after Barclays knew that Bank Melli had been designated by the United States in part

  for its enabling the transfer of USD funds to the IRGC.

         742.    On August 18, 2010, DOJ announced that Barclays had entered into a Deferred

  Prosecution Agreement with federal and New York State prosecutors, and agreed to forfeit $298

  million dollars in connection with violations of IEEPA and TWEA.

         743.    A criminal information was filed on August 16, 2010, in the U.S. District Court for

  the District of Columbia charging Barclays with one count of violating the IEEPA, and one count

  of violating TWEA. Barclays waived indictment, agreed to the filing of the information, and

  accepted and acknowledged responsibility for its criminal conduct.

         744.    In the press release announcing the DPA, then-FBI Assistant Director-in-Charge

  Janice K. Fedarcyk was quoted stating:

                 Barclays Bank has admitted a decade-long pattern of violating U.S. banking
                 laws, and taking certain steps to conceal prohibited transactions. Corporate
                 responsibility entails more than just acting discreetly on behalf of one’s
                 clients. It means, first and foremost, acting lawfully.




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         K.      DEFENDANT STANDARD CHARTERED BANK’S AGREEMENT TO
                 AND PARTICIPATION IN THE CONSPIRACY

                 1.       Standard Chartered Bank (“SCB”) Conspired to Conceal Iran’s
                          Financial Activities and Transactions From Detection, Scrutiny, and
                          Monitoring By U.S. Regulators, Law Enforcement, and/or Depository
                          Institutions.

         745.    Defendant SCB provided, inter alia, trade-finance, Eurodollar and foreign

  exchange banking services to Iranian clients starting in or about 1993.

         746.    At some point thereafter, SCB began formulating plans to participate in and further

  the Conspiracy with Iran.

         747.    For example, on June 1, 1995, SCB’s General Counsel wrote an e-mail advising

  SCB’s regulatory compliance staff: “if SCB London were to ignore OFACs regulations AND SCB

  NY were not involved in any way & (2) had no knowledge of SCB Londons [sic] activities & (3)

  could not be said to be in a position to control SCB London, then IF OFAC discovered SCB

  London’s [sic] breach, there is nothing they could do against SCB London, or more importantly

  against SCBNY.”

         748.    The SCB General Counsel also instructed that a memorandum containing this plan

  was “highly confidential & MUST NOT be sent to the US.”

         749.    In the ensuing years, Standard Chartered Bank actively conspired with the CBI,

  Bank Melli Iran, Bank Saderat plc’s predecessor (Iran Overseas Investment Bank) and many other

  entities to assist Iran evade U.S. sanctions.

         750.    Standard Chartered Bank’s role in the Conspiracy grew dramatically in early 2001,

  when the CBI approached SCB to act as the Central Bank of Iran’s recipient bank for U.S. dollar

  proceeds from daily oil sales made by the NIOC in the Eurodollar market.37



  37
         At some point, SCB Dubai also opened a Eurodollar credit facility for the CBI.


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         751.    An e-mail dated February 19, 2001, from SCB’s Head of Inbound Sales,

  Institutional Banking, characterized the CBI’s solicitation of Standard Chartered as “very

  prestigious” because “in essence, SCB would be acting as Treasurer to the CBI ...”

         752.    Thus, Standard Chartered was knowingly laundering billions of dollars in violation

  of multiple U.S. laws for the benefit of, among others, the IRGC.

         753.    In a follow up e-mail dated March 23, 2001, SCB’s Group Legal Advisor wrote to

  its Product Manager, Corporate & Institutional Banking and its General Counsel (the e-mail was

  also forwarded to SCB’s Group Head of Audit) that “our payment instructions [for Iranian Clients]

  should not identify the client or the purpose of the payment.”

         754.    Standard Chartered Bank and the CBI quickly developed operating procedures for

  USD funds transfers to mask the involvement of Iranian entities in payment orders sent to Standard

  Chartered’s New York branch (“SCB-NY”).

         755.    When the beneficiary bank of a CBI Eurodollar payment transaction was an Iranian

  bank, SCB-London would send a SWIFT-NET MT 100 or MT 103 to the beneficiary bank’s non-

  U.S., non-Iranian correspondent bank with full details of the Iranian beneficiary bank, and a

  separate MT 202 to SCB-NY with no mention of the Iranian beneficiary bank.

         756.    In fact, SCB-London set up routing rules within its payment system to route all

  incoming SWIFT-NET messages from the CBI to a repair queue, meaning that the payments were

  subject to manual review and processing by wire operators, to prevent Standard Chartered Bank -

  London from automatically processing outbound payment instructions for clearance and

  settlement in the United States with a reference to the CBI in the payment message.

         757.    Standard Chartered Bank - London’s payment processing team initially instructed

  the CBI to insert Standard Chartered Bank - London’s SWIFT-NET BIC address (identified as




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  SCBLGB2L) in field 52 (ordering institution) of its incoming payment order messages so that

  SCB’s payment system would not populate that field with the CBI’s SWIFT-NET BIC address

  (identified as BMJIIRTH).

         758.      When the CBI failed to remove its BIC address and insert Standard Chartered’s

  BIC address into each SWIFT-NET message, Standard Chartered Bank - London wire operators

  would manually change field 52 to reference SCB - London’s BIC in order to mask the CBI’s

  involvement in the payments.

         759.      Standard Chartered’s willingness to further the Conspiracy in this manner attracted

  more illicit business.

         760.      As early as February 2002, several additional Iranian banks approached Standard

  Chartered Bank - London to discuss the possibility of opening new accounts.

         761.      SCB - London’s Legal, Compliance, and Cash Management groups identified the

  need for written procedures for the operation of these additional Iranian banks’ dollar-denominated

  accounts.

         762.      SCB’s central role in the Conspiracy was memorialized in an internal memorandum

  regarding SCB’s procedures for processing payments sent through the United States from the

  Iranian banks.

         763.      The document was entitled “Standard Chartered Bank Cash Management Services

  UK - Quality Operating Procedure: Iranian Bank Processing.”

         764.      It was first issued to SCB London staff on February 20, 2004, and included detailed

  instructions regarding the omission of the Iranian remitting bank’s BIC:

                   Ensure that if the field 52 of the payment is blank or that of the remitting
                   bank that it is overtyped at the repair stage to a “.” (Note: if this is not done
                   then the Iranian Bank SWIFT code may appear - depending on routing - in
                   the payment message being sent to [SCB-NY]).



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         765.    In addition to inserting a “.” in field 52, the memorandum also instructed staff to

  use cover payments to process Iranian bank payments, which resulted in SCB London omitting

  any reference to the involvement of Iranian beneficiaries or beneficiary banks in SWIFT-NET

  payment order messages sent to Standard Chartered Bank’s New York branch.

         766.    This element of the Conspiracy was particularly important to Defendant Bank

  Saderat Plc which repeatedly served as the Reimbursing Bank on Letters of Credit for other Iranian

  banks that were financing various illegal, sanctions-evading transactions on behalf of the IRGC

  and MODAFL through the United States.

         767.    Approximately 60,000 payments related to Iran, totaling $250 billion, were

  eventually processed by Standard Chartered Bank as part of the Conspiracy.

         768.    An e-mail dated March 9, 2003, from SCB’s Head of Transactional Banking

  Solutions, UK/Europe Corporate & Institutional Banking to several of SCB’s wholesale bank

  business managers indicates that Standard Chartered Bank learned that another bank was

  “withdrawing their services” with one of its Iranian client banks “primarily for reputational risk

  reasons.”

         769.    In a memorandum accompanying the news of the aforementioned bank’s reduction

  in Iranian business entitled “Summary of the Risks/Issues to be Addressed with Regard to Iranian

  Bank USD Clearing that Require Management Direction from Middle East Senior Management

  Team,” the risks posed by additional Iranian business that might “trigger an action” from OFAC,

  “leaving SCB exposed, with potential reputational damage” were considered, but ultimately

  rejected in favor of pursuing additional Iranian business.

         770.    An October 15, 2003 e-mail from SCB’s Manager, Cash Management Services,

  London to SCB’s Product Manager, Corporate & Institutional Banking and its Head of Cash



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  Management Services, UK (forwarded to SCB’s Head of Legal & Compliance, Americas and

  Head of Legal for Corporate & Institutional Banking) outlined how the CBI was instructed to

  “send in their MT 202’s with a [SCB London’s business identifier code] as this is what we required

  them to do in the initial set up of the account. Therefore, the payments going to NY do not appear

  to NY to have come from an Iranian Bank.”

         771.    When Standard Chartered Bank anticipated that its business with the Iranian Bank

  Co-conspirators, including Defendant Bank Saderat Plc, would grow too large for SCB employees

  to manually “repair” the payment order messages for New York bound wire transfers, SCB

  automated the process by building an electronic repair system with “specific repair queues” for

  each Iranian client.

         772.    Standard Chartered Bank’s payment “Quality Operations Procedures” manual

  contained instructions on how to manually “repair” or “over-type field 52 as [SCB London]” in

  SWIFT-NET MT 202 payment message fields to hide CBI’s role as originator of the MT 202 cover

  payment transactions SCB was processing through New York in USD funds.

         773.    In October 2004, SCB consented to a formal enforcement action and executed a

  written agreement with the N.Y. State Banking Department and the Federal Reserve Board of New

  York (“FRB-NY”), which required SCB to adopt sound Bank Secrecy Act and Anti-Money

  Laundering (“BSA/AML”) practices with respect to foreign bank correspondent accounts (the

  “Written Agreement”).

         774.    The Written Agreement arose as a result of identified flaws in AML risk controls

  at Standard Chartered Bank’s New York branch and it required SCB to adopt sound AML practices

  with respect to foreign bank correspondent accounts.

         775.    The Written Agreement also required SCB to hire an independent consultant to




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  conduct a retrospective transaction review for the period of July 2002 through October 2004.

         776.    The review was intended to identify suspicious activity involving accounts or

  transactions at, by, or through Standard Chartered Bank’s New York branch.

         777.    Standard Chartered Bank failed to inform the N.Y. State Banking Department and

  the Federal Reserve Board of New York that its London and Dubai operations were secretly

  clearing hundreds of billions of dollars through Standard Chartered Bank’s New York branch at

  the same time that it was promising to reform its AML practices.

         778.    SCB also failed to inform the N.Y. State Banking Department and the Federal

  Reserve Board of New York that its London, Dubai, Bahrain, Singapore and Hong Kong

  operations were secretly helping MODAFL and the IRGC evade U.S. sanctions at a time when

  they were illegally acquiring a wide range of U.S. equipment and technologies, including

  components for IEDs and EFPs used to kill and maim Coalition Forces in Iraq.

         779.    Standard Chartered Bank retained Deloitte & Touche LLP (“Deloitte”) to conduct

  the required “independent” review and to report its findings to the regulators.

         780.    On August 30, 2005, and again on September 17, 2005, Deloitte provided Standard

  Chartered Bank confidential historical transaction review reports that Deloitte had prepared for

  two other major foreign banking clients that were under investigation for OFAC violations and

  money laundering activities.

         781.    Deloitte’s reports contained detailed and highly confidential information

  concerning foreign banks involved in illegal U.S. dollar clearing activities.

         782.    SCB then asked Deloitte to delete from its draft “independent” report any reference

  to certain types of payments that could ultimately reveal Standard Chartered Bank’s illegal Iranian-

  related practices.




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         783.    In an e-mail dated October 1, 2005, SCB’s Group Head of Legal & Compliance,

  Wholesale Bank, forwarding the Quality Operating Procedure to SCB’s Group Head of

  Compliance and Regulatory Risk, its Group Legal Advisor and its Head of Financial Crime Risk

  Systems and Monitoring, observed that “read in isolation, is clearly ... designed to hide,

  deliberately, the Iranian connection of payments.”

         784.    A few days later, in an e-mail dated October 8, 2005, Deloitte’s Global Leader of

  Anti-Money Laundering/Trade Sanctions Division wrote to SCB’s Head of Compliance, that

  Deloitte had “agreed” to accede to Standard Chartered Bank’s request that Deloitte delete from its

  draft “independent” report any reference to certain types of payments that could ultimately reveal

  Standard Chartered Bank’s illegal Iranian U-Turn practices because “this is too much and too

  politically sensitive for both SCB and Deloitte. That is why I drafted the watered-down version.”

         785.    In a December 1, 2005 internal memorandum entitled “Project Gazelle,” SCB’s

  Group Head of Compliance and Regulatory Risk and its CEO in the United Arab Emirates wrote

  to SCB’s Group Executive Director for Risk and its Group Head of Global Markets,

  acknowledging that Standard Chartered Bank repair procedures for U-Turn exemption transactions

  did “not provide assurance that it does not relate to a prohibited transaction, and therefore SCB

  NY is exposed to the risk of a breach of sanctions.”

         786.    A February 23, 2006 internal memorandum entitled “Iranian Business” sent from

  Standard Chartered Bank’s General Counsel to SCB’s Audit and Risk Committee confirmed

  SCB’s continued recognition that the Conspiracy was expressly designed to enable Iran and the

  Iranian Bank Co-conspirators (including Defendant Bank Saderat Plc) to evade U.S. detection of

  their transactions and confirmed that “certain US$ clearing transactions handled in London were

  processed with the name of the Iranian Bank excluded or removed from the ‘remitter field’” despite




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  the “requirement that due diligence in respect of ‘U-turn’ payments should be undertaken by our

  office in New York.”

         787.    In September 2006, New York State regulators requested that SCB provide them

  with statistics on Iranian U-Turns SCB handled, including the number and dollar volume of such

  transactions for a 12-month period.

         788.    In response, SCB searched its records for 2005 and 2006.

         789.    In a September 26, 2006 email from SCB’s Project Manager for the Lookback

  Review to SCB’s Head of Cash Management Services (2002-2005) and Head of Compliance

  (2005-2007) at Standard Chartered Bank’s New York branch, SCB’s Head of Operations and Head

  of Cash SCB identified 2,626 transactions totaling over $16 billion (for Iranian banks).

         790.    Faced with the prospect of disclosing billions of dollars in Iranian transactions,

  Standard Chartered Bank’s New York branch’s Head of Compliance was directed by his superiors

  at SCB to provide instead only four days of U-Turn data to regulators; these four days were

  masquerading as a log covering two-years of transaction data.

         791.    In October 2006, the CEO for SCB’s U.S. Operations e-mailed the SCB Group

  Executive Director in London:

                 Firstly, we believe [the Iranian business] needs urgent reviewing at the Group level
                 to evaluate if its returns and strategic benefits are . . . still commensurate with the
                 potential to cause very serious or even catastrophic reputational damage to the
                 Group. Secondly, there is equally importantly potential of risk of subjecting
                 management in US and London (e.g. you and I) and elsewhere to personal
                 reputational damages and/or serious criminal liability.

         792.    SCB’s Group Executive Director responded (as quoted by a Standard Chartered

  Bank’s New York branch officer): “You f---ing Americans. Who are you to tell us, the rest of the

  world, that we’re not going to deal with Iranians.”

         793.    In 2007, SCB successfully convinced the N.Y. State Banking Department and



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  FRBNY to lift their consent order on SCB based on the watered down D&T report and its other

  fraudulent disclosures.

         794.    As noted above, from approximately January 2001 through 2007, SCB transferred

  at least $250 billion through Standard Chartered Bank’s New York branch on behalf of the Iranian

  Bank Co-conspirators, including Bank Melli Iran and the CBI, as well as Defendant Bank Saderat

  Plc.

         795.    Standard Chartered Bank’s New York branch processed approximately 60,000

  wire transfers on behalf of the Iranian Bank Co-conspirators, with roughly half the transactions

  originating with SCB’s London office, and the other half with SCB’s branch in Dubai, UAE.

         796.    In early 2009, after being contacted by U.S. law enforcement authorities, SCB

  conducted yet another “internal investigation” into its OFAC sanctions screening procedures,

  business practices and technology.

         797.    Nonetheless, Standard Chartered Bank’s New York branch was the conduit for at

  least 50 post-U.S. designation transactions on behalf of IRISL and its various front companies

  through June 2010.

         798.    As of 2011, however, even after its internal investigation and open law enforcement

  investigations commenced in the U.S., the New York State Banking Department still found that

  Standard Chartered Bank’s New York branch had:

         a.      No documented evidence of investigation before the release of funds for
                 transactions with parties whose names matched the OFAC-sanctioned list; and

         b.      Outsourced Standard Chartered Bank’s New York branch’s entire OFAC
                 compliance process to Chennai, India, with no evidence of any oversight or
                 communication between the Chennai and Standard Chartered Bank’s New York
                 branch.




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                 2.      SCB Facilitated Transactions On Behalf of MODAFL, Mahan Air and
                         Other Instrumentalities of Iranian State-Sponsored Terror (Including
                         a Hezbollah Affiliated Entity) in Furtherance of Numerous Violations
                         of the U.S. Trade Embargo, Thereby Substantially Contributing to the
                         Plaintiffs’ Injuries.

         799.    From at least 2001 to 2007, SCB illegally facilitated more than 1,300 Letters of

  Credit through stripping or cover payment methods that purposefully concealed the participation

  of Iranian counterparties in the transactions.38

         800.    Many of those LCs were issued for the benefit of Iran’s military / terror apparatus,

  facilitating and financing the IRGC’s, MODAFL’s and Hezbollah’s illegal acquisitions of

  materials and technologies, including materials unlawfully obtained from the United States and

  components for IEDs and EFPs used against Coalition Forces in Iraq.

         801.    SCB knowingly facilitated and financed the illegal export to Iran of U.S.-

  manufactured, export-controlled defense and dual-use products worth tens of millions of dollars.

  These were acquired by various Iranian-controlled front companies on behalf of, inter alia, the

  following entities:

                 a.      Mahan Air;

                 b.      Four MODAFL subsidiaries: the AIO, the IACI, the IHRSC, and HESA;

                 c.      The Iran Power Development Company (“IPDC”), MAPNA and Zener
                         Electronics Services (an agent of Hezbollah);

                 d.      The National Iranian Oil Company (“NIOC”) and several of its subsidiaries;
                         and

                 e.      Khoram Sanat Producing Co. – Iran.

         802.    None of these aforementioned entities is (or was) a legitimate agency, operation, or

  program of the Iranian government.


  38
           A more accurate accounting would probably exceed 9,000 trade-finance and Eurodollar payment
  transactions.


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          803.    On the contrary, Mahan Air is an SDGT that, according to the U.S. government,

  (1) “facilitated the covert travel of suspected IRGC-QF officers into and out of Iraq;” (2)

  “facilitated IRGC-QF arms shipments”; and (3) “transported personnel, weapons and goods on

  behalf of Hezbollah. [sic]”

          804.    Mahan Air was also later identified as the conduit to Iran of thousands of radio

  frequency modules recovered by Coalition Forces in Iraq from IED devices that were used to

  target, kill and maim U.S. and Coalition Forces.

          805.    Similarly, MODAFL is the principal procurement arm of Iran’s military and terror

  apparatus.

          806.    The Mapna group is also a key component of MODAFL and the IRGC’s

  procurement chain.

          807.    Abbas Aliaabadi, Chairman of Mapna International FZE and President of the

  Mapna Group, is a former member of the Iranian Ministry of Construction Jihad and of the Iranian

  Air Force. Aliaabadi was also a key member of the Ministry of Culture & Islamic Guidance

  instrumental in the creation of Hezbollah and has close links to the IRGC.

          808.    During the relevant time period, the National Iranian Oil Company was not only

  controlled by the IRGC but also served as the lifeblood of the Iranian regime’s illicit financing

  activities, providing it with access to billions of dollars in oil and natural gas revenues that enabled

  the IRGC to gain access (through the Conspiracy) to the global financial system.

          809.    Standard Chartered Bank knowingly conspired with Iran to facilitate illicit trade for

  all of these entities in violation of U.S. law, thereby substantially assisting Iran in its criminal (and

  specifically terrorist) conduct in Iraq. The foreseeable consequence of that assistance was to enable




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  Iran, the IRGC and Hezbollah to kill or wound, or try to kill, or conspire to kill more Americans

  in Iraq.

             810.    At all relevant times, SCB was fully aware of both the Iran Trade Regulations and

  the Export Administration Regulations, the U.S. State Department’s United States Munitions List

  (“USML”) and their many restrictions.

                          a. Standard Chartered Knowingly Provided Illegal Financing to Mahan
                             Air.

             811.    Between 2000 and 2006, Standard Chartered Bank facilitated LCs for the benefit

  of Mahan Air totaling more than $120 million.

             812.    As noted above, the Treasury Department designated Mahan Air in 2011, finding

  that:

                     Mahan Air also facilitated the covert travel of suspected IRGC-QF officers
                     into and out of Iraq by bypassing normal security procedures and not
                     including information on flight manifests to eliminate records of the IRGC-
                     QF travel.

                     Mahan Air crews have facilitated IRGC-QF arms shipments. Funds were
                     also transferred via Mahan Air for the procurement of controlled goods by
                     the IRGC-QF.

                     In addition to the reasons for which Mahan Air is being designated today,
                     Mahan Air also provides transportation services to Hezbollah [sic], a
                     Lebanon-based designated Foreign Terrorist Organization. Mahan Air has
                     transported personnel, weapons and goods on behalf of Hezbollah [sic] and
                     omitted from Mahan Air cargo manifests secret weapons shipments bound
                     for Hezbollah [sic].

             813.    Mahan Air also transported to Iran thousands of radio frequency modules illegally

  imported by OPTO Electronics in Singapore, NEL Electronics PTE Ltd. and Corezing

  International PTE Ltd. from the United States.39




  39
             See, Superseding Indictment in U.S. v. Larijani at: https://www.justice.gov/opa/file/837996/download.


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          814.     These modules were recovered by Coalition Forces in Iraq from IED devices that

  were used to target U.S. and Coalition Forces.

          815.     The modules had encryption capabilities and a particularly long range that allowed

  Special Groups operatives to operate them across significant distances.

          816.     In 2008, Mahan Air transported the IED components from Singapore and Thailand

  to Tehran, Iran.

          817.     Under Secretary of Commerce Eric L. Hirschhorn described this supply chain as

  “egregious conduct by… foreign companies and individuals who have endangered the lives of

  U.S. and coalition forces in Iraq.”

          818.     Five LCs facilitated by Standard Chartered Bank listed Mahan Air as the

  “Applicant” and involved the illegal acquisition of materials ranging from aviation parts to a U.S.

  shipment of an Airbus A320.

          819.     The Issuing Banks for the LC included Defendant Bank Saderat Plc, Bank Melli

  Iran and Bank Sepah.

          820.     SCB’s New York branch served as the clearing bank for these LCs.

          821.     Furthermore, in another transaction, Mahan Air was the listed Beneficiary of a $21

  million dollar LC facilitating the leasing of several second-hand Airbus A320s from Europe.40

          822.     In facilitating these trade-finance transactions, often for explicitly “Non-EAR 99”

  goods of U.S. origin – i.e. products on the Commerce Control List, Standard Chartered Bank knew

  that it was (1) working with Iranian banks, (2) concealing the Iranian connection to the trade-




  40
          Mahan Air was the target of a Temporary Denial Order (“TDO”) by the U.S. Department of Commerce in
  March 2008 for, inter alia, “knowingly re-exporting to Iran three US-origin aircraft, specifically Boeing 747.” The
  Bureau of Industry and Security’s TDO was renewed subsequently several times.


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  finance and Eurodollar transactions and (3) facilitating the unlawful delivery of these U.S. export

  controlled parts or products to Iranian entities in Iran.

            823.   For at least two transactions facilitated on behalf of Mahan Air (including one for

  export controlled goods of entirely U.S. origin), Credit Suisse in Zurich facilitated the payment on

  the LC to Standard Chartered Bank, Dubai, and on at least one of those transactions, the payment

  was routed by Credit Suisse in Zurich through New York on behalf of Bank Melli in the UAE with

  the transaction being cleared and settled in USD funds by Standard Chartered Bank’s New York

  branch.

            824.   On one occasion, Mahan Air purchased an Airbus (aircraft) using Blue Sky

  Aviation as its intermediary. Standard Chartered Bank, Dubai provided the nearly $30 million to

  Blue Sky for the purchase, and Bank Sepah (Iran) guaranteed the payment through a re-payment

  made by Credit Suisse on its behalf in 2006.

            825.   The front companies listed as beneficiaries of the LCs facilitated by Standard

  Chartered Bank included Sirjanco Trading LLC (“Sirjanco”) and Blue Sky Aviation Co FZE

  (“BSA FZE” or “BSA”), both later designated by the U.S. Treasury as SDGTs, in part, because of

  the illegal sanctions evading conduct facilitated and enabled by Standard Chartered.

            826.   Hamidreza Malekouti Pour served simultaneously as the Regional Manager for

  Mahan Air in the UAE, and Managing Director of Sirjanco and BSA FZE – effectively

  demonstrating how these companies are all part of the same IRGC supply chain. Pour has also

  been designated as an SDGT for, inter alia, supplying equipment to the IRGC-QF.




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          827.     When designated by the U.S. Treasury Department in 2013 as a Specially

  Designated Global Terrorist,41 Sirjanco was described as “a United Arab Emirates-based company

  designated pursuant to E.O. 13224 for acting for or on behalf of Mahan Air.

          828.     Sirjanco was established specifically to serve as a financial front for Mahan Air.

  Sirjanco has also served as a front for Mahan Air’s acquisition of aircraft. Additionally, Iran’s

  IRGC-QF has used Sirjanco to procure sanctioned goods.”

          829.     A 2005 LC facilitated by Standard Chartered Bank listed Mahan as the Applicant,

  and Sirjanco as the beneficiary, for a total of $32,500,000.

          830.     Bank Melli financed the payment through Credit Suisse, which sent the payment

  order through New York (clearing and settling in USD funds through Standard Chartered Bank’s

  New York branch).

          831.     The payment was made by Standard Chartered Bank, Dubai to Sirjanco’s account

  with Bank Saderat, Dubai.

          832.     At least two other LCs facilitated by Standard Chartered Bank listed Mahan Air as

  the Applicant, and Blue Sky Aviation as the Beneficiary, for a total of over $60,000,000.42 All

  told, between 2000 and 2006, Standard Chartered Bank facilitated at least 11 LCs for the “Blue

  Sky Group” for a total of more than $125 million.

          833.     When the U.S. Treasury Department designated Blue Sky Aviation in 2014, it

  described it as “a UAE-based company that is owned or controlled by Mahan Air and acts for or

  on behalf of the airline.




  41
          Sirjanco was previously the target of a Temporary Denial Order by the U.S. Department of Commerce in
  2011.
  42
         Plaintiffs’ estimates are based on only one Promontory report. SCB’s historical relationship with the Blue
  Sky Group was the subject of a separate Promontory Report not (yet) available.


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         834.    BSA FZE’s primary function has been to serve as a payment channel for Mahan

  Air to obscure the origination of funds. Mahan Air has used BSA to make payments to oil

  suppliers, and purchase aircraft, engines, and parts.”

         835.    In sum, Standard Chartered Bank was vital to Mahan Air’s continued operations

  and its ability to facilitate travel by IRGC-QF officers and arms shipments in and out of Iraq,

  transport IED technologies into Iraq as well as transit personnel, weapons and goods on behalf of

  Hezbollah, which helped facilitate terrorist attacks in Iraq during the relevant time period.

         836.    While neither Mahan Air nor Blue Sky Aviation was designated as a terrorist at the

  time the LCs identified above were financed, Standard Chartered Bank engaged in criminal

  conduct in furtherance of the Conspiracy in order to aid these IRGC supply chain entities to evade

  U.S. sanctions knowing that its own conduct was illegal.

         837.    At the time it agreed to engage in overt acts in furtherance of the Conspiracy,

  Standard Chartered Bank knew that: (1) Iran was a U.S.-designated State Sponsor of Terrorism;

  (2) the U.S. had imposed strict sanctions and export controls on Iran and Iranian trade; (3) Mahan

  Air was seeking to illegally acquire U.S. export controlled defense and dual-use materials; and (4)

  Mahan Air was using front companies to do so.

         838.    In sum, Standard Chartered Bank affirmatively chose to facilitate Iran’s illegal

  conduct and provide material support to its terror apparatus, including Mahan Air, Blue Sky

  Aviation and Sirjanco. All of these entities were later designated as SDGTs in part because of the

  types of trade-finance and Eurodollar transactions facilitated by Standard Chartered Bank.

                     b. Standard Chartered Knowingly Provided Illegal Financing to
                        MODAFL Companies: AIO, IACI, IHRSC and HESA.

         839.    Iran’s Ministry of Defense and Armed Forces Logistics (MODAFL) operates the

  [Iran] Aviation Industries Organization (IAIO), the Aerospace Industries Organization (AIO) and



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  the Defense Industries Organization (DIO). MODAFL was designated by the United States on

  October 25, 2007.43

             840.   The AIO was designated on June 28, 2005 for weapons proliferation. Standard

  Chartered Bank knowingly provided financing for both the AIO directly, and for 3 major sub-

  agencies of MODAFL’s IAIO: the Iran Aircraft Industries (“IACI”)44 a/k/a SAHA, the Iran

  Helicopter Support and Renewal Company (“IHSRC”) a/k/a PANHA, and the Iran Aircraft

  Manufacturing Industrial Company (“IAMI” a/k/a “HESA”). Support for any of these entities, as

  sub-agencies of MODAFL and the IAIO, was not for legitimate agencies, operations or programs

  of Iran.




  43
           MODAFL was also sanctioned, pursuant to the Arms Export Control Act and the Export Administration Act,
  in November 2000.
  44
           IACI was also formerly listed by the European Union on July 26, 2010, and described as an entity that
  “[m]anufactures, repairs, and conducts overhauls of airplanes and aircraft engines and procures aviation-related parts
  often of US-origin typically via foreign intermediaries. IACI and its subsidiaries also have been detected using a
  worldwide network of brokers seeking to procure aviation-related goods.” IACI was also formerly sanctioned by
  Switzerland, Norway, Japan, Australia, Canada, and the UK. It was designated by the United States in 2013.


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                             i. SCB Trade-Finance Transactions with MODAFL’s Aerospace
                                Industries Organization (AIO)

           841.     In 2002, Standard Chartered Bank facilitated an LC for MODAFL’s Aerospace

  Industries Organization that cleared through SCB’s New York branch valued at $57,662 USD for

  the illegal purchase of U.S. export controlled goods.45

           842.     That transaction was not for the benefit of any legitimate agencies, operations or

  programs of Iran.

                             ii. SCB Trade-Finance Transactions with MODAFL’s [Iran] Aviation
                                 Industries Organization (IAIO)

           843.     On numerous additional occasions, Standard Chartered Bank illegally facilitated

  trade-finance and Eurodollar transactions on behalf of other MODAFL sub-agencies, including

  HESA.

           844.     On September 17, 2008, the U.S. Treasury Department designated HESA,46 finding

  that it is:

                    owned or controlled by MODAFL, and also because it has provided support
                    to the Iranian Revolutionary Guard Corps (IRGC). The IRGC, which was
                    designated under Executive Order 13382 on October 25, 2007, is considered
                    to be the military vanguard of Iran and has been outspoken about its
                    willingness to proliferate ballistic missiles capable of carrying WMD.

                    HESA utilizes its own facilities for the inspection, maintenance, repair
                    overhaul research, development, and manufacture of military and civilian
                    aircraft and related military logistic systems. HESA conducts research on,
                    development of, production of, and flight operations for unmanned aerial
                    vehicles (UAVs) in Iran. The IRGC utilizes the “Ababil” UAV,
                    manufactured by HESA. HESA produces different variants of the Ababil
                    UAV, which can be used for surveillance and attack. Farasakht Industries



  45
           AIO was reportedly responsible for developing anti-tank guided weapons; artillery rocket systems; anti-tank
  missiles; precision machining and metal forming for a variety of Iranian weapons systems.
  46
            HESA was previously identified in a document distributed by the German government in July 2005, warning
  of its potentially illicit activities. It was also identified by the UK government in February 1998 as having procured
  goods and/or technology for WMD programs.


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                 is a subsidiary of HESA that specializes in the manufacturing of various
                 aerospace tools and equipment.

                             (A) SCB’s Trade-Finance Transactions with MODAFL-IAIO
                                 Front Company Downtown Trading Ltd.

         845.    Between 1998 and 2002, Standard Chartered Bank facilitated ten LCs involving a

  company based in Malaysia (and with links to a same named company registered in the U.K.),

  Downtown Trading Ltd (“Downtown Trading”).

         846.    The total value of these ten LCs involving Downtown Trading amounted to

  $1,067,575.

         847.    MODAFL-IAIO’s subsidiary Iran Aircraft Industries (“IACI”) was the Applicant

  on these LCs, i.e. the purchaser of the U.S. origin aircraft engine parts in question for seven of

  these transactions, while Downtown Trading was the reported Beneficiary.

         848.    In most or all of these transactions, primarily those for 2002, Bank Sepah (Iran)

  served as the Issuing Bank, Bank Sepah (London) served as the Reimbursing Bank, SCB Dubai

  served as the Negotiating Bank, and SCB’s New York branch helped facilitate the transactions by

  serving as the Clearing Bank.

         849.    With respect to at least four of these transactions, the U.S. aircraft parts were

  transported by Iran Air, later designated as “a commercial airline used by the IRGC and Iran’s

  Ministry of Defense and Armed Forces Logistics (MODAFL) to transport military related

  equipment…. Iran Air has provided support and services to MODAFL and the IRGC through the

  transport and/or transfer of goods for, or on behalf of, these entities.”

         850.    IACI’s illegal procurements were often financed by Bank Sepah (as the Issuing

  Bank), but Standard Chartered Bank in Dubai frequently served as the Negotiating Bank and




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  SCB’s New York branch usually served as the Clearing Bank for these same trade-finance

  transactions, in at least one case paying Citibank in New York the fund due.

           851.     Citibank then paid Maybank, Malaysia, which effected the ultimate payment to the

  Eurodollar account of Downtown Trading.

           852.     Standard Chartered Bank also facilitated similar LCs in USD funds for Downtown

  Trading after April 2005.

           853.     In facilitating these transactions – 70% of which explicitly involved export-

  controlled “Non-EAR 99” goods of U.S. origin (i.e. products on the Commerce Control List) –

  Standard Chartered Bank knew that it was: (1) working with Iranian banks; (2) concealing the

  Iranian connection to the transactions; (3) facilitating the unlawful delivery of goods on the U.S.

  Commerce Control List to Iran’s military and/or the IRGC; and (4) that these transactions were

  not for legitimate agencies, operations, or programs of Iran.

                                 (B) SCB’s Trade-Finance Transactions with MODAFL-IAIO
                                     Front Company Mac Aviation

           854.     Mac Aviation is an Irish trading company incorporated in 1993 that purported to

  engage in the purchase and sale of aircraft and helicopter parts.

           855.     The company and its owners47 were indicted in 2008 for, among other things,

  violations of the IEEPA, the ITR, and U.S. export controls.

           856.     During the relevant time period, Mac Aviation was a customer of Standard

  Chartered Bank in London.




  47
           In 1994, one of the owners of Mac Aviation, Thomas McGuinn, was convicted by a Florida court for
  exporting defense products to Iran. He pled guilty and was sentenced on April 19, 1996, to time served and 3 years of
  supervision on release. McGuinn was also barred from receiving licenses for exporting U.S. defense articles.


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         857.    According to the indictment, between June 2005 and July 2008 Mac Aviation

  solicited purchase orders from customers in Iran for U.S. origin aircraft parts and then forwarded

  these requests for the parts to U.S. companies.

         858.    The indictment further alleges that Mac Aviation wired funds to banks in the U.S.

  as payment for these parts, and concealed from U.S. sellers the ultimate end-use and Iranian end-

  users of the purchased parts.

         859.    The indictment also alleges that Mac Aviation caused the export of these parts from

  the U.S. to third countries, including Malaysia, before sending their shipments onward to Iran.

         860.    At least one of those shipments, directed by Mac Aviation in February 2006,

  resulted in a shipment to be made from a firm called Microset Systems Sdn Bhd in Kuala Lumpur,

  Malaysia, to Sasadja Moavanate Bazargani in Tehran, Iran, an alter ego of Iran’s Defense

  Industries Organization (DIO), which had been designated by Germany, the United Nations, and

  the United States as a procurer of unlawful weapons components beginning as early as 2005.

         861.    As noted above, weapons caches seized from Special Groups by Coalition Forces

  in Iraq included many 107 mm artillery rockets with closely clustered DIO lot numbers and

  production dates between 2005 and 2007, as well as rounds and fuses for 60 mm and 81 mm

  mortars with DIO lot markings and 2006 production dates.

         862.    In another example, in January 2006, police in the southern Iraqi city of Amara,

  near the Iranian border, captured seventy blocks of TNT explosives and seventy-nine blocks of

  plastic explosive, which were used by the Special Groups as components of IEDs, all with

  markings and lot numbers showing that they were produced by DIO.

         863.    In July 2010, the DOJ obtained a 27-count superseding indictment in USA v. Mac

  Aviation et al. charging the company and its officers with:




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                 purchasing F-5 fighter aircraft parts, helicopter engines and other aircraft
                 components from U.S. firms and illegally exporting them to Iran.…

                 […] Beginning as early as August 2005… through July 2008, the
                 defendants solicited purchase orders from customers in Iran for U.S.-origin
                 aircraft engines and parts and then sent requests for aircraft components to
                 U.S. companies. These parts included helicopter engines, aircraft bolts and
                 vanes, and canopy panels for the F-5 fighter aircraft. The defendants wired
                 money to banks in the U.S. as payment for these parts and concealed from
                 U.S. sellers the ultimate end-use and end-users of the purchased parts.

                 The defendants caused these parts to be exported from the U.S. to third
                 countries like Malaysia before causing them to be transshipped to Iran. […]

                 From 2005 [… to] 2006, the defendants caused canopy panels designed for
                 the F-5 fighter aircraft, valued at approximately $44,500, to be exported
                 from the U.S. to Iran. The defendants falsely stated that the end user for the
                 F-5 panels was the Republic of Nigeria. Instead, the panels were sold by the
                 defendants to Sasadja Moavanate Bazargani, in Tehran, Iran for $86,400.
                 The purchase was arranged through the Iran Aircraft Manufacturing
                 Industrial Company, known by its Iranian acronym as HESA.

         864.    According to the superseding indictment, Mac Aviation also shipped fifteen

  helicopter engines to Iran Aircraft Industrial Manufacturing Company (“HESA”).

         865.    These included ten Rolls-Royce Model 250 C-20B turboshaft engines, and five

  Rolls-Royce Model 250 C-20R2 turboshaft engines.

         866.    Rolls-Royce Model 250 engines are used on HESA’s 278 Shahed (military)

  helicopters (converted or adapted from the design of the American Bell 206B-III “Jet Ranger” and

  Bell 206L “Long Ranger” aircraft) flown by and developed for the IRGC.

         867.    Between 2001 and 2005, Standard Chartered Bank facilitated at least 21 LCs

  involving Mac Aviation for a total of close to $8 million dollars.

         868.    In each case, Mac Aviation was the nominal purchaser of the aircraft parts

  (Applicant), and the listed importer was either Iran Aircraft Industries (“IACI”), Iran Helicopter




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  Support and Renewal Industries (“IHSRC”), or Iran Aircraft Manufacturing Industrial Company

  (“HESA”).48

          869.     Most, if not all of these LCs appear to have been financed, at least in part, by: Bank

  Saderat in London (IOVB) serving as the Reimbursing Bank; Bank Refah Iran serving as the

  Issuing Bank; Standard Chartered Bank in London serving as the Advising Bank; SCB in Dubai

  serving as the Negotiating Bank; and Standard Chartered Bank’s New York branch serving as the

  Clearing Bank.

          870.     Some of the transactions were financed through the CBI’s Eurodollar credit line

  with Standard Chartered Bank.

          871.     The other transactions were financed through reimbursements in USD funds

  claimed by Standard Chartered Bank, London primarily from Defendant Bank Saderat Plc with

  funds deposited received into Standard Chartered Bank London's U.S. dollar account with

  Standard Chartered’s New York branch for further credit to the Eurodollar account of Mac

  Aviation (SCB’s customer).

          872.     Iran Air was often used to deliver the illegally procured equipment to Iran.

          873.     Notably, Bank Refah Iran was designated on February 17, 2011, by the U.S.

  Treasury Department for:

                   providing financial services to the Iranian Ministry of Defense and Armed
                   Forces Logistics (MODAFL) and the Iran Aircraft Manufacturing Industrial
                   Company (HESA). In recent years, Bank Refah has facilitated millions of
                   dollars of weapons-related purchases by MODAFL. These purchases
                   included missiles and tanks and enabled Iran’s leadership to maintain its
                   fighter jets and submarines. Bank Refah also facilitated payments from

  48
           Iran used an Iranian national named Hossein Ali Khoshnevisrad as an intermediary. Khoshnevisrad used two
  Iranian companies – Ariasa AG (Tehran) and Onakish Co. (Kish Island, Iran) – to deal directly with Mac Aviation.
  Khoshnevisrad was arrested in the U.S. in 2009 and “charged with purchasing helicopter engines and advanced aerial
  cameras for fighter bombers from U.S. firms and illegally exporting them to Iran using companies in Malaysia, Ireland
  and the Netherlands. Among the alleged recipients of these U.S. goods was ... HESA.”



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                  HESA to businesses and individuals linked to Iran’s weapons-related
                  procurement.49

          874.    Standard Chartered Bank’s financing of MODAFL’s clandestine and illegal

  acquisition of U.S. military (aircraft) spare parts did not fund or facilitate Iran’s legitimate

  agencies, operations, or programs.

          875.    Rather, Standard Chartered Bank actively participated in a criminal conspiracy to

  help Iran’s military and terror apparatus obtain critical machinery and equipment and aircraft spare

  parts it desperately needed to sustain its violent and unlawful activities.

                               (C) SCB’s Trade-Finance Transactions with MODAFL-IAIO
                                   Front Company Monarch Aviation (Singapore)

          876.    Monarch Aviation was an Iranian front company based in Singapore that was

  owned and controlled by husband and wife, Brian Douglas Woodford, a UK citizen, and Laura

  Wang-Woodford, a dual U.S. and UK citizen.

          877.    It purported to be a manufacturer, dealer, and repairer of aircrafts and related parts.

  At least during the period between 2001 and 2007, Standard Chartered Bank in Singapore (“SCB-

  Singapore) maintained accounts for Monarch Aviation, Brian Douglas Woodford, and Laura

  Wang-Woodford.

          878.    At least one Monarch Aviation account at the SCB-Singapore Battery Road branch

  was listed as account number ACU- 26-0-000106-3.

          879.    Defendant Credit Suisse’s Singapore Branch at 80 Raffles Place also maintained a

  U.S. dollar account for Monarch Aviation with the account number K0100340.01.




  49
          Standard Chartered Bank maintained correspondent accounts for Bank Refah in Bangladesh, China, Hong
  Kong, India, Indonesia, Japan, South Korea, Malaysia, Qatar, Singapore, Sri Lanka, Taiwan, Thailand and UAE.



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             880.    On January 15, 2003, Woodford and Wang-Woodford were indicted for, among

  other things, violations of the IEEPA, and U.S. export control laws.50

             881.    Laura Wang-Woodford was arrested on December 23, 2007, and later pled guilty

  to conspiring to violate the U.S. trade embargo by exporting U.S. origin aircraft components to

  Iran.

             882.    According to the Superseding Indictment, between January 1998 and December

  2007, Monarch Aviation, Jungda International Pte Ltd. (a Singapore based successor to Monarch

  Aviation), Brian Douglas Woodford and his wife, Laura Wang-Woodford, exported U.S. aircraft

  parts to Singapore and Malaysia, and then re-exported those items to companies in Tehran, Iran,

  without obtaining the required U.S. government licenses, while falsely listing their companies as

  the ultimate recipients of the parts on export documents filed with the U.S. government.

             883.    Specifically, according to the Superseding Indictment and the U.S. Justice

  Department’s Sentencing Recommendation, the funds transferred by Monarch Aviation paid for

  Boeing CH-47 (“Chinook”) helicopter parts, including vane assemblies and bevel gears that were

  listed under category VIII on the United States Munitions List (“USML”) and illegally exported

  to Iran.

             884.    The vane assemblies, part number 2-080-090-02 and national stock number

  (“NSN”)51 2840-01-022-7142, and bevel gears, part number 2-080-013-03 and NSN 3020-00-860-




  50
             A Superseding Indictment was returned on May 22, 2008.

  51
           The U.S. National Stock Number (NSN) is a unique thirteen-digit numerical identifier assigned to each part
  used by the U.S. Department of Defense (DOD). The NSN system is managed by DOD’s Defense Logistics Agency
  (“DLA”). The DLA system of NSNs was mandated by the 1952 Defense Cataloging and Standardization Act (Pub L
  No 82-436).



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  7419, were manufactured by Honeywell International Inc., commercial and government entity

  (“CAGE”)52 code 99193, in Phoenix, Arizona.

          885.     These export controlled, U.S. manufactured helicopter parts were used in Iran’s

  fleet of Boeing CH-47 Chinook heavy-lift utility helicopters that were refurbished by HESA.

          886.     Iran’s CH-47 helicopters are operated by the Islamic Republic of Iran Army

  Aviation (“IRIAA”) and the Islamic Republic of Iran Air Force (“IRIAF”).

          887.     The Superseding Indictment also listed the following parts, inter alia, that were

  illegally exported to Iran by Monarch Aviation: o-rings, shear bolts, bushings, and rotary wing

  shields.

          888.     The o-rings, identified by part numbers S6135-20059-102 (NSN 5331-01-270-

  1765) and S6135-20059-106 (NSN 5331-01-270-1766), were manufactured by Sikorsky Aircraft

  Corporation (CAGE code 78266) in Stamford, Connecticut.

          889.     These export controlled, U.S. manufactured parts were used in Iran’s fleet of

  Sikorsky SH-3D (“Sea King”) medium-lift utility/anti-submarine warfare helicopters that were

  refurbished by Iran HESA.

          890.     Iran’s SH-3D helicopters are operated by the Islamic Republic of Iran Navy

  Aviation (“IRINA”).

          891.     The following parts were manufactured by Bell Helicopter Textron, Inc. (CAGE

  code 97499) in Fort Worth, Texas:

                   a.       Shear bolts, identified by part number NAS625-44 (NSN 5306-00-
                            924-6261);




  52
             The CAGE code is a unique identifier assigned to, inter alia, U.S. defense contractors and DOD maintenance
  facilities. The CAGE code provides a standardized method of identifying a given government or defense contractor
  facility at a specific location.


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                 b.      Bushings, identified by part number 205-030-477-11 (NSN 1560-
                         00-413-1492); and

                 c.      Rotary-wing shields, identified by part number 204-012-118-1
                         (NSN 1615-00-865-7914).

         892.    These export controlled, U.S. manufactured parts were used in the following

  Iranian rotary-wing aircraft:

                 a.      Bell AH-1J (“Cobra”) air-assault helicopters (refurbished by
                         HESA);

                 b.      Bell UH-1 (“Iroquois”) utility transport helicopters (refurbished by
                         HESA);

                 c.      Iranian Helicopter Support and Renewal Company (“PAHNA”)
                         2091 (“Toufan”) air-assault helicopters (the PAHNA 2091 is an
                         Iranian remanufactured version of the Bell AH-1J helicopter); and

                 d.      PAHNA 2-75 (“Shabaviz”) utility transport helicopters (the
                         PAHNA 2-75 is an Iranian remanufactured version of the Bell UH-
                         1 helicopter).

         893.    Iran’s fleet of Bell AH-1J, Bell UH-1, PAHNA 2091 and PAHNA 2-75 helicopters

  are operated by the Iranian Revolutionary Guard Corps Air Force (“IRGC-AF”) and IRIAA.

         894.    From 1998 to 2005 (and likely thereafter), Standard Chartered facilitated at least

  10 LCs financed by the CBI and Bank Refah with a total value of more than $1.5 million dollars

  involving the shipment of U.S. origin aircraft parts sold by Monarch Aviation to MODAFL’s sub-

  agencies Iran Aircraft Industries (“IACI”), Iran Helicopter Support and Renewal Co. (“IHSRC”),

  and HESA.

         895.    Defendant Bank Saderat Plc served as the Reimbursing Bank on most, if not all, of

  these transactions, which cleared through Standard Chartered Bank’s New York branch on their

  way to Monarch Aviation’s accounts at Standard Chartered in Singapore.



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          896.     The aircraft parts were transported by Iran Air from Kuala Lumpur Airport,

  Malaysia, to Tehran Airport, Iran.

          897.     SCB in Dubai served as the Negotiating Bank, and funds from the financing were

  paid to Monarch Aviation’s account with Standard Chartered Bank, Singapore through SCB

  Singapore’s account with Standard Chartered, London, which in turn received the funds into its

  U.S. Dollar nostro account with Standard Chartered’s New York branch from Standard Chartered

  Bank - Bahrain's Offshore Booking Unit (“OBU”).53

          898.     In sum, various overseas branches of Standard Chartered Bank conspired with

  multiple MODAFL sub-agencies and Monarch Aviation, and used Standard Chartered’s New

  York branch to both assist Iran’s military in illegally acquiring contraband U.S. goods and to

  illegally disguise the illicit financing of those acquisitions through the Standard Chartered Bank’s

  New York accounts.54

          899.     Standard Chartered Bank facilitated at least 316 additional transactions totaling

  $12,110,565 in USD funds that involved Monarch Aviation at its accounts at SCB in Singapore.

  Dozens of those transactions post-date Woodford and Wang-Woodford’s 2003 indictment.

          900.     Standard Chartered Bank’s financing of MODAFL’s clandestine and illegal

  acquisition of U.S. military spare parts through Monarch Aviation did not fund or facilitate Iran’s

  legitimate agencies, operations, or programs. Rather, Standard Chartered Bank actively

  participated in a criminal conspiracy to help Iran’s military and terror apparatus obtain critical




  53
          SCB, Bahrain’s Offshore Booking Unit sent proceeds of the Eurodollar loan as payment of Letter of Credit
  through SCB’s New York branch to credit SCB London’s USD account in New York for further payment to SCB
  Singapore.
  54
          SCB, Singapore presented documents under Bank Refah Letter of Credit to SCB, Dubai (the Negotiating
  Bank) for negotiation and payment in USD funds through SCB’s New York branch.


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  machinery and (aircraft) spare parts it desperately needed to sustain its violent and unlawful

  activities.

                                 (D) SCB’s Trade Finance Transactions with MODAFL-IAIO
                                     Front Company Jetpower Industrial Ltd (Hong Kong)

          901.     Jetpower Industrial Ltd (“Jetpower”) was a Hong-Kong based Iranian front

  company purporting to be a trading company in aircraft parts controlled by Hok Shek Chan, a/k/a

  John Chan.

          902.     In 2011, Chan was sentenced to 42 months for conspiring to illegally export, and

  attempting to illegally export, 10 indicators, used in C-130 military flight simulators, in violation

  of the Arms Export Control Act.

          903.     According to the U.S. Department of Justice:

                   In 1993, Chan’s company, Jetpower Industrial, was convicted in Hong
                   Kong of export violations related to his export of U.S. military parts to Iran.
                   Chan then changed his business practices to avoid detection. Rather than
                   shipping U.S. origin goods directly from Hong Kong to Iran, Chan set up a
                   sophisticated procurement network involving front companies and an
                   experienced freight forwarder in Malaysia. Using his network, the
                   defendant was engaged in the illegal procurement and export of aircraft
                   parts from the U.S. for customers located in Iran, including several military
                   related entities in Iran such as the Iranian Air Force, in direct violation of
                   the U.S. Embargo against Iran since 1997.

          904.     In fact, according to U.S. officials, Jetpower repeatedly and illicitly exported arms

  to Iran prior to Mr. Chan’s arrest and conviction.55

          905.     At all relevant times, Jetpower was a customer of Bank Melli in Hong Kong.

          906.     The full scope of Standard Chartered Bank’s involvement with and facilitation of

  Jetpower was extensive (involving at least dozens of transactions) but not yet fully known.



  55
           At least one Jetpower shipment was seized by UAE officials in 2007 along with several other containers that
  U.S. officials feared might contain parts or materials that could be used in manufacturing IEDs and EFPs. Bank Mellat
  financed the transaction, and—according to the LC supporting documentation—the goods were consigned to HESA.


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           907.   Illegal payments totaling close to $3 million dollars have specifically been

  identified, but the totals could be much higher.

           908.   What is clear is that Standard Chartered Bank repeatedly and knowingly facilitated

  the illegal shipment of U.S. origin aircraft parts sold by Jetpower to one of MODAFL’s sub-

  agencies (IHSRC), and that Jetpower was a significant link in Iran’s illegal weapons procurement

  chain.

           909.   For example, in 2001-2002, Bank Refah (the Issuing Bank) issued a LC to

  MODAFL’s sub-agency IHSRC that was to be reimbursed by Bank Saderat Plc (known then as

  Iran Overseas Investment Bank), then amended the LC to be available with SCB-Dubai. Standard

  Chartered Bank’s branches in New York, Singapore and Hong Kong were all instrumental in

  enabling Jetpower’s receipt of payments at its Eurodollar account(s) with Bank Melli in Hong

  Kong.

           910.   When Jetpower transported the contraband goods (U.S. helicopter parts) to

  MODAFL (using Iran Air), it asked Bank Melli in Hong Kong to present the documents required

  under the LC for payment to Standard Chartered Bank Dubai.

           911.   However, in many instances, Standard Chartered Bank Dubai took at least four

  extra steps before Bank Melli in Hong Kong received the Eurodollar payment for Jetpower.

           912.   Upon acceptance of the documents from Bank Melli, Standard Chartered Bank

  Dubai used the CBI’s Eurodollar credit facility with Standard Chartered Bank Dubai and sent

  instructions for a Eurodollar loan to be issued by Standard Chartered Bank, Bahrain.

           913.   Standard Chartered Bank, Bahrain booked the loan and sent the proceeds in USD

  funds as payment under the Letter of Credit through Standard Chartered Bank’s New York branch




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  to National Westminster Bank’s New York correspondent account for further credit to National

  Westminster, London for the Eurodollar account of its customer, Bank Melli, London.

         914.    Standard Chartered Bank, Dubai then sent instructions to Bank Melli, London to

  pay Bank Melli, Hong Kong upon receipt of USD funds.

         915.    Variations on this process were undertaken on multiple LCs in USD funds for the

  benefit of MODAFL’s sub-agency.

         916.    In these cases, Standard Chartered Bank, Bahrain knowingly cleared U.S. dollars

  through Standard Chartered’s New York branch for the illegal trade-finance transactions by

  repackaging the payments on the LCs as loans that secretly routed through the U.S. to Bank Melli

  Iran through various British banks.

         917.    Jetpower, in most cases, ultimately received payment in USD funds to its

  Eurodollar bank account with Bank Melli Plc’s branch in Hong Kong for these illicit transactions

  with IHSRC.

         918.    According to BIS-Basel and the Hong Kong Monetary Authority (“HKMA”),56 all

  USD transfers from SCB-Hong Kong to Jetpower’s account with Bank Melli Plc’s Hong Kong

  branch were cleared by the Hong Kong Clearing House Automated Transfer System, and settled

  by HSBC’s Hong Kong subsidiary.

         919.    None of this illegal conduct was undertaken for the benefit of a legitimate agency,

  operation or program of Iran.

                         c. SCB’s Trade-Finance Transactions Iran Power Development
                            Company (“IPDC”), MAPNA and Zener Electronics Services (an
                            Agent of Hezbollah)

         920.    The Iran Power Development Company (“IPDC”), an Iranian government-



  56
         HKMA is the de facto central bank of Hong Kong.


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  controlled entity, has worked extensively for years with a network of Iranian companies known as

  the Mapna Group.57

          921.     Mapna International FZE is a UAE-based subsidiary. One of its directors, Mousa

  Refan, previously served as the first commander of the Air Force of the “Army of the Guardians

  of the Islamic Revolution [IRGC].”58

          922.     Another director, Afshin Rezaei, pled guilty in the U.S. District Court for the

  Northern District of Georgia on April 24, 2008, to:

                   one count of violating the IEEPA for the unlicensed export of computers to
                   Iran via the United Arab Emirates. The computers were controlled for anti-
                   terrorism reasons. On May 15, 2008, Rezaei was sentenced to six months
                   of prison (credit for time served), followed by three years of supervised
                   release, and agreed to forfeit $50,000. On February 18, 2010, a 10-year
                   denial of export privileges was imposed on Rezaei, pursuant to Section
                   11(h) of the EAA.

          923.     During the relevant time period, Mapna International maintained a Eurodollar

  account with Standard Chartered Bank, Dubai.59

          924.     Between 2001 and 2007, Standard Chartered Bank facilitated at least 280 Letters

  of Credit involving Mapna International FZE (as Beneficiary). In most cases, SCB, Dubai acted

  as the Advising Bank on these transactions.




  57
           The Mapna Group lists on its website 41 subsidiaries, some of which were listed by the British government
  in 2011 as entities of concern for Weapons of Mass Destruction-related procurement.
  58
           As noted above, Abbas Aliaabadi, Mapna International FZE’s chairman, is a former member of the Iranian
  Ministry of Construction Jihad and of the Iranian Air Force and former member of the Ministry of Culture & Islamic
  Guidance, instrumental in the creation of Hezbollah and with close links to the IRGC.
  59
          Mapna’s subsidiary, Mobin Petrochemicals, was added to the SDN list on June 16, 2010 (and removed from
  the SDN list in January 2016 as part of the Joint Comprehensive Plan of Action). During the relevant time period, it
  maintained a USD account with HSBC.


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           925.     At least nine Letters of Credit involved Standard Chartered Bank’s New York

  branch serving as the Clearing Bank for the transactions, and in some cases, SCB-London served

  as the Reimbursing Bank.

           926.     Standard Chartered Bank facilitated at least 7 LCs – totaling $1,384,972 in USD

  funds – that involved the illegal shipment of U.S. origin goods to the Iran Power Development

  Company.

           927.     The CBI served as the Issuing Bank on several of these LCs, and six of those seven

  involved goods shipped by IRISL.

           928.     Of particular note, between 2003 and 2004, Standard Chartered Bank knowingly

  facilitated at least four unlawful USD funds transfer transactions (cleared through its New York

  branch) that involved Eurodollar payments to Zener Electronics (UAE), a procurement company

  for Hezbollah.60

           929.     The IPDC was listed as the Applicant for these transactions, and Mapna was

  identified as the 1st Beneficiary, but assigned the payments under the Letters of Credit to Zener

  Electronics (UAE) as a “2nd Beneficiary.”

           930.     Each unlawful trade-finance transaction involved U.S. goods.

           931.     The Central Bank of Iran acted as the Issuing Bank on at least two of the

  transactions and SCB, Dubai acted as the Advising and Negotiating Bank.61




  60
            In June 2014, the U.S. Commerce Department identified Zener Electronics as “involved in activities contrary
  to the national security and foreign policy interests of the United States, specifically the activities described under
  paragraph (b)(1) (Supporting persons engaged in acts of terror) of § 744.11 of the EAR” and noted its attempts “to
  procure U.S. technology on behalf of persons involved in activities contrary to the national security and foreign policy
  interests of the United States. Specifically, these persons have been involved in supplying U.S.-origin items to persons
  designated by the Secretary of State as Foreign Terrorist Organizations without the required authorizations.”
  61
           On at least one occasion, SCB London also served as the Reimbursing Bank.


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         932.    On at least one occasion, SCB-London served as the Reimbursing Bank for the

  payment to Zener Electronics, sending the credit through its New York branch to SCB Dubai’s

  account with Standard Chartered in New York.

         933.    Upon receipt of the funds to its USD account with SCB in New York, Standard

  Chartered Bank, Dubai instructed Standard Chartered Bank’s New York branch to forward the

  funds to JP Morgan Chase in New York, which held an account for the Commercial Bank of Dubai.

         934.    The Commercial Bank of Dubai, in turn, credited the account of its customer, Zener

  Electronics.

         935.    These illicit transfers on behalf of Mapna resulted in payments to Zener Electronics

  (a key link in Hezbollah’s illicit supply chain) and were not for the benefit of a legitimate agency,

  operation or program of Iran. In a Superseding Indictment filed in federal court on March 30, 2016,

  Mapna was again implicated in the Conspiracy.62

         936.    This time, DOJ charged multiple individuals with covert transactions in 2011

  through a U.S. bank, wherein Mapna’s name was omitted from the transaction to hide its identity

  as a counterparty.

                          d. SCB’s Trade-Finance Transactions with National Iranian Oil
                             Company (NIOC) Subsidiaries

         937.    The Iranian Helicopter Aviation Company, Ahwaz Pipe Mill Co. and Kala Naft63

  are all subsidiaries of NIOC, which (as noted supra) was controlled by the IRGC during the

  relevant time period.




  62
         See, U.S. v. Zarrab filed in the S.D.N.Y (1:15-cr-00867).
  63
         Kala Naft was designated by the United States in 2010.


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          938.     Between 1999 and 2001, Standard Chartered Bank knowingly facilitated two illegal

  transactions totaling $750,744 on behalf of the Iranian Helicopter Aviation Company (listed as the

  Applicant).

          939.     The Beneficiary listed on both LCs was Limo Sarl. The goods involved in these

  transactions were U.S. origin helicopter parts.

          940.     Payments for both transactions were cleared through Standard Chartered Bank’s

  New York branch, and refinanced under the CBI’s Eurodollar credit facility with Standard

  Chartered Bank, Dubai.

          941.     The Paris-based Limo Sarl was directed by a Ms. Laleh Moein, reported to have

  also been in the employ of Iran’s Ministry of Intelligence and Security (“MOIS”).64

          942.     Between 2002 and 2004, SCB knowingly facilitated four (4) illegal transactions

  totaling $611,713 that involved U.S. origin goods illegally transported to Iran on behalf of Kala

  Naft.

          943.     At least two of these transactions had Standard Chartered Bank New York’s branch

  serving as its Clearing Bank.

          944.     As early as February 1998, Kala Naft was identified by the UK government “as

  having procured goods and/or technology for weapons of mass destruction programs.”

          945.     Kala Naft was also publicly identified as a NIOC subsidiary in a 2003 Commerce

  Department action that further stated that Kala Naft was a recipient of illegally exported U.S. origin

  oilfield equipment from the U.S.




  64
          MOIS was designated by the U.S. for, inter alia, providing support to terrorist groups, including Hezbollah.


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            946.    Between 2001 and 2006, SCB knowingly facilitated at least two illegal transactions

  totaling $593,307 that involved U.S. origin goods illegally transported to Iran on behalf of Ahwaz

  Pipe Mill Co.

            947.    The CBI was used as the Refinancing Bank, and Standard Chartered Bank’s New

  York branch served as the Clearing Bank.

            948.    The listed beneficiary of the Ahwaz Pipe Mill Co. trade-finance transactions was a

  Cypriot company named Polygon Co. Ltd.

            949.    Polygon’s managing director and its owner had previously been indicted on

  November 19, 1992, in the Southern District of Florida for illegally conspiring to export oil field

  equipment and other goods, services and technology to Libya, demonstrating its history of illicit

  sanctions evasion on behalf of a State Sponsor of Terrorism.

            950.    The litany of trade-finance and Eurodollar transactions discussed supra often

  involved counterparties (such as Mac Aviation, Jetpower and Polygon) with established track

  records of criminal activity on behalf of Iran.

                             e. SCB’s Trade-Finance Transactions with Iranian Front Company
                                Khoram Sanat Producing Co. - Iran

            951.    On June 20, 2005, Standard Chartered facilitated Khoram Sanat Producing Co.’s

  purchase of electromotors for hydraulic presses worth $2.79 million dollars.

            952.    The company is likely a subsidiary of another Iranian company known as “Alborz

  Steel.”

            953.    The nominal purchaser of the equipment was an Iranian front company in the UAE

  called Diamonds Steel.65


  65
            SCB facilitated at least a dozen transactions on behalf of Diamonds Steel, mostly for the benefit of Alborz
  Steel, Iran. Many of these transactions involved both Bank Melli Iran, as well as Credit Suisse in Switzerland, acting
  on behalf of Bank Melli Iran or Bank Melli, Dubai.


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           954.    Diamonds Steel maintained one or more accounts with Standard Chartered Bank,

  Dubai.

           955.    Between 2001 and 2007, SCB, Dubai facilitated at least 173 transactions involving

  Diamonds Steel, totaling more than $130 million.

           956.    The aforementioned electromotors were illegally purchased from the United States

  with the LC facilitated by Standard Chartered Bank’s New York branch, which served as the

  Clearing Bank for the transaction, while SCB, Dubai served as the Advising Bank.66

           957.    Standard Chartered Bank facilitated this transaction despite the fact that the

  machinery required an export license because the equipment could be used for terrorist purposes.67

           958.    Specifically, hydraulic presses are the precise type of machinery required to

  manufacture EFPs.68

           959.    The production of an EFP shaped-charge munition requires at least a 10-ton

  hydraulic press in order to form sheets of copper and steel, respectively, into the necessary shaped-

  charge geometry for defeating the plating of American armored vehicles of the type used by the

  U.S. military in Iraq.




  66
           This occurred during a period of time (between 2004 and 2007) when SCB’s New York branch was subject
  to a formal supervisory action by the New York State Banking Department and the Federal Reserve Bank of New
  York (“FRBNY”) for other regulatory compliance failures involving the Bank Secrecy Act (BSA”), anti-money
  laundering policies and procedures (“AML”), and OFAC regulations.
  67
           The product was designated with an ECCN of 2B999 (for Anti-Terrorism reasons) under Supplement 1 to
  Section 774 of the Commerce Control List (CCL).
  68
           SCB facilitated another Letter of Credit on May 12, 2005, involving Khoram Sanat (as Applicant) and
  Diamonds Steel (as Beneficiary) for over $1.9 million for goods described as “Back Up Roll Change Carriage, Spare
  Back Up Roll with Chuck and Main Gear Box.” These standard terms are used to describe metal working equipment
  that may be integrated into large hydraulic presses or deployed as stand-alone equipment stations.




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          960.     Even assuming a steep mark-up in costs of delivery, Standard Chartered Bank

  financed Iran’s acquisition of approximately fifty (50) hydraulic presses capable of manufacturing

  more than a hundred EFPs per day.69

          961.     The hydraulic press machinery was transported to Iran by IRISL.

          962.     Because Letters of Credit are intrinsically about the submission of detailed

  paperwork and required Standard Chartered Bank (Credit Suisse and other Defendants) to examine

  and retain the documentation evidencing Iran’s illegal procurement chain, Standard Chartered

  Bank’s knowledge of its role in the Conspiracy is indisputable.

          963.     Furthermore, because Iran’s illegal procurement chain was dependent on access to

  U.S. dollars, Standard Chartered Bank’s (and other Defendants’) participation in the Conspiracy

  was essential to its success.

          964.     In sum, Standard Chartered Bank was integral to Iran’s inherently lethal and illegal

  conduct, which included a wide variety of money laundering techniques in the service of weapons

  procurement, arms shipments, acquisition of WMDs, and terror financing that substantially and

  foreseeably assisted MODAFL, the IRGC and Hezbollah in their campaign of violence and terror

  against Coalition Forces in Iraq.

                   3. Regulatory Actions and Criminal Investigations Against Standard
                      Chartered Bank, 2012 – Present

          965.     On September 21, 2012, Standard Chartered Bank and the New York State’s

  Department of Financial Services (“DFS”) executed a Consent Order resolving charges that, from

  at least 2001 through 2007, Standard Chartered Bank provided Eurodollar clearing and settlement



  69
           The dangers of Iran possessing hydraulic press equipment were evident from a 2009 reported incident
  wherein Turkish authorities, at the request of the U.S., halted a convoy of trucks heading from Iran to Syria that
  contained a large hydraulic press and punch press. The U.S. requested this action because “these items are likely
  intended for the production of explosively formed penetrators (EFPs).”


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  services to Iranian customers subject to U.S. economic sanctions, with respect to approximately

  59,000 transactions totaling approximately $250 billion, through Standard Chartered’s New York

  branch.

            966.   DFS concluded that “SCB operated as a rogue institution.”

            967.   On December 10, 2012, DOJ announced that SCB had agreed to forfeit $227

  million to the Justice Department for conspiring to violate the IEEPA, and that the forfeiture was

  part of Deferred Prosecution Agreements SCB entered into with DOJ and the Manhattan District

  Attorney’s office for illegally moving millions of dollars through the U.S. financial system on

  behalf of, inter alia, sanctioned Iranian entities. SCB also entered into settlement agreements with

  OFAC and the Board of Governors of the Federal Reserve System, as well as with DFS.

            968.   DOJ filed a criminal information charging SCB with one count of knowingly and

  willfully conspiring to violate IEEPA. SCB waived the federal indictment, agreed to the filing of

  the information and, according to DOJ’s press release, “accepted responsibility for its criminal

  conduct and that of its employees.”

            969.   DOJ’s 2012 press release announcing the Deferred Prosecution Agreement quoted

  then-Assistant Attorney General Lanny Bruer as stating: “[f]or years, Standard Chartered Bank

  deliberately violated U.S. laws governing transactions involving Sudan, Iran, and other countries

  subject to U.S. sanctions. The United States expects a minimum standard of behavior from all

  financial institutions that enjoy the benefits of the U.S. financial system. Standard Chartered

  Bank’s conduct was flagrant and unacceptable. Together with the Treasury Department and our

  state and local partners, we will continue our unrelenting efforts to hold accountable financial

  institutions that intentionally mislead regulators to do business with sanctioned countries.”




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          970.   Manhattan District Attorney Cyrus Vance Jr. stated in the press release:

  “Investigations of financial institutions, businesses, and individuals who violate U.S. sanctions by

  misusing banks in New York are vitally important to national security and the integrity of our

  banking system. Banks occupy positions of trust. It is a bedrock principle that they must deal

  honestly with their regulators. I will accept nothing less; too much is at stake for the people of New

  York and this country. These cases give teeth to sanctions enforcement, send a strong message

  about the need for transparency in international banking, and ultimately contribute to the fight

  against money laundering and terror financing.”

          971.   Prior to entering into the 2012 DPA and its settlement with DFS, Standard

  Chartered Bank retained Promontory Financial Group, LLC (“Promontory”) in 2009 to provide

  “consulting services in connection with the identification and collection of historical transaction

  records relating to cross-border financial transactions.”

          972.   In the first half of 2010, Standard Chartered Bank reported to various regulators,

  including the New York State Banking Department (“NYSBD”), DFS’s predecessor, that it had

  engaged in conduct related to the evasion of U.S. sanctions.

          973.   On April 15, 2010, Standard Chartered hired Promontory again to identify, collect

  and review historical transaction records implicating sanctions violations.

          974.   Thereafter, Promontory produced a number of reports and made various

  presentations to government authorities, including the NYSBD (later DFS).

          975.   These Promontory reports included, inter alia, interim reports throughout 2010,

  final reports in January and March of 2011, as well as updates to those final reports in October

  2011.




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         976.    DFS relied in part upon the work conducted and presented by Promontory to

  identify the scope of Standard Chartered’s improper conduct prior to entering into the September

  21, 2012 Consent Order.

         977.    On June 18, 2013, Deloitte entered into a Settlement Agreement with DFS wherein

  it agreed, inter alia, to pay a penalty of $10 million for misusing confidential information from

  other bank defendants.

         978.    For example, Deloitte provided Standard Chartered with copies of transaction

  review reports that Deloitte had prepared for these other clients and suggested to SCB management

  that they be used as templates for SCB’s transactions review report, and agreeing to Standard

  Chartered’s request that Deloitte remove a recommendation from its written final report explaining

  how “cover payment” messages used by SWIFT-NET (MT 202s) could be manipulated by banks

  to evade U.S. money laundering controls.

         979.    On August 19, 2014, DFS announced an order regarding Standard Chartered’s

  failures to remediate AML/CFT compliance problems as required in Standard Chartered’s 2012

  settlement with DFS.

         980.    Under the August 2014 DFS order, Standard Chartered was required to: (1) suspend

  dollar clearing through Standard Chartered Bank’s New York branch for high-risk retail business

  clients at SCB’s Hong Kong subsidiary; (2) exit high-risk client relationships within certain

  business lines at SCB’s branches in the UAE; (3) decline new dollar-clearing clients or accounts

  across its operations without prior approval from DFS; (4) pay a $300 million penalty; and (5) take

  other remedial steps.




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          981.   Additionally, according to an October 29, 2014 article in The New York Times,

  federal and Manhattan prosecutors have reopened their investigation into Standard Chartered

  Bank.

          982.   The New York Times reported that prosecutors were questioning whether Standard

  Chartered Bank failed to disclose the extent of its wrongdoing to the government, thus imperiling

  SCB’s 2012 settlement.

          983.   In August 2015, DFS issued a “Report on Investigation of Promontory Financial

  Group, LLC.”

          984.   The DFS report stated that:

                 On April 15, 2010, Promontory was engaged by Standard Chartered’s
                 counsel to identify, collect and review historical transaction records “with
                 certain countries or certain Specially Designated Nationals (“SDNs”)
                 subject to sanctions” administered by OFAC. The engagement was known
                 as Project Green.

                 As part of the engagement, Promontory produced a number of reports and
                 made various presentations to the Bank and government authorities,
                 including the NYSBD. These reports included interim reports throughout
                 2010, final reports in January and March of 2011, and updates to those final
                 reports in October 2011.

                 In connection with the Department’s investigation of Standard Chartered,
                 the Department relied in part upon the work conducted and presented by
                 Promontory to identify the scope of the Bank’s improper conduct and to
                 determine an appropriate resolution of the investigation.

          985.   DFS ultimately concluded that “There are numerous instances where Promontory,

  at the direction of the Bank or its counsel, or at its own initiative, made changes to ‘soften’ and

  ‘tone down’ the language used in its reports, avoid additional questions from regulators, omit red

  flag terms or otherwise make the reports more favorable to the Bank.”

          986.   Examples identified by DFS included a written communication on January 19,

  2011, wherein “the Bank’s counsel wrote to Promontory that the title of a particular slide entitled



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  ‘The 77 non-u-turn payments fell into 3 categories’ – meaning the transactions were potential

  OFAC violations – should be made ‘more bland’ and suggested a rewording to ‘Categories

  identified in Amendment Analysis.’ Promontory made the change to the more vague language

  requested by the Bank.”

         987.    The DFS Report further found that “Promontory omitted certain timelines from the

  reports that would have indicated an increase in violations over time.”

         988.    The Report went on to cite a December 17, 2010 statement by a senior analyst at

  Promontory explaining:

                 Generally, the timelines serve a strong purpose with the Jersey payments.
                 That is, there appears to be a positive trend over time to reduce the
                 involvement with potential violations. This will not be true with Dubai. I
                 have a strong suspicion that people will not want to show the timelines
                 for Dubai ([a particular client for which the Bank processed prohibited
                 transactions] for example shows an upwardly sloping curve of
                 violations). If we are going to go ahead with the visuals across the
                 workstreams, we should be cognizant of the graphics showing painful
                 information and expect strong pushback from the bank and [the Bank’s
                 counsel]. (Emphasis added.)

         989.    As described above, Standard Chartered Bank’s Dubai operations were a central

  hub for the IRGC’s and MODAFL’s illegal procurement efforts.

         990.    In August 2015, The New York Times reported that SCB was once again under

  investigation: “The Justice Department is examining whether it committed sanctions violations

  beyond those covered in the 2012 deal, which centered on what the bank called ‘Project Gazelle,’

  an effort to forge ‘new relationships with Iranian companies.’”

         991.    The Financial Times also reported in September 2015:

                 Documents seen by the FT suggest that StanChart continued to seek new
                 business from Iranian and Iran-connected companies after it had committed
                 in 2007 to stop working with such clients. These activities include foreign
                 exchange transactions that, people familiar with StanChart operations say,
                 would have involved the US dollar….



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                    The material reviewed by the FT depicts a bank — one of the few foreign
                    lenders with a license [sic] to operate in the country — determined to keep
                    working with Iranian companies. The status of numerous Iranian and Iran-
                    connected entities was still being reviewed by StanChart as late as 2013,
                    according to documents seen by the FT. These included entities that had
                    internal “markers” and “blocks” placed against them, a way for the bank to
                    flag up concern about links to Tehran. Many accounts belonging to Iranian
                    or Iran-connected entities were indeed closed by 2007, as StanChart
                    promised. But some, like Bank Saderat — which had sanctions imposed in
                    2006, or Bank Sepah — still had open accounts with no markers against
                    them.

           992.     Even as edited to be favorable to Standard Chartered Bank, the 2011 Promontory

  Report (attached as Exhibit A to the Complaint) provides a window into the vast array of

  wrongdoings undertaken by Standard Chartered Bank in concert with Iran and its agents.70

           993.     As the Negotiating Bank on numerous illegal Iranian Letters of Credit, Standard

  Chartered Bank received the detailed documentation for the shipment of goods, and knew that it

  was helping Iran’s military and terrorist apparatus acquire prohibited U.S. goods and dual-use

  technologies.

           994.     In sum, as the Negotiating Bank on numerous illegal Iranian transactions for Mahan

  Air and various MODAFL sub-agencies, and as an active conduit and money-launderer for the

  CBI and other sanctioned Iranian banks, Standard Chartered Bank knew that: (1) it was dealing

  with Iran’s military and terrorist apparatus; (2) it was conspiring to evade U.S. export sanctions;

  (3) it was laundering money in USD funds for Iran’s military and terrorist apparatus; (4) its own

  customers were front companies for Iran’s military and terrorist apparatus; (5) that these customers

  were actively engaged in sanctions evasion and money laundering; and (6) that none of this illegal

  conduct was undertaken for the benefit of a legitimate agency, operation or program of Iran.


  70
          Other Promontory reports that have not (for the time being) been publicly disclosed, detail Standard
  Chartered’s Dubai operations and SCB’s activities on behalf of the CBI, as well as its role in financing, inter alia,
  Blue Sky Aviation’s acquisitions of various materials and technologies.


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         995.      Lastly, Standard Chartered Bank chose to use its presence in the United States (and

  its New York branch specifically) to effectuate its crimes.

         L.        DEFENDANT ROYAL BANK OF SCOTLAND N.V.’S AGREEMENT TO,
                   AND PARTICIPATION IN, THE CONSPIRACY

         996.      As alleged above, Defendant RBS N.V. is the legal successor to ABN Amro Bank.

  As noted above, this Defendant is referred to herein as “ABN Amro (RBS N.V.)”

         997.      In May 1995, top officials of ABN Amro (RBS N.V.) in Amsterdam e-mailed the

  entire management of ABN Amro (RBS N.V.) in Europe, Asia, South America, Africa, the

  Caribbean, and North America, advising them that any financial transactions in USD funds

  undertaken for or on behalf of Iranian persons or banks were subject to seizure or blocking in the

  United States.

         998.      Soon after President Clinton signed the Executive Order implementing sanctions

  against Iran in May 1995, Iranian banks sought the services of ABN Amro (RBS N.V.) and other

  banks in aiding Iran to circumvent U.S. laws.

         999.      ABN Amro (RBS N.V.) employees were aware of these requests, discussed these

  requests with the other Co-conspirator banks, and thereafter approved of ABN Amro (RBS N.V.)

  conducting the illegal transactions, contrary to the advice of outside counsel retained by ABN

  Amro (RBS N.V.) that its involvement in such transactions would potentially violate U.S. law.

         1000. From approximately 1995 until in or about 2005, ABN Amro (RBS N.V.) conspired

  with the Iranian Bank Co-conspirators (including the CBI, Bank Melli Iran and Defendant Bank

  Saderat Plc) and their agents to conceal evidence of ABN Amro (RBS N.V.)’s financial

  transactions from the U.S. government, law enforcement, and intelligence agencies, as well as U.S.

  financial institutions charged with detecting and blocking certain Iranian transactions.




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         1001. ABN Amro (RBS N.V.) was, at the same time, aware that numerous other non-

  Iranian financial institutions were engaged in the Conspiracy to conceal evidence of the Iranian

  Bank Co-conspirators’ financial transactions from the U.S. government, law enforcement and

  intelligence agencies, as well as U.S. financial institutions charged with detecting and blocking

  certain Iranian transactions.

         1002. From approximately 1995 until in or about 2005, ABN Amro (RBS N.V.) furthered

  the Conspiracy by methodically removing and/or falsifying payment messages on its funds transfer

  systems to disguise the movement of hundreds of millions of U.S. dollars illegally through the

  U.S. financial system on behalf of the Iranian Bank Co-conspirators (including Bank Melli Iran).

         1003. In furtherance of the Conspiracy, ABN Amro (RBS N.V.) and the Iranian Bank Co-

  conspirators developed methods by which ABN Amro (RBS N.V.) would format USD payments

  so that such payments would evade U.S. sanctions and detection by automated filters used by

  financial institutions in the United States.

         1004. When ABN Amro (RBS N.V.) employees received payment messages from the

  Iranian Bank Co-conspirators that contained certain words that could trigger a U.S. bank’s

  automated OFAC filter software algorithms, ABN Amro (RBS N.V.) would manually alter or

  amend the messages (i.e. “strip” the transactions) to ensure that the transaction would go

  undetected when it was cleared and settled by financial institutions in the United States.

         1005. ABN Amro (RBS N.V.) thereby caused financial institutions in the United States

  to process transactions involving the Iranian Bank Co-conspirators that U.S. financial institutions

  would not otherwise have processed.

         1006. Like Standard Chartered Bank, certain offices, branches, and subsidiaries of ABN

  Amro (RBS N.V.) also altered Letters of Credit and foreign exchange transactions involving USD




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  funds by replacing the names of the Iranian Bank Co-conspirators (including Bank Melli Iran) on

  those transactions.

             1007. Beginning as early as 1995 and continuing until in or about 2005, ABN Amro (RBS

  N.V.) undertook various acts in furtherance of the Conspiracy. For example: The Dubai branch of

  ABN created procedures and guidelines to facilitate the processing of prohibited USD transactions.

             1008. For instance, one section of the ABN payment manual entitled “Special

  Conditions” listed specific instructions on how to effectuate these payments and avoid OFAC

  filters.

             1009. A specific instruction from this manual stated: “Payments by order of Iranian Banks

  …maintaining accounts with ABN, Dubai are to be handled with extra care to ensure the wordings

  “Iran” etc. are not mentioned in the payment due to OFAC regulations.”

             1010. In June 1995, an Iranian Bank Co-conspirator requested of ABN Amro (RBS N.V.)

  officials in Dubai that ABN Amro (RBS N.V.) act as a conduit for all U.S. dollar transactions for

  that Iranian bank in Dubai.

             1011. The Iranian bank requested that all of its USD funds transfer be routed through, or

  be issued in the name of, ABN Amro (RBS N.V.) and carry no reference to the fact that these

  payments were issued on its behalf, and that all of its U.S. dollar receipts would come into ABN

  Amro (RBS N.V.)’s account.

             1012. Thereafter, ABN Amro (RBS N.V.) undertook various specific acts to conceal its

  actions on Iran’s behalf.

             1013. ABN Amro (RBS N.V.) instructed the Iranian Bank Co-conspirators to include the

  code word “SPARE” in their payment messages through the bank so that ABN Amro (RBS N.V.)




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  could first segregate these messages from normal message payment processing, and then amend

  the message by removing/altering any potentially problematic text, i.e. any reference to Iran.

          1014. The payment message would then be stopped by ABN Amro (RBS N.V.), routed

  into a special queue, and manually altered to avoid being blocked by any OFAC sanctions

  screening filters.

          1015. In this manner, ABN Amro (RBS N.V.) assisted sanctioned entities, and ensured

  the processing of transactions by formatting payment order messages so that they would not be

  rejected or blocked by OFAC filters at financial institutions in the United States.

          1016. ABN Amro (RBS N.V.) added to its payment manuals the “Special Conditions”

  that were to be used on behalf of the Iranian Bank Co-conspirators in order to evade detection and

  circumvent the laws of the United States.

          1017. ABN Amro (RBS N.V.) used these same or materially similar procedures with

  respect to Letters of Credit in USD funds, and the processing of USD denominated checks and

  traveler’s checks.

          1018. ABN Amro (RBS N.V.) and the Iranian Bank Co-conspirators knew and discussed

  the fact that without such alterations, amendments, and code words, the automated OFAC filters

  at clearing banks in the United States would likely halt most of the payment messages and other

  transactions, and, in many cases, would reject or block the sanctions-related transactions and report

  the same to OFAC.

          1019. ABN Amro (RBS N.V.) also removed the names, BICs, and any other identifying

  information of the Iranian Bank Co-conspirators in the payment order messages sent to ABN Amro

  (RBS N.V.)’s U.S. correspondent banks.




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            1020. In order to circumvent U.S. sanctions, certain Iranian Bank Co-conspirators

  requested that ABN Amro (RBS N.V.) omit their names and BICs from payment order messages

  sent by ABN Amro (RBS N.V.) to ABN Amro (RBS N.V.)’s U.S. correspondent banks. ABN

  Amro (RBS N.V.) complied with the requests of these Iranian Bank Co-conspirators, and omitted

  their names and identifiers in order to help bypass the OFAC filtering mechanisms of U.S. financial

  institutions.

            1021. ABN Amro (RBS N.V.) also used SWIFT-NET MT 202 cover payment messages

  to shield the identities of the Iranian Bank Co-conspirators.

            1022. Instead of using serial MT 103 payment messages that require the names and details

  of counter-parties to transactions, ABN Amro (RBS N.V.) began using MT 202 cover payment

  messages expressly for the purpose of avoiding revealing the true identity of the ordering customer

  and beneficiary party for U.S. dollar payments sent through financial institutions in the United

  States.

            1023. The Central Bank of Iran coordinated with ABN Amro (RBS N.V.)’s Central Bank

  Desk in Amsterdam regarding the procedure to be followed for repayment of USD deposits to their

  accounts with European Banks in London.

            1024. This procedure stipulated that payment order messages sent to U.S. clearing banks

  for payment of USD funds to the CBI should not contain any reference to the Central Bank of Iran

  or any other reference relating to Iran.

            1025. In or about June and July 1995, officials at ABN Amro (RBS N.V.)’s Amsterdam

  Headquarters and New York offices were advised by outside U.S. counsel that the proposal by

  Iranian banks for ABN Amro (RBS N.V.) to serve as a conduit or means to bypass and avoid the

  sanctions imposed by the United States upon Iran risked breaching U.S. law.




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           1026. An internal memorandum generated by ABN Amro (RBS N.V.) at the time stated

  “[t]he fund transfer mechanics proposed by [the first Iranian Bank] are an attempt to circumvent

  the Iranian trade embargo. Given that violations of the Executive Order and OFAC regulations

  carry substantial penalties, not to mention the negative publicity, the [first Iranian Bank] proposal

  must be strictly scrutinized and ABN Amro must weigh the risks before proceeding with any such

  transfers.”

           1027. Also in June 1995, another Iranian Bank Co-conspirator sent a written

  communication to certain banks in the UAE and the Iranian Bank’s correspondent banks

  instructing those banks to undertake USD funds transfers for the Iranian bank in the name of a

  European financial institution “WITHOUT MENTIONING OUR BANK’S NAME” to defeat and

  circumvent the sanctions imposed upon Iran by the United States.

           1028. Like the first request, the Iranian Bank Co-conspirator’s request was forwarded to

  officials located in several departments of the Amsterdam Headquarters of ABN Amro (RBS

  N.V.).

           1029. As early as 1997, in an internal strategy paper for the Middle East and Africa region

  named “Desert Spring,” prepared by ABN Amro (RBS N.V.)’s Middle East and Africa Regional

  Office, ABN Amro (RBS N.V.) described a “product initiative” with “opportunities in LC

  discounting for Central Bank and Bank Melli, Iran” and “deposit mobilization from Iranian

  nationals.”

           1030. On or about February 5, 2000, an official at the Dubai branch of ABN Amro (RBS

  N.V.) wrote to a Regional Director of one of the Iranian Bank Co-conspirators assuring him that

  ABN Amro (RBS N.V.) would take care of carrying out the scheme to evade and defeat the U.S.

  sanctions.




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         1031. The ABN Amro (RBS N.V.) official’s note stated: “[w]e understand the special

  nature of your US$ transactions and will ensure that all operations departments concerned are

  properly briefed regarding this, as well.”

         1032. A July 19, 2003 e-mail written by John Ciccarone, Head of ABN Amro (RBS

  N.V.)’s USD Payments Product Management at ABN Amro (RBS N.V.)’s New York branch,

  discussed the use of MT 202 cover payments, stating: “There is no way the payment will get

  stopped as all NY ever sees is a bank to bank instruction.”

         1033. In a July 25, 2003 e-mail, John Philbin, Senior Relationship Banker for Iranian

  Banks, wrote to Ciccarone:

                 Surely Iran is the most obvious case in point for these structures. Twenty-
                 four years of US sanctions and OFAC listing and Iran continues to sell oil
                 and gas in USD. And, it imports and pays in USD as well. All of this is
                 clearly done though accounts in Europe and elsewhere. There is a very good
                 case to be made for getting an overall acceptance that when issues are purely
                 US, we should not be a part of it. In fact, we should see it as an opportunity.
                 OFAC is not the Bible for money laundering (e.g. Cuba is prominent on
                 OFAC). It is a tool of broader US policy. We therefore need to distinguish
                 between US foreign policy on the one hand and AML/anti-Terrorism on the
                 other, however much the US administration may wish to insist that the two
                 are closely linked. It is well worth working on a solution for clients who
                 find themselves in this position or who fear (Syria, Saudi Arabia) that they,
                 one day soon might find themselves there.

         1034. Also in 2003, Diane Perrin, a member of ABN Amro (RBS N.V.)’s Group

  Compliance team at the Defendant’s Amsterdam Head Office, stated that “as a European

  Institution, we do not comply with US Sanctions because those sanctions are politically

  motivated.”

         1035. A 2003 memorandum entitled “Proposal for Establishing a Representative Office

  in Tehran, Iran” drafted by ABN Amro (RBS N.V.)’s Country Representative in the UAE, Jan

  Willem van den Bosch, similarly stated:




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                  The Central Bank of Iran is faced with difficulties for USD denominated
                  clearing transactions due to sanctions imposed by the US. The OFAC filter
                  impounds all Iran related payments and receipts in the US. The Swiss and
                  other European Banks have worked out a solution for this. The payment
                  instructions are sent directly to the beneficiary’s bank and cover payment is
                  made to the beneficiary bank’s US Correspondent as inter-bank payments.

         1036. Bosch later coordinated the meeting in Dubai between ABN Amro (RBS N.V.)’s

  Managing Board Member and CFO Tom De Swann and top functionaries of the CBI, including

  Aziz Farrashi, CBI’s Director General.

         1037. During the meeting with the CBI’s officials, ABN Amro (RBS N.V.) officials

  discussed the establishment of the Representative Office by ABN Amro (RBS N.V.) in Tehran

  and further business development, including the acceptance of USD deposits by the CBI’s Desk

  in Amsterdam.

         1038. In an April 20, 2004 e-mail, the aforementioned Philbin mentioned the possibility

  of using a Jersey Special Purpose Vehicle as a way to circumvent OFAC restrictions:

                  Mike Louwerens [ABN Amro’s Vice President and Senior Analyst of
                  Country Risk Management Department] mentioned this to me today and
                  sent the attached. The structure below is very interesting and could have
                  applicability for the banks in Iran as well. But whether that is the case or
                  not, what is clear is that this structure envisages our making and receiving
                  payments in USD which will clear through AA in New York. And for which
                  Mike Bowman sees no objection. I am sending a second note in which OEM
                  (Maarten Seckel) gives a go ahead based on Bowman’s nihil obstat. The
                  Way for our doing significant business with the Iranian banks in cash may
                  yet be clear.

         1039. On July 23, 2004, ABN Amro (RBS N.V.) and its New York branch entered into a

  Written Agreement with the Federal Reserve Banks of New York and Chicago (collectively, the

  “Reserve Banks”) and other regulators that had detected deficiencies at ABN Amro (RBS N.V.)’s

  New York Branch relating to AML policies, procedures, and practices that included:

                  a pattern of previously undisclosed unsafe and unsound practices
                  warranting further enforcement action…. A. ABN AMRO lacked adequate



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                 risk management and legal review policies and procedures to ensure
                 compliance with applicable U.S. law, and failed to adhere to those policies
                 and procedures that it did have. As a result, one of ABN AMRO’s overseas
                 branches was able to develop and implement “special procedures” for
                 certain funds transfers, check clearing operations, and letter of credit
                 transactions that were designed and used to circumvent the compliance
                 systems established by the Branches to ensure compliance with the laws of
                 the U.S. In particular, the “special procedures” circumvented the Branches’
                 systems for ensuring compliance with the regulations issued by the Office
                 of Foreign Assets Control (“OFAC”) (31 C.F.R. Chapter V).

         1040. U.S. regulators also found that “[p]rior to August 1, 2004, the New York Branch

  processed wire transfers originated by Bank Melli Iran, a financial institution owned or controlled

  by the Government of Iran. The payment instructions on the wire transfers had been modified by

  one of ABN Amro’s overseas branches such that any reference to Bank Melli Iran was removed.”

         1041. U.S. regulators also found that “[p]rior to August 1, 2004, the Branches advised a

  number of letters of credit issued by Bank Melli Iran. The letters of credit had been reissued by

  one of ABN Amro’s overseas branches such that any reference to Bank Melli Iran was removed.”

         1042. As DOJ later concluded: “Each year between and including 1996 and 2004, ABN

  caused ABN’s U.S. affiliate to file false, misleading, and inaccurate Annual Reports of Blocked

  Property to OFAC. In each of those reports, the U.S. affiliate of ABN certified to OFAC that all

  information provided was accurate and that all material facts in connection with the report had

  been set forth.”

         1043. Nonetheless, in September 2004, Michael Louwerens, ABN Amro (RBS N.V.)’s

  Vice President and Senior Analyst of Country Risk Management Department, travelled to Iran at

  the behest of ABN Amro (RBS N.V.)’s Head Office and reported back that he had communicated

  with the Chief Representative of HSBC in Tehran (presumably John Richards) and concluded that

  ABN Amro (RBS N.V.)’s payment procedures (to conceal Iranian financial activity) were in line

  with prevailing market practices of HSBC and other banks.



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         1044. In addition, ABN Amro (RBS N.V.)’s then New York branch was the conduit for

  at least 90 post-U.S. designation transactions on behalf of IRISL and its various front companies

  through March, 2010.

         1045. On May 10, 2010, DOJ issued a press release announcing that ABN Amro’s

  successor entity, Defendant Royal Bank of Scotland N.V., had agreed to forfeit $500 million to

  the United States in connection with a conspiracy to defraud the United States, to violate the

  IEEPA, the TWEA, and the Bank Secrecy Act (“BSA”).

         1046. In connection with a Deferred Prosecution Agreement ABN Amro (RBS N.V.)

  entered into, a criminal information was filed in the U.S. District Court for the District of Columbia

  charging the Defendant with one count of violating the BSA, and one count of conspiracy to

  defraud the United States and violate the IEEPA and the TWEA. ABN Amro (RBS N.V.) waived

  indictment, agreed to the filing of the information, and, according to the press release “accepted

  and acknowledged responsibility for its conduct.”

         1047. According to the criminal information, ABN Amro (RBS N.V.)’s participation in

  the conspiracy continued “until in or about December 2007.” Prior to that time, ABN Amro (RBS

  N.V.) willfully and knowingly conspired, inter alia, to “engage in financial transactions with

  entities affiliated with Iran … in violation of the International Emergency Economic Powers Act,

  Title 50, United States Code, Section 1705, and regulations and embargoes issued thereunder….”

         1048. The criminal information confirmed that ABN Amro (RBS N.V.) was an active

  participant in the Conspiracy.

         1049. The criminal information stated that: “It was part of the conspiracy that the

  defendant discussed with the co-conspirators how to format United States Dollar message




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  payments so that such payments would avoid detection by automated filters used by financial

  institutions in the United States and thus evade United States sanctions.”

         1050. The criminal information further stated that: “It was part of the conspiracy that the

  defendant removed names and references to the co-conspirators in United States Dollar message

  payments routed through the United States.”

         1051. The criminal information further stated that: “It was part of the conspiracy that the

  defendant altered the names and references to the co-conspirators in United States Dollar message

  payments routed through the United States.”

         1052. The criminal information further stated that: “It was part of the conspiracy that the

  defendant instructed the co-conspirators to use code words in United States Dollar payment

  messages.”

         1053. Additionally, the criminal information stated that: “It was part of the conspiracy

  that the defendant created a special processing queue to manually and materially alter any of the

  co-conspirators’ United States Dollar message payments that were to be routed through the United

  States.”

         1054. The criminal information also stated that: “It was part of the conspiracy that the

  defendant created “Special Conditions” in the defendant’s payment manuals in order to process

  any co-conspirators’ United States Dollar transactions.”

         1055. Finally, the criminal information further stated that: “It was part of the conspiracy

  that the defendant caused its United States affiliates to submit materially false and misleading

  reports or statements to the United States Department of the Treasury, OFAC.”

         M.      DEFENDANT CREDIT SUISSE’S AGREEMENT TO, AND
                 PARTICIPATION IN, THE CONSPIRACY

         1056. Like the other Defendants in this Action, Credit Suisse worked hand-in-glove with



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  Iran and Iranian Bank Co-conspirators acting at Iran’s behest to develop procedures to structure

  USD payments in ways that would evade U.S. sanctions and leave U.S. regulators, law

  enforcement and financial institutions blind as to Iran’s financial activities.

           1057. To this end, Credit Suisse worked diligently to (1) develop methods that would

  avoid disclosing the true originators and/or beneficiaries of Iranian transactions that it was clearing

  and settling in the United States; (2) delete or omit certain information when transactions were to

  be processed through the United States; and (3) provide incorrect information in USD funds

  transfer instructions executed through the United States on behalf of U.S.-sanctioned individuals

  and entities.

           1058. Credit Suisse worked closely with Bank Melli, Bank Saderat, and Iran’s Atomic

  Energy Organization (and other designated Weapons of Mass Destruction proliferators) for many

  years.

           1059. Before 2003, Credit Suisse was an active participant in the Conspiracy, but the

  sheer volume of its illegal conduct accelerated greatly in 2003 when Lloyds exited its Iran business

  and Bank Melli Plc, Defendant Bank Saderat Plc, and other Iranian agents moved their accounts

  to Credit Suisse.

           1060. For the next two years, Credit Suisse became one of the main USD funds clearing

  banks for the Iranian banking system, quadrupling in only 3 years the number of Iranian U.S. dollar

  payments, from approximately 49,000 in 2002 to nearly 200,000 in 2005.

           1061. The procedures Credit Suisse developed and refined over time to assist Iran were

  embodied in internal directives, memoranda, e-mails between Credit Suisse and its Iranian bank

  clients and internal e-mails involving, among others, a Credit Suisse Bank Payments Sector Head,

  Credit Suisse’s Treasury and Trade Finance Departments, and the Head of Credit Suisse’s Iran




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  Desk.

          1062. Since at least the mid-1990s, when it first agreed to assist Iran in carrying out the

  Conspiracy, Credit Suisse’s Iran Desk began adding internal warnings to the accounts of its Iranian

  bank clients, instructing Credit Suisse employees: “Do not mention the name of the Iranian bank

  in payment orders.”

          1063. Such warnings ensured that payment orders given by the Iranian Bank Co-

  conspirators would not be processed automatically, but rather would be manually reviewed,

  “corrected” if necessary, and effectuated by Credit Suisse employees.

          1064. For example, in June 1995, the Credit Suisse representative office in Dubai, United

  Arab Emirates, issued a memorandum recognizing Iran and the Iranian bank’s general scheme to

  ensure that any foreign banks the Iranian Bank Co-conspirators did business with masked their

  transactions, and accordingly advised:

                 Following the decision by the American authorities to declare a unilateral
                 embargo against the Islamic Republic of Iran on April 30th, (an Iranian
                 bank) approached Credit Suisse to open (a type of correspondent banking
                 account for U.S. dollar transactions). Crucial to them was that the name of
                 the bank would not be mentioned on the transfer orders... Subsequently, (the
                 Iranian bank) was informed that though payments in such a way are
                 basically feasible, to omit the name of the bank could lead to some
                 problems. Meanwhile, operations through this account have started... Some
                 transfers have been rejected by the American banks as the name of (the
                 Iranian bank) appears under the rubric ‘Ordering Bank.’ Question: a) what
                 can be done to avoid this?

          1065. Almost immediately after President Clinton issued E.O. Nos. 12957, 12959, and

  13059, which strengthened existing U.S. sanctions against Iran, the Iranian Bank Co-conspirators

  began requesting that Credit Suisse omit their names and BICs from payment messages Credit

  Suisse sent to its U.S. correspondent banks.

          1066. Credit Suisse complied with the Iranian Bank Co-conspirators’ illegal requests and




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  purposefully omitted their names and identifiers in order to help bypass U.S. financial institutions’

  sanctions filters.

          1067. After a 1998 corporate reorganization, in order to further its ongoing efforts to

  evade U.S. sanctions and ensure that other U.S. financial institutions would automatically process

  this new stream of payments, Credit Suisse notified its Iranian clients about the change in USD

  funds clearing and settlement from Credit Suisse First Boston AG (“CSFB”) to third-party U.S.

  correspondents, and provided them with a pamphlet entitled “How to transfer USD payments.”

          1068. The pamphlet provided detailed payment order formatting instructions for USD

  funds transfers on how to avoid triggering U.S. OFAC sanction screening filters.

          1069. In a 1998 letter to an Iranian Bank Co-conspirator explaining the transfer of its USD

  clearing services to the Bank of New York, New York, Defendant Credit Suisse wrote:

                  In order to provide your esteemed institution with our clearing services in
                  U.S. Dollars, we have introduced a procedure to facilitate your USD
                  payments through our clearing system. The change of our USD-clearer to
                  Bank of New York, New York, will not affect our mutual relationship on
                  any clearing transaction in U.S. Dollars as long as the established procedure
                  will be followed.

          1070. Beginning as early as 1995 and continuing through 2005, Credit Suisse, both

  internally and in coordination with the Iranian Bank Co-conspirators, created procedures and

  guidelines to facilitate the processing of prohibited USD transactions by its U.S. correspondent

  banks, primarily the Bank of New York, New York.

          1071. By using Credit Suisse’s internal processing system, employees manually keyed in

  “Order of a Customer” when Iranian payments had to be processed as serial payments through

  U.S. banks.

          1072. This procedure was promoted at Credit Suisse, as demonstrated by an email from a

  Team Leader in the Bank Payments Unit:



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                 In order to put an end, once and for all, to the discussions regarding the
                 processing of USD payment orders of Iranian banks, I have worked out
                 various examples that are to be considered binding for everyone.

         1073. Attached to the email were several screenshots of Credit Suisse’s payment

  application illustrating how to format payment order messages to ensure that they would pass

  through the U.S. financial institutions undetected by U.S. OFAC sanction screening filters.

         1074. For example, one such screenshot showed all incoming payment messages listing

  an Iranian bank as the ordering institution in SWIFT-NET payment order message field “52” and

  contained the following explicit instructions: “Population of field 52 with ‘one of our clients’ in

  case of serial payments via the US.”

         1075. A second screenshot showed an incoming payment with the reference “without

  mentioning our banks [sic] name” in field 52 and contained the following instructions: “Population

  of field 52 with ‘one of our clients’ in case of serial payments.”

         1076. Until 2004, Credit Suisse’s use of “Order of a Customer” was its standard

  procedure for processing bank payment messages involving Credit Suisse’s Iranian customers.

         1077. Credit Suisse’s internal communications also reveal a continual dialogue about

  evading U.S. sanctions spanning approximately a decade, assessing how to better process Iranian

  transactions in order to promote and increase business from existing and future Iranian clients.

         1078. In February 1999, Credit Suisse’s Iran Desk added internal warnings to the

  Customer Information Files (or “CIFs”) it maintained for the accounts of its Iranian bank

  customers, expressly directing Credit Suisse employees: “Do not mention the name of the Iranian

  bank in payment orders.”

         1079. Credit Suisse documented similar directives in subsequent years. For example, in

  2002, another warning was loaded in the CIF that likewise stated: “FOR USD-PAYMENTS




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  OUTSIDE CREDIT SUISSE/CS FIRST BOSTON DO NOT MENTION THE NAME OF THE

  IRANIAN BANK.”

         1080. Credit Suisse later decided to remove warnings from the CIFs and replaced them

  with long-term instructions concerning Iranian entities that instructed: “Execute USD payment

  orders always with direct order and cover payment.” These instructions explained that they were

  intended to ensure (according to Credit Suisse’s internal documentation) that “an Iranian origin

  will never be named in USD payments carried out for Iranian banks (because of the US

  sanctions)!”

         1081. An internal Credit Suisse memorandum dated March 12, 1999, stated:

                 Payment orders in USD can only be paid via the American clearing, if the
                 name of the Iranian party is not mentioned (US sanctions). Otherwise, the
                 amounts are returned by the American banks. Even though corresponding
                 warnings have been loaded, there (sic) almost every week cases that are
                 processed incorrectly by us.

         1082. Between 2000 and 2004, Credit Suisse’s Iran Desk provided similar instructions to

  its Iranian Bank Co-conspirator clients via a standard letter, which stated in part: “The most

  important issue is that you and/or your correspondents do not mention your good bank’s name in

  field 52.”

         1083. Credit Suisse’s Iran Desk also informed Iranian Bank Co-conspirator clients that

  Credit Suisse would utilize cover payments to effect payments to or through the United States,

  stating in one memorandum, for example, “[o]ur payment department will stop all USD payments

  initiated by your fine bank in any case and shall be effected [by]... ‘Direct payment order and cover

  payment order.’”

         1084. In order to prevent straight-through processing of all payment orders sent by Iranian

  Bank Co-conspirators, Credit Suisse configured its payment system to interdict the payments for




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  manual review.

         1085. Credit Suisse employees then reviewed the payments to ensure that they contained

  no references to Iran. If such references were detected, Credit Suisse employees would either delete

  the reference, or contact the Iranian Bank Co-conspirators to request further instructions.

         1086. Over time, Credit Suisse employees developed practices to omit information on the

  involvement of Iranian Bank Co-conspirators, including:

                 a.      Entering in an empty field, or replacing the name of the Iranian Bank
                         Co-conspirators with, “Order of a Customer” or a similar phrase
                         instead of the actual name of the ordering institution in SWIFT-NET
                         payment order messages;

                 b.      Forwarding payment messages received from Iranian Bank Co-
                         conspirators falsely referencing “Credit Suisse” or Credit Suisse’s
                         SWIFT-NET account code (identified by BIC address CRESCHZZ)
                         instead of an Iranian bank as the originating institution. For
                         example, a November 2000 email circulated by a team leader in
                         Credit Suisse’s Bank Payments Unit contained screenshots of an
                         incoming payment order from an Iranian bank co-conspirator in
                         which Credit Suisse was listed as the ordering institution in field
                         “52” of the SWIFT-NET payment message. The instructions were
                         to make no changes to the misleading information in the SWIFT-
                         NET message’s field “52” for serial payment messages made to U.S.
                         financial institutions;

                 c.      Inserting “Credit Suisse” as the ordering institution in payments
                         originating with an Iranian Bank Co-conspirator;

                 d.      Removing all references to Iranian names, addresses, cities, and
                         telephone numbers from customer payments;

                 e.      Substituting abbreviations for Iranian customer names. For
                         example, in an April 16, 2003 email, the Head of Credit Suisse’s
                         Iran Desk wrote to the Credit Suisse representative office in Tehran,
                         “entry to their account works when account number plus XXX is
                         stipulated as beneficiary. What is also important of course is that
                         applicant will give details of final beneficiary as reference for the
                         beneficiary, then it should work;” and

                 f.      Converting SWIFT-NET MT 103 Messages to SWIFT-NET MT
                         202 Messages to hide the details of Iranian transactions, and using



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                            MT 202 cover payment messages approximately 95% of the time to
                            facilitate outgoing customer payments involving Iran or Iranian
                            parties.

          1087. A September 24, 2003 Credit Suisse internal email sent from a team leader in

  Customer Payments to a Sector Head within Customer Payments, described Credit Suisse’s Iranian

  U.S. dollar processing:

                   The procedure is identical for all Iranian banks: 1) We attempt to send all
                   USD payments directly to the bank of the beneficiary. Only cover payments
                   are made through the US. In such cases, the ordering institution is not
                   disclosed. 2) Should 1) not be possible (if the beneficiary bank is an
                   American bank, or if no Swift connection or no correspondent was named),
                   then the payment will be made though America. We make sure that the
                   ordering institution is not mentioned (this has been programmed into the
                   system as a default) and that the ordering customer has no connection to
                   ‘Iran’. 3) Should 1) and 2) not be possible, then the payment order will be
                   forwarded to Investigations for further clarifications with the ordering
                   institution.

          1088. In addition, Credit Suisse actually instructed its Iranian Bank Co-conspirator

  customers on how to format U.S. dollar payments so that such payments would evade U.S.

  sanctions and detection by automated filters used by U.S. financial institutions.

          1089. Payment instructions included a letter from Credit Suisse’s Iran Desk to an Iranian

  customer dated October 16, 2003, that stated: “This is to provide you our recommendation for the

  entry of funds how to handle bank-to-bank payments on your account with Credit Suisse and the

  following procedures should be applied in order to avoid any difficulties.”

          1090. In December 2003, an Iranian bank asked Credit Suisse for an additional USD

  account identifying the Iranian beneficiary bank only by a designated abbreviation (first letter of

  each word constituting the bank’s name, together with the abbreviation commonly used for a type

  of legal entity, i.e., Plc).

          1091. On January 28, 2004, Credit Suisse confirmed that it had opened the requested




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  account, writing to the Iranian bank: “Reference is made to the various conversations and your

  email, dated December 18, 2003 wherein you asked us to open a new USD account...Now, we

  would like to confirm the account number ….”

          1092. In addition, Credit Suisse promised the Iranian Bank Co-conspirators, including

  Bank Saderat and Bank Melli, that no messages would leave Credit Suisse without being first

  hand-checked by a Credit Suisse employee to ensure that they had been formatted to avoid U.S.

  OFAC filters.

          1093. Credit Suisse also took a further step in the Conspiracy beyond training the Iranian

  Bank Co-conspirators on how to format their payment messages to evade the OFAC filters; it also

  gave Iranian Bank Co-conspirators materials to use for training other banks on how to prepare

  payment messages to evade U.S. OFAC filters and sanctions regimes.

          1094. In August 2003, Credit Suisse reached an agreement with the London branches of

  a number of Iranian Bank Co-conspirators to take over the banks’ London branches’ U.S. dollar

  clearing activity.

          1095. As a result of this agreement, Credit Suisse became one of the main USD clearing

  banks for the Iranian banking system.

          1096. Through its subsidiary Credit Suisse Asset Management Limited, United Kingdom

  (“CSAM”), Credit Suisse used code words for Iranian customers, including Iranian Bank Co-

  conspirators, when executing trades involving U.S. securities that were transmitted through the

  U.S.

          1097. Credit Suisse knew that without such alterations, amendments, and code words,

  automated OFAC filters at U.S. clearing banks would likely halt the payment order messages and

  securities transactions, and, in many cases, reject or block the sanctions-related transactions and




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  report the same to OFAC.

         1098. Credit Suisse manipulated payment order messages and removed any identifying

  reference to sanctioned countries and entities so that the OFAC filters at the U.S. clearing banks

  would not be able to identify the transactions, and the transactions would be automatically

  processed without detection.

         1099. In July 2004, the Swiss Federal Banking Commission issued an ordinance to

  implement the Financial Action Task Force (“FATF”)’s Special Recommendation on Terrorist

  Financing VII.

         1100. The ordinance required the disclosure of the remitter in payment orders, and

  prompted Credit Suisse to issue an internal directive prohibiting the use of the “Order of a

  Customer” method when making international wire transfers.

         1101. In April 2004, in preparation for the implementation of the ordinance, Credit

  Suisse’s Iran Desk began to inform its Iranian Bank Co-conspirator clients that neither “Order of

  a Customer” nor “Credit Suisse” could be used to replace references to Iranian banks on payment

  messages.

         1102. Credit Suisse again, however, provided information about the use of the cover

  payment method to send USD payments, ensuring that the Iranian Bank Co-conspirators (and, by

  extension, Iran and the IRGC-QF) remained cognizant of other means of ensuring an uninterrupted

  flow of surreptitious USD.

         1103. Although Credit Suisse’s payment processing units ceased to use the “Order of a

  Customer” method following the Swiss Federal Banking Commission’s July 2004 ordinance,

  Credit Suisse employees nonetheless continued removing and/or altering information in SWIFT

  payment order messages sent to one of its U.S. correspondent banks.




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         1104. For example, in May 2005, an internal Credit Suisse email stated:

                 If we do not have a key contact with the beneficiary’s bank, we have to
                 carry out the payment via the US, e.g. via BKTRUS33. However, no
                 reference to Iran may be made in the field reserved for information on the
                 ordering party (no Iranian telephone numbers either). No such reference
                 should be made in fields 70 or 72 either.

         1105. Between March 2004 and November 2005, Credit Suisse repeatedly sent letters to

  its Iranian Bank Co-Conspirator customers describing its internal procedures for forwarding

  Iranian payment orders as:

                 Our Payment department will stop all USD-payments initiated by your fine
                 bank in any case and shall be effected as outlined in the drawing “Direct
                 payment order and cover payment order.”

         1106. From August 2003 to November 2006, Credit Suisse illegally processed electronic

  funds transfers, in the aggregate amount of at least $480,072,032, through financial institutions

  located in the United States for the benefit of Iran and Iranian financial institutions.

         1107. For a brief period of time, Credit Suisse became one of the main U.S. dollar clearing

  and settlement banks for the Iranian banking system.

         1108. In January 2006, Credit Suisse established a “Sensitive Countries” Task Force to

  implement the exit decision and ultimately ceased U.S. dollar clearing transactions for Iran in

  November 2006.

         1109. On September 11, 2006, Credit Suisse directed its payments centers to discontinue

  certain prohibited payments by an Iranian Bank Co-conspirator. Using the MT 202 cover payment

  method, during the six weeks from September 11, 2006 to October 27, 2006, Credit Suisse

  nevertheless processed 54 outbound payments involving that Iranian Bank Co-conspirator, the

  total value of which was in excess of $8 million.

         1110. As described supra, Credit Suisse also facilitated payments on Letters of Credit




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  involving Mahan Air’s illegal purchase of U.S. aircraft and aircraft parts.

          1111. These included the illegal purchase of an aircraft engine and an Airbus A320-232

  financed by Bank Melli, Bank Refah and Bank Sepah.

          1112. In each case, Credit Suisse directed USD payments through the United States in

  furtherance of the Conspiracy.

          1113. In March 2007, following the Deferred Prosecution Agreements of Lloyds and

  ABN Amro (RBS N.V.), Credit Suisse commenced an internal investigation of its historic USD

  funds clearing business involving U.S.-sanctioned countries and persons. Shortly thereafter, Credit

  Suisse was contacted by U.S. and New York law enforcement officials.

          1114. On December 16, 2009, DOJ issued a press release announcing that Credit Suisse

  had agreed to forfeit $536 million in USD funds to the United States and to the Manhattan District

  Attorney’s Office in connection with violations of the IEEPA and New York State law, as a result

  of violations relating to transactions Credit Suisse illegally conducted on behalf of customers from,

  inter alia, Iran.

          1115. In connection with a DPA that Credit Suisse entered into, DOJ filed a criminal

  information in the U.S. District Court for the District of Columbia charging Credit Suisse with one

  count of violating the IEEPA. Credit Suisse waived the indictment, agreed to the filing of the

  information, and, according to the press release, accepted and acknowledged responsibility for its

  criminal conduct.

          1116. Credit Suisse also simultaneously entered into an agreement with OFAC to settle

  its violations of the IEEPA and agreed to a civil forfeiture as part of the DPA it entered into with

  DOJ, the Manhattan District Attorney’s Office and OFAC.

          1117. The press release announcing the agreements quoted then-Treasury Under-




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  Secretary for Terrorism and Financial Intelligence Stuart Levey as stating “[t]his case provides a

  timely lesson about how Iran seeks to involve others in deceptive conduct to evade legal and

  regulatory controls. Those who do business with Iran expose themselves to the risk, and the

  consequences, of participating in transactions supporting proliferation, terrorism or sanctions

  evasion.”

         N.      DEFENDANT COMMERZBANK AG’S AGREEMENT TO, AND
                 PARTICIPATION IN, THE CONSPIRACY

         1118. As noted in a criminal information entered in connection with, as discussed below,

  a March 11, 2015 Deferred Prosecution Agreement between Defendant Commerzbank and DOJ:

                 COMMERZBANK AG and others … unlawfully, willfully and knowingly
                 combined, conspired, confederated and agreed with one another and with
                 others to commit offenses against the United States, that is, to engage in
                 financial transactions with Sanctioned Entities and SDNs in violation of
                 IEEPA, and the executive orders and regulations issued thereunder.… The
                 goal of the conspiracy was for COMMERZBANK and others …to enrich
                 themselves by engaging in a conspiracy and a scheme to violate IEEPA, and
                 the executive orders and regulations issued thereunder. A further goal of the
                 conspiracy was for COMMERZBANK and others … to violate executive
                 orders and regulations prohibiting the exportation, directly and indirectly,
                 of services from the United States to Sanctioned Entities and SDNs.

         1119. Like many of the other Defendants who entered into the Conspiracy, Commerzbank

  adopted a variety of methods to facilitate Iran’s illegal goals.

         1120. In particular, Commerzbank worked with Bank Sepah, Bank Melli, Bank Saderat

  and Bank Refah to facilitate the goals of the Conspiracy, stripping, altering or changing tens of

  thousands of SWIFT-NET payment order messages.

         1121. Since 2002, Commerzbank also appears to have engaged in various illegal gold

  transactions on behalf of the CBI, including trading orders through its New York branch while

  disguising the Iranian source of the trades.




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          1122. A March 2015 Amended Complaint filed in a qui tam case against Defendant

  Commerzbank AG stated that:

                  the gold trade has been essential to Iran's withstanding the increasingly
                  restrictive U.S. sanctions. It has a substantial amount of gold reserves,
                  amounting to $112 billion in gold, which it accumulated in part by trading
                  oil for gold. It used gold to preserve its wealth especially to withstand the
                  devaluation of its currency and to engage in trading that would bypass U.S.
                  sanctions.71

          1123. On April 17, 2003, Commerzbank finalized a policy document entitled “Routing

  Instructions Iranian banks for USD payments.” This policy admonished employees to “[u]nder no

  circumstances mention the Iranian background in the cover order.” In other words, the German-

  based recipients of this policy were instructed to never mention Iranian customers nor Iranian

  connections to any payment messages sent to the United States.

          1124. Taking advantage of the fact that Lloyds and other competitors were exiting the

  Iran market, Commerzbank solicited more Iranian clients.

          1125. The resulting increase in the volume and significance of Iranian business at

  Commerzbank led to the establishment of a centralized process for handling certain Iranian dollar

  denominated payments within Commerzbank, and the Defendant designated one group of

  employees within Commerzbank’s Frankfurt Back Office to manually process those payments.

  The task of this group was to review payments and amend them if necessary, to ensure that they

  would not get stopped by OFAC filters when sent to financial institutions in the United States,

  including Commerzbank’s New York branch.




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          In July 2015, Commerzbank settled the qui tam case, 13-cv-8095 (S.D.N.Y. 2013), for approximately
  $866,000.


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         1126. This increase in volume was in part due to illicit trade-finance, foreign exchange,

  and Eurodollar transactions undertaken by Commerzbank on behalf of Bank Refah, Bank Sepah,

  Bank Melli and Bank Saderat.

         1127. In July 2003, a Back Office employee emailed other bank employees explaining

  that two state-owned Iranian banks, Bank Melli and Bank Saderat, wanted to begin routing their

  entire USD funds clearing business through Commerzbank. The Back Office employee closed his

  email by writing, “If for whatever reason [Commerzbank] New York inquires why our turnover

  has increase [sic] so dramatically under no circumstances may anyone mention that there is a

  connection to the clearing of Iranian banks!!!!!!!!!!!!!” (Exclamation marks in the original).

         1128. On September 17, 2003, a Back Office employee sent an email advising a major

  Iranian Bank that maintained a US dollar account with Commerzbank to list “non ref” in the

  ordering party field in all of its future payment messages.

         1129. The author of the email had tested Commerzbank’s compliance systems in

  Frankfurt, and knew that writing “non ref” would trigger a manual review of the payment, thereby

  enabling Commerzbank personnel to ensure that the messages did not contain any information

  revealing the true Iranian involvement in the transaction.

         1130. In fact, Commerzbank personnel explained to employees of Iranian bank clients the

  kinds of information that could lead to payments being delayed, rejected, or blocked within the

  United States, and encouraged the Iranian banks to omit this type of information from their

  payment orders so that Commerzbank employees would not have to manually remove it.

         1131. For example, Bank Sepah’s UK subsidiary (Bank Sepah International Plc) provided

  its Iranian customers with routing instructions for “payments to our US Dollar account from




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  outside the United States” noting the SWIFT Code for Commerzbank’s New York branch and the

  Bank’s account number at Commerzbank followed by the instruction:

                 Please ensure that no mention is made of any recognisable Iranian
                 entity in any message sent through the United States.

  (Emphasis in the original.) See, Exhibit B attached.

         1132. On October 13, 2003, the Head of Commerzbank’s Internal Audit division emailed

  a member of Commerzbank’s senior management advising that Iranian bank names in payment

  messages transiting through the United States were being “neutralized” and warned that “it raises

  concerns if we consciously reference the suppression of the ordering party in our work procedures

  in order to avoid difficulties in the processing of payments with the U.S.A.”

         1133. On November 19, 2003, a memo was circulated to senior management

  memorializing the internal rules Commerzbank had developed for processing Iranian payments,

  including using MT 202 cover transactions (i.e., splitting a payment into two messages and sending

  a MT 103 to the foreign (non-U.S.) branch of the beneficiary and an MT 202 to the clearing

  institution in the United States), and using serial MT 103 messages that manually replaced the

  name of the (Iranian) ordering party with the bank code for Commerzbank Frankfurt to avoid

  detection by U.S. authorities.

         1134. It appears that Commerzbank may have ceased stripping some transactions in July

  2004, relying primarily on cover payments (MT 202 payment order messages) to effectuate its

  unlawful conduct. At the same time, Commerzbank conspired with Bank Melli to facilitate over

  one hundred (100) checks totaling approximately $2 million in USD funds that Commerzbank

  issued for illegal payments in the United States.




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         1135. However, as noted supra, Bank Sepah International Plc (Bank Sepah’s UK

  subsidiary) provided “stripping” instructions to its clients even in 2006 directing that U.S. dollars

  wire transfers be sent through Commerzbank’s New York branch.

         1136. DOJ described “the rigor with which the Bank enforced the policy during this

  period” by citing an email from a Back Office employee who wrote about Commerzbank’s

  procedures for facilitating the Conspiracy “NO EXPERIMENTS PLEASE!!! Have fun with this

  and greetings.” (Emphasis in the original.)

         1137. This ongoing conduct involving both “stripping” transactions and converting

  otherwise transparent SWIFT-NET MT 103 messages into opaque MT 202 cover transactions

  resulted in tens of millions of dollars being illegally transferred on Iran’s behalf.

         1138. However, parallel to its illegal conduct on behalf of Bank Sepah, Bank Saderat and

  Bank Melli, as noted above, Commerzbank also directly coordinated with IRISL in laundering

  U.S. dollars through the United States despite the fact that IRISL was Iran’s primary means of

  transporting both conventional and non-conventional weapons.

         1139. Between 2002 and 2008 (and upon information and belief, even later),

  Commerzbank worked directly with IRISL to facilitate illicit payments through the United States.

         1140. In January 2005, Commerzbank’s New York branch rejected a series of payment

  transactions on behalf of Lancelin Shipping Company Ltd., an IRISL-formed entity registered in

  Cyprus, because the payment messages contained references to IRISL Europe GmbH, a wholly-

  owned IRISL subsidiary registered in Hamburg and designated by the United States in 2008.

         1141. This prompted a direct meeting between the relationship managers in

  Commerzbank’s Hamburg branch and employees from IRISL on January 24, 2005.




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          1142. A memorandum summarizing the meeting noted that: “[d]ue to the tense political

  relations between Iran and the U.S., sanctions that have existed for some years against Iran and

  Iranian companies have been tightened…. The number of rejected payments recently increased

  sharply since the word “IRISL” results in inquiries at foreign banks. Based on inquiries from

  Commerzbank, New York we assume that it appears as a term on the embargo list.” (Emphasis in

  the original.)

          1143. In a written presentation that Commerzbank delivered to IRISL on January 25,

  2005, following the in-person meeting, the Hamburg relationship manager stated: “[t]he current

  rejections show that IRISL is in the OFAC list” (Emphasis in the original).

          1144. The presentation then explained that “payments which are sent through a ...

  subsidiary are unlikely to be rejected to our present knowledge.”

          1145. Commerzbank ultimately adopted a process it termed a “safe payments solution”

  by which IRISL initiated USD funds transfers through the U.S., using the accounts of less

  conspicuous subsidiaries to prevent its New York branch or other clearing banks from flagging

  IRISL U.S. dollar transactions.

          1146. Moreover, to assist IRISL in its bookkeeping, Commerzbank would sweep those

  accounts daily and zero them out so that IRISL could keep track of which USD funds belonged to

  it – as opposed to its subsidiaries.

          1147. On April 18, 2006, Commerzbank’s New York branch rejected a payment on behalf

  of Lancelin, citing “US sanctions against Iran.” As a result, Commerzbank altered the structure of

  the “safe payment solution,” suggesting the use of two other subsidiaries to process payments on

  behalf of IRISL and IRISL Europe GmbH.




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         1148. In fact, in only four months following IRISL’s U.S. designation in 2008,

  Commerzbank illegally transferred almost $40 million on behalf of IRISL subsidiaries and related

  entities through Commerzbank’s New York branch and other U.S. financial institutions.

         1149. These post-designation transactions, laundered by Commerzgank through the U.S.

  financial system, were self-evidently not for the benefit of a legitimate agency, operation or

  program of Iran.

         1150. Only months earlier, a U.S. State Department diplomatic cable warned of an IRISL-

  flagged vessel in China loaded with cargo containing weapons for Iran’s Defense Industries

  Organization (“DIO”).

         1151. The 2008 diplomatic cable further warned of the dangers of ongoing conventional

  arms transfers from China to Iran, “particularly given Iran’s clear policy of providing arms and

  other support to Iraqi insurgents and terrorist groups like the Taliban and Hezbollah…. We have

  specific information that Chinese weapons and components for weapons transferred to Iran are

  being used against U.S. and Coalition Forces in Iraq, which is a grave U.S. concern.”

         1152. Less than a year after Commerzbank in Hamburg provided IRISL with at least $40

  million in illegal (post-designation) USD transactions in October 2009, U.S. troops boarded a

  German-owned freighter, the Hansa India, in the Gulf of Suez and found eight containers full of

  ammunition, and headed to Syria from Iran.

         1153. The Hansa India was registered to the Hamburg-based shipping company

  Leonhardt & Blumberg, but had in fact been under charter to IRISL for several years.

         1154. The Hansa India carried seven containers of small arms ammunition, as well as one

  container containing copper discs, which constitute, as noted supra, a key component in EFPs used

  to kill and maim many of the Plaintiffs herein.




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         1155. Although Commerzbank worked to shield its New York branch from knowing all

  of the details of its illicit activities on behalf of Iran and IRISL, Commerzbank’s New York branch

  was nonetheless aware that it was being used to facilitate unlawful conduct.

         1156. For example, in June 2006, in response to a request from the new Chief Compliance

  Officer asking if there were any concerns they wanted her to share with the new Global Head of

  Compliance in Germany, a New York compliance employee responded “[p]ersistent disregarding

  of OFAC rules by foreign branches. Hamburg is notorious for it.”

         1157. In February 2007, Commerzbank’s then Chief Executive Officer Klaus-Peter

  Mueller and Board Member Martin Blessing met with U.S. Treasury Deputy Secretary Robert

  Kimmitt. In the meeting, Mueller complained about the portrayal of Commerzbank by The Wall

  Street Journal (in a January 2007 article) which he said made it appear that the Bank was trying

  to evade sanctions on Iran. “This,” claimed Mueller “is far from the case.”

         1158. The Wall Street Journal reported on January 10, 2007 that “Commerzbank AG,

  Germany’s second largest bank, said it will stop handling dollar transactions for Iran at its New

  York branch by Jan. 31.” It went on to report that “[a]t present, Commerzbank handles both dollar

  and euro transactions for Iran’s state owned banks. Like several other European banks, it will cease

  handling only dollar transactions.”

         1159. The Wall Street Journal article went on to report:

                 The risks of doing business with Iran are the same in all currencies,” said
                 Mr. [Stuart] Levey. Intelligence officials say Bank Saderat, a large, state-
                 controlled Iranian bank placed on a U.S. Treasury blacklist in October for
                 allegedly funding terrorism, has been able to process dollar transactions
                 through Commerzbank’s New York branch in recent months by using the
                 accounts of two other Iranian banks. Commerzbank says it ceased dealing
                 with Saderat after it was put on the U.S. blacklist and has no knowledge of
                 any subsequent transactions. “Commerzbank has no knowledge of Bank
                 Saderat directly or indirectly using the accounts of other Iranian banks to
                 process dollar transactions,” the bank said in a statement. Commerzbank, in



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                 a response to an inquiry from The Wall Street Journal about its dealings
                 with Iran, also said “all such [dollar clearing] transactions are currently
                 being phased out” as of Jan. 31. It added that “any clearing conducted by
                 our U.S. operations is in strict compliance” with U.S. government
                 regulations.

         1160. Commerzbank’s assurances to The Wall Street Journal, like its assurances to U.S.

  Treasury Deputy Secretary Robert Kimmitt, were plainly false.

         1161. As noted above, on September 10, 2008, the U.S. designated IRISL, IRISL Europe

  GmbH, and several IRISL subsidiaries based on evidence that the IRISL network of companies

  was engaged in WMD proliferation activity and the fact that “IRISL has pursued new strategies

  which could afford it the potential to evade future detection of military shipments.”

         1162. The next day, on September 11, 2008, a senior official at OFAC personally

  forwarded the press release announcing IRISL’s SDN designation to the Head of Compliance at

  Commerzbank in New York.

         1163. The press release was then forwarded to Commerzbank employees in Germany

  with responsibilities related to IRISL. In the email, the relationship manager noted that the U.S.

  government alleged “that IRISL as Iranian government carrier systematically circumvents the

  Iranian arms embargo.”

         1164. Nonetheless, between September 10, 2008, and December 31, 2008 alone,

  Commerzbank illegally directed close to $40 million on behalf of IRISL subsidiaries and related

  entities through the United States.

         O.      DEFENDANT COMMERZBANK AG’S DIRECT FUNDING OF
                 HEZBOLLAH THROUGH ITS CUSTOMER, ORPHANS PROJECT
                 LEBANON e.V.

         1165. During this same time period, Commerzbank also knowingly, or with deliberate

  indifference to the fact, maintained account number 7001688 for an open and notorious Hezbollah




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  fundraising organization in Germany known as Waisenkinderprojekt Libanon e.V. (“the Orphans

  Project Lebanon e.V.”).

         1166. Despite prior public German government reports identifying its customer as a

  Hezbollah fundraising organization, and the fact that on July 24, 2007 the United States

  designated72 the Lebanese organization that was primary recipient of funds donated from the

  account (Hezbollah’s Martyrs Foundation), Commerzbank knowingly, or with deliberate

  indifference to the fact, continued to provide financial services to Waisenkinderprojekt Libanon

  e.V. and hence continued to transfer funds to Hezbollah.

  VII.   THE PLAINTIFFS

         1.      THE JANUARY 20, 2007 ATTACK – KARBALA

         1167. In the early evening of January 20, 2007, Iran launched a coordinated terrorist

  attack against the Provincial Joint Coordination Center (“PJCC”) in Karbala, about thirty miles

  south of Baghdad.

         1168. The attack on the PJCC was largely planned by Hezbollah, under the direction of

  Ali Musa Daqduq, and carried out by Hezbollah agents, Asa’ib Ahl al-Haq (“AAH”) operatives

  led by Qais al-Khazali.

         1169. Just after nightfall, a five-car convoy of black GMC Suburban sport-utility vehicles

  (“SUVs”) – the type frequently used by the U.S. government in Iraq – made its way through three

  checkpoints on the access road approaching the PJCC.

         1170. The vehicles contained at least a dozen AAH operatives dressed in U.S. military-

  style fatigues, carrying American-type weapons.

         1171. After they entered the PJCC compound, the five vehicles split up, with some



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         See, https://www.treasury.gov/press-center/press-releases/Pages/hp503.aspx


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  parking in front, and others waiting at the Iraqi Police checkpoints along the southern approach to

  the PJCC compound.

          1172. After exiting their vehicles, the AAH terrorists greeted in fluent English the two

  U.S. soldiers guarding the PJCC’s western entrance before launching a surprise attack.

          1173. The AAH operatives shot and wounded the two U.S. soldiers outside the PJCC’s

  main building and opened fire on the PJCC compound with automatic rifles, while two small teams

  quickly moved inside the main building and assaulted the Communications Room with small arms

  fire.

          1174. One U.S. soldier, Johnathon M. Millican, fell on a grenade that was thrown into the

  Communications Room, while other soldiers prevented the attackers from overrunning their

  position.

          1175. Although Millican was killed, and several other U.S. soldiers injured, his selfless

  act provided his fellow soldiers in the PJCC’s main building a few extra moments to recover and

  begin returning fire.

          1176. For his act of bravery, Johnathon M. Millican was posthumously awarded the Silver

  Star medal by the U.S. Army.

          1177. At the same time that AAH terrorists were attacking the PJCC’s main building,

  other AAH operatives conducted a coordinated attack on the compound’s barracks and back gate,

  before abducting four U.S. soldiers (the two wounded soldiers and two officers from inside the

  main building) and fleeing the compound.

          1178. Five of the AAH getaway vehicles drove east, crossing the Euphrates River and

  then turned north. The other three departed in the opposite direction to confuse any pursuing forces.




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         1179. After over an hour of travel on the main roads, the five SUVs were stopped at a

  checkpoint in Mahawil, after U.S. forces put out a radio alert regarding the abducted soldiers.

         1180. The AAH terrorists then abandoned the main road for back roads, and the Iraqi

  Police and Iraqi Army forces at the Mahawil checkpoint gave chase.

         1181. Realizing the likelihood of escaping with their captives was low, and darkness

  making back road navigation all but impossible, the AAH operatives murdered the four Americans

  they had just kidnapped, and abandoned their bodies and the vehicles near the town of Mahawil.

  Three of the four Americans died at the scene.

         1182. Only one of the four abducted U.S. soldiers, Brian S. Freeman, was still alive when

  rescuers reached the scene. Two of the soldiers were found in the back of one of the SUVs,

  handcuffed together and shot dead. A third soldier was found dead on the ground, near the

  abandoned vehicles. Brian S. Freeman had also been shot in the head, and died on the way to the

  hospital.

         1183. The terrorist group that planned and executed the PJCC attack, AAH, was trained

  and armed by Iran’s IRGC with Hezbollah’s assistance.

         1184. On March 20, 2007, two months after the attack was perpetrated, Hezbollah

  operative Ali Musa Daqduq (“Daqduq”) and AAH leader Qais al-Khazali and his brother Laith al-

  Khazali were captured by Coalition Forces in southern Iraq.

         1185. The United States government charged them with responsibility for the Karbala

  PJCC attack.

         1186. Documents captured with Qais al-Khazali showed that the IRGC-QF had gathered

  detailed information on “soldiers’ activities, shift changes and defenses” at the PJCC “and this

  information was shared with the attackers.”




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         1187. A 22-page memorandum found with Daqduq “detailed the planning, preparation,

  approval process and conduct of the [Karbala] operation,” among others. Other documents

  discussed tactics to attack Iraqi and Coalition Forces.

         1188. Daqduq also had a personal journal that noted his having met with Special Groups

  members who were targeting other Iraqis and Coalition Forces in the Diyala province using

  Improvised Explosive Devices (“IEDs”), as well as small-arms fire.

         1189. According to U.S. military officials, both Daqduq and Qais al-Khazali admitted that

  senior leadership within the IRGC-QF knew of and helped plan the Karbala attack.

         1190. It was later reported that U.S. spy satellites spotted a full-scale mockup of the

  Karbala PJCC at the IRGC-QF Farj Garrison in the city of Ahwaz, Iran.

         1191. Analysis of the satellite imagery indicated that the IRGC had duplicated the PJCC’s

  layout to specifically train the AAH operatives for the attack.

         1192. The terror attack on the PJCC was commanded by Azhar al-Dulaymi. He was

  trained by Hezbollah operatives, including Daqduq, near the city of Qom, Iran, where he and his

  AAH operatives trained to execute military-style, precision kidnappings.

         1193. Although al-Dulaymi commanded the attack, Daqduq, a longtime Hezbollah

  commander, masterminded it, authorized it and directed its execution down to the minor details.

         1194. Daqduq advised AAH commanders al-Dulaymi and Qais al-Khazali and served as

  a liaison between the IRGC-QF and Qais al-Khazali, who along with his brother Laith al-Khazali,

  oversaw the attack.

         1195. The U.S. Treasury Department’s November 19, 2012 press release announcing

  Daqduq’s designation as an SDGT stated, in part:

                 Daqduq is a senior Hezbollah commander responsible for numerous attacks
                 against Coalition Forces in Iraq, including planning an attack on the Karbala


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                 Joint Provincial Coordination Center (JPCC) [sic] on January 20, 2007,
                 which resulted in the deaths of five U.S. soldiers.

         1196. Daqduq is Lebanese-born and served in Hezbollah for twenty-four years prior to

  the attack on the Karbala PJCC.

         1197. Daqduq served as a bodyguard for Hezbollah leader Hassan Nasrallah and also led

  Hezbollah operations in large areas of Lebanon.

         1198. According to the U.S. government, Daqduq “was in Iraq working as a surrogate for

  Iranian Revolutionary Guards Corps Quds Force operatives involved with special groups.”

         1199. In 2005, Daqduq was directed by senior Lebanese Hezbollah leadership to go to

  Iran and work with the IRGC-QF to train Iran’s proxies in Iraq.

         1200. According to the U.S. government: “In May 2006, [Daqduq] traveled to Tehran

  with Yussef Hashim, a fellow Lebanese Hezbollah and head of their operations in Iraq. There they

  met with the commander and deputy commander of the Iranian Quds Force special external

  operations.”

         1201. Daqduq was ordered to Iraq to report on the training and operations of the Iraqi

  Special Groups.

         1202. In the year prior to his capture in 2007, Daqduq made four trips to Iraq where he

  monitored and reported on the training and arming of the Special Groups in mortars and rockets,

  manufacturing and employment of IEDs, and kidnapping operations.

         1203. Most significantly, Daqduq was tasked with organizing the Special Groups in ways

  that mirrored how Hezbollah was organized in Lebanon.

         1204. Daqduq also helped the IRGC train Iraqis at multiple sites in Iran.




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         1205. Using training groups of approximately twenty to sixty Iraqis at a time, Daqduq

  instructed his trainees on how to use EFPs, mortars and rockets, as well as intelligence, sniper and

  kidnapping operations.

         1206. The IRGC then provided operational, intelligence and logistical support to insert

  the terrorist trainees back into various Iraqi cities where they rejoined their respective Special

  Groups.

         1207. The IRGC also supplied the Groups with weapons and a funding stream ranging

  from an estimated $750,000 to $3 million per month.

         1208. On April 26, 2007, the Commander of the Multi-National Force-Iraq, Gen. David

  Petraeus, gave a briefing in which he stated:

                 The Iranian involvement has really become much clearer to us and brought
                 into much more focus during the interrogation of the members -- the heads
                 of the Khazali network and some of the key members of that network that
                 have been in detention now for a month or more. This is the head of the
                 secret cell network, the extremist secret cells. They were provided
                 substantial funding, training on Iranian soil, advanced explosive munitions
                 and technologies as well as run of the mill arms and ammunition, in some
                 cases advice and in some cases even a degree of direction. When we
                 captured these individuals -- the initial capture, and then there have been a
                 number of others since then -- we discovered, for example, a 22-page
                 memorandum on a computer that detailed the planning, preparation,
                 approval process and conduct of the operation that resulted in five of our
                 soldiers being killed in Karbala. It also detailed -- there are numerous
                 documents which detailed a number of different attacks on coalition forces,
                 and our sense is that these records were kept so that they could be handed
                 in to whoever it is that is financing them. And there’s no question, again,
                 that Iranian financing is taking place through the Quds force of the Iranian
                 Republican Guards Corps.

         1209. The Americans killed during the Karbala attack included Brian S. Freeman,

  Johnathon M. Millican, Shawn P. Falter and Johnathan B. Chism. The Americans injured during

  the Karbala attack included Billy Wallace, Evan Kirby, Johnny Washburn and Marvin

  Thornsberry.



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  The Freeman Family

         1210. Brian S. Freeman was a citizen of the United States and domiciled in the State of

  California when he was killed in Iraq.

         1211. Plaintiff Kathaleen Freeman is a citizen of the United States and domiciled in the

  State of California. She is the step-mother of Brian S. Freeman.

         1212. Plaintiff Albert Snyder is a citizen of the United States and domiciled in the State

  of Utah. He is the step-father of Brian S. Freeman.

         1213. Plaintiff Richard Lee is a citizen of the United States and domiciled in the State of

  California. He is the step-brother of Brian S. Freeman.

         1214. As a result of the attack, and the death of Brian S. Freeman, Plaintiffs Kathaleen

  Freeman, Albert Snyder and Richard Lee have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their son’s/brother’s society, companionship, comfort,

  advice and counsel.

  The Kirby Family

         1215. Evan Kirby is a citizen of the United States and domiciled in the State of Ohio.

         1216. Mr. Kirby was wounded during the attack on the PJCC’s barracks.

         1217. As a result of an explosion that occurred during the attack, Mr. Kirby was thrown

  into the air and sustained injuries to his back and spine.

         1218. The aforementioned injuries have caused him great pain.

         1219. Plaintiff Marcia Kirby is a citizen of the United States and domiciled in the State

  of Ohio. She is the mother of Evan Kirby.

         1220. Plaintiff Steven Kirby is a citizen of the United States and domiciled in the State of

  Ohio. He is the father of Evan Kirby.




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         1221. As a result of the attack and the injuries Evan Kirby suffered, Plaintiffs Marsha

  Kirby and Steven Kirby have experienced severe mental anguish and extreme emotional pain and

  suffering.

         2.      THE JANUARY 12, 2004 ATTACK – BAGHDAD

  The Crockett Family

         1222. Ricky Leon Crockett was a citizen of the United States and domiciled in the State

  of Georgia.

         1223. On January 12, 2004, Ricky Leon Crockett, then 37, was serving in the U.S.

  military in Iraq when an IED emplaced by JAM terror operatives detonated near the vehicle.

         1224. Ricky Leon Crockett died from penetrating shrapnel injuries he sustained in the

  explosion.

         1225. The terror cell that emplaced the IED that killed Ricky Leon Crockett was trained

  by Hezbollah and funded and armed by the IRGC-QF.

         1226. Plaintiff Maxine E. Crockett is a citizen of the United States and domiciled in the

  State of North Carolina. She is the widow of Ricky Leon Crockett.

         1227. Plaintiff Maxine E. Crockett brings an action individually and on behalf of the

  Estate of Ricky Leon Crockett, as its legal representative.

         1228. Plaintiff Marvise L. Crockett is a citizen of the United States and domiciled in the

  State of North Carolina. She is the daughter of Ricky Leon Crockett.

         1229. As a result of the attack, and the death of Ricky Leon Crockett, Plaintiffs Maxine

  E. Crockett and Marvise L. Crockett have experienced severe mental anguish, extreme emotional

  pain and suffering, and loss of their husband’s/father’s society, companionship, comfort, advice

  and counsel.




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          3.        THE APRIL 4, 2004 ATTACK – BAGHDAD

  The Arsiaga Family

          1230. Robert R. Arsiaga was a citizen of the United States and domiciled in the State of

  Texas when he was killed in Iraq.

          1231. On April 4, 2004, Robert R. Arsiaga, aged 25, was serving in the United States

  military in Iraq when his unit was attacked by JAM terror operatives with rocket-propelled

  grenades and small-arms fire.

          1232. Robert R. Arsiaga was killed in the attack.

          1233. The terror cell that emplaced the IED that killed Robert R. Arsiaga was trained by

  Hezbollah and funded and armed by the IRGC-QF.

          1234. Tracie Arsiaga is a citizen of the United States and domiciled in the State of Texas.

  She is the widow of Robert R. Arsiaga.

          1235. Tracie Arsiaga brings an action on behalf of the Estate of Robert R. Arsiaga, as its

  legal representative, for his death and any suffering and/ or economic loss he/his Estate sustained

  as a result of the attack.

  The Greenwood Family

          1236. Plaintiff Steven Greenwood is a citizen of the United States and domiciled in the

  State of Texas.

          1237. On April 4, 2004, Steven Greenwood, then 20, was serving in the United States

  military in Iraq when his unit was attacked by JAM terror operatives with rocket-propelled

  grenades and small-arms fire.

          1238. The terror cell that emplaced the IED that injured Steven Greenwood was trained

  by Hezbollah and funded and armed by the IRGC-QF.




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         1239. As a result of the attack, Mr. Greenwood suffered shrapnel wounds to his wrist

  which caused nerve damage.

         1240. He was initially treated in Iraq for his injuries, but the nerve damage could not be

  treated there. Approximately one week after the attack, he was sent to Landstuhl, Germany where

  he was further treated for his wounds.

         1241. He was then sent back to the U.S. where he had surgery to remove the shrapnel.

         1242. He also suffers from Post-Traumatic Stress Disorder (“PTSD) and depression.

         1243. He has sought treatment for his wounds, PTSD and depression.

         1244. As a result of the attack, and the injuries he suffered, Plaintiff Steven Greenwood

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

  The Hiller Family

         1245. Stephen Dustin Hiller was a citizen of the United States and domiciled in the State

  of Alabama.

         1246. On April 4, 2004, Stephen Dustin Hiller, aged 25, was serving in the U.S. military

  in Iraq when his unit was engaged in small arms fire with members of JAM in Sadr City, Iraq.

         1247. Stephen Dustin Hiller was killed by JAM rocket-propelled grenade (“RPG”) fire

  while engaged in the exchange of gunfire with members of JAM.

         1248. The terror cell that fired at Stephen Dustin Hiller was trained by Hezbollah and

  funded and armed by the IRGC-QF.

         1249. Plaintiff Stephen W. Hiller is a citizen of the United States and domiciled in the

  State of Alabama. He is the father of Stephen Dustin Hiller.

         1250. Plaintiff Stephen W. Hiller brings an action individually and behalf of the Estate of

  Stephen Dustin Hiller, as its legal representative.




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         1251. As a result of the attack, and the death of Stephen Dustin Hiller, Plaintiff Stephen

  W. Hiller has experienced severe mental anguish, extreme emotional pain and suffering, and loss

  of his son’s society, companionship, comfort, advice and counsel.

         4.      THE APRIL 9, 2004 ATTACK – BAGHDAD

  The Church Family

         1252. Plaintiff Jeremy Church is a citizen of the United States and domiciled in the State

  of Missouri.

         1253. On April 9, 2004, Jeremy Church, then 26, was serving in the U.S. military in Iraq

  when his unit was attacked by JAM terror operatives with rocket-propelled grenades and small-

  arms fire.

         1254. He was driving in a convoy when an IED and an RPG struck his vehicle.

         1255. The terror cell that executed the attack in which Jeremy Church was injured was

  trained by Hezbollah and funded and armed by the IRGC-QF.

         1256. Mr. Church suffers from hearing issues as a result of the rocket fire and detonation

  of the IED. He continues to experience ringing in his ears.

         1257. He has experienced severe headaches.

         1258. Mr. Church has been diagnosed with PTSD.

         1259. He has sought treatment, including counseling.

         1260. He has been prescribed anti-anxiety medications, anti-depressants, and medication

  to address sleep-related issues.

         1261. As a result of the attack, and the injuries he suffered, Plaintiff Jeremy Church has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.




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         1262. Plaintiff Sandra Hankins is a citizen of the United States and domiciled in the State

  of Texas. She is the of mother of Jeremy Church.

         1263. As a result of the attack, and the injuries Jeremy Church suffered, Plaintiff Sandra

  Hankins has experienced severe mental anguish and extreme emotional pain and suffering.

  The Fisher Family

         1264. Steven Scott Fisher was a citizen of the United States and domiciled in the State of

  Virginia when he was killed in Iraq.

         1265. On April 9, 2004, Steven Scott Fisher, aged 43, was serving as a civilian contractor

  in Iraq when the convoy in which he was traveling was attacked by JAM terror operatives with

  rocket-propelled grenades and small-arms fire.

         1266. Steven Scott Fisher was killed in the attack.

         1267. The terror cell that executed the attack in which Steven Scott Fisher was killed was

  trained by Hezbollah and funded and armed by the IRGC-QF.

         1268. Plaintiff Ingrid Fisher is a citizen of the United States and domiciled in the State of

  Virginia. She is the widow of Steven Scott Fisher.

         1269. Plaintiff Ingrid Fisher brings an action individually and on behalf of the Estate of

  Steven Scott Fisher, as its legal representative.

         1270. Plaintiff Kristin Walker is a citizen of the United States and domiciled in the State

  of Virginia. She is the daughter of Steven Scott Fisher.

         1271. Plaintiff Steven T. Fisher is a citizen of the United States and domiciled in the State

  of Virginia. He is the son of Steven Scott Fisher.

         1272. Plaintiff Kathleen Gramkowski is a citizen of the United States and domiciled in

  the State of Virginia. She is the daughter of Steven Scott Fisher.




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         1273. As a result of the attack, and the death of Steven Scott Fisher, Plaintiffs Ingrid

  Fisher, Kristin Walker, Steven T. Fisher, and Kathleen Gramkowski have experienced severe

  mental anguish, extreme emotional pain and suffering, and loss of their husband’s/father’s society,

  companionship, comfort, advice and counsel.

         5.      THE JUNE 4, 2004 ATTACK – BAGHDAD

  The Carvill Family

         1274. Frank T. Carvill was a citizen of the United States and domiciled in the State of

  New Jersey when he was killed in Iraq.

         1275. On June 4, 2004, Frank T. Carvill, aged 51, was serving in the United States

  military in Iraq when his unit was attacked by JAM terror operatives with rocket-propelled

  grenades and IEDs in Baghdad.

         1276. Frank T. Carvill was killed in the attack.

         1277. The terror cell that executed the attack in which Frank T. Carvill was killed was

  trained by Hezbollah and funded and armed by the IRGC-QF.

         1278. Plaintiff Mary Carvill is a citizen of the United States and domiciled in the State of

  New Jersey. She is the mother of Frank T. Carvill.

         1279. Plaintiff Peggy Carvill-Liguori is a citizen of the United States and domiciled in

  the State of New Jersey. She is the sister of Frank T. Carvill.

         1280. Plaintiff Peggy Carvill-Liguori brings this action individually and on behalf of the

  Estate of Frank T. Carvill, as its legal representative.

         1281. Plaintiff Daniel Carvill is a citizen of the United States and domiciled in the State

  of New Jersey. He is the brother of Frank T. Carvill.




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         1282. As a result of the attack, and the death of Frank T. Carvill, Plaintiffs Mary Carvill,

  Peggy Carvill-Liguori and Daniel Carvill have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their son’s/brother’s society, companionship, comfort,

  advice and counsel.

         6.      THE JUNE 29, 2004 ATTACK – BAGHDAD

  The Adle Family

         1283. Patrick Adle was a citizen of the United States and domiciled in the State of

  Maryland when he was killed in Iraq.

         1284. On June 29, 2004, Patrick Adle, aged 21, was serving in the U.S. military in Iraq

  when a roadside bomb emplaced by JAM terror operatives detonated near the vehicle in which he

  was traveling in Baghdad.

         1285. Patrick Adle was killed in the attack.

         1286. The terror cell that emplaced the roadside bomb that killed Patrick Adle was trained

  by Hezbollah and funded and armed by the IRGC-QF.

         1287. Plaintiff Pamela Adle-Watts is a citizen of the United States and domiciled in the

  State of Maryland. She is the mother of Patrick Adle.

         1288. Plaintiff Pamela Adle-Watts brings this action individually and on behalf of the

  Estate of Patrick Adle, as its legal representative.

         1289. Plaintiff John Watts is a citizen of the United States and domiciled in the State of

  Maryland. He is the step-father of Patrick Adle.

         1290. As a result of the attack, and the death of Patrick Adle, Plaintiffs Pamela Adle-

  Watts and John Watts have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their son’s society, companionship, comfort, advice and counsel.




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         7.        THE JULY 27, 2004 ATTACK – BALAD RUZ

  The Talbert Family

         1291. DeForest L. Talbert was a citizen of the United States and domiciled in the State of

  West Virginia.

         1292. On July 27, 2004, DeForest L. Talbert, then 24, was serving in the U.S. military in

  Iraq when an IED detonated near the vehicle.

         1293. On July 27, 2004, DeForest L. Talbert was traveling in an M998 Humvee in the

  vicinity of Balad Ruz close to the Iranian border and IRGC-QF smuggling routes when his vehicle

  was struck with an IED.

         1294. DeForest L. Talbert was killed in the attack.

         1295. The terror cell that emplaced the IED that killed DeForest L. Talbert was trained

  by Hezbollah and funded by the IRGC-QF.

         1296. Plaintiff Gloria Nesbitt is a citizen of the United States and domiciled in the State

  of Virginia. She is the mother of DeForest L. Talbert.

         1297. Plaintiff Gloria Nesbitt brings an action individually and on behalf of the Estate of

  DeForest L. Talbert, as its legal representative.

         1298. Plaintiff D.J.H., a minor, represented by his legal guardian Frances Hamilett, is a

  citizen of the United States and domiciled in the State of West Virginia. He is the son of DeForest

  L. Talbert.

         1299. Plaintiff Chiquita Talbert is a citizen of the United States and domiciled in the State

  of Virginia. She is the sister of DeForest L. Talbert.

         1300. Plaintiff Tawanna Talbert Darring is a citizen of the United States and domiciled in

  the State of Maryland. She is the sister of DeForest L. Talbert.




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         1301. Plaintiff Latasha Marble is a citizen of the United States and domiciled in the State

  of Virginia. She is the sister of DeForest L. Talbert.

         1302. Plaintiff James Talbert is a citizen of the United States and domiciled in the State

  of Virginia. He is the brother of DeForest L. Talbert.

         1303. As a result of the attack, and the death of DeForest L. Talbert, Plaintiffs Gloria

  Nesbitt, D.J.H., Chiquita Talbert, Tawanna Talbert Darring, Latasha Marble and James Talbert

  have experienced severe mental anguish, extreme emotional pain and suffering, and loss of their

  son’s/father’s/brother’s society companionship, comfort, advice and counsel. advice and counsel.

         8.      THE AUGUST 5, 2004 ATTACK – NAJAF

  The Rocha Family

         1304. Moses Rocha was a citizen of the United States and domiciled in the State of New

  Mexico when he was killed in Iraq.

         1305. On August 5, 2004, Moses Rocha, aged 33, was serving in the U.S. military in Iraq

  when his unit was attacked by JAM terror operatives with rocket-propelled grenades and small-

  arms fire.

         1306. Moses Rocha was killed in the attack.

         1307. The terror cell that executed the attack in which Moses Rocha was killed was

  trained by Hezbollah and funded and armed by the IRGC-QF.

         1308. Plaintiff Miranda Pruitt is a citizen of the United States and domiciled in the State

  of Texas. She is the daughter of Moses Rocha.

         1309. Plaintiff Velina Sanchez is a citizen of the United States and domiciled in the State

  of New Mexico. She is the mother of Moses Rocha.




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         1310. Plaintiff Velina Sanchez brings an action individually and on behalf of the Estate

  of Moses Rocha, as its legal representative.

         1311. Plaintiff Aloysius Sanchez, Sr. is a citizen of the United States and domiciled in the

  State of New Mexico. He is the step-father of Moses Rocha.

         1312. Plaintiff Rommel Rocha is a citizen of the United States and domiciled in the State

  of New Mexico. He is the brother of Moses Rocha.

         1313. Plaintiff Phillip Sanchez is a citizen of the United States and domiciled in the State

  of New Mexico. He is the brother of Moses Rocha.

         1314. Plaintiff Aloysius Sanchez, Jr. is a citizen of the United States and domiciled in the

  State of New Mexico. He is the brother of Moses Rocha.

         1315. As a result of the attack, and the death of Moses Rocha, Plaintiffs Miranda Pruitt,

  Velina Sanchez, Aloysius Sanchez, Sr., Rommel Rocha, Phillip Sanchez, and Aloysius Sanchez,

  Jr. have experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  their father’s/son’s/brother’s society, companionship, comfort, advice and counsel.

  The Reynoso Family

         1316. Yadir G. Reynoso was a citizen of the United States and domiciled in the State of

  Washington.

         1317. On August 5, 2004, Yadir G. Reynoso, aged 27, was serving in the U.S. military in

  Iraq when his unit was engaged in small arms fire with JAM terror operatives in Najaf, Iraq.

         1318. Yadir G. Reynoso was killed in the exchange of gunfire with JAM terror operatives.

         1319. The terror cell that fired at Yadir G. Reynoso was trained by Hezbollah and funded

  and armed by the IRGC-QF.




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         1320. Plaintiff Gloria P. Reynoso is a citizen of the United States and domiciled in the

  State of Washington. She is the mother of Yadir G. Reynoso.

         1321. Plaintiff Gloria P. Reynoso brings an action individually and on behalf of the Estate

  of Yadir G. Reynoso, as its legal representative.

         1322. Plaintiff Jasmin Reynoso is a citizen of the United States and domiciled in the State

  of Washington. She is the sister of Yadir G. Reynoso.

         1323. Plaintiff Patricia Reynoso is a citizen of the United States and domiciled in the State

  of Washington. She is the sister of Yadir G. Reynoso.

         1324. Plaintiff Jose Reynoso is a citizen of the United States and domiciled in the State

  of Washington. He is the brother of Yadir G. Reynoso.

         1325. As a result of the attack, and the death of Yadir G. Reynoso, Plaintiffs Gloria P.

  Reynoso, Jasmin Reynoso, Patricia Reynoso, and Jose Reynoso have experienced severe mental

  anguish, extreme emotional pain and suffering, and loss of their son’s/brother’s society,

  companionship, comfort, advice and counsel.

         9.      THE AUGUST 6, 2004 ATTACK – NAJAF

  The Wells Family

         1326. Larry Lloyd Wells was a citizen of the United States and domiciled in the State of

  Louisiana.

         1327. On August 6, 2004, Larry Lloyd Wells, aged 22, was serving in the U.S. military

  in Iraq when his unit was engaged in small arms fire with JAM terror operatives in the Wadi al-

  Salam Cemetery in Najaf, Iraq.

         1328. Larry Lloyd Wells was killed by sniper fire from JAM terror operatives.

         1329. The terror cell that fired at Larry Lloyd Wells was trained by Hezbollah and funded




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  and armed by the IRGC-QF.

         1330. Plaintiff Ashley Wells Simpson is a citizen of the United States and domiciled in

  the State of Louisiana. She is the sister of Larry Lloyd Wells.

         1331. Plaintiff Ashley Wells Simpson brings an action individually and on behalf of the

  Estate of Larry Lloyd Wells, as its legal representative.

         1332. Plaintiff Chad Wells is a citizen of the United States and domiciled in the State of

  Louisiana. He is the brother of Larry Lloyd Wells.

         1333. Plaintiff Crystal Stewart is a citizen of the United States and domiciled in the State

  of Louisiana. She is the sister of Larry Lloyd Wells.

         1334. Plaintiff Chasity Wells-George is a citizen of the United States and domiciled in

  the State of Louisiana. She is the sister of Larry Lloyd Wells.

         1335. Plaintiff Candice Machella is a citizen of the United States and domiciled in the

  State of Louisiana. She is the sister of Larry Lloyd Wells.

         1336. Plaintiff Billy Doal Wells is a citizen of the United States and domiciled in the State

  of Tennessee. He is the brother of Larry Lloyd Wells.

         1337. As a result of the attack, and the death of Larry Lloyd Wells, Plaintiffs Ashley

  Wells Simpson, Chad Wells, Crystal Stewart, Chasity Wells-George, Candice Machella, and Billy

  Doal Wells have experienced severe mental anguish, extreme emotional pain and suffering, and

  loss of their brother’s society, companionship, comfort, advice and counsel.

         10.     THE AUGUST 15, 2004 ATTACK – NAJAF

  The Sapp Family

         1338. Brandon Robert Sapp was a citizen of the United States and domiciled in the State

  of Florida.




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         1339. On August 15, 2004, Brandon Robert Sapp, then 21, was serving in the U.S.

  military in Najaf, Iraq when the M2 Bradley Fighting Vehicle he was operating rolled over a 500-

  pound IED emplaced by JAM terror operatives that sent the Bradley and Brandon Robert Sapp

  airborne, killing him.

         1340. The terror cell that emplaced the IED that killed Brandon Robert Sapp was trained

  by Hezbollah and funded and armed by the IRGC-QF.

         1341. Plaintiff Hope Elizabeth Veverka is a citizen of the United States and domiciled in

  the State of New Mexico. She is the mother of Brandon Robert Sapp.

         1342. As a result of the attack, and the death of Brandon Robert Sapp, Plaintiff Hope

  Elizabeth Veverka has experienced severe mental anguish, extreme emotional pain and suffering,

  and loss of her son’s society, companionship, comfort, advice and counsel.

         11.     THE AUGUST 16, 2004 ATTACK – SADR CITY

  The Heath Family

         1343. David Michael Heath was a citizen of the United States and domiciled in the State

  of Indiana.

         1344. On August 16, 2004, David Michael Heath, aged 30, was serving in the U.S.

  military in Iraq when an IED emplaced by JAM terror operatives detonated near his vehicle

  followed by smalls arms fire and a subsequent RPG attack in Sadr City.

         1345. David Michael Heath was killed in the attack by a gunshot wound to his head by

  JAM terror operatives.

         1346. The terror cell that fired at David Michael Heath was trained by Hezbollah and

  funded and armed by the IRGC-QF.

         1347. Plaintiff Donna Jean Heath is a citizen of the United States and domiciled in the




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  State of Indiana. She is the wife of David Michael Heath.

         1348. Plaintiff Donna Jean Heath brings an action individually and on behalf of the Estate

  of David Michael Heath, as its legal representative.

         1349. Plaintiff Lola Jean Modjeska is a citizen of the United States and domiciled in the

  State of Indiana. She is the mother of David Michael Heath.

         1350. Plaintiff John David Heath is a citizen of the United States and domiciled in the

  State of Florida. He is the father of David Michael Heath.

         1351. As a result of the attack, and the death of David Michael Heath, Plaintiffs Donna

  Jean Heath, Lola Jean Modjeska, and John David Heath have experienced severe mental anguish,

  extreme emotional pain and suffering, and loss of their husband’s/son’s society, companionship,

  comfort, advice and counsel.

         12.     THE AUGUST 18, 2004 ATTACK – SADR CITY

  The Martir Family

         1352. Jacob David Martir was a citizen of the United States and domiciled in the State of

  Connecticut.

         1353. On August 18, 2004, Jacob David Martir, aged 21, was serving in the U.S. military

  in Iraq when his unit was engaged in small arms fire with JAM terror operatives in Sadr City.

         1354. Jacob David Martir was shot and killed by JAM terror operatives while engaged in

  the exchange of gunfire.

         1355. The terror cell that fired at Jacob David Martir was trained by Hezbollah and funded

  and armed by the IRGC-QF.

         1356. Plaintiff Olga Lydia Gutierrez is a citizen of the United States and domiciled in the

  State of Connecticut. She is the mother of Jacob David Martir.




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          1357. Plaintiff Olga Lydia Gutierrez brings an action individually and on behalf of the

  Estate of Jacob David Martir, as its legal representative.

          1358. Plaintiff Ismael Martir is a citizen of the United States and domiciled in the State

  of Florida. He is the brother of Jacob David Martir.

          1359. As a result of the attack, and the death of Jacob David Martir, Plaintiffs Olga Lydia

  Gutierrez and Ismael Martir have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their son’s/brother’s society, companionship, comfort, advice and counsel.

          13.    THE AUGUST 25, 2004 ATTACK – NAJAF

  The Arredondo Family

          1360. Alexander Scott Arredondo was a citizen of the United States and domiciled in the

  State of Massachusetts.

          1361. On August 25, 2004, Alexander Scott Arredondo, aged 20, was serving in the U.S.

  military in Iraq when his unit was engaged in small arms fire with JAM terror operatives in Najaf,

  Iraq.

          1362. Alexander Scott Arredondo was killed by sniper fire from JAM terror operatives.

          1363. The terror cell that fired at Alexander Scott Arredondo was trained by Hezbollah

  and funded and armed by the IRGC-QF.

          1364. Plaintiff Victoria M. Foley is a citizen of the United States and domiciled in the

  State of Massachusetts. She is the mother of Alexander Scott Arredondo.

          1365. Plaintiff Victoria M. Foley brings an action individually and on behalf of the Estate

  of Alexander Scott Arredondo, as its legal representative.

          1366. Plaintiff Nathaniel Foley is a citizen of the United States and domiciled in the State

  of Massachusetts. He is the brother of Alexander Scott Arredondo.




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          1367. As a result of the attack, and the death of Alexander Scott Arredondo, Plaintiffs

  Victoria M. Foley and Nathaniel Foley have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their son’s/brother’s society, companionship, comfort,

  advice and counsel.

          14.     THE AUGUST 26, 2004 ATTACK – NAJAF

  The DeWilde Family

          1368. Plaintiff Michael Scott DeWilde is a citizen of the United States and domiciled in

  the State of Texas.

          1369. On August 26, 2004, Michael Scott DeWilde, then 37, was serving in the U.S.

  military in Iraq.

          1370. On August 26, 2004, Michael Scott DeWilde was seriously injured when he came

  under fire from a rocket-propelled grenade fired by JAM terror operatives.

          1371. The terror cell that executed the attack in which Michael Scott DeWilde was injured

  was trained by Hezbollah and funded and armed by the IRGC-QF.

          1372. As a result of the attack, Michael Scott DeWilde sustained shrapnel injuries to his

  arm requiring him to medevaced from the scene and treated at the nearest Forward Operating Base.

          1373. As a result of the attack, and the injuries he suffered, Plaintiff Michael Scott

  DeWilde has experienced severe physical and mental anguish and extreme emotional pain and

  suffering.

          15.     THE FEBRUARY 10, 2005 ATTACK – BAGHDAD

  The Morris Family

          1374. Plaintiff Steven Morris is a citizen of the United States and domiciled in the State

  of North Carolina.




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         1375. Steven Morris served in the U.S. military in Iraq on multiple rotations from March

  2003 through 2011 as a member of a Special Operations Unit.

         1376. On February 10, 2005, Mr. Morris sustained a traumatic brain injury (“TBI”) as

  well as neck and shoulder injuries when he was knocked from his armored vehicle en route to an

  operation against JAM Special Forces north of Sab’ Abkar section of Baghdad.

         1377. On a separate occasion, he sustained an additional TBI from the blast wave of an

  Iranian 122mm rocket launched by JAM Special Groups.

         1378. As a result of the attack, and the injuries he suffered, Plaintiff Steven Morris has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1379. Plaintiff Danielle Dechaine-Morris is a citizen of the United States and domiciled

  in the State of North Carolina. She was the wife of Steven Morris.

         1380. Plaintiff Nicholas Morris is a citizen of the United States and domiciled in the State

  of North Carolina. He is the son of Steven Morris.

         1381. Plaintiff K.M., a minor represented by his legal guardian, Danielle Dechaine-

  Morris, is a citizen of the United States and domiciled in the State of North Carolina. He is the son

  of Steven Morris.

         1382. As a result of the attack, and the injuries Steven Morris suffered, Plaintiffs Danielle

  Dechaine-Morris, Nicholas Morris and K.M. have experienced severe mental anguish and extreme

  emotional pain and suffering.

         16.     THE JUNE 8, 2005 ATTACK – BAGHDAD

  The Arizola Family

         1383. Roberto Arizola, Jr. was a citizen of the United States and domiciled in the State

  of Texas when he was killed in Iraq.




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         1384. On June 8, 2005, Roberto Arizola, Jr., aged 31, was serving in the U.S. military

  near Rustimaya when an IED emplaced by JAM Special Groups terror operatives detonated near

  his vehicle.

         1385. Roberto Arizola, Jr. was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         1386. Plaintiff Monica Arizola is a citizen of the United States and domiciled in the

  State of Texas. She is the widow of Roberto Arizola, Jr.

         1387. Plaintiff Roberto Aaron Arizola is a citizen of the United States and domiciled in

  the State of Texas. He is the son of Roberto Arizola, Jr.

         1388. Plaintiff Roberto Arizola, Sr. is a citizen of the United States and domiciled in the

  State of Texas. He is the father of Roberto Arizola, Jr.

         1389. Plaintiff Cecilia Arizola is a citizen of the United States and domiciled in the State

  of Texas. She is the mother of Roberto Arizola, Jr.

         1390. Plaintiff Danny Arizola is a citizen of the United States and domiciled in the State

  of Texas. He is the brother of Roberto Arizola, Jr.

         1391. Plaintiff Ricardo Arizola is a citizen of the United States and domiciled in the

  State of Texas. He is the brother of Roberto Arizola, Jr.

         1392. As a result of the attack, and the death of Roberto Arizola, Jr., Plaintiffs Monica

  Arizola, Roberto Aaron Arizola, Roberto Arizola, Sr., Cecilia Arizola, Danny Arizola and Ricardo

  Arizola have experienced severe mental anguish, extreme emotional pain and suffering, and loss

  of their husband’s/father’s/son’s brother’s society, companionship, comfort, advice and counsel.




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          17.      THE JUNE 27, 2005 ATTACK – BAGHDAD

  The Klecker Family

          1393. Deborah Klecker was a citizen of the United States and domiciled in the State of

  Oregon when she was killed in Iraq.

          1394. On June 27, 2005, Deborah Klecker, aged 51, was working as a civilian contractor

  providing mentoring and training to Iraqi police officers when she was killed by an IED planted

  and detonated near her vehicle by JAM Special Groups.

          1395. Deborah Klecker was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

          1396. Plaintiff Greg Klecker is a citizen of the United States and domiciled in the State

  of Oregon. He is the brother of Deborah Klecker.

          1397. As a result of the attack, and the death of Deborah Klecker, Plaintiff Greg Klecker

  has experienced severe mental anguish, extreme emotional pain and suffering, and loss of his

  sister’s society, companionship, comfort, advice and counsel.

          18.      THE AUGUST 7, 2005 ATTACK – BAGHDAD

  The Kalladeen Family

          1398. Anthony N. Kalladeen was a citizen of the United States and domiciled in the State

  of New York when he was killed in Iraq.

          1399. On August 7, 2005, Anthony N. Kalladeen, aged 26, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          1400. Anthony N. Kalladeen died on August 8, 2005 as a result of the injuries he sustained

  in the attack.

          1401. The weapon used to kill Anthony N. Kalladeen was a Hezbollah-designed and




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  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         1402. Plaintiff Maria Vidal is a citizen of the United States and domiciled in the State of

  Pennsylvania. She is the mother of Anthony N. Kalladeen.

         1403. As a result of the attack, and the death of Anthony N. Kalladeen, Plaintiff Maria

  Vidal has experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  her son’s society, companionship, comfort, advice and counsel.

         19.     THE SEPTEMBER 2, 2005 ATTACK – BAGHDAD

  The Hassler Family

         1404. Plaintiff Tamara Hassler is a citizen of the United States and domiciled in the State

  of North Carolina.

         1405. On September 2, 2005, Tamara Hassler, then 36, was serving as a civilian

  contractor for DynCorp International in Iraq when an EFP emplaced by Special Groups detonated

  near the vehicle in which she was traveling in Baghdad.

         1406. The weapon used to injure Tamara Hassler was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1407. As a result of the attack, Ms. Hassler suffered bruising in her sacroiliac joint, soft

  tissue damage to her piriformis muscle, and injuries to her right hip.

         1408. Ms. Hassler also suffered from three bulging discs in her lower back as a result of

  the attack, as well as atrophied discs in her neck.

         1409. Ms. Hassler was also diagnosed with hearing loss, PTSD, and a TBI.




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         1410. Ms. Hassler has been treated by numerous doctors and physical therapists for her

  injuries and has been prescribed medication to treat her symptoms.

         1411. As a result of the attack, and the injuries she suffered, Plaintiff Tamara Hassler has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1412. Plaintiff Richard E. Hassler is a citizen of the United States and domiciled in the

  State of North Carolina. He is the father of Tamara Hassler.

         1413. Plaintiff Joanne Sue Hassler is a citizen of the United States and domiciled in the

  State of North Carolina. She is the mother of Tamara Hassler.

         1414. As a result of the attack, and the injuries Tamara Hassler has suffered, Plaintiffs

  Richard E. Hassler and Joanne Sue Hassler have experienced severe mental anguish and extreme

  emotional pain and suffering.

  The Huckfeldt Family

         1415. Plaintiff Scott Huckfeldt is a citizen of the United States and domiciled in the State

  of Arizona.

         1416. On September 2, 2005, Scott Huckfeldt, then 37, was serving as a civilian

  contractor for DynCorp International in Iraq when an EFP emplaced by Special Groups detonated

  near the vehicle in which he was traveling in Baghdad.

         1417. The weapon used to injure Scott Huckfeldt was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1418. As a result of the attack, Scott Huckfeldt suffered injuries to his left knee.

         1419. Mr. Huckfeldt was also diagnosed with PTSD.




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         1420. As a result of the attack, and the injuries he suffered, Plaintiff Scott Huckfeldt has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1421. Plaintiff Kathryn Huckfeldt is a citizen of the United States and domiciled in the

  State of Arizona. She is the wife of Scott Huckfeldt.

         1422. Plaintiff Alisha Huckfeldt is a citizen of the United States and domiciled in the State

  of Arizona. She is the daughter of Scott Huckfeldt.

         1423. Plaintiff Matthew Huckfeldt is a citizen of the United States and domiciled in the

  State of Arizona. He is the son of Scott Huckfeldt.

         1424. As a result of the attack, and the injuries Scott Huckfeldt has suffered, Plaintiffs

  Kathryn Huckfeldt, Alisha Huckfeldt and Matthew Huckfeldt have experienced severe mental

  anguish and extreme emotional pain and suffering.

  The Newman Family

         1425. Plaintiff Timothy Newman is a citizen of the United States and domiciled in the

  State of South Carolina.

         1426. On September 2, 2005, Timothy Newman, then 41, was serving as a civilian

  contractor for DynCorp International in Iraq when an EFP emplaced by Special Groups detonated

  near the vehicle in which he was traveling in Baghdad.

         1427. The weapon used to injure Timothy Newman was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         1428. As a result of the attack, Mr. Newman’s legs were injured, and his right leg had to

  be amputated above the knee.




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           1429. Mr. Newman’s left hand was injured, and it had to be partially amputated at the

  wrist.

           1430. Mr. Newman received a penetrating wound to his chest and abdomen and suffered

  a broken spine and various broken bones.

           1431. Mr. Newman was also diagnosed with PTSD and a TBI.

           1432. As a result of the attack, and the injuries he suffered, Plaintiff Timothy Newman

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

           1433. Plaintiff Padraic J. Newman is a citizen of the United States and domiciled in the

  State of South Carolina. He is the son of Timothy Newman.

           1434. As a result of the attack, and the injuries Timothy Newman has suffered, Plaintiff

  Padraic J. Newman has experienced severe mental anguish and extreme emotional pain and

  suffering.

           20.    THE SEPTEMBER 6, 2005 ATTACK – BAGHDAD

  The Jonaus Family

           1435. Jude Jonaus was a citizen of the United States and domiciled in the State of Florida

  when he was killed in Iraq.

           1436. On September 6, 2005, Jude Jonaus, aged 27, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near his HMMWV in

  Baghdad.

           1437. Jude Jonaus was killed in the attack.

           1438. The weapon used to kill Jude Jonaus was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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         1439. Plaintiff Amenia Jonaus is a citizen of the United States and domiciled in the State

  of Florida. She is the mother of Jude Jonaus.

         1440. Plaintiff Amenia Jonaus brings this action individually and on behalf of the Estate

  of Jude Jonaus, as its legal representative.

         1441. Plaintiff Gernessoit Jonaus is a citizen of the United States and domiciled in the

  State of Florida. He is the father of Jude Jonaus.

         1442. Plaintiff Daphnie Jonaus Martin is a citizen of the United States and domiciled in

  the State of Florida. She is the sister of Jude Jonaus.

         1443. Plaintiff Ricky Jonaus is a citizen of the United States and domiciled in the State of

  South Carolina. He is the brother of Jude Jonaus.

         1444. Plaintiff Marckendy Jonaus is a citizen of the United States and domiciled in the

  State of Florida. He is the brother of Jude Jonaus.

         1445. Plaintiff Claire Jonaus is a citizen of the United States and domiciled in the State

  of Florida. She is the sister of Jude Jonaus.

         1446. Plaintiff Sharen Jonaus Martin is a citizen of the United States and domiciled in the

  State of Florida. She is the sister of Jude Jonaus.

         1447. As a result of the attack, and the death of Jude Jonaus, Plaintiffs Amenia Jonaus,

  Gernessoit Jonaus, Daphnie Jonaus Martin, Ricky Jonaus, Marckendy Jonaus, Claire Jonaus and

  Sharen Jonaus Martin have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their son’s/brother’s society, companionship, comfort, advice and counsel.

         21.     THE SEPTEMBER 26, 2005 ATTACK – BAGHDAD

  The Tuliau Family

         1448. Tulsa T. Tuliau was a citizen of the United States and domiciled in the State of New




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  York when he was killed in Iraq.

         1449. On September 26, 2005, Tulsa T. Tuliau, aged 33, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1450. Tulsa T. Tuliau was killed in the attack.

         1451. The weapon used to kill Tulsa T. Tuliau was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1452. Plaintiff Masina Tuliau is a citizen of the United States and domiciled in the State

  of Washington. She is the mother of Tulsa T. Tuliau.

         1453. As a result of the attack, and the death of Tulsa T. Tuliau, Plaintiff Masina Tuliau

  has experienced severe mental anguish, extreme emotional pain and suffering, and loss of her son’s

  society, companionship, comfort, advice and counsel.

         22.     THE SEPTEMBER 28, 2005 ATTACK – UMM QASR

  The Morin Family

         1454. Steve Morin, Jr. was a citizen of the United States and domiciled in the State of

  Texas when he was killed in Iraq.

         1455. On September 28, 2005, Steve Morin, Jr., aged 34, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1456. Steve Morin, Jr. was killed in the attack.

         1457. The weapon used to kill Steve Morin, Jr. was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1458. Plaintiff Brianna Renee Navejas is a citizen of the United States and domiciled in




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  the State of Texas. She is the step-daughter of Steve Morin, Jr.

          1459. As a result of the attack, and the death of Steve Morin, Jr., Plaintiff Brianna Renee

  Navejas has experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  her father’s society, companionship, comfort, advice and counsel.

  The Martinez Family

          1460. Plaintiff Margarito A. Martinez, Jr. is a citizen of the United States and domiciled

  in the State of Texas.

          1461. On September 28, 2005, Margarito Martinez, then 36, was serving in the U.S.

  military in Iraq.

          1462. He was driving in a convoy when an EFP emplaced by Special Groups struck the

  lead vehicle.

          1463. The weapon used to injure Margarito Martinez was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

          1464. After the lead vehicle was stuck by an EFP, Margarito got out of his vehicle to

  check on the occupants of the vehicle that had been struck. He saw that Steve Morin had been hit

  in the back of the skull and appeared to be dead.

          1465. He then checked on Elizabeth Jacobson who had been in Steve Morin’s HMMWV

  and observed that she had been decapitated.

          1466. Finally, he checked on Andy Martinez who was the gunner in the HMMWV. Andy

  was standing in the turret and couldn’t hear or see anything. Margarito got on top of the vehicle

  and pulled Andy out. He cut off some of Andy’s clothing to start an IV line for him.

          1467. As a result of the attack, Mr. Martinez suffers from PTSD.




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          1468. As a result of the attack, and the injuries he suffered, Plaintiff Margarito Martinez,

  Jr. has experienced severe physical and mental anguish and extreme emotional pain and suffering.

          23.     THE OCTOBER 6, 2005 ATTACK – BAGHDAD

  The Burns Family

          1469. Plaintiff Alvis Burns is a citizen of the United States and domiciled in the State of

  Arizona.

          1470. On October 6, 2005, Alvis Burns, then 41, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

          1471. The weapon used to injure Alvis Burns was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          1472. As a result of the blast, Alvis Burns’s skull was cracked and shrapnel was lodged

  in his brain.

          1473. Mr. Burns experienced brain swelling and he underwent brain surgery. He has been

  diagnosed with a TBI.

          1474. Mr. Burns suffered shrapnel in his face and throughout his left arm. He also

  sustained hearing loss as a result of the blast.

          1475. Mr. Burns fell in and out of comas and was, at times, in a vegetative state for long

  periods. He was fed through a feeding tube.

          1476. As a result of the injuries sustained in the attack and following his many procedures,

  Mr. Burns has had to relearn how to swallow, eat, speak, and walk.

          1477. He experiences pain in his legs and feet and currently uses an electric wheelchair

  and at times, a walker.




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         1478. As a result of the attack, and the injuries he suffered, Plaintiff Alvis Burns has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1479. Plaintiff JoDee Johnson is a citizen of the United States and domiciled in the State

  of Arizona. She is the sister of Alvis Burns.

         1480. Plaintiff James Higgins is a citizen of the United States and domiciled in the State

  of Arizona. He is the brother of Alvis Burns.

         1481. Plaintiff Wendy Coleman is a citizen of the United States and domiciled in the State

  of Washington. She is the sister of Alvis Burns.

         1482. As a result of the attack, and the injuries Alvis Burns has suffered, Plaintiffs JoDee

  Johnson, James Higgins, and Wendy Coleman have experienced severe mental anguish, and

  extreme emotional pain and suffering.

  The Radke Family

         1483. Plaintiff Brian Radke is a citizen of the United States and domiciled in the State of

  Washington.

         1484. On October 6, 2005, Brian Radke, then 30, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         1485. The weapon used to injure Brian Radke was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1486. As a result of the attack, Brian Radke sustained shrapnel to his body, including a

  piece that clipped his carotid artery.

         1487. He also sustained shrapnel in his right leg and he has undergone reconstructive knee

  surgery.




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          1488. His jaw was fractured in multiple locations, and he lost his right finger.

          1489. His left arm was fractured in two locations, and his median nerve was severed.

          1490. He has undergone numerous surgical procedures, including those to address the

  severed nerve and to emplace rods and to apply skin grafts in his left arm.

          1491. He was in a coma, during which time he was fed by a feeding tube and breathed

  through a trach tube.

          1492. Mr. Radke still has pieces of shrapnel in his body, including some fragments lodged

  in his brain.

          1493. Mr. Radke’s injuries have required physical therapy and occupational therapy.

          1494. Mr. Radke has been diagnosed with PTSD and has received treatment and

  counseling. He has been prescribed medication to address both the pain and emotional impact of

  the attack.

          1495. As a result of the attack, and the injuries he suffered, Plaintiff Brian Radke has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

          1496. Plaintiff Nova Radke is a citizen of the United States and domiciled in the State of

  Arizona. She is the wife of Brian Radke.

          1497. As a result of the attack, and the injuries Brian Radke has suffered, Plaintiff Nova

  Radke has experienced severe mental anguish, and extreme emotional pain and suffering.

  The Vernier Family

          1498. Plaintiff Steven Vernier, Jr. is a citizen of the United States and domiciled in the

  State of Tennessee.

          1499. On October 6, 2005, Steven Vernier, Jr., then 26, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.




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         1500. The weapon used to injure Steven Vernier, Jr. was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         1501. As a result of the blast, Steven Vernier, Jr. sustained shrapnel to his face, neck, right

  shoulder, right wrist, and his thighs.

         1502. He also sustained first degree burns.

         1503. He has experienced and continues to experience hearing loss in both ears.

         1504. He has undergone procedures to remove the shrapnel.

         1505. The injuries he sustained resulted in a loss of range of motion in his right shoulder

  and right wrist.

         1506. He has been prescribed medication for pain. The pain continues to the present day.

         1507. Mr. Vernier has experienced flashbacks, nightmares, and extreme survivor’s guilt.

         1508. He has been diagnosed with PTSD and has sought counseling.

         1509. As a result of the attack, and the injuries he suffered, Plaintiff Steven Vernier, Jr.

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         24.     THE DECEMBER 8, 2005 ATTACK – BAGHDAD

  The Smith Family

         1510. Kevin J. Smith was a citizen of the United States and domiciled in the State of

  Florida when he was killed in Iraq.

         1511. On December 8, 2005, Kevin J. Smith, aged 28, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1512. Kevin J. Smith was killed in the attack.




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           1513. The weapon used to kill Kevin J. Smith was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

           1514. Plaintiff Clifford L. Smith, Jr. is a citizen of the United States and domiciled in the

  State of Florida. He is the father of Kevin J. Smith.

           1515. Plaintiff Clifford L. Smith, Jr. brings an action individually and on behalf of the

  Estate of Kevin J. Smith, as its legal representative.

           1516. Plaintiff Georgianna Stephens-Smith is a citizen of the United States and domiciled

  in the State of North Carolina. She is the mother of Kevin J. Smith.

           1517. Plaintiff Corena Martin is a citizen of the United States and domiciled in the State

  of Florida. She is the sister of Kevin J. Smith.

           1518. As a result of the attack, and the death of Kevin J. Smith, Plaintiffs Clifford L.

  Smith, Jr., Georgianna Stephens-Smith, and Corena Martin have experienced severe mental

  anguish, extreme emotional pain and suffering, and loss of their son’s/brother’s society,

  companionship, comfort, advice and counsel.

  The Mattis Family

           1519. Plaintiff Adam Mattis is a citizen of the United States and domiciled in the State of

  Texas.

           1520. On December 8, 2005. Adam Mattis, then 23, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

           1521. The weapon used to injure Adam Mattis was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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         1522. Mr. Mattis was driving a HMMWV, the second vehicle in a five-vehicle convoy,

  when his vehicle was hit by an EFP.

         1523. Mr. Mattis was hit by shrapnel in his right arm. The shrapnel hit his bicep and went

  into his shoulder. The shrapnel cut and cauterized an artery.

         1524. Following the attack, he was medevaced to a combat support hospital in Iraq for

  initial treatment. He was not allowed to leave Iraq for further treatment to his wounds until the end

  of his deployment in January 2006 which resulted in Methicillin-resistant Staphylococcus aureus

  (MRSA), a secondary infection.

         1525. After his deployment ended in January 2006, he initially sought treatment at a

  civilian hospital in Savannah, Georgia and then at Fort Stewart.

         1526. Mr. Mattis has also sought treatment at the VA.

         1527. He has been diagnosed with a TBI and PTSD.

         1528. As a result of the attack, and the injuries he suffered, Plaintiff Adam Mattis has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

  The Peterson Family

         1529. Plaintiff Terrance Peterson, III is a citizen of the United States and domiciled in the

  State of Arizona.

         1530. On March 23, 2008, Terrance Peterson, then 25, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1531. The weapon used to injure Terrance Peterson was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.




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         1532. Mr. Peterson was an occupant in the second vehicle traveling in a five-vehicle

  convoy, when his vehicle was hit by an EFP.

         1533. Mr. Peterson was hit by shrapnel in his right foot, both knees and his left arm. He

  had multiple fractures and tissue damage. The brachial artery in his right arm was severed.

         1534. Following the attack, Mr. Peterson was taken to FOB Loyalty to stabilize him and

  was then taken to Balad for surgery to repair the brachial artery. From there he was transferred to

  Landstuhl, Germany and then to Walter Reed Army Medical Center where he spent the next 9

  months. Ultimately, he was sent to Wynn Army Hospital at Fort Stewart where he finished out his

  military service.

         1535. Mr. Peterson has undergone 33 surgeries as a result of the attack.

         1536. As a result of the attack, and the injuries he suffered, Plaintiff Terrance Peterson,

  III has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1537. Plaintiff Petra Spialek is a citizen of the United States and domiciled in the State of

  Illinois. She is the mother of Terrance Peterson, III.

         1538. As a result of the attack, and the injuries Terrance Peterson, III has suffered,

  Plaintiff Petra Spialek has experienced severe mental anguish, and extreme emotional pain and

  suffering.

         25.     THE DECEMBER 25, 2005 ATTACK – BAGHDAD

  The Cardinal Family

         1539. Anthony Cardinal was a citizen of the United States and domiciled in the State of

  Michigan when he was killed in Iraq.

         1540. On December 25, 2005, Anthony Cardinal, aged 20, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.




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         1541. Anthony Cardinal was killed in the attack.

         1542. The weapon used to kill Anthony Cardinal was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1543. Plaintiff David G. Cardinal, Jr. is a citizen of the United States and domiciled in the

  State of North Carolina. He is the father of Anthony Cardinal.

         1544. Plaintiff David G. Cardinal, Jr. brings an action individually and on behalf of the

  Estate of Anthony Cardinal, as its legal representative.

         1545. As a result of the attack, and the death of Anthony Cardinal, Plaintiff David G.

  Cardinal, Jr. has experienced severe mental anguish, extreme emotional pain and suffering, and

  loss of his son’s society, companionship, comfort, advice and counsel.

         26.     THE JANUARY 5, 2006 ATTACK – NAJAF

  The Hecker Family

         1546. William F. Hecker, III was a citizen of the United States and domiciled in the State

  of Missouri when he was killed in Iraq.

         1547. January 5, 2006, William F. Hecker, III, aged 37, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1548. William F. Hecker, III was killed in the attack.

         1549. The weapon used to kill William F. Hecker, III was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         1550. Plaintiff Richelle Hecker is a citizen of the United States and domiciled in the State

  of Colorado. She is the widow of William F. Hecker, III.




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         1551. Plaintiff Richelle Hecker brings an action individually and on behalf of the Estate

  of William F. Hecker, III, as its legal representative.

         1552. Plaintiff Victoria Hecker is a citizen of the United States and domiciled in the State

  of Colorado. She is the daughter of William F. Hecker, III.

         1553. Plaintiff W.H., a minor represented by his legal guardian, Richelle Hecker, is a

  citizen of the United States and domiciled in the State of Colorado. He is the son of William F.

  Hecker, III.

         1554. Plaintiff C.H., a minor represented by her legal guardian, Richelle Hecker, is a

  citizen of the United States and domiciled in the State of Colorado. She is the daughter of William

  F. Hecker, III.

         1555. Plaintiff William F. Hecker, Jr. is a citizen of the United States and domiciled in

  State of Colorado. He is the father of William F. Hecker, III.

         1556. Plaintiff Nancy Hecker is a citizen of the United States and domiciled in the State

  of Colorado. She is the mother of William F. Hecker, III.

         1557. Plaintiff John D. Hecker is a citizen of the United States and domiciled in the State

  of New York. He is the brother of William F. Hecker, III.

         1558. As a result of the attack, and the death of William F. Hecker, III, Plaintiffs Richelle

  Hecker, Victoria Hecker, W.H., C.H., William F. Hecker, Jr., Nancy Hecker and John D. Hecker

  have experienced severe mental anguish, extreme emotional pain and suffering, and loss of their

  husband’s/father’s/son’s/brother’s society, companionship, comfort, advice and counsel.

  The Mariano Family

         1559. Robbie M. Mariano was a citizen of the United States and domiciled in the State of

  California when he was killed in Iraq.




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         1560. January 5, 2006, Robbie M. Mariano, aged 21, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1561. Robbie M. Mariano was killed in the attack.

         1562. The weapon used to kill Robbie M. Mariano was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1563. Plaintiff Robert F. Mariano is a citizen of the United States and domiciled in State

  of California. He is the father of Robbie M. Mariano.

         1564. Plaintiff Robert F. Mariano brings an action individually and on behalf of the Estate

  of Robbie M. Mariano, as its legal representative.

         1565. Plaintiff Debra Mariano is a citizen of the United States and domiciled in the State

  of California. She is the mother of Robbie M. Mariano.

         1566. Plaintiff Bobbie D. Mariano is a citizen of the United States and domiciled in the

  State of California. He is the brother of Robbie M. Mariano.

         1567. As a result of the attack, and the death of Robbie M. Mariano, Plaintiffs Robert F.

  Mariano, Debra Mariano and Bobbie D. Mariano have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their son’s/brother’s society, companionship, comfort,

  advice and counsel.

  The White Family

         1568. Stephen J. White was a citizen of the United States and domiciled in the State of

  Alabama when he was killed in Iraq.

         1569. January 5, 2006, Stephen J. White, aged 39, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.




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          1570. Stephen J. White was killed in the attack.

          1571. The weapon used to kill Stephen J. White was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          1572. Plaintiff Vickie Michay White is a citizen of the United States and domiciled in the

  State of Texas. She is the widow of Stephen J. White.

          1573. Plaintiff Vickie Michay White brings an action individually and on behalf of the

  Estate of Stephen J. White, as its legal representative.

          1574. As a result of the attack, and the death of Stephen J. White, Plaintiff Vickie Michay

  White has experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  her husband’s society, companionship, comfort, advice and counsel.

          27.    THE JANUARY 5, 2006 ATTACK – BAGHDAD

  The Lopez Reyes Family

          1575. Jason Lopez Reyes was a citizen of the United States and domiciled in the Puerto

  Rico.

          1576. On January 5, 2006, Jason Lopez Reyes, then 29, was serving in the U.S. military

  in Iraq when a dual-array EFP emplaced by Special Groups detonated near his vehicle.

          1577. Jason Lopez Reyes was killed in the attack.

          1578. The weapon used to kill Jason Lopez Reyes was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          1579. Plaintiff Gladys E. Reyes Centeno is a citizen of the United States and domiciled

  in Puerto Rico. She is the mother of Jason Lopez Reyes.




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         1580. Plaintiff Veronica Lopez Reyes is a citizen of the United States and domiciled in

  Puerto Rico. She is the sister of Jason Lopez Reyes.

         1581. Plaintiff Veronica Lopez Reyes brings an action individually and on behalf of the

  Estate of Jason Lopez Reyes, as its legal representative.

         1582. Plaintiff Zoraima Lopez is a citizen of the United States and domiciled in the State

  of Texas. She is the sister of Jason Lopez Reyes.

         1583. As a result of the attack, and the death of Jason Lopez Reyes, Plaintiffs Gladys E.

  Reyes Centeno, Veronica Lopez Reyes, and Zoraima Lopez have experienced severe mental

  anguish, extreme emotional pain and suffering, and loss of their son’s/brother’s society,

  companionship, comfort, advice and counsel.

         28.     THE JANUARY 18, 2006 ATTACK – BASRA

  The Hickman Family

         1584. Richard Thomas “Rick” Hickman was a citizen of the United States and domiciled

  in the State of Georgia, when he was killed in Iraq.

         1585. On January 18, 2006, Richard Hickman, aged 52, a former soldier in the U.S.

  military, was serving as a civilian contractor in Iraq when an EFP emplaced by Special Groups

  detonated near his vehicle.

         1586. Richard Hickman was killed in the attack.

         1587. The weapon used to kill Richard Hickman was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1588. Plaintiff Jennifer Link is a citizen of the United States and domiciled in the State of

  Florida. She is the daughter of Richard Hickman.




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         1589. Plaintiff Sharon Johnston is a citizen of the United States and domiciled in the State

  of Florida. She is the sister of Richard Hickman.

         1590. As a result of the attack, and the death of Richard Hickman, Plaintiffs Jennifer Link

  and Sharon Johnston have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their father’s/brother’s society, companionship, comfort, advice and counsel.

         29.     THE FEBRUARY 17, 2006 ATTACK – BAGHDAD

  The Lee Family

         1591. Plaintiff Kenny Lee is a citizen of the United States and domiciled in the State of

  Virginia.

         1592. On February 17, 2006, Kenny Lee, then 26, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         1593. The weapon used to injure Kenny Lee was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1594. As a result of the attack, Kenny Lee was stunned and incapacitated by the force of

  the concussive blast and shrapnel that entered his body in his buttocks region and partially exited

  from his back. Because the M1114 remained operational after the detonation, Mr. Lee remained

  in shock and did not realize he had been hit with copper shrapnel from the EFP until he noticed

  that the back of his uniform was completely bloodstained. A few days after the explosion, he

  discovered a concussive bruise approximately ten inches in diameter on his chest as a result of the

  explosion. Mr. Lee has lost flexibility due to the scarring from his injuries in addition to back pain

  and sciatic pain.




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         1595. As a result of the attack, and the injuries he suffered, Plaintiff Kenny Lee has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1596. Plaintiff Tom B. Lee is a citizen of the United States and domiciled in the State of

  Connecticut. He is the father of Kenny Lee.

         1597. Plaintiff Ling P. Lee is a citizen of the United States and domiciled in the State of

  Connecticut. She is the mother of Kenny Lee.

         1598. As a result of the attack, and the injuries Kenny Lee suffered, Plaintiffs Tom B. Lee

  and Ling P. Lee have experienced severe mental anguish and extreme emotional pain and

  suffering.

         30.     THE FEBRUARY 20, 2006 ATTACK –HINDIYAH

  The Collado Family

         1599. Jay T. Collado was a citizen of the United States and domiciled in the State of South

  Carolina when he was killed in Iraq.

         1600. On February 20, 2006, Jay T. Collado, aged 31, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1601. Jay T. Collado was killed in the attack.

         1602. The weapon used to kill Jay T. Collado was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1603. Plaintiff Judy Collado is a citizen of the United States and domiciled in the State of

  California. She is the widow of Jay T. Collado.

         1604. Plaintiff Kaiya Collado is a citizen of the United States and domiciled in the State

  of California. She is the daughter of Jay T. Collado.




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          1605. As a result of the attack, and the death of Jay T. Collado, Plaintiffs Judy Collado

  and Kaiya Collado have experienced severe mental anguish, extreme emotional pain and suffering,

  and loss of their husband’s/father’s society, companionship, comfort, advice and counsel.

  The Waldeck Family

          1606. Plaintiff Justin Waldeck is a citizen of the United States and domiciled in the State

  of Illinois.

          1607. On February 20, 2006, Justin Waldeck was serving in the U.S. military in Iraq when

  an EFP emplaced by Special Groups detonated near his vehicle.

          1608. The weapon used to injure Justin Waldeck was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          1609. As a result of the attack, Mr. Waldeck sustained shrapnel injuries to his right knee

  and significant injuries to his left hand. The metacarpal bones in his left hand had to be fused and

  he suffered nerve damage to his left pinky.

          1610. As a result of the attack, and the injuries he suffered, Plaintiff Justin Waldeck has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

          31.    THE FEBRUARY 20, 2006 ATTACK – BAGHDAD

  The Kuhlmeier Family

          1611. Daniel Kuhlmeier was a citizen of the United States and domiciled in the State of

  Virginia when he was killed in Iraq.

          1612. February 20, 2006, Daniel Kuhlmeier, aged 30, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          1613. Daniel Kuhlmeier was killed in the attack.




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         1614. The weapon used to kill Daniel Kuhlmeier was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1615. Plaintiff Tanja Kuhlmeier is a citizen of the United States and domiciled in the State

  of Virginia. She is the widow of Daniel Kuhlmeier.

         1616. Plaintiff Tanja Kuhlmeier brings an action individually and on behalf of the Estate

  of Daniel Kuhlmeier, as its legal representative.

         1617. Plaintiff K.K., a minor represented by her legal guardian, Tanja Kuhlmeier, is a

  citizen of the United States and domiciled in the State of Virginia. She is the daughter of Daniel

  Kuhlmeier.

         1618. Plaintiff Robert J. Kuhlmeier is a citizen of the United States and domiciled in the

  State of Pennsylvania. He is the father of Daniel Kuhlmeier.

         1619. Plaintiff Theresa A. Kuhlmeier is a citizen of the United States and domiciled in

  the State of Pennsylvania. She is the mother of Daniel Kuhlmeier.

         1620. Plaintiff Theresa Ann Kuhlmeier is a citizen of the United States and domiciled in

  the State of Pennsylvania. She is the sister of Daniel Kuhlmeier.

         1621. Plaintiff Edward Kuhlmeier is a citizen of the United States and domiciled in the

  State of Pennsylvania. He is the brother of Daniel Kuhlmeier.

         1622. Plaintiff Thomas Kuhlmeier is a citizen of the United States and domiciled in the

  State of Pennsylvania. He is the brother of Daniel Kuhlmeier.

         1623. Plaintiff John Kuhlmeier is a citizen of the United States and domiciled in the State

  of Pennsylvania resident. He is the brother of Daniel Kuhlmeier.




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         1624. Plaintiff Robert W. Kuhlmeier is a citizen of the United States and domiciled in the

  State of Pennsylvania. He is the brother of Daniel Kuhlmeier.

         1625. As a result of the attack, and the death of Daniel Kuhlmeier, Plaintiffs Tanja

  Kuhlmeier, K.K., Robert J. Kuhlmeier, Theresa A. Kuhlmeier, Theresa Ann Kuhlmeier, Edward

  Kuhlmeier, Thomas Kuhlmeier, John Kuhlmeier, and Robert W. Kuhlmeier have experienced

  severe mental anguish, extreme emotional pain and suffering, and loss of their

  husband’s/father’s/son’s/brother’s society, companionship, comfort, advice and counsel.

         32.     THE MARCH 26, 2006 ATTACK – BAGHDAD

  The Bershefsky Family

         1626. Plaintiff Christopher Anthony Bershefsky is a citizen of the United States and

  domiciled in the State of Pennsylvania.

         1627. On March 26, 2006, Christopher Anthony Bershefsky, then 32, was a private

  contractor with Erinys International, a British security company, in Iraq. He had been in Iraq for

  approximately three months during this assignment. He had also previously served in the United

  States Marine Corps for six years with his discharge having taken place in 1998.

         1628. Mr. Bershefsky was driving an armored Ford F350 vehicle en route to his base after

  completing a mission a few miles outside the international zone in Baghdad. He was approximately

  two miles from Gate 2 to enter the international zone when his vehicle was struck by an EFP

  emplaced by Special Groups. The force of the blast blew through Mr. Bershefsky’s door.

         1629. The weapon used to injure Mr. Bershefsky was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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            1630. As a result of the attack, Mr. Bershefsky sustained a fractured pelvis, damaged

  sciatic nerve, muscle tissue loss due to debridement in his left leg, damages to his left foot which

  was rendered mostly inoperable, a torn urethra, and additional shrapnel injuries that have caused

  him to have a colostomy bag and suffer from urological deficits. In addition to the physical injuries

  he sustained, Mr. Bershefsky also suffers from severe depression, anxiety, and Post-Traumatic

  Stress Disorder.

            1631. As a result of the attack, and the injuries he suffered, Plaintiff Christopher Anthony

  Bershefsky has experienced severe physical and mental anguish and extreme emotional pain and

  suffering.

            33.    THE APRIL 1, 2006 ATTACK – BAGHDAD

  The Devora-Garcia Family

            1632. Israel Devora-Garcia was domiciled in the State of Texas when he was killed in

  Iraq. He became a citizen of the United States posthumously.

            1633. On April 1, 2006, Israel Devora-Garcia, aged 23, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated while he was conducting a dismounted

  patrol.

            1634. Israel Devora-Garcia was killed in the attack.

            1635. The weapon used to kill Israel Devora-Garcia was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

            1636. Plaintiff Adrian Sandoval is a citizen of the United States and domiciled in the State

  of Texas. He is the brother of Israel Devora-Garcia.

            1637. Plaintiff Rosa Esther Sandoval is a citizen of the United States and domiciled in the




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  State of Kentucky. She is the sister of Israel Devora-Garcia.

         1638. As a result of the attack, and the death of Israel Devora-Garcia, Plaintiffs Adrian

  Sandoval and Rosa Esther Sandoval have experienced severe mental anguish, extreme emotional

  pain and suffering, and loss of their brother’s society, companionship, comfort, advice and counsel.

         34.     THE APRIL 12, 2006 ATTACK – MISIAB

  The Bandhold Family

         1639. Scott Bandhold was a citizen of the United States and domiciled in the State of New

  York when he was killed in Iraq.

         1640. On April 12, 2006, Scott Bandhold, aged 37, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1641. Scott Bandhold was killed in the attack.

         1642. The weapon used to kill Scott Bandhold was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1643. Plaintiff Henry J. Bandhold, Sr. is a citizen of the United States and domiciled in

  the State of Florida. He is the father of Scott Bandhold.

         1644. Plaintiff Henry J. Bandhold, Sr. brings this action individually and on behalf of the

  Estate of Scott Bandhold, as its legal representative.

         1645. Plaintiff Afonso Bandhold is a citizen of the United States and domiciled in

  Portugal. He is the son of Scott Bandhold.

         1646. Plaintiff Mariana Bandhold is a citizen of the United States and domiciled in the

  State of California. She is the daughter of Scott Bandhold.

         1647. As a result of the attack, and the death of Scott Bandhold, Plaintiffs Henry J.




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  Bandhold, Sr., Afonso Bandhold, and Mariana Bandhold have experienced severe mental anguish,

  extreme emotional pain and suffering, and loss of their son’s/father’s society, companionship,

  comfort, advice and counsel.

         35.     THE APRIL 16, 2006 ATTACK – BAWB ASH-SHAM

  The Stein Family

         1648. Plaintiff Joshua P. Stein is a citizen of the United States and domiciled in the State

  of Texas.

         1649. On April 16, 2006, Joshua P. Stein, then 22, was serving in the U.S. military in Iraq.

  He was traveling in a convoy from the Iraqi Police compound conducting route clearance when

  the vehicle he was driving, a Bradley Fighting Vehicle that was the second in the convoy, was hit

  with a dual-array EFP emplaced by Special Groups on the left side of the vehicle on ASR Dover

  in the Bawb Ash-Sham village north of Baghdad.

         1650. The weapon used to injure Joshua P. Stein was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1651. As a result of the attack, Mr. Stein sustained double above-the-knee amputations,

  two broken forearms, elbow replacement in his left arm, fasciotomy on his right arm, nerve and

  muscle damage to both forearms causing him to lose feeling in both of his forearms, and a TBI.

  Mr. Stein was in a coma for nearly a month following the attack and awoke from the coma in a

  military hospital in Texas after having been airlifted to Balad, Iraq, and Landstuhl, Germany.

         1652. Joshua P. Stein has received extensive medical treatment at various hospitals

  including various surgeries and prosthetic fittings where he has spent years in treatment. He has




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  been unable to utilize prosthetics because his right leg was not long enough after the amputation,

  so he is wheelchair-bound for ambulation.

           1653. As a result of the attack, and the injuries he suffered, Plaintiff Joshua P. Stein has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

           1654. Plaintiff Nicole B. Stein is a citizen of the United States and domiciled in the State

  of Texas. She is the wife of Joshua P. Stein.

           1655. Plaintiff R.M.S., a minor, represented by her legal guardian Joshua P. Stein, is a

  citizen of the United States and domiciled in the State of Texas. She is the daughter of Joshua P.

  Stein.

           1656. Plaintiff J.S.S., a minor, represented by her legal guardian Joshua P. Stein, is a

  citizen of the United States and domiciled in the State of Texas. She is the daughter of Joshua P.

  Stein.

           1657. Plaintiff Jesse P. Stein is a citizen of the United States and domiciled in the State

  of North Carolina. He is the father of Joshua P. Stein.

           1658. As a result of the attack, and the injuries Joshua P. Stein suffered, Plaintiffs Nicole

  B. Stein, R.M.S., and J.S.S. and Jesse P. Stein have experienced severe mental anguish and extreme

  emotional pain and suffering.

  The Shelswell Family

           1659. Plaintiff Michael Paul Alan Shelswell is a citizen of the United States and domiciled

  in the State of Colorado.

           1660. On April 16, 2006, Michael Paul Alan Shelswell, then 23, was serving in the U.S.

  military in Iraq. He was sitting in the rear of a Bradley Fighting Vehicle traveling in a convoy from

  the Iraqi Police compound conducting route clearance when the Bradley was hit with a dual-array




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  EFP emplaced by Special Groups on the left side of the vehicle on ASR Dover in the Bawb Ash-

  Sham village north of Baghdad.

         1661. The weapon used to injure Michael Paul Alan Shelswell was a Hezbollah-designed

  and Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their

  direction, using specialized training and components supplied by Hezbollah and the IRGC.

         1662. As a result of the attack, Michael Paul Alan Shelswell was hit with the concussive

  blast in his face causing a TBI in addition to sustaining chemical burns to his face and upper body

  as the Bradley caught on fire as a result of the EFP detonation. He continues to suffer from vision

  and hearing difficulties, sustained memory loss memory loss, suffered a stroke in 2009 related to

  his injuries, and suffers from severe PTSD that has caused him to suffer from suicidal ideation in

  the past and makes it impossible for him to be in confined spaces.

         1663. As a result of the attack, and the injuries he suffered, Plaintiff Michael Paul Alan

  Shelswell has experienced severe physical and mental anguish and extreme emotional pain and

  suffering.

         36.     THE APRIL 25, 2006 ATTACK – SADR CITY

  The Murphy Family

         1664. Plaintiff Luke Murphy is a citizen of the United States and domiciled in the State

  of Florida.

         1665. On April 25, 2006, Luke, then 24, was serving in the U.S. military in Iraq.

         1666. He was driving in a convoy when an EFP emplaced by Special Groups struck his

  vehicle.




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         1667. The weapon used to injure Mr. Murphy was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1668. The explosive charge passed through Mr. Murphy’s right leg, amputating it.

  Portions of his left leg muscles were destroyed, and he sustained a compound fracture of his left

  tibia and fibula, rendering his left leg useless. Smoke began filling the inside of the vehicle.

         1669. The vehicle ultimately crashed into a wall and Mr. Murphy eventually found a way

  to exit the vehicle. He crawled on the ground, dragging the remaining stump of his right leg and

  injured left leg while he continued to experience significant blood loss.

         1670. Mr. Murphy has undergone over 30 procedures to address the injuries sustained in

  the attack, including those involving the additional shortening of the stump of his right leg and

  issues involving the problems that have developed with his left leg and foot.

         1671. Mr. Murphy has been prescribed anti-depressants and medication to assist with

  sleep issues.

         1672. As a result of the attack, and the injuries he suffered, Plaintiff Luke Murphy has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1673. Plaintiff Willette Murphy is a citizen of the United States and domiciled in the State

  of Florida. She is the mother of Luke Murphy.

         1674. As a result of the attack, and the injuries Luke Murphy suffered, Plaintiff Willette

  Murphy has experienced severe mental anguish and extreme emotional pain and suffering.

  The Irwin Family

         1675. Plaintiff Shane Irwin is a citizen of the United States and domiciled in the State of

  Florida.




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         1676. On April 25, 2006, Shane Irwin, then 23, was serving in the U.S. military in Iraq.

         1677. He was driving in a convoy when an EFP emplaced by Special Groups struck his

  vehicle.

         1678. The weapon used to injure Mr. Irwin was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1679. As a result of the attack, Mr. Irwin suffered lacerations, smoke inhilation and

  ruptured ear drums. He also suffers from a TBI and PTSD.

         1680. As a result of the attack, and the injuries he suffered, Plaintiff Shane Irwin has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1681. Plaintiff T.R., a minor represented by her legal guardian, Shane Irwin, is a citizen

  of the United States and domiciled in the State of Florida. She is the daughter of Shane Irwin.

         1682. Plaintiff Helen Marguerite Irwin is a citizen of the United States and domiciled in

  the State of Florida. She is the mother of Shane Irwin.

         1683. Plaintiff Nicole Irwin is a citizen of the United States and domiciled in the State of

  Florida. She is the sister of Shane Irwin.

         1684. As a result of the attack, and the injuries Shane Irwin suffered, Plaintiffs T.R., Helen

  Marguerite Irwin and Nicole Irwin have experienced severe mental anguish and extreme emotional

  pain and suffering.

         37.     THE APRIL 28, 2006 ATTACK – BAGHDAD

  The Gomez Family

         1685. Jose Gomez was a citizen of the United States and domiciled in the State of New

  York when he was killed in Iraq.




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         1686. On April 28, 2006, Jose Gomez, aged 23, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         1687. Jose Gomez was killed in the attack.

         1688. The weapon used to kill Jose Gomez was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1689. Plaintiff Maria Gomez is a citizen of the United States and domiciled in the State

  of New York. She is the mother of Jose Gomez.

         1690. Plaintiff Maria Gomez brings an action individually and on behalf of the Estate of

  Jose Gomez, as its legal representative.

         1691. As a result of the attack, and the death of Jose Gomez, Plaintiff Maria Gomez has

  experienced severe mental anguish, extreme emotional pain and suffering, and loss of her son’s

  society, companionship, comfort, advice and counsel.

         38.     THE MAY 2, 2006 ATTACK – BAGHDAD

  The Greer Family

         1692. Plaintiff John Dana Greer is a citizen of the United States and domiciled in the State

  of Texas.

         1693. On May 2, 2006, John David Greer, then 49, was a civilian contractor with

  Blackwater Security Consulting in Iraq.

         1694. Mr. Greer was driving a South African Mamba vehicle in a four-vehicle caravan en

  route to the Iraqi Ministry of Finance when the vehicle he was driving was struck by five EFPs

  emplaced by Special Groups.




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         1695. The weapon used to injure Mr. Greer was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1696. As a result of the attack, Mr. Greer lost his right hand from above the wrist and

  sustained third-degree burns on his upper chest.

         1697. He also suffered trauma to his back that necessitated a later L4 to S1 fusion.

         1698. Mr. Greer sustained a TBI injury that has impacted his short- and long-term

  memory.

         1699. He has been diagnosed with PTSD.

         1700. Mr. Greer received extensive medical treatment and has undergone various

  surgeries and prosthetic fittings.

         1701. As a result of the attack, and the injuries he suffered, Plaintiff John Dana Greer has

  experienced severe physical pain and mental anguish and extreme emotional pain and suffering.

         1702. Plaintiff Stephanie C. Sander is a citizen of the United States and domiciled in the

  State of California. She is the daughter of John David Greer.

         1703. Plaintiff Christopher D. Greer is a citizen of the United States and domiciled in the

  State of Georgia. He is the son of John David Greer.

         1704. Plaintiff Joseph L. Greer is a citizen of the United States and domiciled in the State

  of Arizona. He is the brother of John David Greer.

         1705. Plaintiff Carl K. Greer is a citizen of the United States and domiciled in the State

  of Arizona. He is the brother of John David Greer.




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         1706. As a result of the attack, and the injuries John Dana Greer suffered, Plaintiffs

  Stephanie Sander, Christopher D. Greer, Joseph L. Greer, and Carl K. Greer have experienced

  severe mental anguish and extreme emotional pain and suffering.

  The Joyner Family

         1707. Plaintiff Christopher Joyner is a citizen of the United States and domiciled in the

  State of North Carolina.

         1708. On May 2, 2006, Christopher Joyner, then 37, was a civilian contractor with

  Blackwater Security Consulting in Iraq.

         1709. Mr. Joyner was the Vehicle Commander riding in the passenger seat of the South

  African Mamba that was the fourth vehicle in a four-vehicle caravan en route to the Iraqi Ministry

  of Finance when the vehicle he was riding in was struck by an EFP array emplaced by Special

  Groups.

         1710. The weapon used to injure Mr. Joyner was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1711. As a result of the attack, Mr. Joyner suffered multiple fragment wounds to his face

  and the globe of his right eye. He also sustained shrapnel wounds to his right upper extremity and

  left lower extremity.

         1712. The severity of the injuries to his right eye resulted in the loss of use of the eye, and

  the eye had to be surgically removed.

         1713. He also sustained sinus fractures, loss of teeth, and a large wound to his right jaw.

         1714. Mr. Joyner continues to have shrapnel lodged in his right forearm and his face.




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         1715. Mr. Joyner has been diagnosed as having cognitive deficits as a result of the attack

  that impair his short-term memory and his ability to engage in abstract thinking and remaining on

  topic in conversation.

         1716. He has also received psychological treatment and counseling following the attack

  and was diagnosed with Acute Stress Disorder.

         1717. As a result of the attack, and the injuries he suffered, Plaintiff Christopher Joyner

  has experienced severe physical pain and mental anguish and extreme emotional pain and

  suffering.

         1718. Plaintiff Anne P. “Poppy” Joyner is a citizen of the United States and domiciled in

  the State of North Carolina. She is the wife of Christopher Joyner.

         1719. Plaintiff Necole Dunlow Smith is a citizen of the United States and domiciled in

  the State of North Carolina. She is the step-sister of Christopher Joyner.

         1720. As a result of the attack, and the injuries Christopher Joyner suffered, Plaintiffs

  Anne P. “Poppy” Joyner and Necole Dunlow Smith have experienced severe mental anguish and

  extreme emotional pain and suffering.

  The Mills Family

         1721. Plaintiff Michael R. Mills is a citizen of the United States and domiciled in the State

  of West Virginia.

         1722. On May 2, 2006, Michael Mills, then 37, was a civilian contractor with Blackwater

  Security Consulting in Iraq.

         1723. Mr. Mills was one of two gunners riding in an armored vehicle that was struck by

  a multiple EFP array emplaced by Special Groups.




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           1724. The weapon used to injure Mr. Mills was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

           1725. As a result of the attack, Mr. Mills sustained blast and shrapnel injuries to his face,

  shoulder, and torso. It also caused a torn meniscus in his left knee.

           1726. Mr. Mills received extensive medical treatment and underwent various surgeries

  over a number of years.

           1727. As a result of the attack, and the injuries he suffered, Plaintiff Michael Mills has

  experienced severe physical pain and mental anguish and extreme emotional pain and suffering.

           1728. Plaintiff M.R.M., a minor, represented by his legal guardian Michael Mills, is a

  citizen of the United States and domiciled in the State of New Jersey. He is the son of Michael

  Mills.

           1729. Plaintiff M.R.M., a minor, represented by his legal guardian Michael Mills, is a

  citizen of the United States and domiciled in the State of New Jersey. He is the son of Michael

  Mills.

           1730. As a result of the attack, and the injuries Michael Mills suffered, Plaintiffs M.R.M.

  and M.R.M. have experienced severe mental anguish and extreme emotional pain and suffering.

           39.    THE MAY 3, 2006 ATTACK – NASIRIYAH

  The Palinsky Family

           1731. Jerry A. Palinsky, Jr. was a citizen of the United States and domiciled in the State

  of Washington when he was killed in Iraq.




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          1732. On May 3, 2006, Jerry A. Palinsky, Jr., aged 42, was working as a civilian

  contractor with EODT in Iraq when an EFP emplaced by Special Groups detonated near his

  vehicle.

          1733. Jerry A. Palinsky, Jr. was killed in the attack.

          1734. The weapon used to kill Jerry A. Palinsky, Jr. was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

          1735. Plaintiff Eddie Jo Palinsky is a citizen of the United States and domiciled in the

  State of Washington. She is the widow of Jerry A. Palinsky, Jr.

          1736. Plaintiff Eddie Jo Palinsky brings an action individually and on behalf of the Estate

  of Jerry A. Palinsky, Jr., as its legal representative.

          1737. Plaintiff Jerry A. Palinsky, II is a citizen of the United States and domiciled in the

  State of Oregon. He is the son of Jerry A. Palinsky, Jr.

          1738. Plaintiff Adina Palinsky is a citizen of the United States and domiciled in the State

  of Washington. She is the daughter of Jerry A. Palinsky, Jr.

          1739. Plaintiff Jerry A. Palinsky, Sr. is a citizen of the United States and domiciled in the

  State of Washington. He is the father of Jerry A. Palinsky, Jr.

          1740. Plaintiff Kathleen Hoke is a citizen of the United States and domiciled in the State

  of Oregon. She is the mother of Jerry A. Palinsky, Jr.

          1741. Plaintiff Joel Palinsky is a citizen of the United States and domiciled in the State of

  Washington. He is the brother of Jerry A. Palinsky, Jr.

          1742. Plaintiff Karaleen Herb is a citizen of the United States and domiciled in the State

  of Oregon. She is the sister of Jerry A. Palinsky, Jr.




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          1743. As a result of the attack, and the death of Jerry A. Palinsky, Jr., Plaintiffs Eddie Jo

  Palinsky, Jerry A. Palinsky, II, Adina Palinsky, Jerry A. Palinsky, Sr., Kathleen Hoke, Joel

  Palinsky and Karaleen Herb have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their husband’s/father’s/son’s/brother’s society, companionship, comfort,

  advice and counsel.

  The Stoneking Family

          1744. Plaintiff Eric Brandon Stoneking is a citizen of the United States and domiciled in

  the State of Virginia.

          1745. On May 3, 2006, Eric Brandon Stoneking, then 26, was working as a civilian

  contractor with EODT in Iraq when an EFP emplaced by Special Groups detonated near his

  vehicle.

          1746. The weapon used to injure Eric Brandon Stoneking was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

          1747. As a result of the attack, Mr. Stoneking sustained a TBI, the loss of two tendons in

  his right arm, major facial trauma on the left side to his upper mandible and lower jaw, shrapnel

  and burns to the face, left shoulder, and torso. Additionally, Mr. Stoneking has suffered from

  PTSD.

          1748. Mr. Stoneking has received extensive medical treatment at various hospitals for the

  extensive injuries he sustained on May 3, 2006.

          1749. As a result of the attack, and the injuries he suffered, Plaintiff Eric Brandon

  Stoneking has experienced severe physical and mental anguish and extreme emotional pain and

  suffering.




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         1750. Plaintiff Carrie Sue Stoneking is a citizen of the United States and domiciled in

  Germany. She is the mother of Eric Brandon Stoneking.

         1751. Plaintiff Faith Renee Stoneking is a citizen of the United States and domiciled in

  Germany. She is the sister of Eric Brandon Stoneking.

         1752. As a result of the attack, and the injuries Eric Brandon Stoneking suffered, Plaintiffs

  Carrie Sue Stoneking and Faith Renee Stoneking have experienced severe mental anguish and

  extreme emotional pain and suffering.

         40.     THE MAY 5, 2006 ATTACK – BAGHDAD

  The Saenz Family

         1753. Carlos N. Saenz was a citizen of the United States and domiciled in the State of

  Nevada when he was killed in Iraq.

         1754. On May 5, 2006, Carlos N. Saenz, aged 46, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         1755. Carlos N. Saenz was killed in the attack.

         1756. The weapon used to kill Carlos N. Saenz was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1757. Plaintiff Joaqina Saenz Chorens is a citizen of the United States and domiciled in

  the State of Nevada. She is the mother of Carlos N. Saenz.

         1758. Plaintiff Luz Maria Estrada-Pulido is a citizen of the United States and domiciled

  in the State of Nevada. She is the sister of Carlos N. Saenz.

         1759. Plaintiff Frances Catherine Castro is a citizen of the United States and domiciled in

  the State of Nevada. She is the sister of Carlos N. Saenz.




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           1760. Plaintiff Elva Espinoza is a citizen of the United States and domiciled in the State

  of Nevada. She is the sister of Carlos N. Saenz.

           1761. As a result of the attack, and the death of Carlos N. Saenz, Plaintiffs Joaqina Saenz

  Chorens, Luz Maria Estrada-Pulido, Frances Catherine Castro and Elva Espinoza have

  experienced severe mental anguish, extreme emotional pain and suffering, and loss of their

  son’s/brother’s society, companionship, comfort, advice and counsel.

  The Vacho Family

           1762. Nathan J. Vacho was a citizen of the United States and domiciled in the State of

  Wisconsin when he was killed in Iraq.

           1763. On May 5, 2006, Nathan J. Vacho, aged 29, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

           1764. Nathan J. Vacho was killed in the attack.

           1765. The weapon used to kill Nathan J. Vacho was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

           1766. Amanda Vacho is a citizen of the United States and domiciled in the State of

  Wisconsin. She is the legal guardian of Plaintiff E.V.

           1767. Amanda Vacho brings an action solely on behalf of Plaintiff E.V.

           1768. Plaintiff E.V., a minor represented by her legal guardian Amanda Vacho, is a citizen

  of the United States and domiciled in the State of Wisconsin. She is the daughter of Nathan J.

  Vacho.

           1769. Plaintiff Bayli Vacho is a citizen of the United States and domiciled in the State of

  Wisconsin. She is the daughter of Nathan J. Vacho.




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         1770. As a result of the attack, and the death of Nathan J. Vacho, Plaintiffs E.V. and Bayli

  Vacho have experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  their father’s society, companionship, comfort, advice and counsel.

         41.    THE MAY 6, 2006 ATTACK – DIWANIYAH

  The Veverka Family

         1771. David M. Veverka was a citizen of the United States and domiciled in the State of

  Pennsylvania when he was killed in Iraq.

         1772. On May 6, 2006, David M. Veverka, aged 25, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1773. David M. Veverka was killed in the attack.

         1774. The weapon used to kill David M. Veverka was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1775. Plaintiff Ronald Veverka is a citizen of the United States and domiciled in the State

  of Pennsylvania. He is the father of David M. Veverka.

         1776. Plaintiff Carol Polley is a citizen of the United States and domiciled in the State of

  Pennsylvania. She is the mother of David M. Veverka.

         1777. Plaintiff Keith Veverka is a citizen of the United States and domiciled in the State

  of Pennsylvania. He is the brother of David M. Veverka.

         1778. Plaintiff Douglas Veverka is a citizen of the United States and domiciled in the

  State of Pennsylvania. He is the brother of David M. Veverka.

         1779. Plaintiff Sandra Soliday is a citizen of the United States and domiciled in the State

  of Pennsylvania. She is the sister of David M. Veverka.




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         1780. As a result of the attack, and the death of David M. Veverka, Plaintiffs Ronald

  Veverka, Carol Polley, Keith Veverka, Douglas Veverka and Sandra Soliday have experienced

  severe mental anguish, extreme emotional pain and suffering, and loss of their son’s/brother’s

  society, companionship, comfort, advice and counsel.

         42.     THE MAY 21, 2006 ATTACK – MOSUL

  The Shumate Family

         1781. Plaintiff Shannon Shumate is a citizen of the United States and domiciled in the

  State of Missouri.

         1782. On May 21, 2006, Shannon Shumate, was serving as a civilian contractor in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         1783. The weapon used to injure Mr. Shumate was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1784. As a result of the attack, Shannon Shumate sustained injuries to his head and back

  and suffered hearing loss. He also suffers from PTSD.

         1785. Mr. Shumate continues to experience pain in his back as well as ringing in his ears

  and hearing loss. He continues to suffer from PTSD and has flash backs when he drives at night.

         1786. As a result of the attack, and the injuries he suffered, Plaintiff Shannon Shumate

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1787. Plaintiff Lauren Shumate is a citizen of the United States and domiciled in the State

  of Kansas. She is the daughter of Shannon Shumate.




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         1788. Plaintiff L.S., a minor, represented by her legal guardian Shannon Shumate, is a

  citizen of the United States and domiciled in the State of Missouri. She is the daughter of Shannon

  Shumate.

         1789. Plaintiff L.S., a minor, represented by his legal guardian Shannon Shumate, is a

  citizen of the United States and domiciled in the State of Missouri. He is the son of Shannon

  Shumate.

         1790. As a result of the attack, and the injuries Shannon Shumate has suffered, Plaintiffs

  Lauren Shumate, L.S. and L.S. have experienced severe mental anguish and extreme emotional

  pain and suffering.

         43.     THE MAY 25, 2006 ATTACK – BAGHDAD

  The DiCenzo Family

         1791. Douglas Andrew DiCenzo was a citizen of the United States and domiciled in the

  State of New Hampshire.

         1792. On May 25, 2006, Douglas Andrew DiCenzo, then 30, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1793. Douglas Andrew DiCenzo was killed in the attack.

         1794. The weapon used to kill Douglas Andrew DiCenzo was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         1795. Plaintiff Nicole DiCenzo is a citizen of the United States and domiciled in the State

  of Georgia. She is the wife of Douglas Andrew DiCenzo.

         1796. Plaintiff Nicole DiCenzo brings an action individually and on behalf of the Estate

  of Douglas Andrew DiCenzo, as its legal representative.




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         1797. Plaintiff D.D., a minor, represented by his legal guardian, Nicole DiCenzo, is a

  citizen of the United States and domiciled in the State of Georgia. He is the son of Douglas Andrew

  DiCenzo.

         1798. Plaintiff Larry DiCenzo is a citizen of the United States and domiciled in the State

  of Florida. He is the father of Douglas Andrew DiCenzo.

         1799. Plaintiff Kathy Crane is a citizen of the United States and domiciled in the State of

  New Hampshire. She is the mother of Douglas Andrew DiCenzo.

         1800. As a result of the attack, and the death of Douglas Andrew DiCenzo, Plaintiffs

  Nicole DiCenzo, D.D., Larry DiCenzo, and Kathy Crane have experienced severe mental anguish,

  extreme emotional pain and suffering, and loss of their husband’s/father’s/son’s society,

  companionship, comfort, advice and counsel.

  The Blair Family

         1801. Robert Edward Blair was a citizen of the United States and domiciled in the State

  of Florida.

         1802. On May 25, 2006, Robert Edward Blair, then 22, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1803. Robert Edward Blair was killed in the attack.

         1804. The weapon used to kill Robert Edward Blair was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         1805. Plaintiff Johnny Allen Blair is a citizen of the United States and domiciled in the

  State of Montana. He is the father of Robert Edward Blair.




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         1806. Plaintiff Johnny Allen Blair brings an action individually and on behalf of the Estate

  of Robert Edward Blair, as its legal representative.

         1807. Plaintiff Charlee Blair Webb is a citizen of the United States and domiciled in the

  State of Florida. She is the sister of Robert Edward Blair.

         1808. As a result of the attack, and the death of Robert Edward Blair, Plaintiffs Johnny

  Allen Blair and Charlee Blair Webb have experienced severe mental anguish, extreme emotional

  pain and suffering, and loss of their son’s/brother’s society, companionship, comfort, advice and

  counsel.

         44.       THE JUNE 5, 2006 ATTACK – BAGHDAD

  The Eastlund Family

         1809. Plaintiff Arne Eastlund is a citizen of the United States and domiciled in the State

  of California.

         1810. On June 5, 2006, Arne Eastlund, age 45, was serving in the U.S. military in Iraq,

  when his vehicle was struck by an EFP emplaced by Special Groups.

         1811. The weapon used to injure Mr. Eastlund was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1812. Following the attack, pieces of one of the occupants on the vehicle, Isaac Lawson,

  landed on Mr. Eastlund’s lap.

         1813. As a result of the attack, Mr. Eastlund sustained significant injuries to his back.

         1814. He also sustained burns to his body and has suffered hearing loss.

         1815. He has undergone multiple surgeries and procedures to address the injuries to his

  back. He continues to seek treatment for his back and neck.




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         1816. Mr. Eastlund has been diagnosed with a TBI and PTSD.

         1817. As a result of the attack, and the injuries he suffered, Plaintiff Arne Eastlund has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1818. Plaintiff Tina Eastlund is a citizen of the United States and domiciled in the State

  of California. She is the wife of Arne Eastlund.

         1819. Plaintiff Sven Eastlund is a citizen of the United States and domiciled in the State

  of California. He is the son of Arne Eastlund.

         1820. Plaintiff Taylor Eastlund is a citizen of the United States and domiciled in the State

  of California. She is the step-daughter of Arne Eastlund.

         1821. Plaintiff Elizabeth Jo Eastlund is a citizen of the United States and domiciled in the

  State of California. She is the mother of Arne Eastlund.

         1822. As a result of the attack, and the injuries Arne Eastlund suffered, Plaintiffs Tina

  Eastlund, Sven Eastlund, Taylor Eastlund, and Elizabeth Jo Eastlund have experienced severe

  mental anguish and extreme emotional pain and suffering.

  The Adamson Family

         1823. Plaintiff Matthew Adamson is a citizen of the United States and domiciled in the

  State of Oklahoma.

         1824. On June 5, 2006, Matthew Adamson, age 21, was serving in the U.S. military in

  Iraq. He was the gunner in a vehicle traveling in the same convoy as Arne Eastlund when Arne

  Eastlund’s vehicle was struck by an EFP emplaced by Special Groups. (“the Adamson vehicle”)

         1825. As a result of the explosion, Mr. Adamson was thrown back, injuring his head.




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         1826. The weapon used to injure Mr. Adamson was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1827. Mr. Adamson has experienced frequent and severe headaches. He also experiences

  memory loss.

         1828. Mr. Adamson has been diagnosed with a modified TBI.

         1829. He has also been diagnosed with PTSD.

         1830. Mr. Adamson has sought counseling and has been prescribed medication, including

  anti-depressants, to treat his condition.

         1831. As a result of the attack, and the injuries he suffered, Plaintiff Matthew Adamson

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1832. Plaintiff R.A., a minor represented by his legal guardian Matthew Adamson, is a

  citizen of the United States and domiciled in the State of Oklahoma. He is the son of Matthew

  Adamson.

         1833. Plaintiff Kathy Adamson is a citizen of the United States and domiciled in the State

  of Oklahoma. She is the mother of Matthew Adamson.

         1834. Plaintiff Richard Adamson is a citizen of the United States and domiciled in the

  State of Oklahoma. He is the father of Matthew Adamson.

         1835. Plaintiff Christopher Adamson is a citizen of the United States and domiciled in the

  State of Oklahoma. He is the brother of Matthew Adamson.

         1836. Plaintiff Jeffrey Adamson is a citizen of the United States and domiciled in the State

  of Oklahoma. He is the brother of Matthew Adamson.




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          1837. Plaintiff Justin Adamson is a citizen of the United States and domiciled in the State

  of Oklahoma. He is the brother of Matthew Adamson.

          1838. As a result of the attack, and the injuries Matthew Adamson suffered, Plaintiffs

  R.A., Kathy Adamson, Richard Adamson, Christopher Adamson, Jeffrey Adamson, and Justin

  Adamson have experienced severe mental anguish and extreme emotional pain and suffering.

  The Shepard Family

          1839. Plaintiff James Shepard is a citizen of the United States and domiciled in the State

  of Oklahoma.

          1840. On June 5, 2006, James Shepard, age 32, was serving in the U.S. military in Iraq.

  He was the Truck Commander of the Adamson vehicle, traveling in the same convoy as Arne

  Eastlund when Arne Eastlund’s vehicle was struck by an EFP emplaced by Special Groups.

          1841. The weapon used to injure Mr. Shepard was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          1842. Following the attack, the Adamson vehicle traveled towards the location where

  Arne Eastlund’s vehicle had stopped.

          1843. After exiting his vehicle, James Shepard went to the vehicle and opened the door.

  There, he saw Isaac Lawson moving, despite the fact that there were pieces of Lawson’s face or

  neck visible in the interior of the vehicle.

          1844. James Shepard helped remove Isaac Lawson from the vehicle.

          1845. James Shepard continues to vividly recall the attack and his actions as well as what

  he witnessed following the attack.

          1846. Mr. Shepard has experienced extreme survivor’s guilt.




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         1847. He has been diagnosed with PTSD and has sought counseling.

         1848. As a result of the attack, and the injuries he suffered, Plaintiff James Shepard has

  experienced severe mental anguish and extreme emotional pain and suffering.

  The Sklaney Family

         1849. Plaintiff John P. Sklaney, III is a citizen of the United States and domiciled in the

  State of Oklahoma.

         1850. On June 5, 2006, John Sklaney, age 35, was serving in the U.S. military in Iraq. He

  was the driver of the Adamson vehicle, traveling in the same convoy as Arne Eastlund when Arne

  Eastlund’s vehicle was struck by an EFP emplaced by Special Groups.

         1851. The weapon used to injure Mr. Sklaney was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1852. Following the attack, the Adamson vehicle traveled towards the location where the

  Arne Eastlund’s vehicle had stopped.

         1853. After exiting his vehicle, John P. Sklaney, III went to Arne Eastlund’s vehicle. He

  saw Isaac Lawson, including the fact that Isaac Lawson’s leg had been severed.

         1854. Together with James Shepard, John P. Sklaney, III removed Isaac Lawson from the

  vehicle. Mr. Sklaney helped to place Isaac Lawson on a stretcher.

         1855. Mr. Sklaney has experienced survivor’s guilt.

         1856. He has experienced memory loss and has been diagnosed with PTSD.

         1857. Mr. Sklaney has sought counseling and has been prescribed medication to treat

  depression.




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         1858. As a result of the attack, and the injuries he suffered, Plaintiff John P. Sklaney, III

  has experienced severe mental anguish and extreme emotional pain and suffering.

         45.     THE JUNE 10, 2006 ATTACK – RUSTAMIYAH

  The Friedrich Family

         1859. Plaintiff Steven J. Friedrich is a citizen of the United States and domiciled in the

  State of Florida.

         1860. On June 10, 2006, then 24, was serving in the U.S. military in Iraq when an EFP

  emplaced by Special Groups detonated near his vehicle.

         1861. The weapon used to injure Mr. Friedrich was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1862. As a result of the attack, Mr. Friedrich sustained bilateral eardrum perforations and

  shrapnel injuries to his left forehead, right shoulder, and right leg.

         1863. He has undergone multiple surgeries on his ears and suffers from tinnitus.

         1864. As a result of the attack, and the injuries he suffered, Plaintiff Steven J. Friedrich

  has experienced severe physical pain and mental anguish and extreme emotional pain and

  suffering.

         1865. Plaintiff A.F., a minor, represented by her legal guardian Steven J. Friedrich, is a

  citizen of the United States and domiciled in the State of Texas. She is the daughter of Steven J.

  Friedrich.

         1866. As a result of the attack, and the injuries Steven J. Friedrich suffered, Plaintiff A.F.

  has experienced severe mental anguish and extreme emotional pain and suffering.




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         46.     THE JULY 11, 2006 ATTACK – KARBALA

  The Derise Family

         1867. Plaintiff Philip Alan Derise is a citizen of the United States and domiciled in the

  State of Washington.

         1868. On July 11, 2006, Philip Alan Derise, then 26, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he

  was traveling outside of Karbala.

         1869. The weapon used to injure Philip Alan Derise was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         1870. As a result of the attack, Mr. Derise suffered a loss of hearing and eyesight.

         1871. Mr. Derise was also diagnosed with a concussion, a TBI, and PTSD.

         1872. As a result of the attack, and the injuries he suffered, Plaintiff Philip Alan Derise

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         47.     THE JULY 15, 2006 ATTACK – BAGHDAD

  The Contreras Family

         1873. Andres J. Contreras was a citizen of the United States and domiciled in the State of

  California when he was killed in Iraq.

         1874. On July 15, 2006, Andres J. Contreras, aged 23, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1875. Andres J. Contreras was killed in the attack.




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         1876. The weapon used to kill Andres J. Contreras was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1877. Plaintiff Norma Alicia Contreras is a citizen of the United States and domiciled in

  the State of California. She is the mother of Andres J. Contreras.

         1878. Plaintiff Jonathan Contreras, Sr. is a citizen of the United States and domiciled in

  the State of California. He is the father of Andres J. Contreras.

         1879. Plaintiff Carlos Contreras is a citizen of the United States and domiciled in the State

  of California. He is the brother of Andres J. Contreras.

         1880. Plaintiff Cesar Contreras is a citizen of the United States and domiciled in the State

  of California. He is the brother of Andres J. Contreras.

         1881. Plaintiff Hernan Contreras is a citizen of the United States and domiciled in the

  State of California. He is the brother of Andres J. Contreras.

         1882. Plaintiff Noel Contreras is a citizen of the United States and domiciled in the State

  of California. He is the brother of Andres J. Contreras.

         1883. Plaintiff Dannyel Contreras is a citizen of the United States and domiciled in the

  State of California. He is the brother of Andres J. Contreras.

         1884. As a result of the attack, and the death of Andres J. Contreras, Plaintiffs Norma

  Alicia Contreras, Jonathan Contreras, Sr., Carlos Contreras, Cesar Contreras, Hernan Contreras,

  Noel Contreras and Dannyel Contreras have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their son’s/brother’s society, companionship, comfort,

  advice and counsel.




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         48.     THE JULY 17, 2006 ATTACK – BAGHDAD

  The Pugh Family

         1885. Kenneth Irving Pugh was a citizen of the United States and domiciled in the State

  of Texas.

         1886. On July 17, 2006, Kenneth Irving Pugh, then 39, was serving in the U.S. military

  in Iraq when his checkpoint in southeast Baghdad came under sniper fire from JAM Special

  Groups.

         1887. Kenneth Irving Pugh was killed in the attack from a gunshot wound to his head.

         1888. The terror cell operatives that fired at Kenneth Irving Pugh were trained by

  Hezbollah and funded and armed by the IRGC-QF and they launched the attack at the direction of

  both Hezbollah and the IRGC-QF, as their proxy.

         1889. Plaintiff Sharon M. Pugh is a citizen of the United States and domiciled in the State

  of Kentucky. She is the widow of Kenneth Irving Pugh.

         1890. Plaintiff Sharon M. Pugh brings an action individually and on behalf of the Estate

  of Kenneth Irving Pugh, as its legal representative.

         1891. Plaintiff Britney E. Carter is a citizen of the United States and domiciled in the State

  of Kentucky. She is the stepdaughter of Kenneth Irving Pugh.

         1892. Plaintiff Alicia Pearson is a citizen of the United States and domiciled in the State

  of Kentucky. She is the stepdaughter of Kenneth Irving Pugh.

         1893. As a result of the attack, and the death of Kenneth Irving Pugh, Plaintiffs Sharon

  M. Pugh, Britney E. Carter, and Alicia Pearson have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their husband’s/father’s society, companionship, comfort,

  advice and counsel.




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         49.     THE JULY 22, 2006 ATTACK – SADR CITY

  The Evans Family

         1894. Plaintiff Daniel J. Evans is a citizen of the United States and domiciled in the State

  of Texas.

         1895. On July 22, 2006, Daniel J. Evans, then19, was serving in the U.S. military in Iraq.

  He was riding in the second vehicle of a four-vehicle convoy in the north-bound lane of Route

  Pluto en route to providing assistance to another unit involved in a previous IED attack in the

  vicinity of Sadr City when the M1114 vehicle in which he was riding in the rear passenger-side

  seat was hit by an EFP emplaced by Special Groups from the right side of the vehicle.

         1896. The weapon used to injure Daniel J. Evans was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1897. As a result of the attack, Daniel P. Evans sustained a TBI having been rendered

  unconscious from the blast for approximately 16 hours. He also suffered from a collapsed left lung

  and injuries to his left shoulder. He was also diagnosed with PTSD.

         1898. As a result of the attack, and the injuries he suffered, Plaintiff Daniel J. Evans has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1899. Plaintiff Justin Evans is a citizen of the United States and domiciled in the State of

  North Carolina. He is the brother of Daniel J. Evans.

         1900. As a result of the attack, and the injuries Daniel J. Evans suffered, Plaintiff Justin

  Evans has experienced severe mental anguish and extreme emotional pain and suffering.




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         50.     THE JULY 25, 2006 ATTACK – BAGHDAD

  The Graves Family

         1901. Joseph A. Graves was a citizen of the United States and domiciled in the State of

  California when he was killed in Iraq.

         1902. On July 25, 2006, Joseph A. Graves, aged 21, was serving in the U.S. military in

  Iraq when the convoy he was travelling came under RPG and small arms fire from JAM Special

  Groups operatives.

         1903. Joseph A. Graves was killed in the attack.

         1904. Joseph A. Graves was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         1905. Plaintiff Kevin Graves is a citizen of the United States and domiciled in the State

  of California. He is the father of Joseph A. Graves.

         1906. As a result of the attack, and the death of Joseph A. Graves, Plaintiff Kevin Graves

  has experienced severe mental anguish, extreme emotional pain and suffering, and loss of his son’s

  society, companionship, comfort, advice and counsel.

         51.     THE AUGUST 26, 2008 ATTACK – SADR CITY

  The Koulchar Family

         1907. Plaintiff Nicholas Gene Koulchar is a citizen of the United States and domiciled in

  the State of Michigan.

         1908. On August 26, 2008, Nicholas Gene Koulchar, then 26, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle. Nicholas

  Gene Koulchar was the gunner in an RG-33 armored vehicle that was the lead vehicle in a convoy

  conducting route-clearing in the vicinity of Route Grizzlies and Route Gold in Sadr City. Nicholas




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  Gene Koulchar’s vehicle was struck by an EFP that had been mounted at a height of 86 inches in

  a shack near the side of the road.

         1909. The weapon used to injure Nicholas Gene Koulchar was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         1910. As a result of the attack, Mr. Koulchar sustained traumatic bilateral above-knee

  amputations, scarring on his lower body and back, genital trauma, facial scars, ulnar neuropathy

  and dysesthesia in his right hand, tinnitus, and PTSD. He was transported to a Medical Aid Station

  in Sadr City and then to central Baghdad where he was stabilized following multiple surgeries and

  then airlifted to Landstuhl, Germany and then to Walter Reed Army Medical Center in

  Washington, DC.

         1911. Nicholas Gene Koulchar has received extensive medical treatment at various

  hospitals including various surgeries and prosthetic fittings where he has spent years in treatment.

         1912. As a result of the attack, and the injuries he suffered, Nicholas Gene Koulchar has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1913. Plaintiff Michael Koulchar is a citizen of the United States and domiciled in the

  State of Michigan. He is the brother of Nicholas Gene Koulchar.

         1914. As a result of the attack, and the injuries Nicholas Gene Koulchar suffered, Plaintiff

  Michael Koulchar has experienced severe mental anguish and extreme emotional pain and

  suffering.




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         52.     THE AUGUST 26, 2006 ATTACK – JISR DIYALA

  The Zayas Family

         1915. Edgardo Zayas was a citizen of the United States and domiciled in the State of

  Massachusetts.

         1916. On August 26, 2006, Edgardo Zayas, then 30, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle. Edgardo Zayas was in

  a five-vehicle convoy with and was serving as the driver in the lead M1114 in the convoy.

         1917. Edgardo Zayas was killed in the attack.

         1918. The weapon used to injure Edgardo Zayas was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1919. Plaintiff Suheil Campbell is a citizen of the United States and domiciled in the State

  of Massachusetts. She is the widow of Edgardo Zayas.

         1920. Plaintiff Suheil Campbell brings an action individually and on behalf of the Estate

  of Edgardo Zayas, as its legal representative.

         1921. Plaintiff Alexander Zayas is a citizen of the United States and domiciled in the State

  of Massachusetts. He is the son of Edgardo Zayas.

         1922. Plaintiff A.Z., a minor, represented by her legal guardian Suheil Campbell, is a

  citizen of the United States and domiciled in the State of Massachusetts. She is the daughter of

  Edgardo Zayas.

         1923. As a result of the attack, and the death of Edgardo Zayas, Plaintiffs Suheil

  Campbell, Alexander Zayas, and A.Z. have experienced severe mental anguish, extreme emotional




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  pain and suffering, and loss of their husband’s/father’s society, companionship, comfort, advice

  and counsel.

         53.     THE SEPTEMBER 3, 2006 ATTACK – BAGHDAD

  The Andino Family

         1924. Edwin A. Andino, Jr. was a citizen of the United States and domiciled in the State

  of Virginia when he was killed in Iraq.

         1925. On September 3, 2006, Edwin A. Andino, Jr., aged 23, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1926. Edwin A. Andino, Jr. was killed in the attack.

         1927. The weapon used to kill Edwin A. Andino, Jr. was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         1928. Plaintiff Cathy Andino is a citizen of the United States and domiciled in the State

  of Virginia. She is the mother of Edwin A. Andino, Jr.

         1929. Plaintiff Cathy Andino brings an action individually and on behalf of the Estate of

  Edwin A. Andino, Jr., as its legal representative.

         1930. As a result of the attack, and the death of Edwin A. Andino, Jr., Plaintiff Cathy

  Andino has experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  her son’s society, companionship, comfort, advice and counsel.

         54.     THE SEPTEMBER 20, 2006 ATTACK – BAGHDAD

  The Puertas Family

         1931. Plaintiff Luis Junior Puertas is a citizen of the United States and domiciled in the

  State of Florida.




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         1932. On September 20, 2006, Luis Junior Puertas, then 20, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle. He was the

  driver of the lead vehicle in a four-vehicle convoy traveling north on Route Gold adjacent to the

  Khansa neighborhood in the eastern portion of Baghdad when a multiple-array EFP planted inside

  the bottom of a newly constructed light pole detonated next to the vehicle.

         1933. The weapon used to injure Luis Junior Puertas was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         1934. As a result of the attack, Mr. Puertas lost his left foot as a result of a penetrator

  entering the vehicle and sustained significant damage to his right leg as well. He underwent above-

  the-knee amputations on both legs as a result of the damages inflicted by the EFP. He also sustained

  a loss of equilibrium due to damage sustained to his ears.

         1935. Mr. Puertas has received extensive medical treatment at various hospitals including

  various surgeries and prosthetic fittings where he has spent months in treatment.

         1936. As a result of the attack, and the injuries he suffered, Plaintiff Luis Junior Puertas

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         1937. Plaintiff Lidia Sullivan is a citizen of the United States and domiciled in the State

  of Florida. She is the mother of Luis Junior Puertas.

         1938. Plaintiff Gabriela D. Puertas Vergara-Donoso is a citizen of the United States and

  domiciled in the State of Florida. She is the sister of Luis Junior Puertas.

         1939. As a result of the attack, and the injuries Luis Junior Puertas suffered, Plaintiffs

  Lidia Sullivan and Gabriela D. Puertas Vergara-Donoso have experienced severe mental anguish

  and extreme emotional pain and suffering.




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         55.     THE SEPTEMBER 30, 2006 ATTACK – BAGHDAD

  The Melendez Family

         1940. Plaintiff Christopher Michael Melendez is a citizen of the United States and

  domiciled in the State of Florida.

         1941. On September 30, 2006, Christopher Michael Melendez, then 19 years, was serving

  in the U.S. military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

  Christopher Michael Melendez was a gunner in an M1114 vehicle on a routine patrol on Route

  Florida in the Mashtal neighborhood of Baghdad when his vehicle was disabled by a direct hit

  from an EFP on the driver’s side of the vehicle.

         1942. The weapon used to injure Christopher Michael Melendez was a Hezbollah-

  designed and Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at

  their direction, using specialized training and components supplied by Hezbollah and the IRGC.

         1943. As a result of the attack, Mr. Melendez’s left leg was amputated above the knee, he

  sustained a TBI, an injury to his brachial plexus causing weakness in his dominant hand, tinnitus,

  jaw fractures, post-traumatic headaches, facial and hand nerve damage, disfiguring head and facial

  scarring, burns, and additional shrapnel injuries.

         1944. Mr. Melendez has received extensive medical treatment at various hospitals

  including various surgeries and prosthetic fittings where he has spent months in treatment.

         1945. As a result of the attack, and the injuries he suffered, Plaintiff Christopher Michael

  Melendez has experienced severe physical and mental anguish and extreme emotional pain and

  suffering.

         1946. Plaintiff Narciso Melendez is a citizen of the United States and domiciled in the

  State of New York. He is the father of Christopher Michael Melendez.




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         1947. Plaintiff Christina Melendez is a citizen of the United States and domiciled in the

  State of Georgia. She is the sister of Christopher Michael Melendez.

         1948. As a result of the attack, and the injuries Christopher Michael Melendez suffered,

  Plaintiffs Narciso Melendez and Christina Melendez have experienced severe mental anguish and

  extreme emotional pain and suffering.

         56.     THE OCTOBER 4, 2006 ATTACK – BAGHDAD

  The Barattieri Family

         1949. Guy Barattieri was a citizen of the United States and domiciled in the State of

  Washington when he was killed in Iraq.

         1950. On October 4, 2006, Guy Barattieri, aged 36, was serving as a civilian contractor

  with Falcon Security in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1951. Guy Barattieri was killed in the attack.

         1952. The weapon used to kill Guy Barattieri was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1953. Plaintiff Laurel Barattieri is a citizen of the United States and domiciled in the State

  of Washington. She is the widow of Guy Barattieri.

         1954. Plaintiff Laurel Barattieri brings an action individually and on behalf of the Estate

  of Guy Barattieri, as its legal representative.

         1955. Plaintiff Patricia Wheatley is a citizen of the United States and domiciled in the

  State of Ohio. She is the mother of Guy Barattieri.

         1956. Plaintiff Rebecca Barattieri is a citizen of the United States and domiciled in the

  State of Washington. She is the sister of Guy Barattieri.




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         1957. Plaintiff Nicole Barattieri is a citizen of the United States and domiciled in the State

  of Kentucky. She is the sister of Guy Barattieri.

         1958. Plaintiff Gina Tesnar is a citizen of the United States and domiciled in the State of

  Kentucky. She is the sister of Guy Barattieri.

         1959. As a result of the attack, and the death of Guy Barattieri, Plaintiffs Laurel Barattieri,

  Patricia Wheatley, Rebecca Barattieri, Nicole Barattieri and Gina Tesnar have experienced severe

  mental anguish, extreme emotional pain and suffering, and loss of their husband’s/son’s/brother’s

  society, companionship, comfort, advice and counsel.

         57.     THE OCTOBER 13, 2006 ATTACK – BAGHDAD

  The Stanton Family

         1960. Kenny Frances Stanton, Jr. was a citizen of the United States and domiciled in the

  State of California.

         1961. On October 13, 2006, Kenny Frances Stanton, Jr., then 20, was serving in the U.S.

  military in Iraq when his unit was struck by an IED emplaced by JAM Special Groups terror

  operatives in the Sholeh neighborhood in northwest Baghdad.

         1962. Kenny Frances Stanton, Jr. was killed in the attack.

         1963. Kenny Frances Stanton, Jr. was killed in the attack perpetrated by Hezbollah-

  trained JAM Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         1964. Plaintiff Gloria L. Magana is a citizen of the United States and domiciled in the

  State of California. She is the mother of Kenny Frances Stanton, Jr.

         1965. Plaintiff Gloria L. Magana brings an action individually and on behalf of the Estate

  of Kenny Frances Stanton, Jr., as its legal representative.




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         1966. Plaintiff Mario Stanton is a citizen of the United States and domiciled in the State

  of California. He is the brother of Kenny Frances Stanton, Jr.

         1967. Plaintiff Brandie Stanton is a citizen of the United States and domiciled in the State

  of California. She is the sister of Kenny Frances Stanton, Jr.

         1968. Plaintiff Terrymarie Stanton is a citizen of the United States and domiciled in the

  State of California. She is the sister of Kenny Frances Stanton, Jr.

         1969. As a result of the attack, and the death of Kenny Frances Stanton, Jr., Plaintiffs

  Gloria L. Magana, Mario Stanton, Brandie Stanton, and Terrymarie Stanton have experienced

  severe mental anguish, extreme emotional pain and suffering, and loss of their son’s/brother’s

  society, companionship, comfort, advice and counsel.

         58.     THE OCTOBER 17, 2006 ATTACK – BAQUBAH

  The Haupt Family

         1970. Ryan Haupt was a citizen of the United States and domiciled in the State of Arizona

  when he was killed in Iraq.

         1971. On October 17, 2006, Ryan Haupt, aged 24, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         1972. Ryan Haupt was killed in the attack.

         1973. The weapon used to kill Ryan Haupt was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1974. Plaintiff Nannette Bryne-Haupt is a citizen of the United States and domiciled in

  the State of Colorado. She is the widow of Ryan Haupt.

         1975. Lynn Forehand is a citizen of the United States and domiciled in the State of




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  Tennessee. She is the mother of Ryan Haupt.

          1976. Lynn Forehand brings an action on behalf of the Estate of Ryan Haupt, as its legal

  representative, for his death and any suffering and/ or economic loss he/his Estate sustained as a

  result of the attack.

          1977. As a result of the attack, and the death of Ryan Haupt, Plaintiff Nannette Bryne-

  Haupt has experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  her husband’s society, companionship, comfort, advice and counsel.

          59.     THE OCTOBER 20, 2006 ATTACK – BAGHDAD

  The Witte Family

          1978. Kevin M. Witte was a citizen of the United States and domiciled in the State of

  Oregon when he was killed in Iraq.

          1979. On October 20, 2006, Kevin M. Witte, aged 27, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          1980. Kevin M. Witte was killed in the attack.

          1981. The weapon used to kill Kevin M. Witte was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          1982. Plaintiff William Witte is a citizen of the United States and domiciled in the State

  of Oregon. He is the brother of Kevin M. Witte.

          1983. Plaintiff William Witte brings an action individually and on behalf of the Estate of

  Kevin M. Witte, as its legal representative.




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         1984. As a result of the attack, and the death of Kevin M. Witte, Plaintiff William Witte

  has experienced severe mental anguish, extreme emotional pain and suffering, and loss of his

  brother’s society, companionship, comfort, advice and counsel.

         60.    THE OCTOBER 22, 2006 ATTACK – BAGHDAD

  The Mock Family

         1985. Willsun Mock was a citizen of the United States and domiciled in the State of

  Kansas when he was killed in Iraq.

         1986. On October 22, 2006, Willsun Mock, aged 23, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         1987. Willsun Mock was killed in the attack.

         1988. The weapon used to kill Willsun Mock was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         1989. Plaintiff Michael Mock is a citizen of the United States and domiciled in the State

  of Kansas. He is the father of Willsun Mock.

         1990. Plaintiff Tammy Dorsey is a citizen of the United States and domiciled in the State

  of Kansas. She is the sister of Willsun Mock.

         1991. Plaintiff Eric Phye is a citizen of the United States and domiciled in the State of

  Arizona. He is the brother of Willsun Mock.

         1992. As a result of the attack, and the death of Willsun Mock, Plaintiffs Michael Mock,

  Tammy Dorsey and Eric Phye have experienced severe mental anguish, extreme emotional pain

  and suffering, and loss of their son’s/brother’s society, companionship, comfort, advice and

  counsel.




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  The Gmachowski Family

         1993. Plaintiff James Gmachowski is a citizen of the United States and domiciled in the

  State of California.

         1994. On October 22, 2006, James Gmachowski, then 19, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle.

         1995. The weapon used to injure James Gmachowski was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         1996. As a result of the blast, a golf-ball-sized piece of copper was lodged in James

  Gmachowski back which required invasive surgery to remove. The wound took roughly five

  months to heal. Mr. Gmachowski was also diagnosed with a TBI and PTSD.

         1997. As a result of the attack, and the injuries he suffered, Plaintiff James Gmachowski

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         61.     THE OCTOBER 22, 2006 ATTACK – BAGHDAD

  The Brian Family

         1998. Brian Brian was a citizen of the United States and domiciled in the State of

  Arkansas when he was killed in Iraq.

         1999. On October 22, 2006, Brian Brian, then 58, was serving as a civilian contractor for

  DynCorp International in Iraq when an EFP emplaced by Special Groups detonated near his

  vehicle.

         2000. The weapon used to kill Brian Brian was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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         2001. Plaintiff Constance Brian is a citizen of the United States and domiciled in the State

  of Arkansas. She is the widow of Brian Brian.

         2002. Plaintiff Constance Brian brings an action individually and on behalf of the Estate

  of Brian Brian, as its legal representative.

         2003. Plaintiff Amber Hensley is a citizen of the United States and domiciled in the State

  of North Dakota. She is the daughter of Brian Brian.

         2004. As a result of the attack, and the death of Brian Brian, Plaintiffs Constance Brian

  and Amber Hensley experienced severe mental anguish, extreme emotional pain and suffering,

  and loss of their husband’s/father’s society, companionship, comfort, advice and counsel.

         62.     THE OCTOBER 22, 2006 ATTACK – BAGHDAD

  The Alabsawi Family

         2005. Plaintiff Karar Alabsawi is a citizen of the United States and domiciled in the State

  of Pennsylvania.

         2006. On October 22, 2006, Karar Alabsawi was serving in the U.S. military in Iraq when

  an EFP emplaced by Special Groups detonated near his vehicle.

         2007. The weapon used to injure Karar Alabsawi was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2008. As a result of the attack, Mr. Alabsawi lost his left leg. He also suffered significant

  injuries to his left arm which he is unable to use as well as shrapnel wounds and burns on his body.

         2009. As a result of the attack, and the injuries he suffered, Plaintiff Karar Alabsawi has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.




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  The Taylor Family

            2010. David G. Taylor was a citizen of the United States and domiciled in the State of

  North Carolina when he was killed in Iraq.

            2011. On October 22, 2006, David G. Taylor, aged 37, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

            2012. David G. Taylor was killed in the attack.

            2013. The weapon used to kill David G. Taylor was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

            2014. Plaintiff Michelle Taylor is a citizen of the United States and domiciled in the State

  of Florida. She is the widow of David G. Taylor.

            2015. Plaintiff Michelle Taylor brings an action individually and on behalf of the Estate

  of David G. Taylor as its legal representative.

            2016. Plaintiff J.T., a minor represented by his legal guardian, Michelle Taylor, is a

  citizen of the United States and domiciled in the State of Florida. He is the son of David G. Taylor.

            2017. Plaintiff Phyllis Taylor is a citizen of the United States and domiciled in the State

  of Florida. She is the mother of David G. Taylor.

            2018. Plaintiff John Taylor is a citizen of the United States. He is the brother of David G.

  Taylor.

            2019. As a result of the attack, and the death of David G. Taylor, Plaintiffs Michelle

  Taylor, J.T., Phyllis Taylor and John Taylor have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their husband’s/father’s/son’s/brother’s society,

  companionship, comfort, advice and counsel.




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  The Taylor Family

         2020. Plaintiff Brian G. Taylor is a citizen of the United States and domiciled in the State

  of Florida.

         2021. On October 22, 2006, Brian G. Taylor was serving in the U.S. military in Iraq when

  an EFP emplaced by Special Groups detonated near his vehicle.

         2022. The weapon used to injure Brian G. Taylor was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2023. As a result of the attack, Mr. Taylor lost his right leg. He also suffered injuries to

  his right thigh, loss of muscle, skin and part of his femur, a dislocated knee, a damaged femoral

  artery, and compartment syndrome.

         2024. As a result of the attack, and the injuries he suffered, Plaintiff Brian G. Taylor has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

  The Recendez Family

         2025. Plaintiff Judas Recendez is a citizen of the United States and domiciled in the State

  of California.

         2026. On October 22, 2006, Judas Recendez was serving in the U.S. military in Iraq when

  an EFP emplaced by Special Groups detonated near his vehicle.

         2027. The weapon used to injure Mr. Recendez was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2028. As a result of the attack, both of Mr. Recendez’s legs were amputated below the

  knee. He also sustained shrapnel injuries to the lower part of his body from the waist down, hearing




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  and vision damage, and nerve damage in his left hand.

         2029. As a result of the attack, and the injuries he suffered, Plaintiff Judas Recendez has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         63.     THE OCTOBER 22, 2006 ATTACK – SADR CITY

  The Norager Family

         2030. Plaintiff Tyler Norager is a citizen of the United States and domiciled in the State

  of Utah.

         2031. On October 22, 2006, Tyler Norager was serving in the U.S. military in Iraq when

  an EFP emplaced by Special Groups detonated near his vehicle.

         2032. The weapon used to injure Mr. Norager was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2033. As a result of the attack, Mr. Norager sustained shrapnel wounds to the face, the

  right side of his body, and the top of his spine. His injuries have caused him long-term, permanent

  back pain.

         2034. As a result of the attack, and the injuries he suffered, Plaintiff Tyler Norager has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2035. Plaintiff Shalee Norager is a citizen of the United States and domiciled in the State

  of Utah. She is the wife of Tyler Norager.

         2036. Plaintiff M.N., a minor resented by her legal guardian, Tyler Norager, is a citizen

  of the United States and domiciled in the State of Utah.

         2037. As a result of the attack, and the injuries suffered by Tyler Norager, Plaintiffs

  Shalee Norager and M.N. have experienced severe mental anguish, and extreme emotional pain




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  and suffering.

          64.      THE NOVEMBER 2, 2006 ATTACK – BAGHDAD

  The Kruger Family

          2038. Eric Kruger was a citizen of the United States and domiciled in the State of Texas

  when he was killed in Iraq.

          2039. On November 2, 2006, Eric Kruger, aged 44, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          2040. Eric Kruger was killed in the attack.

          2041. The weapon used to kill Eric Kruger was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2042. Lawrence Kruger is a citizen of the United States and domiciled in the State of

  Texas. He is the father of Eric Kruger.

          2043. Lawrence Kruger brings an action on behalf of the Estate of Eric Kruger, as its legal

  representative, for his death and any suffering and/ or economic loss he/his Estate sustained as a

  result of the attack.

          2044. Plaintiff C.K., a minor represented by her conservator, Lawrence Kruger, is a

  citizen of the United States and domiciled in the State of Colorado. She is the daughter on Eric

  Kruger.

          2045. Plaintiff E.K., a minor represented by her conservator, Lawrence Kruger, is a

  citizen of the United States and domiciled in the State of Colorado. She is the daughter on Eric

  Kruger.

          2046. As a result of the attack, and the death of Eric Kruger, Plaintiffs C.K. and E.K. have




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  experienced severe mental anguish, extreme emotional pain and suffering, and loss of their father’s

  society, companionship, comfort, advice and counsel.

  The Finken Family

         2047. Paul Finken was a citizen of the United States and domiciled in the State of Iowa

  when he was killed in Iraq.

         2048. On November 2, 2006, Paul Finken, aged 40, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2049. Paul Finken was killed in the attack.

         2050. The weapon used to kill Paul Finken was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2051. Plaintiff Jackie Farrar-Finken is a citizen of the United States and domiciled in the

  State of Virginia. She is the widow of Paul Finken.

         2052. Plaintiff Jackie Farrar-Finken brings an action individually and on behalf of the

  Estate of Paul Finken, as its legal representative.

         2053. Plaintiff Emilie Finken is a citizen of the United States and domiciled in the State

  of Virginia. She is the daughter of Paul Finken.

         2054. Plaintiff C.F., a minor represented by her legal guardian, Jackie Farrar-Finken, is a

  citizen of the United States and domiciled in the State of Virginia. She is the daughter of Paul

  Finken.

         2055. Plaintiff J.F., a minor represented by her legal guardian, Jackie Farrar-Finken, is a

  citizen of the United States and domiciled in the State of Virginia. She is the daughter of Paul

  Finken.




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         2056. Plaintiff Stephen Finken is a citizen of the United States and domiciled in the State

  of Iowa. He is the brother of Paul Finken.

         2057. Plaintiff Alan Finken is a citizen of the United States and domiciled in the State of

  Colorado. He is the brother of Paul Finken.

         2058. Plaintiff Richard Finken is a citizen of the United States and domiciled in the State

  of Iowa. He is the brother of Paul Finken.

         2059. Plaintiff David Finken is a citizen of the United States and domiciled in the State

  of Iowa. He is the brother of Paul Finken.

         2060. Plaintiff Mark Finken is a citizen of the United States and domiciled in the State of

  Iowa. He is the brother of Paul Finken.

         2061. Plaintiff Peter Finken is a citizen of the United States and domiciled in the State of

  Connecticut. He is the brother of Paul Finken.

         2062. Plaintiff Jean Pruitt is a citizen of the United States and domiciled in the State of

  Iowa. She is the sister of Paul Finken.

         2063. Plaintiff Joan Henscheid is a citizen of the United States and domiciled in the State

  of Iowa. She is the sister of Paul Finken.

         2064. As a result of the attack, and the death of Paul Finken, Jackie Farrar-Finken, Emilie

  Finken, C.F., J.F., Stephen Finken, Alan Finken, Richard Finken, David Finken, Mark Finken,

  Peter Finken, Jean Pruitt and Joan Henscheid have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their husband’s/father’s/brother’s society,

  companionship, comfort, advice and counsel.




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         65.    THE NOVEMBER 9, 2006 ATTACK – BAGHDAD

  The McCoy Family

         2065. Gregory McCoy was a citizen of the United States and domiciled in the State of

  Michigan when he was killed in Iraq.

         2066. On November 2, 2006, Gregory McCoy, aged 26, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2067. Gregory McCoy was killed in the attack.

         2068. The weapon used to kill Gregory McCoy was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2069. Plaintiff Lori Ann McCoy is a citizen of the United States and domiciled in the

  State of Colorado. She is the widow of Gregory McCoy.

         2070. Plaintiff Lori Ann McCoy brings an action individually and on behalf of the Estate

  of Gregory McCoy, as its legal representative.

         2071. Plaintiff L.M., a minor represented by his legal guardian, Lori Ann McCoy, is a

  citizen of the United States and domiciled in the State of Colorado. He is the son of Gregory

  McCoy.

         2072. Plaintiff T.M., a minor represented by his legal guardian, Lori Ann McCoy, is a

  citizen of the United States and domiciled in the State of Colorado. He is the son of Gregory

  McCoy.

         2073. As a result of the attack, and the death of Gregory McCoy, Lori Ann McCoy, L.M.

  and T.M. have experienced severe mental anguish, extreme emotional pain and suffering, and loss

  of their husband’s/father’s society, companionship, comfort, advice and counsel.




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  The Cox Family

          2074. Plaintiff Glenn Michael Cox is a citizen of the United States and domiciled in the

  State of Florida.

          2075. On November 9, 2006, Glenn Michael Cox, then 45, was serving as a civilian

  contractor for DynCorp International in Iraq when an EFP emplaced by Special Groups detonated

  near the vehicle in which he was traveling in Baghdad.

          2076. The weapon used to injure Glenn Michael Cox was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

          2077. As a result of the attack, Mr. Cox received multiple shrapnel injuries to his right

  side.

          2078. Mr. Cox’s right ulna was shattered, as were most of the bones in his right hand. As

  a result, Mr. Cox has an artificial knuckle in his right hand. Shrapnel severed a nerve in his right

  forearm, and he still has a large amount of scarring on his arm and hand.

          2079. Mr. Cox also suffers from hearing loss as a result of the attack.

          2080. As a result of the attack, and the injuries he suffered, Plaintiff Glenn Michael Cox

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

          66.     THE NOVEMBER 13, 2006 ATTACK – BAGHDAD

  The Lamb Family

          2081. Plaintiff Kurtiss Lamb is a citizen of the United States and domiciled in the State

  of Tennessee.

          2082. On November 13, 2006, Kurtiss Lamb, then 24, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle.




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         2083. The weapon used to injure Kurtiss Lamb was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2084. As a result of the blast, Kurtiss Lamb suffered partial paralysis to his arm and

  bulging disks in his lumbar spine. Mr. Lamb was also diagnosed with a TBI.

         2085. As a result of the attack, and the injuries he suffered, Plaintiff Kurtiss Lamb has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         67.    THE NOVEMBER 16, 2006 ATTACK – BASRA

  The Coté Family

         2086. Jonathon M. Coté was a citizen of the United States and domiciled in the State of

  New York, when he was kidnapped and killed in Iraq.

         2087. On November 16, 2006, Jonathon Coté was serving as a civilian contractor for

  Crescent Security near Basra, Iraq when he was kidnapped, held hostage, tortured, and ultimately

  murdered by JAM Special Groups.

         2088. Mr. Coté’s remains were mutilated after he was executed. On April 23, 2008, the

  FBI announced that it had identified the remains of Mr. Coté – which were recovered four days

  prior – and made arrangements to return Mr. Coté’s remains to his family.

         2089. Jonathon M. Coté was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2090. Plaintiff Francis L. Coté is a citizen of the United States and domiciled in the State

  of New York. He is the father of Jonathon Coté.

         2091. Plaintiff Nancy Coté is a citizen of the United States and domiciled in the State of

  New York. She is the step-mother of Jonathon Coté.




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         2092. Plaintiff Christopher Coté is a citizen of the United States and domiciled in the State

  of New York. He is the brother of Jonathon Coté.

         2093. Plaintiff Samantha Dunford is a citizen of the United States and domiciled in the

  State of New York. She is the step-sister of Jonathon Coté.

         2094. Plaintiff Maximillian Shroyer is a citizen of the United States and domiciled in the

  Ohio. He is the step-brother of Jonathon Coté.

         2095. As a result of the November 16, 2006 attack, and the subsequent kidnapping and

  execution of Jonathon Coté, Plaintiffs Francis L. Coté, Nancy Coté, Christopher Coté, Samantha

  Dunford and Maxilillian Shroyer have experienced severe mental anguish, extreme emotional pain

  and suffering, and loss of their son’s/brother’s society, companionship, comfort, advice and

  counsel.

  The Johnson-Reuben Family

         2096. Paul Johnson-Reuben was a citizen of the United States and domiciled in the State

  of Minnesota, when he was kidnapped and killed in Iraq.

         2097. On November 16, 2006, Paul Johnson-Reuben was serving as a civilian contractor

  for Crescent Security near Basra, Iraq when he was kidnapped, held hostage, tortured, and

  ultimately murdered by JAM Special Groups.

         2098. Mr. Johnson-Reuben’s remains were mutilated after he was executed. In April

  2008, Mr. Johnson-Reuben’s remains were returned to his family.

         2099. Paul Johnson-Reuben was killed in the attack perpetrated by Hezbollah-trained

  JAM Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2100. Plaintiff Casey Reuben a citizen of the United States and domiciled in the State of

  Minnesota. She is the daughter of Paul Johnson-Reuben.




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         2101. Plaintiff Bree Reuben a citizen of the United States and domiciled in the State of

  Minnesota. She is the daughter of Paul Johnson-Reuben.

         2102. Plaintiff Patrick Reuben a citizen of the United States and domiciled in the State of

  Wisconsin. He is the twin brother of Paul Johnson-Reuben.

         2103. As a result of the attack, and the death of Paul Johnson-Reuben, Plaintiffs Casey

  Reuben, Bree Reuben and Patrick Reuben have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their father’s/brother’s society, companionship, comfort,

  advice and counsel.

  The Munns Family

         2104. Joshua Munns was a citizen of the United States and domiciled in the State of

  California, when he was kidnapped and killed in Iraq.

         2105. On November 16, 2006, Joshua Munns was serving as a civilian contractor for

  Crescent Security near Basra, Iraq when he was kidnapped, held hostage, tortured, and ultimately

  murdered by JAM Special Groups.

         2106. Mr. Munn’s remains were mutilated after he was executed. In April 2008, Mr.

  Munn’s remains were returned to his family.

         2107. Joshua Munns was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2108. Plaintiff Jackie Stewart is a citizen of the United States and domiciled in the State

  of California. She is the mother of Joshua Munns.

         2109. Plaintiff Mark Munns is a citizen of the United States and domiciled in the State of

  California. He is the father of Joshua Munns.




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         2110. Plaintiff Crista Munns is a citizen of the United States and domiciled in the State

  of California. She is the step-mother of Joshua Munns.

         2111. As a result of the attack, and the death of Joshua Munns, Plaintiffs Jackie Stewart,

  Mark Munns and Crista Munns have experienced severe mental anguish, extreme emotional pain

  and suffering, and loss of their son’s society, companionship, comfort, advice and counsel.

  The Young Family

         2112. John Young was a citizen of the United States and domiciled in the State of

  Missouri, when he was kidnapped and killed in Iraq.

         2113. On November 16, 2006, John Young, aged 44, was serving as a civilian contractor

  for Crescent Security near Basra, Iraq when he was kidnapped, held hostage, tortured, and

  ultimately murdered by JAM Special Groups.

         2114. Mr. Young’s remains were mutilated after he was executed. In March 2008, Mr.

  Young’s remains were returned to his family.

         2115. John Young was killed in the attack perpetrated by Hezbollah-trained JAM Special

  Groups under the control and direction of the IRGC-QF and Hezbollah.

         2116. Plaintiff Sharon DeBrabander is a citizen of the United States and domiciled in the

  State of Arizona. She is the mother of John Young.

         2117. Plaintiff Dennis DeBrabander is a citizen of the United States and domiciled in the

  State of Arizona. He is the step-father of John Young.

         2118. Plaintiff Nicole DeBrabander is a citizen of the United States and domiciled in the

  State of Arizona. She is the sister of John Young.

         2119. Plaintiff Joella Pratt is a citizen of the United States and domiciled in the State of

  Missouri. She is the sister of John Young.




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         2120. As a result of the attack, and the death of John Young, Plaintiffs Sharon

  DeBrabander, Dennis DeBrabander, Nicole DeBrabander and Joella Pratt have experienced severe

  mental anguish, extreme emotional pain and suffering, and loss of their son’s/brother’s society,

  companionship, comfort, advice and counsel.

         68.     THE DECEMBER 3, 2006 ATTACK – BAGHDAD

  The Starkey Family

         2121. Plaintiff Joshua Starkey is a citizen of the United States and domiciled in the State

  of Georgia.

         2122. On December 3, 2006, Joshua Starkey, then 23, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2123. The weapon used to injure Joshua Starkey was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2124. As a result of the attack, shrapnel impacted Joshua Starkey’s body on his right

  shoulder and right side of his face. He also sustained burns to his face and shoulder.

         2125. Joshua Starkey has been diagnosed with PTSD. He has sought out counseling and

  has been prescribed medication to address related issues.

         2126. As a result of the attack, and the injuries he suffered, Plaintiff Joshua Starkey has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         69.     THE DECEMBER 4, 2006 ATTACK – BAGHDAD

  The Hinson Family

         2127. Plaintiff Brent Hinson is a citizen of the United States and domiciled in the State of

  Florida.




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         2128. On December 4, 2006, Brent Hinson, then 19, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2129. The weapon used to injure Brent Hinson was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2130. As a result of the attack, Brent Hinson suffered shrapnel injuries and was unable to

  walk for two weeks following the attack. He also required physical therapy.

         2131. As a result of the attack, and the injuries he suffered, Plaintiff Brent Hinson has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2132. Plaintiff William Hinson is a citizen of the United States and domiciled in the State

  of Florida. He is the father of Brent Hinson.

         2133. Plaintiff Fran Hinson is a citizen of the United States and domiciled in the State of

  Florida. She is the mother of Brent Hinson.

         2134. Plaintiff Hilary Westerberg is a citizen of the United States and domiciled in the

  State of New Hampshire. She is the sister of Brent Hinson.

         2135. As a result of the attack, and the injuries suffered by Brent Hinson, Plaintiffs

  William Hinson, Fran Hinson and Hilary Westerberg have experienced severe mental anguish, and

  extreme emotional pain and suffering.

         70.     THE DECEMBER 20, 2006 ATTACK – BAGHDAD

  The Little Family

         2136. Plaintiff William Ronald Little is a citizen of the United States and domiciled in the

  State of Florida.




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         2137. On December 20, 2006, William Ronald Little, then 43, and a former soldier in the

  U.S. military, was serving as a civilian contractor in Iraq when an EFP emplaced by Special Groups

  detonated near his vehicle.

         2138. Mr. Little was injured in the attack.

         2139. The weapon used to injure Mr. Little was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2140. As a result of the attack, Mr. Little sustained shrapnel to his right eye socket

  necessitating the placement of a metal plate under his right eye. Shrapnel also impacted the right

  side of his face and his arm.

         2141. He lost a portion of muscle tissue in his back and shoulder area and part of his right

  tricep muscle was detached. He no longer has full range of motion in his right arm.

         2142. He sustained nerve damage to his right cheek, sinus area, and his upper lip. He has

  undergone rhinoplasty and other procedures to address the injuries to these areas.

         2143. As a result of the attack, and the injuries he suffered, Plaintiff William Ronald Little

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2144. Plaintiff Brenda Little is a citizen of the United States and domiciled in the State of

  Florida. She is the wife of William Ronald Little.

         2145. Plaintiff Kira Sikes is a citizen of the United States and domiciled in the State of

  Florida. She is the daughter of William Ronald Little and Brenda Little.

         2146. Plaintiff William Ronald Little, Jr. is a citizen of the United States and domiciled

  in the State of Florida. He is the son of William Ronald Little and Brenda Little.




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         2147. Brenda Little brings this action individually and on behalf of William Ronald Little,

  Jr. as his power of attorney.

         2148. As a result of the attack, and the injuries William Ronald Little has suffered,

  Plaintiffs Brenda Little, Kira Sikes and William Ronald Little, Jr. have experienced severe mental

  anguish, and extreme emotional pain and suffering.

  The Denman Family

         2149. Plaintiff Joshua Denman is a citizen of the United States and domiciled in the State

  of Florida.

         2150. On December 20, 2008, Joshua Denman, then 21, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2151. Joshua Denman was injured in the attack.

         2152. The weapon used to injure Joshua Denman was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2153. As a result of the attack, Plaintiff Joshua Denman sustained shrapnel in his right

  arm and right hand. He has undergone surgery and procedures to address the removal of shrapnel

  and scar tissue.

         2154. As a result of the attack, and the injuries he suffered, Plaintiff Joshua Denman has

  experienced physical and mental anguish and extreme emotional pain and suffering.

         71.     THE DECEMBER 22, 2006 ATTACK – BAGHDAD

  The Nantz Family

         2155. Plaintiff Randolph Delbert Nantz is a citizen of the United States and domiciled in

  the State of Texas.




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         2156. On December 22, 2006, Randolph Delbert Nantz, then 38, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2157. The weapon used to injure Randolph Delbert Nantz was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         2158. As a result of the blast, Randolph Delbert Nantz suffered serious injuries, including

  nerve damage, burns on 23% of his body, and the amputation of his left leg below the knee.

         2159. As a result of the attack, and the injuries he suffered, Plaintiff Randolph Delbert

  Nantz has experienced severe physical and mental anguish and extreme emotional pain and

  suffering.

         2160. Plaintiff Joshua Ryan Nantz is a citizen of the United States and domiciled in the

  State of Texas. He is the son of Randolph Delbert Nantz.

         2161. As a result of the attack, and the injuries suffered by Randolph Delbert Nantz,

  Plaintiff Joshua Ryan Nantz has experienced severe mental anguish, and extreme emotional pain

  and suffering.

         72.       THE DECEMBER 27, 2006 ATTACK – BAGHDAD

  The McCormick Family

         2162. Clinton McCormick was a citizen of the United States and domiciled in the State

  of Florida when he was killed in Iraq.

         2163. On December 27, 2006, Clinton McCormick, aged 20, was serving in the United

  States military in Iraq when IED emplaced by JAM Special Groups detonated near his vehicle.

         2164. Clinton McCormick was killed in the attack.




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         2165. Clinton McCormick was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2166. Plaintiff Lori Ann McCormick is a citizen of the United States and domiciled in the

  State of Florida. She is the mother of Clinton McCormick.

         2167. Plaintiff Lori Ann McCormick brings an action individually and on behalf of the

  Estate of Clinton McCormick, as its legal representative.

         2168. As a result of the attack, and the death of Clinton McCormick, Lori Ann

  McCormick has experienced severe mental anguish, extreme emotional pain and suffering, and

  loss of her son’s society, companionship, comfort, advice and counsel.

         73.     THE DECEMBER 31, 2006 ATTACK – BAGHDAD

  The Blohm Family

         2169. Alan R. Blohm was a citizen of the United States and domiciled in the State of

  Alaska when he was killed in Iraq.

         2170. On December 31, 2006, Alan R. Blohm, aged 21, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2171. Alan R. Blohm was killed in the attack.

         2172. The weapon used to kill Alan R. Blohm was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2173. Denise Vennix is a citizen of the United States and domiciled in the State of

  Michigan. She is the mother of Alan R. Blohm.

         2174. Denise Vennix brings an action on behalf of the Estate of Alan R. Blohm, as its

  legal representative, for his death and any suffering and/ or economic loss he/his Estate sustained




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  as a result of the attack.

          74.     THE JANUARY 14, 2007 ATTACK – BAGHDAD

  The Vaccaro Family

          2175. Plaintiff Robert Vaccaro is a citizen of the United States and domiciled in the State

  of Rhode Island.

          2176. On January 14, 2007, Robert Vaccaro, then 23, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he

  was traveling in Baghdad.

          2177. The weapon used to injure Robert Vaccaro was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2178. Mr. Vaccaro was in a coma for three weeks following the attack and endured

  several surgeries.

          2179. As a result of the attack, Mr. Vaccaro was diagnosed with a TBI, which caused him

  to suffer from seizures.

          2180. Mr. Vaccaro has had speech therapy, occupational therapy, and physical therapy

  for his injuries.

          2181. Robert Vaccaro has also been diagnosed with PTSD.

          2182. Robert Vaccaro has been prescribed medication to treat his injuries.

          2183. As a result of the attack, and the injuries he suffered, Plaintiff Robert Vaccaro has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.




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         75.     THE JANUARY 22, 2007 ATTACK – BAGHDAD

  The Stout Family

         2184. Brandon L. Stout was a citizen of the United States and domiciled in the State of

  Michigan when he was killed in Iraq.

         2185. On January 22, 2007, Brandon L. Stout, aged 23, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2186. Brandon L. Stout was killed in the attack.

         2187. The weapon used to kill Brandon L. Stout was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2188. Plaintiff Andrew Jeffrey Anderson is a citizen of the United States and domiciled

  in the State of Michigan. He is the brother of Brandon L. Stout.

         2189. Plaintiff Elizabeth Lynn Islas is a citizen of the United States and domiciled in the

  State of Michigan. She is the sister of Brandon L. Stout.

         2190. As a result of the attack, and the death of Brandon L. Stout, Plaintiffs Andrew

  Jeffrey Anderson and Elizabeth Lynn Islas have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their brother’s society, companionship, comfort, advice

  and counsel.

         76.     THE JANUARY 25, 2007 ATTACK – BAGHDAD

  The Balsley Family

         2191. Michael C. Balsley was a citizen of the United States and domiciled in the State of

  California when he was killed in Iraq.




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          2192. On January 25, 2007, Michael C. Balsley, aged 23, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          2193. Michael C. Balsley was killed in the attack.

          2194. The weapon used to kill Michael C. Balsley was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2195. Plaintiff Samantha Balsley is a citizen of the United States and domiciled in the

  State of Virginia. She is the widow of Michael C. Balsley.

          2196. Plaintiff Samantha Balsley brings an action individually and on behalf of the Estate

  of Michael C. Balsley, as its legal representative.

          2197. Plaintiff L.R.-W., a minor represented by his legal guardian Samantha Balsley, is a

  citizen of the United States and domiciled in the State of Virginia. He is the son of Michael C.

  Balsley.

          2198. As a result of the attack, and the death of Michael C. Balsley, Plaintiffs Samantha

  Balsley and L.R.-W. have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their husband’s/father’s society, companionship, comfort, advice and

  counsel.

          77.     THE JANUARY 27, 2007 ATTACK – BAGHDAD

  The Hobson Family

          2199. Plaintiff Heath Damon Hobson is a citizen of the United States and domiciled in

  the State of Massachusetts.

          2200. On January 27, 2007, Heath Damon Hobson, then 34, was serving in the U.S.

  military in Iraq.




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         2201. Heath Damon Hobson was in the motor pool at Camp Travis in the U.S. Embassy

  compound in Baghdad when multiple rockets were fired by Special Groups operatives at the

  compound and landed in his proximity.

         2202. Heath Damon Hobson was injured in the attack perpetrated by Hezbollah-trained

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2203. As a result of the attack, Heath Damon Hobson sustained a shrapnel-induced open

  leg fracture and an arterial tear and significant blood loss. He was evacuated to a Combat Support

  Hospital where he underwent an arterial graft to salvage his leg and received external fixation to

  stabilize his leg. He was then flown to Balad, Iraq and then to Germany finally arriving at Walter

  Reed Army Hospital in Washington, DC to be treated for his injuries. To this day, he has a loss of

  the use of his right foot and ankle, bone and soft-tissue loss, nerve damage, vascular damage,

  disfigurement, and PTSD.

         2204. Mr. Hobson has received extensive medical treatment at various hospitals to

  address the injuries he sustained in the attack.

         2205. As a result of the attack, and the injuries he suffered, Plaintiff Heath Damon Hobson

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2206. Plaintiff Jodi Michelle Hobson is a citizen of the United States and domiciled in the

  State of Massachusetts. She is the wife of Heath Damon Hobson.

         2207. Plaintiff M.D.H., a minor, represented by his legal guardian Heath Damon Hobson,

  is a citizen of the United States and domiciled in the State of Massachusetts. He is the son of Heath

  Damon Hobson.




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         2208. As a result of the attack, and the injuries Heath Damon Hobson suffered, Plaintiffs

  Jodi Michelle Hobson and M.D.H. have experienced severe mental anguish and extreme emotional

  pain and suffering.

         78.     THE JANUARY 27, 2007 ATTACK – TAJI

  The Garrigus Family

         2209. Mickel D. Garrigus was a citizen of the United States and domiciled in the State of

  Washington when he was killed in Iraq.

         2210. On January 27, 2007, Mickel D. Garrigus, aged 24, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2211. Mickel D. Garrigus was killed in the attack.

         2212. The weapon used to kill Mickel D. Garrigus was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2213. Plaintiff Deadra Garrigus is a citizen of the United States and domiciled in the State

  of Washington. She is the mother of Mickel D. Garrigus.

         2214. Plaintiff Deadra Garrigus brings an action individually and on behalf of the Estate

  of Mickel D. Garrigus, as its legal representative.

         2215. Plaintiff David Garrigus is a citizen of the United States and domiciled in the State

  of Washington. He is the step-father of Mickel D. Garrigus.

         2216. Plaintiff Nichole Garrigus is a citizen of the United States and domiciled in the

  State of Washington. She is the sister of Mickel D. Garrigus.

         2217. Plaintiff Kyla Ostenson is a citizen of the United States and domiciled in the State

  of Washington. She is the sister of Mickel D. Garrigus.




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           2218. Plaintiff Matthew Garrigus is a citizen of the United States and domiciled in the

  State of Washington. He is the brother of Mickel D. Garrigus.

           2219. As a result of the attack, and the death of Mickel D. Garrigus, Plaintiffs Deadra

  Garrigus, David Garrigus, Nichole Garrigus, Kyla Ostenson and Matthew Garrigus have

  experienced severe mental anguish, extreme emotional pain and suffering, and loss of their

  son’s/brother’s society, companionship, comfort, advice and counsel.

           79.    THE FEBRUARY 1, 2007 ATTACK – BAGHDAD

  The Ryan Family

           2220. Plaintiff Shawn Ryan is a citizen of the United States and domiciled in the State of

  Texas.

           2221. On February 1, 2007, Shawn Ryan was serving in the U.S. military in Iraq when an

  EFP emplaced by Special Groups detonated near his vehicle.

           2222. The weapon used to injure Shawn Ryan was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

           2223. As a result of the attack, Mr. Ryan sustained shrapnel injuries that left him

  permanently disabled.

           2224. As a result of the attack, and the injuries he suffered, Plaintiff Shawn Ryan has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

           80.    THE FEBRUARY 2, 2007 ATTACK – MAHMUDIYAH

  The Dunn Family

           2225. Terrence Dunn was a citizen of the United States and domiciled in the State of

  Texas when he was killed in Iraq.




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         2226. On February 2, 2007, Terrence Dunn, aged 38, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2227. Terrence Dunn was killed in the attack.

         2228. The weapon used to kill Terrence Dunn was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2229. Plaintiff Sharon Y. Dunn Smith is a citizen of the United States and domiciled in

  the State of Texas. She is the sister of Terrence Dunn.

         2230. Plaintiff Sharon Y. Dunn Smith brings an action individually and on behalf of the

  Estate of Terrence Dunn, as its legal representative.

         2231. Plaintiff Dennis Dunn is a citizen of the United States and domiciled in the State of

  New Mexico. He is the brother of Terrence Dunn.

         2232. As a result of the attack, and the death of Terrence Dunn, Plaintiffs Sharon Y. Dunn

  Smith and Dennis Dunn have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their brother’s society, companionship, comfort, advice and counsel.

  The Landeck Family

         2233. Kevin C. Landeck was a citizen of the United States and domiciled in the State of

  Illinois when he was killed in Iraq.

         2234. On February 2, 2007, Kevin C. Landeck, aged 26, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2235. Kevin C. Landeck was killed in the attack.

         2236. The weapon used to kill Kevin C. Landeck was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using




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  specialized training and components supplied by Hezbollah and the IRGC.

         2237. Plaintiff Richard Landeck is a citizen of the United States and domiciled in the State

  of Illinois. He is the father of Kevin C. Landeck.

         2238. Plaintiff Victoria Landeck is a citizen of the United States and domiciled in the

  State of Illinois. She is the mother of Kevin C. Landeck.

         2239. As a result of the attack, and the death of Kevin C. Landeck, Plaintiffs Richard

  Landeck and Victoria Landeck have experienced severe mental anguish, extreme emotional pain

  and suffering, and loss of their son’s society, companionship, comfort, advice and counsel.

         81.     THE FEBRUARY 26, 2007 ATTACK – DIWANIYAH

  The Beardsley Family

         2240. William J. Beardsley was a citizen of the United States and domiciled in the State

  of Minnesota when he was killed in Iraq.

         2241. On February 26, 2007, William J. Beardsley, aged 25, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2242. William J. Beardsley was killed in the attack.

         2243. The weapon used to kill William J. Beardsley was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         2244. Plaintiff Lavonna Harper is a citizen of the United States and domiciled in the State

  of Oklahoma. She is the mother of William J. Beardsley.

         2245. As a result of the attack, and the death of William J. Beardsley, Plaintiff Lavonna

  Harper has experienced the loss of her son’s society, companionship, comfort, advice and counsel.




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          82.     THE MARCH 20, 2007 ATTACK – BAGHDAD

  The Glawson Family

          2246. Curtis E. Glawson was a citizen of the United States and domiciled in the State of

  Alabama when he was killed in Iraq.

          2247. On March 20, 2007, Curtis E. Glawson, aged 24, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          2248. Curtis E. Glawson was killed in the attack.

          2249. The weapon used to kill Curtis E. Glawson was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2250. Hyunjung Glawson is domiciled in the State of Florida. She is the widow of Curtis

  E. Glawson.

          2251. Hyunjung Glawson brings an action on behalf of the Estate of Curtis E. Glawson,

  as its legal representative, for his death and any suffering and/ or economic loss he/his Estate

  sustained as a result of the attack.

          2252. Plaintiff Jazmon Reyna is a citizen of the United States and domiciled in the State

  of Arizona. She is the sister of Curtis E. Glawson.

          2253. As a result of the attack, and the death of Curtis E. Glawson, Plaintiff Jazmon Reyna

  has experienced severe mental anguish, extreme emotional pain and suffering, and loss of her

  brother’s society, companionship, comfort, advice and counsel.

          83.     THE MARCH 27, 2007 ATTACK – BAGHDAD

  The Thomas Family

          2254. Sean M. Thomas was a citizen of the United States and domiciled in the State of




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  Pennsylvania when he was killed in Iraq.

         2255. On March 27, 2007, Sean M. Thomas, aged 33, was serving in the U.S. military

  when he was killed in a 107mm rocket attack perpetrated by JAM Special Groups operatives.

         2256. Sean M. Thomas was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2257. Plaintiff Carrie Thompson is a citizen of the United States and domiciled in the

  State of Pennsylvania. She is the widow of Sean M. Thomas.

         2258. Plaintiff Carrie Thompson brings a claim individually and on behalf of the Estate

  of Sean M. Thomas, as its legal representative.

         2259. Plaintiff A.T., a minor represented by her legal guardian, Carrie Thompson, is a

  citizen of the United States and domiciled in the State of Pennsylvania. She is the daughter of Sean

  M. Thomas.

         2260. Plaintiff Daniel Thomas, Sr. is a citizen of the United States and domiciled in the

  State of Pennsylvania. He is the father of Sean M. Thomas.

         2261. Plaintiff Diana Thomas is a citizen of the United States and domiciled in the State

  of Pennsylvania. She is the mother of Sean M. Thomas.

         2262. Plaintiff Daniel Thomas, Jr. is a citizen of the United States and domiciled in the

  State of Pennsylvania. He is the brother of Sean M. Thomas.

         2263. Plaintiff Kelly Gillis is a citizen of the United States and domiciled in the State of

  Pennsylvania. She is the sister of Sean M. Thomas.

         2264. Plaintiff Melinda Flick is a citizen of the United States and domiciled in the State

  of Pennsylvania. She is the sister of Sean M. Thomas.

         2265. As a result of the attack, and the death of Sean M. Thomas, Plaintiffs Carrie




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  Thompson, A.T., Daniel Thomas Sr., Diana Thomas, Daniel Thomas Jr., Kelly Gillis and Melinda

  Flick have experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  their husband’s/father’s/son’s/brother’s society, companionship, comfort, advice and counsel.

          84.     THE APRIL 4, 2007 ATTACK – NASIRIYAH

  The Sabinish Family

          2266. Plaintiff Ryan Sabinish is a citizen of the United States and domiciled in the State

  of Minnesota.

          2267. On April 4, 2007, Ryan Sabinish, then 25, was serving in the U.S. military in Iraq.

          2268. Mr. Sabinish was driving the third vehicle of a convoy when an EFP emplaced by

  Special Groups detonated near the first vehicle. During the attack, a secondary IED detonated,

  striking an Iraqi civilian vehicle.

          2269. The weapon used in the attack was a Hezbollah-designed and Iranian-manufactured

  EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using specialized

  training and components supplied by Hezbollah and the IRGC.

          2270. Mr. Sabinish dismounted his vehicle to pull security and would not allow the

  civilian vehicle to drive away from the scene. He witnessed a wounded child inside the vehicle

  die.

          2271. Mr. Sabinish was subsequently diagnosed with PTSD and has experienced suicidal

  ideation. He has been hospitalized for his emotional injuries and has sought mental health

  treatment as an outpatient.

          2272. Mr. Sabinish continues to seek treatment, including counseling, and has been

  prescribed anti-anxiety medications, anti-depressants, and medication to address sleep-related

  issues. He continues to take medication to treat his emotional injuries.




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         2273. As a result of the attack, and the injuries he suffered, Ryan Sabinish has experienced

  severe physical and mental anguish and extreme emotional pain and suffering.

         2274. Plaintiff R.J.S., a minor represented by her legal guardian Ryan Sabinish, is a

  citizen of the United States and domiciled in the State of Minnesota. She is the daughter of Ryan

  Sabinish.

         2275. Plaintiff S.J.S., a minor represented by her legal guardian Ryan Sabinish, is a citizen

  of the United States and domiciled in the State of Minnesota. She is the daughter of Ryan Sabinish.

         2276. As a result of the attack, and the injuries suffered by Ryan Sabinish, Plaintiffs R.J.S.

  and S.J.S. have experienced severe mental anguish, and extreme emotional pain and suffering.

         85.     THE APRIL 6, 2007 ATTACK – BAGHDAD

  The Fuentes Family

         2277. Daniel A. Fuentes was a citizen of the United States and domiciled in the State of

  New York when he was killed in Iraq.

         2278. On April 6, 2007, Daniel A. Fuentes, aged 19, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2279. Daniel A. Fuentes was killed in the attack.

         2280. The weapon used to kill Daniel A. Fuentes was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2281. Plaintiff Emma McGarry is a citizen of the United States and domiciled in the State

  of New York. She was the fiancée of Daniel A. Fuentes.




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           2282. As a result of the attack, and the death of Daniel A. Fuentes, Plaintiff Emma

  McGarry has experienced the loss of her fiancée’s society, companionship, comfort, advice and

  counsel.

           86.    THE APRIL 6, 2007 ATTACK – SADR CITY

  The Kirby Family

           2283. Plaintiff John Kirby is a citizen of the United States and domiciled in the State of

  Texas.

           2284. On April 6, 2007, John Kirby, then 31, was serving in the U.S. military in Iraq when

  both an EFP and an ambulance rigged with explosives detonated near his vehicle.

           2285. The weapon used to injure John Kirby was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

           2286. As a result of the attack, Mr. Kirby suffered burns on his upper back. He also suffers

  from TBI and PTSD.

           2287. As a result of the attack, and the injuries he suffered, Plaintiff John Kirby has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

           87.    THE APRIL 7, 2007 ATTACK – BAGHDAD

  The Murphy-Sweet Family

           2288. Philip A. Murphy-Sweet was a citizen of the United States and domiciled in the

  State of Idaho when he was killed in Iraq.

           2289. On April 7, 2007, Philip A. Murphy-Sweet, aged 42 was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

           2290. Philip A. Murphy-Sweet was killed in the attack.




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         2291. The weapon used to kill Philip A. Murphy-Sweet was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         2292. Plaintiff Michael Murphy-Sweet is a citizen of the United States and domiciled in

  the State of Idaho. He is the brother of Philip A. Murphy-Sweet.

         2293. Plaintiff Elizabeth Murphy-Sweet is a citizen of the United States and domiciled in

  the State of Idaho. She is the sister of Philip A. Murphy-Sweet.

         2294. Plaintiff Anona Gonelli is a citizen of the United States and domiciled in the State

  of Idaho. She is the sister of Philip A. Murphy-Sweet.

         2295. As a result of the attack, and the death of Philip A. Murphy-Sweet, Plaintiffs

  Michael Murphy-Sweet, Elizabeth Murphy-Sweet and Anona Gonelli have experienced severe

  mental anguish, extreme emotional pain and suffering, and loss of their brother’s society,

  companionship, comfort, advice and counsel.

         88.     THE APRIL 9, 2007 ATTACK – BAGHDAD

  The Walton Family

         2296. Brett A. Walton was a citizen of the United States and domiciled in the State of

  Oregon when he was killed in Iraq.

         2297. On April 9, 2007, Brett A. Walton, aged 37, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         2298. Brett A. Walton was killed in the attack.

         2299. The weapon used to kill Brett A. Walton was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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         2300. Plaintiff Lindsay Young is a citizen of the United States and domiciled in the State

  of Oregon. She is the widow of Brett A. Walton.

         2301. Plaintiff Lindsay Young brings an action individually and on behalf of the Estate

  of Brett A. Walton, as its legal representative.

         2302. Plaintiff S.W., a minor represented by her legal guardian Lindsay Young, is a

  citizen of the United States and domiciled in the State of Oregon. She is the daughter of Brett A.

  Walton.

         2303. As a result of the attack, and the death of Brett A. Walton, Plaintiffs Lindsay Young

  and S.W. have experienced the loss of their husband’s/father’s society, companionship, comfort,

  advice and counsel.

  The Holden Family

         2304. Brian L. Holden was a citizen of the United States and domiciled in the State of

  North Carolina when he was killed in Iraq.

         2305. On April 9, 2007, Brian L. Holden, aged 20, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near his HMMWV in

  Baghdad.

         2306. Brian L. Holden was killed in the attack.

         2307. The weapon used to kill Brian L. Holden was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2308. Plaintiff Leasa Dollar is a citizen of the United States and domiciled in the State of

  North Carolina. She is the mother of Brian L. Holden.

         2309. Plaintiff Eugene DeLozier is a citizen of the United States and domiciled in the




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  State of Washington. He is the step-father of Brian L. Holden.

         2310. As a result of the attack, and the death of Brian L. Holden, Plaintiffs Leasa Dollar

  and Eugene DeLozier have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their son’s society, companionship, comfort, advice and counsel.

         89.     THE APRIL 28, 2007 ATTACK – BAGHDAD

  The Stevens Family

         2311. Plaintiff Jared S. Stevens is a citizen of the United States and domiciled in the State

  of Maryland.

         2312. On April 28, 2007, Jared S. Stevens was serving in the U.S. military in Iraq when

  he came under sniper fire by JAM Special Groups.

         2313. Jared S. Stevens was injured in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2314. As a result of the attack, Mr. Stevens was shot in the lip, lacerating it.

         2315. As a result of the attack, and the injuries he suffered, Plaintiff Jared S. Stevens has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         90.     THE APRIL 28, 2007 ATTACK – SALMAN PAK

  The Hicks Family

         2316. Glenn Dale Hicks, Jr. was a citizen of the United States and domiciled in the State

  of Texas.

         2317. On April 28, 2007, Glenn Dale Hicks, Jr., then 24, was serving in the U.S. military

  in Iraq when an IED emplaced by Special Groups detonated the near his vehicle. His unit was on

  a routine patrol heading southwest on Route Kelp in the vicinity of Salman Pak, Iraq when the

  M1151 in which he was traveling was struck by an IED and subsequent small arms fire.




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         2318. Glenn Dale Hicks, Jr. was killed in the attack from blast injuries.

         2319. The Special Groups terror cell operatives that emplaced the IED that killed Glenn

  Dale Hicks, Jr. were trained by Hezbollah and funded and supplied by the IRGC-QF and they

  launched the attack at the direction of both Hezbollah and the IRGC-QF, as their proxy.

         2320. Plaintiff Susan Maria Doskocil Hicks is a citizen of the United States and domiciled

  in the State of Texas. She is the mother of Glenn Dale Hicks, Jr.

         2321. Plaintiff Susan Maria Doskocil Hicks brings an action individually and on behalf

  of the Estate of Glenn Dale Hicks, Jr., as its legal representative.

         2322. Plaintiff Glenn Dale Hicks, Sr. is a citizen of the United States and domiciled in the

  State of Texas. He is the father of Glenn Dale Hicks, Jr.

         2323. Plaintiff David James Hicks is a citizen of the United States and domiciled in the

  State of Texas. He is the brother of Glenn Dale Hicks, Jr.

         2324. Plaintiff John Christopher Hicks is a citizen of the United States and domiciled in

  the State of Texas. He is the brother of Glenn Dale Hicks, Jr.

         2325. Plaintiff S.L.H., a minor, represented by his legal guardian Susan Maria Doskocil

  Hicks, is a citizen of the United States and domiciled in the State of Texas. He is the brother of

  Glenn Dale Hicks, Jr.

         2326. As a result of the attack, and the death of Glenn Dale Hicks, Jr., Plaintiffs Susan

  Maria Doskocil Hicks, Glenn Dale Hicks, Sr., David James Hicks, John Christopher Hicks, and

  S.L.H. have experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  their son’s/brother’s society, companionship, comfort, advice and counsel.




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         91.     THE APRIL 29, 2007 ATTACK – BAGHDAD

  The Martin Family

         2327. Jay E. Martin was a citizen of the United States and domiciled in the State of

  Maryland when he was killed in Iraq.

         2328. On April 29, 2007, Jay E. Martin, aged 29, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his unit.

         2329. Jay E. Martin was killed in the attack.

         2330. The weapon used to kill Jay E. Martin was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2331. Plaintiff Dwight Martin is a citizen of the United States and domiciled in the State

  of Maryland. He is the father of Jay E. Martin.

         2332. Plaintiff Dwight Martin brings an action individually and on behalf of the Estate of

  Jay E. Martin, as its legal representative.

         2333. Plaintiff Dove Deanna Adams is a citizen of the United States and domiciled in the

  State of Maryland. She is the sister of Jay E. Martin.

         2334. Plaintiff Raven Adams is a citizen of the United States and domiciled in the State

  of Maryland. She is the sister of Jay E. Martin.

         2335. Plaintiff Lark Adams is a citizen of the United States and domiciled in the State of

  Maryland. She is the sister of Jay E. Martin.

         2336. As a result of the attack, and the death of Jay E. Martin, Plaintiffs Dwight Martin,

  Dove Deanna Adams, Raven Adams and Lark Adams have experienced severe mental anguish,




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  extreme emotional pain and suffering, and loss of their brother’s/son’s society, companionship,

  comfort, advice and counsel.

         92.     THE MAY 3, 2007 ATTACK – MUSAYYIB

  The Umbrell Family

         2337. Colby J. Umbrell was a citizen of the United States and domiciled in the State of

  Pennsylvania when he was killed in Iraq.

         2338. On May 3, 2007, Colby J. Umbrell aged 26, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         2339. Colby J. Umbrell was killed in the attack.

         2340. The weapon used to kill Colby J. Umbrell was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2341. Plaintiff Casey Boehmer is a citizen of the United States and domiciled in the State

  of Maryland. She is the sister of Colby J. Umbrell.

         2342. As a result of the attack, and the death of Colby J. Umbrell, Plaintiff Casey Boehmer

  has experienced severe mental anguish, extreme emotional pain and suffering, and loss of her

  brother’s society, companionship, comfort, advice and counsel.

         93.     THE MAY 5, 2007 ATTACK – KAMALIYAH

  The Smith Family

         2343. Plaintiff Jeremy D. Smith is a citizen of the United States and domiciled in the State

  of North Carolina.

         2344. On May 5, 2007, Jeremy D. Smith was serving in the U.S. military in COP

  Bushmaster in Kamaliyah, Iraq when he was injured in a mortar attack perpetrated by JAM Special




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  Groups operatives.

         2345. Jeremy D. Smith was injured in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2346. As a result of the attack, Jeremy Smith suffered shrapnel injuries to his right arm

  and right leg. He also suffered a damaged a ligament in his right ankle.

         2347. As a result of the attack, and the injuries he suffered, Plaintiff Jeremy D. Smith has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         94.     THE MAY 6, 2007 ATTACK – BAGHDAD

  The Dixon Family

         2348. Robert J. Dixon was a citizen of the United States and domiciled in the State of

  Minnesota when he was killed in Iraq.

         2349. On May 6, 2007, Robert J. Dixon aged 27, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         2350. Robert J. Dixon was killed in the attack.

         2351. The weapon used to kill Robert J. Dixon was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2352. Jessica Hubbard is a citizen of the United States and domiciled in the State of

  Michigan. She is the ex-wife of Robert J. Dixon and is the legal guardian of Plaintiffs M.R. and

  L.R.

         2353. Jessica Hubbard brings an action solely on behalf of Plaintiffs M.R. and L.R.




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           2354. Plaintiff M.R., a minor represented by his legal guardian, Jessica Hubbard, is a

  citizen of the United States and domiciled in the State of Michigan. He is the son of Robert J.

  Dixon.

           2355. Plaintiff L.R., a minor represented by his legal guardian, Jessica Hubbard, is a

  citizen of the United States and domiciled in the State of Michigan. He is the son of Robert J.

  Dixon.

           2356. Plaintiff David Dixon is a citizen of the United States and domiciled in the State of

  Michigan. He is the brother of Robert J. Dixon.

           2357. Plaintiff Daniel Austin Dixon is a citizen of the United States and domiciled in the

  State of Michigan. He is the brother of Robert J. Dixon.

           2358. Plaintiff Gretchen Lang is a citizen of the United States and domiciled in the State

  of Michigan. She is the sister of Robert J. Dixon.

           2359. As a result of the attack, and the death of Robert J. Dixon, Plaintiffs M.R., L.R.,

  David Dixon, Daniel Austin Dixon and Gretchen Lang have experienced severe mental anguish,

  extreme emotional pain and suffering, and loss of their father’s/brother’s society, companionship,

  comfort, advice and counsel.

           95.    THE MAY 9, 2007 ATTACK – AL-HILLAH

  The Conner Family

           2360. Bradly D. Conner was a citizen of the United States and domiciled in the State of

  Idaho when he was killed in Iraq.

           2361. On May 9, 2007, Bradly D. Conner, aged 41, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

           2362. Bradly D. Conner was killed in the attack.




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          2363. The weapon used to kill Bradly D. Conner was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2364. Plaintiff Cynthia Conner is a citizen of the United States and domiciled in the State

  of Alabama. She is the widow of Bradly D. Conner.

          2365. As a result of the attack, and the death of Bradly D. Conner, Plaintiff Cynthia

  Conner has experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  her husband’s companionship, comfort, advice and counsel.

          96.     THE MAY 14, 2007 ATTACK – BAGHDAD

  The Brooks Family

          2366. Plaintiff Joshua Brooks is a citizen of the United States and domiciled in the State

  of Tennessee.

          2367. On May 14, 2007, Joshua Brooks, then 21, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups hit the HMMWV in which he was traveling in Baghdad.

          2368. The weapon used to injure Joshua Brooks was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2369. The blast shattered Mr. Brooks’ left fibula.

          2370. Mr. Brooks also suffered tissue loss in his left leg, nerve and tendon damage in his

  left foot and ankle, and scarring on his left foot.

          2371. Mr. Brooks has undergone over twenty surgeries to treat his injuries. His injuries

  have also necessitated extensive physical therapy.




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         2372. Mr. Brooks was diagnosed with PTSD and a TBI. He has been prescribed

  medication and has sought counseling to treat the emotional impact of the attack.

         2373. As a result of the attack, and the injuries he suffered, Plaintiff Joshua Brooks has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2374. Plaintiff Joyce Brooks is a citizen of the United States and domiciled in the State

  of Kentucky. She is the mother of Joshua Brooks.

         2375. Plaintiff Danny Brooks is a citizen of the United States and domiciled in the State

  of Kentucky. He is the father of Joshua Brooks.

         2376. Plaintiff Daniel Tyler Brooks is a citizen of the United States and domiciled in the

  State of Kentucky. He is the brother of Joshua Brooks.

         2377. As a result of the attack, and the injuries Joshua Brooks has suffered, Plaintiffs

  Joyce Brooks, Danny Brooks and Daniel Tyler Brooks have experienced severe mental anguish

  and extreme emotional pain and suffering.

         97.    THE MAY 18, 2007 ATTACK – BAGHDAD

  The Brown Family

         2378. Scott J. Brown was a citizen of the United States and domiciled in the State of

  Colorado when he was killed in Iraq.

         2379. On May 18, 2007, Scott J. Brown, aged 33, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         2380. Scott J. Brown was killed in the attack.

         2381. The weapon used to kill Scott J. Brown was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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           2382. Plaintiff Delilah Brown is a citizen of the United States and domiciled in the State

  of Tennessee. She is the widow of Scott J. Brown.

           2383. Plaintiff Delilah Brown brings an action individually and on behalf of the Estate of

  Scott J. Brown, as its legal representative.

           2384. As a result of the attack, and the death of Scott J. Brown, Plaintiff Delilah Brown

  has experienced severe mental anguish, extreme emotional pain and suffering, and loss of her

  husband’s society, companionship, comfort, advice and counsel.

           98.    THE MAY 29, 2007 ATTACK – SADR CITY

  The Kirby Family

           2385. Plaintiff John Kirby is a citizen of the United States and domiciled in the State of

  Texas.

           2386. On May 29, 2007, John Kirby, then 31, was serving in the U.S. military in Iraq

  when he came under sniper fire by JAM Special Groups.

           2387. John Kirby was injured in the attack perpetrated by Hezbollah-trained JAM Special

  Groups under the control and direction of the IRGC-QF and Hezbollah.

           2388. As a result of the attack, Mr. Kirby was shot in the arm breaking his humerus in

  three places and later requiring an implant.

           2389. As a result of the attack, and the injuries he suffered, Plaintiff John Kirby has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

           99.    THE JUNE 2, 2007 ATTACK – BAGHDAD

  The Dressler Family

           2390. Shawn E. Dressler was a citizen of the United States and domiciled in the State of

  California when he was killed in Iraq.




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         2391. On June 2, 2007, Shawn E. Dressler, aged 22, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2392. Shawn E. Dressler was killed in the attack.

         2393. The weapon used to kill Shawn E. Dressler was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2394. Plaintiff Tanya Suzzette Dressler is a citizen of the United States and domiciled in

  the State of Arizona. She is the sister of Shawn E. Dressler.

         2395. Plaintiff Daniel Dressler is a citizen of the United States and domiciled in the State

  of Virginia. He is the brother of Shawn E. Dressler.

         2396. Plaintiff James Dressler is a citizen of the United States and domiciled in the State

  of Virginia. He is the brother of Shawn E. Dressler.

         2397. As a result of the attack, and the death of Shawn E. Dressler, Plaintiffs Tanya

  Suzzette Dressler, Daniel Dressler and James Dressler have experienced severe mental anguish,

  extreme emotional pain and suffering, and loss of their brother’s society, companionship, comfort,

  advice and counsel.

         100.    THE JUNE 6, 2007 ATTACK – BAGHDAD

  The Gajdos Family

         2398. Shawn D. Gajdos was a citizen of the United States and domiciled in the State of

  Michigan when he was killed in Iraq.

         2399. On June 6, 2007, Shawn D. Gajdos, aged 25, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2400. Shawn D. Gajdos was killed in the attack.




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         2401. The weapon used to kill Shawn D. Gajdos was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2402. Plaintiff Derek Gajdos is a citizen of the United States and domiciled in the State

  of Michigan. He is the brother of Shawn D. Gajdos.

         2403. Plaintiff Tammie DenBoer is a citizen of the United States and domiciled in the

  State of Michigan. She is the sister of Shawn D. Gajdos.

         2404. As a result of the attack, and the death of Shawn D. Gajdos, Plaintiffs Derek Gajdos

  and Tammy DenBoer have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their brother’s society, companionship, comfort, advice and counsel.

         101.       THE JUNE 8, 2007 ATTACK – BAGHDAD

  The Campbell Family

         2405. Plaintiff Brandeaux Campbell is a citizen of the United States and domiciled in the

  State of Texas.

         2406. On June 8, 2007, Brandeaux Campbell, then 20, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle.

         2407. The weapon used to injure Mr. Campbell was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2408. Brandeaux Campbell was severely wounded in the attack resulting in a concussion,

  slicing open his forehead, mouth, and tongue, and lodging shrapnel in both his shoulder and leg.

         2409. As a result of the attack, and the injuries he suffered, Plaintiff Brandeaux Campbell

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.




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  The Wilson Family

         2410. Plaintiff Ryan Wilson is a citizen of the United States and domiciled in the State of

  Florida.

         2411. On June 8, 2007, Ryan Wilson was serving in the United States military in Iraq

  when an EFP emplaced by Special Groups detonated near the vehicle.

         2412. The weapon used to injure Mr. Wilson was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2413. Ryan Wilson was severely wounded in the attack resulting in shrapnel wounds to

  his right arm.

         2414. As a result of the attack, and the injuries he suffered, Plaintiff Ryan Wilson has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2415. Plaintiff Jami Lin Wilson is a citizen of the United States and domiciled in the State

  of Florida. She is the wife of Ryan Wilson.

         2416. As a result of the attack, and the injuries Ryan Wilson has suffered, Plaintiff Jami

  Lin Wilson has experienced severe mental anguish and extreme emotional pain and suffering.

         102.      THE JUNE 10, 2007 ATTACK – BAGHDAD

  The Lammers Family

         2417. Plaintiff Matthew Lammers is a citizen of the United States and domiciled in the

  State of North Carolina.

         2418. On June 10, 2007, Matthew Lammers, then 25, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2419. Matthew Lammers was injured in the attack.




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         2420. The weapon used to injure Matthew Lammers was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         2421. As a result of the attack, Matthew Lammers’ left hand was completely severed.

  Both of his legs were nearly severed below his kneecaps.

         2422. His femoral arteries had been cut and he lost a significant amount of blood.

         2423. After the attack he began to asphyxiate due to his lungs filling with bodily fluids.

  Mr. Lammers remained conscious while this occurred.

         2424. Mr. Lammers’ injuries necessitated that he undergo surgery to fully amputate both

  of his legs below the knees. He has been rendered a triple amputee.

         2425. He underwent multiple procedures and frequent wound cleanings. His treatment

  included debridement of muscle tissue.

         2426. Mr. Lammers has prosthetics to assist with the use of his left hand. He must use a

  wheelchair to ambulate.

         2427. He has experienced and continues to experience severe phantom limb pain and pain

  in his back.

         2428. He has undergone extensive physical therapy.

         2429. He has been diagnosed with a TBI.

         2430. Mr. Lammers has also been diagnosed with PTSD and depression and has received

  treatment and counseling. He has been prescribed medication to address both the pain and

  emotional impact of the attack.

         2431. Mr. Lammers continues to experience pain and emotional distress each day and he

  receives continuing treatment for his injuries.




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         2432. As a result of the attack, and the injuries he suffered, Plaintiff Matthew Lammers

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2433. Plaintiff Alicia Lammers is a citizen of the United States and domiciled in the state

  of North Carolina. She is the wife of Matthew Lammers.

         2434. Plaintiff Barbara Lammers is a citizen of the United States and domiciled in the

  state of Kansas. She is the mother of Matthew Lammers.

         2435. Plaintiff Gary Lammers is a citizen of the United States and domiciled in the state

  of Kansas. He is the father of Matthew Lammers.

         2436. Plaintiff Stacy Pate is a citizen of the United States and domiciled in the state of

  Kansas. She is the sister of Matthew Lammers.

         2437. As a result of the attack, and the injuries Matthew Lammers has suffered, Plaintiffs

  Alicia Lammers, Barbara Lammers, Gary Lammers and Stacy Pate have experienced severe

  mental anguish and extreme emotional pain and suffering.

  The Gomez Family

         2438. Plaintiff Angel Gomez is a citizen of the United States and domiciled in the State

  of Texas.

         2439. On June 10, 2007, Angel Gomez, then 20, was serving in the United States military

  in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he was

  traveling in Baghdad.

         2440. The weapon used to injure Angel Gomez was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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          2441. The blast injured Mr. Gomez’s right leg, necessitating its amputation below the

  knee.

          2442. Angel Gomez sustained shrapnel to his back, which resulted in complete muscle

  atrophy in his back.

          2443. Angel Gomez was wearing Interceptor Body Armor (“IBA”), which included

  ballistic plates to protect his abdomen. The shrapnel hit the IBA plates, which slit Mr. Gomez’s

  abdomen open and caused internal injuries.

          2444. Mr. Gomez was also diagnosed with a concussion, a TBI, and PTSD.

          2445. Mr. Gomez lived in a hospital for a year and a half while receiving treatment and

  undergoing numerous surgeries. He has been prescribed medication to treat his injuries.

          2446. As a result of the attack, and the injuries he suffered, Plaintiff Angel Gomez has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

          103.   THE JUNE 11, 2007 ATTACK – BAGHDAD

  The Payne Family

          2447. Cameron K. Payne was a citizen of the United States and domiciled in the State of

  California when he was killed in Iraq.

          2448. On June 11, 2007, Cameron K. Payne, aged 22, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          2449. Cameron K. Payne was killed in the attack.

          2450. The weapon used to kill Cameron K. Payne was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2451. Plaintiff Denise Jackson is a citizen of the United States and domiciled in the State




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  of California. She is the mother of Cameron K. Payne.

          2452. As a result of the attack, and the death of Cameron K. Payne, Plaintiff Denise

  Jackson has experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  her son’s society, companionship, comfort, advice and counsel.

          104.   THE JUNE 14, 2007 ATTACK – SCANIA

  The Moores Family

          2453. Plaintiff Andrew Moores is a citizen of the United States and domiciled in the State

  of Maine.

          2454. On June 14, 2007, Andrew Moores, then 23, was serving in the United States

  military in Iraq. Mr. Moores was the truck commander in a gun truck that was part of a convoy

  tasked with escorting military vehicles between Kuwait and Iraq when an EFP emplaced by

  Special Groups detonated near his vehicle.

          2455. The weapon used to injure Andrew Moores was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2456. As a result of the attack, Andrew Moores took shrapnel in his left hand and suffered

  injury to his right shoulder, which necessitated surgery and physical therapy. He experiences

  limitations on his shoulder movement to this day.

          2457. Mr. Moores also injured his neck as a result of the attack and takes medication for

  pain.

          2458. Andrew Moores was diagnosed with PTSD, for which he sought counseling. He

  takes medication for his PTSD, as well as medication for the sleep issues he experiences stemming

  from the attack.




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         2459. As a result of the attack, and the injuries he suffered, Plaintiff Andrew Moores has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         105.    THE JUNE 17, 2007 ATTACK – BAGHDAD

  The Tracy Family

         2460. Jacob Tracy was a citizen of the United States and domiciled in the State of Illinois

  when he was killed in Iraq.

         2461. On June 17, 2007, Jacob Tracy, aged 20, was serving in the United States military

  in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he was

  traveling in Baghdad.

         2462. Jacob Tracy was injured in the attack and died on June 18, 2007 from the injuries

  he sustained in the attack.

         2463. The weapon used to kill Jacob Tracy was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2464. Plaintiff Sheila Tracy is a citizen of the United States and domiciled in the State of

  Illinois. She is the mother of Jacob Tracy.

         2465. Plaintiff Sheila Tracy brings an action individually and on behalf of the Estate of

  Jacob Tracy, as its legal representative.

         2466. Plaintiff Donald Tracy is a citizen of the United States and domiciled in the State

  of Illinois. He is the father of Jacob Tracy.

         2467. Plaintiff Nichole Sweeney is a citizen of the United States and domiciled in the

  State of Illinois. She is the sister of Jacob Tracy.




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         2468. Plaintiff Christina Sheridan is a citizen of the United States and domiciled in the

  State of Illinois. She is the sister of Jacob Tracy.

         2469. As a result of the attack, and the death of Jacob Tracy, Plaintiffs Sheila Tracy,

  Donald Tracy, Nichole Sweeney, and Christina Sheridan have experienced severe mental anguish,

  extreme emotional pain and suffering, and loss of their son’s/brother’s society, companionship,

  comfort, advice and counsel.

  The Benson Family

         2470. Plaintiff Matthew Benson is a citizen of the United States and domiciled in the State

  of Arizona.

         2471. On June 17, 2007, Matthew Benson, then 28, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he

  was traveling in Baghdad.

         2472. The weapon used to injure Matthew Benson was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2473. As a result of the attack, Matthew Benson sustained a skull fracture.

         2474. Copper shavings were embedded in Matthew Benson’s body.

         2475. Mr. Benson also sustained burns and bruising on his back as well as lacerations to

  his hands, face, and head.

         2476. Mr. Benson has experienced severe headaches.

         2477. Mr. Benson has been diagnosed with PTSD.

         2478. As a result of the attack, and the injuries he suffered, Plaintiff Matthew Benson has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.




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         2479. Plaintiff Melissa Benson is a citizen of the United States and domiciled in the State

  of Arizona. She is the wife of Matthew Benson.

         2480. Plaintiff C.B., a minor represented by his legal guardian, Matthew Benson, is a

  citizen of the United States and domiciled in the State of Arizona. He is the son of Matthew

  Benson.

         2481. Plaintiff B.B., a minor represented by his legal guardian, Matthew Benson, is a

  citizen of the United States and domiciled in the State of Arizona. He is the son of Matthew

  Benson.

         2482. Plaintiff Daniel P. Benson is a citizen of the United States and domiciled in the

  State of Kansas. He is the father of Matthew Benson.

         2483. Plaintiff Carol Benson is a citizen of the United States and domiciled in the State

  of Kansas. She is the mother of Matthew Benson.

         2484. Plaintiff Daniel R. Benson is a citizen of the United States and domiciled in the

  State of Kansas. He is the brother of Matthew Benson.

         2485. As a result of the attack, and the injuries Matthew Benson has suffered, Plaintiffs

  Melissa Benson, C.B., B.B., Daniel P. Benson, Carol Benson and Daniel R. Benson have

  experienced severe mental anguish, and extreme emotional pain and suffering.

         106.    THE JUNE 23, 2007 ATTACK – BAGHDAD

  The Moody Family

         2486. Michael Dean Moody, Jr. was a citizen of the United States and domiciled in the

  State of Virginia.

         2487. On June 23, 2007, Michael Dean Moody, Jr., then 21, was serving in the U.S.

  military in Iraq when an IED emplaced by JAM Special Groups detonated near his vehicle while




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  patrolling south of Sadr City. The IED strike was followed by small arms fire in the vicinity of the

  explosion.

         2488. Michael Dean Moody, Jr. was killed in the attack.

         2489. Michael Dean Moody, Jr. was killed in the attack perpetrated by Hezbollah-trained

  JAM Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2490. Plaintiff Michael Dean Moody, Sr. is a citizen of the United States and domiciled

  in the State of Virginia. He is the father of Michael Dean Moody, Jr.

         2491. Plaintiff Michael Dean Moody, Sr. brings an action individually and on behalf of

  the Estate of Michael Dean Moody, Jr., as its legal representative.

         2492. Plaintiff Connie Moody is a citizen of the United States and domiciled in the State

  of Virginia. She is the mother of Michael Dean Moody, Jr.

         2493. Plaintiff Kedrick Dante Moody is a citizen of the United States and domiciled in

  the State of Virginia. He is the brother of Michael Dean Moody, Jr.

         2494. As a result of the attack, and the death of Michael Dean Moody, Jr., Plaintiffs

  Michael Dean Moody, Sr., Connie Moody, and Kedrick Dante Moody have experienced severe

  mental anguish, extreme emotional pain and suffering, and loss of their son’s/brother’s society,

  companionship, comfort, advice and counsel.

         107.    THE JUNE 25, 2007 ATTACK – BAGHDAD

  The Edwards Family

         2495. Plaintiff Drew Edwards is a citizen of the United States and domiciled in the State

  of Missouri.

         2496. On June 25, 2007, Drew Edwards, then 22, was serving in the United States military

  in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he was




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  traveling in Baghdad.

         2497. The weapon used to injure Drew Edwards was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2498. As a result of the attack, Drew Edwards suffered an injury to his neck.

         2499. Mr. Edwards has been diagnosed with a TBI.

         2500. Mr. Edwards was also diagnosed with PTSD. He has been prescribed medication

  to address the emotional impact of the attack.

         2501. As a result of the attack, and the injuries he suffered, Plaintiff Drew Edwards has

  experienced physical pain, severe mental anguish and extreme emotional pain and suffering.

         2502. Plaintiff Donielle Edwards is a citizen of the United States and domiciled in the

  State of Missouri. She is the wife of Drew Edwards.

         2503. As a result of the attack, and the injuries Drew Edwards has suffered, Plaintiff

  Donielle Edwards has experienced severe mental anguish and extreme emotional pain and

  suffering.

  The Craig Family

         2504. Andre Craig, Jr. was a citizen of the United States and domiciled in the State of

  Connecticut when he was killed in Iraq.

         2505. On June 25, 2007, Andre Craig, Jr., aged 24, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2506. Andre Craig, Jr. was killed in the attack.

         2507. The weapon used to kill Andre Craig, Jr. was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using




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  specialized training and components supplied by Hezbollah and the IRGC.

         2508. Plaintiff Arifah Hardy is a citizen of the United States and domiciled in the State of

  Connecticut. She was the fiancée of Andre Craig, Jr.

         2509. Plaintiff T.C., a minor represented by her legal guardian, Arifah Hardy, is a citizen

  of the United States and domiciled in the State of Connecticut. She is the daughter of Andre Craig,

  Jr.

         2510. Plaintiff Aundra Craig is a citizen of the United States and domiciled in the State

  of Connecticut. He is the father of Andre Craig, Jr.

         2511. Plaintiff Joyce Craig is a citizen of the United States and domiciled in the State of

  Connecticut. She is the mother of Andre Craig, Jr.

         2512. Plaintiff Debra Cook-Russell is a citizen of the United States and domiciled in the

  State of Connecticut. She is the sister of Andre Craig, Jr.

         2513. Plaintiff Nashima Williams Craig is a citizen of the United States and domiciled in

  the State of Connecticut. She is the sister of Andre Craig, Jr.

         2514. Plaintiff Matthew Craig is a citizen of the United States and domiciled in the State

  of Connecticut. He is the brother of Andre Craig, Jr.

         2515. Plaintiff Jonathan Craig is a citizen of the United States and domiciled in the State

  of Connecticut. He is the brother of Andre Craig, Jr.

         2516. Plaintiff Andre Brown is a citizen of the United States and domiciled in the State

  of Connecticut. He is the brother of Andre Craig, Jr.

         2517. Plaintiff Michael Cook is a citizen of the United States and domiciled in the State

  of Connecticut. He is the brother of Andre Craig, Jr.




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         2518. Plaintiff Valencia Cook is a citizen of the United States and domiciled in the State

  of Connecticut. She is the sister of Andre Craig, Jr.

         2519. As a result of the attack, and the death of Andre Craig, Jr., Plaintiffs Aundra Craig,

  Joyce Craig, Debra Cook-Russell, Nashima Williams Craig, Jonathan Craig, Andre Brown,

  Michael Cook and Valencia Cook have experienced severe mental anguish, extreme emotional

  pain and suffering, and loss of their fiancée’s/father’s/son’s/brother’s society, companionship,

  comfort, advice and counsel.

         108.    THE JUNE 28, 2007 ATTACK – BAGHDAD

  The Crow Family

         2520. William J. Crow was a citizen of the United States and domiciled in the State of

  Kansas when he was killed in Iraq.

         2521. On June 28, 2007, William J. Crow, aged 28, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2522. William J. Crow died on June 28, 2007 as a result of injuries sustained in the attack.

         2523. The weapon used to kill William J. Crow was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2524. Plaintiff Katherine M. Crow is a citizen of the United States and domiciled in the

  State of Texas. She is the widow of William J. Crow.

         2525. Plaintiff Katherine M. Crow brings an action individually and on behalf of the

  Estate of William J. Crow, as its legal representative.




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         2526. Plaintiff K.A.C., a minor represented by her legal guardian, Katherine M. Crow, is

  a citizen of the United States and domiciled in the State of Texas. She is the daughter of William

  J. Crow.

         2527. Plaintiff K.E.C., a minor represented by her legal guardian, Katherine M. Crow, is

  a citizen of the United States and domiciled in the State of Texas. She is the daughter of William

  J. Crow.

         2528. Plaintiff Candace Cathryn Hudson is a citizen of the United States and domiciled

  in the State of Florida. She is the sister of William J. Crow.

         2529. Kathryn Ann Mondini was a citizen of the United States at the time of the death of

  William J. Crow. She was the mother of William J. Crow. She died on April 18, 2014.

         2530. Plaintiff Candace Cathryn Hudson brings an action individually and on behalf of

  the Estate of Kathryn Ann Mondini, as its legal representative.

         2531. As a result of the attack, and the death of William J. Crow, the late Kathryn Ann

  Mondini experienced, and Plaintiffs Katherine M. Crow, K.A.C., K.E.C. and Candace Cathryn

  Hudson have experienced and continue to experience severe mental anguish, extreme emotional

  pain and suffering, and loss of their son’s/husband’s/father’s/brother’s society, companionship,

  comfort, advice and counsel.

         109.    THE JUNE 30, 2007 ATTACK – BAGHDAD

  The Tutwiler Family

         2532. Plaintiff Patrick Tutwiler is a citizen of the United States and domiciled in the

  State of Tennessee.

         2533. On June 30, 2007, Patrick Tutwiler was serving in the U.S. military in Iraq when

  he came under sniper fire by JAM Special Groups terror operatives.




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         2534. As a result of the attack, Mr. Tutwiler was shot through the face and neck.

         2535. Patrick Tutwiler was injured in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2536. As a result of the attack, and the injuries he suffered, Plaintiff Patrick Tutwiler has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2537. Plaintiff Crystal Tutwiler is a citizen of the United States and domiciled in the State

  of Tennessee. She is the wife Patrick Tutwiler.

         2538. As a result of the attack, and the injuries suffered by Patrick Tutwiler, Plaintiff

  Crystal Tutwiler has experienced severe mental anguish, and extreme emotional pain and

  suffering.

         110.    THE JULY 5, 2007 ATTACK – BAGHDAD

  The Ring Family

         2539. Michelle R. Ring was a citizen of the United States and was domiciled in the State

  of Oregon when she was killed in Iraq.

         2540. On July 5, 2007, Michelle R. Ring, aged 26, was serving in the U.S. military when

  she was killed in a mortar attack perpetrated by JAM Special Groups terror operatives.

         2541.   Michelle R. Ring was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2542. Plaintiff Shirley Stearns is a citizen of the United States and is domiciled in the

  State of Oregon. She is the mother of Michelle R. Ring.

         2543. Plaintiff John Stearns is a citizen of the United States and is domiciled in the State

  of Oregon. He is the father of Michelle R. Ring.

         2544. Plaintiffs Shirley Stearns and John Stearns bring an action individually and on




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  behalf of the Estate of Michelle R. Ring, as its legal representatives.

         2545. Plaintiff Karen Hall is a citizen of the United States and is domiciled in the State of

  Alaska. She is the sister of Michelle R. Ring.

         2546. Plaintiff Marilyn Haybeck is a citizen of the United States and is domiciled in the

  State of Oregon. She is the sister of Michelle R. Ring.

         2547. Plaintiff Marc Stearns is a citizen of the United States and is domiciled in the State

  of Oregon. He is the son of Michelle R. Ring.

         2548. James Cole is a citizen of the United States and domiciled in the State of Tennessee.

  He was the ex-husband of Michelle R. Ring and is the legal guardian of Plaintiff B.C. James Cole

  brings an action solely on behalf of Plaintiff B.C., a minor.

         2549. Plaintiff B.C., a minor represented by his legal guardian, James Cole, is a citizen of

  the United States and is domiciled in the State of Tennessee. He is the son of Michelle R. Ring.

         2550. As a result of the attack, and the death of Michelle R. Ring, Plaintiffs Shirley

  Stearns, John Stearns, Karen Hall, Marilyn Haybeck, Marc Stearns and B.C. have experienced

  severe mental anguish, extreme emotional pain and suffering, and loss of their

  daughter’s/sister’s/mother’s society, companionship, comfort, advice and counsel.

         111.    THE JULY 6, 2007 ATTACK – BAGHDAD

  The McRill Family

         2551. Robert McRill was a citizen of the United States and domiciled in the State of

  Virginia when he was killed in Iraq.

         2552. On July 6, 2007, Robert McRill, aged 42, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         2553. Robert McRill was killed in the attack.




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          2554. The weapon used to kill Robert McRill was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2555. Katherine McRill-Fellini is a citizen of the United States and domiciled in the State

  of Virginia. She is the widow of Robert McRill.

          2556. Katherine McRill-Fellini brings an action on behalf of the Estate of Robert McRill,

  as its legal representative, for his death and any suffering and/ or economic loss he/his Estate

  sustained as a result of the attack.

          2557. Plaintiff Ronald McRill is a citizen of the United States and domiciled in the State

  of California. He is the brother of Robert McRill.

          2558. As a result of the attack, and the death of Robert McRill, Plaintiff Ronald McRill

  has experienced severe mental anguish, extreme emotional pain and suffering, and loss of his

  brother’s society, companionship, comfort, advice and counsel.

          112.    THE JULY 6, 2007 ATTACK – BAGHDAD

  The Mergele Family

          2559. Plaintiff Matthew L. Mergele is a citizen of the United States and domiciled in the

  State of Tennessee.

          2560. On July 6, 2007, Matthew L. Mergele was serving in the U.S. military in Iraq when

  an IED emplaced by JAM Special Groups terror operatives detonated while he was on a

  dismounted patrol near Rustimaya.

          2561. Matthew L. Mergele was injured in the attack perpetrated by Hezbollah-trained

  JAM Special Groups under the control and direction of the IRGC-QF and Hezbollah.




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         2562. As a result of the attack, Mr. Mergele was blown back by the blast. He suffered

  difficulty hearing in his left ear, ringing in his ears and headaches.

         2563. As a result of the attack, and the injuries he suffered, Plaintiff Matthew L. Mergele

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         113.    THE JULY 7, 2007 ATTACK – BAGHDAD

  The Miller Family

         2564. Mikeal Miller was a citizen of the United States and domiciled in the State of

  Oregon when he was injured in Iraq.

         2565. On July 7, 2007, Mikeal Miller, aged 21, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         2566. Mikeal Miller was severely injured in the attack when shrapnel went through his

  left eye and lodged in the back of his head.

         2567. Mikeal never regained consciousness after the attack.

         2568. Mikeal remained in a coma and died on January 27, 2008.

         2569. The weapon used to kill Mikeal Miller was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2570. Plaintiff Rene Pool is a citizen of the United States and domiciled in the State of

  Oregon. She is the mother of Mikeal Miller.

         2571. As a result of the attack, and the death of Mikeal Miller, Plaintiff Rene Pool has

  experienced severe mental anguish, extreme emotional pain and suffering, and loss of her son’s

  society, companionship, comfort, advice and counsel.




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         114.    THE JULY 11, 2007 ATTACK – BAGHDAD

  The Hollcroft Family

         2572. Plaintiff Derek Allen Hollcroft is a citizen of the United States and domiciled in the

  State of Florida.

         2573. On July 11, 2007, Derek Allen Hollcroft, then 21, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle

         2574. The weapon used to injure Derek Allen Hollcroft was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         2575. As a result of the attack, Derek Allen Hollcroft sustained a TBI and post-concussion

  syndrome that has caused frequent chronic headaches and migraines and affected his memory.

         2576. As a result of the attack, and the injuries he suffered, Derek Allen Hollcroft has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         115.    THE JULY 17, 2007 ATTACK – BAGHDAD

  The Joshua Family

         2577. Ron J. Joshua, Jr. was a citizen of the United States and domiciled in the State of

  Texas when he was killed in Iraq.

         2578. On July 17, 2007, Ron J. Joshua, Jr., aged 19, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2579. Ron J. Joshua, Jr. was killed in the attack.

         2580. The weapon used to kill Ron J. Joshua, Jr. was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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          2581. Ursula Ann Joshua is a citizen of the United States and domiciled in the State of

  New Mexico. She is the mother of Ron J. Joshua, Jr.

          2582. Ursula Ann Joshua brings an action on behalf of the Estate of Ron J. Joshua as its

  legal representative, for his death and any suffering and/ or economic loss he/his Estate sustained

  as a result of the attack.

          116.    THE JULY 17, 2007 ATTACK – SADR CITY

  The Harrelson Family

          2583. James J. Harrelson was a citizen of the United States and domiciled in the State of

  Alabama when he was killed in Iraq.

          2584. On July 17, 2007, James J. Harrelson, aged 19, was serving in the United States

  military in Iraq when JAM-Special Groups detonated an IED near his vehicle in Sadr City,

  Baghdad.

          2585. James J. Harrelson was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

          2586. Plaintiff Tammy Kinney is a citizen of the United States and domiciled in the State

  of Alabama. She is the mother of James J. Harrelson.

          2587. As a result of the attack, and the death of James J. Harrelson’s, Plaintiff Tammy

  Kinney has experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  her son’s society, companionship, comfort, advice and counsel.

  The Price Family

          2588. Plaintiff Daniel Price is a citizen of the United States and domiciled in the State of

  Illinois.

          2589. On July 17, 2007, Daniel Price, aged 20, was serving in the United States military




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  in Iraq when JAM-Special Groups detonated an IED near his vehicle in Sadr City, Baghdad.

         2590. Daniel Price was injured in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2591. As a result of the attack, Mr. Price suffered shrapnel wounds to his face which cut

  his tear duct and also suffered a fractured leg.

         2592. Mr. Price also suffers from a TBI and PTSD.

         2593. As a result of the attack, and the injuries he suffered, Plaintiff Daniel Price has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2594. Plaintiff Steven Price a citizen of the United States and domiciled in the State of

  Tennessee. He is the brother of Daniel Price.

         2595. As a result of the attack and the injuries Daniel Price suffered, Plaintiff Steven Price

  has experienced severe mental anguish and extreme emotional pain and suffering.

  The Aieti Family

         2596. Plaintiff Tausolo Aieti is a citizen of the United States and domiciled in the State

  of Nevada.

         2597. On July 17, 2007, Tausolo Aieti, aged 20, was serving in the United States military

  in Iraq when JAM-Special Groups detonated an IED near his vehicle in Sadr City, Baghdad.

         2598. Tausolo Aieti was injured in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2599. As a result of the attack, Mr. Aieti suffered a broken leg.

         2600. Mr. Aieti also suffers from a TBI and PTSD.

         2601. As a result of the attack, and the injuries he suffered, Plaintiff Tausolo Aieti has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.




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         2602. Plaintiff Imo Aieti is a citizen of the United States and domiciled in the State of

  Texas. He is the brother of Tausolo Aieti.

         2603. Plaintiff Lisi Aieti is a citizen of the United States and domiciled in the State of

  Utah. She is the sister of Tausolo Aieti.

         2604. Plaintiff Poloka Aieti is a citizen of the United States and domiciled in the State of

  Utah. He is the brother of Tausolo Aieti.

         2605. As a result of the attack, and the injuries suffered by Tausolo Aieti, Plaintiffs Imo

  Aieti, Lisi Aieti and Poloka Aieti have experienced severe mental anguish, and extreme emotional

  pain and suffering.

         117.    THE JULY 17, 2007 ATTACK – BAGHDAD

  The Bouten Family

         2606. Plaintiff Christopher Bouten is a citizen of the United States and domiciled in the

  State of Kentucky.

         2607. On July 17, 2007, Christopher Bouten was serving in the United States military in

  Iraq when he was injured during a mortar attack launched by JAM Special Groups terror operatives

  in the Kamaliyah neighborhood in eastern Baghdad.

         2608. Christopher Bouten was injured in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2609. As a result of the attack, Mr. Bouten suffered shrapnel wounds to his back, neck

  and leg.

         2610. As a result of the attack, and the injuries he suffered, Plaintiff Christopher Bouten

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.




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         2611. Plaintiff Erin Bouten is a citizen of the United States and domiciled in the State of

  Kentucky. She is the wife of Christopher Bouten.

         2612. As a result of the attack and the injuries Christopher Bouten suffered, Plaintiff Erin

  Bouten has experienced severe mental anguish and extreme emotional pain and suffering.

         118.    THE JULY 19, 2007 ATTACK – HUSSEINYAH

  The Dudek Family

         2613. Plaintiff Daniel Dudek is a citizen of the United States and domiciled in the State

  of Washington.

         2614. On July 19, 2007, Daniel Dudek was serving in the U.S. military in Iraq.

         2615. Mr. Dudek was in a convoy when an EFP emplaced by Special Groups struck his

  vehicle.

         2616. The weapon used to injure Mr. Dudek was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2617. As a result of the attack, Mr. Dudek suffers from limited paralysis in his hips and

  legs, and complete paralysis in both of his ankles and feet. He also has a Lumbar 3/4 cauda equina

  with no glute muscles and no ability to move the muscles in his calf/ankles/feet and has reduced

  feeling in his legs down to his ankles. He also has a deep shrapnel hole in his back and pieces of

  fragmentation all throughout his left arm, hips, and buttocks area

         2618. As a result of the attack, and the injuries he suffered, Plaintiff Daniel Dudek has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2619. Plaintiff Margaret Dudek is a citizen of the United States and domiciled in the State

  of North Carolina. She is the mother of Daniel Dudek.




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         2620. Plaintiff Katie Woodard is a citizen of the United States and domiciled in the State

  of North Carolina. She is the sister of Daniel Dudek.

         2621. Plaintiff Sarah Dudek is a citizen of the United States and domiciled in the State of

  North Carolina. She is the sister of Daniel Dudek.

         2622. Plaintiff Andrew Dudek is a citizen of the United States and domiciled in the State

  of North Carolina. He is the brother of Daniel Dudek.

         2623. As a result of the attack, and the injuries suffered by Daniel Dudek, Plaintiffs

  Margaret Dudek, Katie Woodard, Sarah Dudek and Andrew Dudek have experienced severe

  mental anguish, and extreme emotional pain and suffering.

         119.    THE JULY 23, 2007 ATTACK – BAGHDAD

  The Florexil Family

         2624. Camy Florexil was a citizen of the United States and domiciled in the State of

  Pennsylvania when he was injured in Iraq.

         2625. On July 23, 2007, Camy Florexil, aged 20, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         2626. Camy Florexil was injured in the attack and died on July 24, 2007 from the injuries

  he sustained in the attack.

         2627. The weapon used to kill Camy Florexil was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2628. Plaintiff Emanuela Florexil is a citizen of the United States and domiciled in the

  State of Pennsylvania. She is the sister of Camy Florexil.

         2629. Plaintiff Emanuela Florexil brings an action individually and on behalf of the Estate




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  of Camy Florexil, as its legal representative.

          2630. As a result of the attack, and the death of Camy Florexil, Plaintiff Emanuela

  Florexil has experienced severe mental anguish, extreme emotional pain and suffering, and loss of

  her brother’s society, companionship, comfort, advice and counsel.

          120.   THE JULY 24, 2007 ATTACK – BAGHDAD

  The Miller Family

          2631. Plaintiff Joseph T. Miller is a citizen of the Unites States and domiciled in the State

  of Ohio.

          2632. On July 24, 2007, Joseph T. Miller was serving was serving in the U.S. military in

  Iraq.

          2633. Mr. Miller was in a convoy when an EFP emplaced by Special Groups struck his

  vehicle.

          2634. The weapon used to injure Mr. Miller was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2635. As a result of the attack, Mr. Miller suffered a ruptured left ear drum, TBI and post-

  concussive syndrome.

          2636. As a result of the attack, and the injuries he suffered, Plaintiff Joseph T. Miller has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

          121.   THE JULY 24, 2007 ATTACK – UMM QASR

  The Harrington Family

          2637. Plaintiff Sean Harrington is a citizen of the United States and domiciled in the State

  of Pennsylvania.




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         2638. On July 24, 2007, Sean Harrington, then 22, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he

  was traveling outside of Umm Qasr.

         2639. The weapon used to injure Sean Harrington was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2640. Shrapnel from the EFP struck Sean Harrington’s head and face, and copper from

  the EFP’s liner remains fused to his face.

         2641. The impacting shrapnel has resulted in a partial loss of sight in his right eye and

  most of his hearing in his right ear.

         2642. Mr. Harrington has been diagnosed with a TBI. Medication has been prescribed to

  address this condition. He continues to endure migraines as a result of the attack.

         2643. Mr. Harrington was also diagnosed with PTSD a result of the attack, for which he

  has received treatment.

         2644. As a result of the attack, and the injuries he suffered, Plaintiff Sean Harrington has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         122.    THE JULY 31, 2007 ATTACK – BAGHDAD

  The Heinlein Family

         2645. Charles T. Heinlein, Jr. was a citizen of the United States and domiciled in the State

  of Michigan when he was killed in Iraq.

         2646. On July 31, 2007, Charles T. Heinlein, Jr., aged 23, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2647. Charles T. Heinlein, Jr. was killed in the attack.




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          2648. The weapon used to kill Charles T. Heinlein, Jr. was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

          2649. Plaintiff Jessica Heinlein is a citizen of the United States and domiciled in the State

  of Washington. She is the widow of Charles T. Heinlein, Jr.

          2650. Plaintiff Jessica Heinlein brings an action individually and on behalf of the Estate

  of Charles T. Heinlein, Jr., as its legal representative.

          2651. Plaintiff Charles Heinlein, Sr. is a citizen of the United States and domiciled in the

  State of Michigan. He is the father of Charles T. Heinlein, Jr.

          2652. Plaintiff Jody Lyn Heinlein is a citizen of the United States and domiciled in the

  State of Texas. She is the sister of Charles T. Heinlein, Jr.

          2653. As a result of the attack, and the death of Charles T. Heinlein, Jr., Plaintiffs Jessica

  Heinlein, Charles Heinlein, Sr. and Jody Lyn Heinlein have experienced severe mental anguish,

  extreme emotional pain and suffering, and loss of their husband’s/son’s/brother’s society,

  companionship, comfort, advice and counsel.

  The Jairala Family

          2654. Alfred H. Jairala was a citizen of the United States and domiciled in the State of

  Florida when he was killed in Iraq.

          2655. On July 31, 2007, Alfred H. Jairala, aged 29, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he

  was traveling in Baghdad.

          2656. Alfred H. Jairala was killed in the attack.




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             2657. The weapon used to kill Alfred H. Jairala was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

             2658. Plaintiff Margarita Aristizabal is a citizen of the United States and domiciled in the

  State of Florida. She is the widow of Alfred H. Jairala.

             2659. Plaintiff Margarita Aristizabal brings an action individually and on behalf of the

  Estate of Alfred H. Jairala, as its legal representative.

             2660. Plaintiff J.J., a minor represented by her legal guardian, Margarita Aristizabal, is a

  citizen of the United States and domiciled in the State of Florida. She is the daughter of Alfred H.

  Jairala.

             2661. Plaintiff Sebastian Niuman is a citizen of the United States and domiciled in the

  State of Florida. He is the step-son of Alfred H. Jairala.

             2662. As a result of the attack, and the death of Alfred H. Jairala, Plaintiffs Margarita

  Aristizabal, J.J., and Sebastian Niuman have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their husband’s/father’s society, companionship, comfort,

  advice and counsel.

             123.   THE AUGUST 14, 2007 ATTACK – BAGHDAD

  The Casey Family

             2663. Plaintiff Brian J. Casey is a citizen of the United States and domiciled in the State

  of Montana.

             2664. On August 14, 2007, Brian J. Casey was serving in the U.S. military in Iraq when

  he came under sniper fire by JAM Special Groups terror operatives.




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         2665. Brian J. Casey was injured in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2666. As a result of the attack, Mr. Casey suffered a collapsed lung and fractured ribs.

         2667. As a result of the attack, and the injuries he suffered, Plaintiff Brian J. Casey has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2668. Plaintiff Brittany Hogan is a citizen of the United States and domiciled in the State

  of Montana. She was the wife of Brian J. Casey.

         2669. Plaintiff Shelley Ann Casey is a citizen of the United States and domiciled in the

  State of North Carolina. She is mother of Brian J. Casey.

         2670. Plaintiff Richard Casey is a citizen of the United States and domiciled in the State

  of North Carolina. He is the father of Brian J. Casey.

         2671. As a result of the attack, and the injuries suffered by Brian J. Casey, Plaintiffs

  Brittany Hogan, Shelley Ann Casey and Richard Casey have experienced severe mental anguish,

  and extreme emotional pain and suffering.

         124.    THE AUGUST 17, 2007 ATTACK – BASRA

  The Chand Family

         2672. Michael Chand, Sr. was a citizen of the United States and domiciled in the State of

  California when he was kidnapped and killed in Iraq.

         2673. Michael Chand, Sr. worked in southeast Iraq as a civilian contractor who provided

  security relating to road construction projects.

         2674. On August 17, 2007, Mr. Chand’s convoy was ambushed by roughly 300 JAM

  fighters near the JAM stronghold of Amarah, northwest of Basra. Mr. Chand suffered a gunshot

  wound in the ambush and was kidnapped by JAM.




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          2675. He was held in captivity by JAM for several years afterwards and was tortured in

  captivity. He was 52 years old at the time of his kidnapping.

          2676. On or about March 13, 2010, his body was returned to the U.S. government. The

  autopsy report revealed that Mr. Chand was killed by multiple gunshot wounds to the head and

  body, and his injuries were consistent with the conclusion that he had been tortured.

          2677. Initial reports of the August 17, 2007 attack suggested that Mr. Chand had been

  killed in the attack.

          2678. On August 24, 2007, the U.S. State Department officially informed Mr. Chand’s

  wife that he was dead.

          2679. On October 31, 2007, the State Department reversed course and informed his wife,

  Mrs. Sally Chand, that, according to eyewitnesses, Mr. Chand was actually alive and being held

  in captivity. However, efforts to secure his release over the next several years failed, and, on or

  about March 13, 2010, the Chand family learned that Jaysh al-Mahdi had tortured and executed

  Mr. Chand while he was being held in captivity.

          2680. The JAM terror cell that kidnapped and murdered Michael Chand was trained by

  Hezbollah and funded and armed by the IRGC-QF.

          2681. Plaintiff Sally Chand is a citizen of the United States and domiciled in the State of

  California. She is the widow of Michael Chand, Sr.

          2682. Plaintiff Sally Chand brings an action individually and on behalf of the Estate

  Michael Chand, as its legal representative.

          2683. Plaintiff Michael Chand, Jr. is a citizen of the United States and domiciled in the

  State of California. He is the son of Michael Chand, Sr.

          2684. Plaintiff Christina Mahon is a citizen of the United States and domiciled in the State




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  of California. She is the daughter of Michael Chand, Sr.

         2685. Plaintiff Ryan Chand is a citizen of the United States and domiciled in the State of

  California. He is the son of Michael Chand, Sr.

         2686. Plaintiff Brenda Chand is a citizen of the United States and domiciled in the State

  of California. She is the daughter of Michael Chand, Sr.

         2687. As a result of the August 17, 2007 attack, and the subsequent kidnapping and

  execution of Michael Chand, Sr., Plaintiffs Sally Chand, Michael Chand, Jr., Christina Mahon,

  Ryan Chand and Brenda Chand have experienced severe mental anguish, extreme emotional pain

  and suffering, and loss of their husband’s/father’s society, companionship, comfort, advice and

  counsel.

         125.     THE AUGUST 23, 2007 ATTACK – BAGHDAD

  The Bowen Family

         2688. Plaintiff Mario Bowen is a citizen of the United States and domiciled in the State

  of Tennessee.

         2689. On August 23, 2007, Mario Bowen was serving in the U.S. military in Iraq when

  an EFP emplaced by Special Groups detonated near his vehicle.

         2690. The weapon used to injure Mario Bowen was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2691. As a result of the attack, Mr. Bowen was rendered unconscious. He suffers from

  TBI, memory loss, headaches and speech issues.

         2692. As a result of the attack, and the injuries he suffered, Plaintiff Mario Bowen has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.




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         126.    THE AUGUST 23, 2007 ATTACK – AZIZIYAH

  The Hochstetler Family

         2693. Plaintiff James David Hochstetler is a citizen of the United States and domiciled in

  the State of Tennessee.

         2694. On August 23, 2007, James David Hochstetler, then 29, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2695. The weapon used to injure James David Hochstetler was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         2696. As a result of the blast, James David Hochstetler suffered serious injuries, including

  severe injuries to his hand and face.

         2697. As a result of the attack, and the injuries he suffered, Plaintiff James David

  Hochstetler has experienced severe physical and mental anguish and extreme emotional pain and

  suffering.

         2698. Plaintiff Leanne Lizabeth Hochstetler is a citizen of the United States and

  domiciled in the State of Tennessee. She is the wife of James David Hochstetler.

         2699. Plaintiff J.H., a minor represented by his legal guardian, Leanne Lizabeth

  Hochstetler, is a citizen of the United States and domiciled in the State of Tennessee. He is the son

  of James David Hochstetler.

         2700. Plaintiff P.H., a minor represented by her legal guardian, Leanne Lizabeth

  Hochstetler, is a citizen of the United States and domiciled in the State of Tennessee. She is the

  daughter of James David Hochstetler.

         2701. Plaintiff Kyle Austin Marshall is a citizen of the United States and domiciled in




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  the State of Tennessee. He is the son of James David Hochstetler.

         2702. As a result of the attack, and the injuries suffered by James David Hochstetler,

  Plaintiffs Leanne Lizabeth Hochstetler, J.H., P.H. and Kyle Austin Marshall have experienced

  severe mental anguish, and extreme emotional pain and suffering.

  The Tully Family

         2703. Michael Tully was a citizen of the United States and domiciled in the State of

  Pennsylvania when he was killed in Iraq.

         2704. On August 23, 2007, Michael Tully, aged 33, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2705. Michael Tully was killed in the attack.

         2706. The weapon used to kill Michael Tully was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2707. Plaintiff John Richard Tully is a citizen of the United States and domiciled in the

  State of Pennsylvania. He is the father of Michael Tully.

         2708. Plaintiff John Richard Tully brings an action individually and on behalf of the

  Estate of Michael Tully, as its legal representative.

         2709. Plaintiff Marilyn Louise Tully is a citizen of the United States and domiciled in the

  State of Pennsylvania. She is the mother of Michael Tully.

         2710. Plaintiff Slade Victor Tully is a citizen of the United States and domiciled in the

  State of Pennsylvania. He is the son of Michael Tully.

         2711. Plaintiff John Richard Tully II is a citizen of the United States and domiciled in the

  State of Arizona. He is the brother of Michael Tully.




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          2712. Plaintiff Heather Ann Farkas is a citizen of the United States and domiciled in the

  State of Pennsylvania. She is the sister of Michael Tully.

          2713. As a result of the attack, and the death of Michael Tully, Plaintiffs John Richard

  Tully, Marilyn Louise Tully, S.V.T., John Richard Tully II and Heather Ann Farkas have

  experienced severe mental anguish, extreme emotional pain and suffering, and loss of their

  son’s/father’s/brother’s society, companionship, comfort, advice and counsel.

  The Hunt Family

          2714. Plaintiff Robert James Hunt is a citizen of the United States and domiciled in the

  State of Washington.

          2715. On August 23, 2007, Robert James Hunt, then 37, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          2716. The weapon used to injure Robert James Hunt was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

          2717. As a result of the blast, Robert James Hunt suffered lacerations to his neck and

  head. He also suffered shrapnel wounds to the left side of his head, upper torso, right arm and right

  hand.

          2718. As a result of the attack, and the injuries he suffered, Plaintiff Robert James Hunt

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

          2719. Plaintiff M.A.H., a minor represented by his legal guardian, Robert James Hunt, is

  a citizen of the United States and domiciled in the State of Washington. He is the son of Robert

  James Hunt.

          2720. Plaintiff A.M.H., a minor represented by her legal guardian, Robert James Hunt, is




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  a citizen of the United States and domiciled in the State of Washington. She is the daughter of

  Robert James Hunt.

         2721. Plaintiff Boonchob “Lynn” Prudhome is a citizen of the United States and

  domiciled in the State of Texas. She is the mother of Robert James Hunt.

         2722. As a result of the attack, and the injuries suffered by Robert James Hunt, Plaintiffs

  M.A.H., A.M.H. and Boonchob “Lynn” Prudhome have experienced severe mental anguish, and

  extreme emotional pain and suffering.

         127.    THE SEPTEMBER 2, 2007 ATTACK – BAGHDAD

  The White Family

         2723. Delmar White was a citizen of the United States and domiciled in the State of

  Kentucky when he was killed in Iraq.

         2724. On September 2, 2007, Delmar White, aged 37, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated by his vehicle.

         2725. Delmar White was killed in the attack.

         2726. The weapon used to kill Delmar White was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2727. Plaintiff Michele White is a citizen of the United States and domiciled in the State

  of Kentucky. She is the widow of Delmar White.

         2728. Plaintiff Michele White brings an action individually and on behalf of the Estate of

  Delmar White, as its legal representative.

         2729. Plaintiff S.W., a minor represented by his legal guardian, Michele White, is a

  citizen of the United States and domiciled in the State of Kentucky. He is the son of Delmar White.




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         2730. Plaintiff Shelby White is a citizen of the United States and domiciled in the State

  of Kentucky. She is the daughter of Delmar White.

         2731. Plaintiff Perry White is a citizen of the United States and domiciled in the State of

  Kentucky. He is the brother of Delmar White.

         2732. Plaintiff Robert White is a citizen of the United States and domiciled in the State

  of Ohio. He is the brother of Delmar White.

         2733. As a result of the attack, and the death of Delmar White, Plaintiffs Michele White,

  S.W., Shelby White, Perry White and Robert White have experienced severe mental anguish,

  extreme emotional pain and suffering, and loss of their husband’s/father’s/brother’s

  companionship, comfort, advice and counsel.

         128.    THE SEPTEMBER 2, 2007 – RUSTAMIYAH

  The Wold Family

         2734. Plaintiff Joshua P.G. Wold is a citizen of the United States and domiciled in the

  State of Oregon.

         2735. On September 2, 2007, Joshua P.G. Wold was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle. The convoy he was

  travelling in also came under small arms fire.

         2736. The weapon used to injure Joshua P.G. Wold was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         2737. As a result of the attack and the injuries sustained in the attack, Mr. Wold required

  partial amputation of his right foot.




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         2738. As a result of the attack, and the injuries he suffered, Plaintiff Joshua P.G. Wold

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2739. Plaintiff E.W., a minor represented by her legal guardian Joshua P.G. Wold, is a

  citizen of the United States and domiciled in the State of Oregon. She is the daughter of Joshua

  P.G. Wold.

         2740. Plaintiff P.A., a minor represented by her legal guardian Joshua P.G. Wold, is a

  citizen of the United States and domiciled in the State of Oregon. She is the step-daughter of Joshua

  P.G. Wold.

         2741. Plaintiff Celeste Yantis is a citizen of the United States and domiciled in the State

  of Washington. She was the wife of Joshua P.G. Wold.

         2742. As a result of the attack, and the injuries suffered by Joshua P.G. Wold, Plaintiffs

  E.W., P.A. and Celeste Yantis have experienced severe mental anguish, and extreme emotional

  pain and suffering.

         129.    THE SEPTEMBER 4, 2007 ATTACK – BAGHDAD

  The Murray Family

         2743. Joel L. Murray was a citizen of the United States and domiciled in the State of

  Missouri when he was killed in Iraq.

         2744. On September 4, 2007, Joel L. Murray, aged 26, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2745. Joel L. Murray was killed in the attack.

         2746. The weapon used to kill Joel L. Murray was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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         2747. Plaintiff Maricel Murray is a citizen of the United States and domiciled in the State

  of Kansas. She is the widow of Joel L. Murray.

         2748. Plaintiff Maricel Murray brings an action individually and on behalf of the Estate

  of Joel L. Murray, as its legal representative.

         2749. Plaintiff J.M., a minor represented by his legal guardian, Maricel Murray, is a

  citizen of the United States and domiciled in the State of Kansas. He is the son of Joel L. Murray.

         2750. As a result of the attack, and the death of Joel L. Murray, Plaintiffs Maricel Murray

  and J.M. have experienced severe mental anguish, extreme emotional pain and suffering, and loss

  of their husband’s/father’s society, companionship, comfort, advice and counsel.

  The Shelton Family

         2751. Randol S. Shelton was a citizen of the United States and domiciled in the State of

  Illinois when he was killed in Iraq.

         2752. On September 4, 2007, Randol S. Shelton, aged 22, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2753. Randol S. Shelton was killed in the attack.

         2754. The weapon used to kill Randol S. Shelton was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2755. Plaintiff Bryan S. Shelton is a citizen of the United States and domiciled in the State

  of Illinois. He is the father of Randol S. Shelton.

         2756. Plaintiff Bryan S. Shelton brings an action individually and on behalf of the Estate

  of Randol S. Shelton, as its legal representative.




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         2757. Plaintiff Darlene Shelton is a citizen of the United States and domiciled in the State

  of Illinois. She is the mother of Randol S. Shelton

         2758. Plaintiff Amanda Shelton is a citizen of the United States and domiciled in the State

  of Illinois. She is the sister of Randol S. Shelton.

         2759. Plaintiff Bryan T. Shelton is a citizen of the United States and domiciled in the State

  of Illinois. He is the brother of Randol S. Shelton.

         2760. As a result of the attack, and the death of Randol S. Shelton, Plaintiffs Bryan S.

  Shelton, Darlene Shelton, Amanda Shelton and Bryan T. Shelton have experienced severe mental

  anguish, extreme emotional pain and suffering and loss of their son’s/brother’s society,

  companionship, comfort, advice and counsel.

         130.    THE SEPTEMBER 12, 2007 ATTACK- BAGHDAD

  The Laird Family

         2761. Plaintiff Dan Laird is a citizen of the United States and domiciled in the State of

  Florida.

         2762. On September 12, 2007, Mr. Laird, then 32, was a civilian contractor with

  Blackwater Worldwide in Iraq when an EFP emplaced by Special Groups detonated near his

  vehicle.

         2763. The weapon used to injure Dan Laird was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC

         2764. As a result of the blast, Dan Laird suffered a concussion and nerve damage in his

  right leg, a level 5 AC separation which required him to undergo surgery on his right shoulder.




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         2765. He also sustained emotional injuries, including panic attacks and anxiety, for which

  he has sought counseling.

         2766. As a result of the attack, and the injuries he suffered, Plaintiff Dan Laird has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2767. Plaintiff Angela M. Laird is a citizen of the United States and domiciled in the State

  of Florida. She is the wife of Dan Laird.

         2768. Plaintiff Jordan M. Laird is a citizen of the United States and domiciled in the State

  of Florida. He is the son of Dan Laird.

         2769. Plaintiff Hunter L. Laird is a citizen of the United States and domiciled in the State

  of Florida. She is the daughter of Dan Laird.

         2770. Plaintiff C.L., a minor represented by his legal guardian, Angela M. Laird, is a

  citizen of the United States and domiciled in the State of Florida. He is the son of Dan Laird.

         2771. As a result of the attack, and the injuries Dan Laird has suffered, Plaintiffs Angela

  M. Laird, Jordan M. Laird, Hunter L. Laird and C.L. have experienced severe mental anguish, and

  extreme emotional pain and suffering.

         131.    THE SEPTEMBER 26, 2007 ATTACK – BAGHDAD

  The Lee Family

         2772. Plaintiff William Lee is a citizen of the United States and domiciled in the State of

  Virginia.

         2773. On September 26, 2007, William Lee, then 44, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle. William Lee was seated

  behind the driver in an up-armored M1151 vehicle traveling southwest on Route Raiders in the

  Saidiya neighborhood of Iraq when the vehicle in which he was traveling was struck by an EFP.




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         2774. The weapon used to injure William Lee was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2775. As a result of the attack, Mr. Lee sustained shrapnel injuries to his face including

  above his right eye and to various other parts of his body. One piece of shrapnel became lodged in

  his right medial sinus cavity while another piece of shrapnel impacted the subcutaneous nerve

  network in his right thigh which has caused intermittent shooting pain in his right leg which

  continues to a lesser degree even today. He has been informed that there is a likely piece of shrapnel

  from the EFP also lodged in his right anterior cruciate ligament. He has also suffered from PTSD.

         2776. As a result of the attack, and the injuries he suffered, Plaintiff William Lee has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2777. Plaintiff Alexandria L. Lee is a citizen of the United States and domiciled in the

  State of Virginia. She is the daughter of William Lee.

         2778. Plaintiff William J. Lee is a citizen of the United States and domiciled in the State

  of Virginia. He is the son of William Lee.

         2779. Plaintiff Lillie Lai Lee is a citizen of the United States and domiciled in the State

  of Virginia. She is the ex-wife of William Lee. They were married at the time of the attack in

  which William Lee was injured and did not obtain a divorce until December 2018. The marital

  discord resulting in divorce was caused in significant part by the PTSD that William Lee has

  battled since he was injured in the EFP attack.

         2780. As a result of the attack, and the injuries William Lee suffered, Plaintiffs Alexandria

  L. Lee, William J. Lee, and Lillie Lai Lee have experienced severe mental anguish and extreme

  emotional pain and suffering.




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  The Hunt Family

         2781. Plaintiff Jennifer Lynn Hunt is a citizen of the United States and domiciled in the

  State of Maryland.

         2782. On September 26, 2007, Jennifer Lynn Hunt, then 23, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle. Jennifer

  Lynn Hunt was the driver in an up-armored M1151 vehicle traveling southwest on Route Raiders

  in the Saidiya neighborhood of Iraq when the vehicle that she was driving was struck by an EFP.

         2783. The weapon used to injure Jennifer Lynn Hunt was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         2784. As a result of the attack, Jennifer Lynn Hunt sustained shrapnel wounds to her face

  and to both of her arms, nerve damage to her dominant hand, burn injuries to her back, scarring,

  and PTSD.

         2785. As a result of the attack, and the injuries she suffered, Plaintiff Jennifer Lynn Hunt

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         132.   THE SEPTEMBER 29, 2007 ATTACK – BAGHDAD

  The Golembe Family

         2786. Plaintiff Christopher Golembe is a citizen of the United States and domiciled in the

  State of West Virginia.

         2787. On September 29, 2007, Christopher Golembe, then 22, was serving in the U.S.

  military in Iraq, when his vehicle was struck by an EFP emplaced by Special Groups.

         2788. The weapon used to injure Christopher Golembe was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,




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  using specialized training and components supplied by Hezbollah and the IRGC.

         2789. Mr. Golembe sustained a concussion as a result of the attack.

         2790. He has nightmares and has experienced survivor’s guilt.

         2791. He has been diagnosed with PTSD and has sought counseling.

         2792. Mr. Golembe has suffered memory loss since the attack and has difficulty recalling

  information.

         2793. As a result of the attack, and the injuries he suffered, Plaintiff Christopher Golembe

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2794. Plaintiff Kathryn Head is a citizen of the United States and domiciled in the State

  of Virginia. She is the of mother of Christopher Golembe.

         2795. As a result of the attack, and the injuries Christopher Golembe suffered, Plaintiff

  Kathryn Head has experienced severe mental anguish and extreme emotional pain and suffering.

  The Watts Family

         2796. Plaintiff Christopher Watts is a citizen of the United States and domiciled in the

  State of Texas.

         2797. On September 29, 2007, Christopher Watts, then 22, was serving in the U.S.

  military in Iraq, when his vehicle was struck by an EFP emplaced by Special Groups.

         2798. The weapon used to injure Christopher Watts was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         2799. Mr. Watts sustained a concussion as a result of the attack. He has been diagnosed

  with a TBI.

         2800. He experiences memory loss and at times his speech is slurred.




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            2801. He has been prescribed anti-depressants and medication to address sleep-related

  issues.

            2802. As a result of the attack, and the injuries he suffered, Plaintiff Christopher Watts

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

            133.   THE SEPTEMBER 30, 2007 ATTACK – BAGHDAD

  The Olguin Family

            2803. Randell Olguin was a citizen of the United States and domiciled in the State of

  Texas when he was killed in Iraq.

            2804. On September 30, 2007, Randell Olguin, aged 24, was serving in the U.S. military

  in Iraq when his unit came under sniper fire by JAM Special Groups terror operatives.

            2805. Randell Olguin was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

            2806. Randell Olguin was killed in the attack.

            2807. Plaintiff Janet L. Rios is a citizen of the United States and domiciled in the State

  of Texas. She is the sister of Randell Olguin.

            2808. Plaintiff Anita Baker is a citizen of the United States and domiciled in the State of

  Texas. She is the sister of Randell Olguin.

            2809. Plaintiff Jennie L. Morin is a citizen of the United States and domiciled in the

  State of Texas. She is the sister of Randell Olguin.

            2810. As a result of the attack, and the death of Randell Olguin, Plaintiffs Janet L. Rios,

  Anita Baker and Jennie L. Morin have experienced severe mental anguish, extreme emotional

  pain and suffering, and loss of their brother’s society, companionship, comfort, advice and

  counsel.




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         134.    THE OCTOBER 18, 2007 ATTACK – BAGHDAD

  The Geiger Family

         2811. Wayne M. Geiger was a citizen of the United States and domiciled in the State of

  California when he was killed in Iraq.

         2812. On October 18, 2007, Wayne M. Geiger, aged 23, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he

  was traveling in Baghdad.

         2813. Wayne M. Geiger was killed in the attack.

         2814. The weapon used to kill Wayne M. Geiger was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2815. Plaintiff Randall Geiger is a citizen of the United States and domiciled in the State

  of California. He is the father of Wayne M. Geiger.

         2816. Plaintiff Randall Geiger brings an action individually and on behalf of the Estate of

  Wayne M. Geiger, as its legal representative.

         2817. Plaintiff Kimberly Geiger is a citizen of the United States and domiciled in the State

  of California. She is the mother of Wayne M. Geiger.

         2818. Plaintiff Jesseca Lyn Tsosie is a citizen of the United States and domiciled in the

  State of California. She is the sister of Wayne M. Geiger.

         2819. As a result of the attack, and the death of Wayne M. Geiger, Plaintiffs Randall

  Geiger, Kimberly Geiger and Jesseca Lyn Tsosie have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their son’s/brother’s companionship, comfort, advice and

  counsel.




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         135.    THE OCTOBER 21, 2007 ATTACK – ISKANDARIYAH

  The Donoho Family

         2820. Plaintiff Eric Donoho is a citizen of the United States and domiciled in the State of

  Indiana.

         2821. On October 21, 2007, Eric Donoho, then 29, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he

  was traveling in Iskandariyah.

         2822. The weapon used to injure Eric Donoho was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2823. Mr. Donoho suffered a concussion as a result of the blast.

         2824. Mr. Donoho was also diagnosed with a TBI and PTSD. He has been prescribed

  daily medication to address these conditions.

         2825. Mr. Donoho continues to endure migraines as a result of the attack.

         2826. As a result of the attack, and the injuries he suffered, Plaintiff Eric Donoho has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         136.    THE OCTOBER 29, 2007 ATTACK – UMM QASR

  The Ginavan Family

         2827. Plaintiff Tyler Ginavan is a citizen of the United States and domiciled in the State

  of Kansas.

         2828. On October 29, 2007, Tyler Ginavan, then 26, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he

  was traveling in Umm Qasr.




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         2829. The weapon used to injure Mr. Ginavan was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2830. As a result of the attack, copper from the EFP lodged in Mr. Ginavan’s face, neck,

  knee, and calf. Copper from the EFP remains fused to Mr. Ginavan’s jawline.

         2831. Tyler Ginavan has been diagnosed with PTSD, and he has received treatment and

  counseling. He has been prescribed medication to address both the physical pain and emotional

  impact of the attack.

         2832. As a result of the attack, and the injuries he suffered, Plaintiff Tyler Ginavan has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         137.    THE NOVEMBER 7, 2007 ATTACK – BAGHDAD

  The Tiffner Family

         2833. Benjamin David Tiffner was a citizen of the United States and domiciled in the

  State of West Virginia when he was killed in Iraq.

         2834. On November 7, 2007, Benjamin David Tiffner, aged 31, was serving in the United

  States military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle in

  Baghdad.

         2835. Benjamin David Tiffner was killed in the attack.

         2836. The weapon used to kill Benjamin David Tiffner was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         2837. Plaintiff Timothy Tiffner is a citizen of the United States and domiciled in the State

  of Tennessee. He is the father of Benjamin David Tiffner.




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         2838. Plaintiff Timothy Tiffner brings a claim individually and on behalf of the Estate of

  Benjamin David Tiffner, as its legal representative.

         2839. Plaintiff Judith Tiffner is a citizen of the United States and domiciled in the State of

  Tennessee. She is the mother of Benjamin David Tiffner.

         2840. Plaintiff Joshua Tiffner is a citizen of the United States and domiciled in the State

  of Utah. He is the brother of Benjamin David Tiffner.

         2841. Plaintiff Seth Tiffner is a citizen of the United States and domiciled in the State of

  Alabama. He is the brother of Benjamin David Tiffner.

         2842. Plaintiff Sarah Crosby is a citizen of the United States and domiciled in the State

  of Alaska. She is the sister of Benjamin David Tiffner.

         2843. As a result of the attack, and the death of Benjamin David Tiffner, Plaintiffs

  Timothy Tiffner, Judith Tiffner, Joshua Tiffner, Seth Tiffner and Sarah Crosby have experienced

  severe mental anguish, extreme emotional pain and suffering, and loss of their son’s/brother’s

  society, companionship, comfort, advice and counsel.

         138.    THE NOVEMBER 14, 2007 ATTACK – BAGHDAD

  The Burks Family

         2844. Peter Burks was a citizen of the United States and domiciled in the State of Texas

  when he was killed in Iraq.

         2845. On November 14, 2007, Peter Burks, aged 26, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle in Baghdad.

         2846. Peter Burks was killed in the attack.

         2847. The weapon used to kill Peter Burks was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using




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  specialized training and components supplied by Hezbollah and the IRGC.

         2848. Plaintiff Alan Burks is a citizen of the United States and domiciled in the State of

  Texas. He is the father of Peter Burkes.

         2849. Plaintiff Alan Burks brings a claim individually and on behalf of the Estate of Peter

  Burks, as its legal representative.

         2850. Plaintiff Jackie Merck Hlastan is a citizen of the United States and domiciled in the

  State of Texas. She is the mother of Peter Burks.

         2851. Plaintiff G.B., a minor represented by her legal guardian, Alan Burks, is a citizen

  of the United States and domiciled in the State of New Jersey. She is the sister of Peter Burks.

         2852. Plaintiff Alison Burks McRuiz is a citizen of the United States and domiciled in the

  State of Texas. She is the sister of Peter Burks.

         2853. Plaintiff Sarah Phillips is a citizen of the United States and domiciled in the State

  of Texas. She is the sister of Peter Burks.

         2854. Plaintiff Zachary Burks is a citizen of the United States and domiciled in the State

  of Alabama. He is the brother of Peter Burks.

         2855. As a result of the attack, and the death of Peter Burks, Plaintiffs Alan Burks, Jackie

  Merck Hlastan, G.B., Alison Burks McRuiz, Sarah Phillips and Zachary Burks have experienced

  severe mental anguish, extreme emotional pain and suffering, and loss of their son’s/brother’s

  society, companionship, comfort, advice and counsel.

         139.    THE NOVEMBER 26, 2007 ATTACK – AZIZIYAH

  Juneau Family

         2856. William (“Bill”) Juneau was a citizen of the Unites States and domiciled in the State

  of Minnesota when he was killed in Iraq.




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         2857. On November 26, 2007, William Juneau, aged 36, was serving as a civilian

  contractor in southern Iraq when an IED emplaced by JAM Special Groups terror operatives

  detonated near his vehicle.

         2858. William Juneau was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2859. Plaintiff Bridget Juneau is a citizen of the United States and domiciled in the State

  of Minnesota. She is the twin sister of William Juneau.

         2860. Plaintiff Bridget Juneau brings an action individually and on behalf of the Estate of

  William Juneau, as its legal representative.

         2861. Plaintiff Stephanie Juneau is a citizen of the United States and domiciled in the

  State of Montana. She is the sister of William Juneau.

         2862. As a result of the attack, and the death of William Juneau, Plaintiffs Bridget Juneau

  and Stephanie Juneau have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their brother’s society, companionship, comfort, advice and counsel.

         140.    THE DECEMBER 9, 2007 ATTACK – AZ ZUBAYDIYAH

  The Shaw Family

         2863. Micah Shaw was a citizen of the United States and domiciled in the State of

  Washington when he was killed in Iraq.

         2864. On December 9, 2007, Micah Shaw, aged 32, was serving as a civilian contractor

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2865. Micah Shaw was killed in the attack.




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          2866. The weapon used to kill Micah Shaw was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2867. Plaintiff Elena Shaw is a citizen of the United States and domiciled in the State of

  New Hampshire. She is the widow of Micah Shaw.

          2868. Plaintiff C.S., a minor represented by his legal guardian Elena Shaw, is a citizen of

  the United States and domiciled in the State of New Hampshire. He is the minor son of Micah

  Shaw.

          2869. Plaintiff L.S., a minor represented by her legal guardian Elena Shaw, is a citizen of

  the United States and domiciled in the State of New Hampshire. She is the minor daughter of

  Micah Shaw.

          2870. Plaintiff Emily Shaw is a citizen of the United States and domiciled in the State of

  Pennsylvania. She is the daughter of Micah Shaw.

          2871. As a result of the attack, and the death of Micah Shaw, Plaintiffs Elena Shaw, C.S.,

  L.S. and Emily Shaw have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their husband’s/father’s society, companionship, comfort, advice and

  counsel.

  The Doheny Family

          2872. Michael Doheny was a citizen of the United States and domiciled in the State of

  Nebraska when he was killed in Iraq.

          2873. On December 9, 2007, Michael Doheny, aged 30, was serving as a civilian

  contractor in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          2874. Michael Doheny was killed in the attack.




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         2875. The weapon used to kill Michael Doheny was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2876. Plaintiff Melissa Doheny is a citizen of the United States and domiciled in the State

  of Nebraska. She is the widow of Michael Doheny.

         2877. Plaintiff Melissa Doheny brings a claim individually and on behalf of the Estate of

  Michael Doheny, as its legal representative.

         2878. Plaintiff Kathy Kugler is a citizen of the United States and domiciled in the State

  of Nebraska. She is the mother of Michael Doheny.

         2879. Plaintiff Robert Kugler is a citizen of the United States and domiciled in the State

  of Oregon. He is the brother of Michael Doheny.

         2880. As a result of the attack, and the death of Michael Doheny, Plaintiffs Melissa

  Doheny, Kathy Kugler and Robert Kugler have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their husband’s/son’s/brother’s society, companionship,

  comfort, advice and counsel.

  The Evrard Family

         2881. Steven Evrard was a citizen of the United States and domiciled in the State of Texas

  when he was killed in Iraq.

         2882. On December 9, 2007, Steven Evrard, aged 36, was serving as a civilian contractor

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2883. Steven Evrard was killed in the attack.




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          2884. The weapon used to kill Steven Evrard was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2885. Plaintiff Tanya Evrard is a citizen of the United States and domiciled in the State

  of Texas. She is the widow of Steven Evrard.

          2886. As a result of the attack, and the death of Steven Evrard, Plaintiff Tanya Evrard has

  experienced severe mental anguish, extreme emotional pain and suffering, and loss of her

  husband’s companionship, comfort, advice and counsel.

  The Johnson Family

          2887. Plaintiff Billy Johnson is a citizen of the United States and domiciled in the State

  of Tennessee.

          2888. On December 9, 2007, Billy Johnson was serving as a civilian contractor in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

          2889. The weapon used to injure Billy Johnson was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2890. As a result of the attack, Mr. Johnson’s right leg was amputed below the knee. He

  also required multiple surgical implants in his left leg and left arm. In addition, Mr. Johnson

  suffered amputation of one finger on his left hand and partial amputation of a finger on his right

  hand.

          2891. M. Johnson has endured more than fifty surgical procedures including multiple skin

  grafts. He also sustained a TBI and suffers from PTSD.




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         2892. As a result of the attack, and the injuries he suffered, Plaintiff Billy Johnson has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         141.   THE JANUARY 6, 2008 ATTACK – BAGHDAD

  The Gudridge Family

         2893. James D. Gudridge was a citizen of the United States and domiciled in the State of

  New York when he was killed in Iraq.

         2894. On January 6, 2008, James D. Gudridge, aged 20, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2895. James D. Gudridge was killed in the attack.

         2896. The weapon used to kill James D. Gudridge was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2897. Plaintiff Judy Hoffman is a citizen of the United States and domiciled in the State

  of Florida. She is the mother of James D. Gudridge.

         2898. As a result of the attack, and the death of James D. Gudridge, Plaintiff Judy

  Hoffman has experienced severe mental anguish, extreme emotional pain and suffering, and loss

  of her son’s society, companionship, comfort, advice and counsel.

  The Schichtl Family

         2899. Plaintiff Joshua Schichtl is a citizen of the United States and domiciled in the State

  of Florida.

         2900. On January 6, 2008, Joshua Schichtl, then 40, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.




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          2901. The weapon used to injure Joshua Schichtl was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          2902. As a result of the attack, Joshua Schichtl sustained shrapnel to his body, impacting

  his left eye, face and bicep. He also lost the use of his right eye.

          2903. As a result of the blast, his cheekbone and roof of his mouth were shattered, and he

  lost several of his teeth. His lower jawbone was broken in 19 locations and he has had pins placed

  in the area to attempt to provide some stability. He is still unable to open his mouth as wide as

  necessary and chewing continues to be difficult.

          2904. Joshua Schichtl received medical treatment both as an in-patient and resident for

  approximately five years.

          2905. He has undergone multiple surgeries including bone and skin grafts, many of which

  have involved the reconstruction of his mouth.

          2906. Significant scarring is apparent on his face.

          2907. Joshua Schichtl has been diagnosed with a TBI and an anxiety disorder and has

  sought and continues to seek counseling.

          2908. He still experiences frequent pain.

          2909. As a result of the attack, and the injuries he suffered, Plaintiff Joshua Schichtl has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

          2910. Plaintiff Mark Schichtl is a citizen of the United States and domiciled in the State

  of Arkansas. He is the father of Joshua Schichtl.

          2911. Plaintiff Katherine Prowse is a citizen of the United States and domiciled in the

  State of Arkansas. She is the sister of Joshua Schichtl.




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         2912. Plaintiff Nicholas Prowse is a citizen of the United States and domiciled in the State

  of Arkansas. He is the brother of Joshua Schichtl.

         2913. Plaintiff H.S., a minor represented by his legal guardian, Joshua Schichtl, is a

  citizen of the United States and domiciled in the State of Florida. He is the son of Joshua Schichtl.

         2914. Plaintiff S.S., a minor represented by his legal guardian, Joshua Schichtl, is a citizen

  of the United States and domiciled in the State of Florida. He is the son of Joshua Schichtl.

         2915. Plaintiff C.S., a minor represented by his legal guardian, Joshua Schichtl, is a

  citizen of the United States and domiciled in the State of Florida. He is the son of Joshua Schichtl.

         2916. Plaintiff A.S., a minor represented by his legal guardian, Joshua Schichtl, is a

  citizen of the United States and domiciled in the State of Florida. He is the son of Joshua Schichtl.

         2917. As a result of the attack, and the injuries Joshua Schichtl has suffered, Plaintiffs

  Mark Schichtl, Katherine Prowse, Nicholas Prowse, H.S., S.S., C.S. and A.S. have experienced

  severe mental anguish, and extreme emotional pain and suffering.

  The Wadleigh Family

         2918. Plaintiff Steve Wadleigh is a citizen of the United States and domiciled in the State

  of Washington.

         2919. On January 6, 2008, Steve Wadleigh, then 25, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2920. The weapon used to injure Steve Wadleigh was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2921. As a result of the attack, Steve Wadleigh sustained shrapnel to his face, neck, and

  shoulder. Shrapnel was imbedded in his jaw bone, necessitating both facial surgery oral surgeries.




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          2922. The impact of the blast caused his head to be thrown into the window of the vehicle.

  Mr. Wadleigh sustained a concussion and has been diagnosed with a TBI.

          2923. In addition, his ear drum was perforated, and his tooth was broken.

          2924. The vision in his left eye has been diminished and he continues to experience pain

  in his shoulder and hip.

          2925. He has been diagnosed with PTSD and he has sought counseling. He has

  experienced night terrors and has been prescribed medication to address them and other sleep-

  related issues.

          2926. The effects of the PTSD, along with the TBI, impact his daily living.

          2927. As a result of the attack, and the injuries he suffered, Plaintiff Steve Wadleigh has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

          2928. Plaintiff Lea-Ann Wadleigh is a citizen of the United States and domiciled in the

  State of Washington. She is the wife of Steve Wadleigh.

          2929. As a result of the attack, and the injuries Steve Wadleigh has suffered, Plaintiff Lea-

  Ann Wadleigh has experienced severe mental anguish, and extreme emotional pain and suffering.

          142.      THE JANUARY 30, 2008 ATTACK – BAGHDAD

  The Lukow Family

          2930. Plaintiff Michael Lukow is a citizen of the United States and domiciled in the

  State of Utah.

          2931. On January 30, 2008, Michael Lukow was serving in the U.S. military in Iraq.

          2932. Mr. Lukow was in a convoy when an EFP emplaced by Special Groups struck his

  vehicle.

          2933. The weapon used to injure Mr. Lukow was a Hezbollah-designed and Iranian-




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  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2934. As a result of the attack, Mr. Lukow’s foot was amputated.

         2935. As a result of the attack, and the injuries he suffered, Plaintiff Michael Lukow has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         2936. Plaintiff Rikki Lukow is a citizen of the United States and domiciled in the State

  of Colorado. She is the mother of Michael Lukow.

         2937. Plaintiff Bruce Lukow is a citizen of the United States and domiciled in the State

  of Colorado. He is the father of Michael Lukow.

         2938. Plaintiff Joseph Lukow is a citizen of the United States and domiciled in the State

  of Colorado. He is the brother of Michael Lukow.

         2939. Plaintiff Andrew Lukow is a citizen of the United States and domiciled in the

  State of Wisconsin. He is the brother of Michael Lukow.

         2940. Plaintiff Kristen Kelley is a citizen of the United States and domiciled in the State

  of Colorado. She is the sister of Michael Lukow.

         2941. As a result of the attack and the injuries Michael Lukow suffered, Plaintiff Rikki

  Lukow, Bruce Lukow, Joseph Lukow, Andrew Lukow and Kristen Kelley have experienced

  severe mental anguish and extreme emotional pain and suffering.

         143.   THE FEBRUARY 19, 2008 ATTACK – BAGHDAD

  The Alvarez Family

         2942. Conrad Alvarez was a citizen of the United States and domiciled in the State of

  Texas when he was killed in Iraq.




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         2943. On February 19, 2008, Conrad Alvarez, aged 22, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         2944. Conrad Alvarez was injured in the attack and died on February 20, 2008 from the

  injuries he sustained in the attack.

         2945. The weapon used to kill Conrad Alvarez was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2946. Plaintiff Maira Alvarez is a citizen of the United States and domiciled in the State

  of Texas. She is the widow of Conrad Alvarez.

         2947. Plaintiff Maira Alvarez brings a claim individually and on behalf of the Estate of

  Conrad Alvarez, as its legal representative.

         2948. Plaintiff K.A., a minor represented by his legal guardian, Maira Alvarez, is a citizen

  of the United States and domiciled in the State of Texas. He is the son of Conrad Alvarez.

         2949. Angela Alvarez is a citizen of the United States and domiciled in the State of

  California. She is the ex-wife of Conrad Alvarez and is the legal guardian of Plaintiffs A.A. and

  C.A. Angela Alvarez brings this action solely on behalf of Plaintiffs A.A. and C.A., both minors.

         2950. Plaintiff A.A., a minor represented by her legal guardian, Angela Alvarez, is a

  citizen of the United States and domiciled in the State of California. She is the daughter of Conrad

  Alvarez.

         2951. Plaintiff C.A., a minor represented by her legal guardian, Angela Alvarez, is a

  citizen of the United States and domiciled in the State of California. She is the daughter of Conrad

  Alvarez.




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             2952. Plaintiff Belinda Garcia is a citizen of the United States and domiciled in the State

  of Texas. She is the mother of Conrad Alvarez.

             2953. As a result of the attack, and the death of Conrad Alvarez, Plaintiffs Maira Alvarez,

  K.A., A.A., C.A. and Belinda Garcia have experienced severe mental anguish, extreme emotional

  pain and suffering, and loss of their husband’s/father’s/son’s society, companionship, comfort,

  advice and counsel.

  The Whitehorse Family

             2954. Plaintiff Jason Whitehorse is a citizen of the United States and domiciled in the

  State of New Mexico.

             2955. On February 19, 2008, Jason Whitehorse, then 22, was serving in the U.S. military

  in Iraq.

             2956. Mr. Whitehorse was on a routine patrol in Baghdad when his vehicle was struck by

  an EFP emplaced by Special Groups.

             2957. The weapon used to injure Mr. Whitehorse was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

             2958. As a result of the attack, he sustained injuries due to the impact of shrapnel

  impacting his body. This has resulted in scarring.

             2959. Apart from the shrapnel-related injuries he also sustained burns to his skin. This

  has also resulted in scarring.

             2960. Mr. Whitehorse has been diagnosed with PTSD and major depression and has

  received treatment and counseling.




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             2961. Mr. Whitehorse continues to experience emotional distress, depression and

  survivor’s guilt.

             2962. As a result of the attack, and the injuries he suffered, Plaintiff Jason Whitehorse has

  experienced severe mental anguish and extreme emotional pain and suffering.

             144.   THE FEBRUARY 19, 2008 ATTACK – BAGHDAD

  The Mann Family

             2963. Plaintiff Jeffrey C. Mann is a citizen of the United States and domiciled in the State

  of North Carolina.

             2964. On February 19, 2008, Jeffrey C. Mann, then 25, was serving in the U.S. military

  in Iraq.

             2965. Jeffrey C. Mann was inside a building at Forward Operating Base Rustamiyah in

  the southeast portion of Baghdad when the base was hit with a barrage of Improvised Rocket-

  Assisted Munitions (“IRAMs”) fired from a dump truck in close proximity to the base.

             2966. One of the rockets caused a fuel tank on the base to explode which destroyed part

  of the building in which Jeffrey C. Mann was standing.

             2967. KH operatives fired the IRAMs at the base. Those operatives were trained by

  Hezbollah and funded and supplied by the IRGC-QF and they launched the attack at the direction

  of both Hezbollah and the IRGC-QF as their proxy.

             2968. The concussive blast of the explosion threw Jeffrey C. Mann backward, and he hit

  his head causing him to lose consciousness.

             2969. As a result of the attack, Jeffrey C. Mann suffered a TBI that has impeded his ability

  to concentrate or work. He also suffers from migraines and difficulty in completing tasks. The

  injuries he sustained have also caused him impaired vision and loss of feeling in part of his face in




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  addition to tinnitus and hearing loss. He also suffered injuries to his back which now require him

  to walk with a cane when walking for any extended period of time while also suffering pain and

  numbness in his legs. He also suffers from PTSD.

         2970. As a result of the attack, and the injuries he suffered, Jeffrey C. Mann has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         145.    THE MARCH 11, 2008 ATTACK – BABIL PROVINCE

  The West Family

         2971. Laurent J. West was a citizen of the United States and domiciled in the State of

  North Carolina when he was killed in Iraq.

         2972. On March 11, 2008, Laurent J. West, aged 32, was serving in the U.S. military in

  Iraq when an IED (likely an EFP) was emplaced and detonated near his vehicle by JAM Special

  Groups.

         2973. Laurent J. West was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         2974. Plaintiff Michelle West is a citizen of the United States and domiciled in the State

  of New Mexico. She is the widow of Laurent J. West.

         2975. As a result of the attack, and the death of Laurent J. West, Plaintiff Michelle West

  has experienced severe mental anguish, extreme emotional pain and suffering, and loss of her

  husband’s society, companionship, comfort, advice and counsel.

         146.    THE MARCH 12, 2008 ATTACK – CAMP ADDER

  The Samten Family

         2976. Tenzin Lobsang Samten was a citizen of the United States and domiciled in the

  State of Arizona.




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         2977. On March 12, 2008, Tenzin Lobsang Samten, then 33, was serving in the U.S.

  military in Iraq near the city of An-Nasiriyah when his vehicle was struck by mortar fire launched

  by JAM Special Groups terror operatives.

         2978. Tenzin Lobsang Samten was killed in the attack.

         2979. The attack that killed Tenzin Lobsang Samten was carried out by JAM Special

  Groups operatives working at the behest of Hezbollah and the IRGC-QF, using weapons supplied

  by the IRGC-QF and employing tactics taught to them by Hezbollah.

         2980. Plaintiff Rebecca L. Samten-Finch is a citizen of the United States and domiciled

  in the State of North Carolina. She is the wife of Tenzin Lobsang Samten.

         2981. Plaintiff Rebecca L. Samten-Finch brings an action individually and on behalf of

  the Estate of Tenzin Lobsang Samten, as its legal representative.

         2982. Plaintiff D.A.S., a minor, represented by her legal guardian, Rebecca L. Samten-

  Finch, is a citizen of the United States and domiciled in the State of North Carolina. She is the

  daughter of Tenzin Lobsang Samten.

         2983. Plaintiff M.B.S., a minor, represented by his legal guardian, Rebecca L. Samten-

  Finch, is a citizen of the United States and domiciled in the State of North Carolina. He is the son

  of Tenzin Lobsang Samten.

         2984. As a result of the attack, and the death of Tenzin Lobsang Samten, Plaintiffs

  Rebecca L. Samten-Finch, D.A.S., and M.B.S. have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their husband’s/father’s society, companionship, comfort,

  advice and counsel.

  The Bradley Family

         2985. Juantrea Tyrone Bradley was a citizen of the United States and domiciled in the




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  State of North Carolina.

         2986. On March 12, 2008, Juantrea Tyrone Bradley, then 28, was serving in the U.S.

  military in Ira near the city of An-Nasiriyah when his vehicle was struck by mortar fire launched

  by JAM Special Groups terror operatives.

         2987. Juantrea Tyrone Bradley was killed in the attack.

         2988. The attack that killed Juantrea Tyrone Bradley was carried out by JAM Special

  Groups operatives working at the behest of Hezbollah and the IRGC-QF, using weapons supplied

  by the IRGC-QF and employing tactics taught to them by Hezbollah.

         2989. Plaintiff Ava Lanette Bradley is a citizen of the United States and domiciled in the

  State of North Carolina. She is the widow of Juantrea Tyrone Bradley.

         2990. Plaintiff Ava Lanette Bradley brings an action individually and on behalf of the

  Estate of Juantrea Tyrone Bradley, as its legal representative.

         2991. Plaintiff A.D.B., a minor, represented by her legal guardian, Ava Lanette Bradley,

  is a citizen of the United States and domiciled in the State of North Carolina. She is the daughter

  of Juantrea Tyrone Bradley.

         2992. Plaintiff T.T.B., a minor, represented by his legal guardian, Ava Lanette Bradley,

  is a citizen of the United States and domiciled in the State of North Carolina. He is the son of

  Juantrea Tyrone Bradley.

         2993. Plaintiff J.T.B., a minor, represented by his legal guardian, Ava Lanette Bradley, is

  a citizen of the United States and domiciled in the State of North Carolina. He is the son of Juantrea

  Tyrone Bradley.

         2994. Plaintiff Anthony Hudson is a citizen of the United States and domiciled in the State

  of North Carolina. He is the step-son of Juantrea Tyrone Bradley.




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         2995. As a result of the attack, and the death of Juantrea Tyrone Bradley, Plaintiffs Ava

  Lanette Bradley, A.D.B., T.T.B., J.T.B., and Anthony Hudson have experienced severe mental

  anguish, extreme emotional pain and suffering, and loss of their husband’s/father’s society,

  companionship, comfort, advice and counsel.

         147.   THE MARCH 14, 2008 ATTACK – MUSAYYIB

  The Bewley Family

         2996. Plaintiff Austin Bewley is a citizen of the United States and domiciled in the State

  of Oregon.

         2997. On March 14, 2008, Austin Bewley, then 20, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he

  was traveling on the way to Baghdad.

         2998. The weapon used to injure Austin Bewley was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         2999. Mr. Bewley suffered shrapnel wounds in his left leg, right hand, and face.

         3000. Mr. Bewley was also diagnosed with PTSD.

         3001. Mr. Bewley was prescribed pain medication and medication to regrow the nerve in

  his leg. He was also prescribed medication to treat the symptoms of his PTSD.

         3002. As a result of the attack, and the injuries he suffered, Plaintiff Austin Bewley has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         148.   THE MARCH 17, 2008 ATTACK – BAGHDAD

  The Simpson Family

         3003. Christopher Simpson was a citizen of the United States and domiciled in the State




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  of Virginia when he was killed in Iraq.

         3004. On March 17, 2008, Christopher Simpson, aged 23, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         3005. Christopher Simpson was killed in the attack.

         3006. The weapon used to kill Christopher Simpson was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         3007. Plaintiff Mary Catherine McLaughlin is a citizen of the United States and domiciled

  in the State of New York. She is the mother of Christopher Simpson.

         3008. As a result of the attack, and the death of Christopher Simpson, Plaintiff Mary

  Catherine McLaughlin has experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of her son’s society, companionship, comfort, advice and counsel.

         149.    THE MARCH 23, 2008 ATTACK – BAGHDAD

  The Habsieger Family

         3009. Andrew J. Habsieger was a citizen of the United States and domiciled in the State

  of Missouri when he was killed in Iraq.

         3010. On March 23, 2008, Andrew J. Habsieger, aged 22, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         3011. Andrew J. Habsieger was killed in the attack.

         3012. The weapon used to kill Andrew J. Habsieger was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         3013. Brenda Habsieger is a citizen of the United States and domiciled in the State of




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  Missouri. She is the mother of Andrew J. Habsieger.

          3014. Brenda Habsieger brings an action on behalf of the Estate of Andrew J. Habsieger,

  as its legal representative, for his death and any suffering and/ or economic loss he/his Estate

  sustained as a result of the attack.

  The Hake Family

          3015. Christopher M. Hake was a citizen of the United States and domiciled in the State

  of Oklahoma when he was killed in Iraq.

          3016. On March 23, 2008, Christopher M. Hake, aged 26, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          3017. Christopher M. Hake was killed in the attack.

          3018. The weapon used to kill Christopher M. Hake was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

          3019. Plaintiff Jennifer Renee York is a citizen of the United States and domiciled in the

  State of Oklahoma. She is the step-sister of Christopher M. Hake.

          3020. Plaintiff Jason York is a citizen of the United States and domiciled in the State of

  Oklahoma. He is the step-brother of Christopher M. Hake.

          3021. As a result of the attack, and the death of Christopher M. Hake, Plaintiffs Jennifer

  Renee York and Jason York have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their brother’s society, companionship, comfort, advice and counsel.

  The Fieser Family

          3022. Plaintiff Matthew Fieser is a citizen of the United States and domiciled in the State

  of Washington.




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          3023. On March 23, 2008, Matthew Fieser, then 25, was serving in the U.S. military in

  Iraq.

          3024. He was an occupant in a vehicle traveling in the same convoy when an EFP

  emplaced by Special Groups detonated near the lead vehicle, resulting in the deaths of four soldiers

  that day and the death of Steve A. McCoy, who subsequently died as a result of his injuries.

          3025. The weapon that caused the deaths of the soldiers who had been traveling in the

  lead vehicle was a Hezbollah-designed and Iranian-manufactured EFP emplaced by agents of

  Hezbollah and the IRGC-QF at their direction, using specialized training and components supplied

  by Hezbollah and the IRGC.

          3026. Following the blast, the lead vehicle began to burn, eventually burning

  uncontrollably.

          3027. Steve A. McCoy, the truck commander of the lead vehicle exited the vehicle, his

  body and clothes on fire. Nearly all his clothes had been burned off.

          3028. After the vehicle in which Mr. Fieser was traveling approached the disabled vehicle

  he dismounted. While engulfed in flames, Steve A. McCoy began running towards Mr. Fieser,

  screaming and crying out to him.

          3029. Although severely burned all over his body, Steve A. McCoy remained conscious

  following the attack. After a period of time, Mr. Fieser helped to move Mr. McCoy onto a support

  to prepare him for transport.

          3030. Mr. Fieser traveled alongside Steve A. McCoy and continued to talk to him he was

  transported to the hospital. Throughout this period, Steve A. McCoy continued to scream with pain

  and cough up a foamy substance.




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          3031. After arriving at the hospital Mr. Fieser learned that the other occupants of the lead

  vehicle had been severely burned, could not be extricated from their vehicle, and did not survive.

          3032. Mr. Fieser has been diagnosed with PTSD and has experienced nightmares.

          3033. Mr. Fieser has sought counseling and has been prescribed medication, including

  anti-depressants, to treat his condition.

          3034. As a result of the attack, and the injuries he suffered, Plaintiff Matthew Fieser has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

  The Carrington Family

          3035. Plaintiff Benjamin Daniel Carrington is a citizen of the United States and domiciled

  in the State of Georgia.

          3036. On March 23, 2008, Benjamin Daniel Carrington, then 22, was serving in the U.S.

  military in Iraq.

          3037. Mr. Carrington was the driver of the vehicle in which Plaintiff Matthew Fieser was

  traveling when an EFP emplaced by Special Groups detonated near the lead vehicle in the convoy,

  resulting in the deaths of four soldiers that day and the death of Steve A. McCoy, who subsequently

  died as a result of his injuries.

          3038. The weapon that caused the deaths of the soldiers who had been traveling in the

  lead vehicle was a Hezbollah-designed and Iranian-manufactured EFP emplaced by agents of

  Hezbollah and the IRGC-QF at their direction, using specialized training and components supplied

  by Hezbollah and the IRGC.

          3039. Mr. Carrington witnessed the attack scene and the aftermath, including the soldier

  who was engulfed in flames.

          3040. He has been diagnosed with PTSD.




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          3041. Mr. Carrington has sought counseling and has been prescribed medication to treat

  his condition.

          3042. As a result of the attack, and the injuries he suffered, Plaintiff Benjamin Daniel

  Carrington has experienced severe physical and mental anguish and extreme emotional pain and

  suffering.

  The Heslop Family

          3043. Plaintiff Jonathan Heslop is a citizen of the United States and domiciled in the State

  of Ohio.

          3044. On March 23, 2008, Jonathan Heslop, then 23, was serving in the U.S. military in

  Iraq.

          3045. Jonathan Heslop was the gunner of the vehicle that Benjamin Carrington was

  driving and was traveling in the same convoy when an EFP emplaced by Special Groups detonated

  near the lead vehicle, resulting in the deaths of four soldiers that day and the death of Steve A.

  McCoy, who subsequently died as a result of his injuries.

          3046. The weapon that caused the deaths of the soldiers who had been traveling in the

  lead vehicle was a Hezbollah-designed and Iranian-manufactured EFP emplaced by agents of

  Hezbollah and the IRGC-QF at their direction, using specialized training and components supplied

  by Hezbollah and the IRGC.

          3047. Mr. Heslop witnessed the attack scene and the aftermath, including seeing Mr.

  McCoy when he was engulfed in flames.

          3048. Jonathan Heslop has been diagnosed with PTSD.

          3049. Mr. Heslop has sought counseling to address the PTSD and the impact that the

  attack has had upon him. He has been prescribed medication to treat this condition.




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          3050. As a result of the attack, and the injuries he suffered, Plaintiff Jonathan Heslop has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

  The Mason Family

          3051. Plaintiff Russell Mason is a citizen of the United States and domiciled in the State

  of Maryland.

          3052. On March 23, 2008, Russell Mason, then 23, was serving in the U.S. military in

  Iraq.

          3053. Russell Mason was the commander of the convey and was an occupant in the

  vehicle being driven by Benjamin Carrington traveling in the same convoy when an EFP emplaced

  by Special Groups detonated near the lead vehicle, resulting in the deaths of four soldiers that day

  and the death of Steve A. McCoy, who subsequently died as a result of his injuries.

          3054. The weapon that caused the deaths of the soldiers who had been traveling in the

  lead vehicle was a Hezbollah-designed and Iranian-manufactured EFP emplaced by agents of

  Hezbollah and the IRGC-QF at their direction, using specialized training and components supplied

  by Hezbollah and the IRGC.

          3055. Following the blast, the lead vehicle began to burn, eventually burning

  uncontrollably.

          3056. Steve A. McCoy, the truck commander of the lead vehicle exited the vehicle, his

  body and clothes on fire. Nearly all his clothes had been burned off.

          3057. After the vehicle in which Mr. Mason was traveling approached the disabled

  vehicle he dismounted. While engulfed in flames, Steve A. McCoy began running towards Mr.

  Fieser, screaming and crying out to him.




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         3058. While trying to help Steve A. McCoy, they came under fire from the ground floor

  and a second-floor window positions south of where the convey had been attacked.

         3059. He suffers from PTSD and has experienced survivor’s guilt. He has received

  treatment and counseling for these issues.

         3060. As a result of the attack, and the injuries he suffered, Plaintiff Russell Mason has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

  The Pool Family

         3061. Plaintiff Andy Pool is a citizen of the United States and domiciled in the State of

  Arkansas.

         3062. On March 23, 2008, Andy Pool, then 26, was serving in the U.S. military in Iraq.

         3063. Andy Pool was an occupant of the vehicle that Benjamin Carrington was driving

  when an EFP emplaced by Special Groups detonated near the lead vehicle in the convoy, resulting

  in the deaths of four soldiers that day and the subsequent death of Steve A. McCoy.

         3064. The weapon that caused the deaths of the soldiers who had been traveling in the

  lead vehicle was a Hezbollah-designed and Iranian-manufactured EFP emplaced by agents of

  Hezbollah and the IRGC-QF at their direction, using specialized training and components supplied

  by Hezbollah and the IRGC.

         3065. Mr. Pool witnessed the attack scene and the aftermath, including seeing Steve A.

  McCoy when he was engulfed in flames. Although essentially unrecognizable, Mr. Pool realized

  it was Steve A. McCoy solely from his tattoo that was somewhat visible.

         3066. Mr. Pool traveled alongside Steve A. McCoy and continued to talk to him as he

  was transported to the hospital. Throughout this period, Steve A. McCoy continued to scream with




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  pain. While en route to the hospital, Steve A. McCoy asked Andy Pool to tell his wife and children

  that he loved them.

         3067. Andy Pool endures extreme survivor’s guilt. He has also experienced nightmares

  and sleep issues.

         3068. He has been diagnosed with PTSD.

         3069. Mr. Pool has sought counseling to address the PTSD and the impact that the attack

  has had upon him. He has been prescribed medication to treat this condition and the sleep issues

  that have developed since the attack.

         3070. As a result of the attack, and the injuries he suffered, Plaintiff Andy Pool has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         150.    THE MARCH 23, 2008 ATTACK – BAGHDAD

  The Converse Family

         3071. Paul R. Converse was a citizen of the United States and domiciled in the State of

  Washington.

         3072. On March 23, 2008, Paul R. Converse, then 56, was a civilian working as an auditor

  for the Special Inspector General for Iraq Reconstruction (“SIGIR”) in Baghdad.

         3073. On March 23, 2008, a barrage of six 107mm rockets were fired by JAM Special

  Groups into the Green Zone in Baghdad where Paul R. Converse was working on Easter Sunday.

         3074. Paul R. Converse was mortally wounded in the rocket attack and succumbed to his

  wounds the following day.

         3075. The JAM Special Groups terror operatives that murdered Paul R. Converse were

  trained by Hezbollah and funded and armed by the IRGC-QF and they launched the attack at the

  direction of both Hezbollah and the IRGC-QF, as their proxy




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         3076. Plaintiff Frank L. Converse is a citizen of the United States and domiciled in the

  State of Washington. He is the brother of Paul R. Converse.

         3077. Plaintiff Frank L. Converse brings an action individually and on behalf of the Estate

  of Paul R. Converse, as its legal representative.

         3078. As a result of the attack, and the death of Paul R. Converse, Plaintiff Frank L.

  Converse has experienced severe mental anguish, extreme emotional pain and suffering, and loss

  of his brother’s society, companionship, comfort, advice and counsel.

         151.    THE MARCH 27, 2008 ATTACK – SADR CITY

  The Gerber Family

         3079. Plaintiff Anthony M. Gerber is a citizen of the United States and domiciled in the

  State of Washington.

         3080. On March 27, 2008, Anthony M. Gerber was serving in the U.S. military in Iraq.

         3081. Mr. Gerber was in a convoy when an EFP emplaced by Special Groups struck the

  vehicle immediately in front of his.

         3082. The weapon used to injure Mr. Gerber was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3083. Additionally, Mr. Gerber was also involved in additional attacks involving JAM

  during the Battle of Sadr City. He was involved in several counter-offensives against JAM

  terrorists. He was the target of regular ambushes by JAM that relied on the use of women and

  children as human shields and RPG and sniper attacks. Mr. Gerber was also part of: the fight

  surrounding the construction of the wall on Route Gold; the battle involving Chris Kyle depicted

  in American Sniper; the fighting to interdict JAM attempts to resupply Sadr City and/or counter




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  JAM attempts to overwhelm the Americans on the flanks of Sadr City during the Battle of Sadr

  City.

          3084. As a result of this attack and the additional combat Mr. Geber was involved in, he

  suffered multiple concussions and suffers from PTSD, TBI, chronic back pain and tinnitus.

          3085. As a result of the attack, and the injuries he suffered, Plaintiff Anthony M. Gerber

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

  The Gregston Family

          3086. Plaintiff Charles B. Gregston served in Iraq as part of the 1-2 Stryker Calvary

  Regiment. He is a citizen of the United States and domiciled in the State of California.

          3087. During 2007 and 2008, Charles B. Gregston was deployed in and/or near Sadr City,

  Iraq for 15 months. For the entire Battle of Sadr City, Charles B. Gregston was either directly in

  Sadr City or doing patrols on the outskirts of the area. Charles B. Gregston’s second and final

  deployment was from November 2009 to December 2010, when he was stationed on the outskirts

  of Baghdad.

          3088. During both deployments in Iraq, Charles B. Gregston’s unit confronted JAM

  Special Groups. Charles B. Gregston was an immediate responder during the JAM Special Groups

  sniper attack that killed Randell Olguin on September 30, 2007, and the JAM Special Groups EFP

  attack that killed Joshua A. Molina and injured Plaintiff Anthony M. Gerber on March 27, 2008.

  Charles B. Gregston was exposed to multiple roadside bombs while his unit patrolled JAM Special

  Groups strongholds.

          3089. The weapon used to kill Joshua A. Molina was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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         3090. The attacks described herein were perpetrated by JAM Special Groups operatives

  working at the direction of Hezbollah and the IRGC-QF, using weapons supplied by the IRGC-

  QF and employing training provided by Hezbollah.

         3091. Due to his multiple encounters with JAM, JAM Special Groups and exposure to

  multiple blasts from JAM and JAM Special Groups devices, Charles B. Gregston sustained a

  number of injuries, including PTSD, TBIs, and tinnitus, resulting in, among other things,

  permanent hearing loss. Due to his injuries, Charles B. Gregston received a 100% disability rating

  from the VA.

         3092. As a result of the JAM and JAM Special Groups attacks, Charles B. Gregston has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         152.    THE MARCH 29, 2008 ATTACK – BAGHDAD

  The Reiher Family

         3093. Plaintiff Carl Reiher is a citizen of the United States and domiciled in the State of

  Arkansas.

         3094. On March 29, 2008, Carl Reiher was serving in the U.S. military in Iraq when an

  EFP emplaced by Special Groups detonated near his vehicle.

         3095. The weapon used to injure Carl Reiher was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3096. As a result of the attack, Mr. Reiher’s left arm was amputated. He also sustained

  multiple burns injuries.

         3097. As a result of the attack, and the injuries he suffered, Plaintiff Carl Reiher has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.




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         153.    THE APRIL 3, 2008 ATTACK – SADR CITY

  The Robinson Family

         3098. Plaintiff Jason Robinson is a citizen of the United States and domiciled in the State

  of Virginia.

         3099. On April 3, 2008, Jason Robinson was serving in the U.S. military in Iraq when an

  EFP emplaced by Special Groups detonated near his vehicle.

         3100. The weapon used to injure Jason Robinson was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3101. As a result of the attack, Jason Robinson’s sustained shrapnel wounds to his face,

  neck and shoulder. The blast also dislocated two lumbar disks and ruptured both of his eardrums.

         3102. As a result of the attack, and the injuries he suffered, Plaintiff Jason Robinson has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         3103. Plaintiff Frances Robinson is a citizen of the United States and domiciled in the

  State of Virginia. She is the wife of Jason Robinson.

         3104. Plaintiff E.R., a minor represented by her legal guardian, Frances Robinson, is a

  citizen of the United States and domiciled in the State of Virginia. She is the daughter of Jason

  Robinson.

         3105. Plaintiff William Justin Weatherly is a citizen of the United States and domiciled

  in the State of Virginia. He is the step-son of Jason Robinson.

         3106. Plaintiff Michael Weatherly is a citizen of the United States and domiciled in the

  State of Texas. He is the step-son of Jason Robinson.

         3107. As a result of the attack, and the injuries suffered by Jason Robinson, Plaintiffs




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  Frances Robinson, E.R., William Justin Weatherly and Michael Weatherly have experienced

  severe mental anguish, and extreme emotional pain and suffering.

         154.    THE APRIL 6, 2008 ATTACK – BAGHDAD

  The Wolfer Family

         3108. Stuart Wolfer was a citizen of the United States and domiciled in the State of Idaho

  when he was killed in Iraq.

         3109. On April 6, 2008, Stuart Wolfer, aged 36, was serving in the United States military

  in Iraq when JAM Special Groups terror operatives attacked his unit.

         3110. Stuart Wolfer was killed as a result of injuries sustained in the attack.

         3111. The attack was perpetrated by JAM Special Groups terror operatives working at the

  direction of Hezbollah and the IRGC-QF, using weapons supplied by the IRGC-QF and employing

  training provided by Hezbollah.

         3112. Plaintiff Lee Wolfer is a citizen of the United States and domiciled in the State of

  Iowa. She is the widow of Scott Wolfer.

         3113. Plaintiff Lee Wolfer brings an action individually and on behalf of the Estate of

  Stuart Wolfer, as its legal representative.

         3114. Plaintiff L.W., a minor represented by her legal guardian, Lee Wolfer, is a citizen

  of the United States and domiciled in the State of Iowa. She is the daughter of Scott Wolfer.

         3115. Plaintiff M.W., a minor represented by her legal guardian, Lee Wolfer, is a citizen

  of the United States and domiciled in the State of Iowa. She is the daughter of Scott Wolfer.

         3116. Plaintiff I.W., a minor represented by her legal guardian, Lee Wolfer, is a citizen

  of the United States and domiciled in the State of Iowa. She is the daughter of Scott Wolfer.

         3117. Plaintiff Beverly Wolfer is a citizen of the United States and domiciled in the State




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  of New York. She is the sister of Stuart Wolfer.

         3118. As a result of the attack, and the death of Stuart Wolfer, Plaintiffs Leonard Wolfer,

  Esther Wolfer, Lee Wolfer, L.W., M.W., I.W., and Beverly Wolfer have experienced severe

  mental anguish, extreme emotional pain and suffering, and loss of their son’s/husband’s/father’s/

  son’s/brother’s society, companionship, comfort, advice and counsel.

         155.    THE APRIL 7, 2008 ATTACK – BAGHDAD

  The Vaughn Family

         3119. Richard A. Vaughn was a citizen of the United States and domiciled in the State of

  California when he was killed in Iraq.

         3120. On April 7, 2008, Richard A. Vaughn, aged 22, was serving in the U.S. military in

  Iraq when a vehicle in his unit, 1st Battalion, 66th Armor Regiment, 1st Brigade Combat Team,

  4th Infantry Division, was struck by an EFP emplaced by Special Groups and Vaugh and his unit

  came under attack by RPGs and small arms fire.

         3121. Richard A. Vaughn was killed in the attack.

         3122. The weapon used in the attack that killed Richard A. Vaughn was a Hezbollah-

  designed and Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at

  their direction, using specialized training and components supplied by Hezbollah and the IRGC.

         3123. Plaintiff Rachelle Idol is a citizen of the United States and domiciled in the State of

  North Carolina. She is the widow of Richard A. Vaughn.

         3124. Plaintiff James Vaughn is a citizen of the United States and domiciled in the State

  of Arizona. He is the father of Richard A. Vaughn.

         3125. Plaintiff Jeannine Vaughn is a citizen of the United States and domiciled in the

  State of Arizona. She is the mother of Richard A. Vaughn.




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         3126. Plaintiff Clifford Vaughn is a citizen of the United States and domiciled in the State

  of Arizona. He is the brother of Richard A. Vaughn.

         3127. As a result of the attack, and the death of Richard A. Vaughn, Plaintiffs Rachelle

  Idol, James Vaughn, Jeannine Vaughn and Clifford Vaughn have experienced severe mental

  anguish, extreme emotional pain and suffering, and loss of their husband’s/son’s/brother’s society,

  companionship, comfort, advice and counsel.

         156.    THE APRIL 8, 2008 ATTACK – KHARGULIAH

  The Hartley Family

         3128. Jeffery Hartley was a citizen of the United States and domiciled in the State of

  Texas when he was killed in Iraq.

         3129. On April 8, 2008, Jeffery Hartley, aged 25, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         3130. Jeffery Hartley was killed in the attack.

         3131. The weapon used to kill Jeffery Hartley was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3132. Plaintiff David Wayne Hartley is a citizen of the United States and domiciled in the

  State of Texas. He is the brother of Jeffrey Hartley.

         3133. Plaintiff Kaylie Hartley is a citizen of the United States and domiciled in the State

  of Texas. She is the sister of Jeffery Hartley.

         3134. Plaintiff Lisa Duncan is a citizen of the United States and domiciled in the State of

  Texas. She is the sister of Jeffery Hartley.

         3135. As a result of the attack, and the death of Jeffery Hartley, Plaintiffs David Wayne




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  Hartley, Kaylie Hartley and Lisa Duncan have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their brother’s society, companionship, comfort, advice

  and counsel.

         157.    THE APRIL 9, 2008 ATTACK – SADR CITY

  The Ault Family

         3136. Jesse A. Ault was a citizen of the United States and domiciled in the State of

  Virginia when he was killed in Iraq.

         3137. On April 9, 2008, Jesse A. Ault, aged 28, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         3138. Jesse A. Ault was killed in the attack.

         3139. The weapon used to kill Jesse A. Ault was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3140. Plaintiff Virginia Billiter is a citizen of the United States and domiciled in the State

  of West Virginia. She is the mother of Jesse A. Ault.

         3141. Plaintiff Eric Billiter is a citizen of the United States and domiciled in the State of

  West Virginia. He is the step-father of Jesse A. Ault.

         3142. Plaintiff Adrianne Kidd is a citizen of the United States and domiciled in the State

  of North Carolina. She is the step-sister of Jesse A. Ault.

         3143. As a result of the attack, and the death of Jesse A. Ault, Plaintiffs Virginia Billiter,

  Eric Billiter and Adrianne Kidd have experienced severe mental anguish, extreme emotional pain

  and suffering, and loss of their son’s/brother’s society, companionship, comfort, advice and

  counsel.




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         158.     THE APRIL 12, 2008 ATTACK – BAGHDAD

  The Allmon Family

         3144. William E. Allmon was a citizen of the United States and domiciled in the State of

  Oklahoma when he was killed in Iraq.

         3145. On April 12, 2008, William E. Allmon, aged 25, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         3146. William E. Allmon was killed in the attack.

         3147. The weapon used to kill William E. Allmon was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3148. Plaintiff William Allmon is a citizen of the United States and domiciled in the State

  of Georgia. He is the father of William E. Allmon.

         3149. Plaintiff William Allmon brings an action individually and on behalf of the Estate

  of William E. Allmon, as its legal representative.

         3150. As a result of the attack, and the death of William E. Allmon, Plaintiff William

  Allmon has experienced severe mental anguish, extreme emotional pain and suffering and loss of

  his son’s society, companionship, comfort, advice and counsel.

         159.     THE APRIL 17, 2008 ATTACK – SADR CITY

  The Sloan Family

         3151. Plaintiff Ronald Sloan is a citizen of the United States and domiciled in the State

  of Tennessee.

         3152. On April 17, 2008, Ronald Sloan, age 32, was serving in the U.S. military in Iraq.




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         3153. Mr. Sloan was on patrol in Sadr City when the Abrams tank he was in was struck

  by an EFP emplaced by Special Groups.

         3154. The weapon used to injure Mr. Sloan was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3155. As a result of the attack, Mr. Sloan was struck by shrapnel on the right side of his

  face and neck.

         3156. He was medevaced to the 86th combat support hospital for treatment of his wounds.

  He was then sent to the Green Zone for further evaluation.

         3157. Mr. Sloan also suffers from PTSD as a result of the attack.

         3158. As a result of the attack, and the injuries he suffered, Plaintiff Ronald Sloan has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         160.      THE APRIL 21, 2008 ATTACK – SADR CITY

  The Thomsen Family

         3159. Plaintiff Mark E. Thomsen is a citizen of the Unites States and domiciled in the

  State of Arkansas.

         3160. On April 21, 2008, Mark E. Thomsen was serving in the U.S. military in Iraq when

  his unit was attacked with an IRAM.

         3161. The attack was perpetrated by Hezbollah-trained and IRGC-QF-supplied operatives

  of the JAM and KH Special Groups acting as agents and proxies of Hezbollah and the IRGC-QF.

         3162. As a result of the attack, Mark E. Thomsen suffered a concussion. He also suffers

  from TBI and PTSD.

         3163. As a result of the attack, and the injuries he suffered, Plaintiff Mark E. Thomsen




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  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

          3164. Plaintiff Ardell Thomsen is a citizen of the United States and domiciled in the State

  of Arkansas. She is the mother of Mark E. Thomsen.

          3165. Plaintiff Ralph Thomsen is a citizen of the United States and domiciled in the State

  of Arkansas. He is the father of Mark E. Thomsen.

          3166. As a result of the attack, and the injuries suffered by Mark E. Thomsen, Plaintiffs

  Ardell Thomsen and Ralph Thomsen have experienced severe mental anguish, and extreme

  emotional pain and suffering.

          161.   THE APRIL 21, 2008 ATTACK – BAGHDAD

  The Bogart Family

          3167. Plaintiff Evan D. Bogart is a citizen of the Unites States and domiciled in the State

  of Arizona.

          3168. On April 21, 2008, Evan Bogart was serving was serving in the U.S. military in

  Iraq.

          3169. Mr. Bogart was in a convoy when an EFP emplaced by Special Groups struck his

  vehicle.

          3170. The weapon used to injure Mr. Bogart was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          3171. As a result of the attack, Mr. Bogart sustained burns and blast injuries to his face

  as well as a shrapnel injury to his left shoulder. He also suffers from PTSD and tinnitus.

          3172. As a result of the attack, and the injuries he suffered, Plaintiff Evan D. Bogart has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.




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          3173. Plaintiff Lani D. Bogart is a citizen of the Unites States and domiciled in the State

  of Arizona. She is the mother of Evan D. Bogart.

          3174. Plaintiff Douglas R. Bogart is a citizen of the Unites States and domiciled in the

  State of Arizona. He is the brother of Evan D. Bogart.

          3175. Plaintiff Christopher Bogart is a citizen of the Unites States and domiciled in the

  State of Arizona. He is the brother of Evan D. Bogart.

          3176. Plaintiff Cana Hickman is a citizen of the Unites States and domiciled in the State

  of Texas. She is the sister of Evan D. Bogart.

          3177. As a result of the attack, and the injuries suffered by Evan D. Bogart, Plaintiffs Lani

  D. Bogart, Douglas R. Bogart, Christopher Bogart and Cana Hickman have experienced severe

  mental anguish, and extreme emotional pain and suffering.

          162.   THE APRIL 21, 2008 ATTACK – SADR CITY

  The Rosa-Valentin Family

          3178. Plaintiff Luis Rosa-Valentin is a citizen of the United States and domiciled in the

  State of Maryland.

          3179. On April 21, 2008, Luis Rosa-Valentin, then 24, was serving in the U.S. military in

  Iraq.

          3180. Mr. Rosa-Valentin was on foot patrol in the Al Amin neighborhood of Baghdad

  when he was struck by an EFP emplaced by Special Groups.

          3181. The weapon used to injure Mr. Rosa-Valentin was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

          3182. As a result of the attack, Mr. Rosa-Valentin lost both of his legs and his left arm.




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  He also suffered blindness in one eye, lost his hearing, and broke every bone in his face.

         3183. He has also been diagnosed with a TBI and PTSD.

         3184. As a result of the attack, and the injuries he suffered, Plaintiff Luis Rosa-Valentin

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         3185. Plaintiff M.R., a minor represented by her legal guardian Luis Rosa-Valentin, is a

  citizen of the United States and domiciled in the State of Maryland. She is the daughter of Luis

  Rosa-Valentin.

         3186. Plaintiff Iliana M. Rosa-Valentin is a citizen of the Unites States and domiciled in

  the State of Maryland. She is the sister of Luis Rosa Valentin.

         3187. As a result of the attack, and the injuries suffered by Luis Rosa-Valentin, Plaintiffs

  M.R. and Iliana M. Rosa-Valentin have experienced severe mental anguish, and extreme emotional

  pain and suffering.

         163.     THE APRIL 28, 2008 ATTACK – BAGHDAD

  The Sloan Family

         3188. Plaintiff Ronald Sloan is a citizen of the United States and domiciled in the State

  of Tennessee.

         3189. On April 28, 2008, Ronald Sloan, age 32, was serving in the U.S. military in Iraq

  when his unit was attacked with IRAMs by Hezbollah-trained and IRGC-QF-supplied operatives

  of the KH Special Groups acting as agents and proxies of Hezbollah and the IRGC-QF.

         3190. As a result of the attack, Mr. Sloan was knocked unconscious. He also suffered ear

  pain and general discomfort.

         3191. Mr. Sloan has subsequently been diagnosed as suffering from a TBI and PTSD.

         3192. As a result of the attack, and the injuries he suffered, Plaintiff Ronald Sloan has




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  experienced severe physical and mental anguish and extreme emotional pain and suffering

         164.    THE APRIL 28, 2008 ATTACK – BAGHDAD

  The Kaplan Family

         3193. Plaintiff Preston Charles Kaplan is a citizen of the United States and domiciled in

  the State of Texas.

         3194. On April 28, 2008, Preston Charles Kaplan, then 23, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle. He was the

  turret gunner in an M1114 up-armored Humvee that was hit with an EFP on the front passenger-

  side door while traveling in the Kadhimiya neighborhood of Baghdad.

         3195. The weapon used to injure Preston Charles Kaplan was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         3196. As a result of the attack, Preston Charles Kaplan sustained a penetrating wound to

  his right leg including blast injuries to his tibial shaft. Shrapnel lacerated his popliteal artery and

  injured his peroneal nerve. He also sustained a TBI, bilateral hearing loss, tinnitus, scarring, sleep

  apnea, GERD, and PTSD. After numerous attempts to save his right leg below the knee, he

  underwent a below-the-knee amputation 19 months after the attack and suffered additional

  infections following the amputations that required significant additional surgeries.

         3197. Mr. Kaplan has received extensive medical treatment at various hospitals including

  various surgeries and prosthetic fittings where he has spent years in treatment.

         3198. As a result of the attack, and the injuries he suffered, Preston Charles Kaplan has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         3199. Plaintiff Nicole A. Kaplan is a citizen of the United States and domiciled in the




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  State of Texas. She is the wife of Preston Charles Kaplan.

          3200. Plaintiff Noni Kaplan is a citizen of the United States and domiciled in the State of

  California. She is the mother of Preston Charles Kaplan.

          3201. Plaintiff David Kaplan is a citizen of the United States and domiciled in the State

  of California. He is the father of Preston Charles Kaplan.

          3202. Plaintiff Jaime Zarcone is a citizen of the United States and domiciled in the State

  of California. She is the sister of Preston Charles Kaplan.

          3203. Plaintiff Jessalyn Holt is a citizen of the United States and domiciled in the State of

  California. She is the sister of Preston Charles Kaplan.

          3204. As a result of the attack, and the injuries Preston Charles Kaplan suffered, Plaintiffs

  Nicole A. Kaplan, Noni Kaplan, David Kaplan, Jaime Zarcone, and Jessalyn Holt have

  experienced severe mental anguish and extreme emotional pain and suffering.

          165.    THE APRIL 28, 2008 ATTACK – SADR CITY

  The Woodard Family

          3205. Plaintiff David Woodard is a citizen of the United States and domiciled in the State

  of Georgia.

          3206. On April 28, 2008, David Woodard, then 34, was serving was serving in the U.S.

  military in Iraq.

          3207. Mr. Woodard was in a convoy when an EFP emplaced by Special Groups struck

  his vehicle.

          3208. The weapon used to injure Mr. Woodard was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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            3209. As a result of the attack, a large fragment from the EFP struck Mr. Woodard’s right

  leg and blew out four inches of his leg bone. Two large shrapnel fragments entered his left calf,

  removing approximately 25% of the calf muscle and another fragment entered near his Achilles

  tendon.

            3210. As a result of the attack, and the injuries he suffered, Plaintiff David Woodard has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

            3211. Plaintiff D.M.W., a minor represented by his legal guardian David Woodard, is a

  citizen of the United States and domiciled in the State of Georgia. He is the son of David Woodard.

            3212. As a result of the attack, and the injuries suffered by David Woodard, Plaintiff

  D.W.M. has experienced severe mental anguish, and extreme emotional pain and suffering.

            166.   THE APRIL 28, 2008 ATTACK – SADR CITY

  The Magers Family

            3213. Plaintiff Adam Magers is a citizen of the United States and domiciled in the State

  of Missouri.

            3214. On April 28, 2008, Adam Magers was serving was serving in the U.S. military in

  Iraq and was at Joint Security Station Thawra in Sadr City when it was attacked with IRAMs by

  Hezbollah-trained and IRGC-QF-supplied operatives of the KH Special Groups acting as agents

  and proxies of Hezbollah and the IRGC-QF.

            3215. As a result of the attack, Mr. Magers suffered lacerations on his left arm, hands,

  right ear and small cuts on the back of his neck. He also sustained injuries to his shoulder which

  ultimately required surgery

            3216. As a result of the attack, and the injuries he suffered, Plaintiff Adam Magers has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.




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             167.   THE APRIL 29, 2008 ATTACK – SADR CITY

  The Garza Family

             3217. Plaintiff Luis Garza is a citizen of the United States and domiciled in the State of

  Florida.

             3218. On April 29, 2008, Luis Garza, then 22, was serving was serving in the U.S. military

  in Iraq.

             3219. Mr. Garza was in a convoy when an EFP emplaced by Special Groups struck his

  vehicle.

             3220. The weapon used to injure Mr. Garza was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

             3221. As a result of the attack, Mr. Garza suffered shrapnel injuries to his face. He also

  suffers from PTSD and sleep apnea. Eventually, part of his kidney had to be removed as a result

  of the wounds he suffered.

             3222. As a result of the attack, and the injuries he suffered, Plaintiff Luis Garza has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

             168.   THE APRIL 30, 2008 ATTACK – BAGHDAD

  The Tucker Family

             3223. Ronald J. Tucker was a citizen of the Unites States and domiciled in the State of

  Colorado when he was killed in Iraq.

             3224. On April 30, 2008, Ronald J. Tucker, aged 21, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near his HMMWV in

  Baghdad.




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         3225. Ronald J. Tucker was killed in the attack.

         3226. The weapon used to kill Ronald J. Tucker was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3227. Plaintiff Susan Arnold is a citizen of the United States and domiciled in the State

  of Colorado. She is the mother of Ronald J. Tucker.

         3228. Plaintiff Susan Arnold brings an action individually and on behalf of the Estate of

  Ronald J. Tucker, as its legal representative.

         3229. Plaintiff David Arnold is a citizen of the United States and domiciled in the State

  of Colorado. He is the step-father of Ronald J. Tucker.

         3230. Plaintiff Samantha Tucker is a citizen of the United States and domiciled in the

  State of Ohio. She is the sister of Ronald J. Tucker.

         3231. Plaintiff Brandon Arnold is a citizen of the United States and domiciled in the State

  of Colorado. He is the brother of Ronald J. Tucker.

         3232. Plaintiff Daisy Tucker is a citizen of the United States and domiciled in the State

  of Ohio. She is the sister of Ronald J. Tucker.

         3233. As a result of the attack, and the death of Ronald J. Tucker, Plaintiffs Susan Arnold,

  David Arnold, Samantha Tucker, Brandon Arnold and Daisy Tucker have experienced severe

  mental anguish, extreme emotional pain and suffering, and loss of their son’s/brother’s society,

  companionship, comfort, advice and counsel.

         169.    THE MAY 1, 2008 ATTACK – SADR CITY

  The Daggett Family

         3234. John K. Daggett was a citizen of the United States and domiciled in the State of




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  Arizona when he was injured in Iraq.

         3235. On May 1, 2008, John K. Daggett, aged 21, was serving in the U.S. military in Iraq

  when a rocket propelled grenade fired by a JAM Special Groups terror operative hit the vehicle in

  which he was travelling.

         3236. John K. Daggett was injured in the attack, and he died on May 15, 2008 from the

  injuries he sustained in the attack.

         3237. John K. Daggett was killed in the attack perpetrated by Hezbollah-trained JAM

  Special Groups under the control and direction of the IRGC-QF and Hezbollah.

         3238. Plaintiff John Daggett is a citizen of the United States and domiciled in the State of

  Arizona. He is the father of John K. Daggett.

         3239. Plaintiff Colleen Czaplicki is a citizen of the United States and domiciled in the

  State of Arizona. She is the mother of John K. Daggett.

         3240. As a result of the attack, and the death of John K. Daggett, Plaintiffs John Daggett

  and Colleen Czaplicki have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their son’s society, companionship, comfort, advice and counsel.

         170.    THE MAY 2, 2008 ATTACK – BAGHDAD

  The Hicks Family

         3241. Corey L. Hicks was a citizen of the United States and domiciled in the State of

  Arizona when he was killed in Iraq.

         3242. On May 2, 2008, Corey L. Hicks, aged 22, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         3243. Corey L. Hicks was killed in the attack.




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           3244. The weapon used to kill Corey L. Hicks was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

           3245. Plaintiff Russel Hicks, Sr. is a citizen of the United States and domiciled in the

  State of Wyoming. He is the father of Corey L. Hicks.

           3246. Plaintiff Russel Hicks, Jr. is a citizen of the United States and domiciled in the State

  of Arizona. He is the brother of Corey L. Hicks.

           3247. As a result of the attack, and the death of Corey L. Hicks, Plaintiffs Russel Hicks,

  Sr. and Russel Hicks, Jr. have experienced severe mental anguish, extreme emotional pain and

  suffering and loss of their son’s/brother’s society, companionship, comfort, advice and counsel.

           171.   THE MAY 9, 2008 ATTACK – BAGHDAD

  The Williamson Family

           3248. Wesley Williamson is a citizen of the United States and domiciled in the State of

  Texas.

           3249. On May 9, 2008, Wesley Williamson, then 23, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

           3250. The weapon used to injure Mr. Williamson was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

           3251. As a result of the attack, Mr. Williamson’s right ulna and radius were completely

  shattered, and his posterior interosseous nerve was severed.

           3252. Shrapnel also penetrated his body.

           3253. Mr. Williamson received medical treatment in Iraq, Germany, Washington D.C.,




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  and Brooke Army Medical Center in San Antonio, Texas.

          3254. He has undergone multiple procedures to stabilize his condition and address his

  injuries.

          3255. In an attempt to regain functionality of his right arm and hand, Mr. Williamson

  underwent multiple surgeries.

          3256. These surgeries included the installation of plates and 16 screws in his right arm

  and tendon transfer surgery.

          3257. Mr. Williamson underwent occupational therapy for approximately 18 months.

  During that time, he was prescribed medications to manage the pain that he experienced.

          3258. The injury to his hand has resulted in a loss of dexterity to his fingers. This has

  forced Mr. Williamson to re-learn simple everyday tasks such as typing.

          3259. He experiences pain and limitations of movement daily.

          3260. Mr. Williamson has suffered memory loss since the attack and has difficulty

  recalling information.

          3261. He has been diagnosed with PTSD and TBI, and has sought counseling and been

  prescribed medication to treat those conditions.

          3262. Plaintiff Jesse Williamson is a citizen of the United States and domiciled in the

  State of New Mexico. He is the brother of Wesley Williamson.

          3263. As a result of the attack, and the injuries Wesley Williamson has suffered, Plaintiff

  Jesse Williamson has experienced severe mental anguish, and extreme emotional pain and

  suffering.




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             172.   THE MAY 9, 2008 ATTACK – SADR CITY

  The Garza Family

             3264. Plaintiff Luis Garza is a citizen of the United States and domiciled in the State of

  Florida.

             3265. On May 9, 2008, Luis Garza, then 22, was serving was serving in the U.S. military

  in Iraq.

             3266. Mr. Garza was in a convoy when an EFP emplaced by Special Groups struck his

  vehicle.

             3267. The weapon used to injure Mr. Garza was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

             3268. As a result of the attack, Mr. Garza suffered shrapnel injuries to his face. He also

  suffers from PTSD and sleep apnea. Eventually, part of his kidney had to be removed as a result

  of the wounds he suffered.

             3269. As a result of the attack, and the injuries he suffered, Plaintiff Luis Garza has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

             173.   THE MAY 9, 2008 ATTACK – SADR CITY

  The Magers Family

             3270. Plaintiff Adam Magers is a citizen of the United States and domiciled in the State

  of Missouri.

             3271. On May 9, 2008, Adam Magers was serving was serving in the U.S. military in

  Iraq.

             3272. Mr. Magers was in a convoy when four separate EFPs emplaced by Special Groups




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  struck the convoy in which he was traveling.

         3273. The weapon used to injure Mr. Magers was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3274. As a result of the attack, Mr. Magers suffers from TBI.

         3275. As a result of the attack, and the injuries he suffered, Plaintiff Adam Magers has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         174.    THE MAY 11, 2008 ATTACK – BAGHDAD

  The O’Neill Family

         3276. Plaintiff Patrick O’Neill is a citizen of the United States and domiciled in the State

  of Virginia.

         3277. On May 11, 2008, Patrick O’Neill, then 18, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         3278. Patrick O’Neill was injured in the attack.

         3279. The weapon used to injure Patrick O’Neill was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3280. As a result of the attack, Patrick O’Neill was rendered unconscious.

         3281. He had sustained shrapnel in his back, buttock, and right shoulder and had also

  suffered injuries to his neck and face.

         3282. His shoulder had been fractured and his right ear was severed in multiple places.

         3283. Shrapnel had also pierced through Mr. O’Neill’s body, causing his right lung to

  collapse.




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         3284. He continues to experience pain in his chest and shoulder.

         3285. Mr. O’Neill was diagnosed with PTSD and has sought counseling. He continues to

  have nightmares stemming from the attack.

         3286. As a result of the attack, and the injuries he suffered, Plaintiff Patrick O’Neill has

  experienced physical and mental anguish and extreme emotional pain and suffering.

         3287. Plaintiff John O’Neill is a citizen of the United States and domiciled in the State of

  Virginia. He is the father of Patrick O’Neill.

         3288. Plaintiff Dianne O’Neill is a citizen of the United States and domiciled in the State

  of Virginia. She is the mother of Patrick O’Neill.

         3289. As a result of the attack, and the injuries Patrick O’Neill has suffered, Plaintiffs

  John O’Neill and Dianne O’Neill have experienced severe mental anguish, and extreme emotional

  pain and suffering.

         175.    THE MAY 11, 2008 ATTACK – BALAD

  The Luckett Family

         3290. Plaintiff Daniel Luckett is a citizen of the United States and domiciled in the State

  of Kentucky.

         3291. On May 11, 2008, Daniel Luckett, then 24, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         3292. The weapon used to injure Daniel Luckett was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3293. As a result of the attack, Daniel Luckett his left foot was sheared off above the

  ankle and his right foot was cut off above the toes.




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         3294. As a result of the attack, and the injuries he suffered, Plaintiff Daniel Luckett has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         176.    THE MAY 25, 2008 ATTACK – AN-NAJAF

  The Gasper Family

         3295. Frank J. Gasper was a citizen of the United States and domiciled in the State of

  Colorado when he was killed in Iraq.

         3296. On May 25, 2008, Frank J. Gasper, aged 25, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he

  was traveling in Najaf.

         3297. Frank J. Gasper was killed in the attack.

         3298. The weapon used to kill Frank J. Gasper was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3299. Plaintiff Breanna Lynn Gasper is a citizen of the United States and domiciled in the

  State of Georgia. She is the widow of Frank J. Gasper.

         3300. Plaintiff Breanna Lynn Gasper brings an action individually and on behalf of the

  Estate of Frank J. Gasper, as its legal representative.

         3301. Plaintiff Jamie Barnes is a citizen of the United States and domiciled in the State of

  California. She is the sister of Frank J. Gasper.

         3302. As a result of the attack, and the death of Frank J. Gasper, Plaintiffs Breanna Lynn

  Gasper and Jamie Barnes have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their husband’s/brother’s society, companionship, comfort, advice and

  counsel.




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         177.    THE JUNE 7, 2008 ATTACK – BAGHDAD

  The Hurst Family

         3303. David R. Hurst was a citizen of the United States and domiciled in the State of

  Louisiana when he was killed in Iraq.

         3304. On June 7, 2008, David R. Hurst, aged 31, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         3305. David R. Hurst was killed in the attack.

         3306. The weapon used to kill David R. Hurst was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3307. Plaintiff Max W. Hurst is a citizen of the United States and domiciled in the State

  of Louisiana. He is the father of David R. Hurst.

         3308. Plaintiff Max W. Hurst brings an action individually and on behalf of the Estate of

  David R. Hurst, as its legal representative.

         3309. Plaintiff Lillian Hurst is a citizen of the United States and domiciled in the State of

  Louisiana. She is the step-mother of David R. Hurst.

         3310. Plaintiff Christopher Hurst is a citizen of the United States and domiciled in the

  State of Louisiana. He is the brother of David R. Hurst.

         3311. Plaintiff Mark Hurst is a citizen of the United States and domiciled in the State of

  Louisiana. He is the brother of David R. Hurst.

         3312. As a result of the attack, and the death of David R. Hurst, Plaintiffs Max W. Hurst,

  Lillian Hurst, Christopher Hurst and Mark Hurst have experienced severe mental anguish, extreme




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  emotional pain and suffering, and loss of their son’s/brother’s society, companionship, comfort,

  advice and counsel.

         178.   THE JUNE 24, 2008 ATTACK - BAGHDAD

  The Farley Family

         3313. Steven L. Farley was a citizen of the United States and domiciled in the State of

  Oklahoma when he was killed in Iraq.

         3314. Steven L. Farley worked in Iraq under the auspices of the U.S. Department of State

  as a member of a Provincial Reconstruction Team (“PRT”) in eastern Baghdad in 2008.

         3315. On June 24, 2008, a JAM-Special Groups cell executed a sophisticated

  assassination bombing in a local government office in Sadr City that targeted Americans and local

  government officials who were not Sadr followers. The bomb killed eleven people, including Mr.

  Farley and three other Americans.

         3316. The attack was perpetrated by JAM Special Groups operatives working at the

  direction of Hezbollah and the IRGC-QF, using weapons supplied by the IRGC-QF and employing

  training provided by Hezbollah.

         3317. Plaintiff Donna Farley is a citizen of the United States and domiciled in the State

  of Oklahoma. She is the widow of Steven Farley.

         3318. Plaintiff Noel J. Farley, Sr. is a citizen of the United States and domiciled in the

  State of Oklahoma. He is the father of Steven Farley.

         3319. Plaintiff Barbara Farley is a citizen of the United States and domiciled in the State

  of Oklahoma. She is the mother of Steven Farley.

         3320. Plaintiff Brett Farley is a citizen of the United States and domiciled in the State of

  Oklahoma. He is the son of Steven Farley.




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         3321. Plaintiff Cameron Farley is a citizen of the United States and domiciled in the State

  of Oklahoma. He is the son of Steven Farley.

         3322. Plaintiff Chris Farley is a citizen of the United States and domiciled in the State of

  Oklahoma. He is the son of Steven Farley.

         3323. Plaintiff Vickie McHone is a citizen of the United States and domiciled in the State

  of Oklahoma. She is the sister of Steven Farley.

         3324. Plaintiff Noel S. Farley is a citizen of the United States and domiciled in the State

  of Oklahoma. He is the brother of Steven Farley.

         3325. As a result of the June 24, 2008 attack, and the death of Steven Farley, Plaintiffs

  Donna Farley, Noel J. Farley, Sr., Barbara Farley, Brett Farley, Jessica Farley, Cameron Farley,

  Chris Farley, Vickie McHone and Noel S. Farley have experienced severe mental anguish, extreme

  emotional pain and suffering, and loss of their husband’s/father’s/son’s/brother’s society,

  companionship, comfort, advice and counsel.

  The Suveges Family

         3326. Nicole Suveges was a citizen of the United States and domiciled in the State of

  Illinois when she was killed in Iraq.

         3327. Nicole Suveges was a political scientist who worked for BAE Systems in the

  Human Terrain System (HTS) program in eastern Bagdad in 2008. The HTS program was

  designed to promote cultural understanding between U.S. military and Iraqis.

         3328. On June 24, 2008, a JAM-Special Groups cell executed a sophisticated

  assassination bombing in a local government office in Sadr City that targeted Americans and local

  government officials who were not Sadr followers. The bomb killed eleven people, including Ms.

  Suveges and three other Americans.




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          3329. The attack was perpetrated by JAM Special Groups operatives working at the

  direction of Hezbollah and the IRGC-QF, using weapons supplied by the IRGC-QF and employing

  training provided by Hezbollah.

          3330. Plaintiff David C. Iverson is a citizen of the United States and domiciled in the State

  of Maryland. He is the widower of Nicole Suveges.

          3331. As a result of the attack, and the death of Nicole Suveges, Plaintiff David C. Iverson

  has experienced severe mental anguish, extreme emotional pain and suffering, and loss of his

  wife’s society, companionship, comfort, advice and counsel.

          179.    THE AUGUST 4, 2008 ATTACK – BAGHDAD

  The Menke Family

          3332. Jonathan D. Menke was a citizen of the United States and domiciled in the State of

  Indiana when he was killed in Iraq.

          3333. On August 4, 2008, Jonathan D. Menke, aged 22, was serving in the U.S. military

  in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          3334. Jonathan D. Menke was killed in the attack.

          3335. The weapon used to kill Jonathan D. Menke was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          3336. Daniel Menke is a citizen of the United States and domiciled in the State of Indiana.

  He is the father of Jonathan D. Menke.

          3337. Daniel Menke brings an action on behalf of the Estate of Jonathan D. Menke, as its

  legal representative, for his death and any suffering and/ or economic loss he/his Estate sustained

  as a result of the attack.




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         180.    THE AUGUST 13, 2008 ATTACK – BAGHDAD

  The Hale Family

         3338. James M. Hale was a citizen of the United States and domiciled in the State of

  Illinois when he was killed in Iraq.

         3339. On August 13, 2008, James M. Hale, aged 23, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         3340. James M. Hale was killed in the attack.

         3341. The weapon used to kill James M. Hale was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3342. Plaintiff Jessica H. Williams is a citizen of the United States and domiciled in the

  State of Texas. She is the widow of James M. Hale.

         3343. Plaintiff Jessica H. Williams brings an action individually and on behalf of the

  Estate of James M. Hale, as its legal representative.

         3344. Plaintiff J.M.H., a minor represented by his legal guardian, Jessica H. Williams, is

  a citizen of the United States and domiciled in the State of Texas. He is the son of James M. Hale.

         3345. Plaintiff J.J.H., a minor represented by his legal guardian, Jessica H. Williams, is a

  citizen of the United States and domiciled in the State of Texas. He is the son of James M. Hale.

         3346. Plaintiff J.H., a minor represented by his legal guardian, Jessica H. Williams, is a

  citizen of the United States and domiciled in the State of Texas. He is the son of James M. Hale.

         3347. As a result of the attack, and the death of James M. Hale, Plaintiffs Jessica H.

  Williams, J.M.H., J.J.H. and J.H. have experienced severe mental anguish, extreme emotional pain




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  and suffering, and loss of their husband’s/father’s society, companionship, comfort, advice and

  counsel.

         181.    THE AUGUST 26, 2008 ATTACK – SADR CITY

  The Latham Family

         3348. Plaintiff Tyler Latham is a citizen of the United States and domiciled in the State

  of Michigan.

         3349. On August 26, 2008, Tyler Latham, age 22, was serving in the U.S. military in Iraq,

  when his vehicle was struck by an EFP emplaced by Special Groups.

         3350. The weapon used to injure Tyler Latham was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3351. As a result of the attack, Mr. Latham sustained significant injuries to his left hand.

  This required complex surgery to reconnect tendons and ligaments in that hand.

         3352. The damage to his hand has necessitated extensive physical therapy.

         3353. He also sustained significant injuries due to the impact of multiple pieces of

  shrapnel in his face, legs, and arm. This necessitated surgery and treatment.

         3354. He continues to experience limitations in strength and mobility of his left hand.

         3355. He suffers with chronic pain in his left hand and arm.

         3356. In addition, Mr. Latham has been diagnosed with a TBI.

         3357. As a result of the attack, and the injuries he suffered, Plaintiff Tyler Latham has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.




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         182.    THE OCTOBER 5, 2008 ATTACK – MUSAYYIB

  The Bearfield Family

         3358. Plaintiff Bryant Bearfield is a citizen of the United States and domiciled in the State

  of New York.

         3359. On October 5, 2008, Bryant Bearfield, then 23, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near the vehicle in which he

  was traveling on Route Cleveland.

         3360. The weapon used to injure Bryant Bearfield was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3361. As a result of the blast, Bryant Bearfield suffered shrapnel wounds to his head, and

  a concussion. Mr. Bearfield was also diagnosed with anxiety as a result of the attack.

         3362. As a result of the attack, and the injuries he suffered, Plaintiff Bryant Bearfield has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         183.    THE DECEMBER 28, 2008 ATTACK – SADR CITY

  The Paul Family

         3363. Plaintiff Carllie Paul is a citizen of the United States and domiciled in the State of

  Florida.

         3364. On December 28, 2008, Carllie Paul, then 22, was serving in the U.S. military in

  Iraq when his M1151 vehicle was attacked with grenades and small arms fire by JAM Special

  Groups terror operatives.

         3365. Carllie Paul was injurd in the attack perpetrated by Hezbollah-trained JAM Special

  Groups under the control and direction of the IRGC-QF and Hezbollah.




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          3366. As a result of the attack, Carllie Paul sustained burns to both of his arms resulting

  in lasting scars and injuries to his back. He was airlifted to Landstuhl, Germany where he stayed

  for approximately two weeks after which he was transferred to Fort Bliss, Texas. He also suffered

  from severe PTSD. He has difficulty sleeping, experiences nightmares, and suffers from

  depression, anxiety, and suicidal ideation.

          3367. As a result of the attack, and the injuries he suffered, Carllie Paul has experienced

  severe physical and mental anguish and extreme emotional pain and suffering.

          184.    THE JANUARY 10, 2009 ATTACK – BAGHDAD

  The Bauer Family

          3368. Justin Bauer was a citizen of the United States and domiciled in the State of

  Colorado when he was killed in Iraq.

          3369. On January 10, 2009, Justin Bauer, aged 24, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

          3370. Justin Bauer was killed in the attack.

          3371. The weapon used to kill Justin Bauer was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          3372. Kari Carosella is a citizen of the United States and domiciled in the State of

  Colorado. She is the widow of Justin Bauer.

          3373. Kari Carosella brings an action on behalf of the Estate of Justin Bauer, as its legal

  representative, for his death and any suffering and/ or economic loss he/his Estate sustained as a

  result of the attack.

          3374. Plaintiff Connie Haddock is a citizen of the United States and domiciled in the State




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  of Colorado. She is the mother of Justin Bauer.

          3375. Plaintiff Jacob Bauer is a citizen of the United States and domiciled in the State of

  Colorado. He is the brother of Justin Bauer.

          3376. Plaintiff Jeremy Bauer is a citizen of the United States and domiciled in the State

  of Colorado Mexico. He is the brother of Justin Bauer.

          3377. As a result of the attack, and the death of Justin Bauer, Plaintiffs Connie Haddock,

  Jacob Bauer and Jeremy Bauer have experienced severe mental anguish, extreme emotional pain

  and suffering, and loss of their son’s/brother’s society, companionship, comfort, advice and

  counsel.

  The Bradley Family

          3378. Plaintiff Andrew Bradley is a citizen of the United States and domiciled in the State

  of Texas.

          3379. On January 10, 2009, Andrew Bradley, then 20, was serving in the U.S. military in

  Iraq when an EFP detonated near his vehicle.

          3380. The weapon used to injure Andrew Bradley was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          3381. As a result of the attack, Mr. Bradley lost part of his right leg, rendering him a

  below-the-knee amputee.

          3382. He also sustained burns on his left foot and has experienced nerve damage in that

  foot.

          3383. Apart from treatment in Iraq and Germany, Mr. Bradley received in-patient

  treatment at Brooke Army Medical Center for over one year.




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         3384. Surgeons performed bone reconstruction to retain as much of his joint area as

  possible.

         3385. He also underwent multiple procedures to address infections in his wounds.

         3386. He has received physical therapy and has been prescribed medications to address

  pain resulting from his injuries.

         3387. Mr. Bradley has also required treatment for medical conditions that developed from

  issues involving his prosthetics.

         3388. Mr. Bradley continues to experience pain and emotional distress each day, and he

  receives treatment for his injuries as necessary.

         3389. As a result of the attack, and the injuries he suffered, Plaintiff Andrew Bradley has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         3390. Plaintiff Julie Salhus is a citizen of the United States and domiciled in the State of

  Texas. She is the mother of Andrew Bradley.

         3391. Plaintiff Kristen Galen is a citizen of the United States and domiciled in the State

  of Texas. She is the sister of Andrew Bradley.

         3392. As a result of the attack, and the injuries Andrew Bradley suffered, Plaintiffs Julie

  Salhus and Kristen Galen have experienced severe mental anguish and extreme emotional pain

  and suffering.

  The Ward Family

         3393. Plaintiff Patrick Ward is a citizen of the United States and domiciled in the State of

  Pennsylvania.

         3394. On January 10, 2009, Patrick Ward, then aged 36, was serving in the U.S. military

  in Iraq when an EFP detonated near his vehicle.




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         3395. Mr. Ward was an occupant in the third vehicle traveling in a four-vehicle convoy,

  when the lead vehicle was hit by an EFP.

         3396. The EFP used to injure Patrick Ward was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC

         3397. After the EFP impacted the lead vehicle. Mr. Ward got out of is vehicle and went

  to check on the occupants of the lead vehicle. He observed that the back of Justin Bauer’s legs had

  been blown off and that he appeared to be dead. He assisted the medic in extricating Andrew

  Bradley, whose right leg had been severed, out of the HMMWV.

         3398. Following the explosion of the EFP, the convoy was attacked by a sniper on a

  nearby roof.

         3399. As a result of the attack, Mr. Ward was diagnosed with PTSD. He sought

  counseling once he came back to the U.S.

         3400. As a result of the attack, Plaintiff Patrick Ward has experienced severe mental

  anguish and extreme emotional pain and suffering.

         3401. Plaintiff Jarrett Ward is a citizen of the United States and domiciled in the State of

  Pennsylvania. He is the son of Patrick Ward.

         3402. As a result of the attack, and the injuries Patrick Ward suffered, Plaintiff Jarrett

  Ward has experienced severe mental anguish and extreme emotional pain and suffering.

         185.    THE JANUARY 18, 2009 ATTACK – BAGHDAD

  The Andrade Family

         3403. Roberto Andrade, Jr. was a citizen of the United States and domiciled in the State

  of Illinois when he was killed in Iraq.




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          3404. On January 18, 2009, Roberto Andrade, Jr., aged 26, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

          3405. Roberto Andrade, Jr. was killed in the attack.

          3406. The weapon used to kill Roberto Andrade, Jr. was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

          3407. Roberto Andrade, Sr. is a citizen of the United States and domiciled in the State of

  Arizona. He is the father of Roberto Andrade, Jr.

          3408. Roberto Andrade, Sr. brings an action on behalf of the Estate of Roberto Andrade,

  Jr., as its legal representative, for his death and any suffering and/ or economic loss he/his Estate

  sustained as a result of the attack.

          3409. Plaintiff Sandra Valencia is a citizen of the United States and domiciled in the State

  of Arizona. She is the mother of Roberto Andrade, Jr.

          3410. As a result of the attack, and the death of Roberto Andrade, Jr., Plaintiff Sandra

  Valencia has experienced severe mental anguish, extreme emotional pain and suffering, and loss

  of their son’s/brother’s society, companionship, comfort, advice and counsel.

          186.    THE FEBRUARY 26, 2009 ATTACK – ADHAMIYAH

  The Connelly Family

          3411. Brian Connelly was a citizen of the United States and domiciled in the State of New

  Jersey when he was killed in Iraq.

          3412. On February 26, 2009, Brian Connelly, aged 26, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle in the

  Adhamiyah District in eastern Baghdad.




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         3413. Brian Connelly was killed in the attack.

         3414. The weapon used to kill Brian Connelly was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3415. Plaintiff Kara Connelly is a citizen of the United States and domiciled in the State

  of New Jersey. She is the widow of Brian Connelly.

         3416. Plaintiff Jean Dammann is a citizen of the United States and domiciled in the State

  of Ohio. She is the mother of Brian Connelly.

         3417. Plaintiff Mark Dammann is a citizen of the United States and domiciled in the State

  of Ohio. He is the father of Brian Connelly.

         3418. Plaintiff Kevin Connelly is a citizen of the United States and domiciled in the State

  of New Jersey. He is the brother of Brian Connelly.

         3419. As a result of the attack, and the death of Brian Connelly, Plaintiffs Kara Connelly,

  Jean Dammann, Mark Dammann and Kevin Connelly have experienced severe mental anguish,

  extreme emotional pain and suffering, and loss of their husband’s/son’s/brother’s society,

  companionship, comfort, advice and counsel.

         187.    THE MAY 16, 2009 ATTACK – BASRA

  The Schaefer Family

         3420. David Schaefer was a citizen of the United States and domiciled in the State of

  Illinois, County of St. Clair, when he was killed in Iraq.

         3421. On May 16, 2009, David Schaefer, aged 27, was serving in the United States

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         3422. David Schaefer was killed in the attack.




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         3423. The weapon used to kill David Schaefer was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3424. Plaintiff Rhonda Kemper is a citizen of the United States and domiciled in the State

  of Kentucky. She is the mother of David Schaefer.

         3425. As a result of the attack, and the death of David Schaefer, Plaintiff Rhonda Kemper

  has experienced severe mental anguish, extreme emotional pain and suffering, and loss of her son’s

  society, companionship, comfort, advice and counsel.

         188.    THE MAY 17, 2009 ATTACK – BAGHDAD

  The Canine Family

         3426. Robert Canine is a citizen of the United States and domiciled in the State of

  Missouri.

         3427. On May 17, 2009, Robert Canine, age 29, was serving in the U.S. military in Iraq.

         3428. Mr. Canine was on a routine patrol in northwest Baghdad when his vehicle was

  struck by an EFP emplaced by Special Groups.

         3429. The weapon used to injure Mr. Canine was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3430. As a result of the attack, he sustained significant injuries due to the impact of

  shrapnel and portions of the explosive device impacting his body.

         3431. Mr. Canine’s injuries included significant damage to his right leg and foot and the

  essential removal of the toes of his left foot as well as the loss of a great deal of blood.

         3432. The injuries necessitated the amputation of his right leg and left foot.




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          3433. Apart from the injuries to his legs and feet, he also sustained a large laceration that

  ran from his buttocks to the back of his knee. It was determined that muscle and tissue was removed

  in these areas due to the blast.

          3434. Mr. Canine has suffered infections that have required treatment and assessment.

          3435. Apart from medical treatment while in Iraq, Mr. Canine received treatment and

  rehabilitation at Walter Reed Hospital for approximately 18 months.

          3436. Mr. Canine has been diagnosed with PTSD and has received treatment and

  counseling. He has been prescribed medication to address both the pain and emotional impact of

  the attack.

          3437. Mr. Canine continues to experience pain and emotional distress each day, and he

  receives treatment for his injuries.

          3438. Plaintiff S.C., a minor, represented by his legal guardian Robert Canine, is a citizen

  of the United States and domiciled in the State of Missouri. He is the son of Robert Canine.

          3439. Plaintiff Jennifer Roose is a citizen of the United States and domiciled in the State

  of Ohio. She is the sister of Robert Canine.

          3440. As a result of the attack, and the injuries Robert Canine suffered, Plaintiffs S.C. and

  Jennifer Roose have experienced severe mental anguish and extreme emotional pain and suffering.

  The Murphy Family

          3441. Plaintiff Rhett Murphy is a citizen of the United States and domiciled in the State

  of Minnesota.

          3442. On May 17, 2009, Rhett Murphy, then 30, was serving in the U.S. military in Iraq.

          3443. Mr. Murphy was on a routine patrol in northwest Baghdad when his vehicle was

  struck by an EFP.




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          3444. The weapon used to injure Mr. Murphy was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          3445. As a result of the attack, he sustained significant injuries due to the impact of

  shrapnel impacting his body. This has resulted in scarring.

          3446. Apart from the shrapnel-related injuries he also sustained injuries to the tendons in

  his left hand a fracture of his finger. These have necessitated various surgical procedures.

          3447. Mr. Murphy has been diagnosed with PTSD and major depression and has received

  treatment and counseling. He has been prescribed medication to address both the pain and

  emotional impact of the attack.

          3448. Mr. Murphy continues emotional distress and he receives treatment for his injuries.

          3449. As a result of the attack, and the injuries he suffered, Plaintiff Rhett Murphy has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

  The Landtiser Family

          3450. Plaintiff Roady Landtiser is a citizen of the United States and domiciled in the State

  of Oklahoma.

          3451. On May 17, 2009, Roady Landtiser, then 21, was serving in the U.S. military in

  Iraq.

          3452. Mr. Landtiser was on a routine patrol in northwest Baghdad when his vehicle was

  struck by an EFP.

          3453. The weapon used to injure Mr. Landtiser was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.




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          3454. As a result of the attack, he sustained a concussion and was rendered unconscious.

          3455. He developed tinnitus in his right ear and this condition continues to the present

  day.

          3456. Mr. Landtiser has experienced flashbacks and night terrors.

          3457. He has been diagnosed with PTSD. He has received treatment, has been prescribed

  medication, and sought counseling for these issues.

          3458. As a result of the attack, and the injuries he suffered, Plaintiff Roady Landtiser has

  experienced severe mental anguish and extreme emotional pain and suffering.

  The Richards Family

          3459. Plaintiff Nathan Richards is a citizen of the United States and domiciled in the State

  of Florida.

          3460. On May 17, 2009, Nathan Richards, then 22, was serving in the U.S. military in

  Iraq.

          3461. Mr. Richards was on a routine patrol in northwest Baghdad when his vehicle was

  struck by an EFP.

          3462. The weapon used to injure Mr. Richards was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          3463. As a result of the attack, he sustained a concussion and was knocked unconscious.

  His eardrum was also ruptured as a result of the blast.

          3464. Mr. Richards has developed vertigo and has experienced migraines.

          3465. He has been diagnosed with a TBI and has dealt with long-term and short-term

  memory loss.




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         3466. He has been diagnosed with PTSD and has had nightmares and flashbacks as well

  as experienced survivor’s guilt. He has received treatment and counseling for these issues.

         3467. As a result of the attack, and the injuries he suffered, Plaintiff Nathan Richards has

  experienced severe mental anguish and extreme emotional pain and suffering.

         3468. Plaintiff Steven Richards is a citizen of the United States and domiciled in the State

  of Massachusetts. He is the father of Nathan Richards.

         3469. As a result of the attack, and the injuries suffered by Nathan Richards, Plaintiff

  Steven Richards has experienced severe mental anguish, and extreme emotional pain and

  suffering.

         189.    THE JUNE 14, 2009 ATTACK – BALAD

  The Songer Family

         3470. Plaintiff Christopher Songer is a citizen of the United States and domiciled in the

  State of Washington.

         3471. On June 14, 2009, Christopher Songer, then 36, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         3472. The weapon used to injure Christopher Songer was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         3473. As a result of the attack, Christopher Songer suffered a broken middle finger, deep

  lacerations on both hands requiring reconstructive surgery, shrapnel throughout his body, burns to

  hands, arms, face and legs, a large should wound and multiple bone fractures. He also suffered

  from smoke inhalation which damaged lungs, nerve damage and hearing loss. He also suffers from

  TBI.




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         3474. As a result of the attack, and the injuries he suffered, Plaintiff Christopher Songer

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

         3475. Plaintiff Kimberly Songer is a citizen of the United States and domiciled in the

  State of Washington. She is the wife of Christopher Songer.

         3476. Plaintiff C.S., a minor represented by his legal guardian, Kimberly Songer, is a

  citizen of the United States and domiciled in the State of Washington. He is the son of Christopher

  Songer.

         3477. As a result of the attack, and the injuries suffered by Christopher Songer, Plaintiffs

  Kimberly Songer and C.S. have experienced severe mental anguish, and extreme emotional pain

  and suffering.

         190.      THE SEPTEMBER 8, 2009 ATTACK – BAGHDAD

  The Helton Family

         3478. Joseph D. Helton, Jr. was a citizen of the United States and domiciled in the State

  of Georgia when he was killed in Iraq.

         3479. On September 8, 2009, Joseph D. Helton, Jr., aged 24, was serving in the U.S.

  military in Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         3480. Joseph D. Helton Jr. was killed in the attack.

         3481. The weapon used to kill Joseph D. Helton, Jr. was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         3482. Plaintiff Joseph Helton, Sr. is a citizen of the United States and domiciled in the

  State of Washington. He is the father of Joseph D. Helton, Jr.




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         3483. Plaintiff Joseph Helton, Sr. brings an action individually and on behalf of the Estate

  of Joseph D. Helton, Jr., as its legal representative.

         3484. Plaintiff Jessica Cabot is a citizen of the United States and domiciled in the State

  of California. She is the sister of Joseph D. Helton, Jr.

         3485. Plaintiff Jeanne Rhea McManus is a citizen of the United States and domiciled in

  the State of Pennsylvania. She is the sister of Joseph D. Helton, Jr.

         3486. As a result of the attack, and the death of Joseph D. Helton, Jr., Plaintiffs Joseph

  Helton, Sr., Jessica Cabot, and Jeanne Rhea McManus have experienced severe mental anguish,

  extreme emotional pain and suffering and loss of their son’s/brother’s society, companionship,

  comfort, advice and counsel.

  The Wise Family

         3487. Plaintiff Victor Ray Wise, II is a citizen of the United States and domiciled in the

  State of Kentucky.

         3488. On September 8, 2009, Victor Ray Wise, II, then 22, was serving in the U.S.

  military in Iraq when an EFP detonated near his vehicle.

         3489. The weapon used to injure Victor Ray Wise, II was a Hezbollah-designed and

  Iranian-manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction,

  using specialized training and components supplied by Hezbollah and the IRGC.

         3490. Mr. Wise was in the gunner’s hatch when the EFP hit the vehicle he was in.

         3491. He was extricated from the vehicle and tourniquets were placed on his legs and was

  initially treated at Camp Falcon. He was then taken to a hospital up north for surgery.

         3492. He was subsequently taken to Landstuhl, Germany and then Walter Reed Army

  Medical Center where he spent six months. He has undergone eleven surgeries. After six months




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  at Walter Reed Army Medical Center, Mr. Wise was sent to Omaha Offutt Air Force Base, where

  he was treated at the base hospital.

          3493. The EFP hit Mr. Wise’s legs. He had to have some of his toes amputated. He also

  sustained nerve damage to his legs and is missing muscles in legs, some of which had to be

  amputated.

          3494. Mr. Wise was diagnosed with PTSD as a result of the attack.

          3495. As a result of the attack, and the injuries he suffered, Plaintiff Victor Ray Wise, II

  has experienced severe physical and mental anguish and extreme emotional pain and suffering.

          191.    THE JANUARY 18, 2010 ATTACK – BAGHDAD

  The Lester Family

          3496. Plaintiff Theodore Lester is a citizen of the United States and domiciled in the State

  of Texas.

          3497. On January 18, 2010, Theodore Lester, then 32, and a former soldier in the U.S.

  military, was serving as a civilian contractor in Baghdad, Iraq when his camp was attacked with

  Katyusha rockets deployed by JAM Special Groups.

          3498. While running for cover from the Katyusha rockets, Mr. Lester was injured in the

  attack when he stepped into an existing mortar impact hole. Mr. Lester fell to the ground and was

  forced to crawl to cover.

          3499. The rocket attack was perpetrated by JAM Special Groups terror operatives

  working at the direction of Hezbollah and the IRGC-QF, using weapons supplied by the IRGC-

  QF and employing training provided by Hezbollah.

          3500. Mr. Lester was only able to obtain an X-ray of his foot a day later, which revealed

  that he had fractured three bones in his left foot. Mr. Lester still experiences pain in his left leg and




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  foot from his injuries.

         3501. Mr. Lester was subsequently diagnosed with, and treated for, PTSD.

         3502. As a result of the attack, and the injuries he suffered, Plaintiff Theodore Lester has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.

         192.    THE APRIL 27, 2010 ATTACK - KHALIS

  The Coe Family

         3503. Keith Coe was a citizen of the United States and domiciled in the State of Florida

  when he was killed in Iraq.

         3504. On April 27, 2010, Keith Coe, aged 30, was serving in the U.S. military in Iraq.

         3505. Mr. Coe was north of his base in Iraq when his vehicle was struck by an EFP

  emplaced by Special Groups.

         3506. The weapon used to kill Mr. Coe was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3507. Plaintiff Katrina Coe is a citizen of the United States and domiciled in the State of

  Tennessee. She is the widow of Keith Coe.

         3508. Plaintiff Katrina Coe brings an action individually and on behalf of the Estate of

  Keith Coe, as its legal representative.

         3509. Plaintiff K.A.C., a minor represented by his legal guardian, Katrina Coe, is a citizen

  of the United States and domiciled in the State of Tennessee. He is the son of Keith Coe.

         3510. Plaintiff K.A.C., a minor represented by his legal guardian, Katrina Coe, is a citizen

  of the United States and domiciled in the State of Tennessee. He is the son of Keith Coe.




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         3511. Plaintiff K.A.C., a minor represented by her legal guardian, Katrina Coe, is a citizen

  of the United States and domiciled in the State of Tennessee. She is the daughter of Keith Coe.

         3512. Plaintiff Rhonda Smith is a citizen of the United States and domiciled in the State

  of Florida. She is the mother of Keith Coe.

         3513. Plaintiff Matthew Coe is a citizen of the United States and domiciled in the State

  of Florida. He is the brother of Keith Coe.

         3514. Plaintiff Sabrina Chapman is a citizen of the United States and domiciled in the

  State of Florida. She is the sister of Keith Coe.

         3515. As a result of the attack, and the death of Keith Coe, Plaintiffs Katrina Coe, K.A.C,

  K.A.C., K.A.C., Rhonda Smith, Matthew Coe and Sabrina Chapman have experienced severe

  physical and mental anguish and extreme emotional pain and suffering and loss of their

  husband’s/father’s/son’s/brother’s society, companionship, comfort, advice and counsel.

         193.    THE MARCH 10, 2011 ATTACK – BAGHDAD

  The Kinsey Family

         3516. Plaintiff James Kinsey is a citizen of the United States and domiciled in the State

  of Arkansas.

         3517. On March 10, 2011, James Kinsey, then 34, was serving in the U.S. military in Iraq

  when his base came under indirect fire by JAM Special Groups terror operatives working at the

  direction of Hezbollah and the IRGC-QF, using weapons supplied by the IRGC-QF and employing

  training provided by Hezbollah.

         3518. An Iranian-made 240mm rocket exploded within the base perimeter, approximately

  50 meters from where Mr. Kinsey was standing.




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         3519. The resulting blast threw Mr. Kinsey into a barrier wall, and he suffered a severe

  concussion.

         3520. Mr. Kinsey was later diagnosed with a TBI and PTSD from the attack.

         3521. As a result of the attack, and the injuries he suffered, Plaintiff James Kinsey has

  experienced severe mental anguish and extreme emotional pain and suffering.

         194.    THE APRIL 22, 2011 ATTACK – NUMANIYAH

  The Stiggins Family

         3522. Antonio Stiggins was a citizen of the United States and domiciled in the State of

  New Mexico when he was killed in Iraq.

         3523. On April 22, 2011, Antonio Stiggins, aged 25, was serving in the U.S. military in

  Iraq when an EFP emplaced by Special Groups detonated near his vehicle.

         3524. Antonio Stiggins was killed in the attack.

         3525. The weapon used to kill Antonio Stiggins was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3526. Plaintiff Angel Mayes is a citizen of the United States and domiciled in the State of

  New Mexico. She is the mother of Antonio Stiggins.

         3527. Plaintiff Angel Mayes brings an action individually and on behalf of the Estate of

  Antonio Stiggins, as its legal representative.

         3528. Plaintiff Luke Stiggins is a citizen of the United States and domiciled in the State

  of New Mexico. He is the father of Antonio Stiggins.

         3529. Plaintiff Donald Mayes is a citizen of the United States and domiciled in the State

  of New Mexico. He is the step-father of Antonio Stiggins.




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          3530. As a result of the attack, and the death of Antonio Stiggins, Plaintiffs Angel Mayes,

  Luke Stiggins, and Donald Mayes have experienced severe mental anguish, extreme emotional

  pain and suffering, and loss of their son’s society, companionship, comfort, advice and counsel.

          195.    THE MAY 22, 2011 ATTACK – BAGHDAD

  The Beattie Family

          3531. Clifford Beattie was a citizen of the United States and domiciled in the State of

  Washington when he was killed in Iraq.

          3532. On May 22, 2011, Clifford Beattie, aged 37, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

          3533. Clifford Beattie was killed in the attack.

          3534. The weapon used to kill Clifford Beattie was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

          3535. Plaintiff Rhonda Beattie is a citizen of the United States and domiciled in the State

  of Ohio. She is the mother of Clifford Beattie.

          3536. Plaintiff Rhonda Beattie brings an action individually and on behalf of the Estate

  of Clifford Beattie, as its legal representative.

          3537. Plaintiff Jaydean Hamilton is a citizen of the United States and domiciled in the

  State of Washington. She is the daughter of Clifford Beattie.

          3538. As a result of the attack, and the death of Clifford Beattie, Plaintiffs Rhonda Beattie

  and Jaydean Hamilton have experienced severe mental anguish, extreme emotional pain and

  suffering, and loss of their son’s/father’s society, companionship, comfort, advice and counsel.




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           196.   THE JUNE 6, 2011 ATTACK – BAGHDAD

  The Fishbeck Family

           3539. Christopher Brook Fishbeck was a citizen of the United States and domiciled in the

  State of California.

           3540. On June 6, 2011, Christopher Brook Fishbeck, then 24 was serving in the U.S.

  military in Iraq when the base he was at, Forward Operating Base Loyalty in Baghdad, came under

  attack by IRAMs.

           3541. Christopher Brook Fishbeck was killed in the attack.

           3542. KH operatives fired the IRAMs at the base. Those operatives were trained by

  Hezbollah and funded and supplied by the IRGC-QF and they launched the attack at the direction

  of both Hezbollah and the IRGC-QF as their proxy. Specifically, KH claimed responsibility for

  the attack that killed Christopher Brook Fishbeck.

           3543. Plaintiff Stephanie Kidder is a citizen of the United States and domiciled in the

  State of California. She is the wife of Christopher Brook Fishbeck.

           3544. As a result of the attack, and the death of Christopher Brook Fishbeck, Plaintiff

  Stephanie Kidder has experienced severe mental anguish, extreme emotional pain and suffering,

  and loss of her husband’s society, companionship, comfort, advice and counsel.

           197.   THE JUNE 29, 2011 ATTACK – WASIT PROVINCE

  The Field Family

           3545. Plaintiff Donald Field is a citizen of the United States and domiciled in the State of

  Texas.

           3546. On June 29, 2011, Donald Field, then 42, was serving in the U.S. military in Iraq

  when his unit was attacked with IRAMs fired by KH Special Groups terror operatives.




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           3547. Those operatives were trained by Hezbollah and funded and supplied by the IRGC-

  QF and they launched the attack at the direction of both Hezbollah and the IRGC-QF as their

  proxy.

           3548. One of the many explosions caused a concrete retaining wall to fall, portions of

  which landed on Donald Field, rendering him unconscious.

           3549. When he came to, he was able to extricate himself from the debris and noticed much

  of his clothing had been burned and torn.

           3550. Both lower lobes of Donald Field’s lungs had collapsed due to the force of the blast

  and the concrete wall having landed on him.

           3551. He sustained injuries to his back, primarily to his lower vertebrae, requiring

  surgery. He has limited motion.

           3552. He has been prescribed medication to address the pain he experiences on a daily

  basis.

           3553. As a result of the blast, Mr. Field also suffered first and second-degree burns on his

  head, neck, and the back of his arms.

           3554. Mr. Field also injured the right side of his head and right ear. He has experienced

  and continues to deal with short-term cognitive and memory issues. He has undergone multiple

  surgeries to address the injuries to his head and ear.

           3555. Mr. Field has been diagnosed with a TBI.

           3556. He has sought counseling and continues to seek treatment with a psychiatrist. He

  has been prescribed medication for anxiety and mood-related issues.

           3557. As a result of the attack, and the injuries he suffered, Plaintiff Donald Field has

  experienced severe physical and mental anguish and extreme emotional pain and suffering.




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         3558. Plaintiff Angelica Field is a citizen of the United States and domiciled in the State

  of Texas. She is the of wife of Donald Field.

         3559. Plaintiff Senovia Field is a citizen of the United States and domiciled in the State

  of Texas. She is the of daughter of Donald Field.

         3560. Plaintiff Selicia Field is a citizen of the United States and domiciled in the State of

  Texas. She is the of daughter of Donald Field.

         3561. As a result of the attack, and the injuries Donald suffered, Plaintiffs Angelica Field,

  Senovia Field and Selicia Field have experienced severe mental anguish and extreme emotional

  pain and suffering.

         198.    THE JULY 15, 2011 ATTACK – BASRA

  The Elliott Family

         3562. Daniel L. Elliott was a citizen of the United States and domiciled in the state of

  North Carolina when he was killed in Iraq.

         3563. On July 15, 2011, Daniel L. Elliott, aged 21, was serving in the U.S. military in Iraq

  when an EFP emplaced by Special Groups detonated near his vehicle.

         3564. Daniel L. Elliott was killed in the attack.

         3565. The weapon used to kill Daniel L. Elliott was a Hezbollah-designed and Iranian-

  manufactured EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using

  specialized training and components supplied by Hezbollah and the IRGC.

         3566. Plaintiff Ed Elliott is a citizen of the United States and domiciled in the State of

  North Carolina. He is the father of Daniel L. Elliott.




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          3567. As a result of the attack, and the death of Daniel L. Elliott, Plaintiff Ed Elliott has

  experienced severe mental anguish, extreme emotional pain and suffering, and loss of his son’s

  society, companionship, comfort, advice and counsel.



                                       CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF

    CIVIL LIABILITY UNDER 18 U.S.C. § 2333(a) AGAINST ALL DEFENDANTS FOR
    VIOLATIONS OF 18 U.S.C. § 2339A CONSTITUTING ACTS OF INTERNATIONAL
                                  TERRORISM

          3568. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

  as if fully set forth herein.

          3569. By knowingly agreeing to provide, and providing, material support to Iran in an

  illegal manner, and knowing, or with deliberate indifference to the fact, that the objects and aims

  of the Conspiracy were to be used in preparation for or carrying out multiple acts set forth in 18

  U.S.C. § 2339A, each Defendant violated § 2339A’s express prohibition against conspiring to

  provide material support within the meaning of § 2339A, and committed and completed overt acts

  in furtherance of the Conspiracy.

          3570. Each Defendant’s conduct in agreeing to provide Iran with hundreds of millions (or

  more) of USD in an illegal manner, violated 18 U.S.C. § 2339A’s express prohibition against

  concealing or disguising the nature, location, source, or ownership of material support or resources,

  knowing that the material support or resources are to be used in preparation for, or in carrying out,

  a violation of any of 18 U.S.C. §§ 32, 37, 81, 175, 229, 351, 831, 842(m)-(n), 844(f) or (i), 930

  (c), 956, 1091, 1114, 1116, 1203, 1361, 1362, 1363, 1366, 1751, 1992, 2155, 2156, 2280, 2281,

  2332, 2332a, 2332b, 2332f, 2340A, or 2442, 42 U.S.C. § 2284, 49 U.S.C. §§ 46502 or 60123 (b),




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  or any offense listed in 18 U.S.C. § 2332b (g)(5)(B) (except for §§ 2339A and 2339B).

         3571. Both the Conspiracy itself and the acts of international terrorism that injured the

  Plaintiffs constitute acts of international terrorism under 18 U.S.C. § 2331, and constitute

  “engaging in terrorist activity” under 8 U.S.C. § 1182(a)(3)(B)(iii)-(iv), and/or “engaging in

  terrorism” under 22 U.S.C. § 2656f.

         3572. The Conspiracy between Iran and its agents and the Defendants (including

  Defendants John Does 1-50), and other non-defendant Co-conspirators resulted in the transfer of:

  (a) more than two hundred billion dollars through the United States in a manner designed to

  purposefully circumvent monitoring by U.S. regulators and law enforcement agencies; and (b)

  hundreds of millions of dollars to Hezbollah, the IRGC and other terrorist organizations (including

  the Special Groups) actively engaged in murdering and maiming U.S. nationals in Iraq.

         3573. The Defendants (including Defendants John Does 1-50) together with other non-

  defendant Co-conspirators (including Iran) agreed to, and did in fact, purposefully transfer billions

  of USD through the United States knowing that such funds would be delivered to Iran and Iranian

  agents, and that the payment order messages facilitating such funds transfers had been deliberately

  and intentionally structured, designed, and processed in a manner expressly designed to ensure

  that such funds would not be detected or monitored by U.S. regulators and law enforcement

  agencies.

         3574. At the time each Defendant knowingly agreed to provide Iran material support in

  an illegal manner, each Defendant knew that the United States had formally designated Iran as a

  State Sponsor of Terrorism and knew, or was deliberately indifferent to the fact that, inter alia,

  Iran used the IRGC and Hezbollah as primary mechanisms to cultivate and support terrorism.

         3575. Among other things, and as documented in the U.S. State Department’s 2013




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  Country Reports on Terrorism, between 2004 and 2011 the IRGC, in concert with Hezbollah,

  provided training outside of Iraq, as well as sending advisors to Iraq, to assist, train, supply and

  guide Special Groups in the construction and use of EFPs and other advanced weaponry, devices

  that constitute “weapons of mass destruction” as defined in 18 U.S.C. § 2332a, incorporating the

  definition of “destructive devices” set forth in 18 U.S.C. § 924(4)(A)-(C).

         3576. Each Defendant knew or was deliberately indifferent to the fact that Iran, the IRGC,

  Hezbollah, and the Special Groups engaged or engages in terrorist activity (8 U.S.C. §

  1182(a)((3)(B)(iii)-(iv)), terrorism (22 U.S.C § 2656f), and acts of international terrorism (18

  U.S.C. § 2331), including facilitating, funding, preparing for, and supporting terrorist activity by

  the Special Groups.

         3577. Through this clandestine stream of U.S. dollars, each Defendant knew, or was

  deliberately indifferent to the fact that as a result of knowingly agreeing to join the Conspiracy to

  provide Iran with illegal material support, such conduct foreseeably (and in fact did) facilitate the

  transfer of hundreds of millions of dollars in payments to the IRGC and Hezbollah through the

  international financial system, including payments initiated, processed, altered, modified, falsified,

  or released by or through the Defendants.

         3578. Each Defendant knowingly and purposefully agreed to provide material support

  and services to Iran in an illegal manner, knowing or deliberately indifferent to the fact that such

  illegal support and services facilitated Iran’s clandestine support for the IRGC and Hezbollah, and

  that such agreements and resultant overt acts and conduct would foreseeably facilitate acts of

  international terrorism, terrorist activities, and terrorism, including homicides, attempted

  homicides, or conspiracies to commit homicide against U.S. nationals by the IRGC, Hezbollah and

  the Special Groups (including KH, JAM and AAH), as well as attacks conducted by weapons of




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  mass destruction, such as EFPs, and bombings, attempted bombings, or conspiracies to bomb

  places of public use, state or government facilities, public transportation systems, or infrastructure

  facilities by the IRGC, Hezbollah, and the Special Groups.

          3579. The material support that Defendants knowingly agreed to illegally provide to Iran,

  provided foreseeable, substantial assistance to the IRGC, Hezbollah and the Special Groups,

  thereby preparing and facilitating acts of terrorism in violation of 18 U.S.C. §§ 1114, 1203, 1362,

  2332(a), 2332(b), 2332(c), 2332a, and/or 2332f that caused Plaintiffs’ injuries.

          3580. The material support that Defendants knowingly agreed to illegally provide to Iran

  included facilitating tens of millions of dollars in illicit transactions on behalf of MODAFL, the

  IRGC, Mahan Air and other instrumentalities of Iranian state-sponsored terror to enable numerous

  violations of the U.S. trade embargo against Iran, concealing Iran’s efforts to evade U.S. sanctions

  and enabling Iran’s acquisition from the United States of goods and technologies prohibited by

  U.S. law to be sold or transferred to Iran, including components of IEDs deployed against Coalition

  Forces in Iraq.

          3581. Each Defendant also: knew of the existence of other conspirators including some

  or all of the Defendants; was aware that the other conspirators (including Defendants and Iranian

  Bank Co-conspirators) engaged in the same or similar conduct, and that the other conspirators

  shared the objective of providing material support to Iran in an illegal manner for the explicit

  purpose of enabling Iran to avoid U.S. sanctions and regulations enacted specifically to prevent

  Iran’s ability to finance, support, prepare for, plan, or carry out acts of international terrorism,

  including the types of acts that injured the Plaintiffs.

          3582. Each Defendant also knew or was deliberately indifferent to the fact that one of the

  specific aims and objectives of the Conspiracy was keeping U.S. depository institutions, law




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  enforcement and counter-terrorism agencies blind to Iran’s movement of U.S. dollars through the

  international financial system, and thus also knew or was deliberately indifferent to the fact that

  the overt acts they performed in furtherance of the Conspiracy facilitated that specific objective.

         3583. Having entered into an agreement to provide Iran material support in an illegal

  manner, in direct contravention of U.S. laws and regulations enacted expressly to mitigate Iran’s

  sponsorship of terrorism and terrorist organizations (including Weapons of Mass Destruction

  proliferation activities in furtherance of such sponsorship) each Defendant also knew or was

  deliberately indifferent to the fact, that the Conspiracy’s aims would foreseeably result in Iran

  transferring millions of dollars in order to engage in terrorist activities (8 U.S.C. §

  1182(a)(3)(B)(iii)-(iv)), terrorism (22 U.S.C. § 2656f), and acts of international terrorism (18

  U.S.C. § 2331).

         3584. The Defendants’ overt acts and agreement to purposefully transfer billions of

  dollars through the United States to Iran in a manner expressly designed to ensure that the funds

  could be transferred by and to Iran without being monitored by U.S. regulators and law

  enforcement agencies, involved acts that were dangerous to human life, by their nature, and as

  further evidenced by their consequences.

         3585. The Defendants’ acts either occurred primarily outside the territorial jurisdiction of

  the United States or transcended national boundaries in terms of the means by which they were

  accomplished.

         3586. Each Defendant’s agreement to enter into the Conspiracy and purposeful transfer

  of billions of dollars through the United States in a manner designed to purposefully circumvent

  monitoring by U.S. regulators and law enforcement agencies foreseeably resulted in material

  support being delivered in order to carry out or prepare for violations of, inter alia, 18 U.S.C. §§




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  2332(a)-(c), 2332a, and § 2332f by the IRGC, Hezbollah and the Special Groups, and were thus

  themselves acts of international terrorism because they either were, or objectively appear to have

  been intended to: (a) intimidate or coerce the civilian population of the United States and other

  nations, (b) influence the policy of the governments of the United States and other nations by

  intimidation or coercion, and/or (c) affect the conduct of the governments of the United States and

  other nations by facilitating the IRGC, Hezbollah and the Special Groups’ abilities to prepare for,

  support, fund, train, initiate, and/or carry out mass destruction and murder.

         3587. Each Defendant’s conduct was a substantial cause in fact and a significant factor in

  the chain of events leading to the Plaintiffs’ injuries, and foreseeably, substantially enhanced the

  IRGC, Hezbollah and the Special Groups’ ability to engage in terrorist activity (8 U.S.C. §

  1182(a)(3)(B)(iii)-(iv)), terrorism (22 U.S.C. § 2656f), and/or commit acts of international

  terrorism (18 U.S.C. § 2331) (including violations of 18 U.S.C. §§ 1114, 1203, 1362, 2332(a),

  2332(b), 2332(c), 2332a, and/or 2332f and 2339A). Each Defendant’s conduct was thus also a

  substantial, foreseeable factor in bringing about the Plaintiffs’ injuries.

         3588.    Furthermore, each Plaintiff’s injuries constitutes a harm falling within the

  foreseeable risk contemplated by each Defendant’s violations, including each Defendant’s

  knowing agreement to enter into the Conspiracy, each Defendant’s performance of overt acts in

  furtherance of the Conspiracy, and each Defendant’s knowledge or deliberate indifference to the

  full scope, objectives, and results of the Conspiracy. Injuries resulting from terrorist attacks

  (including attacks launched by the IRGC, Hezbollah and the Special Groups) that were planned,

  supported by, funded, or assisted by Iran are precisely the risks contemplated by Executive Orders,

  statutes and regulations (including, without limitation, designations under Executive Orders

  specifically concerning the IRGC, Defendant Bank Saderat Plc, and the IRISL) enacted




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  specifically to ensure that Iran had restricted access to USD and financial services under conditions

  of maximum transparency, that such dollars were used only for legitimate agencies, operations,

  and programs and not by or for the benefit of SDNs, and not for Iran’s efforts to acquire, develop,

  and distribute Weapons of Mass Destruction (including weapons such as EFPs directed at

  Coalition Forces), and to ensure that any funds Iran did receive that touched U.S. depository

  institutions could be monitored by U.S. regulators and law enforcement agencies.

          3589. Through its conduct as described above, by knowingly entering into the Conspiracy

  and violating 18 U.S.C. § 2339A in the manner and with the state of mind alleged above, each

  Defendant committed acts of international terrorism and is civilly liable for damages to each

  Plaintiff for their injuries pursuant to 18 U.S.C. § 2333(a).

                                  SECOND CLAIM FOR RELIEF

    CIVIL LIABILITY UNDER 18 U.S.C. § 2333(a) AGAINST ALL DEFENDANTS FOR
    VIOLATIONS OF 18 U.S.C. § 2339B CONSTITUTING ACTS OF INTERNATIONAL
                                  TERRORISM

          3590. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

  as if fully set forth herein.

          3591. In knowingly agreeing to provide, and providing, material support to Iran in an

  illegal manner, and knowing, or deliberately indifferent to the fact, that the objects and aims of the

  Conspiracy were to provide material support to Foreign Terrorist Organizations (FTOs), including

  Hezbollah and Kata’ib Hezbollah, each Defendant violated § 2339B’s express prohibition against

  conspiring to provide material support within the meaning of § 2339B, and committed and

  completed overt acts in furtherance of the Conspiracy

          3592. The Defendants herein (including Defendants John Does 1-50) and Iran agreed to,

  and did in fact, purposefully transfer hundreds of billions of dollars through the United States in a




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  manner expressly designed to purposefully circumvent monitoring by U.S. regulators and law

  enforcement agencies and evade U.S. sanctions; minimize the transparency of their financial

  activities; and knowingly, or with deliberate indifference, facilitated the transfer of tens of millions

  of dollars in payments to Hezbollah through the international financial system. In doing so, the

  Defendants were willing to, and did, commit numerous felonies under U.S. law to assist Iran in

  concealing its financial activities and violated 18 U.S.C. § 2339B by knowingly, or with deliberate

  indifference, entering the Conspiracy, which provided material support to FTOs that were

  responsible for Plaintiffs’ injuries.

          3593. At the time each Defendant knowingly agreed to provide Iran material support in

  an illegal manner, each Defendants knew that Iran had, since 1984, been officially designated by

  the United States as a State Sponsor of Terrorism, subject to various U.S. sanctions, and knew or

  were deliberately indifferent to the fact that such designation was based in part on Iran’s

  sponsorship and patronage of Hezbollah and other FTOs, and that Iran used Hezbollah as a primary

  mechanism to enable it to cultivate and support terrorism.

          3594. Each Defendant knew, or was deliberately indifferent to the fact that, Hezbollah

  was designated an FTO at all times relevant to this action. Each Defendant also knew that

  Hezbollah engaged in terrorist activities (8 U.S.C. § 1183(a)(3)(B)(iii)-(iv)), terrorism (22 U.S.C.

  § 2656f), and acts of international terrorism (18 U.S.C. § 2331).

          3595. Each Defendant knew or was deliberately indifferent to the fact that its agreement

  to provide Iran material support in an illegal manner, and the overt acts it completed in connection

  with the Conspiracy unlawfully evaded U.S. sanctions and regulations directed at mitigating the

  risk that Iran would carry out, support, fund, plan for, prepare, conspire with, or facilitate acts of

  international terrorism by FTOs, including acts planned, attempted, and perpetrated by Iran’s




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  proxy, agent, and strategic partner, Hezbollah.

          3596. Both the Conspiracy itself and the acts of international terrorism that injured the

  Plaintiffs constitute acts of international terrorism under 18 U.S.C. § 2331, and constitute

  “engaging in terrorist activity” under 8 U.S.C. § 1182(a)(3)(B)(iii)-(iv), and/or “engaging in

  terrorism” under 22 U.S.C. § 2656f.

          3597. Each Defendant also: knew of the existence of other Co-conspirators including

  some or all of the Defendants; was aware that the other Co-conspirators (including Defendants and

  Iranian Bank Co-conspirators) engaged in the same or similar conduct, and that the other Co-

  conspirators shared the objective of providing material support and services to Iran in an illegal

  manner for the explicit purpose of enabling Iran to avoid U.S. sanctions and regulations enacted

  specifically to prevent Iran’s ability to finance, support, prepare for, plan, or carry out acts by FTOs

  including Iran’s proxy, agent, and strategic partner, Hezbollah.

          3598. Each Defendant also knew or was deliberately indifferent to the fact that one of the

  specific aims and objectives of the Conspiracy was to keep U.S. depository institutions, law

  enforcement and counter-terrorism agencies blind to Iran’s movement of U.S. dollars through the

  international financial system, and thus also knew or was deliberately indifferent to the fact that

  the overt acts it performed in furtherance of the Conspiracy facilitated that specific objective.

          3599. Having entered into an agreement to provide Iran material support in an illegal

  manner, in direct contravention of U.S. laws and regulations enacted expressly to mitigate Iran’s

  sponsorship of terrorism and terrorist organizations (including Weapons of Mass Destruction

  proliferation activities in furtherance of such sponsorship), each Defendant also knew or was

  deliberately indifferent to the fact, that the Conspiracy’s aims would foreseeably result in Iran

  transferring millions of dollars to Hezbollah, an FTO.




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         3600. The material support that each Defendant, through the Conspiracy, knowingly, or

  with deliberate indifference, provided to Hezbollah, constituted substantial assistance to

  Hezbollah, thereby facilitating acts of terrorism in violation of §§ 1114, 1203, 1362, 2332(a),

  2332(b), 2332(c), 2332a, and/or 2332f, and that have caused injuries to Plaintiffs.

         3601. The Defendants’ overt acts in entering into the Conspiracy and knowingly agreeing

  to provide Iran – a known and designated State Sponsor of Terrorism – material support and

  services in an illegal manner, and resultant, purposeful transfer of billions of USD through the

  United States in a manner expressly designed to ensure that the funds could be transferred without

  being monitored by U.S. regulators and law enforcement agencies – involved acts that were

  dangerous to human life, by their nature, and as further evidenced by their consequences.

         3602. The Defendants’ acts either occurred primarily outside the territorial jurisdiction of

  the United States or transcended national boundaries in terms of the means by which they were

  accomplished.

         3603. Each Defendant’s agreement to enter into the Conspiracy and purposeful transfer

  (collectively) of billions of dollars through the United States in a manner designed to purposefully

  circumvent monitoring by U.S. regulators and law enforcement agencies foreseeably resulted in

  material support being provided to FTOs, and were thus themselves acts of international terrorism

  because they either were, or objectively appear to have been intended to: (a) intimidate or coerce

  the civilian population of the United States and other nations, (b) influence the policy of the

  governments of the United States and other nations by intimidation or coercion (in part to cause

  them to withdraw Coalition Forces from Iraq), and/or (c) affect the conduct of the governments of

  the United States and other nations by facilitating Hezbollah’s role in killing and injuring hundreds

  of American nationals in Iraq.




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         3604. Each Defendant’s conduct was a substantial cause in fact and a significant factor in

  the chain of events leading to the Plaintiffs’ injuries, and foreseeably, substantially accelerated and

  multiplied Hezbollah’s ability to engage in terrorist activity (8 U.S.C. § 1182(a)(3)(B)(iii)-(iv)),

  terrorism (22 U.S.C. § 2656f), and acts of international terrorism under the definition set forth in

  18 U.S.C. § 2331. Each Defendant’s conduct was thus also a substantial, foreseeable factor in

  bringing about the Plaintiffs’ injuries.

         3605. Furthermore, each Plaintiff’s injuries constitutes a harm falling within the risk

  contemplated by each Defendant’s violations, including each Defendant’s knowing agreement to

  enter into the Conspiracy, the overt acts each Defendant performed in furtherance of the

  Conspiracy, and each Defendant’s knowledge of, or deliberate indifference to, the fact that a

  specific, foreseeable aim and purpose of the Conspiracy was to provide material support to

  Hezbollah and other FTOs. Injuries resulting from terrorist attacks planned, designed, assisted,

  funded, initiated, and/or overseen by Hezbollah are precisely the risks contemplated by statutes,

  regulations and Executive Orders designed to ensure that Hezbollah’s sponsor, principal, and

  strategic partner – Iran – had restricted access to U.S. dollars and financial services, and that any

  funds it did receive that touched U.S. depository institutions were transparent and could be blocked

  if warranted.

         3606. Through its conduct as described above, by knowingly entering into the Conspiracy

  and violating 18 U.S.C. § 2339B in the manner and with the state of mind alleged above, each

  Defendant committed acts of international terrorism and is civilly liable for damages to each

  Plaintiff for their injuries pursuant to 18 U.S.C. § 2333(a).




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                                  THIRD CLAIM FOR RELIEF

   CIVIL LIABILITY AGAINST HSBC BANK USA, N.A. UNDER 18 U.S.C. § 2333(a) FOR
    VIOLATIONS OF 18 U.S.C. § 2332d CONSTITUTING ACTS OF INTERNATIONAL
                                  TERRORISM


          3607. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

  as if fully set forth herein.

          3608. Defendant HSBC-US is a juridical person organized under the laws of the United

  States pursuant to 18 U.S.C. § 2332d(b)(2)(C), and is also a person within the United States

  pursuant to 18 U.S.C. § 2332d(b)(2)(D).

          3609. As alleged above, at all relevant times HSBC-US knew that Iran was a country

  designated by the United States under section 6(j) of the Export Administration Act of 1979 (50

  App. U.S.C. 2405) as a country supporting international terrorism, yet HSBC-US nevertheless

  engaged in thousands of financial transactions with Iran in violation of 18 U.S.C. § 2332d.

          3610. Defendant HSBC-US also knew, or was deliberately indifferent to the fact, that

  Hezbollah had been designated an FTO.

          3611. Defendant HSBC-US also knew, or was deliberately indifferent to the fact, that the

  IRGC-QF had been designated an SDGT.

          3612. Defendant HSBC-US also knew, or was deliberately indifferent to the fact, that

  Bank Saderat (including Defendant Bank Saderat Plc) had been designated an SDGT.

          3613. Defendant HSBC-US also knew, or was deliberately indifferent to the fact, that the

  IRGC had been designated an SDN.

          3614. Defendant HSBC-US also knew or was deliberately indifferent to the fact that Bank

  Melli (including Melli Bank Plc), Bank Saderat (including Defendant Bank Saderat Plc), Bank

  Mellat, and Bank Sepah had been designated SDNs before November 2008, and, as such, were



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  excluded from accessing the U-Turn exemption in the Iranian Transaction Regulations.

         3615. Defendant HSBC-US also knew or was deliberately indifferent to the fact that the

  IRISL and multiple IRISL entities had been designated SDNs.

         3616. As alleged above, HSBC-US knowingly conducted illegal financial transactions on

  behalf of Iran through Bank Melli and other Iranian counter-parties that did not fall within the safe

  harbor provisions of the regulations issued by the U.S. Treasury Department – regulations passed

  for the specific purposes of mitigating the risk that funds transfers to Iran could be used to: engage

  in terrorist activity under 8 U.S.C. § 1182(a)(3)(B)(iii)-(iv), terrorism under 22 U.S.C. § 2656f, or

  acts of international terrorism under 18 U.S.C. § 2331.

         3617. In fact, the transactions at issue (including at least the $183 million HSBC-US

  facilitated on behalf of sanctioned entities in Iran that were identified in HSBC-US’s December

  11, 2012 Deferred Prosecution Agreement with DOJ) explicitly violated 31 C.F.R 535.701(a)(2)

  and 31 C.F.R 560.203.

         3618. Defendant HSBC-US knew that Defendants HSBC-Europe and HSBC-Middle East

  were deliberately altering and omitting information in funds transfer payment order messages

  being processed through HSBC-US, thereby evading U.S. laws and regulations whose express

  purpose was (and is) to ensure that only a very limited class of payments could be facilitated to

  Iran, and that payment order messages for such funds transfers required transparency in order to

  ensure that the transfers qualified for the limited exceptions and exemptions, and did not result in

  U.S. depository institutions processing transactions for the benefit of SDNs.

         3619. As alleged in detail above, throughout the relevant time period, HSBC-US knew

  that other HSBC Defendants such as HSBC-London and HSBC-Middle East were providing

  material support to Iran in a manner violating U.S. laws and regulations, and HSBC-US also knew




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  its own systems and networks were being used to facilitate the HSBC Defendants’ illegal conduct.

         3620. Defendant HSBC-US also thus knew or was deliberately indifferent to the fact that

  Iran, the IRGC, IRISL, Hezbollah, and Defendant Bank Saderat Plc all engaged in terrorist activity

  under 8 U.S.C. § 1182(a)(3)(B)(iii)-(iv), terrorism under 22 U.S.C. § 2656f, and acts of

  international terrorism under 18 U.S.C. § 2331 (including violations of 18 U.S.C. §§ 1114, 1203,

  1362, 2332(a), 2332(b), 2332(c), 2332a, and/or 2332f), and that Iran provided massive support and

  sponsorship for violations of all these statutes, while also providing support for other acts of

  international terrorism, such as those planned, attempted, and perpetrated by the Special Groups.

         3621. Knowing that Defendants HSBC-London and HSBC-Middle East were moving

  billions of sanctions-evading Iranian USD through HSBC-US’s offices with the specific intent of

  defeating HSBC-US’s OFAC filters and violating HSBC-US reporting requirements, it was

  reasonably foreseeable that HSBC-US’s conduct would aid Iran and Iran’s agents, proxies, and

  strategic partners (including Hezbollah, the IRGC, and Special Groups) to engage in terrorist

  activity under 8 U.S.C. § 1182(a)(3)(B)(iii)-(iv), terrorism under 22 U.S.C. § 2656f, and acts of

  international terrorism under 18 U.S.C. § 2331.

         3622. Because Defendant HSBC-US is a financial institution operating in the United

  States, at all times relevant to the Complaint, it is deemed by law to be aware of all designations

  made to the SDN list, including without limitation designations for Iran, Hezbollah, the IRGC, the

  IRGC-QF, Bank Saderat (including Defendant Bank Saderat Plc), Bank Melli, Bank Mellat, Bank

  Sepah, IRISL (and multiple IRISL entities).

         3623. Defendant HSBC-US thus also knew or was deliberately indifferent to the fact that

  Bank Melli (including Melli Bank Plc), Bank Saderat (including Defendant Bank Saderat Plc)




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  Bank Mellat, and Bank Sepah had been designated SDNs before November 2008, and, as such,

  were excluded from accessing the U-Turn exemption in the Iranian Transaction Regulations.

          3624. Defendant HSBC-US’s conduct foreseeably and substantially enhanced

  Hezbollah’s, the IRGC’s and the Special Groups’ and other Iranian-sponsored terrorists’ ability to

  engage in terrorist activity, including preparing and facilitating acts of terrorism in violation of 18

  U.S.C. §§ 1114, 1203, 1362, 2332(a), 2332(b), 2332(c), 2332a, and/or 2332f that caused Plaintiffs’

  injuries, and thus HSBC-US’s conduct was also a substantial, foreseeable factor in bringing about

  the Plaintiffs’ injuries.

          3625. Defendant HSBC-US’s knowing or deliberately indifferent provision of illegal

  financial services to Iran, enabled Iran to move billions of U.S. dollars through the United States

  without those funds being monitored by U.S. regulators and law enforcement agencies and

  therefore involved acts that were dangerous to human life, by their nature and as evidenced by

  their consequences.

          3626. Defendant HSBC-US’s acts transcended national boundaries in terms of the means

  by which they were accomplished.

          3627. Defendant HSBC-US’s conduct itself constitutes an act of international terrorism

  because it either was, or objectively appears to have been intended to: (a) intimidate or coerce the

  civilian population of the United States and other nations, (b) influence the policy of the

  governments of the United States and other nations by intimidation or coercion, and/or (c) affect

  the conduct of the governments of the United States and other nations by facilitating Iran’s ability

  to prepare for and/or carry out mass destruction and murder.

          3628. Furthermore, each Plaintiff’s injuries constitute a harm falling within the risk

  contemplated by Defendant HSBC-US’s violations, including its knowing agreement to provide




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  illegal services to Iran. Injuries resulting from terrorist attacks (including attacks launched by

  Hezbollah through its proxies) that were planned, supported by, funded, or assisted by the IRGC

  and/or Hezbollah are precisely the risks contemplated by Executive Orders, statutes and

  regulations designed to ensure that Iran had restricted access to U.S. dollars and financial services,

  and that any funds it did receive that touched U.S. depository institutions could be monitored by

  U.S. regulators and law enforcement agencies, and that the transactions were not for the benefit of

  SDNs.

          3629. Through its conduct as described above, by violating § 2332d in the manner and

  with the state of mind alleged above, HSBC-US committed acts of international terrorism, and is

  civilly liable for damages to each Plaintiff for their injuries pursuant to 18 U.S.C. § 2333(a).

                                  FOURTH CLAIM FOR RELIEF

   CIVIL LIABILITY UNDER 18 U.S.C. § 2333(a) AGAINST STANDARD CHARTERED
       BANK, ROYAL BANK OF SCOTLAND N.V. AND COMMERZBANK FOR
    VIOLATIONS OF 18 USC § 2332d CONSTITUTING ACTS OF INTERNATIONAL
                                 TERRORISM

          3630. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

  as if fully set forth herein.

          3631. Defendants SCB, ABN Amro (RBS N.V.), and Commerzbank each utilized their

  respective New York branches in connection with their agreement to provide Iran material support

  in an illegal manner in order to effectuate and facilitate the Conspiracy, and each of those

  respective New York branches is a “person in the United States” within the scope of 18 U.S.C. §

  2332d(b)(2)(D).

          3632. As set forth above, each of the above-referenced Defendants knew or was

  deliberately indifferent to the fact that Iran was designated under section 6(j) of the Export

  Administration Act of 1979 (50 App. U.S.C. 2405) as a country supporting international terrorism



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  and nonetheless knowingly engaged in thousands of illegal financial transactions with the

  government of Iran through their U.S. operations.

         3633. The New York branch of each of the above-referenced Defendants also knew, or

  was deliberately indifferent to the fact, that Hezbollah had been designated an FTO, that the IRGC-

  QF and Bank Saderat (including Defendant Bank Saderat Plc) had each been designated an SDGT,

  and that multiple other Iranian actors and agents (including the IRGC, Bank Melli, Bank Mellat,

  Bank Sepah, IRISL (and multiple IRISL entities)) had been designated SDNs.

         3634. The New York branches of the above-referenced Defendants also knew or were

  deliberately indifferent to the fact that Bank Melli (including Melli Bank Plc), Bank Saderat

  (including Defendant Bank Saderat Plc), Bank Mellat, and Bank Sepah had been designated SDNs

  before November 2008, and, as such, were excluded from accessing the U-Turn exemption in the

  Iranian Transaction Regulations.

         3635. As set forth above, the illegal transactions knowingly facilitated through New York

  by the respective New York branches of the above-referenced Defendants thus did not fall within

  the safe harbor provisions of the regulations issued by the U.S. Treasury Department for U-Turn

  exemption transactions, and therefore violated the criminal provisions of 18 U.S.C § 2332d(a).

         3636. In fact, the transactions at issue explicitly violated 31 C.F.R 535.701(a)(2) and 31

  C.F.R 560.203.

         3637. Each of the above-referenced Defendants’ New York branch’s acts transcended

  national boundaries in terms of the means by which they were accomplished.

         3638. Each of the above-referenced Defendants’ New York branch’s conduct foreseeably

  and substantially enhanced Hezbollah’s, the IRGC’s and Special Groups’ and other Iranian

  sponsored terrorists’ ability to engage in terrorist activity, including preparing and facilitating acts




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  of terrorism in violation of 18 U.S.C. §§ 1114, 1203, 1362, 2332(a), 2332(b), 2332(c), 2332a,

  and/or 2332f that caused Plaintiffs’ injuries, and thus each of the above Defendants’ New York

  branch’s conduct was also a substantial, foreseeable factor in bringing about the Plaintiffs’ injuries.

         3639. Each of the above-referenced Defendant’s New York branch knowingly, or with

  deliberate indifference, provided financial services to Iran in the United States, knowing that its

  conduct enabled Iran to move millions (or in some cases, billions) of USD through the United

  States without those funds being monitored by U.S. regulators and law enforcement agencies. That

  conduct involved acts that were dangerous to human life, by their nature and as evidenced by their

  consequences.

         3640. Each of the above-referenced Defendant’s conduct itself constitutes an act of

  international terrorism because it either was, or objectively appears to have been intended to: (a)

  intimidate or coerce the civilian population of the United States and other nations, (b) influence

  the policy of the governments of the United States and other nations by intimidation or coercion,

  and/or (c) affect the conduct of the governments of the United States and other nations by

  facilitating Iran’s ability to prepare for and/or carry out mass destruction and murder.

         3641. Furthermore, each Plaintiff’s injuries constitute a harm falling within the risk

  contemplated by each of the above-referenced Defendants’ New York branch’s unlawful conduct,

  including their knowing agreement to provide illegal services to Iran. Injuries resulting from

  terrorist attacks committed, planned, or authorized by Hezbollah and the IRGC and carried out by

  their proxies, the Special Groups are precisely the risks contemplated by Executive Orders, statutes

  and regulations designed to ensure that Iran had restricted access to U.S. dollars and financial

  services, and that any funds it did receive that touched U.S. depository institutions could be

  monitored by U.S. regulators and law enforcement agencies.




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          3642. Each of the above-referenced Defendants’ criminal violations of the provisions of

  18 U.S.C. § 2332d(a) was a sufficient cause of Plaintiffs’ injuries, and, for the reasons alleged in

  Plaintiffs’ Third Claim for Relief against Defendant HSBC-US, constitutes an act of international

  terrorism rendering each of the above Defendants civilly liable for damages to each Plaintiff for

  their injuries pursuant to 18 U.S.C. § 2333(a).

                                   FIFTH CLAIM FOR RELIEF

   CIVIL LIABILITY AGAINST COMMERZBANK AG UNDER 18 U.S.C. § 2333(a) FOR
    VIOLATIONS OF 18 U.S.C. § 2339A CONSTITUTING ACTS OF INTERNATIONAL
                                  TERRORISM

          3643. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

  as if fully set forth herein.

          3644. Defendant Commerzbank provided material support to the IRGC through

  Commerzbank’s acts on behalf of IRISL, and Commerzbank violated § 2339A in concealing and

  disguising the nature, location, source, and ownership of material support it provided to IRISL,

  knowing or deliberately indifferent to the fact, that IRISL and the IRGC would use that support in

  preparation for, or in carrying out acts of international terrorism, including violations of 18 U.S.C.

  §§ 1114, 1203, 1362, 2332(a), 2332(b), 2332(c), 2332a, and/or 2332f .

          3645. Defendant Commerzbank knew or was deliberately indifferent that to the fact that

  the IRISL had been designated an SDN for Weapons of Mass Destruction-related activities that

  included arms shipments, including shipments destined for Hezbollah and other terrorists.

          3646. Defendant Commerzbank’s conduct was a substantial cause in fact and a significant

  factor in the chain of events leading to the Plaintiffs’ injuries, and substantially accelerated and

  multiplied the IRGC’s ability to engage in terrorist activity (8 U.S.C § 1182(a)(3)(B)(iii)-(iv)),

  terrorism (22 U.S.C. § 2656f), and/or commit acts of international terrorism as that terms is defined




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  in 18 U.S.C. § 2331.

          3647. The material support that Commerzbank knowingly and illegally provided to the

  IRISL provided foreseeable, substantial assistance to the IRGC, Hezbollah and the Special Groups,

  thereby preparing and facilitating acts of terrorism in violation of 18 U.S.C. §§ 1114, 1203, 1362,

  2332(a), 2332(b), 2332(c), 2332a, and/or 2332f that caused Plaintiffs’ injuries, and thus

  Commerzbank’s conduct was also a substantial, foreseeable factor in bringing about the Plaintiffs’

  injuries.

          3648. Commerzbank’s illegal conduct transcended national boundaries in terms of the

  means by which it was accomplished.

          3649. Commerzbank’s knowing or deliberately indifferent provision of illegal financial

  services to the IRGC and IRISL involved acts that were dangerous to human life, by their nature

  and as evidenced by their consequences.

          3650. Commerzbank’s conduct itself constitutes an act of international terrorism because

  it either was, or objectively appears to have been intended to: (a) intimidate or coerce the civilian

  population of the United States and other nations, (b) influence the policy of the governments of

  the United States and other nations by intimidation or coercion, and/or (c) affect the conduct of

  the governments of the United States and other nations by facilitating Iran’s ability to prepare for

  and/or carry out mass destruction and murder.

          3651. Furthermore, each Plaintiff’s injuries constitute a harm falling within the risk

  contemplated by Commerzbank’s material support to the IRGC and IRISL. Injuries resulting from

  terrorist attacks perpetrated, planned, supported by, funded, or assisted by Iran and Hezbollah are

  precisely the risks contemplated by statutes and regulations designed to ensure that the IRGC,

  IRISL and Iran had restricted access to USD and financial services, and that any funds they did




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  receive that touched U.S. depository institutions were transparent and could be blocked if

  warranted, and did not benefit an SDN.

          3652. Through its conduct as described above, by knowingly or with deliberate

  indifference, providing material support to Iran, the IRGC, and IRISL, and thereby violating 18

  U.S.C. § 2339A in the manner and with the state of mind alleged above, Commerzbank is civilly

  liable for damages to each Plaintiff for their injuries pursuant to 18 U.S.C. § 2333(a).

                                   SIXTH CLAIM FOR RELIEF

   CIVIL LIABILITY AGAINST COMMERZBANK AG UNDER 18 U.S.C. § 2333(a) FOR
    VIOLATIONS OF 18 U.S.C. § 2339B CONSTITUTING ACTS OF INTERNATIONAL
                                  TERRORISM

          3653. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

  as if fully set forth herein.

          3654. Defendant Commerzbank violated § 2339B by providing material support to

  Hezbollah through Commerzbank’s acts on behalf of its customer Waisenkinderprojekt Libanon

  e.V. (Orphans Project Lebanon e.V.).

          3655. Commerzbank knew, or was deliberately indifferent to the fact, that Orphans

  Project Lebanon e.V. was transferring funds through Commerzbank to FTO Hezbollah and that

  Hezbollah would use that support in preparation for, or in carrying out, acts of international

  terrorism, including violations of 18 U.S.C. §§ 1114, 1203, 1362, 2332(a), 2332(b), 2332(c),

  2332a, and/or 2332f.

          3656. Defendant Commerzbank’s conduct was a substantial cause in fact and a significant

  factor in the chain of events leading to the Plaintiffs’ injuries, and substantially accelerated and

  multiplied Hezbollah’s ability to engage in terrorist activity (8 U.S.C § 1182(a)(3)(B)(iii)-(iv)),

  terrorism (22 U.S.C. § 2656f), and acts of international terrorism as that terms is defined in 18




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  U.S.C. § 2331.

          3657. The material support that Commerzbank knowingly and illegally provided to the

  Orphans Project Lebanon e.V. and hence to Hezbollah, provided foreseeable, substantial assistance

  to the Hezbollah and the Special Groups, thereby preparing and facilitating acts of terrorism in

  violation of 18 U.S.C. §§ 1114, 1203, 1362, 2332(a), 2332(b), 2332(c), 2332a, and/or 2332f that

  caused Plaintiffs’ injuries, and thus Commerzbank’s conduct was also a substantial, foreseeable

  factor in bringing about the Plaintiffs’ injuries.

          3658. Commerzbank’s illegal conduct transcended national boundaries in terms of the

  means by which it was accomplished.

          3659. Commerzbank’s knowing or deliberately indifferent provision of illegal financial

  services to Hezbollah involved acts that were dangerous to human life, by their nature and as

  evidenced by their consequences.

          3660. Commerzbank’s conduct itself constitutes an act of international terrorism because

  it either was, or objectively appears to have been intended to: (a) intimidate or coerce the civilian

  population of the United States and other nations, (b) influence the policy of the governments of

  the United States and other nations by intimidation or coercion, and/or (c) affect the conduct of

  the governments of the United States and other nations by facilitating Iran’s ability to prepare for

  and/or carry out mass destruction and murder.

          3661. Furthermore, each Plaintiff’s injuries constitute a harm falling within the risk

  contemplated by Commerzbank’s material support to Hezbollah.

          3662. Through its conduct as described above, by knowingly or with deliberate

  indifference, providing material support to Hezbollah, and thereby violating 18 U.S.C. § 2339B in

  the manner and with the state of mind alleged above, Commerzbank is civilly liable for damages




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  to each Plaintiff for their injuries pursuant to 18 U.S.C. § 2333(a).

                                  SEVENTH CLAIM FOR RELIEF

    CIVIL LIABILITY AGAINST STANDARD CHARTERED BANK UNDER 18 U.S.C.
     § 2333(a) FOR VIOLATIONS OF 18 U.S.C. § 2339A CONSTITUTING ACTS OF
                        INTERNATIONAL TERRORISM

          3663. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

  as if fully set forth herein.

          3664. Defendant Standard Chartered Bank provided material support to the IRGC and its

  Qods Force through its acts on behalf of Mahan Air, MODAFL and other entities identified supra

  in violation of § 2339A by concealing and disguising the nature, location, source, and ownership

  of material support it provided to Mahan Air, MODAFL and other entities identified supra,

  knowing or deliberately indifferent to the fact that the IRGC and its Qods Force would use that

  support in preparation for, or in carrying out, acts of international terrorism, including violations

  of 18 U.S.C. §§ 1114, 1203, 1362, 2332(a), 2332(b), 2332(c), 2332a, and/or 2332f .

          3665. Defendant Standard Chartered Bank knew or was deliberately indifferent to the fact

  that Mahan Air, MODAFL and other entities identified supra were utilizing Letters of Credit

  facilitated by Standard Chartered Bank to evade U.S. sanctions and acquire materials used, inter

  alia, to effectuate arms shipments, transport weapons, personnel and technology to the IRGC-QF

  and Hezbollah.

          3666. Mahan Air did, in fact, transport weapons, personnel and technology into Iraq on

  behalf of the IRGC-QF and Hezbollah and did, in fact, transport modules used to control and

  activate IEDs and EFPs deployed against Coalition Forces in Iraq.

          3667. Iran could not have successfully evaded U.S. sanctions and obtained raw materials

  and manufacturing equipment prohibited by the International Traffic in Arms Regulations




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  (“ITARs”), Export Administration Regulations (“EARs”), and Iran Trade Regulations (“ITRs”)

  simply by establishing front companies in foreign jurisdictions like Malaysia, Singapore or Dubai

  because those front companies could not have negotiated international payments without being

  able to provide U.S. and other suppliers with conventional letters of credit drawn on Western banks

  with established correspondent accounts with U.S. clearing banks.

         3668. Nor could the front companies that participated in Iran’s clandestine supply chain

  have succeeded in their efforts had they been forced to rely solely on financing by Iranian banks

  because those banks could not have provided financing directly since they could not maintain

  correspondent accounts with U.S. clearing banks and most of them were blacklisted at one point

  in time or another and frozen out of the US dollar-clearing system.

         3669. For example, no legitimate U.S. manufacturer would have agreed to transport

  materials subject to the ITARs, EARs or ITRs to an unknown company in Singapore or Dubai

  based on a letter of credit issued by Bank Saderat or Bank Melli.

         3670. The linchpin of Iran’s illegal and clandestine supply chain was the cooperation of

  Standard Chartered Bank and the other Western Bank Defendants who concealed both the role of

  Iranian banks in providing the credit necessary to finance the transactions and the identities of the

  Iranian military and IRGC sub-agencies that were actually purchasing the raw materials and

  manufacturing equipment (invariably being transported to Iran by IRISL, Mahan Air or Iran Air).

         3671. Defendant Standard Chartered Bank knew, or was deliberately indifferent to the

  fact, that Mahan Air, MODAFL and other entities identified supra were utilizing Letters of Credit

  facilitated by Standard Chartered Bank to evade U.S. sanctions and acquire materials used, inter

  alia, to effectuate arms shipments, transport weapons, personnel and technology to the IRGC-QF

  and Hezbollah.




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         3672. Mahan Air did, in fact, transport weapons, personnel and technology into Iraq on

  behalf of the IRGC-QF and Hezbollah and did, in fact, transport modules used to control and

  activate IEDs and EFPs deployed against Coalition Forces in Iraq.

         3673. With the necessary assistance of Standard Chartered Bank and the other Western

  Bank Defendants, MODAFL did in fact acquire spare parts for various military aircraft.

         3674. With the necessary assistance of Standard Chartered Bank and the other Western

  Bank Defendants, Iranian front companies did purchase hydraulic press components of the kind

  used to manufacture EFPs and did purchase steel and copper and other materials necessary for the

  manufacturing of EFPs and other weapons deployed against Coalition Forces in Iraq.

         3675. This substantial assistance to Iran’s terror apparatus (including the IRGC and

  MODAFL), knowingly provided by Defendant Standard Chartered Bank, made it possible for Iran

  to procure the radio frequency modules, metals, and hydraulic presses used to manufacture the

  copper plates and steel cylinders necessary to manufacture the EFPs and other Iranian weapons

  used in the attacks on the Plaintiffs, as well Iran’s transport of weapons, supplies, and IRGC and

  Hezbollah operatives (who conducted, supervised, and trained the perpetrators of those attacks).

         3676. Defendant Standard Chartered Bank’s conduct was a substantial cause in fact and

  a significant factor in the chain of events leading to the Plaintiffs’ injuries, and substantially

  accelerated and multiplied the IRGC’s ability to engage in terrorist activity (8 U.S.C §

  1182(a)(3)(B)(iii)-(iv)), terrorism (22 U.S.C. § 2656f), and commit acts of international terrorism

  as that terms is defined in 18 U.S.C. § 2331.

         3677. The material support that Standard Chartered Bank knowingly and illegally

  provided to Mahan Air, MODAFL and other entities identified supra provided foreseeable,

  substantial assistance to the IRGC, Hezbollah and the Special Groups, thereby preparing and




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  facilitating acts of terrorism in violation of 18 U.S.C. §§ 1114, 1203, 1362, 2332(a), 2332(b),

  2332(c), 2332a, and/or 2332f that caused Plaintiffs’ injuries, and thus Standard Chartered Bank’s

  conduct was also a substantial, foreseeable factor in bringing about the Plaintiffs’ injuries.

         3678. Standard Chartered Bank’s illegal conduct transcended national boundaries in

  terms of the means by which it was accomplished.

         3679. Standard Chartered Bank’s knowing or deliberately indifferent provision of illegal

  financial services to the IRGC, Mahan Air, MODAFL and other entities identified supra, involved

  acts that were dangerous to human life, by their nature and as evidenced by their consequences.

         3680. Standard Chartered Bank’s conduct itself constitutes an act of international

  terrorism because it either was, or objectively appears to have been intended to: (a) intimidate or

  coerce the civilian population of the United States and other nations, (b) influence the policy of

  the governments of the United States and other nations by intimidation or coercion, and/or (c)

  affect the conduct of the governments of the United States and other nations by facilitating Iran’s

  ability to prepare for and/or carry out mass destruction and murder.

         3681. Furthermore, each Plaintiff’s injuries constitute a harm falling within the risk

  contemplated by Standard Chartered Bank’s material support to the IRGC, Mahan Air, MODAFL

  and other entities identified supra. Injuries resulting from terrorist attacks perpetrated, planned,

  supported by, funded, or assisted by Iran and Hezbollah are precisely the risks contemplated by

  statutes and regulations designed to ensure that Iran had restricted access to U.S. dollars and

  financial services, and that any funds they did receive that touched U.S. depository institutions

  were transparent and could be blocked if warranted, and did not benefit an SDN.

         3682. Through its conduct as described above, by knowingly or with deliberate

  indifference, providing material support to Iran, the IRGC, Mahan Air, MODAFL and other




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  entities identified supra, and thereby violating 18 U.S.C. § 2339A in the manner and with the state

  of mind alleged above, Standard Chartered Bank is civilly liable for damages to each Plaintiff for

  their injuries pursuant to 18 U.S.C. § 2333(a).

                                      EIGHTH CLAIM FOR RELIEF

     CIVIL LIABILITY FOR CONSPIRACY IN VIOLATION OF 18 U.S.C. § 2333(d)(2)
                                 (JASTA)

          3683. Plaintiffs repeat and re-allege every allegation of the foregoing paragraphs as if

  fully set forth herein.

          3684. Plaintiffs allege that Defendants conspired with the persons who committed the acts

  of international terrorism (set forth herein), within the meaning of 18 U.S.C. § 2333(d) and within

  the legal framework of Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983), which Congress has

  found to provide “civil litigants with the broadest possible basis” for relief against those “that have

  provided material support, directly or indirectly, to foreign organizations or persons that engage in

  terrorist activities against the United States.” Justice Against Sponsors of Terrorism Act

  (“JASTA”), Pub. L. 114-222, § 2(b) (2016).

          3685. Each attack alleged herein was an act of international terrorism as defined by 18

  U.S.C. § 2331(1).

          3686. The IRGC’s and Hezbollah’s provision of EFPs and other weapons, training,

  funding, and direction to their proxies and agents in Iraq to target Coalition Forces constitutes acts

  of international terrorism as defined by 18 U.S.C. § 2331(1).

          3687. The Plaintiffs’ injuries were proximately caused by the IRGC’s and Hezbollah’s

  acts of international terrorism, which included the provision of EFPs and other weapons, training,

  funding, and direction to their proxies and agents in Iraq to target Coalition Forces.




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          3688. Each attack and act of international terrorism alleged herein was committed,

  planned or authorized by the designated Foreign Terrorist Organizations (“FTOs”) Hezbollah (and,

  in some cases, also Kata’ib Hezbollah (“KH”)), in concert with the IRGC.

          3689. Hezbollah has been designated an FTO from October 8, 1997 to the present, and

  KH has been designated an FTO from July 2, 2009 to the present.

          3690. Each attack and act of international terrorism alleged herein was committed by the

  IRGC and FTO Hezbollah through their agents and proxies who, acting in concert with them and

  at their direction, perpetrated the attacks in Iraq.

          3691. The IRGC and Hezbollah provided the EFPs, IRAMs, and other explosive devices

  used in the attacks against Coalition Forces that injured the Plaintiffs and killed their decedents.

          3692. The IRGC and Hezbollah funded, trained, equipped, guided, directed and

  controlled the cells and individuals who emplaced and activated the EFPs, IRAMs and other

  explosive devices and/or, shot, kidnapped and/or tortured Plaintiffs and their decedents, in concert

  with, and at the direction of, the IRGC and Hezbollah.

          3693. Each Defendant joined Iran’s Conspiracy and agreed and conspired with Iran, the

  IRGC, Hezbollah, their agents, the “Iranian commercial co-conspirators” (constituting Bank Melli,

  Defendant Bank Saderat, the Central Bank of Iran, the National Iranian Oil Company (“NIOC”),

  the Islamic Republic of Iran Shipping Lines (“IRISL”), various entities owned by the Ministry of

  Defense Armed Forces Logistics (“MODAFL”), the IRGC and other Iranian entities), KH, and

  their banking co-Defendants to provide material support, directly or indirectly, for terrorism and

  terrorist crimes and for FTOs, the FTOs’ agents, and FTO-affiliated entities. This material support

  was channeled, inter alia, through the Iranian commercial co-conspirators, acting as funding

  conduits on behalf of, and as agents for, the IRGC, Hezbollah, and KH.




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         3694. Each Defendant joined Iran’s Conspiracy and agreed and conspired with Iran, the

  IRGC, Hezbollah, their agents, the Iranian “commercial” co-conspirators, KH, and their banking

  co-Defendants to conceal and disguise the nature, location, source, or ownership of that material

  support, which constituted illegal services that the IRGC, Hezbollah, and their agents needed in

  order to perform acts of international terrorism without interference by U.S. authorities.

         3695. Each Defendant agreed and conspired with Iran, the IRGC, its agents, the Iranian

  “commercial” co-conspirators, Hezbollah, KH, and their banking co-Defendants, to deceive U.S.

  counter-terror finance authorities and evade legal controls, and to illegally perform transactions

  outside of Iran’s regulatory safe harbor for performing legitimate transactions, to give Iran, the

  IRGC, and Hezbollah, and their agents and proxies concealed access to the U.S. financial system

  for illegitimate activities, enabling them to commit acts of terrorism and to facilitate their support

  for terrorism.

         3696. Each Defendant agreed and conspired to provide, and conceal and disguise the

  source of, material support for agents, affiliates, and alter egos of the IRGC and Hezbollah.

         3697. At least some of the Defendants also knowingly facilitated Iran’s and the IRGC’s

  illegal acquisition of materials specifically prohibited from export to Iran because of their military

  or terrorism applications, including items used in the manufacture of EFPs.

         3698. Each Defendant knew that, or exhibited deliberate indifference to whether, Iran’s

  terrorism campaigns, including the campaign carried out by the IRGC and Hezbollah in Iraq,

  required vast sums of money.

         3699. Each Defendant knew that most of Iran’s financial resources were held in

  Eurodollars.




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          3700. Each Defendant knew that the U.S. sanctions and authorities it circumvented on

  behalf of its Iranian co-conspirators were designed to prevent Iran from financing terrorism and,

  in some cases, weapons of mass destruction proliferation.

          3701. Each Defendant knew, from its interactions with co-conspirators, the counter-terror

  financing and counter-WMD proliferation sanctions laws they were violating, and publicly

  available information, that providing and concealing and disguising the source of material support

  and controlled materials for the foregoing purposes and entities was Iran’s core purpose for the

  Conspiracy.

          3702. Each Defendant also knew that, or exhibited deliberate indifference as to whether,

  its acts in furtherance of the Conspiracy raised a substantial probability that some of the funds it

  concealed and provided would be used by Iran, the IRGC, Hezbollah, and their proxies and agents

  for terrorist activities and acts of international terrorism.

          3703. Each Defendant knew that it and its Iranian co-conspirators were mutually

  dependent on the Conspiracy.

          3704. Specifically, each Defendant understood that the lucrative fees it collected from its

  Iranian co-conspirators and the large pools of Eurodollars it was allowed to invest on behalf its

  Iranian co-conspirators were dependent on each Defendant’s ongoing willingness to commit

  multiple crimes on behalf of its Iranian co-conspirators.

          3705. As set forth above, Iran, the IRGC, Hezbollah and their terror agents and proxies

  depended on this illegal assistance of major banks with the financial and legal capacity to clear

  billions of dollars through the United States and their willingness to circumvent U.S. counter-terror

  financing controls.




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          3706. Despite this knowledge, each Defendant continued to participate in the Conspiracy

  for several years during the relevant period.

          3707. The Defendants’ unlawful acts for the benefit of Iranian banks and entities, in

  stripping financial transactions, disguising payment sources, directly or indirectly transferring

  funds to sanctioned entities, manually altering payment information, and related activities intended

  to evade U.S. sanctions, were pursuant to, and in furtherance of, the Conspiracy.

          3708. The use of the funds that the Iranian commercial co-conspirators channeled to co-

  conspirators IRGC, FTOs Hezbollah and KH and their agents, proxies and affiliates were within

  the scope of the Conspiracy.

          3709. The acts of international terrorism at issue were overt acts foreseeably committed

  as a consequence of, in furtherance of, and pursuant to the Conspiracy.

                                   NINTH CLAIM FOR RELIEF

     CIVIL LIABILITY FOR AIDING AND ABETTING IN VIOLATION OF 18 U.S.C. §
                              2333(d)(2) (JASTA)

          3710. Plaintiffs repeat and re-allege every allegation of the foregoing paragraphs as if

  fully set forth herein.

          3711. Plaintiffs allege that Defendants knowingly aided and abetted the persons who

  committed the acts of international terrorism (set forth herein), within the meaning of 18 U.S.C.

  § 2333(d) and within the legal framework of Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983),

  which Congress has found to provide “civil litigants with the broadest possible basis” for relief

  against those “that have provided material support, directly or indirectly, to foreign organizations

  or persons that engage in terrorist activities against the United States.” JASTA, § 2(b).

          3712. Each attack alleged herein was an act of international terrorism as defined by 18

  U.S.C. § 2331(1).



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         3713. The IRGC’s and Hezbollah’s provision of EFPs and other weapons, training,

  funding, and direction to their proxies and agents in Iraq to target Coalition Forces constitute acts

  of international terrorism as defined by 18 U.S.C. § 2331(1).

         3714. The Plaintiffs’ injuries were proximately caused by the IRGC’s and Hezbollah’s

  acts of international terrorism, which included the provision of EFPs and other weapons, training,

  funding, and direction to their proxies and agents in Iraq to target Coalition Forces.

         3715. Each Defendant substantially assisted these acts of international terrorism by

  knowingly providing material support to the IRGC, Hezbollah, their agents in Iraq, and their

  Iranian commercial co-conspirators, directly or indirectly, for terrorism and terrorist crimes.

         3716. Each Defendant substantially assisted the acts of international terrorism committed

  by the IRGC, Hezbollah, and their agents by concealing and disguising the nature, location, source,

  or ownership of material support, which constituted illegal services the IRGC, Hezbollah, and their

  agents needed to perform acts of international terrorism without interference by U.S. authorities.

         3717. Specifically, each Defendant, by stripping financial transactions, disguising

  payment sources, directly or indirectly transferring funds to sanctioned entities, manually altering

  payment information, and performing related activities helped blind U.S. regulators and law

  enforcement authorities from tracking Iranian material support for terrorism (regardless of how

  any specific concealed transfer was used), and therefore substantially assisted the IRGC,

  Hezbollah, and their agents.

         3718. At least some of the Defendants also knowingly facilitated Iran and the IRGC’s

  illegal acquisition of materials specifically prohibited from export to Iran because of their military

  or terrorism applications, including items used in the manufacture of EFPs.




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             3719. Each Defendant knew that, or exhibited deliberate indifference to whether, Iran’s

  terrorism campaigns, including the campaign carried out by the IRGC and Hezbollah in Iraq,

  required vast sums of money.

             3720. Each Defendant was generally aware that by providing, and concealing and

  disguising the source of, material support for Iran, the IRGC, Hezbollah, and their agents, it played

  a role in giving these entities, directly or indirectly, concealed access to the U.S. financial system

  that enabled Iran to facilitate its support for terrorism.

             3721. Each Defendant knew that much of Iran’s financial resources was held in U.S.

  dollars.

             3722. From their interactions with their co-conspirators, the counter-terror financing and

  counter-WMD proliferation sanctions laws they were violating, and publicly available

  information, each Defendant knew that, or exhibited deliberate indifference as to whether,

  providing or concealing the source of material support and controlled materials for the foregoing

  purposes and entities provided substantial assistance to Iran, the IRGC, Hezbollah and their agents

  and raised a substantial probability that some of these funds would be used by Iran, the IRGC,

  Hezbollah, and their proxies and agents for terrorist activities and acts of international terrorism.

             3723. The nature of the acts encouraged, which were acts of international terrorism,

  including providing weapons, training, and funding for and directing attacks on American service

  members, aid workers, private contractors and journalists and the attacks themselves, benefited

  from and were virtually dependent on access to vast amounts of U.S. dollars.

             3724. The amount of assistance each Defendant provided—billions of dollars illegally

  transferred to Iranian entities so as to blind U.S. counter-terror finance authorities—was integral

  to the acts of terrorism at issue.




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          3725. Each Defendant had a close relationship with many of the Iranian entities in

  working out and maintaining the scheme, including exchanging secret communications in order to

  develop and constantly adjust methods for circumventing U.S. counter-terrorism controls.

          3726. Each Defendant knew or was deliberately indifferent to Iran’s purposes for the

  assistance (acts of international terrorism, which are particularly offensive acts), and yet continued

  to provide that assistance.

          3727. Each Defendant provided assistance to the Iranian entities for several years.

          3728. The acts of terrorism at issue were foreseeable from Defendants’ substantial

  assistance.

                                   TENTH CLAIM FOR RELIEF

         COMMERZBANK’S CIVIL LIABILITY FOR AIDING AND ABETTING IN
                 VIOLATION OF 18 U.S.C. § 2333(d)(2) (JASTA)

          3729. Plaintiffs repeat and re-allege every allegation of the foregoing paragraphs as if

  fully set forth herein.

          3730. Plaintiffs allege that Commerzbank aided and abetted Hezbollah within the

  meaning of 18 U.S.C. § 2333(d) and within the legal framework of Halberstam v. Welch, 705 F.2d

  472 (D.C. Cir. 1983), which Congress has found to provide “civil litigants with the broadest

  possible basis” for relief against those “that have provided material support, directly or indirectly,

  to foreign organizations or persons that engage in terrorist activities against the United States.”

  JASTA, § 2(b).

          3731. Each attack alleged herein was an act of international terrorism as defined by 18

  U.S.C. § 2331(1).




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         3732. Hezbollah’s provision of EFPs and other weapons, training, funding, and direction

  to its proxies and agents in Iraq to target Coalition Forces constitute acts of international terrorism

  as defined by 18 U.S.C. § 2331(1).

         3733. The Plaintiffs’ injuries were proximately caused by Hezbollah’s acts of

  international terrorism, which included (acting in concert with the IRGC-QF) the provision of

  EFPs and other weapons, training, funding, and direction to its proxies and agents in Iraq to target

  Coalition Forces, and the attacks they committed through those proxies and agents.

         3734. Hezbollah (acting in concert with the IRGC-QF) committed, planned and

  authorized acts of international terrorism—namely, it provided EFPs and other weapons, training,

  funding, and direction to its proxies and agents in Iraq to target Coalition Forces, and committed,

  planned and authorized attacks on Coalition Forces in Iraq. Each of these acts constituted acts of

  international terrorism as defined by 18 U.S.C. § 2331(1).

         3735. These acts of international terrorism caused Plaintiffs’ injuries.

         3736. Defendant Commerzbank substantially assisted Hezbollah by knowingly providing

  material support to Hezbollah through Hezbollah’s Martyrs Foundation in Lebanon.

         3737. Defendant Commerzbank knew that, or exhibited deliberate indifference as to

  whether, providing material support to Hezbollah through the Martyrs Foundation raised a

  substantial probability that the funds it provided would be used to benefit Hezbollah and its agents

  and increase Hezbollah’s capacity to engage in terrorist activities and acts of international

  terrorism.

         3738. Defendant Commerzbank was generally aware that by providing material support

  for Hezbollah through the Martyrs Foundation, it played a role in giving Hezbollah, directly or




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  indirectly, access to the international financial system that allowed the terrorist organization to

  effectively raise funds from donors outside of Lebanon.

          3739. The nature of the acts encouraged, which were acts of international terrorism,

  including providing weapons, training, and funding for and directing attacks on American service

  members, aid workers, private contractors and journalists and the attacks themselves, benefited

  from and were virtually dependent on access to vast amounts of U.S. dollars.

          3740. The assistance Commerzbank provided was substantial.

          3741. Defendant Commerzbank knew or was deliberately indifferent to Hezbollah’s

  unlawful acts (acts of international terrorism, which are particularly offensive acts), and yet

  continued to provide it assistance.

          3742. Defendant Commerzbank assisted Hezbollah for several years.

          3743. The acts of terrorism at issue were foreseeable from Defendant Commerzbank’s

  substantial assistance.

                                ELEVENTH CLAIM FOR RELIEF

      BANK SADERAT PLC’S CIVIL LIABILITY FOR AIDING AND ABETTING IN
                 VIOLATION OF 18 U.S.C. § 2333(d)(2) (JASTA)

          3744. Plaintiffs repeat and re-allege every allegation of the foregoing paragraphs as if

  fully set forth herein.

          3745. Plaintiffs allege that Bank Saderat Plc aided and abetted Hezbollah within the

  meaning of 18 U.S.C. § 2333(d) and within the legal framework of Halberstam v. Welch, 705 F.2d

  472 (D.C. Cir. 1983), which Congress has found to provide “civil litigants with the broadest

  possible basis” for relief against those “that have provided material support, directly or indirectly,

  to foreign organizations or persons that engage in terrorist activities against the United States.”

  JASTA, § 2(b).



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         3746. Each attack alleged herein was an act of international terrorism as defined by 18

  U.S.C. § 2331(1).

         3747. Hezbollah’s provision of EFPs and other weapons, training, funding, and direction

  to its proxies and agents to target Coalition Forces to proxy groups and agents in Iraq constitute

  acts of international terrorism as defined by 18 U.S.C. § 2331(1).

         3748. The Plaintiffs’ injuries were proximately caused by Hezbollah’s acts of

  international terrorism, which included (acting in concert with the IRGC-QF) the provision of

  EFPs and other weapons, training, funding, and direction to its proxies and agents in Iraq to target

  Coalition Forces, and the attacks they committed through those proxies and agents.

         3749. Hezbollah (acting in concert with the IRGC-QF) committed, planned and

  authorized acts of international terrorism—namely, it provided EFPs and other weapons, training,

  funding, and direction to its proxies and agents in Iraq to target Coalition Forces, and committed,

  planned and authorized attacks on Coalition Forces in Iraq. Each of these acts constituted acts of

  international terrorism as defined by 18 U.S.C. § 2331(1).

         3750. These acts of international terrorism proximately caused Plaintiffs’ injuries.

         3751. Defendant Bank Saderat Plc substantially assisted Hezbollah by knowingly

  providing it material support.

         3752. Defendant Bank Saderat Plc knew that, or exhibited deliberate indifference as to

  whether, providing material support to Hezbollah raised a substantial probability that the funds it

  provided, and the sources of which it concealed and disguised, would be used to benefit Hezbollah

  and its agents and increase Hezbollah’s capacity to engage in terrorist activities and acts of

  international terrorism.




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          3753. Defendant Bank Saderat Plc was generally aware that by providing, and concealing

  and disguising the source of, material support for Hezbollah, it played a role in giving Hezbollah,

  directly or indirectly, access to the U.S. and international financial system that allowed the terrorist

  organization to fund its terrorist activities.

          3754. The nature of the acts encouraged, which were acts of international terrorism,

  including providing weapons for and directing attacks on American service members, aid workers,

  private contractors and journalists and the attacks themselves, benefited from and were virtually

  dependent on access to vast amounts of U.S. dollars.

          3755. The amount of assistance Defendant Bank Saderat Plc provided—millions of

  dollars illegally transferred to Hezbollah and access to the U.S. financial system while blinding

  U.S. counter-terror finance authorities—was integral to the acts of terrorism at issue.

          3756. Defendant Bank Saderat Plc had an extremely close relationship with, and was a

  fundraising conduit of, Hezbollah.

          3757. Defendant Bank Saderat Plc knew or was deliberately indifferent to Hezbollah’s

  unlawful acts (acts of international terrorism, which are particularly offensive acts), and yet

  continued to provide it assistance.

          3758. Defendant Bank Saderat Plc assisted Hezbollah for several years.

          3759. The acts of terrorism at issue were foreseeable from Defendant Bank Saderat Plc’s

  substantial assistance.

                                  TWELFTH CLAIM FOR RELIEF

      STANDARD CHARTERED BANK’S, CREDIT SUISSE’S, AND HSBC’S CIVIL
   LIABILITY FOR AIDING AND ABETTING IN VIOLATION OF 18 U.S.C. § 2333(d)(2)
                                (JASTA)

          3760. Plaintiffs repeat and re-allege every allegation of the foregoing paragraphs as if

  fully set forth herein.


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          3761. Plaintiffs allege that SCB, Credit Suisse, and HSBC knowingly aided and abetted

  the IRGC within the meaning of 18 U.S.C. § 2333(d) and within the legal framework of

  Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983), which Congress has found to provide “civil

  litigants with the broadest possible basis” for relief against those “that have provided material

  support, directly or indirectly, to foreign organizations or persons that engage in terrorist activities

  against the United States.” JASTA, §2(b).

          3762. Each attack alleged herein was an act of international terrorism as defined by 18

  U.S.C. § 2331(1).

          3763. The IRGC’s and Hezbollah’s provision of EFPs and other weapons, training,

  funding, and direction to their proxies and agents in Iraq to target Coalition Forces constitute acts

  of international terrorism as defined by 18 U.S.C. § 2331(1).

          3764. The Plaintiffs’ injuries were proximately caused by the IRGC’s and Hezbollah’s

  acts of international terrorism, which included the provision of EFPs and other weapons, training,

  funding, and direction to their proxies and agents in Iraq to target Coalition Forces, and the attacks

  they committed through those proxies and agents.

          3765. Defendants SCB and Credit Suisse substantially assisted the IRGC and Hezbollah

  by facilitating their acquisition of U.S.-origin export-controlled goods on behalf of, among others,

  Mahan Air and various sub-agencies of MODAFL.

          3766. These controlled items include aircraft parts that enabled Mahan Air to transport

  IRGC and Hezbollah personnel, weapons, and funds into Iraq.

          3767. Defendants SCB and HSBC provided material support to the IRGC through, inter

  alia, the IRGC’s U.S.-designated “agent and affiliate,” NIOC.




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         3768. From the counter-terror and counter-WMD proliferations export control and

  financial sanctions they violated and from publicly available information, Defendants SCB and

  Credit Suisse knew that, or exhibited deliberate indifference as to whether, the IRGC and

  Hezbollah would use, or with a substantial probability would use, those export-controlled items to

  increase their capacity to commit acts of international terrorism in Iraq.

         3769. From the counter-terror and counter-WMD proliferations export control and

  financial sanctions they violated and from publicly available information, Defendants SCB and

  Credit Suisse were generally aware of their role in facilitating the IRGC’s and Hezbollah’s acts of

  international terrorism.

         3770. From the counter-terror and counter-WMD proliferations sanctions they violated

  and from publicly available information, Defendants SCB and HSBC knew that, or exhibited

  deliberate indifference as to whether, the IRGC would use material support generated through

  NIOC to increase its capacity to commit acts of international terrorism in Iraq.

         3771. From the counter-terror and counter-WMD proliferations sanctions they violated

  and from publicly available information, Defendants SCB and HSBC were generally aware of their

  role in facilitating the IRGC’s acts of international terrorism.

         3772. The nature of the acts encouraged, which were acts of international terrorism,

  including providing weapons, training, and funding for and directing attacks on American service

  members, aid workers, private contractors and journalists and the attacks themselves, benefited

  from and were virtually dependent on access to vast amounts of U.S. dollars.

         3773. The amount of assistance Defendants SCB, Credit Suisse, and HSBC provided—

  access to export-controlled items and billions of dollars illegally transferred to NIOC and other




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  IRGC entities so as to blind U.S. counter-terror finance authorities—was integral to the acts of

  terrorism at issue.

          3774. Defendants SCB, Credit Suisse, and HSBC had a close relationship with many of

  the Iranian entities in working out and maintaining the scheme, including exchanging secret

  communications in order to develop and constantly adjust methods for circumventing U.S.

  counter-terrorism controls.

          3775. Defendants SCB, Credit Suisse, and HSBC knew or were deliberately indifferent

  to Iran’s unlawful acts (acts of international terrorism, which are particularly offensive acts), and

  yet continued to provide that assistance.

          3776. Defendants SCB, Credit Suisse, and HSBC assisted the IRGC and other Iranian

  entities that were a part of its terror apparatus for several years.

          3777. The acts of terrorism at issue were foreseeable from Defendants SCB’s, Credit

  Suisse’s, and HSBC’s substantial assistance.

                                        PRAYER FOR RELIEF

  WHEREFORE, Plaintiffs pray that this Court:

                  (a)     Accept jurisdiction over this action;

                  (b)     Enter judgment against Defendants and in favor of Plaintiffs for

  compensatory damages in amounts to be determined at trial;

                  (c)     Enter judgment against Defendants and in favor of Plaintiffs for treble

  damages pursuant to 18 U.S.C. § 2333(a);

                  (d)     Enter judgment against Defendants and in favor of Plaintiffs for any and all

  costs sustained in connection with the prosecution of this action, including attorneys’ fees,

  pursuant to 18 U.S.C. § 2333(a);




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                (e)     Enter an Order declaring that Defendants have violated the Anti-Terrorism

  Act, 18 U.S.C. § 2331 et seq.; and

                (f)     Grant such other and further relief as justice requires.


         PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

  Dated: December 26, 2018


                                               By      /s/ Gary M. Osen
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